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13
14
15                            UNITED STATES DISTRICT COURT
16                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
     JAMES MILLER, et al.,                        Case No. 3:19-cv-01537-BEN-JLB
18
                                                 Hon. Roger T. Benitez
19                      Plaintiffs,              Magistrate Hon. Jill L. Burkhardt
20                                                DECLARATION OF JAMES
          vs.
21                                                CURCURUTO IN SUPPORT OF
                                                  PLAINTIFFS’ MOTION FOR
22 XAVIER BECERRA, in his official                PRELIMINARY INJUNCTION
   capacity as Attorney General of
23 California, et al.,
                                                   Complaint filed: August 15, 2019
24
                       Defendants.                 Amended Complaint filed:
25                                                 September 27, 2019
26
                                                  Date: Thursday, January 16, 2020
27                                                Time: 10:00 a.m.
28                                                Department: Courtroom 5A (5th floor)


           DECLARATION OF JAMES CURCURUTO IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1                        DECLARATION OF JAMES CURCURUTO
 2 I, James Curcuruto, declare as follows:
 3       1. I am not a party in this action. I am over the age of 18, have personal knowledge
 4
     of the facts and events referred to in this declaration, and am competent to testify to the
 5
     matters stated below. This declaration is executed in support of the Plaintiffs’ motion
 6
     for a preliminary injunction.
 7
         2. I am the Director, Research and Market Development, at the National Shooting
 8
 9 Sports Foundation® (NSSF). I received my associate degree in business administration
10 from the State University of New York at Cobleskill in 1991, and my bachelor’s degree
11 in business management from the University of North Carolina at Wilmington in 1993.
12 My approximate 25-year business work history focuses mainly on sales, marketing,
13 advertising, research, and analysis.
14
         3. NSSF, formed in 1961, is the trade association for the firearms, ammunition,
15
     hunting, and recreational shooting sports industry. Its mission is to promote, protect and
16
     preserve hunting and the shooting sports. The NSSF has a membership of more than
17
18 8,500 manufacturers, distributors, firearm retailers, shooting ranges, sportsmen's
19 organizations and publishers.
20       4. In my current position, I am responsible for most of the industry research
21 activities at NSSF, and I direct the activities of an internal Manager of Industry
22 Research as well as outside companies retained to conduct research and gather market
23
   and consumer information useful to NSSF members. I am also responsible for market
24
   development duties related to participant recruitment, retention, and reactivation. Under
25
   my direction, dozens of informational reports and studies focusing on industry topics
26
27 and trends such as firearms, ammunition, target shooting, and hunting have been
28 released to the NSSF member base and many are shared outside the NSSF member base
                                                   -1-
           DECLARATION OF JAMES CURCURUTO IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 as well. Data from these releases has been referenced many times in endemic, non-
 2 endemic, online, and print newspaper and magazine articles, used in corporate reports,
 3 and mentioned in other media.
 4
       5. I have authored and provided information for several articles published in trade
 5
   magazines, including:
 6
 7   a) Firearms Accidents Drop                 SHOT Business                  June/July 2011
 8
     b) New Study Can Aid Planning              The Range Report               Winter 2011
 9
10   c) NSSF Releases Report on Diversity SHOT Business                        April/May 2013
11   d) Participation Trends                    SHOT Business                  Aug/Sept 2013
12
     e) Industry Research from NSSF             SHOT Business                  December 2013
13
14   f) Many Uses, Many Sales                   AR Guns and Hunting            May 2014
15
     g) The Big Bucks of Target Shooting        SHOT Business                  June/July 2014
16
17   h) Opening the Clubhouse                   SHOT Business                  December 2014

18   i) Improve Your Knowledge                  SHOT Business                  January 2015
19
     j) Executive Privilege                     SHOT Business                  December 2016
20
21   k) Target Audience                         SHOT Business                  Oct/Nov 2017
22
     l) Career Advice                           SHOT Business                  January 2018
23
24   m) NSSF’s Partner with a Payer             SHOT Business                  Oct/Nov 2019

25
26
27
28
                                                 -2-
          DECLARATION OF JAMES CURCURUTO IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1       6. I have been deposed as an expert witness on the topic of commonality of
 2 modern sporting rifles in the following cases:
 3           a) Wilson, et al. v. Cook County, Illinois, No. 07 CH 4848, In the
 4              Circuit of Cook County Illinois County Department, Chancery
                Division. November 7, 2013 Waterbury, CT 06702;
 5
 6           b) Kolbe v. O’Malley, U.S. District Court for the District of
                Maryland, January 24, 2014;
 7
 8           c) Friedman v. City of Highland Park, May 27, 2014 Windsor Locks,
 9              CT 06096;

10           d) Worman, et al. v. Healey, et.al, November 7, 2017, Washington
11              D.C.;
12           e) Duncan v. Becerra, Southern District of California, Case No.
13              3:17-cv-01017-BEN-JLB;
14           f) Association of New Jersey Rifle & Pistol Clubs, In. vs. Gurbir
15              Grewal et al., August 1, 2018, Ridgewood, NJ
16
17       7. Many NSSF members manufacture, distribute and/or sell firearms, and they

18 look to NSSF to provide market data reflecting consumer preferences, market trends
19 and other information for use in their business decisions. Among the firearm products
20 sold by NSSF members are modern sporting rifles, a category of firearms comprised
21 primarily of semiautomatic rifles built on the AR- and AK-platforms.1 A
22
   “semiautomatic,” or self-loading, rifle is a firearm that fires, extracts, ejects, and reloads
23
24   1
       The AR in “AR-platform” rifle stands for Armalite, the company that in the 1950s
25   developed this style of rifle, which eventually became both the military’s M16 rifle and
26   the civilian semi-automatic sporting rifle known as the AR-15, or modern sporting
     rifle. “AR” does NOT stand for “assault rifle” or “automatic rifle.” Attached hereto as
27   Exhibit 1 is a true and correct copy of the NSSF article titled “‘AR’ Stands for
28   Armalite,” published May 23, 2011.
                                                   -3-
           DECLARATION OF JAMES CURCURUTO IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 a cartridge once for each pull and release of the trigger.2 These rifles have the capacity
 2 to accept a detachable magazine. Additionally, they come in a range of calibers,
 3 including .22 rimfire, .223 Remington, and larger calibers used for hunting big game
 4
   (e.g., white-tailed deer). Research conducted by the NSSF and under my direction
 5
   demonstrates that modern sporting rifles are popular and commonly owned and used by
 6
   millions of persons in the United States for a variety of lawful purposes, including, but
 7
   not limited to, recreational and competitive target shooting, home defense, collecting,
 8
 9 and hunting.
10       8. Figures from the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)
11 Annual Firearms Manufacturers and Exports Reports (AFMER) show that between
12 1990 and 2016, United States manufacturers produced approximately 11,432,000
13 AR-platform rifles for sale in the United States commercial marketplace. More than
14
     fifty different manufacturers produced these rifles, including Smith & Wesson, Colt,
15
     Remington and Sig Sauer. During these same years, figures from the U.S. International
16
     Trade Commission (ITC) show approximately 4,660,000 AR- and AK-platform rifles
17
18 were imported into the United States for sale in the commercial marketplace. Attached
19 hereto as Exhibit 3 is a true and correct copy of the ATF/ITC industry estimates. See
20 Exhibit 3. As can be seen, in 2016 alone, more than 2.2 million of these rifles were
21 either manufactured in the U.S. or imported to the U.S. for sale. Id. By way of
22 comparison, in 2016, the number of modern sporting rifles manufactured in or imported
23
     to the U.S. was more than double the number of the most commonly sold vehicle in the
24
25
26
     2
27    “Semiautomatic” rifles should not be confused with “automatic” rifles, which fire
     when the trigger is pulled and continue to fire until the trigger is released or
28   ammunition is exhausted. Attached hereto as Exhibit 2 is a true and correct excerpt
                                           -4-
           DECLARATION OF JAMES CURCURUTO IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 U.S., the Ford F series pick-up trucks (including F-150, F-250, F-350, F-450 and F-
 2 550). See http://fordauthority.com/fmc/ford-motor-company-sales-numbers/fordsales-
 3 numbers/ford-f-series-sales-numbers/ (820,799 sold). Modern sporting rifles have been
 4
   available to civilians since at least the late 1950s. Thus, many more AR- and AK-
 5
   platform rifles were either manufactured in the U.S. or imported to the U.S. for sale in
 6
   the commercial marketplace prior to 1990.
 7
        9. In 2013, NSSF published its Modern Sporting Rifle (MSR) Comprehensive
 8
 9 Consumer Report 2013. Attached hereto as Exhibit 4 is a true and correct copy of the
10 2013 NSSF MSR Comprehensive Consumer Report. The findings in the report were
11 based on on-line responses from 21,942 owners of modern sporting rifles. Included
12 among the findings were that the typical owner of a modern sporting rifle is male, over
13 35 years old, married with a household income above $75,000 and has some college
14
     education. Exhibit 4 at 43, 68. Approximately 35 percent of all owners of modern
15
     sporting rifles are current or former members of the military or law enforcement.3 Id.
16
     The survey found that three out of every four recently purchased modern sporting rifles
17
18 are chambered for .223 Remington ammunition. Id. at 34. Owners of modern sporting
19 rifles consider accuracy and reliability to be the most important attributes of a modern
20 sporting rifle. Other reasons cited by survey respondents for their purchase of modern
21 sporting rifles include ergonomics, low recoil, ease with which they can be shot and
22
23
      from the Sporting Arms and Ammunition (“SAAMI”) Glossary of Industry Terms for
24    “automatic action.”
25   3
     By contrast, the NSSF Modern Sporting Rifle (MSR) Comprehensive Consumer
26 Report 2010 found that 44 percent of all owners of modern sporting rifles were current
   or former members of the military or law enforcement. Consistent with general sales
27 trend data, it is reasonable to infer that this difference is attributable to an increase in the
28 popularity and ownership of modern sporting rifles in the general civilian population.
                                                  -5-
           DECLARATION OF JAMES CURCURUTO IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 their light weight. Id. at 32. Recreational target shooting was ranked as the number one
 2 reason why owners purchased a modern sporting rifle, followed closely by home
 3 defense. Id. at 19. Other reasons for owning a modern sporting rifle include, but are not
 4
   limited to, varmint hunting, big game hunting, competitive target shooting and
 5
   collecting. Id. at 45. The average price paid for a modern sporting rifle by survey
 6
   respondents was $1,058.00. Combining data from this report with production and
 7
   import data from ATF AFMER and ITC, we can apply a weighted average formula
 8
 9 showing approximately 5 million people currently own one or more modern sporting
10 rifles.
11       10. In 2019, the NSSF published its Firearms Retailer Survey Report 2019
12 edition. The report set forth findings based on an on-line survey of 269 firearm retailers
13 located across the United States. Attached hereto as Exhibit 5 is a true and correct copy
14
     of the NSSF Firearms Retailer Survey Report.
15
         11. Among the findings were that 96.5 percent of those responding to the survey
16
     currently sell new modern sporting rifles. Exhibit 5 at 104. Of the modern sporting
17
18 rifles sold, those chambered for 223 Remington ammunition were by far the most
19 commonly purchased. Id. Respondents reported that modern sporting rifles were the
20 most popular long gun sold accounting for 17.7 percent of the firearms they sold in
21 2018. Id. at 109. In contrast, 12.7 percent of the firearms sold were traditionally styled
22 rifles while 13.7 percent of the firearms they sold were shotguns. Id.
23
         12. In 2019, NSSF published its Sports Shooting Participation in the United States
24
     in 2018 report. Attached hereto as Exhibit 6 is a true and correct copy of the 2019
25
     NSSF Sport Shooting Participation survey.
26
27       13. The report, based upon 3,000 telephone interviews, indicates that participation

28 in any target shooting or sport shooting increased 51.5 percent from approximately
                                                    -6-
             DECLARATION OF JAMES CURCURUTO IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 34.4 million participants in 2009 to 52.1 million participants in 2018, an increase of
 2 17.7 million participants. Exhibit 6. The report also indicates that participation in target
 3 shooting with modern sporting rifles increased 106.7 percent from approximately
 4
   8.9 million participants in 2009 to approximately 18.3 million participants in 2018. Id.
 5
   at 140-145.
 6
        14. The Federal Bureau of Investigation (FBI) releases National Instant Criminal
 7
   Background Check System (NICS) figures on a monthly basis. Attached hereto as
 8
 9 Exhibit 7 is a true and correct copy of the NSSF-Adjusted NICS report. NICS figures
10 are commonly viewed as a proxy for firearm sales. NSSF adjusts down the monthly FBI
11 NICS by subtracting background checks that do not correspond with a firearm transfer
12 (“NSSF-Adjusted NICS”). NSSF releases NSSF-Adjusted NICS data to the industry in
13 an attempt to provide a more accurate picture of market conditions. In 2018, total
14
   NSSF-Adjusted NICS were more than 13.1 million nationwide. Ex. 7 at 306.
15
        15. In December 2019, NSSF released their updated Firearms Production Report.
16
   This report compiled the most recent information based on data sourced from the ATF’s
17
18 Annual Firearms Manufacturing and Export Reports. Attached hereto as Exhibit 8 is a
19 true and correct copy of this report. Key findings of the report show: (i) the estimated
20 total number of firearms in civilian possession 423 million; (ii) 17.7 million Modern
21 Sporting Rifles were produced in the US or imported between 1990 – 2017.
22 (iii) Approximately half of all rifles produced in 2017 were modern sporting rifles; and
23
     (iv) in 2017, 7,901,218 firearms were produced in the US; of those 7.9 million firearms,
24
     4.4 million were pistols and revolvers, 2.8 million were rifles, and approximately 650
25
     thousand were shotguns. Exhibit 8.
26
27       16. Based on the findings listed above, it is my opinion that modern sporting rifles

28 are commonly used by millions of law-abiding Americans for a variety of lawful
                                                  -7-
           DECLARATION OF JAMES CURCURUTO IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 purposes. Additionally, it is my opinion that both lawful ownership and usage of
 2 modem sporting rifles have become even more common in recent years.
 3       I declare under penalty of perjury that the foregoing is true and correct. Executed
 4
     within the United States on December 6, 2019.
 5
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                                                 -8-
          DECLARATION OF JAMES CURCURUTO IN SUPPORT OF PLAINTIFFS ' MOTION FOR PRELIMINARY INJUNCTION
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  1                                  EXHIBITS
                                 TABLE OF CONTENTS
  2
       Exhibit    Description                                                      Page(s)
  3
  4       1       “AR’ Stands for Armalite,” National Shooting                   0001-0004
                  Sports Foundation, May 23, 2011
  5
          2       Excerpt from the Sporting Arms and Ammunition                  0005-0007
  6               (“SAAMI”) Glossary of Industry Terms for
  7               “automatic action.”
  8       3       ATF/ITC industry estimates                                     0008-0009

  9       4       2013 NSSF MSR Comprehensive Consumer Report                    0010-0095
          5       NSSF Firearms Retailer Survey Report                           0096-0135
 10
          6       2019 NSSF Sport Shooting Participation survey                  0136-0304
 11
          7       NSSF-Adjusted NICS report                                      0305-0306
 12
          8       ATF’s Annual Firearms Manufacturing and Export                 0307-0418
 13               Reports
 14
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              EXHIBIT "1"




                                    Exhibit 1
                                      0001
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                           ®




                                    NEWS




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                                     M AY 2 3 , 2 0 1 1


                       ‘AR’ STANDS FOR ARMALITE




Some people—even some within the rearms industry and hunting and target-shooting

communities—remain misinformed about AR-style modern sporting ri es, thinking that the AR
                                        Exhibit 1
                                          0002
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pre x stands for “assault ri e” or “automatic ri e.”
                                ®

It means neither.


The AR stands for ArmaLite, the company that in the 1950s developed this style of ri e, which
eventually became both the military’s M16 ri e and the civilian semi-automatic sporting ri e
known as the AR-15, or modern sporting ri e. This civilian ri e, manufactured by many

companies today, is confused with its military cousin because it looks similar. The civilian version,
however, is limited to ring one round with each pull of the trigger, just as other semi-automatics
operate.


You can help NSSF correct the “AR” confusion by using the graphic on this page on your websites

and blogs and in your magazines and TV shows.


The graphic promotes the website www.nssf.org/msr, where viewers can learn the facts about
“modern sporting ri es” and watch a video about the longstanding tradition of civilian sporting

ri es evolving from military rearms. NSSF encourages using the term “modern sporting ri e”

for describing these rearms because it eliminates the “AR” confusion and best describes the use
of these sport utility ri es.


The modern sporting ri e (MSR) is one of the top-selling rearms in America. A new NSSF report
shows that 30 percent of owners purchased their rst MSR in 2009 and 2010. Most use them for
target shooting, own more than one MSR and enjoy accessorizing them. The ri e is reliable,

rugged and produces little recoil. It comes in a variety of chamberings and is used for target
shooting, hunting and home defense. No wonder it’s popular.


Yet even though these ri es are commonly owned, they are threatened by potential legislation to
restrict ownership, as the 1994 Federal Assault Weapons Ban did until the ban expired in 2004.
Mislabeling these ri es as “assault ri es” was, and is, a strategy of gun-banners, and anyone who

uses that terminology aids e orts to strip away the right to own these versatile, fun-to-shoot
 rearms.




                                          Previous Article


                                           Next Article



                                             Exhibit 1
                                               0003
 Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.373 Page 14 of 428

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                                                       203.426.1320


                                                  CONNECT WITH
                                                     Exhibit 1 US
                                                          0004
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              EXHIBIT "2"




                                    Exhibit 2
                                      0005
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                   AUTOMATIC ACTION


< Back to home

A rearm design that continuously feeds cartridges, res and ejects cartridge cases as long as the
trigger is fully depressed and there are cartridges available in the feed system. Actuation of the
mechanism may be from an internal power source such as gas pressure or recoil, or external
power source, such as electricity.




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                                                 Exhibit 2
                                                   0006
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                                    Exhibit 2
                                      0007
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              EXHIBIT "3"




                                    Exhibit 3
                                      0008
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         NSSF® MSR History. 1990 - 2016 estimated US firearm production
         - exports + imports of MSR/AR, AK Platform Semi-automatic Rifles


                US Production less            US Import less
   YEAR         exports of MSR/AR           exports of MSR/AR,   ANNUAL TOTAL           Top US Manufactures of MSR's
                     platform                  AK platform

    1990                         43,000                 31,000              74,000   Adams Arms, Inc
    1991                         46,000                 69,000           115,000     Adcor Defense Inc
    1992                         33,000                 72,000           105,000     Aero Precision
    1993                         62,000                226,000           288,000     American Tactical Imports
    1994                       103,000                 171,000           274,000     Armalite
    1995                         54,000                 77,000           131,000     Barnes Precision Machine Inc
    1996                         27,000                 43,000              70,000   Black Rain Ordnance
    1997                         44,000                 81,000           125,000     Bravo Company Mfg Inc
    1998                         70,000                 75,000           145,000     Bushmaster
    1999                       113,000                 119,000           232,000     Colt
    2000                         86,000                130,000           216,000     CMMG
    2001                         60,000                119,000           179,000     Daniel Defense
    2002                         97,000                145,000           242,000     Diamondback Firearms LLC
    2003                       118,000                 262,000           380,000     Double Star
    2004                       107,000                 207,000           314,000     Del-ton
    2005                       141,000                 170,000           311,000     DPMS
    2006                       196,000                 202,000           398,000     DS Arms Inc.
    2007                       269,000                 229,000           498,000     FMK Firearms Inc
    2008                       444,000                 189,000           633,000     FN Manufacturing LLC
    2009                       692,000                 314,000          1,006,000    Good Times Outdoors, Inc
    2010                       444,000                 140,000           584,000     Heckler & Koch Inc
    2011                       653,000                 163,000           816,000     High Standard Firearms ltd
    2012                     1,308,000                 322,000          1,630,000    Hogan Manufacturing
    2013                     1,882,000                 393,000          2,275,000    I.O. Inc
    2014                       950,000                 237,000          1,187,000    JP Enterprises, Inc
    2015                     1,360,000                 244,000          1,604,000    Just Right Carbines
    2016                     2,030,000                 230,000          2,260,000    Kel-Tec CNC Industries
   TOTALS                   11,432,000               4,660,000         16,069,000    Knights Manufacturing
Sources: ATF AFMER, US ITC, Industry estimates                                       Lewis Machine & Tool Co
Nov. 2018                                                                            LRB of Long Island Inc
                                                                                     LWRC
                                                                                     Maverick
                                                                                     O F Mossberg & Sons
                                                                                     Mega Arms LLC - lowers
                                                                                     Noveske
                                                                                     Olympic Arms
                                                                                     Patriot Ordn.
                                                                                     PTR Industries
                                                                                     Remington
                                                                                     Rock River
                                                                                     Sig Sauer Inc / SIGARMS
                                                                                     Smith & Wesson
                                                                                     Stag Arms
                                                                                     Sturm, Ruger & Co., Inc.
                                                                                     TNW Firearms inc.
                                                                                     Tactical Weapons Solutions (TWS)
                                                                                     Troy Industries Inc
                                                                                     Wilsons Gun Shop (Wilson Combat)
                                                                                     Windham Weapondry Inc
                                                                                     WM C Anderson Inc




                                                                     Exhibit 3
                                                                       0009
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              EXHIBIT "4"




                                    Exhibit 4
                                      0010
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                                    NSSF® Report
              Modern Sporting Rifle (MSR)
           Comprehensive Consumer Report 2013



Ownership, Usage and Attitudes
Toward AR- and AK-Platform
Modern Sporting Riﬂes




Conducted for National Shooting Sports Foundation
by Sports Marketing Surveys




NSSF.ORG
                                                    Exhibit 4
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   1 METHODOLOGY
   TheMSRConsumerStudyemployedanonlinesurveymethodology.Withnodatabaseavailableof
   knownMSRowners,NSSFpromotedparticipationinthisstudyviaonlinebanneradsonvarious
   websites,blogsandenewslettersgearedtowardfirearmsownershipandhuntingsuchas:
   
      x AR15.comenewsletter
      x BushmasterWebsiteandFacebookpage
      x DPMSWebsiteandFacebookpage
      x Field&Streamblog
      x GunDigestwebsite
      x GunsandAmmowebsite
      x NSSFFacebookpage&Twitterpost
      x NSSF/GunBrokerPulltheTriggerenewsletter
      x RemingtonFacebookpage
      x Smith&WessonFacebookpage&Twitterpost
      x 3GunNationwebsiteandFacebookpage
      x TapcowebsiteandFacebookpage
      x Winchesterammunitionenewsletter
         

   Acontesttowinoneofthree$500Cabela’sgiftcardswasincludedasanincentivetocompletethe
   surveyinfull.Theterm“ModernSportingRifle”wasclearlydefinedasARorAKplatformrifles
   suchasanAR15,AR-10, AK-47or other semi-automatic rifles with detachable magazines.Photographsof
   both AR-and AK-platform MSR's were shownonthesurveylandingpage.Tofurtherpairdownresponseto
   those that would correctlycompletethesurvey,thesurvey’sinitialquestionasked“Doyouownatleastone
   Modern SportingRifle?(IfyoudonotownaMSRbutwouldstillliketobeenteredinthecontest,select
   “No”.)Thesesafeguardsnarrowedtheusableresponsesfrom26,719to21,942.

   Thisgivesaveryhighconfidencelevel.TheConfidenceIntervalforthefull“MSROwner”sample
   rangesfrom+/0.29percentagepointsto+/0.68percentagepointsatthe95%confidencelevel.
   So,forexample,ifthesurveyshows50%ofMSRownersshootatranges,wecanbeconfident95
   timesoutof100thattherealvaluelieswithin+/0.68percentagepointssobetween49.32%and
   50.68%.Ortoputitanotherway:Lessthan5timesoutof100wouldweexpecttofindadifference
   ofmorethan0.68percentagepointsduetosampling.

   SurveywasliveAprilandMay2013.

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   2 EXECUTIVE SUMMARY
   In the spring of 2013, The National Shooting Sports Foundation (NSSF) contracted with Sports
   Marketing Surveys (SMS) of Jupiter, Florida to conduct a large consumer study to learn more about
   the growing category of MSR Modern Sporting Rifle (MSR) ownership. This survey was formatted to
   follow the 2010 MSR Consumer Report from NSSF and SMS first collaboration in 2010. In the 2013
   survey, MSRs were specified as either an AR platform, AK platform or other semi-automatic rifle
   with a detachable magazine. Prior to the start of the survey, the NSSF gathered together a panel of
   industry leaders and experts from the manufacturing, retailing and law enforcement/military
   backgrounds to ensure that right questions were asked to provide the most amount of information
   possible.

   The survey was conducted using an Internet based methodology. Links were posted on many of the
   popular consumer oriented web sites in the industry in order to solicit responses. An incentive was
   used in order to facilitate this process. At the end of the fielding period, well over 26,000 total
   responses were received of which over 21,942 came from MSR owners. This response was a
   significant increase from the 2010 study of 11,400 respondents. This large sample meant that we
   were able to perform a number of very specific survey cross tabs to look at some differences among
   MSR owners.

   MSRs owners are predominantly male (99%). Over 75% of male MSR owners are married, of those
   married, more than half indicated their wife went target shooting with them and 14% own her own
   MSR. Even though only 1% of respondents were female, there appeared to be a large interest in
   MSRs and MSR related recreational shooting activities within the female population.

   Most owners are older, with 61% over the age of 45 and most don’t have children living in the
   home (58%). The more MSR’s owned, the more likely they are to lock up their weapons.

   35% reported having either military or law enforcement background. This is down from the
   44% reported in 2010. Although the veteran status has increased slightly, the 2013 survey seemed
   to tap more into the civilian MSR population.

   Although Range membership is down from 51% in 2010 to 48% in 2013, members have increased
   the usage of their MSRs compared to 2010. Range members tend to be older and have an income
   greater than $75,000. In regards to weapon and accessory purchase, the Range and Non-Range
   member have relatively the same habits with the exception of price. Over 60% are recent MSR
   buyers and plan on purchasing accessories in the next 12 months.

   The rate of ownership has increased dramatically since 2010. Those who only own one MSR, 49%
   purchased their first in 2012 and 2013. Overall, 2012 was the highest (17%) for new ownership since
   prior to 1994. 91% of all MSR owners own at least one AR Platform weapon. Just over a quarter of
   owners report having 4 or more MSR’s, with 14% being only AR Platforms. Most own only one AK
   Platform (67%). Those who one multiple MSR’s (2 or more) tend to be more active with almost half
   of them hunting, 92% target shooting and 19% shoot in competitions with an MSR.


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   MSR ownership is not limited to one category of guns. Many MSR owners own at least one other
   non-MSR weapon. Handguns are the most popular at 90%, followed by the traditional rifle and
   shotgun (82%). Muzzleloaders (28%) and Paintball guns (15%) are less favorable. Those under the
   age of 35 are more likely to own a paintball gun and less likely to own a muzzleloader. Only 1% of
   MSR owners, whether a single or multiple owner, own only MSRs.



   Over a third of MSR owners first gain interest in MSRs through a friend and a quarter through the
   military. ost MSR owners target shoot with at least one otherperson (84%) which mimics the
   2010 report. MSRs are mostly used for rifle target shooting (89%), either at a public range (52%)
   or private range (51%). Almost half of all MSR owners target shoot on family land, which could
   indicate target shooting as a family activity. 94% of MSR owners used at least one MSR in the past
   12 months. Most (40%) used their MSR on average once a month. Frequency of use increases with
   number of MSR owned.
   Most MSRs were bought from an independent retail store The average cost of a MSR was $1,058,
   $25 less than the average spent in 2010. .223/5.56mm was the prefer caliber for the AR Platform,
   where the AK platform was usual 7.62mm x 39mm caliber. Almost two thirds of MSR owners have
   at least a few accessories, added within 12 months of purchase, on their most recent MSR with an
   average of $400 dollars spent.



                                                                     2010        2013
                  Average # MSRs Owned                                2.6         3.1

                  Average $ Spent on MSRs                           $1,083      $1,058

                  Average $ Spent on MSRs Accessories                $436        $381




   *NOTE: 2013 NSSF Survey identified AR and AK platforms separately. 2010 NSSF Survey included AK
           but was tailored more toward the AR platform owner.


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   3 FAST FACTS
   1. The average MSR owner is 35+ years old, married and has at least some college education. 54%
       have a HH income of $75,000+ and 57% do not have children living with them.
   2. 66% of MSR owners that responded to the study own 2 or more MSRs.
   3. Those who shoot more than 24 times a year are much more likely to own multiple MSRs.
   4. MSR owners are more likely to own multiple AR platform MSRs than AK MSRs.
   5. 26% of MSR owners purchased their first rifle in 2012 or 2013. Over a 1/3 of those who own 4
       or more MSRs purchased their first MSR prior to 1994.
   6. 9 out of 10 MSR owners owned a handgun prior to owning an MSR.
   7. 33% of range members first gained interest in MSRs at a shooting range. Over a quarter of all
       MSR owners first gained interest in MSRs in the military.
   8. 35% of MSR owners are current or former military/law enforcement.
   9. Almost half of MSR owners are shooting range members and membership steadily increases
       with age and income.
   10.8 out of 10 MSR owners purchase their MSR new. Those who own only one MSRs are slightly
       more likely to purchase used than multiple MSR owners.
   11.!"!#2/3 of all MSR owners obtained their most recent MSR in 2012
        or 2013, while 7% received their most recent MSR in 2005 or earlier.
   12.55% of MSR owners paid under $1,000 for their MSR. Half of ! who shoot 2+ times/
       month paid $1,000 or more for their most recent MSR.
   13.36% of all MSR owners purchased their most recent MSR at an independent retail store or a gun
       show.
   14.Most MSRs recently purchased were chambered in .223/5.56mm.
   15.MSR owners consider accuracy and reliability to be the two most important things to consider
       when buying a MSR. Owners did not consider their friends/family having one to be important.
   16.79% of MSR owners have at least one accessory on their rifle or do not shoot “out of the box.”
       Younger (under 35 years of age) shooters prefer to heavy accessorize their rifle. 62% of owners
       accessorize their rifle after their purchase but within 12 months after purchasing it.
   17.Those most likely to spend $600+ on aftermarket customizations are: 4+ MSR owners, 2+
       times/month shooters, under 35 year olds and those with $110k+ HH income.
   18.71% of MSR owners use a scope as their primary optic. Older shooters tend to use a scope as
       their primary optic whereas younger shooters prefer a red dot as a primary optic.
   19.About half of all MSR owners use a 30-round magazine the most in their MSR. Younger MSR
       owners are more likely to use higher capacity magazines than older MSR owners.
   20.66% of MSR owners use a collapsible/folding stock but this usage rate decreases with age.
   21.3 out of 4 of the most recent MSRs purchased had flat top upper receivers.
   22.MSR owners are pretty evenly split on having rails or not having rails on their MSR.
   23.Black is the most popular finish color with 80% of owners saying their most recent MSR is
       black.
   24.Of the most recent MSRs purchased, 62% had a threaded barrel, 57% had a flash hider, 58% had
       a 16” barrel, and 51% operate on a direct gas impingement.

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   25.Those most likely to purchase a MSR in the next 12 months are: 4+ MSR owners, 2+
       times/month shooters, and between the ages of 45 to 54.
   26.The 3 most owned accessories are: gun cleaning kit (9;%), extra magazine (8%), and targets
      (<%). The top 3 that MSR owners intend to buy are: extra magazine, rigger=>!
       !.
   27.Recreational target shooting (8.9/10.0) was the #1 rated reason for owning a MSR in terms of
       importance. Home defense was 2nd at 8.2. Professional use/job related was the least important
       at 2.9.
   28.94% of owners have used their MSR in the last 12 months. Usage slightly decreases with age
       going from 96% usage rate for under 35’s to 92% for those 65+.
   29.;<% of MSR owners shoot !"!"!QQ=QQZ. 36% of reloaders shoot "!
       ormore compared to 25% for non-reloaders.
   30.34% of MSR owners shot more than they did the previous year. Half said they shot the same
       amount compared to the previous year.
   31.26% of MSR owners reported shooting more in the past 12 months which is down from 34%
       reported in 2010.
   32.52% of owners shoot at a public range and 51% shoot a private range. Private range usage
       increases with age, income, ="[! MSRs owned and shooting frequency.
   33.83% of all MSR owner keep their MSRs in a secure box when not in use.
   34.MSR owners use “budget” factory loads 43% of the time while premium loads account for 29%,
       reloads 16%, and import ammo 12%. Those who shoot more often are much more likely to use
       reload.
   35.21% of owners shot "! 1,000 rounds out of their MSR in the last 12 months. 27% of range
      members and 16% of non-members shot "! 1,000 rounds in the last 12 months. 26% of
       all owners anticipate shooting "! 1,000 rounds in the next 12 months.
   36.42% of owners buy 500+ rounds of ammo at one time. Frequent shooters and multiple MSR
       owners are most likely to buy 500+ rounds at one time.
   37.Just over a third of owners reload their ammo. Reloading is more popular with older shooters,
       range members and multiple MSR owners.
   38.7 out of 10 reloaders reload 40% of more of their ammo; 27% reload 90% or more.
   39.The most popular distance to hunt/target shoot with an MSR is 100-300 yards with 58% of
       owners shooting at those distances. 33% shoot at less than 100 yards. Younger shooters tend
       to shoot at shorter distances than older shooters.
   40.17% of MSR owners go shooting alone which is down from 20% in 2010. Older (over 35 years of
       age) shooters are more likely than younger shooters to shoot alone.
   41.8 out of 10 MSR owners feel they have not been able to shoot their MSR as much as they would
       like in the last 12 months.
   42.Lack of ammo available and the cost of ammo are the  main issues preventing MSR owners
       from shooting as much as they would like. The cost of ammo is much more important to
       younger shooters than it is to older shooters.




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   4 SAMPLE PROFILE
   4.1         Overall profile of MSR owners
           x N= 21,942


                                         Overall Sample Profile
                                                          0%        20%      40%         60%     80%       100%
    Gender




                                                 Male                                                        99%
                                               Female          1%
                                             Under 35                17%
                                              35 to 44                20%
    Age




                                              45 to 54                     25%
                                              55 to 64                     25%
                                                   65+              11%
                                   $45,000 and Under                 15%
    Income




                                   $45,001 to $75,000                      25%
                                  $75,001 to $110,000                      27%
                                            >$110,000                      27%
                              Some high school or less         1%
                High school graduate or GED equivalent              12%
                     Some college but did not graduate                     28%
    Education




                                     Associate degree                14%
                                     Bachelors degree                      27%
                                Post -graduate degree                14%
                             Other professional degree          5%
                                     Children in home                              42%
                                  No children in home                                     57%
                                              Married                                                75%
                                          Not Married                      25%
                              Military/L.E. Background                           35%
                                     Non-Military/ L.E.                                        65%


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   4.2   Geo-Analysis
   The following map shows the number of MSR owners per household that responded to the survey.




   In terms of total respondents the following map shows a pushpin per respondent.




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   4.3   Range Membership
      x 2012 N=21,942


                         Shooting Range Membership



                      Shooting                    Shooting
                     Range Non-                    Range
                      Member                      Member
                        52%                         48%




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   4.4    Military / Law Enforcement Background
   The following table shows the percentage of MSR owners that are active/veterans of military and
   law enforcement.


   Military / Law Enforcement                                  2010                   2013
   All MSR Owners                                              7#372                  21,942
   Military Background                                         37%                     29%
   L.E. Background                                             15%                     11%
   Either a Military or Law Enforcement Background             44%                     35%


   For those with a military background, the following table shows the split between active/veteran
   and the branch of military. =Q>Q!!Q!_QQ!"`=!"Z!{_!!||}
   Military Background                                          2010                 2013
   Military Active                                              13%                    12%
   Military Veteran                                             87%                    90%
   Military Branch
       Army                                                     42%                    42%
       Navy                                                     20%                    20%
       Air Force                                                21%                    21%
       Marines                                                  14%                    15%
       National Guard                                           11%                    12%
       Coast Guard                                              3%                     2%
       Reserves                                                 10%                    11%


   For those with a law enforcement background, the following table shows the split between
   active/veteran and the branch of law enforcement. Due to multiple responses, totals will not add
   up to 100%. =Q>Q!!Q!_QQ!#`=!"Z!{_!!||}

   Law Enforcement                                             2010                    2013
   L.E. Active                                                 50%                     51%
   L.E. Veteran                                                50%                     51%
   L.E. Branch
        Local                                                  63%                     63%
        State                                                  18%                     22%
        Federal                                                18%                     18%
        Other                                                  12%                      9%




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   5 MSR BUYING PROCESS
   5.1    Number of MSRs owned
      x 2010 N= 7,372
      x 2012 N=21,942

                                    Number of MSRs Owned
                                                  2010   2013                2010 Average Owned: 2.6
    50%
                 40%                                                         2013 Average Owned: 3.1
    40%                     35%
    30%                                 25%        25%                                              27%
                                                                                         21%
    20%                                                          14%         14%
    10%
      0%
                       1                      2                          3                     4+

      x 35% of MSR owners own a single MSR.
      x Over 30% reported owning 3 or more MSRs in both 2010 and 2013.



                                    Number of MSRs Owned
                           MSRs AR Platform        MSRs AK Platform            Other MSRs
                   67%
    60%      51%             54%

    40%
                                     24%
                                           19% 21%
    20%                                                                               14%           15%
                                                               11%           11%            8%
                                                                     6%
     0%
                       1                      2                      3                      4+




      x The average number of AR Platforms owned is 2.12.
      x The average number of AK Platforms owned is 1.68.



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   5.2   First MSR purchased
      x N= 21,942


                    When did you purchase/obtain your first MSR?
                    0%               10%                   20%         30%       40%
                                          9%
                                                            19%
            2013                    6%
                              3%
                         1%
                                                        17%
                                                                         30%
            2012                                       16%
                                              10%
                               4%
                                          9%
                                                12%
            2011                               11%
                                         8%
                               4%
                                         8%
                                         8%
            2010                            10%
                                                                                         MSR’s Owned
                                         8%
                                   5%
                                    6%                                                        Total
                                   5%
            2009                         8%
                                         8%                                                    1
                              5%
                                6%
                              5%                                                               2
            2008                 7%
                                    9%                                                         3
                              5%
                             4%
                          2%                                                                   4+
            2007             4%
                              5%
                             4%
                           3%
                          2%
            2006           3%
                             4%
                              5%
                                     10%
                                6%
      2001-2005                     9%
                                                    14%
                                                     15%
                                              10%
                               4%
     1995 - 2000                               11%
                                                 12%
                                                       16%
                                                          18%
                                    6%
    Prior to 1994                                   14%
                                                                 21%
                                                                               36%


      x 9% of MSR owners first purchased an MSR in 2013.
      x Those who own 4 or more MSRs have been owners for a long time, with 36% first buying
         prior to 1994.




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   5.3    Firearms owned prior to MSR ownership
      x N= 21,942


                 Which of the following did you purchase or own previous to
                                       owning a MSR?
                        0%        20%         40%              60%         80%         100%
                                                                                    90%
                                                                                   89%
           Handgun                                                                  90%
                                                                                     91%
                                                                                   89%
                                                                              82%
                                                                            79%
    Traditional Rifle                                                         82%          MSR’s Owned
                                                                                 85%
                                                                                84%            Total
                                                                              82%
                                                                            79%                1
            Shotgun                                                           82%
                                                                                84%            2
                                                                               83%
                                           28%                                                 3
                                          26%
      Muzzleloader                         28%                                                 4+
                                            30%
                                             31%
                                                                   64%
                                                                 61%
          BB/Airgun                                                64%
                                                                     67%
                                                                     67%
                                   15%
                                    16%
      Paintball gun                 16%
                                    16%
                                  14%
                             1%
                             1%
               None          1%
                             1%
                             1%


      x 9 out of 10 MSR owners had a handgun before owning their MSR.




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   5.4   Interest gained in MSRs
      x N= 21,942


                       Where did you first gain interest in MSRs?
                              0%     10%      20%          30%      40%        50%        60%
                                                                                        55%
                                                                                       54%
    Own Personal Interest                                                              54%
                                                                                        55%
                                                                                          57%
                                                                  33%
                                                                   34%
                     Friend                                      32%
                                                                   34%
                                                                31%
                                                             28%
                                                           26%
                   Military                                  28%
                                                               30%
                                                              29%                           MSR’s Owned
                                                           26%
                                                          25%                                     Total
           Shooting Range                                  26%
                                                            27%                                   1
                                                           26%
                                                   19%
                                                  18%                                             2
          Family Member                           18%
                                                   19%                                            3
                                                    20%
                                                   19%                                            4+
                                                  18%
                 Magazines                        18%
                                                  18%
                                                    20%
                                          11%
                                            13%
                   Internet               11%
                                         10%
                                        9%
                                       8%
                                      7%
                 Movies/TV            7%
                                      7%
                                        9%
                                      7%
                                     6%
                       Job            7%
                                      7%
                                      7%
                                   4%
                                   4%
                     Other         4%
                                    5%
                                     6%


      x Own personal interest, friends and military background were the most important
         influencers.


                                                                 *Multiple response, total will not equal 100%

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   5.5   Most Recent Purchase
      x N= 21,942


                   What platform was your most recently purchased MSR?
                  0%           20%             40%           60%          80%          100%
                                                                             82%
                                                                               85%
    AR Platform                                                              82%         MSR’s Owned
                                                                             82%
                                                                           79%                Total
                          11%
                         9%                                                                    1
    AK Platform            12%
                           12%                                                                 2
                            14%
                        7%                                                                     3
                       6%                                                                      4+
          Other        6%
                       6%
                        7%


      x8% of most recent MSR purchases were an AR Platform.



                        Was your most recently acquired MSR's?
                              0%   10%   20%     30%   40%    50%   60%   70%    80%   90%
                                                                                     82%
                                                                                    80%
           Purchased NEW                                                              83%
                                                                                       84%
                                                                                       84%
                                          15%                                            MSR’s Owned
                                           16%
          Purchased USED                  15%
                                         14%                                                    Total
                                         14%
                                1%                                                              1
                                 2%                            Purchased New
    Received NEW as a gift      1%                                                              2
                                1%                              2010:   81%
                                1%                                                              3
                                1%                              2013:   82%
                                1%                                                              4+
    Received USED as a gift     1%
                                1%
                               0%


      x 82% of all MSR purchases were new.
      x Less than 2% of all purchases of MSRs were for gifts.



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   5.6   Year of purchase
      x N=21,942



             In what year did you receive your most recent MSR as a
                                 purchase/gift?
                      0%      5%        10%      15%       20%       25%   30%     35%     40%
                                                                            29%
                                                                    22%
             2013                                                           29%
                                                                                  32%
                                                                                            38%
                                                                                      35%
                                                                                   33%
             2012                                                                       36%
                                                                                        36%
                                                                                          37%
                                                12%
                                                  13%
             2011                               12%
                                                12%
                                             10%                                             MSR’s Owned
                                       7%
                                        8%                                                        Total
             2010                      7%
                                       7%
                                 5%                                                               1
                               4%
                                 5%                                                               2
             2009              4%
                              3%                                                                  3
                              3%
                              3%
                                 5%                                                               4+
             2008              4%
                            2%
                            2%
                           1%
                            2%
             2007          1%
                           1%
                           1%
                           1%
                            2%
             2006          1%
                           1%
                           1%
                                       7%
                                              11%
    2005 or earlier                    7%
                                  5%
                             3%



      x 29% of MSR owners obtained their most recent MSR in 2013.
      x For those owning 4 or more MSRs, 38% obtained an MSR in 2013.




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   5.7    Price paid
      x N= 21,942


                 What was the initial price of your most recent MSR
                            (new out of the box cost)?
                       0%      10%            20%         30%        40%           50%
                                   9%
                                    10%
          Under $500               9%
                                   9%
                                  8%
                                                                                  46%
                                                                                     49%
      $500 - $1,000                                                               46%
                                                                                  46%
                                                                            41%
                                                            29%
                                                            29%
    $1,001 - $1,500                                           31%
                                                            29%                      MSR’s Owned
                                                            29%
                                   9%                                                       Total
                                  8%
    $1,501 - $2,000                9%                                                       1
                                   9%
                                        12%                                                 2
                           3%
                          2%                                                                3
    $2,001 - $2,500        3%
                            4%                                                              4+
                             5%                       Total Average Spent
                          2%
                         1%                             2010:    $1,083
    $2,500 - $3,500       2%                            2013:    $1,058
                          2%
                           3%
                         1%
                        0%                          Average Spent by MSR Type
             $3,500+    0%
                         1%                              AR:    $1,112
                         1%                              AK:    $711
                         1%
                          2%
          Don't Know     1%
                         1%
                         1%


      x 55% of MSR owners paid under $1,000 for their most recent MSR.
      x The more MSR’s owned, the more likely the owner would pay more for another gun.




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   5.8     Place of purchase
      x N= 21,942


                 Where did you buy your most recently acquired MSR?
                                      0%           10%         20%      30%     40%
                                                                                36%
          Independent Retail Store                                              36%
                                                                              34%
                                                                              34%
                                                                  19%
                  Internet Website                               18%
                                                                       25%
                                                                     22%
                                                         11%
    Chain or Big Box Retail Store                        11%
                                                6%
                                                      10%                                 Any
                                                     9%
          Different Parts Purchases                    11%
                                           1%                                             AR Platform
                                           1%
                                                    8%                                    AK Platform
                        Gun Show                   7%
                                                          13%
                                                   8%                                     Other
                                             3%
                 Purchased as a Kit          3%
                                              4%
                                           1%
                                            2%
                   Received as Gift         2%
                                             3%
                                              4%
                                           1%
                Direct Mail Catalog        1%
                                           1%
                                           1%
                                                         12%
                             Other                       12%
                                                           14%
                                                                 19%


      
      
      xIndependent retail accounted for 36% of all recent MSR purchases.

      x For the “other” responses, 1) Individual/Private Sale/Face to Face, 2) Purchased from friend
         or family, 3) Custom built/parts from a variety of sources were the top three purchasing
         sources.


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   5.9      Reasons for purchase
   How important were each of the following reasons for buying your most recent MSR?
      x On a scale of 1=Not at all important to 10=Very important

    Top 5 Reason for buying their most recent MSR
                                               Total                           Military/L.E.                 Non-Military/L.E.
    Reliable                                   9.01                                9.10                           8.96
    Accuracy                                   8.77                                8.88                           8.72
    Reputation of Manufacturer                 8.27                                8.32                           8.24
    Fits Body Type/Good Ergonomics             8.23                                8.32                           8.18
    Easy to Shoot                              8.11                                8.13                           8.09


                                              Total     AR Platform      AK Platform
                                            0.0   1.0    2.0   3.0     4.0      5.0      6.0       7.0        8.0      9.0       10.0
                                                                                                                              9.01
                                Reliable                                                                                      9.01
                                                                                                                              8.99
                                                                                                                            8.77
                               Accuracy                                                                                       8.99
                                                                                                          7.37
                                                                                                                     8.27
          Reputation of Manufacturer                                                                                  8.40
                                                                                                         7.26
                                                                                                                     8.23
    Good Ergonomics/Fits Body Type                                                                                    8.40
                                                                                                         7.15
                                                                                                                    8.11
                          Easy to Shoot                                                                              8.19
                                                                                                                7.70
                                                                                                                  7.90
                    Availability of Parts                                                                          8.02
                                                                                                              7.48
                                                                                                                7.73
            Availability of Ammunition                                                                         7.67
                                                                                                                    8.10
                                                                                                             7.39
                  Ability to Accessorize                                                                       7.64
                                                                                               6.14
                                                                                                           7.31
                 Aesthetically Pleasing                                                                    7.36
                                                                                                       6.92
                                                                                                         7.10
              Low Cost of Ammunition                                                                    7.03
                                                                                                              7.67
                                                                                                       6.96
                                   Price                                                               6.92
                                                                                                          7.28
                                                                                                      6.79
                           Light Weight                                                                6.98
                                                                                          5.74
                                                                                                     6.75
              To Avoid Any Future Ban                                                                6.78
                                                                                                      6.84
                                                                                                  6.41
                             Low Recoil                                                            6.60
                                                                                       5.31
                                                                                         5.60
               To Shoot Competitively                                                      5.83
                                                                             4.23
                                                                              4.36
          Taught to Use in Military/L.E.                                        4.55
                                                                      3.46                            Top 3 Reasons
                                                                             4.17
            Recommended by Retailer                                           4.29            2010                      201
                                                                       3.60
                                                                          3.97              Accuracy                  Reliable
           My Friends/Family Had One                                       4.08             Reliable                  Accuracy
                                                                      3.52
                                                                                           Reputation                Reputation

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                          Reasons purchase MSR Year Comparison
                          (1=Not Important to 10=Very Important)
                                                       2010    2013

                                           0.0   1.0   2.0    3.0   4.0   5.0    6.0      7.0    8.0   9.0   10.0

                                                                                                           8.93
                               Reliable
                                                                                                           9.01
                                                                                                            9.05
                              Accuracy
                                                                                                         8.77
                                                                                                      8.30
        Reputation of Manufacturer
                                                                                                      8.27
                                                                                                     8.10
    Good Ergonomics/Fits Body Type
                                                                                                      8.23
                                                                                                   7.85
                         Easy to Shoot
                                                                                                     8.11
                                                                                                     8.08
                   Availability of Parts
                                                                                                   7.90
                                                                                                     8.10
          Availability of Ammunition
                                                                                                  7.73
                                                                                                 7.52
                 Ability to Accessorize
                                                                                                7.39
                                                                                             6.95
                 Aesthetically Pleasing
                                                                                               7.31
                                                                                          6.59
            Low Cost of Ammunition
                                                                                              7.10
                                                                                           6.72
                                  Price
                                                                                             6.96
                                                                                            6.78
                          Light Weight
                                                                                            6.79
                                                                                               7.31
            To Avoid Any Future Ban
                                                                                           6.75
                                                                                       6.07
                            Low Recoil
                                                                                         6.41
                                                                             5.02
             To Shoot Competitively
                                                                                5.60
                                                                       3.90
       Taught to Use in Military/L.E.
                                                                          4.36
                                                                    3.50
          Recommended by Retailer
                                                                         4.17
                                                                    3.45
         My Friends/Family Had One
                                                                       3.97



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   6 MSR AND ACCESSORY SPECIFICATION
   6.1   MSR Caliber
      x N= 21,942


                              What caliber is your most recent MSR?
                                              0%          10%       20%        30%         40%     50%        60%         70%

                .223 / 5.56mm                                                                                               69%
              7.62mm x 39mm                               10%
                          0.308                         6%
                           0.22                        4%
    7.62mm x 51mm or x 54mm                          2%
                 .300 Blackout                       2%
                             6.8                     2%
                  5.45 x 39mm                       1%
                     9mm Para                       1%
                         Other                        3%


      x Over half of recent MSR purchases were chambered in .223 / 5.56mm.

                                                    AR Platform     AK Platform   Other

                                  0%          10%         20%      30%     40%       50%     60%      70%         80%      90%
                                                                                                                    80%
                 .223 / 5.56mm                      11%
                                                                         34%
                                           6%
                         0.308           3%
                                                           18%
                                         4%
                          0.22         1%
                                                10%
                                         2%
                            6.8        0%
                                       0%
                                         2%
                  .300 Blackout        0%
                                       0%
                                        1%
             7.62mm x 39mm                                                                                  71%
                                                      15%
                                       1%
    7.62mm x 51mm or x 54mm             3%
                                              9%
                                        1%
                     9mm Para          0%
                                          3%
                                       0%
                  5.45 x 39mm                8%
                                       0%
                                         2%
                         Other           2%
                                               10%



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   6.2    Level of accessories
      x N= 21,942


              I would consider my most recent MSR as I currently use
                                    it to be:
                                       0%    20%         40%          60%           80%

                                                                             64%

                                                                             64%
      Have a Few Accessories (1~3)                                           65%

                                                                             64%

                                                                            62%       MSR’s Owned

                                               19%                                         Total

                                                 21%                                       1
                                                                                           2
    Out of the Box (No Accessories)            19%
                                                                                           3
                                               18%
                                                                                           4+
                                               18%

                                              17%                   Few 1-3 Accessories
                                             15%                      2010:    64%
                                                                      2013:    64%
          Heavily Accessorized (4+ )         16%

                                               18%

                                                20%



      x Multiple MSR owners tend to accessorize their MSRs to a greater extent.
      x Only 19% of MSRs were operated “out of the box” with no accessories.
      x Almost Two thirds of MSRs had 1-3 accessories fitted.




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   6.3   When accessorized
      x N= 21,942


                 When did you add your accessories to your MSR?
                                       0%   10%    20%         30%     40%     50%     60%     70%

                                                                                             62%
                                                                                         58%
    Post Purchase (within 12 months)                                                         62%
                                                                                               64%
                                                                                               64%

                                                        19%
                                                       18%                                         MSR’s Owned
                 At Time of Purchase                   18%                                               Total
                                                        19%                                              1
                                                         20%                                             2
                                              10%                                                        3
                                                  13%                                                    4+
     Post Purchase (after 12 months)             11%
                                             9%
                                            7%

                                                    16%
                                                       18%
                      Not Applicable                16%
                                                   15%
                                                   15%




      x 19% of MSRs were accessorized at the time of purchase.
      x Just under two thirds of MSR owners accessorized within the first 12 months of purchase.




                                                                     *Multiple Response, total will not equal 100%


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   6.4   Amount spent on accessories
      x N= 21,942


                 How much after market customization did you do to
                  your most recent MSR in terms of dollars spent?
                   0%   5%     10%        15%      20%       25%    30%      35%     40%
                                            15%
                                               17%
             $0                            14%                            Total Averaged Spent
                                           14%
                                          13%                                 2010: $436
                               8%                                             2013: $381
                                    10%
       $1 - $100                   9%
                              7%
                             6%                                                        MSR’s Owned
                                           14%                                               Total
                                                 17%
    $101 - $200                         14%                                                  1
                                        14%
                                      12%                                                    2
                                                             23%                             3
                                                              24%
    $201 - $400                                              23%                             4+
                                                              24%
                                                 19%
                                              17%
                                            15%
    $401 - $600                                 18%
                                             16%
                                              17%
                                                              24%
                                                16%
          $601+                                             22%
                                                              24%
                                                                               34%


      x 24% of MSR owners spent $600 or more on accessories for their most recent MSR purchase.
         This rose to 34% for those owning 4 or more MSRs.

                                     Averaged Spent per MSR
                                           AR: $403
                                           AK: $292



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   6.5   Optics
      x N= 21,942

   The following table shows the optics fitted to the most recent MSR purchases:

                                               Primary                                Secondary
                                    2010                     2013           2010                  2013
    Iron sights                      27%                      33%            41%                   51%
    Scope                            42%                      37%             7%                    7%
    Red dot                          28%                      26%             9%                    7%
    Laser designator                  2%                       1%             7%                    3%
    Other                             1%                       1%             1%                    0%
    NONE                              0%                       2%            35%                   31%
                                    100%                     100%           100%                  100%

   6.6   Scope
   What type of Scope?

      x 2013 N= 9,699

                                                           Other
                                           Don't know
                                                            6%
                                              1%
                                                                       1 - 4x power
                         6 - 20x + power                                   scope
                              scope                                         26%
                               10%



                         4 - 14x power
                              scope
                               15%
                                                                           2 -7x power
                                                        3 - 9x power          scope
                                                            scope               9%
                                                             33%




      x 3-9x power is the most popular scope with 3;%.
      x A quarter of MSRs have 1-4x power scopes.




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                 What type of scope do you have on your most recent
                                  MSR purchase?
    100%
                                                                                          1 - 4x power scope
                        25%
     80%                                                  35%                             2 -7x power scope
                         8%
                                                                                          3 - 9x power scope
     60%                                                  11%
                        33%                                                               4 - 14x power scope
     40%                                                  34%                             6 - 20x + power scope
                        16%                                                               Don't know
     20%
                        11%           1%                   8%             2%
                                                           6%                             Other
      0%                 6%                                               4%
                     AR Platform                       AK Platform



   6.7    Magazine capacity
   Which magazine capacity do you use the most in your most recent MSR?

      x 2013 N= 21,942

                                                               5 round
                                           Other                           10 round
                                                               capacity
                                            2%                             capacity
                                                                  3%
                                                                             12%

                                                                               15 round
                                                                               capacity
                                                                                  2%

                          30+ round
                           capacity                                               20 round
                             56%                                                  capacity
                                                                                    21%

                                                                          25 round
                                                                          capacity
                                                                             4%



      x 56% of all MSR owners use 30+ round capacity magazines in their most recent MSR
         purchase.
      x The next most popular magazine capacity is 20 round.




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   6.8    Stock type
      x 2010 N= 7,372
      x 2013 N= 21,942


                      What type of stock is on your most recent MSR?
    100%
     90%
     80%
     70%                59%                                                     Collapsible/Folding
                                                         66%
     60%                                                                        Fixed
     50%                                                                        Precision
     40%
                                                                                Other
     30%
     20%                35%                              28%
                                   4%                              4%
     10%
                                   1%                              2%
      0%
                        2010                             2013

      x Over 66% of MSR owners in 2013 used a collapsible/folding stock.

   6.9    Upper receiver
      x 2010 N= 7,372
      x 2013 N= 21,942


                 What type of upper receiver is on your most recent MSR?
    100%
     90%
     80%                                                                      Flat top
     70%
                        67%                             73%
     60%                                                                      Removable Carry
     50%                                                                      Handl! ;
     40%                                                                      Fixed Carrying
     30%                                                                      Handle  
                        16%
     20%                                                12%
                                                                              Other
     10%                15%          2%                  9%         6%
      0%
                        2010                           2013

      x Nearly 7 out of 10 of the most recent MSRs purchased had flat top upper receivers.


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   6.10 Hand guard
      x 2010 N= 7,372
      x 2013 N= 21,942


                       What type of hand guard is on your most recent MSR?
    100%
     90%                                                                   Free Floating with Rails
                         26%                         27%
     80%                                                                   Standard without Rails
     70%
                                                                           Standard with Rails
     60%                 28%                         26%
     50%                                                                   Free Floating without Rails
     40%                                                                   Monolithic
                         21%                         26%
     30%                                                                   Other
     20%
             3%          16%              3%         12%                   Don't Know
     10%                            2%                           2%
                         3%                           4%
      0%
                         2010                        2013

      x MSR owners seem to prefer hand guards with rails (53%) than without (38%), whether
         standard or free floating.

   6.11 Finish color

                       What type of finish color is your most recent MSR?
    100%
     90%
     80%                                                                          Black
     70%                                                                          Camouflage
     60%                  83%                           80%                       Custom
     50%
                                                                                  Flat Dark Earth (FDE)
     40%
     30%                                                                          Olive Green
                  3%                            3%
     20%                          5%                              6%              Wood Grain
                  2%                            2%
     10%                          3%                              3%
                  2%                            5%                                Other
      0%                          2%                              2%
                          2010                          2013

      x Black is by far the most popular finish color with 80% of recent MSRs.




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   6.12 Barrel and Operation
   Thinking of your most recent MSR purchase:

      x 2010 N= 7,372
      x 2013 N= 21,942


           Is the barrel threaded or non-threaded?                                Does the barrel have:
    100%                                                        100%
                                                                                                       Flash Hider/Non-
     90%                                                         90%                                   Permanent
     80%                                                         80%                       39%         Flash
                                               Threaded                     45%
     70%                                                                                               Hider/Permanent
                 62%           62%                               70%
                                                                                                       Muzzle Brake/Non-
     60%                                       Non-threaded      60%                                   Permanent
     50%                                       /Crowned          50%                       18%         Muzzle
                                                                            19%                        Brake/Permanent
     40%                                       Don't Know        40%
                                                                                           15%         Don't Known
     30%                                                         30%        12%
                 25%           26%             Other                                       8%     3%
     20%                                                         20%         8%       1%               Other
                                                                             4%
     10%                                                         10%                       16%
                 11%    2%     10%     2%                                   12%                        None
      0%                                                          0%
                 2010         2013                                          2010           2013




                  What is the barrel length?                           What type of system does it operate on?
                         1%            1%
    100%                         4%                             100%
                  4%
                                                                                                          Direct Gas
     90%                                                         90%
                                                 11 ½”                                                    Impingement
     80%                                                         80%
                                                 14 ½”                                     51%
     70%         54%                                             70%                                      Gas Piston
                                58%                                         62%
     60%                                         16”
                                                                 60%
     50%                                         18”             50%                                      Recoil/Blow-back
     40%                                         20”             40%                                      Operated
                 12%                                                                       28%
     30%                        15%              24”             30%        20%                           Don't Know
     20%         19%                             Don't Know
                                                                 20%
                        3%      13%    5%                                   10%            11%
     10%          6%             4%                              10%
                                       2%        Other                       7%     1%      9%    1%
                        3%                                        0%                                      Other
      0%
                 2010           2013                                        2010           2013




      x 62% of most MSRs had a threaded barrel, 57% had a flash hider, 58% had a 16” barrel and
         51% operated on direct gas impingement.




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   7 FUTURE PURCHASE INTENTIONS
   7.1                 Likelihood of buying a new MSR in next 12 months
          x N= 21,942
          x On a scale of 1=Not at all important to 10=Very important


                                      How likely are you to purchase a new MSR in the next 12
                                                              months?
                                                           0.0   1.0      2.0      3.0   4.0   5.0       6.0       7.0         8.0

                                                  Total                                                           6.50
       12 months? # of MSRs owned




                                                      1                                                   5.79
                                                      2                                                          6.34
                                                      3                                                                6.76
                                                     4+                                                                       7.41
     How many times




                                         3 times or less                                                  5.8
      used in the last




                                          4 to 11 times                                                          6.33
                                         12 to 23 times                                                                 6.96
                                    More than 24 times                                                                         7.57
                                              Under 35                                                                  6.89
                                               35 to 44                                                                 6.94
                         Age




                                               45 to 54                                                            6.66
                                               55 to 64                                                         6.19
                                                    65+                                                5.46
                                     $45,000 and Under                                                          6.24
                         Income




                                     $45,001 to $75,000                                                          6.42
                                    $75,001 to $110,000                                                           6.51
                                             >$110,000                                                                 6.80


   The most likely sub-groups to buy a new MSR in the next 12 months were:

          x            Multiple MSR owners
          x            Frequent users
          x            The under 44s
          x            The more affluent groups

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   7.2        Currently own and likely to buy
         x    2010 N= 7,372
         x    2013 N= 21,942


                                                                      Plan to buy in next 12 months
                            Currently Own (% of respondents)
                                                                            (% of respondents)
                                   2010           2013                  2010               2013
   Gun Cleaning Kit            -                93%                       -                 7%
   Targets                     -                82%                       -                21%
   Extra Magazines             -                81%                       -                25%
   Rifle Sling               81%                78%                      12%               17%
   Soft Carrying Case        70%                78%                      10%                9%
   Gun Safe                    -                75%                       -                15%
   Gun Lock                    -                71%                       -                 2%
   Hard Carrying        61%                69%                      10%                8%
   Mounted Rifle         68%                65%                      16%               20%
   Backup Iron Sights        59%                61%                      10%               11%
   Tactical Flashlight       58%                55%                      16%               20%
   Railed Handguard          51%                54%                      15%               15%
   Bipod                     51%                49%                      17%               19%
   Spotting Scope            52%                47%                      18%               16%
   Vertical Foregrip         40%                44%                      15%               15%
   Stock Upgrade             39%                41%                      15%               17%
   Tactical Apparel          37%                34%                      11%               14%
   Range Finder              32%                33%                      23%               20%
   Trigger Upgrade           33%                32%                      24%               22%
   Laser Optic               26%                28%                      17%               19%
   Laser Designator          10%                16%                      10%               10%
   Night Vision              10%                10%                      10%               17%
   Sound Suppressor           6%                 7%                      19%               20%
     *5 new categories were added in the 2013 survey

    Top 5 most owned:                                       Top 5 most likely to buy in next 12 months:

         1.   Gun Cleaning Kit                                 1.   Extra Magazine
         2.   Targets                                          2.   Trigger Upgrade
         3.   Extra Magazines                                  3.   Targets
         4.   Rifle Sling                                      4.   Mounted Rifle Scope
         5.   Soft Carrying Case                               5.   Tactical Flashlight




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   8 MSR USAGE
   8.1   Reasons for owning a MSR
      x 2013 N= 21,942



                      Please rank the following reasons for owning a MSR.
                            (1=Not Important to 10=Very Important)
                                     0.00   2.00        4.00        6.00        8.00        10.00
                                                                                           8.99
                                                                                          8.88
    Recreational Target Shooting                                                           9.01
                                                                                          8.98
                                                                                            9.11
                                                                                     8.15
                                                                                    7.95
                   Home Defense                                                      8.13
                                                                                     8.18
                                                                                       8.43
                                                                               7.05            MSR’s Owned
                                                                           6.37
                        Collecting                                             6.96                 Total
                                                                                 7.27
                                                                                    7.88            1
                                                                            6.52
                                                                           6.33                     2
                  Varmint Hunting                                           6.55
                                                                             6.63                   3
                                                                             6.67
                                                                   5.13                             4+
                                                                4.60
           Competition Shooting                                    5.09
                                                                     5.33
                                                                       5.76
                                                                 4.75
                                                               4.38
                 Big Game Hunting                                4.74
                                                                  4.88
                                                                    5.18
                                                      2.90
                                                    2.59
    Professional Use/Job Related                     2.82
                                                      3.00
                                                        3.31


    Multiple (4+) MSR owners gave higher importance ratings for:
     x Recreational Target Shooting
                                                                 Top 3 Reasons
     x Home Defense
                                                                  2010 201
     x Collecting                          Rec Target Shooting: 8.91 Rec Target Shooting: 8.99
     x Varmint Hunting                          Home Defense: 7.74 Home Defense: 8.15
                                                      Collecting: 6.28 Collecting: 7.05


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                             Please rank the following reasons for owning a MSR.
                                   (1=Not Important to 10=Very Important)

                                      0.0      2.0        4.0               6.0         8.0           10.0

                                                                                                    9.10
     Recreational Target Shooting
                                                                                                   8.88
                                                                                              8.07
                     Home Defense
                                                                                               8.23
                                                                                      7.09                      Range Member
                         Collecting
                                                                                      7.01
                                                                                                                Non-Member
                                                                                   6.40
                   Varmint Hunting
                                                                                    6.62
                                                                              5.80
            Competition Shooting
                                                                     4.51
                                                                     4.64
                  Big Game Hunting
                                                                      4.86
                                                        2.92
     Professional Use/Job Related
                                                        2.87




                             Please rank the following reasons for owning a MSR.
                                   (1=Not Important to 10=Very Important)

                                         0.0     2.0           4.0           6.0           8.0           10.0

                                                                                                    8.86
        Recreational Target Shooting
                                                                                                     9.05
                                                                                                  8.35
                       Home Defense
                                                                                                 8.04           Military/L.E.
                                                                                                                Background
                                                                                      6.94
                            Collecting
                                                                                       7.1
                                                                                                                Non-Military/ L.E.
                                                                                     6.44
                     Varmint Hunting
                                                                                     6.56
                                                                             5.26
                 Competition Shooting
                                                                            5.06
                                                                       4.82
                    Big Game Hunting
                                                                       4.72
                                                                 3.84
        Professional Use/Job Related
                                                       2.39




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                      Please rank the following reasons for owning a MSR.
                            (1=Not Important to 10=Very Important)
                                     0.0   2.0       4.0          6.0        8.0     10.0

                                                                                   8.83
    Recreational Target Shooting                                                    8.99
                                                                                     9.12
                                                                                     9.20
                                                                               8.02
                   Home Defense                                                8.09
                                                                                8.29
                                                                                 8.42
                                                                         7.01        # Times Used an MSR
                        Collecting                                       7.00
                                                                                     in the Last 12 months
                                                                         7.04
                                                                          7.25              3 times or less
                                                                   5.77
                  Varmint Hunting                                     6.44
                                                                                            4 to 11 times
                                                                        6.90
                                                                           7.48
                                                            4.41                            12 to 23 times
           Competition Shooting                                4.98
                                                                  5.53                      More than 24
                                                                      6.26
                                                                                            times
                                                           4.16
                 Big Game Hunting                            4.63
                                                               5.00
                                                                   5.74
                                                 2.52
    Professional Use/Job Related                  2.76
                                                   3.02
                                                       3.67


   Avid users gave `_QZhigher importance ratings for:


      x ">!
      x Varmint Hunting
      x Big Game Hunting




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   8.2    Usage
   Have you used a MSR in the last 12 months?

      x N= 21,942


                               Use of MSRs by Number of MSR's Owned
          0%                20%        40%              60%            80%            100%
                                                                                     94%                Total
                                                                                   90%
    Yes                                                                               95%               1
                                                                                       96%
                                                                                        97%             2
                 6%                                                                                     3
                      10%                                     Use of MSRs
     No          5%                                                                                     4+
                4%                                            2010: 95%
               3%                                             2013: 94%



                      Use of MSRs by Range Member vs. Non-Range Member
          0%             20%         40%          60%            80%          100%

                                                                              94%         Total
    Yes                                                                        96%
                                                                             91%          Range Member
                 6%
                                                                                          Non-Range
     No        4%
                                                                                          Member
                    9%



                                           Use of MSRs by Age
          0%             20%          40%           60%            80%             100%
                                                                                                  Total
                                                                                94%
                                                                                  96%             Under 35
    Yes                                                                          95%
                                                                                94%               35 to 44
                                                                               92%
                                                                               92%
                 6%                                                                               45 to 54
               4%
                5%                                                                                55 to 64
     No          6%
                  8%                                                                              65+
                  8%

      x Usage patterns were very similar across most sub-groups. Younger, range members and
         multiple MSR owners tended to use their MSRs more.

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   8.3        Frequency of usage
   Approximately how many times in the last 12 months have you used your MSRs?



                           Frequency of Usage by Number of MSRs Owned
                               0%     10%           20%         30%           40%           50%

                                                          21%
                                                                      31%
             3 Times or Less                            21%
                                                     18%
                                             12%
                                                                                40%
                                                                                                  Total
                                                                                      44%
              4 to 11 Times                                                          43%          1
                                                                               39%
                                                                        34%                       2
                                                       20%
                                                15%                                               3
             12 to 23 Times                             21%                                       4+
                                                         22%
                                                          23%
                                                     18%
                                        9%
    More than 24 Times                          15%
                                                          21%
                                                                      31%


             The average number of times used among all MSR users was 16.5 in the last 12 months.




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                  Frequency of Usage per Range Member vs. Non-Range                       
                            0%     10%        20%          30%       40%          50%

                                                    21%
          3 Times or Less                     17%
                                                           26%
                                                                                          Total
                                                                         40%
           4 to 11 Times                                                39%
                                                                           42%            Range
                                                                                          member
                                                 20%
          12 to 23 Times                           22%                                    Non-
                                               18%                                        Member
                                               18%                            4 or More Times
    More than 24 Times                               22%                         2010: 57%
                                            15%                                  2013: 79%


   Usage frequency was higher among:

      x Range members
      x Multiple MSR owners.

   8.4    Able to Use as Often as Like
      x N= 21,492


                  Used MSRs as Often as Wanted by Number MSRs
                                     Owned
          0%           20%           40%            60%           80%             100%
                         18%
                         18%                % Shooting as often as like to            MSR’s Owned
    Yes                 17%                         2010: 21%                               Total
                         18%                        2013: 18%
                          19%                                                               1
                                                                       82%                  2
                                                                       82%
    No                                                                  83%                 3
                                                                       82%
                                                                      81%                   4+


      x Over 80% of all MSR owners reported not shooting their MSR as often as they would like.

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                 How important are each of the following in preventing
                      you from shooting your MSR more often?
                                       0.0     2.0      4.0       6.0        8.0        10.0
                                                                                    8.48
                                                                                    8.57
    Lack of Ammunition Available                                                    8.52
                                                                                    8.55
                                                                                   8.28
                                                                                 7.96
                                                                                 7.92
                 Cost of Ammunition                                              7.97
                                                                                  8.09 MSR’s Owned
                                                                                 7.93
                                                                         6.33                Total
                                                                        6.18                     1
            Not Enough Free Time                                        6.22
                                                                         6.38                    2
                                                                          6.61
                                                                                                 3
                                                               4.69
                                                                4.75                             4+
                  Distance to Travel                           4.58
                                                               4.65
                                                                4.74
                                                          3.71
                                                           3.89
                  Cost of Range Fees                      3.67
                                                         3.61
                                                         3.57
                                                         3.62
                                                          3.74
                 No One to Go With                       3.52
                                                         3.56
                                                         3.6

      x The lack of ammunition available was the main reason for the majority of all MSR’s owners
         report for not using their MSR as often as they like.


                                      Top Main Reasons for Not Shooting
                                      2010                          201
                         1.   Not Enough Free Time          1. Lack of Ammunition
                         2.   Cost of Ammunition            2. Cost of Ammunition
                         3.   Distance to Travel            3. Not Enough Free Time
                         4.   No One to Go with             4. Cost of Range Fees




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   8.5   Year/Year MSR Usage
      x 2010 N= 7,372
      x 2013 N= 21,942


                 Did you shoot your MSRs more, less or about the same in the
                         last 12 months compared to the year before?
                                              2010      2013
    60%
                                                                           48%     49%
    50%
    40%             34%
    30%                      26%                             25%
                                                18%
    20%
    10%
     0%
                         More                         Less                About the Same

      x MSR owners reported decrease in usage in the last 12 months compared to 2010
         participants who reported 34% increase of usage.
      x In both 2010 and 2013 survey, almost 50% of MSR owners reported shooting about the
         same.


                   Shooting Frequency Change by Number of MSRs Owned
                        0%      10%     20%           30%          40%   50%       60%
                                                  26%
                                                       30%
                 More                              26%                                     Total
                                                 24%
                                              21%                                          1
                                                  25%
                                                23%                                        2
                 Less                             25%
                                                   26%                                     3
                                                    27%
                                                                           49%             4+
                                                                         47%
    About the Same                                                        48%
                                                                            50%
                                                                             51%


      x Single MSR owners reported an increase of shooting frequency in the past 12 months than
         multi MSR owners.



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                Shooting Frequency Change by Range Member vs. Non-Range Member
                        0%      10%         20%         30%        40%        50%       60%

                                                        26%
                 More                                   26%                                       Total
                                                        26%
                                                     25%                                          Range Member
                 Less                              23%
                                                       27%
                                                                                                  Non- Member
                                                                                49%
    About the Same                                                               50%
                                                                              47%


      x Non-Range members were more likely to have decreased their usage over the last 12
         months compared to the previous year.

   8.6     Venues used MSR
      x 2010 N= 7,372
      x 2013 N= 21,942


                     In the last 12 months, where did you shoot your MSRs?
                                                       2010      2013

                                           0%      10%           20%      30%         40%         50%           60%

          Target Shoot at Public Range                                                        44%
                                                                                                          52%
          Target Shoot at Private Range                                                       44%
                                                                                                        51%
     Target Shoot on My/Family Land                                             31%
                                                                                            41%
          Target Shoot on Friends Land                                  23%
                                                                                32%
       While Hunting on Private Land                               19%
                                                                          26%
          While Hunting on Public Land                   10%
                                                           12%
                 Competition Shooting                   9%
                                                         10%
    At Paid Course/Training Academy               5%
                                                   6%
                         While at Work            5%
                                                  5%
                             In Military        2%
                                                2%
                                 Other            4%
                                                 3%



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                        Venue Used MSR by Number MSR Owned
                                         0%            20%         40%         60%        80%
                                                                               52%
                                                                              51%
         Target Shoot at Public Range                                         51%
                                                                               52%
                                                                               52%
                                                                              51%
                                                                         43%
        Target Shoot at Private Range                                       48%
                                                                                54%
                                                                                   60%
                                                                       41%
                                                                    36%
      Target Shoot on My/Family land                                   41%                       Total
                                                                        42%
                                                                           46%
                                                                 32%                             1
                                                               28%
         Target Shoot on Friends Land                            32%
                                                                  33%                            2
                                                                     37%
                                                              26%
                                                           20%                                   3
       While Hunting on Private Land                          26%
                                                               28%
                                                                 32%                             4+
                                                        12%
                                                     9%
        While Hunting on Public Land                    12%
                                                         13%
                                                          15%
                                                      10%
                                                 5%
                 Competition Shooting               8%
                                                        12%
                                                           17%
                                                  6%
                                               3%
     At Paid Course/Training Academy              6%
                                                   7%
                                                       11%
                                                 5%
                                               3%
                       While at Work             5%
                                                  6%
                                                    8%
                                              2%
                                              2%
                           In Military        2%
                                              2%
                                               3%
                                               3%
                                               3%
                               Other           3%
                                               3%
                                                4%

   Multiple MSR owners were relatively more likely to shoot:

      x At private range
      x Competition
      x At a paid course/training academy




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                                                      0054
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                  Venues Used by Range Member vs Non-Member
                                          0%       20%        40%     60%       80%
                                                                      52%
          Target Shoot at Public Range                                  56%
                                                                    48%
                                                                     51%
         Target Shoot at Private Range                                        69%
                                                            33%
                                                                41%
       Target Shoot on My/Family land                       33%
                                                                   48%
                                                            32%
          Target Shoot on Friends Land                     30%
                                                             35%
                                                         26%                          Total
         While Hunting on Private Land                   25%
                                                          27%                         Range Member
                                                   12%
         While Hunting on Public Land              12%
                                                   12%                                Non-Member
                                                  10%
                 Competition Shooting                17%
                                                4%
                                                 6%
      At Paid Course/Training Academy             9%
                                                4%
                                                5%
                        While at Work            6%
                                                5%
                                               3%
                                Other          2%
                                                4%
                                               2%
                            In Military        2%
                                               2%

      x Non-Members were more likely to target shoot on their/family land than range members.
      x Range members were more involved in competition shooting more than a non-member.




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                                                    0055
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                                                                                       MSR Consumer Report 2013



                          Venues Used by Frequency of MSR Use
                                         0%           20%          40%          60%       80%
                                                                            52%
                                                                          47%
         Target Shoot at Public Range                                        53%
                                                                            52%
                                                                             53%
                                                                            51%
                                                                    38%
        Target Shoot at Private Range                                     48%
                                                                                 57%
                                                                                    64%
                                                                        41%
                                                             27%
     Target Shoot on My/Family land                                 38%
                                                                          46%
                                                                                 57%
                                                                  32%
                                                           21%                                  Total
        Target Shoot on Friends Land                             30%
                                                                    37%
                                                                          46%
                                                             26%
                                                 10%                                            3 Times or Less
       While Hunting on Private Land                       21%
                                                                  33%
                                                                          48%
                                                  12%                                           4 to 11 Times
                                              4%
        While Hunting on Public Land            9%
                                                      15%
                                                            23%                                 12 to 23 Times
                                                 10%
                                              2%
                 Competition Shooting           7%
                                                     13%                                        More than 24
                                                            24%
                                                6%                                              Times
                                              2%
    At Paid Course/Training Academy            4%
                                                 8%
                                                    14%
                                               5%
                                              2%
                       While at Work           4%
                                                6%
                                                  10%
                                              2%
                                              2%
                           In Military        2%
                                              2%
                                               4%
                                              3%
                                              3%
                               Other          3%
                                              3%
                                               4%


      x Avid users (shooting 24+ times a year) were more likely to target shoot at a private range
         and their/family land, more likely to engage in competition shooting and more likely to work
         in a field in which they use their MSR.



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                                                        0056
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   8.7    MSR Storage
   When not in use, do you typically store your MSR in a secure gun storage or safety device such as a
   safe, gun safe or lock box that is designed to be unlocked only by means of a key or combination?

      x N= 21,942


               Store MSRs in a Secure Box by Number of MSRs Owned
          0%           20%             40%            60%             80%           100%

                                                                           83%
                                                                        78%                     Total
    Yes                                                                    83%
                                                                                                1
                                                                            85%
                                                                              88%               2
                        17%                                                                     3
                           22%
                                                                                                4+
     No                 17%
                       15%
                     12%


      x8;% of all MSR owners kept their MSR(s) locked in a safety device when not in use.
      x Those owners who only have one MSR tend to not keep their MSR locked up.




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   8.8   Ammo used
   What is the percentage breakdown of the ammunition you used in the last 12 months for your
   MSR?
     x 2010 N= 7,372
     x 2013 N= 21,942


    2010              Import
                                                       201           Import
                      Ammo                                            Ammo
                       12%                                             12%
                                                                                 
              Handloads                                       Handloads
                                 Factory                       /Reloads             Factory
               /Reloads          Loads/                                             Loads/
                 21%                                             16%
                                   ulk                                               ulk
                                 Packs                           Premium        Packs
                      Premium
                       Factory                                        Factory
                        Loads                                          Loads
                         25%                                            29%


      x Budget factory loads are used 43% of the time with premium loads accounting for 29%
         which is up from 2010 25%.

   8.9   Number of rounds fired in last 12 months and projected use
      x 2010 N= 7,372
      x 2013 N= 21,942

                                      Last 12 Months                      Next 12 Months
                                   2010             2013              2010               2013
    None                            6%               |%                0%                 2%
    1-50                            2%               4%                2%                 3%
    51 - 100                        5%               7%                4%                 5%
    101 - 200                      10%              12%                8%                10%
    201 - 400                      16%              18%               14%                16%
    401 - 600                      17%              16%               17%                18%
    601 - 800                       8%               7%                9%                 7%
    801 - 1,000                    12%              11%               15%                14%
    1,001 - 3,000                  20%              15%               22%                18%
    3,001 - 5,000                   5%               4%                6%                 5%
    5,001 - 10,000                  2%               1%                3%                 2%
    10,001 +                       0.4%             0.4%               1%                 1%

      x The average number of rounds fired decreased to 947 in 2013 from 1,056 in 2010.


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   8.10 Ammo buying
      x 2010 N= 7,372
      x 2013 N= 21,942


             When you buy ammunition, what quantity do you typically buy
                                  at one time?
                                                       2010    2013
    50%
                                                                               40% 39%
    40%
    30%                                                   26% 26%
                                     21% 22%
    20%
                 10% 10%
    10%                                                                                         3% 3%
     0%
            1 - 50 Rounds            51 - 199             200 - 499            500 - 1999       2000+

      x The amount of ammunition bought tends to stay consistent.


                 Quantity of Ammunition Bought by Numer of MSRs Owned
                    0%        10%          20%         30%         40%         50%       60%     70%
                             5%
                                   10%
           1 -100          3%
                             5%
                         1%
                                  8%
                                     12%
        101 - 200           5%
                                  8%
                          3%                                                                            Total
                               8%
                                   12%
        201 - 300            6%
                               8%                                                                       1
                           4%
                            5%                                                                          2
                              7%
        301 - 400          4%
                             6%
                         2%                                                                             3
                                  11%
                                    13%
        401 - 500               9%
                                   12%                                                                  4+
                              7%
                                                 21%
                                                   23%
      501 - 1,000                                   24%
                                                   23%
                                           16%
                                                                         41%
                                                 21%
          1,001 +                                               36%
                                                                                48%
                                                                                                 66%
                         1%
                         1%
           None          1%
                         1%
                         1%


      x 42% of owners buy 500+ rounds at one time, which increased to 59% for multiple MSRs
         owners.

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                                                         0059
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   8.11 Reloading
   Do you reload your own ammunition?

      x 2010 N= 7,372
      x 2013 N= 21,942


     2010                                            2013


                                Yes                                            Yes
                  No                                                           38%
                                45%                                No
                 55%                                              62%




                   Ammunition Reload by Number MSRs Owned
          0%     10%      20%      30%      40%       50%      60%       70%      80%

                                              38%
                                    27%
    Yes                                                                                     Total
                                           35%
                                                    44%                                     1
                                                            52%                             2
                                                                     62%                    3
                                                                               73%          4+
     No                                                                 65%
                                                               56%
                                                         48%


      x Overall, 38% of MSR owners reload their own ammunition. This rises to 52% for multiple
         MSR owners.




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   What percentage of total ammunition do you reload?

      x 2010 N=3,108
      x 2013 N= 8,338


                        % Total Ammunition Reload Year Comparision
                                                   2010        2013
         100% 100%
    100%          89%88%
                                 82%80%
     80%                                   73%71%
                                                  69%66%

     60%                                                        55%
                                                                   50% 51%
                                                                          46% 44%
                                                                                 38%
     40%                                                                               32%
                                                                                          27%
     20%                                                                                        13%11%

      0%
                 10%      20%     30%        40%        50%      60%       70%   80%     90%     100%

      x}of reloaders reload 50% or more of their ammo, % reload 90%of more.

   8.12 Ammunition storage
   Approximately how many rounds of ammunition do you keep on hand/own for your MSRs?

      x N= 21,942


                 None                    1 -100                               x 62% of MSR owners keep
                  1%                       5%      101 - 200               500+ rounds of ammunition on
                                                      8%                   hand.

                                                              201 - 300
                                                                 8%
                                                                                  Average kept on hand
                       1,001 +                                                         2013: 746
                                                               301 - 400
                         41%                                      5%
                                            401 - 500
                                 501 -        11%
                                 1,000
                                  21%




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                 Rounds of Ammo on Hand by Number of MSRs Owned
                  0%        10%      20%         30%    40%         50%    60%     70%
                            5%
                                10%
         1 -100            5%
                         3%
                       1%
                              8%
                                  12%
      101 - 200               8%
                           5%
                         3%
                              8%
                                  12%
      201 - 300               8%
                            6%                                                              Total
                          4%
                           5%
                             7%                                                             1
      301 - 400             6%
                          4%
                        2%                                                                  2
                                 11%
                                   13%
      401 - 500                   12%
                               9%                                                           3
                             7%
                                           21%
                                             23%                                            4+
    501 - 1,000                               24%
                                             23%
                                    16%
                                                              41%
                                           21%
        1,001 +                                        36%
                                                                     48%
                                                                                   66%
                       1%
                       1%
          None         1%
                       1%
                       1%

      x Multiple MSR owners tend to keep more ammunition on hand.




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                 Rounds of Ammo on Hand by Frequency of MSR Usage
                  0%                 20%              40%               60%
                            5%
                              9%
         1 -100           5%
                        3%
                       2%
                            7%
                               11%
      101 - 200              8%
                          5%
                        3%                                                      Total
                             8%
                               11%
      201 - 300               9%
                            7%
                          5%                                                    3 times or less
                          5%
                           6%
      301 - 400            6%
                         4%                                                     4 to 11 times
                        3%
                               11%
                               11%
      401 - 500                11%                                              12 to 23 times
                               11%
                              9%
                                       21%
                                       21%
    501 - 1,000                         22%                                     More than 24
                                        22%                                     times
                                     18%
                                                            42%
                                                30%
        1,001 +                                           38%
                                                                  47%
                                                                          59%
                       1%
                       1%
          None         1%
                       1%
                       1%


      x The more often a MSR owner uses his/her MSR, the more ammunition they tend to keep on
         hand.




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   When not in use, do you typically store you MSR ammunition in a secure storage or safely device
   such as a safe, gun safe or lock box that is designed to be unlocked only by means of a key or a
   combination?

      x N= 21,723 (the number of MSR owners who keep ammunition on hand)


                   Ammunition Secure by Number of MSR Owned
          0%     10%       20%       30%        40%      50%      60%       70%       80%

                                                                               69%            Total
                                                                              68%
    Yes                                                                        69%            1
                                                                                70%           2
                                                                              68%             3
                                         31%
                                                                                              4+
                                          32%
     No                                  31%
                                        30%
                                          32%


      x % of all MSR owners kept their ammunition in a secure box.




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   8.13 MSR shooting distance
      x N= 21,942


                 What distance do you generally hunt or target shoot at with
                                    your primary MSR?
                        0%   10%     20%      30%        40%       50%      60%       70%
                                                   33%
    Under 100 Yards                                     39%
                                                     35%
                                                 30%                                             Total
                                              26%
                                                                            58%
      100 - 300 Yards                                                    54%
                                                                            58%                  1
                                                                              61%
                              5%                                               62%               2
      300 - 500 Yards       3%
                             4%
                               6%
                                                                                                 3
                            2% 8%
    500 - 1,000 Yards     1%
                          1%                                                                     4+
                           2%
                             3%                                    2010       2013
                         0%
       1,000 + Yards     0%                         <100 yards:     29%       33%
                         0%
                         0%
                         0%                         100-300 yards: 36%        58%
                           2%
      Not Applicable        3%                      300+ yards:      7%         8%
                           2%
                           2%
                          1%


      x The most popular distance to fire MSRs was 100-300 yards. Multiple MSR owners tend to
         shoot slightly longer distance.

   8.14 Who do you MSR shoot with
      x N= 21,749


                  When target shooting, do you generally go shooting with:
                                             2010     2013
    50%                              45% 44%
    40%                                                            36%
                                                             31%
    30%
                 20% 17%
    20%
    10%                                                                             4%      4%
     0%
                   Alone        With 1 Other Person      With 2 - 4 Other         With 5+ Other
                                                             People                  People

      x 17% of MSR owners shoot alone, down from 20% in 2010.
      x The most popular shooting party size was 2 with 44% in 2010 and 45% in 2012 of occasions.

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                            Does your wife participate in MSR activities?
    70%           62%64%
           59% 58%
    60%       54%
    50%
    40%                                                                                                          Total
                                          29%                         31%29%
    30%                                                             26%    24%              24% 19%              1
                                       19%           16% 15%                 20%         21%
                                                                                              20% 19%            2
    20%                       14%                 15% 16%
                                    11%                     11%
    10%                                                                                                          3
                                 2%
                                                                                                                 4+
     0%
          Goes target shooting Owns her own MSR   Does not own an    Does not own an     Has no interest in
                with me                              MSR but is      MSR and has no      target shooting or
                                                    interested in   interest in owning        firearms
                                                   purchasing one          one


      x Of th!Q!MSR owners who are married (75%), 59% state that their wife goes target
           shooting with them.
      x ultiple!Q!_QQ!#!=QQQ!{_!!||}.



   8.15 Other firearm shooting activity
                                                        Other Firearm                              MSR
                                                      2010              2013              2010                2013
   Handgun Target Shooting                            72%                n/a               0%                  |}
   Hunting Big Game                                   37%               38%               13%                 14%
   Skeet Shooting                                     34%                n/a               0%                  |}
   Rifle Target Shooting                              32%               42%               86%                 89%
   Hunting Small Game                                 31%               33%               23%                 23%
   Sporting Clays                                     30%                n/a               0%                  |}
   Trap Shooting                                      30%                n/a               0%                  |}
   Hunting Varmint                                    19%               22%               37%                 37%
   Competition Shooting                               11%                9%               14%                 15%


      x MSR owners participated in a wide variety of other shooting and hunting activities with
         other firearms. Nearly three quarters also participated in handgun target shooting. Around a
         third took part in big game hunting, skeet shooting, rifle target shooting, small game
         hunting and trap shooting.




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   9 PROFILES
   9.1     Single MSR owners vs multiple MSR owners

                  Profile - Single MSR Owners vs. Multiple MSR Owners
                                       0%             20%                40%                60%            80%           100%

                        Own 1 MSR                                                                                             100%
                                            0%
                      Own 2+ MSR            0%
                                                                                                                              100%
                    Range Member                                               40%
                                                                                        52%
              Non-Range Member                                                              60%
                                                                                      48%
                   Infrequent User                                 28%
                                                       16%
                      4 to 11 Times                                         40%
                                                                          37%
                     12 to 23 Times                   14%
                                                            21%
                          Avid User              8%
                                                             22%
         Military/L.E. Background                                    33%
                                                                       36%                                                      Own 1 MSR
                 Non-Military/ L.E.                                                                  67%
                                                                                                   64%
                          Under 35                      19%
                                                      15%
                            35 to 44                     20%
                                                         20%
                                45+                                                           59%
                                                                                                63%                             Own 2+ MSR
                         Up to $75K                                            45%
                                                                           38%
                          >$75,000                                                50%
                                                                                             58%
             Less than a Bachelors                                                          56%
                                                                                           54%
                        Bachelors +                                               44%
                                                                                   46%
                 Children in home                                               42%
                                                                                 43%
              No children in home                                                            57%
                                                                                             57%
                Target Shoot MSR                                                                                  84%
                                                                                                                        92%
               Competition Shoot                 9%
                                                        19%
                   Hunt Using MSR                                        34%
                                                                                     46%
          Use MSR for Work/Law               3%
                                               6%
    Not Used MSR Last 12 Months                  10%
                                              4%
                      Recent Buyer                                                         54%
                                                                                                      70%
    Premium MSR Buyer (>$1500)                   10%
                                                     17%
        Heavily Accessorised MSR                    15%
                                                      18%
          High Spend Accessories                     17%
                                                               27%
      Very Likely to Buy New MSR                              25%
                                                       16%
          Plan to Buy Accessories                                                                           77%
                                                                                                           75%


   Multiple MSR owners are relatively more likely to be:

       x   A range member                                                             x    Competition shooter
       x   A frequent or avid user                                                    x    Hunt using the MSR
       x   From a military background                                                 x    Recent MSR buyer
       x   45 or older                                                                x    Heavily accessorized MSR
       x   Earn over $75,000                                                          x    High spend on MSR and accessories
       x   No children at home

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   9.2       Range Member vs Non-Range Member

                          Profile - Range Member vs Non-Range Member
                                         0%            20%             40%              60%           80%         100%

                          Own 1 MSR                              29%
                                                                           40%
                        Own 2+ MSR                                                                70%
                                                                                          59%
                      Range Member                                                                                     100%
                 Non-Range Member                                                                                      100%
                     Infrequent User                   16%
                                                             24%
                        4 to 11 Times                                   38%
                                                                        38%
                       12 to 23 Times                      21%
                                                        16%
                            Avid User                      21%
                                                      13%
            Military/L.E. Background                                 37%
                                                                   33%
                   Non-Military/ L.E.                                                         63%                        Range
                                                                                                67%
                            Under 35                  14%                                                                Member
                                                          20%
                              35 to 44                   19%
                                                           22%
                                  45+                                                           67%
                                                                                         58%                             Non-Range
                           Up to $75K                                34%
                                                                                 46%                                     Member
                            >$75,000                                                      61%
                                                                                   50%
               Less than a Bachelors                                               50%
                                                                                         59%
                          Bachelors +                                              50%
                                                                             41%
                    Children in home                                          42%
                                                                               43%
              No children in home                                                       58%
                                                                                       56%
                Target Shoot MSR                                                                                 91%
                                                                                                              86%
               Competition Shoot                             24%
                                                8%
               Hunting Using MSR                                             42%
                                                                             42%
          Use MSR for Work/Law                 5%
                                              4%
    Not Used MSR Last 12 Months               4%
                                                 8%
                      Recent Buyer                                                              65%
                                                                                               64%
    Premium MSR Buyer (>$1500)                           17%
                                                      13%
        Heavily Accessorised MSR                          18%
                                                        16%
          High Spend Accessories                               28%
                                                           20%
      Very Likely to Buy New MSR                          18%
                                                           20%
          Plan to Buy Accessories                                                                     74%
                                                                                                        77%



   Range members are relatively more likely to be:

       x     Own multiple MSRs                                                    x    A target shooter
       x     An avid MSR user                                                     x    A recent MSR buyer
       x     Age over 45                                                          x    High spend on MSR and accessories
       x     Income over $75K                                                     x    Premium MSR buyer
       x     Educated                                                             x    Plan to buy accessories in the next 12
       x     Have no children at home                                                   months



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   9.3       Infrequent MSR User vs Avid User

                         Profile - Infrequent (<3x) vs Avid (+24x) MSR User
                                         0%               20%            40%             60%               80%            100%

                          Own 1 MSR                                                  48%
                                                           17%
                        Own 2+ MSR                                                     51%
                                                                                                                  83%
                      Range Member                                           38%
                                                                                             59%
                 Non-Range Member                                                             61%
                                                                               41%
                     Infrequent User                                                                                         100%
                                              0%
                        4 to 11 Times         0%
                                              0%
                       12 to 23 Times         0%
                                              0%
                            Avid User         0%
                                                                                                                             100%
            Military/L.E. Background                                   32%
                                                                             38%
                   Non-Military/ L.E.                                                                68%
                                                                                               62%
                            Under 35                       16%
                                                              21%
                              35 to 44                       20%
                                                               22%
                                  45+                                                            63%
                                                                                         56%                                     Infrequent
                           Up to $75K                                          41%                                               User
                                                                              40%
                            >$75,000                                                    53%
                                                                                          56%
               Less than a Bachelors                                                    53%
                                                                                           57%
                          Bachelors +                                             46%                                            Avid User
                                                                                43%
                    Children in home                                           41%
                                                                                43%
                 No children in home                                                      58%
                                                                                         56%
                   Target Shoot MSR                                                                                 87%
                                                                                                                           97%
                  Competition Shoot                6%
                                                                       32%
                  Hunting Using MSR                             22%
                                                                                                     68%
             Use MSR for Work/Law              2%
                                                    10%
    Not Used MSR Last 12 Months               0%
                                              0%
                      Recent Buyer                                                             62%
                                                                                                       71%
    Premium MSR Buyer (>$1500)                            13%
                                                              20%
        Heavily Accessorised MSR                         12%
                                                                 25%
          High Spend Accessories                           15%
                                                                             38%
      Very Likely to Buy New MSR                                 25%
                                                        11%
          Plan to Buy Accessories                                                                           77%
                                                                                                           75%



   Avid MSR users are relatively more likely to be:

       x     Own multiple MSRs                                                       x A recent MSR buyer
       x     A range member                                                          x High spend on accessories
       x     Military background                                                     x Heavily accessorized MSR
       x     Age 45 and over
       x     Competition shooter, hunters and use
              MSR for work/law enforcement



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   9.4       Target Shooters vs Hunters

                                     Profile - Target Shooters vs Hunters
                                         0%              20%                40%          60%             80%         100%

                          Own 1 MSR                                    32%
                                                                     28%
                        Own 2+ MSR                                                                   67%
                                                                                                       71%
                      Range Member                                                    49%
                                                                                     48%
                 Non-Range Member                                                      50%
                                                                                        52%
                     Infrequent User                          20%
                                                       11%
                        4 to 11 Times                                         40%
                                                                            36%
                       12 to 23 Times                          20%
                                                                 24%
                            Avid User                         19%
                                                                   28%
            Military/L.E. Background                                        35%                                             Target
                                                                            35%
                   Non-Military/ L.E.                                                            65%                        Shoot MSR
                                                                                                 65%
                            Under 35                         18%
                                                             18%
                              35 to 44                         21%
                                                               21%
                                  45+                                                          61%
                                                                                              60%                           Hunting
                           Up to $75K                                         40%
                                                                               42%                                          Using MSR
                            >$75,000                                                      56%
                                                                                         54%
               Less than a Bachelors                                                     54%
                                                                                           57%
                          Bachelors +                                              45%
                                                                                  43%
                    Children in home                                              43%
                                                                                   45%
                 No children in home                                                      56%
                                                                                         54%
                   Target Shoot MSR                                                                                      100%
                                                                                                                       96%
                  Competition Shoot                          17%
                                                              19%
                  Hunting Using MSR                                                45%
                                                                                                                         100%
             Use MSR for Work/Law                5%
                                                  6%
    Not Used MSR Last 12 Months                2%
                                              1%
                      Recent Buyer                                                                65%
                                                                                                 64%
    Premium MSR Buyer (>$1500)                           15%
                                                          16%
        Heavily Accessorised MSR                           18%
                                                            19%
          High Spend Accessories                                    25%
                                                                      28%
      Very Likely to Buy New MSR                           18%
                                                         15%
          Plan to Buy Accessories                                                                         77%
                                                                                                         75%



   Target shooters and hunters have very similar profiles. Hunters are slightly more likely to be:

       x     Multiple MSR owners
       x     Not be a member of a range
       x     Less well educated
       x     Be an avid user
       x     More likely to buy an MSR in the next 12 months




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   9.5     Owners who haven’t use their MSRs

                                                       Profile - Non-Users
                                       0%              20%              40%            60%            80%         100%

                        Own 1 MSR                                      34%
                                                                                        57%
                      Own 2+ MSR                                                              65%
                                                                              41%
                    Range Member                                                    48%
                                                                  29%
              Non-Range Member                                                        52%
                                                                                                    71%
                   Infrequent User                        20%
                                            0%
                      4 to 11 Times                                         38%
                                            0%
                     12 to 23 Times                       19%
                                            0%
                          Avid User                      17%                                                             All MSR
                                            0%
         Military/L.E. Background                                       35%                                              Owners
                                                                      31%
                 Non-Military/ L.E.                                                           65%
                                                                                                69%
                          Under 35                     17%
                                                   10%
                            35 to 44                     20%
                                                       17%
                                45+                                                         62%                          Haven't Used
                                                                                                71%
                         Up to $75K                                          40%                                         MSR last 12
                                                                                45%
                          >$75,000                                                     55%                               Months
                                                                                   49%
             Less than a Bachelors                                                    54%
                                                                                        56%
                        Bachelors +                                             45%
                                                                               43%
                 Children in home                                             42%
                                                                            38%
              No children in home                                                        57%
                                                                                           61%
                Target Shoot MSR                                                                                89%
                                                                25%
               Competition Shoot                       15%
                                             3%
               Hunting Using MSR                                              42%
                                                  9%
          Use MSR for Work/Law                 5%
                                            0%
    Not Used MSR Last 12 Months                 6%
                                                                                                                      100%
                      Recent Buyer                                                            64%
                                                                                        57%
    Premium MSR Buyer (>$1500)                       15%
                                                    13%
        Heavily Accessorised MSR                      17%
                                                  8%
          High Spend Accessories                             24%
                                                   10%
      Very Likely to Buy New MSR                          19%
                                                                      31%
          Plan to Buy Accessories                                                                      76%
                                                                                                    71%



   Non-MSR users are relatively more likely to be:

       x   Single MSR owners
       x   Non-range member
       x   Age over 45
       x   No children at home
       x   Have fewer accessories
       x   Spend less on MSR
       x   Less likely to buy in the next 12 months.


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   9.6     Premium Buyers

                                       Profile - Premium Buyers (>$1500)
                                       0%         20%            40%              60%          80%          100%

                        Own 1 MSR                                34%
                                                         24%
                      Own 2+ MSR                                                        65%
                                                                                               75%
                    Range Member                                              48%
                                                                                  54%
              Non-Range Member                                                  52%
                                                                            45%
                   Infrequent User                  20%
                                                   18%
                      4 to 11 Times                                   38%
                                                                32%
                     12 to 23 Times                 19%
                                                     21%                                                           All MSR
                          Avid User                17%
                                                       23%                                                         Owners
         Military/L.E. Background                                35%
                                                                33%
                 Non-Military/ L.E.                                                     65%
                                                                                         67%
                          Under 35                 17%                                                             Premium
                                                    18%
                            35 to 44                 20%                                                           MSR Buyer
                                                       23%
                                45+                                                  62%                           (>$1500)
                                                                                   58%
                         Up to $75K                                    40%
                                                               30%
                          >$75,000                                                55%
                                                                                         66%
             Less than a Bachelors                                               54%
                                                                            48%
                        Bachelors +                                       45%
                                                                              52%
                 Children in home                                       42%
                                                                        42%
              No children in home                                                57%
                                                                                 57%
                Target Shoot MSR                                                                         89%
                                                                                                          90%
               Competition Shoot                  15%
                                                        21%
               Hunting Using MSR                                        42%
                                                                         44%
          Use MSR for Work/Law              5%
                                             6%
    Not Used MSR Last 12 Months              6%
                                            5%
                      Recent Buyer                                                      64%
                                                                                                 79%
    Premium MSR Buyer (>$1500)                    15%
                                                                                                                100%
        Heavily Accessorised MSR                   17%
                                                        25%
          High Spend Accessories                       24%
                                                                                53%
      Very Likely to Buy New MSR                    19%
                                                   17%
          Plan to Buy Accessories                                                              76%
                                                                                                77%



   Premium buyers are relatively more likely to be:

       x   A range member
       x   Own multiple MSRs
       x   Avid users
       x   Use their MSR in Target shooting
       x   Be a recent MSR buyer
       x   High spend on accessories



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   9.7      Owners of Heavily Accessorized MSR Owners

                         Profile - Heavily Accessorized (4+) MSR Owners
                                        0%           20%             40%              60%            80%          100%

                        Own 1 MSR                                    34%
                                                                   31%
                       Own 2+ MSR                                                            65%
                                                                                               69%
                   Range Member                                                   48%
                                                                                    51%
               Non-Range Member                                                      52%
                                                                                  48%
                    Infrequent User                        20%
                                                     14%
                       4 to 11 Times                                  38%                                                All MSR
                                                                     36%
                     12 to 23 Times                    19%                                                               Owners
                                                         22%
                           Avid User                  17%
                                                           25%
           Military/L.E. Background                                  35%
                                                                      36%
                  Non-Military/ L.E.                                                          65%
                                                                                             64%
                           Under 35                   17%
                                                           25%                                                           Heavily
                             35 to 44                   20%
                                                          24%                                                            Accessorised
                                 45+                                                        62%
                                                                                    51%                                  MSR
                          Up to $75K                                       40%
                                                                            42%
                           >$75,000                                                   55%
                                                                                      55%
              Less than a Bachelors                                                  54%
                                                                                      55%
                         Bachelors +                                          45%
                                                                              45%
                   Children in home                                         42%
                                                                             44%
                No children in home                                                    57%
                                                                                      55%
                Target Shoot MSR                                                                               89%
                                                                                                                 93%
               Competition Shoot                     15%
                                                            22%
               Hunting Using MSR                                            42%
                                                                              46%
          Use MSR for Work/Law                5%
                                                7%
    Not Used MSR Last 12 Months                6%
                                             3%
                      Recent Buyer                                                           64%
                                                                                             64%
    Premium MSR Buyer (>$1500)                       15%
                                                          22%
        Heavily Accessorised MSR                       17%
                                                                                                                       100%
          High Spend Accessories                           24%
                                                                                      55%
      Very Likely to Buy New MSR                        19%
                                                      16%
          Plan to Buy Accessories                                                                    76%
                                                                                                     76%



   Owners of heavily accessorized MSRs are relatively more likely to be:

      x     A range member
      x     Own multiple MSRs
      x     Avid users
      x     Use MSR for work
      x     Premium MSR buyer
      x     Very likely to buy MSR in the next 12 months.



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   9.8     Likely MSR Buyers

                                            Profile - Likely MSR Buyers
                                       0%         20%             40%            60%            80%           100%

                        Own 1 MSR                                 34%
                                                                           46%
                      Own 2+ MSR                                                        65%
                                                                                 54%
                    Range Member                                            48%
                                                                           46%
              Non-Range Member                                                 52%
                                                                                53%
                   Infrequent User                    20%
                                                            27%
                      4 to 11 Times                                 38%
                                                                     39%
                     12 to 23 Times                 19%
                                                 14%
                          Avid User                17%
                                               10%
         Military/L.E. Background                                  35%                                               All MSR
                                                                   35%
                 Non-Military/ L.E.                                                     65%                          Owners
                                                                                        65%
                          Under 35                 17%
                                                12%
                            35 to 44                 20%
                                                  16%
                                45+                                                    62%
                                                                                              71%                    Very Likely
                         Up to $75K                                     40%
                                                                         42%                                         to Buy New
                          >$75,000                                              55%
                                                                             52%                                     MSR
             Less than a Bachelors                                             54%
                                                                             52%
                        Bachelors +                                      45%
                                                                           48%
                 Children in home                                      42%
                                                                   36%
              No children in home                                                57%
                                                                                       63%
                Target Shoot MSR                                                                            89%
                                                                                                      83%
               Competition Shoot                  15%
                                                11%
               Hunting Using MSR                                         42%
                                                                  33%
          Use MSR for Work/Law               5%
                                            4%
    Not Used MSR Last 12 Months               6%
                                                10%
                      Recent Buyer                                                      64%
                                                                                 54%
    Premium MSR Buyer (>$1500)                     15%
                                                 13%
        Heavily Accessorised MSR                    17%
                                                  14%
          High Spend Accessories                         24%
                                                     18%
      Very Likely to Buy New MSR                      19%
                                                                                                                  100%
          Plan to Buy Accessories                                                               76%
                                                                                       63%



   Likely MSR buyers are relatively more likely to be:

       x   A range member
       x   Own multiple MSRs
       x   Avid users
       x   Age under 45
       x   Income >$75K
       x   Children at home
       x   Recent buyer and high accessory spender


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   9.9     Likely Accessory Buyers

                                        Profile - Likely Accessory Buyers
                                       0%         20%          40%           60%             80%          100%

                        Own 1 MSR                             34%
                                                               35%
                      Own 2+ MSR                                                     65%
                                                                                    64%
                    Range Member                                         48%
                                                                        47%
              Non-Range Member                                             52%
                                                                            53%
                   Infrequent User                  20%
                                                    20%
                      4 to 11 Times                             38%
                                                                38%
                     12 to 23 Times                 19%
                                                    19%
                          Avid User                17%
                                                   17%
         Military/L.E. Background                              35%
                                                              34%                                                All MSR
                 Non-Military/ L.E.                                                 65%                          Owners
                                                                                     66%
                          Under 35                 17%
                                                    19%
                            35 to 44                 20%
                                                      22%
                                45+                                              62%
                                                                               58%
                         Up to $75K                              40%
                                                                  41%
                          >$75,000                                            55%
                                                                              55%                                Plan to Buy
             Less than a Bachelors                                           54%
                                                                             54%                                 Accessories
                        Bachelors +                                    45%
                                                                       45%                                       Next 12
                 Children in home                                    42%                                         Months
                                                                      44%
              No children in home                                             57%
                                                                             55%
                Target Shoot MSR                                                                       89%
                                                                                                        90%
               Competition Shoot                  15%
                                                  15%
               Hunting Using MSR                                     42%
                                                                     42%
          Use MSR for Work/Law              5%
                                            5%
    Not Used MSR Last 12 Months              6%
                                             6%
                      Recent Buyer                                                  64%
                                                                                       69%
    Premium MSR Buyer (>$1500)                    15%
                                                  15%
        Heavily Accessorised MSR                   17%
                                                   17%
          High Spend Accessories                       24%
                                                      23%
      Very Likely to Buy New MSR                    19%
                                                  16%
          Plan to Buy Accessories                                                            76%
                                                                                                              100%


       x The profile of likely accessory buyers is very similar to the overall profile of MSR owners
          indicating the high potential across all sub-groups.




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   9.10 Military vs Non-Military

                                  Profile - Military/L.E. vs Non-Military
                                       0%               20%             40%           60%            80%          100%

                        Own 1 MSR                                     32%
                                                                        36%
                      Own 2+ MSR                                                               67%
                                                                                             63%
                    Range Member                                                   50%
                                                                                46%
              Non-Range Member                                                    49%
                                                                                     53%
                   Infrequent User                           18%
                                                               21%
                      4 to 11 Times                                      37%
                                                                          38%
                     12 to 23 Times                         20%
                                                          18%
                          Avid User                        19%
                                                         16%
         Military/L.E. Background                                                                                    100%
                                            0%
                 Non-Military/ L.E.         0%
                                                                                                                     100%
                          Under 35                 11%                                                                   Military/L.E.
                                                              20%
                            35 to 44                         18%                                                         Background
                                                               22%
                                45+                                                              70%
                                                                                       57%
                         Up to $75K                                        41%
                                                                          40%
                          >$75,000                                                     55%                               Non-Military/
                                                                                       55%                               L.E.
             Less than a Bachelors                                                     55%
                                                                                      54%
                        Bachelors +                                             45%
                                                                                45%
                 Children in home                                             41%
                                                                               43%
              No children in home                                                       58%
                                                                                       56%
                Target Shoot MSR                                                                               89%
                                                                                                               89%
               Competition Shoot                          17%
                                                        14%
               Hunting Using MSR                                              42%
                                                                              42%
          Use MSR for Work/Law                         12%
                                            1%
    Not Used MSR Last 12 Months                  6%
                                                  7%
                      Recent Buyer                                                           62%
                                                                                               66%
    Premium MSR Buyer (>$1500)                          14%
                                                         15%
        Heavily Accessorised MSR                           18%
                                                          17%
          High Spend Accessories                                25%
                                                              23%
      Very Likely to Buy New MSR                            19%
                                                            19%
          Plan to Buy Accessories                                                                    73%
                                                                                                       77%



   MSR owners with a military background are relatively more likely to be:

       x   Range members
       x   Age 45+
       x   Higher income
       x   Slightly less well educated
       x   Multiple MSR owner




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   10CLUSTER ANALYSIS/MARKET SEGMENTATION
   Explanation of Cluster Analysis/Market Segmentation Analysis

   A Cluster Analysis or Market Segmentation as it is more commonly referred to is a concept that was
   developed to help marketers identify specific consumer groups based on a specific set and sub-set
   of demographic and specific product usage patterns. Market segmentation means dividing the
   market into distinct groups of individual segments or clusters with similar wants or needs and
   behaviors. A market segment or cluster is a sub-set of a people, in this case MSR owners with one
   or more characteristics that cause them to demand similar product and/or services based on
   qualities of those products such as usage activity and demographics. A true market segment meets
   all of the following criteria: it is distinct from other segments (different segments have different
   needs), it is homogeneous within the segment (exhibits common needs); it responds similarly to a
   market stimulus and media.

   Using a cluster analysis technique and the following variables:
       x Age
       x Reasons for owning
       x What is your estimated yearly household income?
       x How many MSRs do you own?
       x Law Enforcement or Military

   We established 5 clusters:
      1. Young Hunters                5. Low Use
      2. Law Enforcement                                   AR/AK Clusters
                                         Military
          and Competition
                                           Vets
      3. Affluent Gun                                                    1. Young
                                           19%
          Enthusiast                                                      Hunters
      4. Low Use Home                                                      28%
          Defenders                            4. Low Use
      5. Low Use Military                        Home
          Vets                                 Defenders
                                                                                           2. Law
                                                   23%
                                                              3. Affluent Gun           Enforcement
                                                                 Enthusiast                 and
                                                                    16%                 Competition
                                                                                            14%




   How to Read the Cluster Charts
   In all of the cluster charts the sample profile is 0. An index of +20 means the cluster is 20% more
   likely to exhibit that behavior. So for example Cluster 1 is 21% more likely to own a single MSR and
   15 less likely to own multiple MSRs.


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   10.1 Cluster 1 - Young and Infrequent

                                                         1. Young Hunters
                                                                       Index (All AR/AK Owners = 0)
                                                  -150        -100          -50                 0                       50    100
                                       Own 1 MSR                                                                   33
                                    Own 2+ MSRs                                     -18
                                   Range member                                      -14
                             Non-member Range                                                               13
                                  Infrequent user                                                   5
                                        4-11 times                                                  3
                                       12-23 times                                                  3
                                         Avid user                                      -11
                                           Military           -91
                                      Non-Military                                                                      38
                                Law enforcement              -96
                          Non-Law Enforcement                                                               13
                                   Age - Under 35                                                                            83
                                       Age - 35-44                                                            21
                                         Age - 45+                            -32
                             Income - up to $75K                                                                   29
                                 Income - $>$75K                                   -21
                  Education - Bachelors or higher                                                        10
                      Education - Less than Bach.                                       -13
                                 Children in home                                                       8
                             No children in home                                           -6
                      Motivation - home defense                                                          9
                            Motivation - hunting                                                                    37
                              Motivation - target                                                            15
                     Motivation - pro/job related            -94
                         Motivation - competitor                                                     4
                       Usage - Target shoot MSR                                                     1
                       Usage - Competition shoot                                  -27
                         Usage - Hunt using MSR                                                               19
                  Usage - work/law enforcement                       -64
                 Usage - not used last 12 months                                        -12
                                     Recent buyer                                                   0
                   Premium MSR buyer (>$1500)                                                        3
                        Heavily accessorised MSR                                                      6
                          High spend accessories                                        -10
       Very likely to buy MSR in next 12 months                                                     0
        Plan to buy accessories next 12 months                                                          8


   Young and Infrequent make up 28% of MSR owners. They tend to be:
      x Non-military
      x Age under 35
      x Well educated
      x To purchase an MSR for hunting
      x Less likely to buy an MSR in the next 12 months
      x Less likely to work in the law enforcement field



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  10.2 Cluster 2 – Law Enforcement and Competition

                                   2. Law Enforcement and Competition
                                                                                Index (All AR/AK Owners = 0)
                                           -100               0                  100           200         300      400          500
                                    Own 1 MSR -74
                                 Own 2+ MSRs                               39
                                Range member                          16
                          Non-member Range            -16
                               Infrequent user   -52
                                     4-11 times      -22
                                    12-23 times                       17
                                      Avid user                                        111
                                        Military                            55
                                   Non-Military      -23
                             Law enforcement                                                  158
                       Non-Law Enforcement           -21
                                Age - Under 35                        20
                                    Age - 35-44                       18
                                      Age - 45+       -13
                          Income - up to $75K                     3
                              Income - $>$75K            -2
               Education - Bachelors or higher                    2
                   Education - Less than Bach.           -2
                              Children in home                        14
                          No children in home          -11
                   Motivation - home defense                               40
                         Motivation - hunting                                   73
                            Motivation - target                       18
                  Motivation - pro/job related                                                                            422
                      Motivation - competitor                                                147
                    Usage - Target shoot MSR                      4
                    Usage - Competition shoot                                          115
                      Usage - Hunt using MSR                                    69
               Usage - work/law enforcement                                                          204
              Usage - not used last 12 months -64
                                  Recent buyer                    3
                Premium MSR buyer (>$1500)           -23
                     Heavily accessorised MSR                          32
                       High spend accessories                                62
    Very likely to buy MSR in next 12 months                                56
     Plan to buy accessories next 12 months                       2


   Law Enforcement and Competition make up 14% of MSR owners. They tend to be:
      x Avid, multiple MSR owners
      x Military background
      x Age under 35
      x Competition shooters
      x Go hunting
      x Use MSR for work.




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  10.3 Cluster 3 – The Affluent Gun Enthusiast

                                                   3. Affluent Gun Enthusiast
                                                                        Index (All AR/AK Owners = 0)
                                               -120     -100      -80   -60      -40         -20         0            20            40   60      80
                                    Own 1 MSR         -99
                                 Own 2+ MSRs                                                                                             53
                                Range member                                                                               22
                          Non-member Range                                             -20
                               Infrequent user                                      -28
                                     4-11 times                                                     -2
                                    12-23 times                                                                           18
                                      Avid user                                                                                 30
                                        Military                                    -29
                                   Non-Military                                                                      12
                             Law enforcement                              -45
                       Non-Law Enforcement                                                                       6
                                Age - Under 35                            -44
                                    Age - 35-44                                                     -1
                                      Age - 45+                                                                       14
                          Income - up to $75K                                   -35
                              Income - $>$75K                                                                                  25
               Education - Bachelors or higher                                             -13
                   Education - Less than Bach.                                                                        16
                              Children in home                                                      -3
                          No children in home                                                                2
                   Motivation - home defense                                                        -2
                         Motivation - hunting                                   -33
                            Motivation - target                                                                  6
                  Motivation - pro/job related              -85
                      Motivation - competitor                                                                        10
                    Usage - Target shoot MSR                                                                 3
                    Usage - Competition shoot                                                                                             57
                      Usage - Hunt using MSR                                              -16
               Usage - work/law enforcement                                                        -6
              Usage - not used last 12 months                                 -38
                                  Recent buyer                                                               2
                Premium MSR buyer (>$1500)                                      -34
                     Heavily accessorised MSR                                                                    6
                       High spend accessories                                                                                  27
    Very likely to buy MSR in next 12 months                                                                                    29
     Plan to buy accessories next 12 months                                                        -5


   The Affluent Gun Enthusiast accounts for 16% of MSR owners. They tend to be:
      x Age under 45
      x Lower income
      x Likely to buy MSR
      x Less well educated
      x Hunters.




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   10.4 Cluster 4 – Low Use Home Defenders

                                            4. Low Use Home Defenders
                                                                                 Index (All AR/AK Owners = 0)

                                               -100      -80         -60       -40         -20         0           20        40        60   80    100
                                    Own 1 MSR                                                                                          51
                                 Own 2+ MSRs                                     -27
                                Range member                                                 -9
                          Non-member Range                                                                     8
                               Infrequent user                                                                                    43
                                     4-11 times                                                            4
                                    12-23 times                                 -30
                                      Avid user                      -52
                                        Military                       -45
                                   Non-Military                                                                         19
                             Law enforcement                    -60
                       Non-Law Enforcement                                                                     8
                                Age - Under 35                                      -26
                                    Age - 35-44                                             -10
                                      Age - 45+                                                                    12
                          Income - up to $75K                                               -11
                              Income - $>$75K                                                                  8
               Education - Bachelors or higher                                                -8
                   Education - Less than Bach.                                                                 10
                              Children in home                                                -7
                          No children in home                                                              5
                   Motivation - home defense                                  -35
                         Motivation - hunting                  -61
                            Motivation - target                                       -20
                  Motivation - pro/job related     -85
                      Motivation - competitor            -73
                    Usage - Target shoot MSR                                                      -5
                    Usage - Competition shoot                        -54
                      Usage - Hunt using MSR                           -49
               Usage - work/law enforcement                    -63
              Usage - not used last 12 months                                                                                               76
                                  Recent buyer                                                    -3
                Premium MSR buyer (>$1500)                                                                              20
                     Heavily accessorised MSR                                        -22
                       High spend accessories                                  -34
    Very likely to buy MSR in next 12 months                                 -40
     Plan to buy accessories next 12 months                                                      -6


   Low Use Home Defenders account for 23% of all MSR owners. They tend to be:
      x Age over 35
      x Well educated
      x Collectors
      x Hunters.




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   10.5 Cluster 5 – Low Use Military Vets

                                               5. Low Use Military Vets
                                                                           Index (All AR/AK Owners = 0)
                                                 -100         -50                0                   50   100      150       200
                                      Own 1 MSR                                                 27
                                   Own 2+ MSRs                       -14
                                  Range member                              -1
                            Non-member Range                                         0
                                 Infrequent user                                      4
                                       4-11 times                                      7
                                      12-23 times                                     4
                                        Avid user               -26
                                          Military                                                                        172
                                     Non-Military    -71
                               Law enforcement                                                                      138
                         Non-Law Enforcement                        -18
                                  Age - Under 35        -67
                                      Age - 35-44              -29
                                        Age - 45+                                                 31
                            Income - up to $75K                            -3
                                Income - $>$75K                                      2
                 Education - Bachelors or higher                                     4
                     Education - Less than Bach.                         -5
                                Children in home                      -12
                            No children in home                                          9
                     Motivation - home defense                                       2
                           Motivation - hunting                            -7
                              Motivation - target                    -16
                    Motivation - pro/job related                                           13
                        Motivation - competitor                -31
                      Usage - Target shoot MSR                              -1
                      Usage - Competition shoot                 -26
                        Usage - Hunt using MSR                             -6
                 Usage - work/law enforcement                                                     30
                Usage - not used last 12 months                                       6
                                    Recent buyer                            -1
                  Premium MSR buyer (>$1500)                                                 17
                       Heavily accessorised MSR                       -10
                         High spend accessories                       -11
      Very likely to buy MSR in next 12 months                      -18
       Plan to buy accessories next 12 months                             -2


   Low Use Military Vets account for 18% of all MSR owners. They tend to be:
      x Non users
      x Single MSR
      x Less likely to buy MSR and accessories
      x Age 45+
      x No children at home
      x Lower income




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                                                                 0082
                 11CROSSTABULATIONS
            HowmanyMSRsdoyouown?                                                                                                                                                                                                                                                                                                                                                                           1
                                                                                                                                                                                                  LawEnforcementor
                                                                                       #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                                 Education                MaritalStatus                  Children?
                                                                                                                                                                                                          Military
                                                                                                                           Non   3timesor                                          Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor       Lessthan                               Childrenin Nochildrenin
                                                             Total          1          2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                    Married    NotMarried
                                                                                                                          Member      less                                           Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher            Bachelor's                                 home           home
                                                                21758       7566       5373      2997   5822      10377     11291        4362     8219    4069     3717       8238       13273         7592           14166      3669     4449     5546     5490    2449         3316       5475         5970      6002         9816               11841      16235            5426          9249          12341
            1                                                     35%       100%         0%        0%     0%        29%       40%         48%      37%     25%      17%        25%         41%           32%            36%       40%      35%      31%      33%     37%          43%        37%          34%       29%          34%                 36%        35%             35%           35%            35%
            2                                                     25%         0%       100%        0%     0%        24%       25%         25%      27%     26%      20%        23%         26%           24%            25%       25%      24%      25%      25%     24%          24%        25%          26%       24%          24%                 25%        25%             24%           25%            25%
            3                                                     14%         0%         0%      100%     0%        15%       13%         12%      14%     16%      16%        16%         12%           14%            13%       13%      14%      14%      14%     14%          12%        14%          14%       15%          14%                 14%        14%             14%           14%            14%
            4+                                                    27%         0%         0%        0%   100%        32%       22%         15%      23%     32%      47%        36%         21%           29%            26%       21%      28%      30%      28%     25%          21%        24%          27%       32%          28%                 25%        26%             28%           27%            27%


            Whendidyoupurchase/obtainyourfirstMSR?
                                                                                                                                                                                                  LawEnforcementor
                                                                                       #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                                 Education                MaritalStatus                  Children?
                                                                                                                                                                                                          Military
                                                                                                                           Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor       Lessthan                               Childrenin Nochildrenin
                                                             Total          1          2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                    Married    NotMarried
                                                                                                                          Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher            Bachelor's                                 home           home
                                                                22013       7565       5369      2994    5817     10447     11378         4428    8297    4112     3757       8334       13429         7642           14275      3714     4487     5608     5553    2490         3352       5561         6038      6050         9883               11931      16418            5498          9307          12439
            2013                                                   9%        19%         6%        3%      1%        6%       11%          17%      7%      4%       3%         5%         11%            7%            10%       11%      10%       9%       7%      7%           9%          8%          8%        9%           8%                  9%         9%              9%           10%             8%
            2012                                                  17%        30%        16%       10%      4%       15%       19%          19%     19%     16%      11%        11%         20%           13%            19%       26%      18%      15%      13%     14%          19%        17%          16%       16%          17%                 17%        16%             18%           18%            16%
            2011                                                   9%        12%        11%        8%      4%        9%         9%          8%     10%     10%       8%         7%         10%            7%            10%       12%       9%       8%       8%      8%          10%          9%          9%        9%           9%                  9%         9%             10%             9%            9%
            2010                                                   8%         8%        10%        8%      5%        8%         8%          8%      8%      8%       8%         7%          8%            7%             8%       10%       8%       6%       7%      9%           9%          8%          8%        7%           8%                  8%         8%              9%             7%            8%
            2009                                                   6%         5%         8%        8%      5%        7%         6%          6%      6%      7%       7%         6%          6%            6%             6%        8%       6%       6%       6%      6%           6%          6%          6%        7%           6%                  6%         6%              6%             6%            6%
            2008                                                   6%         5%         7%        9%      5%        6%         6%          6%      6%      6%       6%         6%          6%            6%             6%        9%       6%       6%       5%      5%           6%          6%          6%        6%           6%                  6%         6%              7%             6%            6%
            2007                                                   4%         2%         4%        5%      4%        4%         3%          3%      4%      4%       4%         4%          3%            4%             3%        5%       4%       3%       3%      2%           3%          4%          4%        4%           4%                  3%         4%              4%             4%            4%
            2006                                                   3%         2%         3%        4%      5%        4%         3%          3%      3%      4%       4%         4%          3%            3%             3%        4%       3%       3%       3%      3%           4%          3%          3%        3%           3%                  3%         3%              4%             3%            3%
            20012005                                             10%         6%         9%       14%     15%       11%       10%           8%     10%     11%      13%        12%          9%           11%            10%       11%      12%      10%       9%     10%          10%        11%          11%        9%          10%                 10%        10%             10%           11%            10%
            19952000                                           10%         4%        11%       12%     16%       10%       10%           8%     10%     10%      12%        13%          8%           11%             9%        4%      13%      11%      10%     11%           9%        10%          11%       10%          10%                 10%        10%              9%           10%            10%
            Priorto1994                                         18%         6%        14%       21%     36%       20%       16%          15%     17%     19%      24%        25%         14%           24%            15%        1%      11%      24%      27%     25%          16%        18%          18%       19%          18%                 18%        19%             16%           16%            20%


            WhichofthefollowingdidyoupurchaseorownprevioustoowningaMSR?
                                                                                                                                                                                                  LawEnforcementor
                                                                                       #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                                 Education                MaritalStatus                  Children?
                                                                                                                                                                                                          Military
                                                                                                                           Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor       Lessthan                               Childrenin Nochildrenin
                                                             Total          1          2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                    Married    NotMarried
                                                                                                                          Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher            Bachelor's                                 home           home
                                                                22029       7563       5372      2996    5819     10454     11386         4433    8302    4116     3755       8338       13441         7646           14285      3715     4489     5609     5561    2493         3355       5564         6046      6049         9887               11941      16430            5502          9310          12450
            Handgun                                               90%        89%        90%       91%     89%       91%       88%          89%     90%     90%      89%        92%         88%           91%            89%       78%      88%      91%      95%     94%          83%        90%          90%       92%          90%                 89%        91%             84%           90%            90%
            TraditionalRifle                                     82%        79%        82%       85%     84%       83%       81%          78%     82%     84%      87%        90%         77%           82%            82%       75%      76%      83%      87%     88%          80%        82%          83%       81%          81%                 83%        83%             78%           81%            83%
            Shotgun                                               82%        79%        82%       84%     83%       83%       81%          78%     81%     85%      85%        88%         78%           82%            81%       72%      78%      83%      87%     87%          77%        82%          83%       82%          81%                 82%        84%             76%           81%            82%
            Muzzleloader                                          28%        26%        28%       30%     31%       29%       27%          24%     27%     31%      35%        41%         21%           30%            28%       18%      23%      30%      34%     36%          27%        31%          29%       26%          27%                 30%        30%             23%           28%            29%
            BB/Airgun                                           64%        61%        64%       67%     67%       64%       64%          62%     63%     66%      69%        69%         61%           63%            65%       64%      64%      67%      63%     62%          61%        64%          65%       65%          64%                 65%        65%             61%           67%            62%
            Paintballgun                                         15%        16%        16%       16%     14%       14%       16%          13%     15%     18%      20%        15%         16%           12%            17%       38%      19%      12%       7%      3%          21%        16%          15%       14%          14%                 16%        14%             21%           18%            13%
            None                                                   1%         1%         1%        1%      1%        1%         1%          1%      1%      1%       1%         1%          1%            1%             1%        2%       2%       1%       1%      0%           2%          1%          1%        1%           1%                  1%         1%              2%             1%            1%


            WheredidyoufirstgaininterestinMSR’s?
                                                                                                                                                                                                  LawEnforcementor
                                                                                       #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                                 Education                MaritalStatus                  Children?
                                                                                                                                                                                                          Military
                                                                                                                           Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor       Lessthan                               Childrenin Nochildrenin
                                                             Total          1          2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                    Married    NotMarried
                                                                                                                          Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher            Bachelor's                                 home           home
                                                                21991       7549       5366      2991    5808     10434     11368         4426    8287    4109     3752       8319       13422         7634           14260      3713     4485     5598     5550    2483         3346       5550         6043      6042         9867               11924      16403            5491          9301          12422
            Ownpersonalinterest                                 55%        54%        54%       55%     57%       54%       56%          55%     54%     54%      57%        55%         54%           44%            61%       60%      53%      52%      55%     56%          59%        56%          54%       52%          54%                 55%        53%             59%           53%            56%




  0083
            Friend                                                33%        34%        32%       34%     31%       32%       33%          33%     33%     34%      33%        32%         33%           22%            38%       41%      36%      33%      29%     23%          33%        33%          32%       33%          33%                 33%        32%             35%           35%            32%
            Military                                              28%        26%        28%       30%     29%       29%       27%          25%     28%     30%      31%        29%         28%           67%             8%       21%      24%      28%      29%     45%          29%        29%          28%       27%          27%                 29%        29%             24%           27%            29%
            ShootingRange                                        26%        25%        26%       27%     26%       33%       19%          24%     25%     29%      30%        27%         25%           20%            29%       33%      25%      24%      24%     24%          26%        26%          25%       26%          27%                 25%        25%             29%           25%            26%




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            Familymember                                         19%        18%        18%       19%     20%       18%       20%          18%     19%     20%      21%        19%         19%           15%            21%       28%      20%      16%      16%     16%          21%        19%          18%       18%          18%                 19%        18%             20%           20%            18%
            Magazines                                             19%        18%        18%       18%     20%       20%       18%          19%     19%     18%      19%        19%         18%           13%            21%       22%      18%      17%      18%     19%          21%        20%          18%       17%          18%                 19%        18%             21%           17%            20%
            Internet                                              11%        13%        11%       10%      9%       11%       11%          12%     11%     11%      10%        10%         12%            6%            14%       21%      11%       8%       9%      9%          13%        12%          11%       10%          12%                 11%        10%             15%           10%            12%
            Movies/TV                                              8%         7%         7%        7%      9%        7%         8%          9%      8%      7%       8%         7%          8%            5%             9%       14%       9%       7%       5%      4%          11%          9%          7%        7%           7%                  8%         7%             11%             8%            8%
            Job                                                    7%         6%         7%        7%      7%        7%         7%          6%      6%      7%       9%         6%          7%           13%             3%        8%       7%       7%       7%      4%           6%          7%          7%        7%           7%                  7%         7%              6%             7%            6%
            Other                                                  4%         4%         4%        5%      6%        5%         4%          4%      4%      5%       5%         5%          4%            4%             5%        4%       4%       4%       6%      5%           5%          5%          4%        4%           5%                  4%         4%              4%             4%            5%


            LawEnforcement/Military(ActiveorFormer)
                                                                                                                                                                                                  LawEnforcementor
                                                                                       #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                                 Education                MaritalStatus                  Children?
                                                                                                                                                                                                          Military
                                                                                                                         Non   3timesor                                            Non      Military/ NonMilitary/                                             $45,000& $45,001to $75,001to           Bachelor'sor         Lessthan                             Childrenin Nochildrenin
                                                             Total          1          2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                      $110,001+                                      Married    NotMarried
                                                                                                                        Member      less                                             Reloader       L.E.           L.E.                                                    under     $75,000     $110,000                higher              Bachelor's                               home           home
                                                                21942       7566       5373      2997    5822     10459   11390        4402       8277    4102     3744       8309       13384         7650           14292      3702     4476     5588     5535    2479       3341       5535         6027      6029         9893                 11945      16366            5478        9316          12454
            Military/L.E.                                       35%        33%        34%       37%     38%       37%     33%         32%        34%     37%      38%        36%         34%         100%               0%      23%      31%      35%      36%     58%        33%        36%          36%       33%          34%                   35%        37%             28%         34%            36%
            NonMilitary/L.E.                                   65%        67%        66%       63%     62%       63%     67%         68%        66%     63%      62%        64%         66%            0%            100%      77%      69%      65%      64%     42%        67%        64%          64%       67%          66%                   65%        63%             72%         66%            64%



            Doyoucurrentlyhaveamembershipatalocalshootingrange?
                                                                                                                                                                                                  LawEnforcementor
                                                                                       #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                                 Education                MaritalStatus                  Children?
                                                                                                                                                                                                          Military
                                                                                                                         Non    3timesor                                           Non      Military/ NonMilitary/                                               $45,000&   $45,001to   $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                             Total          1          2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                            $110,001+                                Married
                                                                                                                        Member       less                                            Reloader       L.E.           L.E.                                                        under      $75,000      $110,000                higher        Bachelor's             NotMarried         home           home
                                                                21944       7543       5350      2980    5795     10459   11390         4419      8281    4091     3736       8304       13391         7573           14276      3708     4475     5593     5532    2474        3333         5538          6032        6029         9860           11886      16367       5481               9287          12391
            Yes                                                   48%        40%        47%       51%     57%      100%       0%         38%       48%     55%      59%        57%         42%           50%            46%       39%      44%      48%      52%     58%         35%          44%           50%         56%          53%             44%        49%        44%                47%            49%
            No                                                    52%        60%        53%       49%     43%        0%    100%          62%       52%     45%      41%        43%         58%           50%            54%       61%      56%      52%      48%     42%         65%          56%           50%         44%          47%             56%        51%        56%                53%            51%


            WasyourmostrecentMSR:?
                                                                                                                                                                                                  LawEnforcementor
                                                                                       #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                                 Education                MaritalStatus                  Children?
                                                                                                                                                                                                          Military
                                                                                                                           Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor       Lessthan                               Childrenin Nochildrenin
                                                             Total          1          2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                    Married    NotMarried
                                                                                                                          Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher            Bachelor's                                 home           home
                                                                21968       7537       5360      2994    5806     10424     11359         4418    8278    4106     3750       8320       13400         7622           14251      3711     4482     5593     5543    2478         3343       5548         6031      6042         9868               11903      16385            5487          9286          12418
            PurchasedNEW                                         82%        80%        83%       84%     84%       84%       81%          80%     83%     84%      85%        83%         82%           82%            83%       83%      85%      83%      82%     79%          79%        81%          83%       85%          84%                 81%        83%             82%           83%            82%
            PurchasedUSED                                        15%        16%        15%       14%     14%       14%       16%          18%     15%     14%      13%        15%         15%           16%            15%       14%      13%      15%      16%     18%          19%        17%          15%       13%          14%                 16%        15%             16%           15%            16%
            ReceivedNEWasagift                                 1%         2%         1%        1%      1%        1%         2%          1%      1%      1%       1%         1%          1%            1%             1%        1%       1%       1%       1%      2%           2%          2%          1%        1%           1%                  2%         1%              1%             1%            1%
            ReceivedUSEDasagift                                1%         1%         1%        1%      0%        1%         1%          1%      1%      1%       0%         1%          1%            1%             1%        1%       1%       1%       1%      1%           1%          1%          1%        1%           1%                  1%         1%              1%             1%            1%
                                                                                                                                                                                                                                                                                                                                                                                                                     Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.452 Page 93 of 428
            InwhatyeardidyoureceiveyourmostrecentMSRasapurchase/gift?                                                                                                                                                                                                                                                                                                                                                2
                                                                                                                                                                                                                 LawEnforcementor
                                                                                          #MSR'sown                   RangeMembership         #timesusedMSRlast12months          ReloadAmmo?                                                           Age                                              Income                                Education                MaritalStatus                  Children?
                                                                                                                                                                                                                         Military
                                                                                                                                    Non    3timesor                                              Non       Military/ NonMilitary/                                                   $45,000& $45,001to $75,001to           Bachelor'sor       Lessthan                               Childrenin Nochildrenin
                                                                Total          1          2          3          4+      Member                               4~11     12~23    24+     Reloader                                             Under35   35~44     45~54     55~64     65+                                         $110,001+                                    Married     NotMarried
                                                                                                                                   Member       less                                               Reloader        L.E.           L.E.                                                          under     $75,000     $110,000                higher            Bachelor's                                 home           home
                                                                   21997       7546       5365        2995       5818     10443      11366         4424       8287     4116    3755        8331        13417          7631           14269      3716     4484      5603      5554     2481          3349       5556         6041      6045         9882               11916      16406            5495          9304          12426
            2013                                                     29%        22%        29%         32%        38%       29%        30%          31%        25%      28%     33%         27%          31%            28%            30%       33%      34%       30%       25%      22%           25%        27%          28%       35%          30%                 29%        29%             30%           32%            27%
            2012                                                     35%        33%        36%         36%        37%       36%        34%          31%        36%      39%     38%         35%          35%            34%            36%       40%      35%       35%       33%      33%           34%        35%          36%       35%          36%                 35%        35%             35%           36%            35%
            2011                                                     12%        13%        12%         12%        10%       12%        12%          10%        14%      13%     11%         13%          12%            12%            12%       12%      11%       11%       14%      12%           13%        12%          12%       11%          12%                 12%        12%             12%           12%            12%
            2010                                                      7%         8%         7%          7%         5%        7%          7%          7%         7%       6%      7%          7%           6%             7%             7%        6%       6%        6%        7%       9%            8%          7%          7%        5%           7%                  7%         7%              7%             6%            7%
            2009                                                      4%         5%         4%          3%         3%        4%          4%          5%         4%       4%      3%          4%           4%             4%             4%        3%       4%        4%        5%       5%            4%          5%          4%        3%           4%                  4%         4%              4%             4%            4%
            2008                                                      3%         5%         4%          2%         2%        3%          3%          4%         3%       3%      2%          4%           3%             3%             3%        3%       4%        3%        3%       4%            3%          3%          3%        3%           3%                  3%         3%              3%             3%            3%
            2007                                                      1%         2%         1%          1%         1%        1%          2%          2%         2%       1%      1%          2%           1%             2%             1%        1%       2%        1%        1%       2%            1%          2%          1%        1%           1%                  1%         1%              1%             1%            2%
            2006                                                      1%         2%         1%          1%         1%        1%          1%          1%         1%       1%      1%          1%           1%             1%             1%        1%       1%        1%        1%       1%            1%          1%          1%        0%           1%                  1%         1%              1%             1%            1%
            2005orearlier                                           7%        11%         7%          5%         3%        6%          8%          9%         7%       5%      4%          8%           7%             9%             6%        2%       4%        7%       10%      12%            9%          8%          6%        5%           7%                  7%         7%              7%             6%            8%



            WhatwastheinitialpriceofyourmostrecentMSR(newoutofboxcost)?
                                                                                                                                                                                                                 LawEnforcementor
                                                                                          #MSR'sown                   RangeMembership         #timesusedMSRlast12months          ReloadAmmo?                                                           Age                                              Income                                Education                MaritalStatus                  Children?
                                                                                                                                                                                                                         Military
                                                                                                                                    Non    3timesor                                              Non       Military/ NonMilitary/                                                   $45,000& $45,001to $75,001to           Bachelor'sor       Lessthan                               Childrenin Nochildrenin
                                                                Total          1          2          3          4+      Member                               4~11     12~23    24+     Reloader                                             Under35   35~44     45~54     55~64     65+                                         $110,001+                                    Married     NotMarried
                                                                                                                                   Member       less                                               Reloader        L.E.           L.E.                                                          under     $75,000     $110,000                higher            Bachelor's                                 home           home
                                                                   22009       7549       5369        2996       5821     10449      11372         4426       8295     4117    3755        8337        13424          7638           14274      3716     4487      5608      5554     2483          3354       5557         6041      6047         9888               11922      16413            5500          9310          12432
            Under$500                                                9%        10%         9%          9%         8%        7%        10%          10%         9%       7%      7%          9%           9%             8%             9%        8%       7%        9%        9%      11%           13%        10%           8%        6%           8%                 10%         9%              9%             8%            9%
            $500$1,000                                            46%        49%        46%         46%        41%       44%        47%          46%        48%      45%     42%         47%          45%            47%            45%       44%      45%       46%       46%      47%           49%        48%          47%       40%          44%                 47%        46%             43%           46%            45%
            $1,001$1,500                                          29%        29%        31%         29%        29%       30%        29%          28%        30%      30%     29%         29%          30%            29%            30%       31%      29%       29%       29%      28%           26%        28%          29%       32%          30%                 29%        29%             30%           30%            29%
            $1,501$2,000                                           9%         8%         9%          9%        12%       10%          8%          9%         8%      10%     11%          9%          10%             9%            10%       10%      10%        9%        8%       8%            6%          8%         10%       12%          10%                  9%         9%             10%             9%            9%
            $2,001$2,500                                           3%         2%         3%          4%         5%        4%          3%          3%         3%       4%      4%          3%           3%             3%             3%        3%       4%        3%        3%       2%            2%          2%          3%        5%           4%                  3%         3%              4%             3%            3%
            $2,500$3,500                                           2%         1%         2%          2%         3%        2%          2%          1%         2%       2%      3%          2%           2%             2%             2%        2%       2%        2%        2%       1%            1%          1%          2%        3%           2%                  2%         2%              2%             2%            2%
            $3,500+                                                   1%         0%         0%          1%         1%        1%          0%          0%         0%       1%      1%          1%           0%             1%             1%        0%       1%        1%        1%       0%            0%          0%          0%        1%           1%                  0%         1%              1%             1%            1%
            Don'tknow                                                1%         2%         1%          1%         1%        1%          1%          2%         1%       1%      1%          1%           1%             1%             1%        1%       1%        1%        1%       2%            2%          1%          1%        1%           1%                  1%         1%              1%             1%            1%



            WheredidyoubuyyourmostrecentMSR?
                                                                                                                                                                                                                 LawEnforcementor
                                                                                          #MSR'sown                   RangeMembership         #timesusedMSRlast12months          ReloadAmmo?                                                           Age                                              Income                                Education                MaritalStatus                  Children?
                                                                                                                                                                                                                         Military
                                                                                                                                    Non    3timesor                                              Non       Military/ NonMilitary/                                                   $45,000& $45,001to $75,001to           Bachelor'sor       Lessthan                               Childrenin Nochildrenin
                                                                Total          1          2          3+         4+      Member                               4~11     12~23    24+     Reloader                                             Under35   35~44     45~54     55~64     65+                                         $110,001+                                    Married     NotMarried
                                                                                                                                   Member       less                                               Reloader        L.E.           L.E.                                                          under     $75,000     $110,000                higher            Bachelor's                                 home           home
                                                                   21754       7474       5304        2953       5755     10328      11242         4375       8200     4057    3719        8248        13259          7535           14124      3696     4436      5544      5481     2442          3322       5484         5974      5978         9782               11775      16213            5445          9205          12287
            Independent(mom&pop)RetailStore                    36%        38%        37%         36%        32%       38%        34%          35%        36%      37%     37%         35%          36%            35%            36%       33%      37%       35%       36%      36%           35%        36%          36%       36%          35%                 36%        36%             35%           35%            36%
            Internetwebsite                                        19%        17%        19%         19%        22%       19%        19%          20%        19%      19%     18%         18%          20%            18%            20%       20%      19%       19%       18%      18%           17%        17%          19%       22%          21%                 18%        19%             19%           19%            19%
            ChainorBigBoxRetailStore                            11%        14%        10%         10%         7%        9%        12%          12%        11%      10%      8%          8%          12%            10%            11%       12%      10%       10%       11%      10%           11%        10%          11%       10%          10%                 11%        11%             10%           11%            10%
            DifferentPartsPurchases                                 9%         6%         8%         10%        13%        9%          9%          7%         9%      10%     11%         12%           7%             9%             9%       11%      11%        8%        7%       7%            9%          9%         10%        8%           9%                  9%         9%             10%             9%            9%
            GunShow                                                  8%         9%         8%          7%         7%        7%          8%          8%         8%       7%      7%          8%           8%             8%             8%        7%       7%        8%        8%      10%            9%          9%          8%        6%           7%                  8%         8%              9%             7%            8%
            PurchasedasaKit                                        3%         2%         2%          3%         4%        3%          3%          2%         3%       3%      4%          4%           2%             3%             3%        3%       3%        3%        3%       2%            3%          3%          3%        2%           3%                  3%         3%              3%             3%            3%
            Receivedasgift                                          2%         3%         2%          2%         1%        2%          2%          2%         2%       2%      2%          2%           2%             2%             2%        3%       2%        2%        2%       2%            3%          2%          2%        2%           2%                  2%         2%              2%             2%            2%
            DirectMailCatalog                                       1%         0%         0%          1%         1%        1%          0%          1%         0%       1%      1%          1%           0%             1%             0%        1%       0%        1%        0%       1%            1%          0%          1%        0%           1%                  1%         1%              1%             0%            1%
            Other                                                    12%        13%        13%         12%        12%       12%        13%          13%        12%      12%     12%         13%          12%            15%            11%        9%      11%       13%       14%      14%           13%        13%          12%       12%          13%                 12%        13%             12%           12%            13%



            WhatcaliberisyourmostrecentMSR?
                                                                                                                                                                                                                 LawEnforcementor
                                                                                          #MSR'sown                   RangeMembership         #timesusedMSRlast12months          ReloadAmmo?                                                           Age                                              Income                                Education                MaritalStatus                  Children?
                                                                                                                                                                                                                         Military
                                                                                                                                    Non    3timesor                                              Non       Military/ NonMilitary/                                                   $45,000& $45,001to $75,001to           Bachelor'sor       Lessthan                               Childrenin Nochildrenin
                                                                Total          1          2          3          4+      Member                               4~11     12~23    24+     Reloader                                             Under35   35~44     45~54     55~64     65+                                         $110,001+                                    Married     NotMarried
                                                                                                                                   Member       less                                               Reloader        L.E.           L.E.                                                          under     $75,000     $110,000                higher            Bachelor's                                 home           home




  0084
                                                                   21904       7528       5346        2979       5780     10400      11317         4410       8245     4100    3737        8297        13361          7613           14196      3702     4468      5583      5519     2473          3327       5537         6020      6015         9844               11864      16331            5478          9260          12380
            .223/5.56mm                                            69%        78%        69%         66%        59%       69%        69%          72%        70%      68%     64%         67%          70%            70%            69%       71%      70%       68%       69%      66%           66%        69%          70%       70%          69%                 69%        70%             67%           70%            68%
            7.62mmx39mm                                            10%         9%        10%         10%        10%        9%        11%          11%        10%       8%      8%          7%          11%             9%            10%       10%       9%        9%        9%      11%           14%        10%           9%        7%           9%                 10%         9%             11%             9%           10%




Exhibit 4
            0.308                                                     6%         3%         6%          8%        10%        7%          6%          5%         6%       7%      7%          8%           6%             7%             6%        5%       5%        7%        7%       7%            6%          6%          6%        8%           6%                  6%         6%              6%             6%            6%
            0.22                                                      4%         5%         5%          5%         4%        4%          5%          5%         4%       4%      5%          3%           5%             4%             5%        4%       5%        4%        4%       5%            5%          5%          4%        4%           4%                  5%         5%              4%             5%            4%
            6.8                                                       2%         1%         2%          2%         3%        2%          1%          1%         1%       2%      3%          2%           1%             2%             1%        1%       2%        1%        2%       2%            1%          2%          2%        2%           2%                  2%         2%              1%             2%            2%
            7.62mmx51mmor7.62mmx54mm                            2%         1%         2%          3%         3%        2%          2%          2%         2%       2%      3%          3%           2%             3%             2%        2%       2%        2%        2%       2%            2%          2%          2%        2%           2%                  2%         2%              2%             2%            2%
            .300Blackout                                             2%         0%         2%          2%         4%        2%          2%          1%         1%       3%      4%          3%           1%             2%             2%        2%       3%        2%        1%       1%            2%          1%          2%        3%           2%                  2%         2%              2%             2%            2%
            5.45x39mm                                               1%         1%         1%          1%         2%        1%          1%          1%         1%       1%      1%          1%           1%             1%             1%        2%       1%        1%        1%       1%            1%          1%          1%        1%           1%                  1%         1%              2%             1%            1%
            9mmPara                                                  1%         0%         1%          0%         1%        1%          1%          1%         1%       1%      1%          1%           1%             1%             1%        1%       1%        1%        1%       1%            1%          1%          1%        1%           1%                  1%         1%              1%             1%            1%
            .450Bushmaster                                           0%         0%         0%          0%         0%        0%          0%          0%         0%       0%      0%          0%           0%             0%             0%        0%       0%        0%        0%       0%            0%          0%          0%        0%           0%                  0%         0%              0%             0%            0%
            .338Lapua                                                0%         0%         0%          0%         0%        0%          0%          0%         0%       0%      0%          0%           0%             0%             0%        0%       0%        0%        0%       0%            0%          0%          0%        0%           0%                  0%         0%              0%             0%            0%
            .50BMG                                                   0%         0%         0%          0%         0%        0%          0%          0%         0%       0%      0%          0%           0%             0%             0%        0%       0%        0%        0%       0%            0%          0%          0%        0%           0%                  0%         0%              0%             0%            0%
            9mmKurtz                                                 0%         0%         0%          0%         0%        0%          0%          0%         0%       0%      0%          0%           0%             0%             0%        0%       0%        0%        0%       0%            0%          0%          0%        0%           0%                  0%         0%              0%             0%            0%
            0.45                                                      0%         0%         0%          0%         0%        0%          0%          0%         0%       0%      0%          0%           0%             0%             0%        0%       0%        0%        0%       0%            0%          0%          0%        0%           0%                  0%         0%              0%             0%            0%
            Other                                                     3%         1%         2%          3%         4%        3%          2%          2%         2%       2%      4%          4%           2%             2%             3%        2%       2%        3%        3%       4%            2%          3%          2%        2%           2%                  3%         2%              3%             2%            3%


            HowimportantwereeachofthefollowingreasonsforbuyingyourmostrecentMSR?(average)                                                                                                                                                                                                                                                                                                               
                                                                                                                                                                                                                 LawEnforcementor
                                                                                          #MSR'sown                   RangeMembership         #timesusedMSRlast12months          ReloadAmmo?                                                           Age                                              Income                                Education                MaritalStatus                  Children?
                                                                                                                                                                                                                         Military
                                                                                                                                    Non       3timesor                                           Non       Military/ NonMilitary/                                                   $45,000&   $45,001to   $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                                Total          1          2          3          4+      Member                               4~11     12~23    24+     Reloader                                             Under35   35~44     45~54     55~64     65+                                             $110,001+                                Married     NotMarried
                                                                                                                                   Member          less                                            Reloader        L.E.           L.E.                                                          under       $75,000       $110,000                higher        Bachelor's                                 home           home
            Reliable                                                    9.01       8.97       8.98       8.99    9.10       9.03        8.99         8.88      8.98     9.10    9.23        9.00         9.02         9.10           8.96       9.06      8.98      9.01      9.03     8.94         9.11          9.04          9.01       8.93          8.93          9.08        9.01           9.02           8.99           9.02
            Accuracy                                                    8.77       8.78       8.79       8.76    8.76       8.85        8.70         8.59      8.76     8.90    9.04        8.84         8.73         8.88           8.72       8.80      8.79      8.81      8.77     8.63         8.75          8.77          8.78       8.78          8.72          8.82        8.79           8.73           8.81           8.75
            Reputationofmanufacturer                                  8.27       8.32       8.26       8.24    8.23       8.36        8.18         8.17      8.23     8.36    8.42        8.19         8.32         8.32           8.24       8.11      8.18      8.32      8.38     8.34         8.21          8.25          8.29       8.30          8.24          8.29        8.29           8.22           8.24           8.29
            Goodergonomics,easyaccesstosafety,comfortab           8.23       8.20       8.20       8.22    8.31       8.32        8.14         7.99      8.18     8.44    8.59        8.25         8.22         8.32           8.18       8.26      8.21      8.27      8.25     8.12         8.30          8.27          8.24       8.19          8.15          8.30        8.23           8.23           8.23           8.24
            Easytoshoot                                               8.11       8.18       8.09       8.05    8.06       8.09        8.12         8.07      8.13     8.18    8.12        8.03         8.15         8.13           8.09       7.99      8.11      8.13      8.18     8.07         8.15          8.16          8.13       8.01          8.03          8.18        8.14           8.02           8.12           8.10
            Availabilityofparts                                       7.90       7.90       7.91       7.89    7.93       7.91        7.90         7.77      7.94     7.99    8.01        7.89         7.92         7.97           7.88       7.81      7.88      7.97      7.93     7.88         7.97          7.94          7.92       7.84          7.81          7.98        7.91           7.89           7.91           7.91
            Availabilityofammunitioninthiscaliber                  7.73       7.80       7.77       7.68    7.63       7.69        7.77         7.79      7.79     7.71    7.58        7.52         7.86         7.78           7.71       7.49      7.60      7.77      7.89     7.89         7.83          7.73          7.71       7.70          7.72          7.74        7.75           7.67           7.66           7.78
            Abilitytoaccessorize                                      7.39       7.42       7.39       7.36    7.38       7.35        7.43         7.31      7.38     7.51    7.52        7.17         7.53         7.35           7.42       7.62      7.63      7.44      7.25     6.84         7.32          7.41          7.47       7.40          7.32          7.46        7.38           7.44           7.50           7.32
            Aestheticallypleasing/Looksgood                          7.31       7.33       7.26       7.29    7.33       7.25        7.36         7.37      7.32     7.26    7.28        7.08         7.45         7.07           7.43       7.34      7.33      7.44      7.28     7.00         7.34          7.38          7.30       7.30          7.16          7.43        7.29           7.36           7.34           7.29
            Lowcostofammunitioninthiscaliber                      7.10       7.31       7.16       6.93    6.85       7.00        7.18         7.16      7.15     7.08    6.97        6.83         7.26         7.05           7.12       7.13      7.08      7.14      7.11     6.96         7.29          7.17          7.11       6.92          7.03          7.16        7.10           7.10           7.11           7.09
            Price                                                       6.96       7.21       6.97       6.85    6.68       6.83        7.08         7.12      7.01     6.85    6.70        6.77         7.08         6.99           6.94       6.92      6.92      7.01      7.00     6.90         7.26          7.12          6.97       6.65          6.86          7.04        6.97           6.95           6.97           6.95
            Lightweight                                                6.79       6.86       6.78       6.71    6.74       6.77        6.80         6.74      6.77     6.86    6.83        6.59         6.91         6.85           6.75       6.78      6.84      6.79      6.82     6.62         6.75          6.79          6.84       6.78          6.77          6.80        6.81           6.71           6.84           6.75
            Purchasedtoavoidanypotentialfutureownership           6.75       6.71       6.81       6.75    6.72       6.57        6.90         7.20      6.68     6.52    6.38        6.46         6.92         6.60           6.82       6.80      6.90      6.81      6.66     6.43         6.54          6.65          6.76       7.00          6.83          6.68        6.76           6.71           6.80           6.71
            Lowrecoil                                                  6.41       6.62       6.37       6.33    6.23       6.41        6.42         6.43      6.39     6.46    6.35        6.20         6.55         6.38           6.43       6.35      6.49      6.40      6.51     6.19         6.43          6.47          6.40       6.39          6.40          6.43        6.45           6.31           6.46           6.38
            Abilitytoshootcompetitively                              5.60       5.40       5.60       5.70    5.79       6.08        5.15         5.15      5.44     5.90    6.41        6.03         5.33         5.65           5.57       5.69      5.48      5.61      5.70     5.46         5.67          5.67          5.65       5.50          5.50          5.68        5.58           5.66           5.59           5.61
            Taughttouseinmilitary/lawenforcementandwas           4.36       4.31       4.37       4.42    4.38       4.42        4.27         4.17      4.33     4.51    4.57        4.30         4.40         7.03           2.80       4.10      4.28      4.34      4.38     4.90         4.52          4.45          4.46       4.14          4.18          4.51        4.44           4.12           4.40           4.32
            Recommendedbyretailer                                     4.17       4.56       4.22       4.02    3.69       4.16        4.18         4.30      4.23     4.11    3.90        3.86         4.36         4.05           4.23       4.21      4.14      4.16      4.24     4.00         4.26          4.22          4.17       4.11          4.07          4.24        4.17           4.18           4.25           4.10
            Myfriends/familyhadone                                   3.97       4.31       3.95       3.90    3.56       3.88        4.05         4.08      3.99     3.96    3.84        3.83         4.05         3.73           4.09       4.03      3.99      3.96      3.98     3.84         4.07          4.09          3.98       3.86          3.85          4.07        3.98           3.94           4.04           3.92
                                                                                                                                                                                                                                                                                                                                                                                                                                        Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.453 Page 94 of 428
            IwouldconsidermymostrecentMSRasIcurrentlyuseittobe:                                                                                                                                                                                                                                                                                                                                                          3
                                                                                                                                                                                                             LawEnforcementor
                                                                                        #MSR'sown                 RangeMembership       #timesusedMSRlast12months          ReloadAmmo?                                                               Age                                           Income                                    Education                MaritalStatus                  Children?
                                                                                                                                                                                                                     Military
                                                                                                                               Non   3timesor                                              Non         Military/ NonMilitary/                                                  $45,000& $45,001to $75,001to           Bachelor'sor           Lessthan                               Childrenin Nochildrenin
                                                               Total             1      2         3         4+      Member                             4~11    12~23     24+     Reloader                                               Under35      35~44    45~54    55~64    65+                                        $110,001+                                        Married    NotMarried
                                                                                                                              Member      less                                               Reloader          L.E.           L.E.                                                         under     $75,000     $110,000                higher                Bachelor's                                 home           home
                                                                  21993          7549   5367      2993       5812     10445     11361        4420       8288    4115      3756       8330        13415            7631           14266      3713        4487     5605     5546    2483         3350       5550         6039      6048         9877                   11920      16404            5495          9306          12424
            Outofthebox(noaccessories)                         19%           21%    19%       18%        18%       17%       21%         25%        18%     15%       13%        17%          20%              19%            19%       15%         17%      20%      22%     23%          21%        19%          19%       18%          19%                     19%        20%             18%           19%            20%
            Haveafewaccessories(1~3)                            64%           64%    65%       64%        62%       64%       63%         64%        66%     65%       61%        65%          63%              63%            64%       60%         64%      65%      65%     65%          61%        63%          65%       64%          64%                     64%        64%             62%           63%            64%
            Heavilyaccessorized(4+)                               17%           15%    16%       18%        20%       18%       16%         12%        16%     20%       25%        17%          17%              18%            17%       25%         20%      16%      13%     12%          18%        17%          17%       17%          17%                     17%        16%             20%           18%            17%

                                                                                                                                                                                                                                                85%      84%      81%      78%     77%
            WhendidyouaddyouraccessoriestoyourMSR?

                                                                                        #MSR'sown                 RangeMembership        #timesusedMSRlast12months         ReloadAmmo?           LawEnforcementorMilitary                          Age                                           Income                                   Education                MaritalStatus                   Children?
                                                                                                                               Non      3timesor                                                                       NonMilitary/                                               $45,000&   $45,001to   $75,001to               Bachelor'sor   Lessthan                               Childrenin       Nochildrenin
                                                               Total             1      2         3         4+      Member                             4~11    12~23     24+     Reloader   NonReloader Military/L.E.                   Under35   35~44    45~54    55~64    65+                                              $110,001+                                  Married    NotMarried
                                                                                                                              Member         less                                                                              L.E.                                                        under       $75,000       $110,000                    higher        Bachelor's                                 home                 home
                                                                  21934          7527   5352      2986       5795     10420      11326        4413      8262    4105      3748       8303          13386          7608            14229        3706     4473     5589     5531    2479         3342          5540         6029         6021           9847          11890       16361            5480          9276                12396
            Attimeofpurchase                                     19%           18%    18%       19%        20%       20%        18%         18%       18%     19%       23%        19%            19%           19%              19%         23%      21%      18%      17%     17%          19%           18%          19%          21%            19%            19%         18%             21%           19%                  19%
            Postpurchase(within12months)                        62%           58%    62%       64%        64%       64%        59%         55%       63%     67%       67%        62%            61%           61%              62%         64%      63%      62%      60%     58%          59%           61%          62%          63%            62%            61%         61%             62%           62%                  61%
            Postpurchase(after12months)                         10%           13%    11%        9%         7%       10%        11%         11%       11%     10%        9%        11%            10%           11%              10%         11%      11%      10%      10%     10%          12%           12%          10%           8%            11%            10%         10%             11%           11%                  10%
            Notapplicable                                          16%           18%    16%       15%        15%       15%        18%         22%       15%     12%       11%        15%            17%           16%              17%         14%      15%      16%      18%     20%          18%           16%          16%          16%            17%            17%         17%             16%           16%                  17%


            HowmuchaftermarketcustomizationdidyoudotoyourmostrecentMSRintermsofdollarsspent?
                                                                                                                                                                                                             LawEnforcementor
                                                                                        #MSR'sown                 RangeMembership       #timesusedMSRlast12months          ReloadAmmo?                                                               Age                                           Income                                    Education                MaritalStatus                  Children?
                                                                                                                                                                                                                     Military
                                                                                                                               Non    3timesor                                             Non         Military/ NonMilitary/                                                  $45,000& $45,001to $75,001to           Bachelor'sor           Lessthan                               Childrenin Nochildrenin
                                                               Total             1      2         3         4+      Member                             4~11    12~23     24+     Reloader                                               Under35      35~44    45~54    55~64    65+                                        $110,001+                                        Married    NotMarried
                                                                                                                              Member       less                                              Reloader          L.E.           L.E.                                                         under     $75,000     $110,000                higher                Bachelor's                                 home           home
                                                                  21964          7535   5356      2989       5811     10435     11339         4416      8280    4109      3753       8324        13396            7625           14241      3713        4475     5588     5550    2480         3348       5546         6036      6033         9868                   11899      16383            5490          9284          12416
            $0                                                      15%           17%    14%       14%        13%       13%       17%          21%       13%     11%        9%        13%          16%              15%            15%       12%         13%      15%      17%     18%          16%        15%          14%       15%          15%                     14%        15%             14%           14%            15%
            $1$100                                            8%           10%     9%        7%         6%        7%         9%         12%        8%      5%        5%         7%           9%               8%             8%        9%          7%       8%       8%     10%          12%          9%          7%        6%           8%                      8%         8%              9%             8%            8%
            $101$200                                             14%           17%    14%       14%        12%       14%       15%          17%       16%     13%        9%        14%          15%              14%            15%       12%         14%      14%      15%     17%          16%        16%          15%       11%          14%                     15%        15%             13%           14%            14%
            $201$400                                             23%           24%    23%       24%        19%       22%       23%          23%       24%     23%       20%        23%          22%              22%            23%       21%         22%      24%      23%     23%          22%        24%          22%       21%          21%                     23%        23%             22%           22%            23%
            $401$600                                             17%           15%    18%       16%        17%       17%       16%          13%       17%     20%       18%        17%          16%              16%            17%       17%         17%      17%      17%     15%          15%        16%          18%       17%          17%                     16%        17%             16%           17%            16%
            $601$800                                              8%            7%     8%        9%        11%        9%         8%          6%        8%     10%       12%         9%           8%               9%             8%        9%         10%       9%       8%      7%           7%          8%          8%       10%           9%                      8%         8%              9%             9%            8%
            $801$999                                              5%            3%     5%        5%         6%        6%         4%          3%        4%      6%        8%         5%           4%               5%             5%        6%          5%       5%       4%      4%           3%          4%          5%        6%           5%                      4%         5%              5%             5%            5%
            $1,000$1,500                                          7%            5%     6%        7%         9%        8%         5%          4%        5%      9%       11%         8%           6%               7%             6%        9%          7%       6%       6%      5%           5%          6%          6%        8%           7%                      6%         6%              8%             6%            7%
            $1,501$2,000                                          2%            1%     2%        2%         4%        3%         2%          1%        2%      3%        4%         3%           2%               2%             2%        3%          3%       2%       2%      1%           2%          2%          2%        3%           2%                      2%         2%              3%             2%            2%
            $2,001$2,500                                          1%            0%     1%        1%         2%        1%         1%          0%        1%      1%        2%         1%           1%               1%             1%        1%          1%       1%       0%      1%           1%          1%          1%        1%           1%                      1%         1%              1%             1%            1%
            $2,501$3,000                                          0%            0%     0%        0%         1%        0%         0%          0%        0%      0%        1%         0%           0%               0%             0%        0%          0%       0%       0%      0%           0%          0%          0%        1%           1%                      0%         0%              0%             0%            0%
            $3,000+                                                 0%            0%     0%        0%         1%        0%         0%          0%        0%      0%        1%         1%           0%               0%             0%        1%          0%       0%       0%      0%           0%          0%          0%        1%           0%                      0%         0%              1%             0%            0%
            0                                                       77%           83%    78%       75%        67%       73%       80%          86%       78%     72%       61%        74%          78%              75%            78%       71%         73%      78%      80%     83%          81%        80%          76%       70%          75%                     76%        78%             74%           75%            76%
            $600+                                                   23%           16%    22%       24%        34%       27%       20%          14%       20%     29%       39%        27%          21%              24%            22%       29%         26%      23%      20%     18%          18%        21%          22%       30%          25%                     21%        22%             27%           23%            23%

            GPPrimaryOptics
                                                                                                                                                                                                             LawEnforcementor
                                                                                        #MSR'sown                 RangeMembership       #timesusedMSRlast12months          ReloadAmmo?                                                               Age                                           Income                                    Education                MaritalStatus                  Children?
                                                                                                                                                                                                                     Military
                                                                                                                               Non    3timesor                                             Non         Military/ NonMilitary/                                                  $45,000& $45,001to $75,001to           Bachelor'sor           Lessthan                               Childrenin Nochildrenin
                                                               Total             1      2         3         4+      Member                             4~11    12~23     24+     Reloader                                               Under35      35~44    45~54    55~64    65+                                        $110,001+                                        Married    NotMarried
                                                                                                                              Member       less                                              Reloader          L.E.           L.E.                                                         under     $75,000     $110,000                higher                Bachelor's                                 home           home
                                                                  21546          7423   5277      2940       5725     10302     11153         4307      8145    4050      3696       8194        13107            7507           14039      3642        4397     5490     5433    2424         3268       5430         5917      5936         9731                   11712      16082            5368          9145          12232
            Ironsightsprimary                                   33%           36%    34%       32%        30%       30%       36%          43%       34%     27%       22%        29%          36%              33%            33%       33%         32%      34%      35%     33%          37%        35%          33%       31%          33%                     34%        33%             35%           33%            34%
            Scopeprimary                                         37%           35%    36%       38%        38%       39%       35%          29%       36%     41%       45%        45%          32%              36%            37%       32%         35%      37%      39%     41%          35%        36%          37%       38%          36%                     37%        37%             35%           36%            37%
            Reddotprimary                                       26%           25%    25%       26%        27%       27%       25%          24%       26%     27%       28%        23%          27%              26%            25%       32%         30%      24%      21%     19%          24%        25%          26%       27%          27%                     25%        26%             26%           27%            24%
            Laserdesignatorprimary                               1%            0%     1%        1%         1%        1%         1%          1%        1%      1%        1%         0%           1%               1%             1%        0%          0%       1%       1%      1%           1%          1%          1%        1%           1%                      1%         1%              1%             1%            1%
            Otherprimary                                            1%            1%     1%        1%         2%        2%         1%          1%        1%      2%        2%         1%           1%               2%             1%        1%          1%       2%       1%      1%           1%          1%          1%        1%           1%                      1%         1%              2%             1%            1%




  0085
            None                                                     2%            2%     2%        2%         3%        2%         2%          3%        2%      2%        3%         2%           2%               2%             2%        1%          1%       2%       3%      4%           2%          3%          2%        2%           2%                      3%         2%              2%             2%            3%




Exhibit 4
            GPSecondaryOptics
                                                                                                                                                                                                             LawEnforcementor
                                                                                        #MSR'sown                 RangeMembership       #timesusedMSRlast12months          ReloadAmmo?                                                               Age                                           Income                                    Education                MaritalStatus                  Children?
                                                                                                                                                                                                                     Military
                                                                                                                               Non    3timesor                                             Non         Military/ NonMilitary/                                                  $45,000& $45,001to $75,001to           Bachelor'sor           Lessthan                               Childrenin Nochildrenin
                                                               Total             1      2         3         4+      Member                             4~11    12~23     24+     Reloader                                               Under35      35~44    45~54    55~64    65+                                        $110,001+                                        Married    NotMarried
                                                                                                                              Member       less                                              Reloader          L.E.           L.E.                                                         under     $75,000     $110,000                higher                Bachelor's                                 home           home
                                                                  17463          5881   4251      2400       4780      8514      8873         3266      6646    3420      3179       6691        10567            6199           11264      2822        3533     4501     4451    2026         2552       4385         4837      4874         7857                    9522      13125            4260          7443           9885
            Ironsightssecondary                                 51%           47%    51%       52%        57%       55%       48%          45%       50%     56%       60%        52%          51%              53%            51%       63%         59%      51%      44%     41%          49%        50%          52%       54%          54%                     49%        50%             55%           54%            50%
            Scopesecondary                                        7%            7%     7%        6%         7%        7%         7%          8%        7%      6%        6%         6%           7%               7%             7%        5%          5%       8%       8%      8%           8%          8%          6%        6%           6%                      7%         7%              7%             6%            7%
            Reddotsecondary                                      7%            8%     8%        7%         7%        7%         7%          8%        7%      8%        7%         7%           8%               7%             8%        7%          7%       7%       7%      8%           7%          7%          7%        7%           7%                      7%         7%              7%             7%            7%
            Laserdesignatorsecondary                             3%            3%     3%        4%         3%        3%         3%          3%        3%      3%        3%         3%           3%               3%             3%        3%          3%       4%       4%      3%           3%          4%          3%        3%           3%                      4%         3%              3%             3%            3%
            Othersecondary                                          0%            0%     0%        1%         0%        0%         1%          0%        1%      0%        1%         0%           1%               1%             0%        0%          0%       0%       1%      0%           0%          1%          0%        0%           0%                      0%         0%              0%             0%            0%
            None                                                    31%           35%    31%       30%        26%       28%       34%          37%       31%     27%       24%        31%          30%              30%            31%       23%         26%      30%      36%     40%          31%        31%          31%       29%          29%                     32%        32%             28%           29%            32%

            Whattypeofscope?                                                                                                                                                                                                                                                                                                                                                                                        
                                                                                                                                                                                                             LawEnforcementor
                                                                                        #MSR'sown                 RangeMembership       #timesusedMSRlast12months          ReloadAmmo?                                                               Age                                           Income                                    Education                MaritalStatus                  Children?
                                                                                                                                                                                                                     Military
                                                                                                                               Non    3timesor                                             Non         Military/ NonMilitary/                                                  $45,000& $45,001to $75,001to           Bachelor'sor           Lessthan                               Childrenin Nochildrenin
                                                               Total             1      2         3         4+      Member                             4~11    12~23     24+     Reloader                                               Under35      35~44    45~54    55~64    65+                                        $110,001+                                        Married    NotMarried
                                                                                                                              Member       less                                              Reloader          L.E.           L.E.                                                         under     $75,000     $110,000                higher                Bachelor's                                 home           home
                                                                   9699          3216   2370      1339       2656      4844      4775         1616      3649    1996      1989       4337         5257            3317             6337     1388        1823     2549     2621    1250         1454       2464         2670      2669         4261                    5347       7311            2342          4017           5568
            14xpowerscope                                      26%           24%    26%       25%        28%       26%       25%          26%       26%     26%       24%        24%          27%              27%             25%      27%         29%      24%      25%     23%          24%        25%          26%       27%          28%                     24%        26%             25%           26%            25%
            27xpowerscope                                         9%            9%     9%        8%         8%        9%         9%         10%        9%      8%        8%         9%           9%               8%              9%       7%          8%       9%      10%      9%           8%          9%          9%        8%           9%                      8%         9%              8%             8%            9%
            39xpowerscope                                      33%           37%    35%       32%        28%       31%       35%          36%       34%     32%       29%        30%          35%              33%             33%      33%         31%      33%      33%     35%          36%        34%          33%       31%          31%                     34%        33%             33%           33%            33%
            414xpowerscope                                     15%           14%    14%       16%        16%       15%       15%          13%       14%     17%       17%        17%          13%              14%             15%      14%         15%      16%      14%     15%          13%        15%          16%       15%          15%                     15%        15%             15%           15%            15%
            620x+powerscope                                   10%            8%    10%       11%        13%       12%         9%          8%       10%     11%       14%        14%           8%              10%             11%       9%          9%      11%      11%     11%          11%        10%          10%       12%          10%                     11%        10%             11%           10%            11%
            Don'tknow                                               1%            2%     1%        1%         0%        1%         2%          2%        1%      0%        0%         0%           2%               1%              1%       2%          1%       1%       1%      1%           2%          1%          1%        1%           1%                      1%         1%              2%             1%            1%
            Other                                                    6%            5%     5%        6%         7%        6%         6%          5%        5%      6%        7%         7%           5%               7%              6%       8%          6%       6%       5%      5%           7%          6%          5%        6%           5%                      6%         6%              6%             6%            6%


            WhichmagazinecapacitydoyouusethemostinyourmostrecentMSR?
                                                                                                                                                                                                             LawEnforcementor
                                                                                        #MSR'sown                 RangeMembership       #timesusedMSRlast12months          ReloadAmmo?                                                               Age                                           Income                                    Education                MaritalStatus                  Children?
                                                                                                                                                                                                                     Military
                                                                                                                               Non    3timesor                                             Non         Military/ NonMilitary/                                                  $45,000& $45,001to $75,001to           Bachelor'sor           Lessthan                               Childrenin Nochildrenin
                                                               Total             1      2         3         4+      Member                             4~11    12~23     24+     Reloader                                               Under35      35~44    45~54    55~64    65+                                        $110,001+                                        Married    NotMarried
                                                                                                                              Member       less                                              Reloader          L.E.           L.E.                                                         under     $75,000     $110,000                higher                Bachelor's                                 home           home
                                                                  21974          7537   5361      2991       5813     10435     11352         4420      8289    4110      3751       8321        13407            7624           14255      3713        4482     5596     5548    2477         3348       5550         6032      6037         9870                   11909      16386            5495          9298          12413
            5roundcapacity                                         3%            4%     3%        3%         3%        3%         3%          3%        3%      3%        3%         4%           3%               3%             3%        2%          2%       3%       4%      6%           5%          4%          3%        2%           3%                      4%         3%              3%             3%            4%
            10roundcapacity                                       12%           13%    13%       11%         9%       13%       11%          12%       12%     12%       11%        13%          11%              10%            13%       10%         10%      12%      13%     16%          11%        12%          11%       13%          12%                     12%        12%             12%           11%            12%
            15roundcapacity                                        2%            2%     2%        2%         2%        3%         2%          2%        2%      2%        2%         2%           2%               2%             2%        2%          2%       2%       2%      3%           2%          2%          2%        2%           2%                      2%         2%              2%             2%            2%
            20roundcapacity                                       21%           18%    22%       23%        24%       24%       19%          18%       21%     23%       23%        27%          18%              24%            20%       12%         16%      23%      27%     29%          19%        21%          22%       21%          22%                     21%        22%             18%           20%            22%
            25roundcapacity                                        4%            4%     4%        4%         4%        4%         4%          4%        4%      4%        4%         3%           4%               4%             4%        4%          4%       3%       4%      4%           4%          4%          4%        4%           4%                      4%         4%              3%             4%            4%
            30+roundcapacity                                      56%           57%    54%       56%        56%       53%       59%          58%       56%     55%       55%        49%          60%              56%            56%       70%         64%      56%      48%     40%          58%        56%          56%       56%          56%                     56%        55%             60%           59%            54%
            Other                                                    2%            1%     1%        1%         2%        2%         1%          2%        1%      1%        2%         2%           1%               2%             1%        1%          1%       2%       2%      2%           2%          1%          1%        2%           1%                      2%         1%              2%             1%            2%
                                                                                                                                                                                                                                                                                                                                                                                                                                             Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.454 Page 95 of 428
            WhattypeofstockisonyourmostrecentMSR?                                                                                                                                                                                                                                                                                                                                            4
                                                                                                                                                                                            LawEnforcementor
                                                                                 #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                    Military
                                                                                                                     Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                               Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                    Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                  21976   7542   5362      2990    5810     10438     11350         4420    8280    4113     3749       8318       13410         7628           14252      3713     4486     5594     5543    2481         3350       5549         6029      6039         9874           11906      16389            5493          9294          12419
            Collapsible/Folding                                   66%    66%    67%       65%     67%       64%       68%          65%     67%     67%      67%        62%         68%           66%            66%       71%      72%      66%      62%     56%          62%        65%          67%       69%          67%             65%        67%             64%           69%            64%
            Fixed                                                   28%    30%    28%       28%     26%       29%       27%          31%     28%     26%      24%        31%         27%           28%            28%       22%      22%      29%      32%     38%          32%        30%          27%       25%          28%             29%        28%             30%           25%            30%
            Precision                                                4%     3%     4%        5%      5%        5%         3%          2%      3%      5%       7%         5%          3%            4%             4%        4%       4%       4%       4%      3%           4%          3%          4%        5%           4%              4%         4%              4%             4%            4%
            Other                                                    2%     2%     2%        2%      2%        2%         2%          2%      2%      2%       2%         2%          2%            2%             2%        2%       1%       2%       2%      2%           2%          2%          2%        2%           2%              2%         2%              2%             2%            2%



            WhattypeofupperreceiverisonyourmostrecentMSR?
                                                                                                                                                                                            LawEnforcementor
                                                                                 #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                    Military
                                                                                                                     Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                               Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                    Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                  21847   7518   5330      2974    5758     10383     11278         4397    8233    4089     3731       8272       13332         7594           14158      3692     4459     5567     5515    2458         3310       5521         5996      6025         9827           11825      16305            5450          9247          12339
            Flattop                                                73%    71%    74%       74%     75%       73%       73%          68%     73%     76%      78%        74%         73%           70%            75%       77%      78%      72%      70%     69%          70%        72%          74%       76%          74%             73%        73%             73%           75%            72%
            Removablecarryhandle(A3)                             12%    14%    12%       11%     10%       12%       12%          14%     12%     11%      10%        11%         13%           14%            11%       12%      10%      13%      13%     12%          12%        12%          12%       12%          12%             12%        12%             12%           12%            12%
            Fixedcarryinghandle(A1orA2)                         9%    11%     9%        8%      7%        9%         9%         11%      9%      7%       6%         9%          9%           11%             8%        4%       6%       9%      12%     13%           9%        10%           9%        7%           8%              9%         9%              8%             8%           10%
            Other                                                    6%     4%     5%        7%      8%        6%         6%          7%      6%      5%       6%         6%          6%            6%             6%        7%       6%       6%       6%      6%           9%          7%          5%        5%           6%              6%         5%              8%             6%            6%



            WhattypeofhandguardisonyourmostrecentMSR?
                                                                                                                                                                                            LawEnforcementor
                                                                                 #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                    Military
                                                                                                                     Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                               Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                    Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                  21894   7522   5341      2976    5784     10400     11308         4400    8241    4105     3747       8300       13352         7597           14201      3706     4469     5574     5531    2457         3328       5532         6019      6023         9837           11863      16339            5461          9272          12365
            Freefloatingwithrails                                27%    22%    26%       29%     33%       30%       25%          20%     26%     32%      37%        29%         26%           26%            27%       32%      33%      27%      23%     19%          23%        25%          28%       31%          28%             26%        27%             29%           29%            26%
            Standardwithrails                                     26%    30%    27%       23%     20%       24%       27%          28%     27%     24%      21%        19%         30%           27%            25%       24%      24%      25%      26%     30%          25%        26%          25%       26%          25%             26%        26%             23%           26%            25%
            Standardwithoutrails                                  26%    27%    26%       26%     25%       25%       27%          32%     27%     22%      18%        26%         26%           28%            25%       23%      23%      27%      28%     29%          29%        27%          26%       23%          26%             26%        26%             27%           25%            27%
            Freefloatingwithoutrails                             12%    11%    12%       13%     13%       13%       11%           9%     11%     14%      16%        17%          8%           11%            12%       10%      11%      13%      13%     12%          11%        12%          12%       12%          12%             12%        12%             11%           12%            12%
            Monolithic                                               2%     2%     2%        2%      3%        2%         2%          2%      2%      2%       3%         2%          2%            2%             2%        3%       3%       2%       2%      2%           2%          2%          2%        3%           2%              2%         2%              3%             2%            2%
            Other                                                    4%     3%     3%        3%      4%        3%         4%          4%      3%      4%       3%         4%          4%            4%             3%        5%       4%       4%       3%      3%           5%          3%          4%        3%           3%              4%         3%              5%             3%            4%
            Don'tknow                                               3%     6%     3%        3%      1%        3%         4%          5%      3%      2%       1%         2%          4%            2%             4%        3%       3%       3%       4%      5%           4%          3%          3%        3%           3%              4%         3%              3%             3%            4%



            WhattypeoffinishcolorisyourmostrecentMSR?
                                                                                                                                                                                            LawEnforcementor
                                                                                 #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                    Military
                                                                                                                     Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                               Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                    Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                  21958   7542   5353      2992    5798     10426     11344         4415    8282    4105     3746       8307       13404         7624           14238      3704     4478     5599     5536    2482         3340       5546         6025      6040         9861           11902      16383            5481          9284          12411
            Black                                                   80%    83%    80%       80%     76%       80%       80%          82%     81%     79%      75%        79%         80%           80%            80%       76%      79%      80%      82%     80%          77%        79%          81%       81%          80%             79%        80%             78%           80%            80%
            FlatDarkEarth(FDE)                                    6%     4%     6%        6%      8%        6%         5%          4%      5%      6%       8%         6%          5%            6%             6%        8%       7%       6%       4%      4%           5%          6%          6%        6%           6%              6%         6%              6%             6%            5%
            Woodgrain                                               5%     5%     5%        4%      5%        4%         6%          6%      5%      4%       4%         4%          6%            5%             5%        4%       4%       5%       5%      8%           7%          5%          5%        4%           5%              5%         5%              6%             4%            5%
            OliveGreen                                              3%     3%     3%        3%      4%        3%         3%          3%      3%      3%       4%         3%          3%            3%             3%        4%       3%       3%       3%      2%           4%          3%          3%        3%           3%              3%         3%              3%             3%            3%
            Camouflage                                               3%     3%     3%        2%      3%        2%         3%          2%      3%      3%       4%         3%          2%            3%             3%        3%       2%       3%       3%      3%           3%          3%          2%        2%           2%              3%         3%              2%             3%            3%
            Custom                                                   2%     1%     2%        2%      3%        2%         2%          1%      2%      2%       4%         2%          2%            2%             2%        3%       2%       2%       1%      1%           2%          2%          2%        2%           2%              2%         2%              2%             2%            2%
            Other                                                    2%     1%     2%        2%      2%        2%         2%          2%      1%      2%       2%         2%          2%            2%             2%        2%       2%       2%       1%      2%           2%          2%          2%        1%           2%              2%         2%              2%             2%            2%




  0086
            IsthebarrelonyourmostrecentMSR?:                                                                                                                                                                                                                                                                                                                                     
                                                                                                                                                                                            LawEnforcementor
                                                                                 #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?




Exhibit 4
                                                                                                                                                                                                    Military
                                                                                                                     Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                               Total      1      2        3+      4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                    Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                  21959   7540   5356      2986    5805     10425     11347         4413    8280    4103     3752       8321       13394         7617           14247      3713     4480     5586     5545    2478         3346       5548         6027      6037         9863           11902      16382            5487          9292          12407
            Threaded                                                62%    52%    61%       66%     74%       63%       61%          55%     61%     68%      72%        66%         59%           65%            60%       67%      66%      62%      59%     54%          61%        62%          62%       63%          62%             62%        62%             63%           64%            61%
            Nonthreaded/crowned                                  26%    30%    27%       25%     20%       27%       25%          27%     27%     24%      22%        25%         26%           24%            27%       22%      23%      26%      28%     31%          26%        26%          26%       26%          26%             26%        26%             24%           25%            26%
            Don'tknow                                              10%    16%    10%        8%      4%        8%       12%          16%     10%      7%       4%         7%         13%            9%            11%        9%       9%      10%      12%     15%          12%        10%          10%       10%          10%             11%        10%             11%           10%            11%
            Other                                                    2%     2%     2%        2%      2%        2%         2%          2%      2%      1%       2%         2%          2%            2%             2%        2%       2%       2%       1%      1%           2%          2%          2%        2%           2%              2%         2%              2%             2%            2%



            DoesthebarrelonyourmostrecentMSRhavea:?
                                                                                                                                                                                            LawEnforcementor
                                                                                 #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                    Military
                                                                                                                     Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                               Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                    Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                  21963   7536   5355      2989    5810     10425     11351         4414    8281    4111     3750       8317       13399         7617           14250      3711     4476     5594     5550    2474         3346       5549         6033      6036         9863           11904      16386            5485          9295          12404
            Flashhider/NonPermanent                             39%    34%    39%       41%     46%       40%       39%          36%     40%     42%      43%        42%         38%           41%            38%       41%      42%      40%      38%     33%          37%        40%          40%       39%          39%             39%        40%             38%           41%            38%
            Flashhider/Permanent                                 18%    22%    19%       17%     12%       17%       19%          22%     19%     16%      11%        14%         20%           20%            16%       13%      16%      18%      20%     23%          16%        17%          18%       19%          19%             17%        18%             16%           17%            18%
            Muzzlebrake/NonPermanent                            15%    12%    15%       16%     19%       16%       14%          12%     14%     17%      21%        16%         14%           15%            15%       19%      16%      14%      13%     12%          17%        15%          15%       14%          15%             15%        14%             17%           15%            15%
            Muzzlebrake/Permanent                                 8%     9%     8%        7%      7%        8%         7%          8%      8%      8%       7%         6%          9%            7%             8%        9%       8%       8%       7%      7%           8%          8%          7%        9%           8%              8%         8%              9%             8%            8%
            Don'tknown                                              3%     4%     2%        2%      1%        2%         3%          4%      2%      1%       1%         1%          3%            2%             3%        3%       2%       2%       2%      3%           3%          2%          2%        2%           3%              2%         2%              3%             2%            3%
            Other                                                    1%     1%     1%        2%      2%        2%         1%          1%      1%      2%       3%         2%          1%            1%             1%        2%       2%       1%       1%      1%           2%          1%          1%        1%           1%              1%         1%              2%             2%            1%
            None                                                    16%    19%    16%       15%     12%       16%       16%          17%     16%     15%      15%        18%         14%           13%            17%       12%      14%      16%      18%     21%          18%        17%          16%       15%          15%             17%        16%             15%           15%            16%



            Whatisthebarrellength?
                                                                                                                                                                                            LawEnforcementor
                                                                                 #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                    Military
                                                                                                                     Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                               Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                    Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                  21967   7533   5363      2988    5812     10435     11346         4416    8283    4110     3747       8315       13406         7620           14251      3708     4476     5598     5545    2481         3349       5552         6028      6037         9871           11900      16381            5493          9287          12417
            11½”                                                   1%     1%     1%        1%      1%        1%         1%          1%      1%      1%       1%         1%          1%            1%             1%        1%       1%       1%       1%      1%           1%          1%          1%        1%           1%              1%         1%              1%             1%            1%
            14½”                                                    4%     4%     4%        4%      4%        4%         4%          4%      4%      4%       4%         3%          4%            4%             4%        6%       4%       4%       3%      2%           4%          4%          4%        4%           4%              4%         4%              4%             4%            4%
            16”                                                     58%    57%    57%       59%     59%       57%       59%          59%     59%     58%      57%        54%         60%           58%            58%       64%      64%      57%      54%     51%          57%        57%          60%       59%          58%             58%        58%             58%           60%            57%
            18”                                                     15%    15%    16%       15%     14%       15%       14%          14%     15%     16%      15%        16%         14%           14%            15%       12%      14%      16%      16%     16%          14%        15%          14%       15%          15%             15%        15%             15%           15%            15%
            20”                                                     12%    12%    13%       12%     13%       14%       11%          12%     12%     14%      13%        17%         10%           13%            12%        8%       9%      13%      16%     18%          13%        13%          12%       11%          12%             13%        13%             12%           11%            13%
            24”                                                      4%     3%     4%        4%      4%        4%         3%          3%      3%      3%       5%         5%          2%            4%             4%        2%       2%       4%       4%      5%           4%          4%          3%        3%           4%              3%         4%              4%             3%            4%
            Don'tknow                                               5%     7%     4%        3%      2%        3%         6%          7%      4%      2%       2%         2%          6%            4%             5%        4%       4%       4%       5%      5%           6%          4%          4%        4%           4%              5%         5%              5%             4%            5%
            Other                                                    2%     1%     2%        2%      3%        2%         2%          1%      1%      2%       3%         2%          2%            2%             2%        3%       2%       2%       2%      1%           2%          2%          2%        2%           2%              2%         2%              2%             2%            2%
                                                                                                                                                                                                                                                                                                                                                                                                           Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.455 Page 96 of 428
            DoesyourMSRoperateona:?                                                                                                                                                                                                                                                                                                                                                                                 5
                                                                                                                                                                                                           LawEnforcementor
                                                                                        #MSR'sown                   RangeMembership      #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                            Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military
                                                                                                                                 Non    3timesor                                           Non       Military/ NonMilitary/                                                   $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                              Total         1           2          3          4+      Member                           4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                        $110,001+                                Married     NotMarried
                                                                                                                                Member       less                                            Reloader        L.E.           L.E.                                                          under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                 21969       7541          5359    2989        5809     10430     11354         4425    8275     4107    3752        8322        13401          7624           14250      3708      4482      5593      5544     2483         3348       5548         6031      6039         9866           11909      16382            5493          9291          12415
            Directgasimpingement                                 51%        47%           51%     54%         56%       55%       48%          46%     51%      56%     58%         59%          46%            53%            50%       55%       55%       51%       49%      44%          47%        51%          52%       52%          52%             50%        52%             50%           53%            50%
            Gaspiston                                             28%        27%           28%     28%         30%       27%       29%          30%     28%      27%     27%         25%          30%            28%            28%       29%       28%       29%       27%      29%          30%        28%          28%       29%          28%             28%        28%             30%           28%            29%
            Recoil/Blowbackoperated                            11%        11%           12%     10%          9%       10%       11%          11%     11%      10%     10%          9%          11%            11%            10%        8%        9%       11%       13%      13%          12%        11%          10%       10%          10%             11%        11%             10%           10%            11%
            Delayedtoggleboltrecoil                              0%         0%            0%      0%          0%        0%         0%          0%      0%       0%      0%          0%           0%             0%             0%        0%        0%        0%        0%       0%           0%          0%          0%        0%           0%              0%         0%              0%             0%            0%
            Don'tknow                                              9%        14%            9%      7%          4%        7%       11%          13%      9%       6%      4%          6%          11%             7%            10%        8%        8%        8%       10%      13%          10%          8%          9%        9%           8%              9%         9%              8%             9%            9%
            Other                                                   1%         1%            1%      1%          1%        1%         1%          1%      1%       1%      1%          1%           1%             1%             1%        1%        1%        1%        1%       1%           1%          1%          0%        1%           1%              1%         1%              1%             1%            1%



            Whennotinuse,doyoustoreyourMSRinasecurestorageorsafetydevice?
                                                                                                                                                                                                           LawEnforcementor
                                                                                        #MSR'sown                   RangeMembership      #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                            Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military
                                                                                                                               Non   3timesor                                              Non       Military/ NonMilitary/                                                 $45,000& $45,001to $75,001to           Bachelor'sor     Lessthan                             Childrenin Nochildrenin
                                                              Total         1           2          3          4+      Member                           4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                      $110,001+                                  Married     NotMarried
                                                                                                                              Member      less                                               Reloader        L.E.           L.E.                                                        under     $75,000     $110,000                higher          Bachelor's                               home           home
                                                                 21890       7514          5346    2978        5782     10389   11316        4404       8243     4093    3736        8285        13360          7596           14199      3700      4466      5576      5522     2470       3336       5532         6009      6019         9826             11871      16327            5471        9272          12360
            Yes                                                    83%        78%           83%     85%         88%       87%     79%         80%        83%      86%     85%         86%          81%            82%            83%       78%       85%       85%       84%      79%        76%        81%          85%       86%          83%               83%        85%             78%         87%            80%
            No                                                     17%        22%           17%     15%         12%       13%     21%         20%        17%      14%     15%         14%          19%            18%            17%       22%       15%       15%       16%      21%        24%        19%          15%       14%          17%               17%        15%             22%         13%            20%



            HowlikelyareyoutopurchaseanewMSRinthenext12months?(average)
                                                                                                                                                                                                           LawEnforcementor
                                                                                        #MSR'sown                   RangeMembership      #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                            Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                                    Military
                                                                                                                                Non    3timesor                                            Non       Military/ NonMilitary/                                                  $45,000& $45,001to $75,001to            Bachelor'sor   Lessthan                             Childrenin Nochildrenin
                                                              Total         1           2          3          4+      Member                           4~11     12~23    24+     Reloader                                              Under35   35~44     45~54     55~64     65+                                       $110,001+                                 Married     NotMarried
                                                                                                                               Member       less                                             Reloader        L.E.            L.E.                                                        under     $75,000     $110,000                 higher        Bachelor's                               home           home
            Mean                                                  6.50          5.79        6.34       6.76    7.41       6.61     6.39        5.83      6.33     6.96    7.57        6.54         6.47           6.48            6.50     6.89      6.94      6.66      6.19     5.46       6.24        6.42        6.51       6.80         6.42            6.56        6.45           6.63         6.78           6.28



            a.Bipod
                                                                                                                                                                                                           LawEnforcementor
                                                                                        #MSR'sown                   RangeMembership      #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                            Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military
                                                                                                                                 Non   3timesor                                            Non       Military/ NonMilitary/                                                   $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                              Total         1           2          3          4+      Member                           4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                        $110,001+                                Married     NotMarried
                                                                                                                                Member      less                                             Reloader        L.E.           L.E.                                                          under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                 20003       6730          4863    2742        5427      9562     10272        3965     7513     3787    3517        7628        12172          6892           13026      3535      4217      5122      4900     2101         3056       5027         5484      5554         9043           10789      14848            5082          8548          11229
            Currentlyown                                          49%        33%           44%     54%         70%       54%       43%         35%      46%      58%     67%         61%          41%            52%            47%       46%       47%       49%       51%      50%          43%        48%          49%       52%          48%             49%        49%             48%           48%            49%
            Plantobuyinnext12mths.                           19%        23%           21%     18%         14%       18%       21%         22%      20%      18%     15%         16%          21%            16%            21%       21%       21%       20%       17%      14%          20%        19%          19%       19%          18%             20%        19%             20%           21%            18%
            Don'townorplantobuy                               33%        45%           36%     30%         18%       29%       37%         43%      35%      25%     20%         25%          38%            33%            33%       35%       32%       33%       33%      36%          38%        33%          33%       31%          35%             32%        33%             34%           32%            34%



            b.MountedRifleScope
                                                                                                                                                                                                           LawEnforcementor
                                                                                        #MSR'sown                   RangeMembership      #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                            Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military
                                                                                                                                 Non   3timesor                                            Non       Military/ NonMilitary/                                                   $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                              Total         1           2          3          4+      Member                           4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                        $110,001+                                Married     NotMarried
                                                                                                                                Member      less                                             Reloader        L.E.           L.E.                                                          under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                 20695       7003          5016    2823        5604      9880     10637        4103     7762     3922    3611        7968        12511          7174           13432      3546      4269      5291      5192     2264         3149       5201         5678      5743         9347           11175      15423            5194          8779          11683
            Currentlyown                                          65%        52%           62%     70%         81%       70%       60%         51%      64%      73%     80%         76%          58%            66%            64%       56%       62%       66%       69%      71%          59%        65%          65%       67%          65%             64%        65%             63%           63%            66%
            Plantobuyinnext12mths.                           20%        24%           21%     19%         16%       18%       22%         27%      20%      17%     14%         15%          24%            18%            22%       26%       24%       20%       17%      13%          22%        20%          19%       21%          20%             20%        20%             21%           22%            19%
            Don'townorplantobuy                               17%        25%           18%     14%          8%       15%       19%         23%      18%      12%      9%         12%          20%            18%            17%       20%       18%       16%       16%      17%          20%        17%          18%       15%          17%             18%        17%             18%           17%            17%




  0087
            c.SpottingScope                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                                           LawEnforcementor
                                                                                        #MSR'sown                   RangeMembership      #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                            Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military




Exhibit 4
                                                                                                                                 Non   3timesor                                            Non       Military/ NonMilitary/                                                   $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                              Total         1           2          3          4+      Member                           4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                        $110,001+                                Married     NotMarried
                                                                                                                                Member      less                                             Reloader        L.E.           L.E.                                                          under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                 19110       6369          4658    2638        5222      9246      9701        3758     7146     3641    3384        7424        11489          6603           12426      3356      4000      4912      4675     2050         2887       4809         5230      5342         8738           10212      14235            4806          8179          10720
            Currentlyown                                          47%        33%           43%     53%         66%       57%       38%         36%      46%      55%     62%         65%          36%            51%            45%       29%       39%       50%       58%      64%          37%        45%          48%       53%          50%             46%        49%             42%           44%            50%
            Plantobuyinnext12mths.                           16%        15%           18%     17%         14%       15%       16%         15%      16%      17%     17%         13%          18%            15%            17%       23%       20%       15%       12%       7%          18%        17%          16%       15%          15%             17%        15%             18%           18%            14%
            Don'townorplantobuy                               37%        52%           39%     31%         21%       28%       46%         49%      39%      28%     21%         23%          46%            34%            38%       48%       42%       35%       31%      29%          46%        38%          37%       32%          36%             38%        36%             40%           38%            36%



            d.RangeFinder
                                                                                                                                                                                                           LawEnforcementor
                                                                                        #MSR'sown                   RangeMembership      #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                            Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military
                                                                                                                                 Non   3timesor                                            Non       Military/ NonMilitary/                                                   $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                              Total         1           2          3          4+      Member                           4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                        $110,001+                                Married     NotMarried
                                                                                                                                Member      less                                             Reloader        L.E.           L.E.                                                          under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                 18433       6185          4487    2528        5011      8812      9462        3641     6883     3492    3278        7130        11116          6353           12002      3315      3934      4735      4452     1887         2814       4620         5039      5160         8436            9845      13703            4667          7933          10302
            Currentlyown                                          33%        24%           30%     35%         46%       37%       29%         22%      31%      39%     49%         47%          24%            35%            32%       24%       30%       35%       39%      36%          26%        32%          33%       37%          33%             33%        34%             29%           32%            33%
            Plantobuyinnext12mths.                           20%        17%           21%     21%         22%       21%       20%         18%      19%      22%     23%         19%          20%            20%            20%       25%       23%       20%       16%      15%          21%        21%          20%       19%          19%             21%        19%             22%           21%            19%
            Don'townorplantobuy                               47%        59%           49%     45%         33%       43%       52%         61%      50%      39%     28%         34%          56%            45%            49%       52%       48%       46%       45%      49%          53%        48%          47%       44%          48%             47%        47%             50%           47%            48%



            e.RifleSling
                                                                                                                                                                                                           LawEnforcementor
                                                                                        #MSR'sown                   RangeMembership      #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                            Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military
                                                                                                                                 Non    3timesor                                           Non       Military/ NonMilitary/                                                   $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                              Total         1           2          3          4+      Member                           4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                        $110,001+                                Married     NotMarried
                                                                                                                                Member       less                                            Reloader        L.E.           L.E.                                                          under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                 21054       7133          5129    2881        5657     10032     10849         4175    7936     3972    3650        8032        12798          7319           13649      3595      4347      5378      5270     2317         3217       5304         5794      5798         9524           11356      15686            5288          8937          11883
            Currentlyown                                          78%        68%           76%     82%         89%       82%       74%          67%     77%      85%     90%         85%          73%            83%            75%       74%       77%       78%       80%      78%          76%        78%          78%       78%          78%             78%        78%             77%           77%            78%
            Plantobuyinnext12mths.                           17%        22%           18%     15%         11%       14%       20%          24%     17%      13%     11%         12%          20%            13%            19%       22%       19%       18%       14%      12%          18%        16%          18%       17%          17%             17%        17%             18%           19%            16%
            Don'townorplantobuy                                7%        11%            7%      6%          4%        6%         8%         10%      8%       5%      4%          6%           9%             6%             8%        7%        7%        7%        8%      11%           8%          8%          7%        7%           8%              7%         7%              7%             7%            8%


            f.TacticalFlashlight
                                                                                                                                                                                                           LawEnforcementor
                                                                                        #MSR'sown                   RangeMembership      #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                            Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military
                                                                                                                                 Non   3timesor                                            Non       Military/ NonMilitary/                                                   $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                              Total         1           2          3          4+      Member                           4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                        $110,001+                                Married     NotMarried
                                                                                                                                Member      less                                             Reloader        L.E.           L.E.                                                          under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                 19710       6616          4796    2697        5374      9417     10137        3894     7376     3753    3470        7473        12038          6819           12815      3511      4198      5069      4797     2010         3025       4915         5419      5486         8967           10591      14629            5011          8485          11016
            Currentlyown                                          55%        39%           51%     62%         73%       60%       50%         43%      53%      62%     71%         60%          51%            60%            52%       52%       57%       55%       56%      50%          48%        53%          56%       58%          55%             54%        55%             53%           55%            54%
            Plantobuyinnext12mths.                           20%        24%           22%     17%         14%       17%       22%         24%      20%      18%     15%         15%          22%            16%            22%       26%       23%       20%       15%      12%          23%        20%          19%       19%          19%             20%        19%             21%           21%            18%
            Don'townorplantobuy                               27%        37%           28%     23%         16%       25%       30%         35%      27%      22%     17%         26%          28%            25%            28%       23%       22%       27%       30%      38%          30%        29%          26%       25%          27%             27%        27%             27%           25%            29%
                                                                                                                                                                                                                                                                                                                                                                                                                              Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.456 Page 97 of 428
            g.TacticalApparel                                                                                                                                                                                                                                                                                                                                                  6
                                                                                                                                                                        LawEnforcementor
                                                             #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                Military
                                                                                                 Non   3timesor                                          Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                           Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                Member      less                                           Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                              18423   6206   4500      2537    4967      8780      9493        3660     6901    3489     3218       6901       11343         6384           11967      3378     4009     4750     4377    1797         2858       4601         5047      5135         8431            9847      13629            4729          8003          10221
            Currentlyown                       34%    23%    31%       40%     49%       39%       30%         23%      33%     41%      50%        36%         33%           44%            29%       38%      40%      36%      30%     23%          32%        33%          34%       38%          35%             34%        34%             36%           37%            32%
            Plantobuyinnext12mths.        14%    15%    14%       14%     12%       13%       14%         14%      13%     14%      14%        11%         15%           11%            15%       19%      16%      14%      10%      6%          16%        14%          13%       13%          13%             14%        13%             16%           15%            13%
            Don'townorplantobuy            53%    64%    55%       48%     42%       50%       57%         64%      55%     47%      39%        55%         53%           46%            57%       45%      46%      52%      61%     71%          53%        54%          53%       51%          53%             53%        55%             50%           49%            57%



            h.NightVision
                                                                                                                                                                        LawEnforcementor
                                                             #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                Military
                                                                                                 Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                           Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                              17976   6089   4385      2453    4847      8533      9299         3589    6712    3372     3161       6799       10997         6171           11735      3277     3902     4610     4298    1782         2777       4490         4913      5026         8244            9591      13323            4594          7772          10014
            Currentlyown                       10%     4%     6%       11%     19%       11%         8%          5%      8%     12%      19%        13%          8%           13%             8%        7%       9%      11%      11%     10%           8%        10%           9%       12%          10%              9%        10%             10%           10%            10%
            Plantobuyinnext12mths.        17%    12%    16%       19%     24%       18%       17%          12%     15%     19%      27%        17%         17%           17%            17%       19%      19%      19%      15%     11%          20%        17%          16%       18%          16%             18%        16%             20%           18%            17%
            Don'townorplantobuy            73%    83%    79%       70%     57%       72%       75%          82%     77%     70%      55%        70%         75%           70%            75%       74%      72%      71%      74%     80%          73%        74%          76%       70%          74%             73%        74%             70%           73%            74%


            i.VerticalForegrip
                                                                                                                                                                        LawEnforcementor
                                                             #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                Military
                                                                                                 Non   3timesor                                          Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                           Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                Member      less                                           Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                              19304   6496   4722      2630    5233      9192      9959        3850     7226    3649     3376       7231       11882         6636           12591      3516     4139     4957     4641    1930         2970       4825         5296      5383         8797           10356      14333            4907          8324          10771
            Currentlyown                       44%    32%    41%       47%     60%       46%       42%         34%      43%     51%      57%        43%         44%           47%            42%       53%      49%      43%      38%     33%          42%        44%          44%       46%          44%             44%        43%             47%           45%            43%
            Plantobuyinnext12mths.        15%    17%    15%       14%     11%       13%       16%         16%      15%     13%      13%        12%         16%           13%            16%       18%      16%      15%      13%     10%          17%        14%          14%       14%          14%             15%        14%             15%           16%            13%
            Don'townorplantobuy            42%    51%    45%       39%     31%       41%       43%         50%      43%     37%      32%        46%         40%           41%            43%       30%      36%      43%      50%     57%          42%        42%          43%       40%          43%             42%        43%             39%           39%            45%



            j.LaserOptic
                                                                                                                                                                        LawEnforcementor
                                                             #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                Military
                                                                                                 Non   3timesor                                          Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                           Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                Member      less                                           Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                              18731   6349   4553      2575    5041      8892      9690        3756     7006    3525     3261       7027       11520         6416           12244      3339     4008     4826     4542    1903         2878       4665         5126      5253         8544           10046      13921            4746          8060          10476
            Currentlyown                       28%    17%    24%       31%     42%       30%       25%         20%      26%     31%      40%        30%         26%           29%            27%       24%      26%      30%      30%     29%          24%        28%          27%       31%          27%             28%        28%             27%           27%            28%
            Plantobuyinnext12mths.        19%    20%    20%       19%     17%       18%       20%         20%      19%     19%      18%        16%         21%           18%            20%       20%      19%      20%      19%     15%          20%        18%          19%       20%          18%             20%        19%             19%           20%            18%
            Don'townorplantobuy            54%    63%    57%       51%     43%       53%       55%         60%      56%     51%      44%        55%         53%           54%            54%       57%      56%      52%      53%     56%          56%        55%          55%       50%          55%             53%        54%             55%           53%            55%



            k.RailedHandguard
                                                                                                                                                                        LawEnforcementor
                                                             #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                Military
                                                                                                 Non   3timesor                                          Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                           Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                Member      less                                           Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                              19651   6586   4786      2699    5349      9364     10131        3912     7347    3739     3438       7440       12016         6806           12769      3528     4204     5043     4748    2000         3005       4906         5408      5486         8931           10564      14595            4983          8454          10982
            Currentlyown                       54%    42%    52%       59%     70%       57%       51%         44%      53%     61%      69%        56%         53%           57%            53%       61%      59%      54%      49%     46%          49%        54%          54%       59%          55%             54%        54%             56%           56%            53%
            Plantobuyinnext12mths.        15%    16%    15%       15%     12%       13%       16%         17%      15%     14%      12%        14%         15%           13%            15%       18%      16%      15%      13%     10%          16%        14%          15%       13%          14%             15%        14%             15%           16%            14%
            Don'townorplantobuy            32%    42%    34%       28%     21%       31%       34%         40%      33%     27%      22%        33%         32%           31%            33%       24%      27%      33%      39%     45%          35%        33%          32%       30%          33%             32%        33%             30%           30%            34%




  0088
            l.StockUpgrade                                                                                                                                                                                                                                                                                                                                        
                                                                                                                                                                        LawEnforcementor
                                                             #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?




Exhibit 4
                                                                                                                                                                                Military
                                                                                                 Non   3timesor                                          Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                           Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                Member      less                                           Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                              19427   6481   4725      2668    5328      9253     10021        3822     7268    3692     3433       7420       11802         6702           12651      3504     4178     4995     4683    1948         2993       4852         5345      5394         8824           10449      14409            4949          8398          10817
            Currentlyown                       41%    27%    36%       44%     60%       44%       38%         30%      38%     48%      58%        45%         38%           42%            41%       49%      47%      41%      35%     29%          38%        41%          41%       44%          41%             41%        40%             45%           43%            40%
            Plantobuyinnext12mths.        17%    17%    18%       17%     17%       16%       18%         17%      18%     17%      17%        17%         17%           16%            18%       21%      18%      18%      15%     11%          20%        17%          17%       16%          16%             18%        17%             18%           18%            17%
            Don'townorplantobuy            44%    56%    47%       40%     27%       42%       45%         54%      45%     36%      29%        41%         45%           44%            43%       32%      37%      43%      51%     60%          43%        44%          43%       42%          45%             42%        45%             39%           41%            45%



            a.HardCarryingCase
                                                                                                                                                                        LawEnforcementor
                                                             #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                Military
                                                                                                 Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                           Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                              20342   6840   4950      2798    5512      9720     10452         4046    7629    3843     3554       7753       12376         7037           13221      3551     4242     5224     5047    2149         3106       5116         5591      5646         9195           10982      15149            5124          8702          11418
            Currentlyown                       69%    59%    67%       74%     81%       73%       65%          62%     68%     73%      78%        76%         65%           72%            68%       66%      69%      70%      70%     70%          65%        68%          69%       72%          70%             69%        69%             68%           69%            69%
            Plantobuyinnext12mths.         8%    10%     9%        8%      7%        8%         9%         10%      8%      7%       8%         6%         10%            7%             9%       13%      10%       8%       6%      4%          10%          9%          8%        8%           8%              9%         8%             11%             9%            8%
            Don'townorplantobuy            24%    32%    26%       19%     14%       20%       27%          29%     25%     21%      17%        19%         26%           22%            24%       23%      22%      23%      25%     26%          26%        24%          24%       22%          24%             23%        24%             23%           23%            24%



            b.SoftCarryingCase
                                                                                                                                                                        LawEnforcementor
                                                             #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                Military
                                                                                                 Non   3timesor                                          Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                           Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                Member      less                                           Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                              20749   7013   5056      2849    5585      9931     10649        4151     7804    3921     3595       7934       12597         7198           13467      3557     4301     5288     5206    2263         3153       5207         5702      5767         9407           11174      15456            5215          8826          11694
            Currentlyown                       78%    67%    78%       83%     89%       83%       74%         71%      79%     82%      86%        84%         74%           80%            77%       72%      76%      79%      81%     82%          72%        77%          79%       81%          79%             77%        78%             77%           76%            79%
            Plantobuyinnext12mths.         9%    11%     9%        8%      6%        7%       10%         10%       8%      8%       6%         7%         10%            8%             9%       10%      10%       9%       7%      5%          10%          8%          9%        9%           9%              9%         9%              9%           10%             8%
            Don'townorplantobuy            15%    23%    14%       10%      7%       11%       18%         19%      14%     11%      10%        11%         17%           14%            15%       20%      15%      13%      13%     13%          19%        16%          14%       12%          14%             15%        14%             16%           15%            14%



            c.TriggerUpgrade
                                                                                                                                                                        LawEnforcementor
                                                             #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                Military
                                                                                                 Non   3timesor                                          Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                           Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                Member      less                                           Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                              19362   6448   4710      2664    5312      9306      9899        3796     7255    3670     3453       7511       11663         6665           12619      3459     4111     4961     4731    1989         2952       4848         5353      5378         8820           10392      14404            4895          8322          10837
            Currentlyown                       32%    18%    27%       36%     54%       39%       26%         19%      29%     41%      53%        45%         24%           34%            32%       31%      32%      33%      33%     33%          27%        32%          32%       37%          34%             31%        32%             33%           32%            33%
            Plantobuyinnext12mths.        22%    21%    24%       24%     21%       22%       22%         19%      22%     24%      24%        22%         22%           20%            23%       28%      25%      22%      19%     15%          23%        23%          22%       21%          20%             23%        21%             24%           24%            21%
            Don'townorplantobuy            46%    61%    50%       40%     28%       40%       53%         62%      50%     36%      25%        34%         54%           47%            46%       43%      44%      47%      49%     52%          50%        46%          47%       44%          47%             46%        47%             44%           45%            47%
                                                                                                                                                                                                                                                                                                                                                                                       Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.457 Page 98 of 428
            d.BackupIronSights                                                                                                                                                                                                                                                                                                                                                                                           7
                                                                                                                                                                                                             LawEnforcementor
                                                                                         #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                     Military
                                                                                                                                   Non   3timesor                                            Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to           Bachelor'sor    Lessthan                               Childrenin Nochildrenin
                                                              Total          1           2          3          4+      Member                            4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                  Member      less                                             Reloader        L.E.           L.E.                                                           under     $75,000     $110,000                higher         Bachelor's                                 home           home
                                                                 19844        6674       4838       2718        5381      9486      10198        3948     7433     3757    3495        7547        12091          6885           12883      3520      4214      5094      4848     2047          3029       4967         5466      5526         9023            10666      14750            5021          8557          11075
            Currentlyown                                          61%         50%        59%        64%         74%       64%        57%         52%      60%      67%     73%         63%          59%            63%            59%       65%       64%       61%       58%      53%           57%        60%          61%       64%          61%              60%        60%             63%           62%            60%
            Plantobuyinnext12mths.                           11%         12%        12%        11%         11%       10%        12%         12%      11%      11%     11%         11%          11%            10%            12%       14%       13%       11%        9%       6%           12%        12%          11%       10%          11%              12%        11%             11%           12%            10%
            Don'townorplantobuy                               29%         39%        30%        27%         18%       27%        32%         37%      30%      23%     19%         27%          31%            28%            30%       23%       24%       29%       34%      40%           31%        30%          29%       27%          30%              29%        30%             27%           27%            31%



            e.SoundSuppersor
                                                                                                                                                                                                             LawEnforcementor
                                                                                         #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                     Military
                                                                                                                                   Non    3timesor                                           Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to           Bachelor'sor    Lessthan                               Childrenin Nochildrenin
                                                              Total          1           2          3          4+      Member                            4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                  Member       less                                            Reloader        L.E.           L.E.                                                           under     $75,000     $110,000                higher         Bachelor's                                 home           home
                                                                 18438        6226       4526       2500        4975      8785       9500         3686    6906     3458    3236        6994        11267          6307           12055      3371      3956      4754      4432     1814          2851       4623         5074      5118         8435             9857      13672            4707          7950          10291
            Currentlyown                                           7%          2%         4%         7%         17%        9%          5%          4%      5%       9%     15%         10%           6%             8%             7%        7%        8%        8%        7%       6%            5%          6%          7%       10%           8%               6%         7%              7%             7%            7%
            Plantobuyinnext12mths.                           20%         13%        19%        24%         29%       22%        19%          14%     18%      23%     32%         22%          19%            21%            20%       28%       24%       20%       16%      11%           21%        20%          20%       21%          20%              20%        19%             23%           22%            19%
            Don'townorplantobuy                               73%         85%        77%        70%         56%       70%        76%          83%     77%      68%     54%         69%          75%            72%            73%       65%       68%       74%       78%      83%           74%        74%          73%       69%          72%              74%        74%             70%           71%            74%



            f.GunLock
                                                                                                                                                                                                             LawEnforcementor
                                                                                         #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                     Military
                                                                                                                                   Non    3timesor                                           Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to           Bachelor'sor    Lessthan                               Childrenin Nochildrenin
                                                              Total          1           2          3          4+      Member                            4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                  Member       less                                            Reloader        L.E.           L.E.                                                           under     $75,000     $110,000                higher         Bachelor's                                 home           home
                                                                 19703        6679       4839       2676        5284      9362      10180         3942    7422     3682    3430        7431        12068          6792           12836      3494      4163      5062      4832     2033          3050       4971         5402      5452         8948            10604      14648            4988          8479          11018
            Currentlyown                                          71%         66%        71%        73%         74%       73%        68%          67%     71%      74%     75%         70%          71%            71%            70%       71%       72%       72%       69%      67%           69%        70%          71%       72%          70%              71%        71%             69%           73%            68%
            Plantobuyinnext12mths.                            2%          3%         2%         1%          1%        2%          3%          3%      2%       2%      2%          1%           3%             2%             2%        3%        2%        2%        2%       1%            3%          2%          2%        2%           2%               2%         2%              3%             2%            2%
            Don'townorplantobuy                               28%         31%        28%        26%         25%       26%        30%          31%     28%      25%     25%         29%          27%            27%            28%       27%       27%       27%       29%      32%           29%        29%          28%       26%          29%              27%        28%             29%           25%            30%


            g.GunSafe
                                                                                                                                                                                                             LawEnforcementor
                                                                                         #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                     Military
                                                                                                                                   Non   3timesor                                            Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to           Bachelor'sor    Lessthan                               Childrenin Nochildrenin
                                                              Total          1           2          3          4+      Member                            4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                  Member      less                                             Reloader        L.E.           L.E.                                                           under     $75,000     $110,000                higher         Bachelor's                                 home           home
                                                                 20672        6980       5037       2847        5562      9884      10615        4135     7771     3911    3583        7890        12566          7142           13444      3570      4316      5293      5138     2224          3130       5198         5709      5738         9333            11170      15415            5185          8809          11643
            Currentlyown                                          75%         66%        74%        80%         86%       81%        70%         69%      75%      80%     82%         83%          70%            76%            75%       68%       75%       77%       79%      77%           67%        73%          77%       79%          76%              75%        77%             70%           78%            74%
            Plantobuyinnext12mths.                           15%         18%        16%        13%         10%       12%        17%         18%      14%      13%     12%         10%          18%            13%            15%       22%       18%       14%       10%       9%           17%        16%          14%       14%          15%              15%        13%             18%           15%            15%
            Don'townorplantobuy                               11%         17%        11%         8%          6%        9%        14%         15%      11%       8%      7%          8%          13%            12%            11%       12%        9%       10%       12%      15%           17%        12%          10%        9%          12%              11%        11%             13%             9%           13%



            h.LaserDesignator
                                                                                                                                                                                                             LawEnforcementor
                                                                                         #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                     Military
                                                                                                                                   Non   3timesor                                            Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to           Bachelor'sor    Lessthan                               Childrenin Nochildrenin
                                                              Total          1           2          3          4+      Member                            4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                  Member      less                                             Reloader        L.E.           L.E.                                                           under     $75,000     $110,000                higher         Bachelor's                                 home           home
                                                                 18333        6201       4497       2500        4930      8714       9475        3659     6898     3455    3171        6955        11203          6280           11983      3326      3937      4696      4434     1830          2840       4596         5009      5110         8381             9815      13632            4640          7917          10225
            Currentlyown                                          16%          9%        14%        18%         25%       18%        15%         11%      15%      19%     25%         18%          15%            18%            15%       12%       15%       17%       18%      19%           14%        16%          15%       19%          16%              16%        16%             15%           16%            17%
            Plantobuyinnext12mths.                           10%          9%        10%        11%         11%       11%        10%         10%       9%      11%     13%         10%          11%            10%            10%       11%       11%       11%       10%       9%           11%        10%          10%       11%          10%              11%        10%             12%           11%            10%
            Don'townorplantobuy                               74%         81%        76%        71%         64%       72%        75%         79%      76%      70%     63%         73%          74%            72%            75%       77%       75%       72%       72%      73%           74%        74%          76%       71%          75%              73%        74%             73%           74%            74%




  0089
            i.ExtraMagzines                                                                                                                                                                                                                                                                                                                                                                                  
                                                                                                                                                                                                             LawEnforcementor
                                                                                         #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?




Exhibit 4
                                                                                                                                                                                                                     Military
                                                                                                                                   Non    3timesor                                           Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to           Bachelor'sor    Lessthan                               Childrenin Nochildrenin
                                                              Total          1           2          3          4+      Member                            4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                  Member       less                                            Reloader        L.E.           L.E.                                                           under     $75,000     $110,000                higher         Bachelor's                                 home           home
                                                                 21511        7342       5249       2941        5723     10237      11103         4307    8107     4040    3702        8166        13112          7481           13944      3667      4429      5476      5397     2397          3279       5426         5917      5929         9692            11644      16038            5391          9136          12140
            Currentlyown                                          81%         75%        81%        84%         89%       84%        79%          77%     81%      86%     88%         84%          79%            83%            81%       82%       81%       81%       81%      82%           79%        80%          81%       83%          82%              81%        81%             82%           80%            82%
            Plantobuyinnext12mths.                           25%         27%        26%        24%         21%       23%        27%          28%     25%      23%     22%         22%          27%            23%            26%       29%       28%       26%       22%      17%           26%        24%          25%       25%          26%              24%        25%             25%           27%            23%
            Don'townorplantobuy                                4%          6%         3%         3%          2%        3%          4%          5%      4%       2%      2%          3%           4%             3%             4%        2%        3%        4%        4%       6%            4%          4%          3%        3%           4%               3%         4%              3%             3%            4%



            j.Targets
                                                                                                                                                                                                             LawEnforcementor
                                                                                         #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                     Military
                                                                                                                                   Non    3timesor                                           Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to           Bachelor'sor    Lessthan                               Childrenin Nochildrenin
                                                              Total          1           2          3          4+      Member                            4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                  Member       less                                            Reloader        L.E.           L.E.                                                           under     $75,000     $110,000                higher         Bachelor's                                 home           home
                                                                 20999        7109       5134       2885        5619     10077      10749         4164    7933     3970    3651        8023        12758          7278           13633      3602      4345      5345      5260     2313          3193       5302         5772      5806         9491            11337      15635            5287          8917          11854
            Currentlyown                                          82%         77%        82%        85%         89%       87%        79%          77%     82%      87%     91%         88%          79%            83%            82%       83%       82%       81%       83%      84%           80%        83%          82%       82%          82%              83%        82%             83%           82%            83%
            Plantobuyinnext12mths.                           21%         24%        22%        20%         19%       20%        23%          24%     21%      20%     18%         18%          24%            20%            22%       23%       25%       24%       18%      14%           21%        20%          22%       23%          23%              20%        21%             22%           23%            20%
            Don'townorplantobuy                                5%          7%         4%         4%          2%        3%          7%          7%      5%       2%      2%          3%           6%             4%             5%        5%        4%        5%        5%       6%            6%          5%          4%        4%           5%               4%         5%              5%             4%            5%


            k.GunCleaningKit
                                                                                                                                                                                                             LawEnforcementor
                                                                                         #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                     Military
                                                                                                                                   Non    3timesor                                           Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to           Bachelor'sor    Lessthan                               Childrenin Nochildrenin
                                                              Total          1           2          3          4+      Member                            4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                  Member       less                                            Reloader        L.E.           L.E.                                                           under     $75,000     $110,000                higher         Bachelor's                                 home           home
                                                                 21334        7295       5216       2909        5656     10137      11022         4287    8010     4013    3674        8079        13025          7420           13828      3642      4386      5439      5349     2375          3273       5392         5860      5860         9603            11558      15899            5354          9057          12043
            Currentlyown                                          93%         91%        94%        95%         95%       95%        92%          91%     94%      96%     96%         95%          92%            94%            93%       93%       93%       93%       93%      94%           93%        93%          93%       93%          93%              93%        93%             94%           93%            94%
            Plantobuyinnext12mths.                            7%          8%         7%         7%          7%        7%          8%          8%      7%       7%      7%          6%           8%             7%             8%       10%        8%        8%        6%       4%            7%          7%          7%        8%           8%               7%         7%              8%             9%            7%
            Don'townorplantobuy                                2%          3%         2%         2%          2%        2%          3%          3%      2%       2%      1%          2%           3%             2%             3%        2%        2%        2%        3%       3%            3%          2%          2%        2%           2%               2%         3%              2%             2%            2%



            Pleaserankthefollowingreasonsonascaleof17foryouowningaMSR.
                                                                                                                                                                                                             LawEnforcementor
                                                                                         #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                      Military
                                                                                                                                   Non    3timesor                                           Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to            Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                              Total          1           2          3          4+      Member                            4~11     12~23    24+     Reloader                                              Under35   35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                  Member       less                                            Reloader        L.E.            L.E.                                                          under     $75,000     $110,000                 higher        Bachelor's                                 home           home
            RecreationalTargetshooting                           8.99          8.88        9.01       8.98    9.11       9.10       8.88        8.83     8.99     9.12    9.20        9.06         8.93           8.86            9.05     9.10      9.07      9.02      8.90     8.73         8.92        8.98        8.98       9.03         8.99            8.98        8.97           9.03           9.01           8.97
            Homedefense                                           8.15          7.95        8.13       8.18    8.43       8.07       8.23        8.02     8.09     8.29    8.42        7.98         8.26           8.35            8.04     8.31      8.23      8.13      8.12     7.89         8.32        8.19        8.16       8.06         8.06            8.23        8.14           8.19           8.18           8.14
            Collecting                                             7.05          6.37        6.96       7.27    7.88       7.09       7.01        7.00     7.00     7.04    7.25        7.06         7.04           6.94            7.10     7.29      7.22      7.19      6.88     6.42         7.10        7.05        7.02       7.11         6.86            7.20        6.98           7.25           7.12           7.00
            VarmintHunting                                        6.52          6.33        6.55       6.63    6.67       6.40       6.62        5.83     6.44     6.90    7.48        7.09         6.16           6.44            6.56     6.66      6.43      6.60      6.56     6.18         6.64        6.72        6.53       6.28         6.27            6.73        6.56           6.39           6.69           6.39
            Competitionshooting(i.e.3Gun)                      5.13          4.60        5.09       5.33    5.76       5.80       4.50        4.45     4.98     5.53    6.26        5.72         4.76           5.26            5.06     5.44      5.35      5.20      4.99     4.40         4.97        5.14        5.16       5.23         5.21            5.07        5.10           5.23           5.26           5.04
            BigGameHunting                                       4.75          4.38        4.74       4.88    5.18       4.63       4.86        4.21     4.63     5.00    5.74        5.10         4.54           4.82            4.72     5.06      4.89      4.85      4.63     4.15         5.04        4.91        4.70       4.57         4.55            4.93        4.77           4.74           4.98           4.58
            Professionaluse/jobrelated                           2.90          2.59        2.82       3.00    3.31       2.92       2.87        2.54     2.76     3.02    3.67        2.93         2.87           3.84            2.39     3.30      3.14      2.85      2.75     2.27         3.12        2.97        2.96       2.69         2.81            2.97        2.87           2.98           3.07           2.76
                                                                                                                                                                                                                                                                                                                                                                                                                                  Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.458 Page 99 of 428
            HaveyouusedaMSRinthelast12months?                                                                                                                                                                                                                                                                                                                                                          8
                                                                                                                                                                                                      LawEnforcementor
                                                                                      #MSR'sown                  RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                         Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                              Military
                                                                                                                          Non    3timesor                                             Non       Military/ NonMilitary/                                              $45,000& $45,001to $75,001to           Bachelor'sor    Lessthan                        Childrenin Nochildrenin
                                                              Total         1         2         3          4+    Member                             4~11    12~23    24+     Reloader                                            Under35   35~44    45~54    55~64    65+                                       $110,001+                                 Married NotMarried
                                                                                                                         Member       less                                              Reloader        L.E.           L.E.                                                     under     $75,000     $110,000                higher         Bachelor's                          home           home
                                                                 21982      7548      5357       2993       5807   10437   11358         4435        8303    4119     3758       8316       13418          7634           14251      3712     4483     5598     5546     2484       3347       5551         6035      6038         9872            11913      16394      5496         9288          12429
            Yes                                                    94%       90%       95%        96%        97%     96%     91%        100%         100%    100%     100%        96%         92%            94%            93%       96%      95%      94%      92%      92%        92%        94%          94%       95%          94%              94%        94%       94%          94%            93%
            No                                                      6%       10%        5%         4%         3%      4%       9%          0%          0%      0%       0%         4%          8%             6%             7%        4%       5%       6%       8%       8%         8%          6%          6%        5%           6%               6%         6%        6%            6%            7%



            Approximatelyhowmanytimesinthelast12monthshaveyouusedyourMSR?
                                                                                                                                                                                                      LawEnforcementor
                                                                                      #MSR'sown                  RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                         Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                              Military
                                                                                                                              Non   3timesor                                          Non       Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                              Total         1         2         3          4+      Member                           4~11    12~23    24+     Reloader                                            Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                             Member      less                                           Reloader        L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                 20615      6770      5084       2875       5638     10049     10391        4435     8303    4119     3758       7995       12380          7209           13316      3571     4246     5259     5106    2290         3069       5218         5685      5718         9285           11150      15393            5140          8773          11598
            3timesorless                                        21%       31%       21%        18%        12%       17%       26%       100%        0%      0%       0%        14%         26%            20%            22%       20%      21%      21%      22%     23%          23%        21%          21%       21%          22%             21%        21%             22%           21%            22%
            4~11                                                   40%       44%       43%        39%        34%       39%       42%          0%     100%      0%       0%        36%         43%            40%            41%       38%      39%      40%      42%     43%          40%        40%          40%       41%          41%             40%        41%             39%           40%            40%
            12~23                                                  20%       15%       21%        22%        23%       22%       18%          0%       0%    100%       0%        23%         18%            21%            19%       20%      20%      20%      21%     19%          18%        21%          20%       20%          20%             20%        20%             19%           21%            19%
            24+                                                    18%        9%       15%        21%        31%       22%       15%          0%       0%      0%     100%        26%         13%            20%            17%       22%      20%      18%      16%     15%          19%        18%          19%       18%          17%             19%        18%             20%           18%            18%

                                                                      38%       24%       36%       43%      54%       44%        33%         0%       0%    100%     100%        49%          31%         41%            36%        42%       40%      38%      37%     34%         37%          39%         39%        38%          37%           39%         38%            39%            39%            37%
            DidyoushootyourMSRmore,less,aboutthesameinthelast12monthscomparedtotheyearbefore?
                                                                                                                                                                                                      LawEnforcementor
                                                                                      #MSR'sown                  RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                         Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                              Military
                                                                                                                              Non   3timesor                                          Non       Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                              Total         1         2         3          4+      Member                           4~11    12~23    24+     Reloader                                            Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                             Member      less                                           Reloader        L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                 20415      6666      5039       2856       5612      9955     10290        4371     8218    4100     3726       7938       12243          7147           13181      3539     4207     5214     5051    2264         3039       5160         5638      5667         9220           11021      15252            5085          8695          11482
            More                                                   26%       30%       26%        24%        21%       26%       26%         28%      25%     26%      26%        23%         28%            23%            27%       30%      27%      25%      24%     24%          25%        25%          25%       28%          27%             25%        26%             26%           26%            26%
            Less                                                   25%       23%       25%        26%        27%       23%       27%         32%      27%     23%      17%        24%         26%            25%            25%       29%      27%      26%      23%     19%          30%        27%          24%       23%          25%             26%        24%             28%           26%            25%
            Aboutthesame                                         49%       47%       48%        50%        51%       50%       47%         40%      49%     52%      57%        53%         46%            52%            47%       41%      46%      50%      53%     57%          46%        48%          50%       49%          48%             50%        50%             45%           48%            50%

                                                                      75%       77%       74%       74%      72%       76%        73%        68%      74%     78%      83%        76%          74%         75%            74%        71%       73%      75%      77%     81%         71%          73%         75%        77%          75%           75%         76%            71%            74%            76%
            Inthelast12monthswheredidyoushootyourMSR?
                                                                                                                                                                                                      LawEnforcementor
                                                                                      #MSR'sown                  RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                         Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                              Military
                                                                                                                              Non    3timesor                                         Non       Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                              Total         1         2         3          4+      Member                           4~11    12~23    24+     Reloader                                            Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                             Member       less                                          Reloader        L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                 20565      6753      5069       2868       5628     10032     10359         4404    8290    4114     3757       7984       12344          7193           13283      3569     4235     5243     5093    2284         3066       5210         5668      5702         9264           11125      15354            5132          8752          11574
            TargetshootatPublicrange                           52%       51%       51%        52%        52%       56%       48%          47%     53%     52%      53%        49%         53%            51%            52%       59%      54%      51%      47%     44%          49%        51%          52%       54%          53%             50%        50%             56%           51%            52%
            TargetshootatPrivaterange                          51%       43%       48%        54%        60%       69%       33%          38%     48%     57%      64%        58%         46%            53%            49%       48%      50%      50%      52%     55%          44%        48%          51%       55%          54%             48%        51%             49%           51%            50%
            Targetshootonmy/familyland                         41%       36%       41%        42%        46%       33%       48%          27%     38%     46%      57%        45%         38%            38%            42%       49%      43%      39%      37%     34%          45%        42%          40%       38%          39%             42%        41%             39%           43%            39%
            Targetshootonfriendsland                           32%       28%       32%        33%        37%       30%       35%          21%     30%     37%      46%        34%         31%            29%            34%       43%      35%      31%      28%     23%          36%        34%          32%       30%          30%             34%        31%             38%           33%            32%
            WhilehuntingonPrivateland                          26%       20%       26%        28%        32%       25%       27%          10%     21%     33%      48%        33%         22%            26%            26%       28%      26%      27%      26%     23%          25%        27%          26%       27%          26%             27%        27%             25%           28%            25%
            WhilehuntingonPublicland                           12%        9%       12%        13%        15%       12%       12%           4%      9%     15%      23%        18%          8%            13%            12%       13%      12%      12%      12%     11%          13%        13%          12%       10%          11%             13%        12%             12%           13%            11%
            CompetitionShooting(i.e.3Gun)                      10%        5%        8%        12%        17%       17%         4%          2%      7%     13%      24%        17%          6%            12%             9%       10%      11%      11%      10%     10%           7%        10%          11%       12%          12%              8%        10%             10%           11%            10%
            Atpaidcourse/trainingacademy.                        6%        3%        6%         7%        11%        9%         4%          2%      4%      8%      14%         7%          6%             9%             5%        7%       8%       7%       5%      4%           4%          5%          7%        8%           8%              5%         6%              6%             7%            6%
            Whileatwork(i.e.LawEnforcement,PrivateSe         5%        3%        5%         6%         8%        6%         5%          2%      4%      6%      10%         5%          5%            13%             1%        6%       8%       6%       4%      2%           4%          5%          6%        6%           6%              5%         6%              4%             7%            4%
            Inmilitary                                             2%        2%        2%         2%         3%        2%         2%          2%      2%      2%       4%         2%          2%             6%             0%        6%       3%       1%       1%      0%           4%          2%          2%        2%           2%              2%         2%              2%             3%            2%
            Other                                                   3%        3%        3%         3%         4%        2%         4%          3%      3%      3%       4%         4%          3%             3%             3%        3%       3%       3%       3%      4%           4%          3%          3%        3%           3%              3%         3%              3%             3%            3%



            Whatisthe%breakdownoftheammunitionhaveyouusedinthelast12monthsforyourMSR?                                                                                                                                                                                                                                                                                             
                                                                                                                                                                                                                                                                                                                                                                                                                                                          428




  0090
                                                                                                                                                                                                      LawEnforcementor
                                                                                      #MSR'sown                  RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                         Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                              Military
                                                                                                                              Non   3timesor                                          Non       Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                              Total         1         2         3          4+      Member                           4~11    12~23    24+     Reloader                                            Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried




Exhibit 4
                                                                                                                             Member      less                                           Reloader        L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
            “Budget”FactoryLoads/Bulkpacks                         43%       45%       44%       42%      39%       41%       45%        46%       45%     42%      36%        34%         49%            41%            44%      46%       46%      43%      40%     35%         41%         42%         44%        44%          44%            41%         43%            43%            45%            42%
            Premiumfactoryloads                                     29%       33%       29%       28%      24%       28%       30%        32%       30%     28%      27%        18%         36%            31%            28%      29%       30%      30%      28%     28%         29%         28%         27%        32%          28%            30%         29%            30%            29%            29%
            Handloads/Reloads                                         16%       12%       16%       18%      22%       20%       13%          9%      13%     20%      27%        38%          2%            17%            16%      12%       13%      15%      20%     23%         15%         18%         17%        14%          15%            17%         17%            14%            15%            17%
            ImportAmmo                                               12%       10%       11%       12%      15%       11%       13%        13%       13%     11%      11%        10%         14%            11%            12%      13%       11%      12%      12%     13%         15%         12%         12%        11%          12%            12%         12%            13%            11%            13%



            ApproximatelyhowmanyroundsofammunitiondidyoufirethroughyourMSRinthelast12months?
                                                                                                                                                                                                      LawEnforcementor
                                                                                      #MSR'sown                  RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                         Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                              Military
                                                                                                                              Non    3timesor                                         Non       Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                              Total         1         2         3          4+      Member                           4~11    12~23    24+     Reloader                                            Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                             Member       less                                          Reloader        L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                 20564      6751      5071       2868       5628     10023     10368         4416    8286    4112     3750       7981       12351          7188           13287      3563     4241     5247     5095    2280         3064       5210         5672      5710         9264           11126      15353            5133          8756          11573
            None                                                    0%        1%        0%         0%         0%        0%         1%          2%      0%      0%       0%         0%          1%             0%             0%        1%       1%       0%       0%      0%           0%          0%          0%        0%           0%              0%         0%              0%             0%            0%
            150                                                    4%        6%        4%         3%         1%        2%         5%         13%      2%      1%       0%         3%          4%             3%             4%        3%       3%       3%       5%      5%           5%          4%          3%        3%           4%              4%         4%              4%             4%            4%
            51100                                                7%       11%        7%         5%         4%        5%         9%         20%      6%      2%       1%         5%          8%             6%             7%        6%       6%       6%       7%     10%          10%          7%          6%        6%           7%              7%         7%              7%             6%            8%
            101200                                              12%       16%       13%        11%         8%       10%       14%          24%     14%      5%       3%        11%         13%            12%            12%       11%      11%      12%      13%     16%          15%        13%          12%       11%          12%             13%        13%             12%           11%            13%
            201400                                              18%       23%       20%        17%        14%       17%       20%          22%     25%     14%       6%        17%         20%            18%            19%       18%      17%      19%      19%     22%          19%        20%          19%       17%          19%             19%        19%             17%           19%            19%
            401600                                              16%       17%       18%        20%        16%       17%       17%          10%     22%     19%      12%        17%         17%            18%            17%       16%      17%      18%      18%     16%          16%        17%          18%       17%          17%             18%        17%             17%           18%            17%
            601800                                               7%        7%        8%         8%         7%        8%         7%          3%      9%      9%       7%         7%          7%             7%             8%        7%       8%       7%       7%      7%           7%          8%          8%        7%           7%              7%         7%              8%             7%            7%
            8011,000                                            11%        9%       11%        13%        15%       13%       10%           3%     12%     18%      15%        12%         11%            13%            11%       11%      12%      12%      12%      9%          10%        11%          12%       12%          12%             11%        11%             13%           11%            12%
            1,0013,000                                          15%        9%       15%        19%        24%       19%       12%           3%      9%     26%      35%        19%         14%            16%            16%       19%      18%      16%      14%     11%          14%        14%          16%       19%          16%             15%        15%             17%           17%            15%
            3,0015,000                                           4%        2%        3%         4%         8%        5%         3%          0%      1%      5%      13%         5%          3%             5%             4%        5%       5%       5%       3%      2%           3%          3%          4%        5%           4%              4%         4%              4%             4%            4%
            5,00110,000                                          1%        0%        1%         1%         3%        2%         1%          0%      0%      1%       6%         2%          1%             1%             1%        2%       2%       1%       1%      0%           1%          1%          1%        2%           1%              1%         1%              2%             1%            1%
            10,001+                                                0%        0%        0%         0%         1%        1%         0%          0%      0%      0%       2%         1%          0%             0%             0%        1%       0%       0%       0%      0%           0%          0%          0%        1%           0%              0%         0%              1%             1%            0%

            1000+                                                     20%       11%       19%       24%      36%       27%        16%         3%      10%     32%      56%        27%          18%         22%            21%        27%       25%      22%      18%     13%         18%          18%         21%        27%          21%           20%         20%            24%            23%            20%
            100orless                                               11%       18%       11%        8%       5%        7%        15%        35%       8%      3%       1%         8%          13%          9%            11%        10%       10%       9%      12%     15%         15%          11%          9%         9%          11%           11%         11%            11%            10%            12%
                                                                                                                                                                                                                                                                                                                                                                                                                     Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.459 Page 100 of
            ApproximatelyhowmanyroundsofammunitiondoyouanticipatefiringthroughyourMSRin2013?                                                                                                                                                                                                                                                                                                      9
                                                                                                                                                                                                      LawEnforcementor
                                                                                       #MSR'sown                 RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                         Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                              Military
                                                                                                                              Non    3timesor                                         Non       Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                            Total         1            2         3         4+      Member                           4~11    12~23    24+     Reloader                                            Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                             Member       less                                          Reloader        L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                               21953      7538         5355      2988       5800     10423     11345         4411    8270    4107     3750       8314       13405          7619           14240      3704     4484     5596     5546    2469         3346       5549         6032      6040         9860           11904      16376            5489          9295          12405
            None                                                  2%        2%           1%        2%         1%        1%         2%          2%      1%      1%       1%         1%          2%             2%             2%        2%       2%       2%       2%      2%           3%          2%          2%        1%           2%              2%         2%              2%             2%            2%
            150                                                  3%        4%           3%        2%         1%        2%         3%          5%      2%      1%       1%         2%          3%             3%             3%        2%       2%       3%       3%      4%           5%          3%          2%        2%           2%              3%         3%              3%             2%            3%
            51100                                              5%        7%           6%        4%         3%        4%         7%         11%      5%      2%       1%         4%          6%             5%             6%        5%       5%       5%       6%      7%           7%          6%          5%        4%           5%              6%         6%              5%             5%            6%
            101200                                            10%       13%          11%        9%         7%        9%       12%          17%     12%      6%       3%         9%         11%            10%            11%        8%       9%      10%      12%     14%          12%        12%          10%        8%          10%             11%        11%             10%           10%            11%
            201400                                            16%       18%          17%       15%        12%       14%       17%          20%     19%     13%       7%        14%         17%            15%            16%       13%      15%      15%      17%     19%          16%        16%          16%       15%          16%             16%        16%             15%           15%            16%
            401600                                            18%       19%          19%       19%        17%       18%       19%          19%     22%     19%      11%        18%         19%            19%            18%       18%      18%      19%      19%     19%          18%        19%          19%       18%          19%             18%        19%             18%           19%            18%
            601800                                             7%        7%           7%        7%         7%        7%         7%          5%      8%      9%       6%         7%          7%             7%             7%        8%       7%       7%       7%      7%           6%          7%          7%        7%           7%              7%         7%              7%             7%            7%
            8011,000                                          14%       12%          14%       14%        15%       14%       13%          10%     15%     17%      14%        15%         13%            14%            13%       14%      14%      14%      14%     11%          12%        14%          14%       14%          14%             14%        14%             14%           14%            13%
            1,0013,000                                        18%       13%          17%       21%        24%       21%       15%           9%     14%     26%      33%        21%         16%            17%            18%       21%      20%      18%      16%     13%          15%        16%          18%       21%          19%             17%        18%             19%           19%            17%
            3,0015,000                                         5%        3%           4%        5%         8%        6%         3%          1%      2%      6%      14%         6%          4%             5%             4%        6%       6%       5%       3%      3%           4%          4%          4%        6%           5%              4%         4%              5%             5%            4%
            5,00110,000                                        2%        1%           1%        2%         4%        2%         1%          0%      1%      2%       6%         2%          1%             2%             2%        3%       2%       2%       1%      1%           2%          2%          2%        2%           2%              2%         2%              2%             2%            2%
            10,001+                                              1%        0%           1%        1%         1%        1%         1%          0%      0%      0%       2%         1%          1%             1%             1%        2%       1%       1%       0%      0%           1%          0%          1%        1%           1%              1%         0%              1%             1%            1%

            1000+                                                   26%       17%          23%       29%     37%       30%        20%        10%      17%     34%      55%        30%          22%         25%            25%        32%       29%      26%      20%     17%         22%          22%         25%        30%          27%           24%         24%            27%            27%            24%
            100orless                                             10%       13%          10%        8%      5%        7%        12%        18%       8%      4%       3%         7%          11%         10%            11%         9%        9%      10%      11%     13%         15%          11%          9%         7%           9%           11%         11%            10%             9%            11%


            Whenyoubuyammunition,whatquantitydoyoutypicallybuyatonetime?
                                                                                                                                                                                                      LawEnforcementor
                                                                                       #MSR'sown                 RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                         Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                              Military
                                                                                                                              Non    3timesor                                         Non       Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                            Total         1            2         3         4+      Member                           4~11    12~23    24+     Reloader                                            Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                             Member       less                                          Reloader        L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                               21825      7495         5329      2961       5769     10332     11308         4396    8233    4079     3707       8189       13418          7568           14161      3706     4473     5575     5495    2428         3326       5521         6005      6011         9822           11815      16271            5467          9268          12305
            150rounds                                        10%       15%          10%        8%         6%        8%       13%          14%     10%      7%       7%        11%         10%            10%            11%       11%      10%       9%      10%     13%          16%        12%           9%        7%           9%             12%        11%             10%           10%            10%
            51199                                             22%       29%          24%       19%        14%       20%       25%          28%     24%     19%      14%        20%         23%            22%            22%       28%      22%      20%      20%     22%          27%        24%          23%       17%          21%             23%        22%             22%           23%            22%
            200499                                              26%       27%          27%       26%        22%       25%       26%          27%     27%     26%      22%        23%         27%            25%            26%       23%      25%      26%      27%     28%          24%        27%          25%       26%          25%             26%        26%             25%           25%            26%
            5001999                                             39%       28%          37%       45%        53%       44%       34%          31%     38%     44%      51%        41%         38%            40%            39%       34%      40%      41%      41%     35%          31%        35%          41%       46%          42%             37%        39%             40%           38%            40%
            2000+                                                 3%        1%           2%        2%         6%        4%         2%          1%      2%      3%       7%         4%          2%             3%             3%        3%       3%       3%       2%      2%           2%          2%          2%        4%           3%              2%         3%              3%             3%            3%

            500+                                                    42%       29%          39%       47%     59%       48%        36%        32%      40%     47%      58%        45%          40%         43%            42%        37%       43%      44%      43%     37%         33%          37%         43%        50%          45%           39%         42%            43%            41%            43%

            Doyoureloadyourownammunition?
                                                                                                                                                                                                      LawEnforcementor
                                                                                       #MSR'sown                 RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                         Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                              Military
                                                                                                                              Non   3timesor                                          Non       Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                            Total         1            2         3         4+      Member                           4~11    12~23    24+     Reloader                                            Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                             Member      less                                           Reloader        L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                               21788      7471         5315      2964       5761     10356     11246        4359     8211    4080     3725       8342       13446          7562           14131      3682     4449     5542     5490    2471         3319       5506         5995      5970         9798           11800      16239            5459          9206          12328
            Yes                                                  38%       27%          35%       44%        52%       46%       31%         26%      35%     46%      56%       100%          0%            40%            37%       31%      32%      38%      45%     45%          35%        41%          39%       36%          38%             39%        40%             35%           37%            39%
            No                                                   62%       73%          65%       56%        48%       54%       69%         74%      65%     54%      44%         0%        100%            60%            63%       69%      68%      62%      55%     55%          65%        59%          61%       64%          62%             61%        60%             65%           63%            61%



            Ifyoureloadyourownammunition,whatpercentoftotalammunitionyoushootdoyoureload?                                                                                                                                                                                                                                                                                            
                                                                                                                                                                                                      LawEnforcementor
                                                                                       #MSR'sown                 RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                         Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                              Military
                                                                                                                              Non    3timesor                                         Non       Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                            Total         1            2         3         4+      Member                           4~11    12~23    24+     Reloader                                            Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                             Member       less                                          Reloader        L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                                8306      2026         1869      1313       2994      4727      3508         1131    2885    1852     2095       8306           0          3009             5264     1123     1440     2117     2464    1109         1170       2237         2345      2162         3696            4550       6404            1876          3377           4843
            10%                                                  12%        9%          11%       11%        14%       11%       13%          13%     13%     10%      10%        12%          0%            11%             12%      14%      14%      11%      11%      8%          12%        10%          12%       13%          12%             11%        11%             13%           13%            11%
            20%                                                   9%        8%           8%       11%         9%        8%         9%          9%     10%      8%       8%         9%          0%             9%              8%       8%       9%      10%       9%      7%           8%          7%          9%       10%          10%              8%         9%              9%             9%            9%
                                                                                                                                                                                                                                                                                                                                                                                                                                                          428




            30%                                                   9%        8%           9%        9%        10%        9%         9%          8%      9%      9%       9%         9%          0%             9%              9%       9%       9%       9%       8%      8%          10%          8%          9%       10%          10%              8%         9%             10%             9%            9%




  0091
            40%                                                   5%        4%           5%        5%         6%        5%         5%          5%      5%      6%       5%         5%          0%             6%              5%       5%       7%       6%       4%      5%           5%          4%          5%        6%           5%              5%         5%              5%             5%            5%
            50%                                                  16%       17%          15%       15%        15%       15%       17%          16%     16%     16%      14%        16%          0%            16%             15%      15%      17%      17%      15%     13%          16%        14%          16%       16%          15%             16%        15%             16%           16%            15%




Exhibit 4
            60%                                                   4%        4%           4%        4%         5%        4%         4%          4%      4%      4%       4%         4%          0%             5%              4%       5%       4%       4%       4%      6%           5%          5%          4%        4%           4%              4%         4%              4%             4%            4%
            70%                                                   7%        7%           8%        8%         7%        7%         8%          6%      8%      7%       8%         7%          0%             7%              8%       8%       7%       7%       8%      7%           7%          8%          7%        8%           7%              8%         7%              8%             7%            8%
            80%                                                  12%       12%          13%       12%        11%       12%       11%          12%     12%     12%      12%        12%          0%            12%             12%      10%      12%      12%      12%     13%          11%        13%          12%       11%          11%             12%        12%             10%           11%            12%
            90%                                                  15%       15%          17%       14%        15%       17%       14%          15%     14%     16%      17%        15%          0%            15%             15%      13%      13%      15%      17%     17%          14%        16%          16%       14%          16%             15%        16%             13%           15%            16%
            100%                                                 11%       15%          10%       10%         9%       12%       10%          11%     10%     10%      13%        11%          0%            11%             11%      11%      10%       9%      11%     16%          13%        14%           9%        9%           9%             13%        11%             12%           10%            12%

            50%+                                                    65%       70%          67%       63%     62%       67%        64%        64%      64%     65%      68%        65%          0%          66%            65%        62%       63%      64%      67%     72%         66%          70%         64%        62%          62%           68%         65%            63%            63%            67%

            Approximatelyhowmanyroundsofammunitiondoyoukeeponhand?
                                                                                                                                                                                                      LawEnforcementor
                                                                                       #MSR'sown                 RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                         Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                                              Military
                                                                                                                              Non    3timesor                                         Non       Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                            Total         1            2         3         4+      Member                           4~11    12~23    24+     Reloader                                            Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                                             Member       less                                          Reloader        L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                               21808      7480         5318      2964       5776     10344     11277         4375    8223    4075     3727       8243       13329          7566           14145      3695     4467     5557     5497    2457         3340       5513         6005      6022         9798           11828      16267            5461          9238          12323
            None                                                  1%        1%           1%        1%         1%        1%         1%          1%      1%      1%       1%         1%          1%             1%             1%        2%       1%       1%       1%      1%           2%          1%          1%        1%           1%              1%         1%              2%             1%            1%
            1100                                                 5%       10%           5%        3%         1%        4%         7%          9%      5%      3%       2%         3%          7%             5%             5%        8%       5%       4%       4%      6%          10%          6%          4%        3%           5%              6%         5%              6%             5%            5%
            101200                                               8%       12%           8%        5%         3%        6%         9%         11%      8%      5%       3%         5%          9%             7%             8%       10%       7%       7%       7%      8%          12%          8%          7%        5%           7%              8%         7%              9%             8%            8%
            201300                                               8%       12%           8%        6%         4%        8%         9%         11%      9%      7%       5%         7%          9%             8%             8%       10%       9%       7%       7%      9%          11%          9%          8%        6%           8%              9%         8%              8%             8%            8%
            301400                                               5%        7%           6%        4%         2%        4%         6%          6%      6%      4%       3%         5%          5%             5%             5%        6%       4%       5%       5%      6%           6%          6%          5%        4%           5%              5%         5%              5%             5%            5%
            401500                                              11%       13%          12%        9%         7%       10%       11%          11%     11%     11%       9%        10%         11%            11%            11%       10%       9%      11%      11%     13%          11%        12%          11%        9%          10%             11%        11%             10%           11%            11%
            5011,000                                            21%       23%          24%       23%        16%       21%       21%          21%     22%     22%      18%        20%         22%            22%            21%       20%      21%      21%      22%     22%          19%        21%          22%       21%          21%             21%        21%             21%           21%            21%
            1,001+                                               41%       21%          36%       48%        66%       46%       35%          30%     38%     47%      59%        50%         35%            41%            40%       34%      42%      44%      43%     36%          29%        37%          41%       50%          43%             38%        41%             39%           41%            40%
                                                                                                                                                                                                                                                                                                                                                                                                                     Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.460 Page 101 of
            Whennotinuse,doyoustoreyourammunitioninasecurestorageorsafetydevice?                                                                                                                                                                                                                                                                                                                           10
                                                                                                                                                                                                           LawEnforcementor
                                                                                       #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military
                                                                                                                            Non   3timesor                                                 Non       Military/ NonMilitary/                                                  $45,000& $45,001to $75,001to           Bachelor'sor      Lessthan                        Childrenin Nochildrenin
                                                                 Total      1          2          3          4+    Member                              4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                       $110,001+                                   Married NotMarried
                                                                                                                           Member      less                                                  Reloader        L.E.           L.E.                                                         under     $75,000     $110,000                higher           Bachelor's                          home           home
                                                                    21904   7516       5342          2978     5794   10399   11317        4392          8259     4102    3742        8298        13371          7603           14204      3702      4474      5582      5526      2470       3335       5537         6011      6033         9837              11873      16339      5476         9269          12379
            Yes                                                       69%    68%        69%           70%      68%     70%     67%         66%           69%      72%     70%         67%          70%            69%            69%       66%       72%       71%       67%       65%        66%        68%          69%       70%          66%                71%        70%       64%          74%            65%
            No                                                        31%    32%        31%           30%      32%     30%     33%         34%           31%      28%     30%         33%          30%            31%            31%       34%       28%       29%       33%       35%        34%        32%          31%       30%          34%                29%        30%       36%          26%            35%



            Participation(MSR&Other)
                                                                                                                                                                                                           LawEnforcementor
                                                                                       #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military
                                                                                                                                 Non    3timesor                                           Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to           Bachelor'sor    Lessthan                               Childrenin Nochildrenin
                                                                 Total      1          2          3          4+      Member                            4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                Member       less                                            Reloader        L.E.           L.E.                                                           under     $75,000     $110,000                higher         Bachelor's                                 home           home
                                                                    22040   7566       5373          2997     5822     10459      11390         4435    8303     4119    3758        8342        13446          7650           14292      3717      4490      5612      5563     2495          3356       5566         6050      6052         9893            11945      16437            5505          9316          12454
            RifleTargetShootingMSR                               89%    84%        90%           92%      93%       91%        86%          87%     94%      94%     97%         91%          87%            89%            89%       92%       91%       89%       87%      84%           86%        89%          89%       90%          89%              89%        89%             89%           90%            88%
            RifleTargetShootingOther                             42%    44%        42%           43%      39%       43%        41%          45%     42%      41%     40%         44%          41%            40%            43%       43%       43%       43%       40%      41%           40%        41%          42%       43%          44%              40%        42%             41%           43%            42%
            HuntingBigGameOther                                  38%    37%        38%           39%      38%       38%        38%          30%     38%      43%     47%         48%          32%            37%            38%       42%       41%       40%       36%      29%           35%        39%          39%       38%          38%              38%        39%             35%           42%            35%
            HuntingVarmintMSR                                     37%    30%        37%           41%      44%       37%        37%          19%     35%      47%     62%         47%          30%            36%            37%       40%       38%       37%       36%      32%           37%        38%          37%       36%          35%              39%        37%             36%           39%            35%
            HuntingSmallGameOther                                33%    33%        34%           34%      33%       33%        34%          27%     34%      38%     40%         40%          29%            32%            34%       35%       36%       36%       31%      27%           31%        34%          34%       34%          33%              34%        34%             31%           36%            31%
            HuntingSmallGameMSR                                  23%    16%        22%           25%      31%       23%        22%          10%     19%      29%     45%         30%          19%            22%            23%       29%       24%       22%       21%      16%           23%        23%          23%       23%          22%              23%        23%             23%           25%            21%
            HuntingVarmintOther                                   22%    22%        22%           23%      22%       22%        22%          19%     21%      24%     27%         28%          19%            21%            22%       25%       21%       23%       21%      21%           22%        22%          23%       21%          22%              22%        22%             21%           22%            22%
            CompetitionShootingMSR                                15%     9%        14%           17%      24%       24%          8%          6%     12%      20%     32%         23%          11%            17%            14%       17%       17%       16%       14%      12%           12%        14%          16%       17%          18%              13%        15%             16%           16%            15%
            HuntingBigGameMSR                                    14%     9%        13%           15%      20%       14%        14%           7%     12%      17%     28%         18%          11%            15%            14%       16%       15%       15%       13%      11%           15%        14%          14%       14%          13%              15%        14%             13%           15%            13%
            CompetitionShootingOther                               9%     7%         8%           10%      11%       13%          5%          6%      8%      10%     13%         12%           7%             9%             9%        9%        9%        9%        9%       9%            8%          8%          9%       10%          10%               8%         9%              9%             9%            9%
            Noneoftheabove                                          4%     5%         3%            2%       2%        2%          5%          4%      2%       1%      0%          2%           5%             4%             3%        3%        3%        3%        4%       5%            5%          4%          3%        3%           4%               4%         3%              4%             3%            4%



            Overall%Participating(MSRorOther)
                                                                                                                                                                                                           LawEnforcementor
                                                                                       #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military
                                                                                                                                 Non    3timesor                                           Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to           Bachelor'sor    Lessthan                               Childrenin Nochildrenin
                                                                 Total      1          2          3          4+      Member                            4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                Member       less                                            Reloader        L.E.           L.E.                                                           under     $75,000     $110,000                higher         Bachelor's                                 home           home
                                                                    22040   7566       5373          2997     5822     10459      11390         4435    8303     4119    3758        8342        13446          7650           14292      3717      4490      5612      5563     2495          3356       5566         6050      6052         9893            11945      16437            5505          9316          12454
            RifleTargetShooting                                     94%    92%        95%           96%      96%       97%        92%          94%     97%      97%     98%         96%          93%            94%            95%       95%       95%       95%       94%      93%           93%        94%          95%       95%          94%              94%        95%             94%           95%            94%
            HuntingVarmint                                           50%    45%        50%           53%      55%       49%        50%          33%     48%      59%     71%         61%          42%            48%            50%       54%       49%       50%       49%      45%           50%        52%          50%       48%          47%              52%        50%             48%           52%            48%
            HuntingSmallGame                                       49%    45%        49%           51%      54%       50%        49%          34%     47%      58%     69%         60%          43%            48%            50%       55%       52%       51%       47%      39%           48%        50%          50%       49%          48%              50%        50%             47%           53%            46%
            HuntingBigGame                                          46%    43%        46%           48%      50%       46%        46%          35%     45%      53%     62%         58%          39%            45%            46%       50%       49%       48%       44%      36%           44%        48%          47%       46%          45%              47%        47%             43%           51%            43%
            CompetitionShooting                                      20%    13%        19%           23%      29%       30%        10%          10%     17%      25%     37%         29%          15%            22%            19%       21%       22%       20%       19%      18%           17%        19%          21%       23%          23%              18%        20%             20%           21%            20%
            Noneoftheabove                                          4%     5%         3%            2%       2%        2%          5%          4%      2%       1%      0%          2%           5%             4%             3%        3%        3%        3%        4%       5%            5%          4%          3%        3%           4%               4%         3%              4%             3%            4%



            WhatdistancedoyougenerallyhuntortargetshootatwithyourprimaryMSR?                                                                                                                                                                                                                                                                                                                     
                                                                                                                                                                                                           LawEnforcementor
                                                                                       #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military
                                                                                                                                 Non    3timesor                                           Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to           Bachelor'sor    Lessthan                               Childrenin Nochildrenin
                                                                 Total      1          2          3          4+      Member                            4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                Member       less                                            Reloader        L.E.           L.E.                                                           under     $75,000     $110,000                higher         Bachelor's                                 home           home
                                                                    21990   7549       5355          2993     5815     10448      11353         4422    8287     4115    3753        8330        13418          7627           14266      3710      4484      5606      5549     2488          3352       5560         6041      6039         9871            11928      16407            5495          9302          12431
            Under100yards                                           33%    39%        35%           30%      26%       30%        36%          44%     35%      26%     21%         22%          40%            30%            35%       36%       35%       33%       31%      31%           34%        33%          33%       33%          35%              32%        33%             33%           34%            33%
            100300yards                                           58%    54%        58%           61%      62%       61%        55%          50%     58%      64%     63%         67%          52%            60%            56%       53%       55%       59%       61%      62%           56%        58%          58%       58%          56%              59%        58%             57%           57%            58%
            300500yards                                            5%     3%         4%            6%       8%        6%          5%          3%      4%       7%     11%          7%           4%             6%             5%        7%        6%        5%        4%       4%            6%          5%          5%        5%           5%               5%         5%              6%             5%            5%
            5001,000yards                                          2%     1%         1%            2%       3%        2%          1%          1%      1%       2%      4%          3%           1%             2%             1%        2%        1%        2%        2%       1%            2%          1%          2%        2%           1%               2%         2%              2%             2%            2%
            1,000+yards                                              0%     0%         0%            0%       0%        0%          0%          0%      0%       0%      0%          0%           0%             0%             0%        0%        0%        0%        0%       0%            0%          0%          0%        0%           0%               0%         0%              0%             0%            0%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     428




            Doesnotapply                                             2%     3%         2%            2%       1%        2%          3%          2%      1%       1%      1%          1%           3%             2%             2%        2%        3%        2%        2%       3%            3%          2%          2%        2%           2%               2%         2%              2%             2%            2%




  0092
Exhibit 4
            WhenyougotargetshootingwithyourMSRdoyougenerallygoshooting?:
                                                                                                                                                                                                           LawEnforcementor
                                                                                       #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military
                                                                                                                                 Non    3timesor                                           Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to           Bachelor'sor    Lessthan                               Childrenin Nochildrenin
                                                                 Total      1          2          3          4+      Member                            4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                Member       less                                            Reloader        L.E.           L.E.                                                           under     $75,000     $110,000                higher         Bachelor's                                 home           home
                                                                    21986   7544       5360          2989     5816     10442      11355         4417    8288     4116    3754        8327        13416          7629           14260      3711      4485      5606      5545     2487          3350       5559         6040      6039         9867            11927      16405            5492          9302          12427
            Alone                                                     17%    17%        16%           16%      17%       19%        15%          17%     16%      16%     17%         20%          15%            18%            16%       10%       14%       15%       22%      25%           18%        17%          16%       16%          18%              15%        16%             18%           13%            20%
            With1otherperson                                       44%    45%        44%           41%      42%       44%        43%          46%     44%      42%     39%         41%          45%            42%            44%       42%       41%       43%       45%      46%           43%        43%          43%       44%          44%              43%        43%             43%           41%            45%
            With24otherpeople                                   36%    34%        36%           39%      36%       33%        38%          33%     37%      39%     38%         34%          36%            35%            36%       44%       40%       38%       29%      25%           35%        36%          37%       35%          33%              38%        36%             35%           42%            31%
            With5+otherpeople                                       4%     3%         3%            3%       4%        4%          3%          3%      3%       4%      6%          4%           3%             4%             3%        3%        4%        4%        3%       3%            3%          4%          4%        4%           4%               3%         4%              3%             4%            3%
            DonottargetshootwithmyMSR                            1%     1%         1%            0%       0%        0%          1%          1%      0%       0%      0%          0%           1%             1%             1%        0%        1%        1%        1%       2%            1%          1%          1%        1%           1%               1%         1%              1%             1%            1%



            HaveyoubeenabletoshootyourMSRasoftenasyouwouldlikeinthelast12months?
                                                                                                                                                                                                           LawEnforcementor
                                                                                       #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                   Military
                                                                                                                              Non   3timesor                                               Non       Military/ NonMilitary/                                                 $45,000& $45,001to $75,001to           Bachelor'sor       Lessthan                             Childrenin Nochildrenin
                                                                 Total      1          2          3          4+      Member                            4~11     12~23    24+     Reloader                                             Under35    35~44     45~54     55~64     65+                                      $110,001+                                    Married     NotMarried
                                                                                                                             Member      less                                                Reloader        L.E.           L.E.                                                        under     $75,000     $110,000                higher            Bachelor's                               home           home
                                                                    21972   7547       5356          2984     5811     10438   11347        4419        8287     4107    3750        8319        13413          7629           14246      3704      4483      5599      5551     2483       3343       5551         6036      6041         9866               11913      16398            5486        9295          12421
            Yes                                                       18%    18%        17%           18%      19%       20%     16%         12%         16%      21%     28%         21%          16%            20%            17%       12%       13%       18%       21%      31%        16%        18%          18%       18%          18%                 18%        19%             16%         15%            20%
            No                                                        82%    82%        83%           82%      81%       80%     84%         88%         84%      79%     72%         79%          84%            80%            83%       88%       87%       82%       79%      69%        84%        82%          82%       82%          82%                 82%        81%             84%         85%            80%



            HowimportantareeachofthefollowinginpreventingyoufromshootingyourMSRmoreoften?(average)
                                                                                                                                                                                                           LawEnforcementor
                                                                                       #MSR'sown                   RangeMembership       #timesusedMSRlast12months         ReloadAmmo?                                                            Age                                             Income                              Education                MaritalStatus                  Children?
                                                                                                                                                                                                                    Military
                                                                                                                                 Non    3timesor                                           Non       Military/ NonMilitary/                                                    $45,000& $45,001to $75,001to            Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                                 Total      1          2          3          4+      Member                            4~11     12~23    24+     Reloader                                              Under35   35~44     45~54     55~64     65+                                         $110,001+                                 Married     NotMarried
                                                                                                                                Member       less                                            Reloader        L.E.            L.E.                                                          under     $75,000     $110,000                 higher        Bachelor's                                 home           home
            Lackofammunitionavailable                             8.48       8.57       8.52       8.55    8.28       8.39       8.54        8.41     8.50     8.55    8.66        8.06         8.71           8.45            8.48     8.93      8.82      8.58      8.08     7.47         8.59        8.53        8.49       8.36         8.36            8.57        8.45           8.54           8.65           8.34
            Costofammunition                                       7.96       7.92       7.97       8.09    7.93       7.84       8.05        7.90     7.99     8.05    8.05        7.63         8.14           7.99            7.94     8.41      8.28      8.06      7.56     7.02         8.26        8.11        7.94       7.68         7.84            8.04        7.90           8.11           8.08           7.85
            Notenoughfreetime                                     6.33       6.18       6.22       6.38    6.61       6.38       6.29        6.50     6.36     6.15    6.14        6.62         6.15           6.16            6.42     6.25      6.46      6.51      6.35     5.58         5.71        6.16        6.41       6.75         6.54            6.15        6.42           6.07           6.62           6.10
            DistanceImusttravelforasuitableplacetosho       4.69       4.75       4.58       4.65    4.74       4.41       4.93        5.23     4.72     4.23    3.92        4.59         4.74           4.72            4.67     4.79      4.51      4.62      4.76     4.89         4.76        4.61        4.67       4.73         4.84            4.56        4.62           4.88           4.57           4.79
            Costofrangefees                                       3.71       3.89       3.67       3.61    3.57       3.32       4.05        4.12     3.68     3.39    3.16        3.39         3.89           3.78            3.67     4.01      3.62      3.66      3.66     3.63         3.99        3.76        3.73       3.48         3.72            3.70        3.64           3.92           3.67           3.74
            Noonetogowith                                        3.62       3.74       3.52       3.56    3.60       3.46       3.77        4.04     3.64     3.29    3.10        3.53         3.68           3.56            3.66     3.62      3.38      3.57      3.80     3.92         3.84        3.71        3.57       3.46         3.60            3.65        3.58           3.77           3.51           3.71
                                                                                                                                                                                                                                                                                                                                                                                                                                Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.461 Page 102 of
            Age                                                                                                                                                                                                                                                                                                                                                                   
                                                                                                                                                                                     LawEnforcementor
                                                                          #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                             Military
                                                                                                              Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                        Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                             Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                           21877   7506   5321      2985    5791     10380     11308         4388    8248    4093     3743       8286       13348         7597           14183      3717     4490     5612     5563    2495         3350       5545         6027      6031         9825           11885      16351            5480          9267          12385
            Under35                                         17%    20%    18%       16%     13%       14%       20%          16%     16%     17%      21%        14%         19%           11%            20%     100%        0%       0%       0%      0%          35%        21%          14%        8%          16%             18%        11%             35%           15%            18%
            35~44                                            21%    21%    20%       21%     21%       19%       22%          20%     20%     21%      23%        17%         23%           18%            22%        0%     100%       0%       0%      0%          15%        21%          23%       23%          21%             20%        21%             18%           33%            11%
            45~54                                            25%    23%    26%       26%     28%       26%       25%          26%     26%     26%      26%        26%         26%           26%            26%        0%       0%     100%       0%      0%          17%        22%          27%       33%          24%             27%        27%             22%           33%            20%
            55~64                                            25%    24%    26%       25%     26%       28%       23%          26%     26%     26%      21%        30%         23%           26%            25%        0%       0%       0%     100%      0%          19%        25%          26%       28%          25%             25%        28%             19%           16%            33%
            65+                                              11%    12%    11%       11%     11%       14%         9%         12%     12%     11%       9%        13%         10%           19%             7%        0%       0%       0%       0%    100%          14%        12%          10%        8%          13%             10%        13%              7%             3%           18%


            MaritalStatus
                                                                                                                                                                                     LawEnforcementor
                                                                          #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                             Military
                                                                                                              Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                        Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                             Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                           21942   7525   5348      2988    5800     10420     11333         4406    8275    4104     3748       8314       13384         7619           14225      3712     4480     5596     5551    2492         3350       5558         6035      6043         9858           11915      16437            5505          9297          12422
            Single,nevermarried                            14%    15%    13%       13%     14%       12%       16%          14%     13%     13%      16%        11%         16%            7%            18%       47%      13%       8%       4%      1%          37%        17%           8%        5%          12%             15%         0%             55%             3%           22%
            Married                                          75%    75%    76%       75%     74%       77%       73%          75%     76%     76%      72%        77%         73%           80%            72%       49%      78%      79%      82%     84%          42%        68%          83%       90%          78%             72%       100%              0%           90%            64%
            SeparatedorDivorced                            10%     9%    10%       11%     11%       10%       10%          11%     10%     10%      11%        10%         10%           11%            10%        4%       9%      12%      13%     10%          19%        13%           8%        5%           8%             12%         0%             40%             6%           13%
            Widowed                                           1%     1%     1%        1%      1%        1%         1%          1%      1%      1%       1%         1%          1%            2%             1%        0%       0%       1%       1%      4%           3%          1%          1%        0%           1%              1%         0%              4%             1%            1%


            Education
                                                                                                                                                                                     LawEnforcementor
                                                                          #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                             Military
                                                                                                              Non    3timesor                                         Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                        Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                             Member       less                                          Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                           21935   7519   5345      2989    5804     10406     11340         4409    8261    4107     3747       8313       13380         7619           14219      3708     4469     5600     5547    2482         3352       5557         6039      6043         9893           11945      16384            5486          9298          12419
            Somehighschoolorless                          1%     1%     1%        1%      1%        0%         1%          0%      1%      1%       1%         1%          1%            0%             1%        1%       1%       1%       1%      0%           2%          1%          0%        0%           0%              1%         1%              1%             1%            1%
            HighschoolgraduateorGEDequivalent           12%    13%    12%       12%     11%       10%       14%          12%     12%     11%      13%        12%         12%            9%            14%       14%      12%      14%      11%      9%          23%        15%          10%        6%           0%             22%        11%             15%           12%            12%
            Somecollegebutdidnotgraduate                28%    28%    29%       27%     27%       26%       29%          27%     28%     28%      28%        28%         28%           31%            26%       27%      26%      28%      30%     28%          36%        32%          28%       20%           0%             51%        27%             31%           27%            29%
            Associatedegree                                 14%    14%    15%       15%     14%       14%       14%          14%     14%     15%      15%        14%         14%           16%            13%       16%      15%      15%      13%     11%          15%        17%          16%       10%           0%             26%        14%             14%           15%            14%
            Bachelor’sdegree                                27%    26%    26%       28%     28%       28%       26%          27%     28%     26%      25%        26%         27%           26%            28%       30%      29%      25%      25%     26%          16%        23%          29%       34%          59%              0%        27%             25%           27%            26%
            Postgraduatedegree                            14%    13%    14%       13%     15%       16%       11%          15%     13%     14%      13%        14%         14%           14%            13%        9%      13%      12%      15%     22%           4%          8%         12%       24%          30%              0%        15%             10%           14%            13%
            Otherprofessionaldegree                         5%     4%     4%        5%      6%        6%         4%          4%      5%      5%       6%         5%          5%            5%             5%        4%       5%       5%       5%      5%           4%          4%          4%        6%          11%              0%         5%              4%             5%            5%


            HHIncome
                                                                                                                                                                                     LawEnforcementor
                                                                          #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                             Military
                                                                                                              Non   3timesor                                          Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                        Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                             Member      less                                           Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                           21024   7179   5141      2853    5590      9924     10918        4203     7932    3928     3627       7944       12846         7277           13655      3657     4393     5397     5263    2243         3356       5566         6050      6052         9369           11530      15674            5312          9064          11796
            $45,000&under                                  16%    20%    15%       14%     13%       12%       20%         17%      15%     14%      16%        15%         17%           15%            16%       32%      11%      11%      12%     20%        100%           0%          0%        0%           9%             22%         9%             37%           10%            20%
            $45,001to$75,000                               25%    28%    27%       26%     24%       24%       28%         27%      26%     27%      26%        28%         25%           28%            26%       31%      26%      22%      26%     30%           0%       100%           0%        0%          21%             31%        24%             33%           23%            29%
            $75,001to$110,000                              27%    28%    30%       28%     29%       30%       27%         29%      29%     29%      29%        30%         28%           30%            28%       23%      31%      30%      30%     27%           0%          0%       100%         0%          29%             28%        32%             19%           31%            27%
            $110,001+                                        27%    24%    28%       31%     35%       34%       24%         28%      29%     30%      29%        27%         30%           27%            30%       13%      31%      37%      32%     23%           0%          0%          0%      100%          41%             19%        35%             11%           35%            24%


            Doyouhaveanychildrenlivingwithyou?
                                                                                                                                                                                     LawEnforcementor
                                                                          #MSR'sown              RangeMembership      #timesusedMSRlast12months        ReloadAmmo?                                                        Age                                          Income                             Education                MaritalStatus                  Children?
                                                                                                                                                                                             Military
                                                                                                                                                                                                                                                                                                                                                                                                                                         428




  0093
                                                                                                            Non   3timesor                                            Non      Military/ NonMilitary/                                               $45,000& $45,001to $75,001to           Bachelor'sor   Lessthan                               Childrenin Nochildrenin
                                                        Total      1      2        3       4+      Member                           4~11    12~23    24+     Reloader                                           Under35   35~44    45~54    55~64    65+                                        $110,001+                                Married    NotMarried
                                                                                                           Member      less                                             Reloader       L.E.           L.E.                                                      under     $75,000     $110,000                higher        Bachelor's                                 home           home
                                                           21867   7499   5330      2976    5785     10383   11295        4387       8242    4094     3737       8288       13340         7589           14181      3693     4462     5580     5525    2488         3343       5547         6025      6036         9826           11891      16348            5468          9316          12454




Exhibit 4
            Yes                                              43%    43%    43%       44%     43%       42%     44%         41%        43%     45%      43%        41%         44%           41%            44%       38%      70%      55%      26%     11%          27%        38%          47%       53%          44%             42%        51%             18%          100%             0%
            No                                               57%    57%    57%       56%     57%       58%     56%         59%        57%     55%      57%        59%         56%           59%            56%       62%      30%      45%      74%     89%          73%        62%          53%       47%          56%             58%        49%             82%             0%          100%
                                                                                                                                                                                                                                                                                                                                                                                                    Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.462 Page 103 of
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                                   Exhibit 4
                                     0094
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                                     428




                                      11 Mile Hill Road
                                   Newtown, CT 06470-2359
                                      T: 203.426.1320
                                      F: 203.426.1087
                                           nssf.org
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PROMOTE                                 PROTECT                                                   PRESERVE
                                                  Exhibit 4
                                                    0095
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             EXHIBIT "5"




                                   Exhibit 5
                                     0096
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                 NSSF® REPORT 2019 EDITION

                 FIREARMS
                 RETAILER
                  SURVEY REPORT | TREND DATA 2009-2018




                    Conducted for the National Shooting Sports
                        Foundation® by: Southwick Associates




                                           Exhibit 5
                                             0097
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                                                         0098
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  OVERVIEW

  This report is the result of an in‐depth analysis of the U.S. firearms retail industry sponsored by
  the National Shooting Sports Foundation. The information for the report was collected through
  an online survey of retailers that was conducted from March through May 2019. The survey
  respondents included 269 retail establishments located in 45 states. They range in size from
  single proprietors to large outdoor specialty retailers.

  This report shows results collected between 2008 and 2018. All historical results that are
  available are included for each question. If results are not shown for a given year, it is because
  the question was not asked in that year’s survey. The Firearm Retailer survey was not conducted
  in 2017, and therefore no 2017 results are presented in this report.


  _____________________________________________________________________________


  PRODUCTS SOLD

  From which business activity does your business earn a majority of its annual revenues?

   2009                                         88.5%                                            7.6%

   2010                                      82.2%                                               9.1%

   2011                                       86.2%                                               6.7%

   2012                                       85.6%                                              7.3%

   2013                                        88.1%                                              6.4%

   2014                                         88.8%                                             5.1%

   2015                                      83.5%                                                5.5%

   2016                                      84.0%                                           13.0%

   2018                                      82.5%                                               9.3%

          0%     10%      20%      30%      40%         50%     60%      70%     80%       90%       100%

                                 Retail   Wholesale      Manufacturing   Other

  Total number of responses in 2018: n=269




                                                                                                     1

                                              Exhibit 5
                                                0100
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        Of those that selected "Retail" as earning the majority of annual revenues:

        Please check the category that best describes your retail business:

         2009                                            80.5%                                            5.6% 3.6%

         2010                                       70.5%                                        12.8%      5.6%

         2011                                       70.9%                                         13.8%         5.5%

         2012                                           76.6%                                        10.9%       3.9%

         2013                                               80.5%                                           9.4% 3.1%

         2014                                           78.2%                                            8.8%    4.5%

         2015                                       69.3%                                        14.5%      3.3%

         2016                                       71.0%                                        11.4%      6.6%

         2018                                                82.9%                                         5.9% 2.7%

                0%     10%         20%        30%           40%          50%     60%       70%      80%            90%        100%

                             Local / Independent Shop       Online Retailer            Gun Show / Outdoor Expo
                             Outdoor Specialty Store        General Sporting Goods     Pawn
                             Mass Merchant                  Cataloguer                 Other



                                                                                                                         Responses
                     2009       2010      2011         2012          2013      2014     2015      2016       2018
                                                                                                                           (2018)

Local /
  Independent        80.5%     70.5%      70.9%        76.6%         80.5%     78.2%   69.3%     71.0%       82.9%            184
  Shop
Online Retailer      5.6%      12.8%      13.8%        10.9%         9.4%      8.8%    14.5%     11.4%          5.9%          13
Gun Show /
                     3.6%       5.6%      5.5%         3.9%          3.1%      4.5%     3.3%      6.6%          2.7%          6
  Outdoor Expo
Outdoor
                     3.3%       2.4%      2.2%         1.5%          1.9%      1.5%     2.5%      3.3%          1.4%          3
  Specialty Store
General Sporting
                     1.8%       1.2%      0.8%         0.7%          1.0%      0.9%     1.2%      2.6%          0.9%          2
  Goods
Pawn                 1.5%       2.2%      0.7%         1.6%          1.7%      0.9%     5.0%      1.1%        0.5%             1
Mass Merchant        2.4%       1.0%      0.3%         0.0%          0.0%      0.6%     3.3%       n/a        0.5%             1
Cataloguer           1.5%       0.7%      0.5%         0.7%          0.2%      0.2%     0.4%      0.4%        0.0%             0
Other                 n/a       3.6%      5.3%         4.1%          2.2%      4.5%     0.4%      3.7%        5.4%            12
Total                100%       100%      100%         100%          100%      100%     100%      100%       100%             222




                                                                                                                          2

                                                            Exhibit 5
                                                              0101
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        Which categories of NEW products do you currently sell retail?
         100%
           90%
           80%
           70%
           60%



                  97.5%
                  97.4%

                  97.4%
                  97.1%




                  96.9%




                                          96.6%
                 96.2%




                 96.2%




                                          96.1%
                 95.9%




                                         94.9%
                                         94.9%
                                         94.5%
                 94.3%




                                                                     94.3%




                                                                     94.3%
                                         94.0%
                 93.9%




                                         93.9%




                                                                    93.7%
                                         93.4%




                                                                    93.3%
                                         93.2%




                                                                    92.4%
                                         92.2%




                                                                    92.2%


                                                                    92.1%
                                                                    92.0%


                                                                    91.4%

                                                                    91.1%
           50%
           40%
           30%




                                                                                                48.6%
                                                                                                48.2%

                                                                                               47.4%


                                                                                              39.2%
                                                                                             35.2%



                                                                                            33.8%
                                                                                            32.7%
                                                                                            32.3%




                                                                                            31.5%
           20%




                                                                                           26.4%
           10%
           0%
                         Rifles                   Handguns                 Shotguns              Muzzleloaders

                         2008     2009   2010     2011     2012    2013    2014   2015    2016    2018

        Total number of responses in 2018: n = 213



                                                                                                             Responses
                 2008      2009      2010       2011     2012     2013    2014    2015    2016      2018
                                                                                                                 (2018)

Rifles           97.1%    96.2%     94.3%   95.9%        97.4%    96.9%   97.4%   97.5%   96.2%     93.9%         200
Handguns         94.5%    94.0%     92.2%   93.2%        94.9%    96.6%   96.1%   93.4%   94.9%     93.9%         194
Shotguns         92.2%    94.3%     93.3%   92.1%        92.0%    93.7%   94.3%   91.4%   92.4%     91.1%         200
Muzzleloaders    48.2%    48.6%     47.4%   32.3%        35.2%    39.2%   32.7%   26.4%   33.8%     31.5%          67

        Total number of relevant* responses for 2018: 204

        *Note: the answer option “None of these” was only offered for the 2016 and 2018 surveys and
        was not previously available. In 2018 there were nine respondents who did not sell any new
        firearms. The total number of respondents who answered this question, including those who did
        not sell any new products, was 213.




                                                                                                             3

                                                       Exhibit 5
                                                         0102
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          What type(s) of NEW rifles do you currently sell?
              98%
              96%
              94%
              92%
              90%




                                                                                                 96.5%
                                                                       96.2%
              88%




                                                                                                                  93.7%




                                                                                                                                                   93.4%
                                                                                       92.9%




                                                                                                                                                                               92.9%
                                                       92.5%




                                                                                                                                           91.5%




                                                                                                                                                                                       91.5%
                                              91.4%



                                                               91.4%
              86%




                                                                                                          90.0%
                                                                               89.5%




                                                                                                                                   89.2%




                                                                                                                                                           88.9%
                                                                                                                          88.5%
                     88.0%

                             87.8%




              84%




                                                                                                                                                                   86.3%
                                      85.6%




              82%
              80%
                                     AR‐style / modern sporting rifles                                                        Traditional / regular rifles

                                       2008           2009        2010         2011            2012      2013      2014           2015         2016        2018

          Total number of responses in 2018: n = 199




                                                                                                                                                                           Responses
                    2008             2009             2010        2011          2012             2013        2014           2015           2016            2018
                                                                                                                                                                             (2018)

AR‐style /
 Modern
 Sporting           88.0%            87.8%        85.6%          91.4%         92.5%            91.4%       96.2%         89.5%            92.9%           96.5%                       192
 Rifles

Traditional
                    90.0%            93.7%        88.5%          89.2%         91.5%            93.4%       88.9%         86.3%            92.9%           91.5%                       182
  rifles




                                                                                                                                                                           4

                                                                               Exhibit 5
                                                                                 0103
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  Please check the top three calibers sold for NEW Modern Sporting Rifles:
   100%
    90%
    80%
    70%
    60%                  96.8%
                         96.8%
                         95.6%
                         95.0%
                         94.9%




                        93.3%
                        92.7%
                        92.7%




                        90.5%
    50%
    40%



                    69.0%

                   66.9%
                   66.6%
                   66.5%
                   66.5%

                   65.5%
                   64.3%
                  60.4%




                  18.5%




                  17.3%
                  17.2%
                  17.2%
                 16.8%
                 55.7%




                 15.2%
    30%




                49.7%




               11.4%
               10.6%
               43.8%
               43.1%
               43.1%
              42.2%
              39.7%




             35.2%
            33.9%
            33.3%
    20%




             6.5%
             7.3%


             6.4%



            5.2%
            3.9%



           2.6%
           2.4%
           1.7%

          0.6%
          0.0%
    10%
     0%
                 223 cal                    308 cal               22 cal                 7 62x39 Soviet           300 Win Mag

                            2009     2010      2011     2012     2013      2014     2015        2016      2018

                                                                                                                 Responses
                       2009        2010      2011     2012     2013     2014      2015       2016      2018
                                                                                                                   (2018)
  223 cal.            92.7%        94.9%    96.8%     96.8%    95.0%    95.6%     90.5%     93.3%      92.7%           178
  308 cal.            60.4%        69.0%    66.5%     66.5%    66.9%    66.6%     65.5%     64.3%      55.7%           107
  22 cal.             43.8%        39.7%    43.1%     43.1%    49.7%    42.2%     33.9%     35.2%      33.3%            64
  7 62x39 Soviet      18.5%        16.8%    17.2%     17.2%    10.6%    15.2%     17.3%     11.4%      7.3%             14
  300 Win Mag          n/a         1.7%      6.4%      3.9%    0.6%     2.4%      6.5%      5.2%       2.6%               5
  30‐06 Springfield   10.0%        9.8%      9.2%      9.2%    4.4%     5.5%      8.3%      4.8%       3.6%               7
  300 WSM              n/a          n/a      2.1%      1.3%    0.6%     1.3%      1.2%      2.4%       1.0%               2
  not sure             n/a          n/a      1.7%       n/a     n/a     0.7%      1.2%      2.4%       3.1%               6
  17 cal.             3.8%         3.4%      0.6%      2.8%    3.1%     1.5%      0.6%      2.4%       1.6%               3
  204 Ruger           6.9%         7.4%      0.4%      2.6%    4.0%     1.5%      0.6%      1.9%       1.6%               3
  300 Rem. Magnum      n/a         1.3%       n/a       n/a     n/a      n/a       n/a      1.9%       0.5%               1
  243 cal.            3.8%         7.4%      3.4%      6.4%    6.1%     5.1%      3.0%      1.4%       2.6%               5
  30‐30 cal.          0.8%         1.3%      3.9%      2.1%    1.1%     1.5%      2.4%      1.4%       0.0%               0
  7mm Remington
                       1.5%        1.7%      2.1%     1.7%     1.1%     1.3%      1.8%       1.0%      0.5%              1
  Mag
  270 Winchester           n/a     3.0%      1.3%     1.3%     0.3%     0.7%      1.2%       1.0%      1.6%              3
  270 Remington            n/a      n/a       n/a      n/a      n/a      n/a       n/a       1.0%      1.0%              2
  35 Remington             n/a      n/a       n/a      n/a      n/a      n/a       n/a       1.0%      0.0%              0
  300 Rem Ultra
                           n/a      n/a      1.3%     0.4%     0.9%     0.7%      0.6%       0.5%                        0
  Magnum                                                                                               0.0%
  300 Savage               n/a      n/a      1.3%     0.4%     0.3%     0.4%      0.0%       0.5%      0.5%              1
  300 Weatherby
                           n/a      n/a      n/a       n/a      n/a      n/a       n/a       0.5%      0.0%              0
  Magnum
  22‐250 cal.          3.8%        2.7%      2.8%      2.1%    1.1%     1.3%      2.4%       n/a       0.5%              1
  7 mm‐08               n/a        1.3%      2.6%      1.3%    0.6%     0.4%      2.4%       n/a       1.0%              2
  30 Carbine            n/a         n/a       n/a      0.2%    0.3%     0.4%      0.6%       n/a       0.0%              0
  270 WSM              0.8%        1.3%       n/a      0.6%    0.0%     0.2%      0.6%       n/a       0.0%              0
  44 Rem                                      n/a      0.6%    0.3%     1.1%      0.0%       n/a       0.0%              0
  303 British          n/a          n/a       n/a       n/a     n/a      n/a       n/a       n/a       0.0%              0
  Other               10.4%        7.1%     12.0%     12.0%    16.1%    18.9%     24.4%     27.1%      41.1%            79
  Top “Other” responses for 2018 include: .300 AAC Blackout (n=45) and 6.5 Creedmoor (n=15).
  Total number of responses in 2018: n = 192

                                                                                                                          5

                                                       Exhibit 5
                                                         0104
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                                         428


      Which categories of USED products do you currently sell retail?
       100%
        90%
        80%
        70%
        60%




                 97.0%




                                            96.2%
                 95.8%
                 95.0%
                 95.0%
                 94.7%




                                            94.3%




                                            94.1%

                                            94.0%
                                            93.5%
                                            93.0%
                92.9%
                92.8%




                                           92.6%
                                           92.4%
                92.1%




                91.8%
                91.0%




                                           91.0%




                                                                      90.1%
        50%




                                           89.5%




                                                                      88.8%
                                                                      88.2%




                                                                      88.0%
                                                                     87.4%
                                                                     86.2%




                                                                     85.8%
                                                                     85.3%



                                                                     84.9%
                                                                     84.2%
        40%
        30%




                                                                                                      41.8%
                                                                                                      40.1%

                                                                                                      39.8%




                                                                                                     33.7%
                                                                                                     33.0%
                                                                                                    30.6%
                                                                                                    30.0%
        20%




                                                                                                    28.7%
                                                                                                   26.3%
                                                                                                   24.0%
        10%
         0%
                        Handguns                   Rifles                     Shotguns                 Muzzleloaders

                           2008    2009    2010    2011     2012     2013   2014     2015     2016     2018


      Number of responses selling at least one of these firearm types USED in 2018: n = 166

                                                                                                              Responses
                2008      2009     2010    2011     2012      2013     2014      2015       2016     2018
                                                                                                                (2018)
Handguns        92.9%    92.8%     91.0%   92.1%   95.8%     95.0%     95.0%    94.7%    91.8%       97.0%         161
Rifles          92.4%    94.3%     91.0%   92.6%   93.5%     93.0%     89.5%    94.1%    96.2%       94.0%         156
Shotguns        86.2%    90.1%     88.2%   85.3%   88.8%     87.4%     85.8%    84.9%    84.2%       88.0%         146
Muzzleloaders   40.1%    41.8%     39.8%   30.0%   30.6%     33.0%     28.7%    26.3%    24.0%       33.7%          56




                                                                                                               6

                                                   Exhibit 5
                                                     0105
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                                          428

       What type(s) of USED rifles do you currently sell?
         100%
             90%
             80%
             70%
             60%




                                                                                                                                                          95.0%
                                                                                                                                                 94.9%


                                                                                                                                                                  94.7%




                                                                                                                                                                                           94.2%
                                                                                                                        94.0%




                                                                                                                                                                                   93.5%
                                                                                                                                93.1%
                                                                                                                92.8%




                                                                                                                                         91.0%




                                                                                                                                                                           90.7%
             50%




                                                                                                 89.7%
                                                                       88.0%
                                                      84.0%




                                                                               82.9%
                                                              82.7%
                                             81.9%
                            81.5%
                                     77.9%




                                                                                        76.8%
                    74.3%


             40%
             30%
             20%
             10%
              0%
                               AR‐style / modern sporting rifles                                                                Traditional / regular rifles

                             2008            2009             2010             2011             2012       2013         2014            2015             2016         2018

       Total number of responses in 2018: n =156


                                                                                                                                                                                       Responses
                   2008             2009             2010             2011             2012              2013      2014            2015              2016                 2018
                                                                                                                                                                                         (2018)
AR‐style /
 Modern
 Sporting          74.3% 81.5% 77.9% 81.9% 84.0% 82.7% 88.0% 82.9% 76.8% 89.7%                                                                                                                 140
 Rifles

Traditional
                   92.8% 94.0% 93.1% 91.0% 94.9% 95.0% 94.7% 90.7% 93.5% 94.2%                                                                                                                 147
 rifles




                                                                                                                                                                                           7

                                                                                       Exhibit 5
                                                                                         0106
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                                     428

  Of your annual firearm sales, please report the percentages you think were sold primarily for
  hunting, target shooting and personal protection purposes.

                                     2009        8.6%                 30.9%                                           61.5%
                                     2010        8.2%                 31.0%                                           60.8%
                                     2011    6.3%                    32.1%                                            61.6%
                                     2012    6.3%                   31.7%                                             61.8%
   Handguns




                                     2013    7.0%                    32.3%                                            59.4%
                                     2014    6.6%                     32.9%                                            57.5%
                                     2015    5.9%                    32.7%                                            60.4%
                                     2016    7.2%                     33.4%                                            59.5%
                                     2018    7.1%                    32.0%                                            60.9%
                                     2009                                      68.1%                                           25.3%              10.6%
   Traditional / Regular Rifles




                                     2010                                       68.2%                                            23.9%                7.9%
                                     2011                                       66.7%                                            25.9%                7.4%
                                     2012                                      64.8%                                            27.1%                 8.1%
                                     2013                                     65.0%                                            28.4%                  9.9%
                                     2014                                     61.4%                                           27.7%               10.5%
                                     2015                                      64.7%                                             27.2%                 6.6%
                                     2016                                       68.3%                                             24.0%               7.7%
                                     2018                                      65.3%                                             29.0%                 5.7%
                                     2009                22.8%                             46.3%                                       34.1%
   AR‐Style/Modern Sporting Rifles




                                     2010                23.1%                                 45.3%                                    31.5%
                                     2011                22.8%                                  49.1%                                    28.1%
                                     2012                22.0%                                 46.9%                                    30.5%
                                     2013               19.3%                              50.0%                                        29.8%
                                     2014                21.8%                                 46.8%                                     28.1%
                                     2015               21.3%                                   50.0%                                    27.1%
                                     2016                22.9%                                 47.1%                                    30.0%
                                     2018                   29.6%                               36.1%                                  34.3%
                                     2009                         42.6%                           18.9%                          42.5%
                                     2010                            45.0%                               19.8%                        35.0%
                                     2011                         39.8%                             22.8%                         37.4%
                                     2012                        39.0%                            21.2%                          39.8%
   Shotguns




                                     2013                         40.0%                             23.3%                         37.4%
                                     2014                        36.5%                           23.0%                           39.2%
                                     2015                           42.0%                                 25.3%                         30.4%
                                     2016                         41.0%                                24.1%                          34.9%
                                     2018                           42.4%                                 25.4%                        32.0%
                                            0%          10%         20%       30%        40%        50%        60%     70%        80%           90%         100%

                                                                               Hunting     Target        Protection

  *FOR EXAMPLE: Out of all handguns sold in 2018, responding retailers report their customers
  were purchasing handguns for personal‐protection purposes 60.9% of the time.
                                                                                                                                                        8

                                                                                    Exhibit 5
                                                                                      0107
     Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.477 Page 118 of
                                          428

       (continued) Of your annual firearm sales, please report the percentages you think were sold
       primarily for hunting, target‐shooting, and personal‐protection purposes.


                                 2009     2010       2011         2012     2013     2014     2015      2016         2018

Shotguns
Hunting purposes                42.6%    45.0%      39.8%        39.0%    40.0%    36.5%    42.0%     41.0%        42.4%
Target/informal shooting        18.9%    19.8%      22.8%        21.2%    23.3%    23.0%    25.3%     24.1%        25.4%
Personal protection purposes    42.5%    35.0%      37.4%        39.8%    37.4%    39.2%    30.4%     34.9%        32.0%
AR‐style/Modern Sporting Rifles
Hunting purposes                22.8%    23.1%      22.8%        22.0%    19.3%    21.8%    21.3%     22.9%        29.6%
Target/informal shooting        46.3%    45.3%      49.1%        46.9%    50.0%    46.8%    50.0%     47.1%        36.1%
Personal protection purposes    34.1%    31.5%      28.1%        30.5%    29.8%    28.1%    27.1%     30.0%        34.3%
Traditional rifles
Hunting purposes                68.1%    68.2%      66.7%        64.8%    65.0%    61.4%    64.7%     68.3%        65.3%
Target/informal shooting        25.3%    23.9%      25.9%        27.1%    28.4%    27.7%    27.2%     24.0%        29.0%
Personal protection purposes    10.6%     7.9%       7.4%         8.1%     9.9%    10.5%     6.6%      7.7%         5.7%
Handguns
Hunting purposes                 8.6%     8.2%       6.3%         6.3%    7.0%     6.6%     5.9%       7.2%        7.1%
Target/informal shooting        30.9%    31.0%      32.1%        31.7%   32.3%    32.9%    32.7%      33.4%       32.0%
Personal protection purposes    61.5%    60.8%      61.6%        61.8%   59.4%    57.5%    60.4%      59.5%       60.9%

       Total number of responses in 2018: Shotguns (165); AR‐style/Modern Sporting Rifles (164);
       Traditional rifles (157); Handguns (165).

               ______________________________________________________________________

       Out of every 100 firearms you sold, approximately how many were NEW vs. USED?


        2011                                   77.7%                                               22.3%

        2012                                     78.8%                                              21.2%

        2013                                      81.5%                                              18.5%

        2014                                     80.6%                                              19.4%

        2015                                     80.6%                                              19.4%

        2016                                       84.0%                                              16.0%

        2018                                      82.0%                                              18.0%

               0%    10%      20%       30%       40%           50%      60%      70%      80%       90%          100%

                                                          New     Used


       Total number of responses in 2018: n = 173
                                                                                                              9

                                                  Exhibit 5
                                                    0108
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                                      428

    Out of every 100 firearms you sold, approximately how many were:

     2011                       40.0%                                18.9%                 15.0%              12.4%       11.4%


     2012                       39.0%                                20.3%                 14.0%              13.0%       11.4%


     2013                       39.9%                                18.1%                13.3%         12.4%          10.1%


     2014                        41.1%                                  19.6%               12.3%            11.3%     10.1%


     2015                   35.1%                               19.7%                  16.6%             12.9%         10.1%


     2016                         43.0%                                  17.9%             11.3%         11.5%         8.6%


     2018                         43.5%                                  17.7%              12.7%              13.7%         8.8%

            0%       10%         20%         30%          40%           50%         60%           70%          80%       90%        100%

             Semi‐auto pistol    AR/ modern sporting rifle      Traditional rifle   Shotgun       Revolver     Muzzleloader     Other




                                    2011           2012         2013            2014        2015             2016       2018

Semi‐auto pistol                     40.0%         39.0%         39.9%           41.1%         35.1%         43.0%      43.5%
AR/ Modern Sporting Rifle            18.9%         20.3%         18.1%           19.6%         19.7%         17.9%      17.7%
Traditional rifle                    15.0%         14.0%         13.3%           12.3%         16.6%         11.3%      12.7%
Shotgun                              12.4%         13.0%         12.4%           11.3%         12.9%         11.5%      13.7%
Revolver                             11.4%         11.4%         10.1%           10.1%         10.1%          8.6%       8.8%
Muzzleloader                          1.3%          1.5%          2.1%            2.2%          4.0%          3.8%       2.0%
Other                                 0.9%          0.8%          4.0%            3.4%          1.6%          3.9%       1.5%

    Total number of responses in 2018: n = 170




                                                                                                                        10

                                                      Exhibit 5
                                                        0109
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                                     428

  Which of these product categories do you currently sell?


                                                            84.8%
                                                              88.1%
                                                              87.7%
                                                           83.3%
                 Optics                                      86.4%
                                                              88.5%
                                                            86.0%
                                                           82.6%
                                                            85.0%
                                                                 94.6%
                                                                 90.3%
                                                                   93.2%
                                                               86.3%
                                                               86.2%
           Ammunition                                           89.0%
                                                                  92.6%
                                                                 90.2%
                                                               86.7%
                                                                  91.5%
                                                                 90.4%
                                                            83.5%
                                                               88.8%
                                                             84.4%
         Gun‐cleaning                                     79.3%
        equipment and                                       83.1%
                                                              87.0%
           supplies                                        82.5%
                                                        75.4%
                                                           81.7%
                                                               89.8%
                                                          77.9%
                                                               88.1%
                                                          77.8%
                                                         76.1%
       Safety equipment                                   77.3%
                                                             83.4%
                                                           80.5%
                                                      69.7%
                                                          77.5%
                                                              85.0%
                                               57.0%
                                               56.9%
                                            51.2%
                                             52.5%
           Gunsmithing                       53.0%
                                             53.6%
                                                58.0%
                                           48.2%
                                              54.0%
                                                58.7%

                          0%             20%               40%                    60%             80%          100%


                          2008   2009   2010   2011     2012      2013     2014     2015   2016    2018




                                                                                                          11

                                               Exhibit 5
                                                 0110
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                                     428

  (Continued) Which of these product categories do you currently sell?

                                          36.9%
                                               46.8%
                                            42.2%
                                              45.2%
          Apparel                          40.3%
                                             44.6%
                                              45.5%
                                                 50.8%
                                            42.3%
                                                   53.3%
                                            40.0%
                                                46.8%
     Hunting‐ or                            40.5%
                                        33.7%
  shooting‐related                        36.7%
   gifts and home                             42.6%
         items                          36.8%
                                          34.9%
                                            39.9%
                                                  48.5%
                                                     56.0%
                                                      57.3%
                                                    54.8%
     Reloading                                 46.9%
   equipment and                                49.5%
                                                    54.3%
      supplies                                 46.6%
                                          37.9%
                                              45.5%
                                                 49.7%
                                             43.1%
                                                   52.5%
                                              44.9%
                                          38.7%
        Hunting                             41.5%
       accessories                           43.6%
                                         33.3%
                                        36.4%
                                           39.9%
                                                 50.3%
                               22.0%
                                  26.4%
                                 25.5%
    Products not              21.5%
     related to               20.6%
                                23.7%
  hunting/shooting           18.6%
                                 24.6%
                                23.5%
                                  25.7%
                              19.6%
                                23.1%
                                 23.6%
      Archery and           16.3%
      bowhunting              18.8%
                                  25.8%
      equipment              17.3%
                               20.5%
                               20.7%
                                22.2%

                     0%                     20%                      40%                  60%                 80%

                          2008   2009      2010    2011       2012   2013   2014   2015    2016   2018




                                                                                                         12

                                                   Exhibit 5
                                                     0111
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                                          428

          (Continued) Which of these product categories do you currently sell?
                                                                                                      Responses
                        2008     2009    2010   2011    2012    2013    2014     2015   2016   2018
                                                                                                        (2018)
Optics                   84.8% 88.1% 87.7% 83.3% 86.4%          88.5% 86.0%      82.6% 85.0% 94.6%         158
Ammunition               90.3% 93.2% 86.3% 86.2% 89.0%          92.6% 90.2%      86.7% 91.5% 90.4%         151
Gun‐cleaning
  equipment and          83.5% 88.8% 84.4% 79.3% 83.1%          87.0% 82.5%      75.4% 81.7% 89.8%         150
  supplies
Safety equipment         77.9% 88.1% 77.8% 76.1% 77.3%          83.4% 80.5%      69.7% 77.5% 85.0%         142
Gunsmithing              57.0% 56.9% 51.2% 52.5% 53.0%          53.6% 58.0%      48.2% 54.0% 58.7%         98
Apparel                  36.9% 46.8% 42.2% 45.2% 40.3%          44.6% 45.5%      50.8% 42.3% 53.3%         89
Hunting accessories      43.1% 52.5% 44.9% 38.7% 41.5%          43.6% 33.3%      36.4% 39.9% 50.3%         84
Reloading equipment
                         56.0% 57.3% 54.8% 46.9% 49.5%          54.3% 46.6%      37.9% 45.5% 49.7%         83
  and supplies
Hunting or shooting
related gifts and        40.0% 46.8% 40.5% 33.7% 36.7%          42.6% 36.8%      34.9% 39.9% 48.5%         81
home items
Products not related
  to hunting/            22.0% 26.4% 25.5% 21.5% 20.6%          23.7% 18.6%      24.6% 23.5% 25.7%         43
  shooting
Archery and
  bowhunting             19.6% 23.1% 23.6% 16.3% 18.8%          25.8% 17.3%      20.5% 20.7% 22.2%         37
  equipment

          Total number of responses in 2018: n = 167




                                                                                                      13

                                                    Exhibit 5
                                                      0112
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   SALES TRENDS

   What percent of your gross annual sales were from the following categories?

    2008                 33.8%                       14.9%                14.9%                    24.2%                 4.1% 8.1%
    2009                      42.8%                                18.0%                   18.6%                 9.3%         7.9% 3.4%
    2010                         46.5%                                  15.1%               19.8%                  9.8%         5.7% 3.1%
    2011                           50.1%                                   14.6%                   20.9%                 7.4%     5.9%1.1%
    2012                           49.4%                                   15.3%             15.5%               10.0%          6.7% 3.1%
    2013                         47.5%                                   16.0%             12.9%            12.8%             6.4% 4.4%
    2014                     41.2%                              13.7%            12.5%        11.5%              11.3%         6.3% 3.4%
    2015                   38.2%                         12.5%            11.7%          11.6%             14.1%              7.8% 4.2%
    2016                     41.8%                              12.7%            13.0%       10.2%            13.2%             5.7% 3.4%
    2018                             51.5%                                  13.2%           11.2%           11.9%         4.3%4.1%2.5%

           0%     10%        20%          30%        40%          50%            60%        70%            80%           90%          100%
                 New firearms                                                    Ammunition
                 Hard goods                                                      Used firearms
                 Products not related to hunting and shooting                    Soft goods
                 Archery and bowhunting




                  2008     2009       2010      2011      2012          2013       2014      2015          2016          2018

New firearms    33.8%      42.8%      46.5%    50.1%      49.4%         47.5%      41.2%    38.2%          41.8%         51.5%
Ammunition       n/a        n/a        n/a      n/a        n/a           n/a       13.7%    12.5%          12.7%         13.2%
Hard goods      14.9%      18.0%      15.1%    14.6%      15.3%         16.0%      12.5%    11.7%          13.0%         11.2%
Used firearms   14.9%      18.6%      19.8%    20.9%      15.5%         12.9%      11.5%    11.6%          10.2%         11.9%
Products not
  related to
                24.2%      9.3%       9.8%      7.4%      10.0%         12.8%      11.3%    14.1%          13.2%         4.3%
  hunting and
  shooting
Soft goods        4.1%     7.9%       5.7%      5.9%      6.7%          6.4%       6.3%      7.8%          5.7%          4.1%
Archery and
                  8.1%     3.4%       3.1%      1.1%      3.1%          4.4%       3.4%      4.2%          3.4%          2.5%
  bowhunting

   Total number of responses in 2018: n = 155




                                                                                                                         14

                                                  Exhibit 5
                                                    0113
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                                       428

       Total sales compared to the previous year:

        2008 compared to 2007                                      76.5%                                         13.5%         10.0%

        2009 compared to 2008                                       79.9%                                            13.4%      6.7%

        2010 compared to 2009                             59.9%                                  16.9%                23.2%

        2011 compared to 2010                                     73.5%                                          18.8%          7.8%

        2012 compared to 2011                                         83.8%                                              13.1% 3.1%

        2013 compared to 2012                                       78.7%                                         11.9%

        2014 compared to 2013                    43.5%                             22.6%                         34.0%

        2015 compared to 2014                            57.1%                                         31.2%                  11.7%

        2016 compared to 2015                              62.4%                                         24.7%                12.9%

        2018 compared to 2017                   40.5%                             25.2%                          34.4%

                                0%     10%      20%       30%        40%         50%      60%      70%         80%        90%         100%

                                                   This year's sales were UP compared to last year's
                                                   This year's sales were FLAT compared to last year's
                                                   This year's sales were DOWN compared to last year's


                                                                                                                     Responses
           2008     2009        2010    2011     2012       2013          2014     2015         2016      2018
                                                                                                                       (2018)
Up         76.5%   79.9% 59.9%          73.5%    83.8%      78.7%         43.5%    57.1%        62.4%     40.5%             53
Flat       13.5%   13.4% 16.9%          18.8%    13.1%      11.9%         22.6%    31.2%        24.7%     25.2%             33
Down       10.0%    6.7% 23.2%           7.8%     3.1%       9.5%         34.0%    11.7%        12.9%     34.4%             45




       What was the average change of total sales compared to the previous year?

                                                                                            Responses
                                       2013     2014       2015           2016     2018
                                                                                              (2018)
                   Avg. Increase       39.9%    37.2%      36.1%      34.8%       22.9%                 51
                   Avg. Decrease       29.3%    26.6%      23.7%      19.8%       18.2%                 44




                                                                                                                         15

                                                        Exhibit 5
                                                          0114
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                                     428

  Please compare your sales this year to your sales last year in the following categories listed
  below. For each category please say whether sales were UP or DOWN.
                                 2010 vs. 2009                  30.2%                                    38.9%                           18.5%                 12.4%
                                 2012 vs. 2011                      38.0%                                        39.0%                      4.5%           18.4%
                                 2013 vs. 2012                   31.9%                                         47.3%                             7.2%         13.6%
            Optics



                                 2014 vs. 2013                          46.8%                                   19.9%                    22.7%                  10.6%
                                 2015 vs. 2014                    34.1%                                       41.5%                         8.1%            16.3%
                                 2016 vs. 2015                  30.5%                                      42.7%                        7.3%              19.5%
                                 2018 vs. 2017                  29.7%                                     41.4%                             18.0%               10.8%
                                 2010 vs. 2009                          46.0%                                     24.5%                     18.6%               10.9%
                                 2011 vs. 2010                              54.3%                                          23.1%              7.0%          15.6%
            Ammunition




                                 2012 vs. 2011                                         71.6%                                             12.8% 2.5% 13.0%
                                 2013 vs. 2012                                     64.0%                                       11.5%             15.5%           9.1%
                                 2014 vs. 2013                           46.8%                                  19.9%                    22.7%                  10.6%
                                 2015 vs. 2014                             50.0%                                        27.2%                  8.8%           14.0%
                                 2016 vs. 2015                         44.0%                                         33.9%                     7.1%          14.9%
                                 2018 vs. 2017                     36.6%                                       38.4%                             17.0%            8.0%
                                 2014 vs. 2013    3.7%                    41.2%                         9.4%                           45.7%
   Muzzle‐
   loader




                                 2015 vs. 2014    5.3%                   36.8%                      7.9%                             50.0%
                                 2016 vs. 2015    2.9%                      47.1%                            7.2%                         42.8%
                                 2018 vs. 2017     6.2%                        45.4%                          6.2%                        42.3%
                                 2010 vs. 2009                                    61.9%                                        15.1%              14.4%           8.6%
                                 2011 vs. 2010                                         71.5%                                              14.5%         3.6% 10.4%
                                 2012 vs. 2011                                             78.5%                                                 8.3% 2.0% 11.2%
            Handguns




                                 2013 vs. 2012                                           75.4%                                                 13.4%        5.6% 5.6%
                                 2014 vs. 2013                             50.6%                                   17.1%                   23.2%                 9.1%
                                 2015 vs. 2014                                    62.3%                                          18.1%            6.5%        13.0%
                                 2016 vs. 2015                                55.3%                                        21.8%               8.8%          14.1%
                                 2018 vs. 2017                       40.4%                                    29.8%                            24.6%                5.3%
                                 2010 vs. 2009                  32.7%                                     37.5%                             20.4%                9.5%
                                 2011 vs. 2010                       40.8%                                         37.4%                         9.4%          12.3%
                                 2012 vs. 2011                             50.7%                                            32.9%                    4.7%      11.7%
            Shotguns




                                 2013 vs. 2012                          45.8%                                            37.4%                          9.4%       7.4%
                                 2014 vs. 2013            21.9%                                   45.9%                                   21.3%                 10.8%
                                 2015 vs. 2014                28.1%                                       45.9%                                16.3%             9.6%
                                 2016 vs. 2015            20.9%                                   48.8%                                15.1%                 15.1%
                                 2018 vs. 2017             23.9%                                      47.8%                                    21.2%               7.1%
                                 2010 vs. 2009                          44.9%                               16.5%                    27.6%                      11.0%
                                 2011 vs. 2010                                   60.1%                                          20.1%              8.1%        11.7%
   AR‐style / Modern
     sporting rifles




                                 2012 vs. 2011                                            76.9%                                                9.5% 2.7% 10.9%
                                 2013 vs. 2012                                       67.1%                                          14.6%              11.6%       6.6%
                                 2014 vs. 2013                   33.5%                        16.3%                            39.7%                            10.5%
                                 2015 vs. 2014                               54.3%                                        22.5%                10.9%           12.3%
                                 2016 vs. 2015                           47.6%                                      24.1%                12.4%              15.9%
                                 2018 vs. 2017                 30.7%                               29.8%                               33.3%                        6.1%
                                 2010 vs. 2009                   34.4%                                   31.5%                           24.0%                  10.0%
                                 2011 vs. 2010                       39.8%                                        36.8%                        10.8%           12.6%
            Traditional rifles




                                 2012 vs. 2011                        41.9%                                           39.7%                         6.2%       12.1%
                                 2013 vs. 2012                        42.8%                                            40.4%                           10.3%       7.3%
                                 2014 vs. 2013              25.5%                                    43.4%                                 20.2%                10.9%
                                 2015 vs. 2014                    34.8%                                        41.3%                            13.0%           10.9%
                                 2016 vs. 2015                29.1%                                       44.2%                           11.0%             15.7%
                                 2018 vs. 2017              24.8%                                       50.4%                                       20.4%            4.4%

                                                 0%       10%         20%          30%      40%          50%          60%     70%             80%         90%         100%
                                                                              Up         Same           Down          Unknown


  Total responses (year over year sales) in 2018: Optics (111); Ammunition (112); Muzzleloaders
  (97); Handguns (114); Shotguns (113); AR‐Style rifles (114); Traditional rifles (113).
                                                                                                                                                        16

                                                                                   Exhibit 5
                                                                                     0115
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                                     428

  What were your total sales of shooting and hunting‐related items only, including firearms,
  ammo, accessories, apparel, etc.?

                                                 Year          Average Total Sales
                                            2008                        $642,992
                                            2009                        $858,314
                                            2010                      $2,458,546
                                            2011                        $756,019
                                            2012                      $1,072,037
                                            2013                      $1,047,802
                                            2014                      $2,950,450
                                            2015                      $1,490,824
                                            2016                      $2,596,761
                                            2018                      $1,252,011
                                            # of 2018
                                                                               120
                                            Responses




  Of all your FIREARM sales last year, please estimate the percentage of sales dollars attributable
  to each type of firearm:

   2009             19.7%                     18.5%                           43.7%                          14.8%

   2010              21.9%                      18.3%                          41.5%                         14.9%

   2011            18.1%                      23.4%                              42.8%                         14.2%

   2012           17.1%                        25.5%                             41.2%                        13.4%

   2013          15.5%                      24.6%                               44.4%                          12.9%

   2014          15.1%                     24.0%                                45.9%                          11.8%

   2015              20.8%                           26.2%                           35.8%                   13.0%

   2016          15.7%                      23.7%                              44.0%                          14.0%

   2018            17.5%                     19.9%                              45.1%                           13.0%

          0%         10%            20%         30%          40%       50%     60%           70%     80%       90%         100%

               Traditional rifles         AR‐style / modern sporting rifles   Handguns        Shotguns     Muzzleloaders

  Total responses in 2018: n=128




                                                                                                                     17

                                                             Exhibit 5
                                                               0116
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                                     428

  SALES MARGINS and NET PROFIT

  What is your average margin on the sale of NEW and USED firearms?

                   2008         2009      2010       2011         2012      2013         2014      2015      2016        2018
NEW Firearms        18%          19%     16.1%      16.2%        18.4%     17.6%        15.4%     15.8%     14.6%        15.8%
    Handguns         n/a          n/a    16.5%      17.7%        18.9%     18.0%        16.0%     16.2%     15.9%        16.3%
         Rifles      n/a          n/a    16.2%      15.9%        19.1%     17.6%        16.8%     16.6%     15.7%        16.8%
     Shotguns        n/a          n/a    15.8%      14.9%        17.2%     17.1%        15.4%     15.9%     15.6%        16.4%
 Muzzleloaders       n/a          n/a       n/a        n/a          n/a       n/a       12.1%     12.8%       9.0%        5.7%

USED Firearms        27%         29%     24.9%      23.5%        24.5%     26.2%        22.2%     24.3%     22.1%        22.3%
    Handguns          n/a         n/a    26.2%      24.8%        26.0%     26.6%        24.8%     25.6%     25.7%        25.7%
         Rifles       n/a         n/a    24.5%      23.3%        24.7%     26.4%        23.8%     24.2%     24.0%        24.0%
     Shotguns         n/a         n/a    24.1%      22.5%        22.9%     25.5%        22.4%     23.1%     23.5%        23.5%
 Muzzleloaders        n/a         n/a      n/a        n/a          n/a       n/a        14.2%     14.7%     10.9%        10.9%

  Total responses in 2018: NEW Firearms (101), USED Firearms (95)
  ___________________________________________________________________________

  Did your net profit increase, decrease or stay the same compared to the previous year?

   2008 compared to 2007                          55.1%                                     32.0%                12.9%

   2009 compared to 2008                                 66.0%                                  20.2%            13.8%

   2010 compared to 2009                        48.0%                             25.0%                   27.0%

   2011 compared to 2010                                64.1%                               11.9%           24.0%

   2012 compared to 2011                                 68.2%                                      25.1%             6.7%

   2013 compared to 2012                                64.9%                                   20.7%            14.4%

   2014 compared to 2013                 35.8%                            32.4%                         31.8%

   2015 compared to 2014                         51.2%                          13.2%                35.5%

   2016 compared to 2015                        46.8%                               34.0%                    19.2%

   2018 compared to 2017                32.0%                          35.0%                            33.0%

                           0%     10%      20%          30%      40%      50%     60%       70%     80%         90%      100%

                                    Increased           Stayed the same         Decreased

  Total number of responses in 2018: n = 103


                                                                                                                          18

                                                        Exhibit 5
                                                          0117
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           Estimated changes in net profit (for those who reported an increase or decrease).


                                                                                                           Responses
                  2008     2009      2010     2011     2012   2013     2014     2015     2016      2018
                                                                                                             (2018)

Average
                   20%     26%       29.4%    34.4%   33.1%   32.2%   32.7%     22.9%    23.1%    15.2%           32
 Increase
Average
                   16%     18%       22.7%    19.8%   18.6%   25.0%   22.0%     21.9%    20.7%    38.9%           34
 Decrease




           On average, what is your credit card processing transaction fee percentage?
           (calculated by the credit card total fee / gross sales on credit and debit)

                                                                                                           # of 2018
                  2010        2011          2012      2013    2014       2015      2016          2018
                                                                                                          Respondents
Average
                  2.6%        2.7%          2.5%      2.6%    2.6%       2.6%      2.6%          2.3%             98
Increase




                                                                                                          19

                                                       Exhibit 5
                                                         0118
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                                     428

  INVENTORY

  What was your percentage change in annual inventory?


                2008                               62.6%                                         19.1%             8.1%        10.3%

                2009                         54.8%                                     18.3%                17.3%              9.6%

                2010                      49.0%                                  22.1%                   15.4%             13.4%

                2011                      49.9%                                        26.6%                8.8%           14.8%
   Ammunition




                2012                        53.6%                                   17.4%                  19.1%               9.9%

                2013                      48.0%                                18.3%                      25.8%                 7.9%

                2014                  45.1%                                18.6%                         29.0%                  7.3%

                2015                 42.3%                         7.2%                     37.8%                          12.6%

                2016                 43.4%                                         37.1%                          10.5%         9.1%

                2018              35.1%                                    39.4%                               17.0%            8.5%

                2008                                 66.9%                                          14.7%           9.3%        8.1%

                2009                               64.2%                                          18.4%             8.5%        9.0%

                2010                        52.5%                                      21.8%                   15.7%           10.0%

                2011                              61.7%                                        18.1%             8.5%       11.7%
   Firearms




                2012                              61.2%                                        17.0%              14.2%         7.6%

                2013                                 67.5%                                             17.5%            8.7%     6.3%

                2014                       50.2%                                18.2%                       26.3%                5.3%

                2015                 44.2%                           10.6%                      33.6%                       11.5%

                2016                      47.6%                                     30.1%                      11.2%        11.2%

                2018              36.2%                                29.8%                                29.8%                 4.3%

                       0%   10%     20%           30%        40%       50%         60%          70%         80%         90%          100%

                                                   Up      Same     Down        Unknown




                                                                                                                                20

                                                           Exhibit 5
                                                             0119
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                                                428

             (continued) What was your percentage change in annual inventory?


                       2008        2009      2010     2011     2012     2013     2014    2015     2016         2018

           Up           62.6%      54.8%     49.0%    49.9%    53.6%    48.0%    45.1%   42.3%    43.4%        35.1%
Ammo




           Same         19.1%      18.3%     22.1%    26.6%    17.4%    18.3%    18.6%    7.2%    37.1%        39.4%
           Down          8.1%      17.3%     15.4%     8.8%    19.1%    25.8%    29.0%   37.8%    10.5%        17.0%
           Unknown      10.3%       9.6%     13.4%    14.8%     9.9%     7.9%     7.3%   12.6%     9.1%         8.5%
           Up           66.9%      64.2%     52.5%    61.7%    61.2%    67.5%    50.2%   44.2%    47.6%        36.2%
Firearms




           Same         14.7%      18.4%     21.8%    18.1%    17.0%    17.5%    18.2%   10.6%    30.1%        29.8%
           Down          9.3%       8.5%     15.7%     8.5%    14.2%     8.7%    26.3%   33.6%    11.2%        29.8%
           Unknown       8.1%       9.0%     10.0%    11.7%     7.6%     6.3%     5.3%   11.5%    11.2%         4.3%

             Total number of respondents for FIREARMS (2018): n=94
             Total number of respondents for AMMUNITION (2018): n=94


             __________________________________________________________________________

             For 2018, what was the percentage change in your total inventory for each category
             [of ammunition], based on dollar value?

                                                                                          # of 2018
                                                              2015     2016     2018
                                                                                         Respondents
                                          Average Increase    16.1%    15.4%    11.3%               23
                   Centerfire Pistol
                                          Average Decrease    24.4%    13.7%    14.0%               14
                                          Average Increase    20.0%    15.8%    15.1%               18
                   Centerfire Rifle
                                          Average Decrease    15.6%    25.8%    13.2%               20
                     Component            Average Increase    15.8%    14.9%    20.4%               10
                       Bullets            Average Decrease    13.8%    18.5%    16.4%               14
                                          Average Increase    25.5%    21.3%    12.7%               21
                       Rimfire
                                          Average Decrease    38.6%    23.4%     9.5%               16
                                          Average Increase    10.7%    17.2%     6.0%               10
                      Shotshells
                                          Average Decrease    39.7%    18.8%    11.6%               25




                                                                                                          21

                                                         Exhibit 5
                                                           0120
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        SELECTED OPERATING MEASURES
        NOTE: The following tables are based on a subset of respondents who provided complete
        information for sales, inventory, square footage, and cost of goods sold. Results are broken out
        into two categories: retailers with $1 million or more in total annual sales of shooting and
        hunting‐related items only, and those with less than $1 million in sales.



        What was the average value (replacement value, not retail value) of your inventory on hand for
        shooting‐ and hunting‐related merchandise only, including firearms, ammo, accessories,
        apparel, etc.)? (Reported in thousands of dollars)

                                                                                                       Responses
                                        2014                  2015             2016               2018
                                                                                                          (2018)
Retailers less than $1 million      $111.8           $156.8             $104.7            $154.6               45
Retailers $1 million or more       $2,240.8         $3,314.0           ^$4,137.5          $835.1               17
                *Does not include inventory for other activities such as fishing, hardware, camping, etc.

               _________________________________________________________________

        What was your total cost of goods sold annually for shooting‐ and hunting‐related merchandise,
        including firearms, ammo, accessories, apparel, etc.? (Reported in thousands of dollars).

                                                                                                               Response
               2010       2011          2012           2013          2014     2015       2016        2018
                                                                                                                s (2018)
Retailers
less than     $153.3     $142.5         $185.5        $192.7     $171.4      $256.3     $128.1      $201.0              46
$1 million
Retailers
$1 million   $5,608.9 $2,278.1 $3,966.5 $2,812.8 $5,583.6 $4,459.4                      ^$4,532    $1,287.1             16
or more
               ___________________________________________________________________


        What was the total square footage of retail space dedicated to shooting‐ and hunting‐related
        items only, as of December 31?

                                                                                                            Responses
                         2010      2011        2012      2013        2014    2015      2016       2018
                                                                                                              (2018)
  Retailers less than
                         1,359    1,232        1,418     1,595       1,247   1,827     1,895      1,116            53
  $1 million
  Retailers $1
                         9,012    6,552        7,033     5,437       6,756   4,461    ^13,187     4,788            17
  million or more
               ^ = Small sample size.

                                                                                                              22

                                                         Exhibit 5
                                                           0121
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      Markets and Customers


      In your opinion, has the number of female customers in your store increased or decreased?

       2008                               70.3%                                                20.0%           8.3%


       2009                                  72.7%                                              19.8%           5.9%


       2010                            61.1%                                           24.3%                 13.8%


       2011                                  72.8%                                             15.3%          11.1%


       2012                                     78.6%                                                13.4%     8.0%


       2013                                    73.9%                                            17.7%          8.1%


       2014                                  72.5%                                              19.8%           6.0%


       2015                             64.6%                                             25.3%                9.1%


       2016                               69.5%                                                21.9%            6.3%


       2018                 42.7%                                              48.8%                           8.5%

              0%      10%   20%        30%        40%       50%       60%         70%          80%       90%         100%

                            Increase      Remain the same           Decrease       Don't know




                                                                                                                        Responses
                    2008 2009 2010 2011 2012 2013 2014 2015 2016 2018                                                     (2018)
Increase           70.3% 72.7% 61.1% 72.8% 78.6% 73.9% 72.5% 64.6% 69.5% 42.7%                                                 35
Remain the         20.0% 19.8% 24.3% 15.3%                                                                                     40
                                                                         48.8%
same                                       13.4% 17.7% 19.8% 25.3% 21.9%
Decrease            1.4% 1.6% 0.8% 0.8% 0.0% 0.4% 1.7% 1.0% 2.3% 0.0%                                                          0
Don't know          8.3% 5.9% 13.8% 11.1% 8.0% 8.1% 6.0% 9.1% 6.3% 8.5%                                                        7

      Total number of responses in 2018: n = 82

                                                                                                                        23

                                                        Exhibit 5
                                                          0122
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                                         428

      In your opinion, what percentage of your shooting‐ and hunting‐related sales revenue do you
      attribute to female customers?

              2009        2010        2011        2012          2013         2014      2015      2016           2018
% of sales
              16.9%     15.4%      19.1%       19.4%           20.3%         19.5%    18.6%      22.6%          20.3%
revenue
       Total number of responses in 2018: n = 78




      What type of firearm did female buyers purchase most often?
      (ranked from 1 (most likely) to 6 (least likely)

                                                                                                      Responses
                                             2012       2013      2014       2015     2016    2018
                                                                                                        (2018)
 Semi‐automatic handgun                         1.5       1.3          1.3      1.3     1.3     1.2            73
 Revolver                                       2.1       1.9          1.9      2.3     2.1     2.4            63
 AR platform (MSR) rifle                        3.5       3.7          3.6      3.9     3.2     3.5            54
 Shotgun                                        3.7       3.5          3.6      3.1     3.7     3.8            55
 Traditional rifle                              4.0       4.1          4.2      3.6     4.2     3.9            53
 Muzzleloader                                   5.6       5.9          5.9      5.9     5.8     5.8            41

      These results show how firearms retailers rank the observed preferences of female firearm
      buyers for given types of firearm on a scale of 1 (very likely) to 6 (not likely at all). For instance,
      the average respondent suggested that female hunters/shooters who purchased firearms from
      their business in 2018 most likely purchased a semi‐automatic handgun (average rank of 1.2 out
      of 6) and was least likely to purchase a muzzleloader (average rank of 5.8 out of 6).




                                                                                                          24

                                                      Exhibit 5
                                                        0123
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                                      428


    In your opinion, what percent of your customers in 2018 were first‐time gun buyers?

                          2010        2011       2012           2013     2014       2015        2016          2018
% of all customers
who were first time    20.8%      25.0%     25.8%           25.3%        24.8%      24.1%       24.0%         24.0%
   gun buyers
    Total number of responses in 2018: n = 159




    What type of firearm did first‐time buyers purchase most often?

                                                                                                Responses
                                        2011 2012 2013 2014              2015 2016 2018
                                                                                                  (2018)
   Semi‐automatic handgun                 1.4     1.5     1.3      1.2    1.3     1.3     1.3          136
   AR platform (MSR) rifle                3.0     2.9     3.7      3.0    2.7     2.6     2.9          115
   Revolver                               3.0     2.8     1.9      2.7    3.0     3.1     3.1          110
   Shotgun                                3.5     3.6     3.6      3.7    3.7     3.8     3.6          112
   Traditional rifle                      3.8     4.1     4.1      4.0    3.7     4.0     3.9          107
   Muzzleloader                           5.8     5.6     5.9      5.9    5.7     5.7     5.9            71

    These results show how firearms retailers rank the observed preferences of first‐time firearm
    buyers for given types of firearm on a scale of 1 (very likely) to 6 (not likely at all). For instance,
    the average respondent suggested that first time gun buyer who purchased firearms from their
    business in 2018 was more likely to purchase a revolver (average rank of 3.1 out of 6), than a
    traditional rifle (average rank of 3.9 out of 6).




                                                                                                          25

                                                  Exhibit 5
                                                    0124
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                                     428

  To the best of your knowledge, what was your total customer demographic in 2018?


                                          2014      2015    2016     2018

                      Male                75.2%     76.9%   74.7%   78.5%
                      Female              24.8%     23.1%   25.3%   21.5%

                      White               69.4%     72.0%   72.0%   74.4%
                      Black               11.3%      9.5%   11.0%    9.3%
                      Hispanic            11.7%     10.9%   12.3%   12.1%
                      Asian                7.6%      7.6%    4.6%    4.1%

                      White Male          55.5%     57.3%   56.6%   59.5%
                      White Female        13.9%     14.8%   15.4%   15.0%
                      Black Male           7.1%      6.4%    6.9%    7.0%
                      Black Female         4.2%      3.0%    4.1%    2.4%
                      Hispanic Male        7.8%      7.5%    7.4%    9.0%
                      Hispanic Female      3.9%      3.4%    4.9%    3.1%
                      Asian Male           4.8%      5.7%    3.7%    3.1%
                      Asian Female         2.8%      1.9%    0.9%    1.0%

                       Total number of responses in 2018: n = 81




  Do you have a system you use to collect demographic information (age, gender, race/ethnicity)
  on your customers?
                                                2016      2018
                                Yes             10.9%      3.8%
                                No              89.1% 96.2%

  Total number of responses in 2018: n = 79




                                                                                             26

                                              Exhibit 5
                                                0125
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                                     428

  ADVERTISING and ONLINE MARKETING

  Did your marketing/advertising expenditures (actual $$ spent) increase, decrease or remain the
  same?

   2008                33.0%                                           50.0%                            8.0%       9.0%

   2009              32.0%                                            50.0%                             10.0%      8.0%

   2010                 35.6%                                          45.3%                          9.7%         9.4%

   2011              31.0%                                            50.0%                           7.0%      11.0%

   2012                35.1%                                           47.7%                          6.7%      10.6%

   2013                  38.2%                                            47.4%                           8.8% 5.7%

   2014                   41.7%                                               43.7%                       8.7%      6.0%

   2015                  38.3%                                          43.6%                           9.6%       8.5%

   2016                34.4%                                            49.6%                           7.2%       8.8%

   2018        20.0%                                      53.8%                                  17.5%             8.8%

          0%   10%        20%           30%        40%          50%      60%          70%       80%          90%      100%

                          Increase        Remain the same             Decrease        Do not know

  Total number of responses in 2018: n = 80


  Does your business currently have a website?

   2008                         49.0%                                                   51.0%
   2009                                 64.0%                                                   36.0%
   2010                                 61.8%                                                   38.2%
   2011                                  64.3%                                                   35.7%
   2012                                  64.9%                                                   35.1%
   2013                                       72.6%                                                   27.4%
   2014                                         74.3%                                                   25.7%
   2015                                  64.9%                                                   35.1%
   2016                                         74.8%                                                   25.2%
   2018                                       71.3%                                                   28.8%

          0%   10%        20%           30%        40%          50%      60%          70%       80%          90%      100%

                                                          Yes     No

  Total number of responses in 2018: n = 80
                                                                                                                           27

                                                         Exhibit 5
                                                           0126
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                                           428


        Do you sell any hunting and shooting‐related products via the Internet?

          2008       2009        2010      2011        2012      2013     2014      2015      2016         2018
Yes      48.1%      47.5%       50.4%      49.9%       48.7%     52.3%    53.8%     40.0%     53.2%        41.3%
No       51.9%      52.5%       49.6%      50.1%       51.3%     47.7%    46.2%     60.0%     46.8%        58.8%
        Total number of responses in 2018: n = 80

        _________________________________________________________________________


        This year, did your online sales increase or decrease?

                 2008      2009     2010     2011        2012     2013     2014    2015      2016      2018
 Increase       64.2% 65.2% 55.3% 64.6%                  68.8%    59.3%    59.3%   52.6%     46.2%     30.3%
 Stay the
                 7.4%     6.7 % 11.4%         7.2%       5.3%     30.3%    10.3%   13.2%     10.8%     51.5%
 same
 Decrease       28.4% 28.1% 33.3% 28.2%                  26.0%    10.3%    30.3%   34.2%     43.1%     18.2%
       Total number of responses in 2018: n = 33




        Please estimate as best as possible the percentage of annual shooting and hunting‐related sales
        revenues that were generated online:

                       2009      2010       2011      2012       2013     2014     2015      2016          2018
% sales revenue
                    22.5%     34.0%     35.5%         32.3%      29.8%    26.6%    31.9%     24.1%        26.0%
generated online
       Total number of responses in 2018: n = 33




                                                                                                      28

                                                    Exhibit 5
                                                      0127
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                                     428

  If you are not currently selling hunting and shooting products online, do your future business
  plans include selling online?


   2008                        48.1%                                          51.9%


   2009                           55.4%                                          44.6%


   2010                         50.7%                                          49.3%


   2011                          52.6%                                          47.4%


   2012                         50.0%                                          50.0%


   2013                         50.8%                                          49.2%


   2014                          52.3%                                          47.7%


   2015                  40.7%                                          59.3%


   2016                          52.5%                                          47.5%


   2018                34.8%                                          65.2%

          0%     10%      20%           30%   40%     50%      60%       70%           80%   90%        100%

                                                    Yes   No

  Total number of responses in 2018: n = 46




                                                                                                   29

                                              Exhibit 5
                                                0128
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                                     428

  SHOOTING RANGES AND OTHER OFFERINGS

  Do you have an active shooting range on‐site?

   2009          15.3%                                          84.7%

   2010           17.4%                                          82.6%

   2011         13.2%                                          86.8%

   2012         13.5%                                          86.5%

   2013            20.8%                                          79.2%

   2014            19.1%                                          80.9%

   2015         12.6%                                          87.4%

   2016                 24.1%                                          75.9%

   2018           17.6%                                          82.4%

          0%           10%      20%   30%   40%         50%           60%      70%   80%   90%        100%

                                                  Yes     No

  Total number of responses in 2018: n = 170
  ___________________________________________________________________________

  Do you have any plans to open a shooting range [next year]?

   2011          15.0%                                          85.0%

   2012         12.6%                                          87.4%

   2013        11.0%                                          89.0%

   2014          16.6%                                          83.4%

   2015    7.0%                                           93.0%

   2016        10.0%                                          90.0%

   2018        10.1%                                          89.9%

          0%           10%      20%   30%   40%         50%           60%      70%   80%   90%        100%

                                                  Yes     No

  Total number of responses in 2018: n = 139

                                                                                                 30

                                            Exhibit 5
                                              0129
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                                     428

  Please check which type of range(s) you have on‐site:
  (Asked of those who indicated that they do have an active shooting range on site)

   90.0%
   80.0%
   70.0%
   60.0%
   50.0%
   40.0%                                84.0%
                          69.1% 66.5%           69.8%
   30.0%
            51.4% 55.3%                                  48.3%        52.7% 50.6%                                    51.7%
   20.0%                                                                            35.8% 39.1%              37.7%
   10.0%                                                                                           24.0%

    0.0%
                               Indoor                                                    Outdoor
                                                             Axis Title

                               2011     2012      2013       2014      2015     2016     2018

  Total number of responses in 2018: n = 29

    ___________________________________________________________________________

  Please describe customer range traffic compared to last year:


      2010 compared to…                                  70.2%                                  8.5%           21.3%

      2011 compared to…                                    73.7%                                   7.9%           18.4%

      2012 compared to…                                       81.0%                                               16.7%

      2013 compared to…                           59.3%                                                      26.4%

      2014 compared to…                         52.9%                                   26.4%                   20.7%

      2015 compared to…                                       80.0%                                           16.0%       4.0%

      2016 compared to…                                    73.1%                                          21.2%           5.8%

      2018 compared to…               33.3%                                     50.0%                             16.7%

                      0%       10%       20%         30%       40%        50%     60%      70%         80%        90%        100%


                                              More         About the same       Less

  Total number of responses in 2018: n = 30


                                                                                                                     31

                                                  Exhibit 5
                                                    0130
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                                     428

  Do you offer any of the following general firearm instruction classes at your store? (select all
  that apply)

                                                                        Responses
                                Class                2016      2018
                                                                          (2018)
                    Concealed Carry                  45.4%     39.8%           64
                    Basic Pistol                     44.4%     36.6%           59
                    Self‐Defense                     31.9%     24.2%           39
                    Basic Rifle                      30.9%     23.6%           38
                    Basic Shotgun                    29.5%     21.1%           34
                    Women Only                       27.5%     20.5%           33
                    Advanced Pistol Shooting         25.1%     19.3%           31
                    Youth Classes                    19.3%     16.1%           26
                    Tactical                         18.8%     14.3%           23
                    Advanced Rifle Shooting          18.8%     13.7%           22
                    Hunter Education                 17.4%     11.8%           19
                    Gunsmithing                      14.5%      9.9%           16
                    Advanced Shotgun Shooting        12.6%      8.7%           14
                    Reloading                        10.6%      5.0%             8
                    Close Quarters Combat             9.7%      3.7%             6
                    Other                             5.8%      3.7%             6
                    Vehicle Defense                   2.4%      1.2%             2
                    We do not offer any firearm‐
                                                     41.1%     49.1%            79
                    related classes

  Total number of responses in 2018: n = 161




                                                                                                     32

                                              Exhibit 5
                                                0131
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                                     428

  SOCIAL MEDIA AND CURRENT ISSUES

  Which social media platforms does your store use to communicate with customers?

   100.0%

    90.0%

    80.0%

    70.0%

    60.0%

    50.0%
                             89.3%

                                     88.5%
            87.0%

                     77.2%




    40.0%

    30.0%




                                                                                                                                          49.2%
                                                     27.8%




                                                                                      32.9%
    20.0%




                                                                                                                          30.4%
                                                             26.8%




                                                                                               24.1%




                                                                                                                                  23.2%




                                                                                                                                                  21.0%
                                                                              21.0%




                                                                                                       19.7%
                                             20.0%




                                                                     19.7%




                                                                                                                                                          19.0%



                                                                                                                                                                          16.4%
                                                                                                                 11.8%




                                                                                                                                                                  17.0%
    10.0%

     0.0%
                    Facebook                         Google+                          Twitter                            Instagram                        YouTube

                                                                 2014        2015             2016        2018


                     Social Media                                                                                        Responses
                                     2014     2015      2016                                           2018
                       Platform                                                                                            (2018)
                    Facebook         87.4% 77.2% 89.3%                                                 88.5%                      54
                    Google+          20.2% 27.8% 26.8%                                                 19.7%                      12
                    Twitter          21.4% 32.9% 24.1%                                                 19.7%                      12
                    Instagram        11.8% 30.4% 23.2%                                                 49.2%                      30
                    YouTube          21.4% 19.0% 17.0%                                                 16.4%                      10
                    LinkedIn         17.9% 10.1% 11.6%                                                 11.5%                       7
                    Yelp               n/a 11.4% 10.7%                                                 11.5%                       7
                    Pinterest         4.6%      2.5%     8.9%                                           4.9%                       3
                    Other              n/a 19.0%         9.8%                                          14.8%                       9
                    Total number of responses in 2018: n = 61




                                                                                                                                                                  33

                                                                     Exhibit 5
                                                                       0132
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                                     428

  BACKGROUND CHECKS AND OPERATING SYSTEMS

  What percent of firearms sales (if any) in your store(s) use the approved alternate permits (such
  as concealed carry license) when completing a firearm sale? In other words, out of 100 firearms
  sold, what percent do not utilize the NICS system?

                                                                                     Responses
                      2012       2013        2014       2015      2016     2018
                                                                                       (2018)
   Average
                     21.7%       45.0%     43.0%        30.7%     37.0%   38.4%                71
   response

  Question shown only to respondents located in the following states: Alabama, Alaska, Arizona,
   Arkansas, Georgia, Hawaii, Idaho, Iowa, Kansas, Kentucky, Louisiana, Michigan, Minnesota,
  Mississippi, Montana, Nebraska, Nevada, North Carolina, North Dakota, Ohio, South Carolina,
               South Dakota, Texas,, Utah, Washington, West Virginia and Wyoming.




  You are in a state that requires background checks on Private Party Transfers. Approximately
  what percent of total NICS background checks conducted by your store are for such Private
  Party Transfers?

                                                                    # of 2018
                           Percentage           2016      2018
                                                                   Respondents
                    0%                          26.6%     19.3%             21
                    1% to 10%                   50.7%     57.9%             40
                    11% to 20%                   3.8%      7.0%               3
                    21% to 30%                   6.3%     10.5%               5
                    31% to 40%                   3.8%      1.8%               3
                    51% to 60%                   2.5%      0.0%               2
                    61% to 70%                   1.3%      0.0%               1
                    71% to 80%                   0.0%      0.0%               0
                    81% to 90%                   0.0%      0.0%               0
                    91% to 100%                  2.5%      1.8%               2
                    Don't Know                   2.5%      1.8%               2

                    Total Responses (2018)                                   57

      Question shown only to respondents located in the following states: California, Colorado
     Connecticut, Delaware, Illinois, Iowa, Maryland, Massachusetts, Michigan, Nebraska, New
         Jersey, New York, North Carolina, Pennsylvania, Rhode Island, and Washington.




                                                                                                 34

                                             Exhibit 5
                                               0133
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         To the best of your recollection, on average how many firearms are sold per completed Form
         4473?

                                                                                                        # 2016
                        2009    2010     2011     2012     2013    2014     2015     2016     2018
                                                                                                       Responses
Average number of
firearms sold per         1.8      1.1     1.1      1.1    1.1      1.2      1.0       1.1     1.1           50
completed form 4473
          For example, in 2018 there were about 9 Form 4473s completed for every 10 firearms sold.




                                                                                                      35

                                                   Exhibit 5
                                                     0134
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                                      Newtown, CT 06470-2359
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                                         F: 203.426.1087
                                              nssf.org

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                                                Exhibit 5
                                                  0135
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             EXHIBIT "6"




                                   Exhibit 6
                                     0136
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                                     428



                              NSSF® Report

             SPORT SHOOTING
              PARTICIPATION
                           IN THE US IN 2018




                                        Conducted for the
                                        National Shooting Sports Foundation®
                                        by Responsive Management




                                   Exhibit 6
                                     0137
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                                                 Exhibit 6
                                                   0138
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                                    Acknowledgments

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                           responsibility of Responsive Management.




                                           Exhibit 6
                                             0139
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Sport Shooting Participation in the United States
             2009–2019: Overview
                                  This study about sport shooting participation in 2018 (from a survey conducted
      Survey Topics               in 2019) is the latest in a series of studies for the National Shooting Sports
                                  Foundation about this topic. For a decade now, Responsive Management has
• Participation in Target and     conducted biennial surveys to measure sport shooting participation among
  Sport Shooting                  adults in the United States. Each of the studies has looked at the extent of the
• Trends in Participation in      American public’s participation in the full range of shooting sports, allowing an
  Target and Sport Shooting       examination of not only participation rates but trends in participation over time.

• Days of Participation in        The studies showed an increase in overall shooting participation between 2009
  Target and Sport Shooting       and 2014, followed by a leveling off in 2016 and then a further rise in 2018. In
                                  the study, participation rates for 10 shooting sports activities were measured:
• Motivations for in Target and   target shooting with a handgun, target shooting with a rifle, target shooting with
  Sport Shooting                  a modern sporting rifle, target shooting at an outdoor range, target shooting
                                  at an indoor range, long-range shooting, sporting clays, skeet shooting, trap
• Demographic Characteristics
                                  shooting, and 3-gun shooting.
  of Shooters
• Characteristics of New                                    Percent of Adult Americans Who Participated
  Shooters                                                         in Various Shooting Activities
                                                            60

• Characteristics of Those                                             2009 (n=8204)         2012 (n=8335)           2014 (n=5103)       2016 (n=3050)    2018 (n=3000)

  Leaving the Shooting Sports                               40
                                               Percent




• Demographic Characteristics
                                                                        16.3




  of Modern Sporting Rifle
                                                                       14.6
                                                                       14.2




                                                                                  13.7




                                                            20
                                                                                                    12.6
                                                                                 13.5
                                                                     12.0




                                                                                                    12.0
                                                                                 11.9
                                                                                11.4




                                                                                                   11.1
                                                                                10.6




                                                                                                   10.6
                                                                    9.7




  Shooters                                                                                                     7.8




                                                                                                                               7.6
                                                                                                                              6.5
                                                                                                             6.0




                                                                                                                              6.0




                                                                                                                                      5.6
                                                                                                                                      5.6




                                                                                                                                                 5.4
                                                                                                                                                 5.2
                                                                                                             5.1




                                                                                                                                                 4.9



                                                                                                                                                            4.8
                                                                                                                                     4.5




                                                                                                                                                                           4.5
                                                                                                                                                            4.4
                                                                                                                                                            4.3




                                                                                                                                                                           4.3
                                                                                                                             4.2
                                                                                                            6.9




                                                                                                                                                                           4.0
                                                                                                            3.9




                                                                                                                                                                          3.8
                                                                                                                                                3.7
                                                                                                                                     3.7
                                                                                                                                     3.7




                                                                                                                                                           3.3
                                                                                                                                                           3.3
                                                                                                                                                3.1
                                                                                             0.0




                                                                                                                          0.0




                                                                                                                                                                        0.0
                                                             0
• Traditional and
  Nontraditional Pathways
  To Sport Shooting
• Initiation Into Target/Sport
  Shooting
                                                                                                     Multiple Responses Allowed
• Growing Up With Firearms                         *Note that the graph has been enlarged to improve readability; it only displays through 60% rather than 100%.
  and Its Effect on Shooting
  Participation
• Nontraditional Shooters                     Percent of All Hunters and Shooters Who Participated
                                                 in Target Shooting Only, Hunting Only, or Both
• Overlap of Participation in
  Target Shooting and Hunting
                                             100

• Types of Firearms Used in                                                                        2012       2014         2016      2018
  Target/Sport Shooting and                  80
  Hunting
• Likelihood To Go Target or                 60
                                                                                      53.2
                                   Percent




                                                                               51.4
  Sport Shooting in the Future                                        44.2
                                                                                                                   41.1
                                                             38.7                                           37.5
                                             40                                                                            34.7   35.2
• Reasons for Not
  Participating in Target or                 20
                                                                                                                                                   23.8
                                                                                                                                                          17.4
  Sport Shooting and Non-                                                                                                                                        13.9
                                                                                                                                                                        11.6

  Shooters’ Demographic
  Characteristics                             0
                                                         Target shooting, but not hunting                 Hunting and target shooting         Hunting, but not target shooting




                                                                    Exhibit 6
                                                                      0140
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                                                                      Overview Continued
   The 2018 adult participation rate in target/sport shooting overall was 22.2%, which was an increase over the 15.1% rate among adult
    Americans in 2009 and the highest yet measured in these surveys (just slightly ahead of the 21.9% rate in 2014).
   The rates of participation in the various shooting activities are essentially stable compared to 2016: they all rose, but just slightly
    (except long-range shooting, which stayed the same).
                                                                                              Percent of Target Shooters Who Rated Each of the Following
   The most popular types of shooting in 2018 were                                              at the Given Level of Importance to Them as a Reason
    target shooting with a handgun (16.3% of Americans                                                           To Go Target Shooting
    participated), target shooting with a rifle (13.7%),                                                                   Very important         Somewhat important           Not at all important             Don't know

    and target shooting at an outdoor range (12.6%).                                    To be with family or friends                                       71                                         20              9
    There is much crossover in these activities among
    the same people.                                                                               For self defense                                   59                                 22                      19

 A social reason tops the list of the reasons that
                                                                                           For sport and recreation
  people go sport shooting, markedly more important                                                                                                   57                                      33                      10


  than any other reason: to be with family and friends                                   To practice or prepare for
                                                                                                                                                 51                            17                          31
  (71% said it was very important as a reason to go                                               hunting


  shooting). In a second tier are for self defense (59%                                      To mentor a new target
                                                                                                   shooter
                                                                                                                                            42                            23                           34
  said it is very important) and for the sport and
  recreation (57%).                                                                              As part of your job          13       6                                       80

 The South has more sport shooters than any other
                                                                                                                       0                    20                  40             60                     80                   100
  region, by far.                                                                                                                                                    Percent


   Participation in target and sport shooting is correlated with hunting participation, being male, being 18 to 34 years old, and being
    on the rural side of the urban-rural continuum. The regions are very close to the overall percentage, with the Midwest slightly more
    associated with shooting and the Northeast at the lowest percentage of the regions.
   Among the entire population of hunters and sport shooters (those who target shot but did not hunt in 2018, those who hunted but
    did not target shoot, and those who did both), a majority are now non-hunters: 53.2% of the hunting-shooting population were
    non-hunters. There has been a steady trend among the entire hunting-shooting population moving to non-hunting, with 38.7% of
    this population being non-hunters in 2012, 44.2% in 2014, 51.4% in 2016, and now 53.2% being non-hunters in 2018.
                                                                                            New shooters were examined in the study (those initiated within the
       Percent of Each of the Following                                                      previous 5 years): they are more likely than established shooters to go to
       Groups Who Are New Shooters                                                           an indoor range, and they have about the same likelihood to target shoot
                                                                                             with a handgun (on all other types of shooting, established shooters do
         (Among All 2018 Shooters)                                                           it more), and they are less likely than established shooters to have grown
                          Female                            28
                                                                                             up in a family with a firearm. New shooters are more likely to be urban
                                                                                             or from a small city/town, more likely to be female, and more likely to
            18 to 34 years of age                          27
                                                                                             be non-white than are established shooters.
               Northeast Region                            26
                                                                                            In addition to looking at new shooters, the 2019 study included a section
             Did not hunt in 2018                      22
                                                                                             on the participation rates and preferences of non-traditional shooters.
 Lives in urban or suburban area                      18                                     Non-traditional shooters for this analysis are defined as having at least
                   South Region                   16                                         4 of 7 characteristics defined as being non-traditional:
                            Total                 16
                                                                                               • Did not grow up in a household with a firearm
                                                                                               • Was not mentored by a father or other close male relative
                 Midwest Region                   15
                                                                                               • Is ethnically non-white
       Lives in small city or town
              or rural area
                                                  14
                                                                                               • Is female
            35 to 54 years of age                12                                            • First experienced shooting with a handgun or modern sporting rifle
                             Male                11                                            • Was not initiated into shooting until an adult
                    West Region              8                                                 • Lives in an urban or suburban area
                  Hunted in 2018         7                                                  Similar to the last report, the findings show that nontraditional shooters
         55 years of age or older        5
                                                                                             are associated with shooting handguns at indoor ranges for self-defense
                                                                                             practice. Target shooting at an indoor range was the most markedly
                                     0            20             40     60   80   100
                                                                  Percent
                                                                                             different activity when comparing nontraditional and traditional shooters:
                                                                                             54% of nontraditional shooters did this, which is more than double
    The influx of new shooters continues to be disproportionately                            the rate among traditional shooters, whose rate is 26%. The only other
    made up of females, younger people, non-hunters, and those                               activity with a higher rate among the nontraditional shooters (77%) than
    from urban and suburban areas.                                                           the traditional shooters (72%) is target shooting with a handgun.

                                                                                           Exhibit 6
                                                                                             0141
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                                                 428
  Sport Shooting Participation in the United States in 2018                i


  EXECUTIVE SUMMARY
  INTRODUCTION AND METHODOLOGY
  This 2019 shooting participation report (about participation in 2018) is the latest in a series of
  studies conducted for the National Shooting Sports Foundation(R) (NSSF) by Responsive
  Management. Earlier studies were conducted regarding participation in 2009, 2012, 2014, and
  2016. The goal of these studies was to determine the regional and national participation rates in
  target shooting and sport shooting. Following the methodology of previous studies, this study
  entailed a telephone survey of U.S. residents ages 18 years old and older, using a probability-
  based random sample that is fully reflective of the U.S. population as a whole.

  For the survey, telephones were selected as the preferred sampling medium because of the
  almost universal ownership of telephones, particularly with the coverage provided by dual-frame
  samples that include both cell phones and landlines.

  NSSF and Responsive Management developed the survey questionnaire cooperatively, based in
  part on the previous surveys. Responsive Management conducted pre-tests of the questionnaire
  to ensure proper wording, flow, and logic in the survey.

  The probability-based random sample was fully reflective of the U.S. population as a whole, and
  each U.S. resident had an approximately equal chance of being in the sample. The methodology
  used a dual-frame sample, which consisted of a random sample of landline telephone numbers
  and a random sample of cell phone numbers, called in their proper proportions, which ensures
  that all people in the pool of telephone users have an approximately equal chance of being called.
  The scientific sampling plan entailed obtaining a target number of interviews in each state, from
  both landlines and cell phones in their proper proportions, so that the number of respondents in
  each state in the sample would be proportional to the state’s population and, by extension, within
  the United States population as a whole.

  The software used for data collection was Questionnaire Programming Language. The analysis
  of data was performed using IBM SPSS Statistics as well as proprietary software developed by
  Responsive Management. The survey was conducted in January and February 2019; note that the
  report shows participation in 2018. Responsive Management obtained 3,000 completed
  interviews.

  PARTICIPATION IN TARGET AND SPORT SHOOTING
  The 2018 rate of target/sport shooting participation was 22.2% of the U.S. adult population,
  which means an estimated 52.1 million adults participated in any type of target or sport shooting
  last year. As shown in the graph that follows, the most popular types were target shooting with a




                                              Exhibit 6
                                                0142
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  ii                                                      Responsive Management

  handgun (16.3% participated), target shooting with a rifle (13.7%), and target shooting at an
  outdoor range (12.6%). The actual numbers of participants are tabulated following the graph.


                                      Percentage of adult U.S. residents participating in
                                       the following sport shooting activities in 2018.

                                          Target shooting with a handgun                  16.3

                                                Target shooting with a rifle             13.7

                                      Target shooting at an outdoor range                12.6

                               Target shooting with a modern sporting rifle          7.8
  Multiple Responses Allowed




                                       Target shooting at an indoor range           7.6

                                                             Sporting clays         5.6
                                                                                                            8.0% did
                                                                                                           any type of
                                                            Skeet shooting          4.9                    clay target
                                                                                                            shooting
                                                             Trap shooting         4.4

                                                      Long-range shooting          4.0

                                                            3-gun shooting         1.7

                                                                               0         20       40      60      80     100
                                                                                              Percent (n=3000)


  National Participation in Target and Sport Shooting in 2018
                                             Estimated Total 95% Confidence Interval
                                               Participants
  Activity
                                              (ages 18 years Lower Limit Upper Limit
                                                and older)
  National
                       Any target shooting or sport shooting                         52,073,224            48,651,186      55,495,261
                       Target shooting with a handgun                                38,182,610            34,552,641      41,812,579
                       Target shooting with a rifle                                  32,169,412            29,240,229      35,098,595
                       Target shooting at an outdoor range                           29,636,581            26,916,788      32,356,374
                       Target shooting with a modern sporting rifle                  18,327,314            15,685,186      20,969,443
                       Target shooting at an indoor range                            17,912,845            16,332,772      19,492,917
                       Sporting clays                                                13,174,752            11,186,816      15,162,687
                       Skeet shooting                                                11,563,358            10,052,938      13,073,777
                       Trap shooting                                                 10,227,286             8,624,961      11,829,612
                       Long-range shooting                                            9,272,382             7,198,993      11,345,771
                       3-gun shooting                                                 4,020,531             2,280,968       5,760,094
                       Any clays (sporting clays, skeet, trap)                       18,765,126            17,162,800      20,367,451




                                                                           Exhibit 6
                                                                             0143
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  Sport Shooting Participation in the United States in 2018               iii


  TRENDS IN PARTICIPATION IN TARGET AND SPORT SHOOTING
  The 2018 adult participation rate in target/sport shooting overall was 22.2%, which was an
  increase over the 15.1% rate among adult Americans in 2009 and the highest yet measured in
  these surveys (just slightly ahead of the 21.9% rate in 2014). The rates of participation in the
  various shooting activities are essentially stable compared to 2016: they all rose, but just slightly
  (except long-range shooting, which stayed the same). Note that the graph shows the rate of
  participation; the tabulation shows the estimated numbers of participants. The estimated number
  of target/sport shooters in 2018 increased 5.5% compared to the 2016 number.

                          I'd like to know about the types of shooting that you did in [2009
                          / 2012 / 2014 / 2016 / 2018]. Did you do any of the following? Did
                                      you go...? (Asked of all survey participants.)
            100
                             2009 (n=8204)                   2012 (n=8335)                  2014 (n=5103)           2016 (n=3050)        2018(n=3000)
             80
  Percent




             60

             40

             20           15 14 16                14
                  10 12              11 11 1412              11 12 11 13
                                                                                      6 8        4 6 7
                                                                                                       8
                                                                                                             4 4 6 5 6
                                                                            4 5   7                                      3 5 5 4 5    3 4 5 3 4        4 5 4 4
                                                         0                                   0                                                     0
              0
                   Target              Target       Target    Target   Target   Sporting                                  Skeet         Trap   Long-range
                  shooting            shooting shooting at shooting shooting at  clays                                   shooting     shooting shooting
                   with a            with a rifle an outdoor  with a  an indoor                                                                  such as
                  handgun                           range    modern    range                                                                   shooting at
                                                             sporting                                                                            targets
                                                               rifle                                                                            more than
                                                                                                                                                500 yards
                                                                                                                                                  away
                                                                           Multiple Responses Allowed


                                                                                                                                                   % Change
  Activity                                                                        Estimated Total Participants*                                   Compared to
                                                                                                                                                     2016
  National                                             in 2009               in 2012               in 2014           in 2016         in 2018
   Any target shooting or sport
                                                       34,382,566            40,779,651            51,226,765        49,361,637      52,073,224         + 5.5
   shooting
   Target shooting with a
                                                       22,169,700            28,209,283            34,221,107        33,276,976      38,182,610        + 14.7
   handgun
   Target shooting with a rifle                        24,045,795            26,822,425            31,764,116        27,949,753      32,169,412        + 15.1
   Skeet shooting                                       6,979,680            12,090,346            12,596,361         8,626,450      11,563,358        + 34.0
   Target shooting with a
                                                        8,868,085            11,976,702            16,267,924        13,986,528      18,327,314        + 31.0
   modern sporting rifle
   Trap shooting                                        7,582,479            10,116,684            11,227,278         7,855,875      10,227,286        + 30.2
   Sporting clays                                       8,399,989             8,789,340            13,033,633        10,545,394      13,174,752        + 24.9
   Long-range shooting                                         na             9,972,991            10,434,630         8,881,155       9,272,382         + 4.4
   3-gun shooting                                              na             4,127,049             3,837,132         3,902,990       4,020,531         + 3.0
  *Ages 18 years old and older




                                                                                       Exhibit 6
                                                                                         0144
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  iv                                                      Responsive Management


  DAYS OF PARTICIPATION IN TARGET AND SPORT SHOOTING
                                                                                     Mean Days Median Days
  The mean and median days spent
                                                                                      Spent on   Spent on
  in the various shooting activities,         Activity
                                                                                     Activity in Activity in
  among those who participated in
                                                                                        2018       2018
  each activity, are shown at the             National
  right. Nationally, 3-gun shooting             Target shooting with a traditional
                                                                                          11.3             5
  is the activity with the highest              rifle
                                                Target shooting with a modern
  mean days of participation; the               sporting rifle
                                                                                          15.3             5
  next nearest activities are target            Target shooting with a handgun            12.4             5
  shooting with a modern sporting               Trap shooting                             11.0             3
  rifle and sporting clays.                     Skeet shooting                             9.8             4
                                                Sporting clays                            14.8             3
                                                3-gun shooting                            23.8             5
                                                Long-range shooting                       11.4             5
                                                Shooting at a range                       10.0             4


  MOTIVATIONS FOR TARGET AND SPORT SHOOTING
           Percent of target shooters who indicated each of
                the following was at the given level of
             importance to them as a reason to go target
                               shooting.

      Very important   Somewhat important     Not at all important    Don't know


                                                                                      A social reason tops the
   To be with family                                                                  list, markedly more
      or friends                         71                       20           9
                                                                                      important than any other
                                                                                      reason: to be with family
                                                                                      and friends (71% said it
    For self defense                59                     22             19
                                                                                      was very important). In a
                                                                                      second tier are for self
       For sport and                                                                  defense (59% said it is
        recreation                  57                       33            10         very important) and for the
                                                                                      sport and recreation
      To practice or                                                                  (57%). (The graph is
       prepare for                51                 17              31               ranked by the percentage
         hunting
                                                                                      saying very important.)
   To mentor a new
    target shooter             42                23                  34


     As part of your
          job              13 6                      80

                       0      20         40      60    80                      100
                                       Percent (n=853)




                                                    Exhibit 6
                                                      0145
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                                                 428
  Sport Shooting Participation in the United States in 2018                v


  DEMOGRAPHIC CHARACTERISTICS OF SHOOTERS
  The demographic makeup of shooters was explored through crosstabulations. Participation in
  target and sport shooting is correlated with hunting participation, being male, being 18 to 34
  years old, and being on the rural side of the urban-rural continuum. The regions are very close to
  the overall percentage, with the Midwest slightly more associated with shooting and the
  Northeast at the lowest percentage of the regions.

  The graph below shows the rate of target/sport shooting participation in the population as a
  whole (22.2%, the bar that is patterned in the middle of the graph). Those demographic groups
  above the patterned bar have participation rates higher than the overall rate. For instance, 32.7%
  of males participated in target/sport shooting, compared to only 12.2% of females, shown in the
  last bar at the bottom of the graph.


                  Percent of each of the following groups who
                 participated in target or sport shooting in 2018:


                          Hunted in 2018                                 75.2
                                     Male                 32.7                      Examples Explaining
                                                                                    How to Interpret Graph:
                      18-34 years of age                 27.3                       75.2% of hunters went
                                                                                    target or sport shooting in
  Lives in small city or town or rural area              26.4                       2018 (meaning that 24.8%
                                                                                    of hunters did not go
                      35-54 years of age                 26.2                       target or sport shooting in
                                                                                    2018)
                         Midwest Region                24.4
                                                                                    32.7% of males went
                             West Region               22.8                         target shooting in 2018
                                                                                    (meaning that 70.3% of
                                                                                    males did not go target
                                     Total             22.2                         shooting)

                            South Region               22.0                         27.3% of respondents
                                                                                    18-34 years old went
                        Northeast Region            19.3                            target shooting (meaning
                                                                                    that 72.7% of people in
         Lives in urban or suburban area           18.0                             that age group did not go
                                                                                    target shooting)
                 55 years of age or older          16.2                             These are all above the
                                                                                    national rate (22.2%),
                     Did not hunt in 2018         15.1                              shown by the striped bar

                                  Female          12.2

                                              0   20      40     60     80    100
                                                                      Percent




                                                  Exhibit 6
                                                    0146
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                                     428
  vi                                                      Responsive Management


  CHARACTERISTICS OF NEW SHOOTERS
  For this analysis, new shooters were defined as those who started shooting within the past
  5 years. The analysis first shows that 15.6% of those who participated in target or sport shooting
  in 2018 were first initiated into the shooting sports within the previous 5 years. The analysis
  looked at the group of all target/sport shooters and then separated out new shooters and
  compared them to established shooters.

  The comparison included the series of questions regarding motivations for target/sport shooting.
  For each reason, established shooters have a higher percentage saying that it is a very important
  reason for shooting, particularly shooting for sport and recreation, to prepare for hunting, and to
  mentor a new shooter. The fact that every single question in the series has a higher percentage of
  established shooters naming it as a very important reason suggests that established shooters are
  stronger in their reasons that they shoot.

  Types of shooting done by new shooters versus established shooters show some marked
  differences. New shooters, compared to established shooters, are less likely to go target shooting
  with a rifle, less likely to shoot a modern sporting rifle, less likely to do any clay target shooting,
  and less likely to go to an outdoor range. On the other hand, new shooters are more likely to go
  to an indoor range. The two groups are about the same on shooting with a handgun. Taken as a
  whole, these results suggest that new shooters are shooting handguns at indoor ranges.

  In looking at the types of firearms, established shooters have a markedly higher percentage using
  each type of equipment, although they are closest together in handgun use.

  CHARACTERISTICS OF THOSE LEAVING THE SHOOTING SPORTS
  As was done in the last report, this analysis uses a proxy for those leaving the shooting sports.
  This proxy group consists of those who shot in 2018 but in the survey said that they are not
  likely to go shooting in the next 2 years. The demographic characteristics of these people were
  then compared to those of new shooters (discussed previously). The data suggest that those
  leaving the sport are not the same as those coming into it (answering the question of whether
  many of those who came into the sport in the past few years had simply tried it, had not enjoyed
  it, and were now leaving it), as those leaving tend to be older than new shooters, and they tend to
  be more male than new shooters.

  There are also marked differences in residency: those leaving the sport of shooting are more
  likely than new shooters to come from a small city or town or a rural area. Finally, those leaving
  the sport are more likely than new shooters to have grown up in a family with firearms. Taken
  together, these results suggest that those leaving the sport are older established male shooters.




                                                Exhibit 6
                                                  0147
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  Sport Shooting Participation in the United States in 2018               vii


  DEMOGRAPHIC CHARACTERISTICS OF MODERN SPORTING RIFLE SHOOTERS
  One aspect of the analysis looked at the demographic makeup of modern sporting rifle shooters.
  The top association is with those who hunted (although this does not mean the modern sporting
  rifle was used for hunting; it may have been, but not necessarily). In addition, positive
  correlations were found with being male and being 18-54 years old. The groups with
  participation rates in shooting a modern sporting rifle that are higher than the rate overall are at
  the top of the graph, above the percentage of U.S. residents overall who used a modern sporting
  rifle (7.8%, shown by the striped bar).


                Percent of each of the following
                groups who shot with a modern
                     sporting rifle in 2018:

                                                                             Examples Explaining
                      Hunted in 2018                   32.1                  How to Interpret Graph:

                                 Male           13.7                         32.1% of those who hunted
                                                                             in 2018 also target shot
                  35-54 years of age            10.4                         with a modern sporting
                                                                             rifle (meaning that 67.9%
                                                                             of those who hunted in
                  18-34 years of age           9.5                           2018 did not target shoot
   Lives in small city or town or rural                                      with a modern sporting
                  area                         8.6                           rifle) (note that these
                                                                             respondents did not
                    Northeast Region           8.2                           necessarily use their
                                                                             modern sporting rifle for
                        South Region           8.1                           hunting)

                     Midwest Region            7.9                           10.4% of U.S. residents 35
                                                                             to 54 years old and 9.5% of
                                 Total         7.8                           residents 18 to 34 years old
                                                                             target shot with a modern
     Lives in urban or suburban area           7.2                           sporting rifle

                         West Region           7.1                           These are all above the rate
                                                                             among U.S. residents
                                                                             overall (7.8%) who target
             55 years of age or older         4.8                            shot with a modern
                                                                             sporting rifle, shown by the
                 Did not hunt in 2018         4.6                            striped bar

                              Female          2.3

                                          0     20     40 60 80   100
                                                        Percent




                                                     Exhibit 6
                                                       0148
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  viii                                                    Responsive Management


  OVERLAP OF PARTICIPATION IN TARGET SHOOTING AND HUNTING
  The proportions of the hunting/shooting pool of participants who went target shooting, hunting
  with firearms, or both in 2018 are shown in the pie graph below. The entire pie consists of those
  who either hunted with firearms or went target/sport shooting. More than half of this pool went
  target/sport shooting but did not hunt.


                 Breakdown of those who went target
                     shooting or hunting in 2018.
                          11.6

                                                                       Target shooting, but not
                                                                       hunting
                                                                       Hunting and target
                                                  53.2                 shooting
                 35.2                                                  Hunting, but not target
                                                                       shooting




  A trend graph shows that hunting exclusive of target/sport shooting has declined over the given
  time period from 2012, when it made up 23.8% of the hunter/shooter pool, to 2018, when it
  made up only 11.6% of the pool.


                         Breakdown of those who went target shooting or
                                           hunting.
        100
                                                                       2012     2014      2016      2018
            80

            60                        51.4 53.2
  Percent




                               44.2
                        38.7                                    41.1
                                                         37.5
            40                                                         34.7 35.2

                                                                                            23.8
                                                                                                   17.4
            20                                                                                            13.9 11.6


            0
                   Target shooting, but not          Hunting and target shooting           Hunting, but not target
                           hunting                                                               shooting




                                                          Exhibit 6
                                                            0149
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  Sport Shooting Participation in the United States in 2018                ix


  TYPES OF FIREARMS USED IN TARGET OR SPORT SHOOTING AND HUNTING
  The following graph shows the percentages of target or sport shooters using various types of
  firearms (in total, 22.2% of all U.S. residents went target or sport shooting). Handguns and
  traditional rifles top the list, closely followed by shotguns. For each of these three types, a
  majority of those who go target or sport shooting use it.



                                  Which of the following firearms or equipment did you
                                   use when target shooting in 2018? (Asked of those
                                      who went target or sport shooting in 2018.)



                                             Handgun                                      71
  Multiple Responses Allowed




                                       Traditional rifle                             59




                                              Shotgun                           53




                                  Modern sporting rifle                  34

                                                                                                                    Shot in
                                                                                                             22.2   2018
                                               Air rifle            20
                                                                                                                    Did not
                                                                                                      77.8          shoot in
                               Black powder firearm or                                                              2018
                                                               12
                                    muzzleloader


                                                           0   20        40      60        80   100

                                                                    Percent (n=853)




                                                                              Exhibit 6
                                                                                0150
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  x                                                       Responsive Management

  Identical to the previous survey, this survey asked those who hunted to indicate the various
  firearms or equipment they used while hunting in 2018. Among firearm hunters, shotguns and
  traditional rifles top the list (68% and 63%, respectively), and about a quarter use modern
  sporting rifles, black powder firearms, and handguns as part of their hunting (all within the range
  of 24% to 25%). Additionally, 44% of firearm hunters used archery at some point, as well.

                                       Please indicate which of the following you used
                                        for hunting in 2018. What about...? (Asked of
                                       those who went hunting with firearms in 2018.)


                                               Shotgun                                      68



                                        Traditional rifle                               63
   Multiple Responses Allowed




                                    Archery equipment                           44



                                Black powder firearm or
                                                                     25
                                     muzzleloader



                                   Modern sporting rifle             24



                                              Handgun                24


                                                            0   20          40       60          80   100
                                                                          Percent (n=410)




                                                                Exhibit 6
                                                                  0151
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  Sport Shooting Participation in the United States in 2018                xi


  LIKELIHOOD TO GO TARGET OR SPORT SHOOTING IN THE FUTURE
  Overall, 21% of adult Americans say that it is very likely they will go shooting in the next
  2 years. This includes both those who shot in 2018 and those who did not. In looking at those
  who did not go shooting in 2018, a little under a third of those who did not go target or sport
  shooting in 2018 show some interest in target or sport shooting, with 30% saying either that they
  are very likely or somewhat likely to participate in target or sport shooting in the following
  2 years.

  Demographic analyses compare those who say that they are very likely to those who are not at
  all likely, thereby giving a little insight into these people. The crosstabulations are first analyzed
  among those who did not go shooting in 2018. This looks at those who said that they are very
  likely to go shooting, and then it looks at those who said that they are not at all likely as a
  baseline.

  Among those who did not go shooting in 2018, men show a little more interest in target/sport
  shooting. Men make up 55% of those very likely to shoot but only 37% of those not at all likely
  to shoot in the next 2 years (note that this is among non-shooters in 2018). The middle-aged
  people have a greater propensity to say that they are very likely to go target/sport shooting in the
  next 2 years, compared to either the youngest category or the two oldest categories. Suburban
  non-shooters are positively correlated with being very likely to go shooting in the next 2 years.
  Regionally, the South shows a slightly greater percentage in the very-likely-to-shoot category.

  Note that the above looked at those who had not participated in target or sport shooting in 2018.
  Those who had participated in 2018 were also asked the same question about likelihood to
  participate in the coming 2 years. Of 2018 sport shooting participants, 59% are very likely to go
  sport shooting in the following 2 years, and 20% are somewhat likely (a sum of 79% who plan to
  continue in the sport). The same demographic analyses were run comparing those who are very
  likely to those who are not at all likely, among those who shot in 2018.

  The gender crosstabulations found that women appear to be more likely to drop out of
  target/sport shooting: females make up only 23% of those who had shot in 2018 and are very
  likely to shoot in the next 2 years, while they make up 41% of those who had shot in 2018 but
  are unlikely to shoot in the next 2 years.

  There is no consistent finding regarding age, as those 2018 shooters who are, nonetheless, not at
  all likely to go shooting in the next 2 years are higher than their counterparts in both the youngest
  age grouping and the oldest.

  The place-of-residence crosstabulation found that rural areas have a higher representation of
  2018 shooters who are not at all likely to go shooting, compared to those shooters who plan to
  continue shooting in the next 2 years.

  Finally, the regional crosstabulation found that the Northeast Region is negatively associated
  with being likely to shoot in the next 2 years, among 2018 shooters.




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  NONTRADITIONAL SHOOTERS
  Seven characteristics were used to identify nontraditional shooters. Each variable was made to be
  dichotomous, meaning each had two sides: a variable had either a traditional or nontraditional
  side. Most of these characteristics were based on a single survey question, but two characteristics
  were based on the results of multiple questions. The characteristics and the question responses on
  which they are based are shown in the tabulation that follows.

  Nontraditional Characteristic                             Question Used as Basis
                                          When you were growing up, did your family own any
  Not growing up in a household with a firearms?
  firearm that was actively used at least (IF YES) When you were growing up, about how many
  two times per year                      times per year did someone in your family use the firearm
                                          for target shooting?
  Did not shoot until an adult            How old were you when you first went target shooting?
  First experienced shooting with a       Which of the following firearms did you use when you
  handgun or a modern sporting rifle      first learned how to target shoot?
                                          Did you have a person or group who taught you how to
  Not mentored by a father or other
                                          shoot?
  close male relative
                                          (IF YES): Who or which group taught you?
                                          What races or ethnic backgrounds do you consider
  Ethnically non-white
                                          yourself? Please mention all that apply.
  Female                                  Observe and record respondent’s gender.
                                          Do you consider your place of residence to be a large city
                                          or urban area, a suburban area, a small city or town, a rural
  Urban/suburban
                                          area on a farm or ranch, or a rural area not on a farm or
                                          ranch?

  For the purposes of this analysis, a respondent was nontraditional if four of the seven
  characteristics were nontraditional—in other words, if more than half of the characteristics were
  in the nontraditional side of the dichotomy. In the sample of shooters, 29.6% had at least four of
  the seven variables in the nontraditional side; 70.4% of shooters were considered traditional.
  These two groups (traditional and nontraditional shooters) were then crosstabulated by region, by
  their reasons for shooting, by what shooting activities they did, by the types of firearms they
  shot, and by the number of days that they did various shooting activities.

  The findings show that nontraditional shooters are associated with shooting handguns at indoor
  ranges for self-defense practice.

  Regionally, one region is markedly lower in percentage of nontraditional shooters: the Midwest
  Region has only 21% of shooters being nontraditional, compared to 31% to 34% of the other
  regions.

  For each possible reason to shoot, nontraditional shooters think it is less important than do
  traditional shooters with two exceptions, the more important of these two being shooting for self-
  defense practice, which 65% of nontraditional shooters but only 57% of traditional shooters
  consider to be a very important reason to go shooting (the other exception is shooting for a job,
  which is so low in importance among both groups it can be ignored here). On all other reasons,
  the traditional shooters have a higher percentage thinking it to be very important, in particular,



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  preparing for hunting (59% of traditional shooters, compared to 31% of nontraditional shooters
  think this is very important) and mentoring another shooter (49% to 24%, respectively).

  Target shooting at an indoor range was the most markedly different activity when comparing
  nontraditional and traditional shooters: 54% of nontraditional shooters did this, which is more
  than double the rate among traditional shooters, whose rate is 26%. The only other activity with a
  higher rate among the nontraditional shooters (77%) than the traditional shooters (72%) is target
  shooting with a handgun. For all other activities, traditional shooters have a higher rate of
  participation, particularly target shooting with a rifle and clay sports.

  Regarding types of firearms, only handgun has a higher rate of use among nontraditional
  shooters (71% of nontraditional shooters, compared to 70% of traditional shooters, which is
  actually within the margin of error). Otherwise, all other types of firearms have a higher rate of
  use among traditional shooters, with the largest difference being use of shotguns: while 37% of
  nontraditional shooters used them, 59% of traditional shooters used them in 2018.

  REASONS FOR NOT PARTICIPATING IN TARGET OR SPORT SHOOTING
  The survey asked those who did not participate in target/sport shooting for their reasons for not
  doing so (77.8% of U.S. residents did not go target or sport shooting in 2018). While simple lack
  of interest is, by far, the top reason (55% of those who did not target or sport shoot), other
  important reasons include lack of time because of family or work obligations (16%), lacking a
  firearm (also 16%), and age/health (7%).




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  INTRODUCTION AND METHODOLOGY
  This 2019 shooting participation report (about participation in 2018) is the latest in a series of
  studies conducted for National Shooting Sports Foundation (NSSF) by Responsive Management.
  Earlier studies were conducted regarding participation in 2009, 2012, 2014, and 2016. The goal
  of these studies was to determine the regional and national participation rates in target shooting
  and sport shooting. Following the methodology of previous studies, this study entailed a
  telephone survey of U.S. residents ages 18 years old and older, using a probability-based random
  sample that is fully reflective of the U.S. population as a whole. Specific aspects of the research
  methodology are discussed below.

  USE OF TELEPHONES FOR THE SURVEY
  For the survey, telephones were selected as the preferred sampling medium because of the almost
  universal ownership of telephones, particularly with the coverage provided by dual-frame
  samples that include both cell phones and landlines.

  QUESTIONNAIRE DESIGN
  NSSF and Responsive Management developed the survey questionnaire cooperatively, based in
  part on the previous surveys. As in those previous surveys on sport shooting participation, the
  survey used a “ruse” line of questioning at the beginning of the survey. This was done because
  the main objective of the survey was to determine national and regional participation rates in the
  shooting sports, and the survey was worded to avoid bias that would arise from the tendency for
  those who do not shoot to refuse to participate in a survey about shooting. Therefore, the survey
  starts by asking about some general activities, mixing shooting and hunting participation in with
  participation in other non-shooting activities. Responsive Management conducted pre-tests of the
  questionnaire to ensure proper wording, flow, and logic in the survey.

  SURVEY SAMPLE
  The probability-based random sample was fully reflective of the U.S. population as a whole, and
  each U.S. resident had an approximately equal chance of being in the sample. The methodology
  used a dual-frame sample, which consisted of a random sample of landline telephones and a
  random sample of cell phone numbers, which ensures that all telephone users have an
  approximately equal chance of being called. The scientific sampling plan entailed obtaining a
  target number of interviews in each state, from both landlines and cell phones, so that the number




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  of respondents in each state in the sample would be proportional to the state’s population and, by
  extension, within the United States population as a whole.

  The probability-based sample was obtained from Dynata (previously known as SSI), a company
  that specializes in providing scientifically valid telephone survey samples. The overall sample
  with landlines and cell phones was representative of all Americans 18 years old and older.

  TELEPHONE INTERVIEWING FACILITIES
  A central polling site in Responsive Management’s national office allowed for rigorous quality
  control over the interviews and data collection. Responsive Management maintains its own
  in-house telephone interviewing facilities. These facilities are staffed by interviewers with
  experience conducting computer-assisted telephone interviews on the shooting sports, as well as
  outdoor recreation and natural resources in general.

  Responsive Management has interviewers who have been trained according to the standards
  established by the Council of American Survey Research Organizations, thereby ensuring the
  integrity of the telephone survey data. Instruction methods included lecture and role-playing. The
  Survey Center Managers and Research Associates conducted project briefings with the
  interviewers prior to the administration of this survey, instructing them on study goals and
  objectives, handling of survey questions, qualifiers for participation, interviewer instructions
  within the survey instrument, reading of the survey instrument, skip patterns, and probing and
  clarifying techniques necessary for specific questions on the survey instrument.

  INTERVIEWING DATES AND TIMES
  Survey calling times are Monday through Friday from noon to 9:00 p.m., Saturday from noon to
  5:00 p.m., and Sunday from 5:00 p.m. to 9:00 p.m., local time. A five-callback design was used
  to maintain the representativeness of the sample, to avoid bias toward people easy to reach by
  telephone, and to provide an equal opportunity for all to participate. When a respondent could
  not be reached on the first call, subsequent calls were placed on different days of the week and at
  different times of the day. The survey was conducted in January and February 2019; note that the
  report shows participation in 2018. Responsive Management obtained 3,000 completed
  interviews.

  TELEPHONE SURVEY DATA COLLECTION AND QUALITY CONTROL
  The software used for data collection was Questionnaire Programming Language (QPL). The
  survey data were entered into the computer as each interview was being conducted, eliminating
  manual data entry after the completion of the survey and the concomitant data entry errors that
  may occur with manual data entry. The survey questionnaire was programmed so that QPL
  branched, coded, and substituted phrases in the survey based on previous responses to ensure the
  integrity and consistency of the data collection. (Note that QPL only directs which computer
  screen comes up; a live interviewer still conducts the survey and enters the responses.)

  The Survey Center Managers and statisticians monitored the data collection, including
  monitoring of the actual telephone interviews without the interviewers’ knowledge, to evaluate
  the performance of each interviewer and ensure the integrity of the data. The survey
  questionnaire itself contained error checkers and computation statements to ensure quality and



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  Sport Shooting Participation in the United States in 2018                3

  consistent data. After the surveys were obtained by the interviewers, the Survey Center
  Managers and/or statisticians checked each completed survey to ensure clarity and completeness.

  DATA ANALYSIS
  The analysis of data was performed using IBM Statistical Package for the Social Sciences
  (known as IBM SPSS) as well as proprietary software developed by Responsive Management.
  There were set goals for the numbers of interviews in each state. In the raw data, the
  demographic breakdown of the resulting sample was very close to the reported demographic
  breakdown of the population as a whole in each state, according to U.S. Census data. However,
  the results were slightly weighted by age and gender to be exactly proportional to the total
  population of each region (U.S. Census Bureau regions, which are those also used by the U.S.
  Fish and Wildlife Service) and of the United States as a whole.

  In the analysis, each state was sampled proportionately to preserve proper distribution within
  each region and in the U.S. as a whole; the analysis was conducted on a regional basis and on the
  U.S. as a whole, but not at the state level. The number of completed interviews from each state is
  shown in the tabulation below:

  Completed Interviews by State, 2019 Survey
  State of           Completed     State of           Completed     State of           Completed
  Residence          Interviews    Residence          Interviews    Residence          Interviews
  Alabama                    49    Louisiana                  48    Ohio                     104
  Alaska                      6    Maine                      15    Oklahoma                   29
  Arizona                    70    Maryland                   56    Oregon                     41
  Arkansas                   28    Massachusetts              60    Pennsylvania             128
  California               351     Michigan                   97    Rhode Island               12
  Colorado                   55    Minnesota                  51    South Carolina             47
  Connecticut                24    Mississippi                22    South Dakota                8
  Delaware                   11    Missouri                   57    Tennessee                  64
  Florida                  200     Montana                    11    Texas                    270
  Georgia                    99    Nebraska                   19    Utah                       24
  Hawaii                      4    Nevada                     28    Vermont                     6
  Idaho                      16    New Hampshire              14    Virginia                   79
  Illinois                 104     New Jersey                 74    Washington                 69
  Indiana                    61    New Mexico                 20    West Virginia              15
  Iowa                       42    New York                 166     Wisconsin                  49
  Kansas                     36    North Carolina             95    Wyoming                     8
  Kentucky                   41    North Dakota                6    Washington D.C.            11
                                                                    TOTAL                  3,000

  As mentioned, the states were grouped into regions to aid in comparison and analysis. The four
  main U.S. Census Bureau regions were used, as shown on the map on the following page from
  the U.S. Census Bureau website.




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  SAMPLING ERROR
  Throughout this report, findings of the telephone survey are reported at a 95% confidence
  interval. For the entire sample, the sampling error is at most plus or minus 1.79 percentage
  points. This means that if the survey were conducted 100 times on different samples that were
  selected in the same way, the findings of 95 out of the 100 surveys would fall within plus or
  minus 1.79 percentage points of each other. Sampling error was calculated using the formula
  described below, with a sample size of 3,000 and a population size of 252,063,800 United States
  residents 18 years old and older (population data obtained from the U.S. Census Bureau).

  Sampling Error Equation

          Np (.25)       
                   − .25               Where:     B = maximum sampling error (as decimal)
  B=        Ns           (1.96)                   NP = population size (i.e., total number who could be surveyed)
              Np − 1                              NS = sample size (i.e., total number of respondents surveyed)
                         
                         
  Derived from formula: p. 206 in Dillman, D. A. 2000. Mail and Internet Surveys. John Wiley & Sons, NY.

      Note: This is a simplified version of the formula that calculates the maximum sampling error using a 50:50 split
      (the most conservative calculation because a 50:50 split would give maximum variation).




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  SURVEY RESULTS
  PARTICIPATION IN TARGET AND SPORT SHOOTING
  In 2018, the rate of target/sport shooting participation in the United States was 22.2%, among the
  U.S. adult population. This extrapolates to an estimated 52.1 million adults participating in any
  type of target or sport shooting in 2018. As shown in the graph that follows, the most popular
  types were target shooting with a handgun (16.3% participated), target shooting with a rifle
  (13.7%), and target shooting at an outdoor range (12.6%). Note that respondents could have done
  more than one shooting activity. The actual numbers of participants are presented in a tabulation
  following the regional graphs.


                                    Percentage of adult U.S. residents participating in
                                     the following sport shooting activities in 2018.


                                   Target shooting with a handgun                  16.3

                                        Target shooting with a rifle              13.7

                               Target shooting at an outdoor range                12.6

                                    Target shooting with a modern
                                                                             7.8
  Multiple Responses Allowed




                                             sporting rifle

                                Target shooting at an indoor range           7.6

                                                     Sporting clays          5.6

                                                    Skeet shooting           4.9                    8.0% did
                                                                                                   any type of
                                                                                                   clay target
                                                                                                    shooting
                                                     Trap shooting          4.4

                                              Long-range shooting           4.0

                                                    3-gun shooting          1.7

                                                                        0         20      40     60   80         100
                                                                                       Percent (n=3000)




                                                                       Exhibit 6
                                                                         0160
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  The regional graph is presented below, followed by an individual graph for each region with the
  activities ranked from highest to lowest participation in each region.


                                    Percentage of adult U.S. residents participating
                                      in the following sport shooting activities in
                                                         2018.
                                                                                       14.8
                                                                                        17.1
                                     Target shooting with a handgun                     16.9
                                                                                       15.6

                                                                                      12.2
                                                                                       13.4
                                          Target shooting with a rifle                  15.0
                                                                                       14.2

                                                                                     11.1
                                                                                     11.8           Northeast Region (n=499)
                                 Target shooting at an outdoor range                  14.2
                                                                                      13.7
                                                                                                    South Region (n=1164)
                                                                                8.2                 Midwest Region (n=634)
                    Target shooting with a modern sporting                      8.1
                                     rifle                                      7.9                 West Region (n=703)
                                                                                7.1

                                                                                7.6
                                                                                8.0
                                  Target shooting at an indoor range
    Multiple Responses Allowed




                                                                                7.8
                                                                                7.0

                                                                               5.0
                                                                               5.3
                                                       Sporting clays           6.6
                                                                               5.8
                                                                                                        Any type of
                                                                              4.2                       clay target
                                                                              5.0
                                                      Skeet shooting          4.6
                                                                                                         shooting:
                                                                               5.7
                                                                                                         6.6% (NE)
                                                                                                          7.7% (S)
                                                                              3.5
                                                                              3.4                       10.0% (MW)
                                                       Trap shooting            6.4                      7.8% (W)
                                                                               4.7

                                                                              3.1
                                                                              3.5
                                                Long-range shooting            4.4
                                                                               5.0

                                                                             1.0
                                                                             1.9
                                                      3-gun shooting          2.2
                                                                             1.6


                                                                         0            20       40      60      80     100
                                                                                                Percent



                                                                  Exhibit 6
                                                                    0161
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                                    Percentage of adult U.S. residents participating
                                      in the following sport shooting activities in
                                                2018. (Northeast Region)


                                     Target shooting with a handgun                 14.8


                                          Target shooting with a rifle             12.2


                                 Target shooting at an outdoor range               11.1


           Target shooting with a modern sporting
                                                                               8.2
                            rifle
    Multiple Responses Allowed




                                  Target shooting at an indoor range           7.6


                                                       Sporting clays         5.0


                                                      Skeet shooting          4.2


                                                       Trap shooting         3.5


                                                Long-range shooting          3.1


                                                      3-gun shooting         1.0


                                                                         0          20       40    60       80   100
                                                                                          Percent (n=499)




                                                                  Exhibit 6
                                                                    0162
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                                    Percentage of adult U.S. residents participating
                                      in the following sport shooting activities in
                                                  2018. (South Region)


                                     Target shooting with a handgun                  17.1


                                          Target shooting with a rifle             13.4


                                 Target shooting at an outdoor range               11.8


           Target shooting with a modern sporting
                                                                               8.1
                            rifle
    Multiple Responses Allowed




                                  Target shooting at an indoor range           8.0


                                                       Sporting clays         5.3


                                                      Skeet shooting          5.0


                                                Long-range shooting          3.5


                                                       Trap shooting         3.4


                                                      3-gun shooting         1.9


                                                                         0          20       40    60        80   100
                                                                                          Percent (n=1164)




                                                                  Exhibit 6
                                                                    0163
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  Sport Shooting Participation in the United States in 2018                9




                                    Percentage of adult U.S. residents participating
                                      in the following sport shooting activities in
                                                 2018. (Midwest Region)


                                     Target shooting with a handgun                  16.9


                                          Target shooting with a rifle              15.0


                                 Target shooting at an outdoor range               14.2


           Target shooting with a modern sporting
                                                                               7.9
                            rifle
    Multiple Responses Allowed




                                  Target shooting at an indoor range          7.8


                                                       Sporting clays         6.6


                                                       Trap shooting          6.4


                                                      Skeet shooting         4.6


                                                Long-range shooting          4.4


                                                      3-gun shooting         2.2


                                                                         0         20       40   60       80   100
                                                                                        Percent (n=634)




                                                                  Exhibit 6
                                                                    0164
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                                    Percentage of adult U.S. residents participating
                                      in the following sport shooting activities in
                                                  2018. (West Region)


                                     Target shooting with a handgun                 15.6


                                          Target shooting with a rifle              14.2


                                 Target shooting at an outdoor range                13.7


           Target shooting with a modern sporting
                                                                              7.1
                            rifle
    Multiple Responses Allowed




                                  Target shooting at an indoor range          7.0


                                                       Sporting clays         5.8


                                                      Skeet shooting          5.7


                                                Long-range shooting           5.0


                                                       Trap shooting          4.7


                                                      3-gun shooting         1.6


                                                                         0          20      40    60       80   100
                                                                                         Percent (n=703)




                                                                  Exhibit 6
                                                                    0165
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  Sport Shooting Participation in the United States in 2018               11

  The tabulation below shows estimates of numbers of participants nationally and by region.

  Sport and Target Shooting Participation in 2018
                                                      Estimated Total      95% Confidence Interval
                                                        Participants
  Activity
                                                     (ages 18 years and   Lower Limit   Upper Limit
                                                           older)
  National
    Any target shooting or sport shooting               52,073,224         48,651,186    55,495,261
    Target shooting with a handgun                      38,182,610         34,552,641    41,812,579
    Target shooting with a rifle                        32,169,412         29,240,229    35,098,595
    Target shooting at an outdoor range                 29,636,581         26,916,788    32,356,374
    Target shooting with a modern sporting rifle        18,327,314         15,685,186    20,969,443
    Target shooting at an indoor range                  17,912,845         16,332,772    19,492,917
    Sporting clays                                      13,174,752         11,186,816    15,162,687
    Skeet shooting                                      11,563,358         10,052,938    13,073,777
    Trap shooting                                       10,227,286          8,624,961    11,829,612
    Long-range shooting                                  9,272,382          7,198,993    11,345,771
    3-gun shooting                                       4,020,531          2,280,968     5,760,094
    Any clays (sporting clays, skeet, trap)             18,765,126         17,162,800    20,367,451
  Northeast Region
    Any target shooting or sport shooting                8,308,969          6,898,507     9,719,431
    Target shooting with a handgun                       6,363,980          5,213,213     7,514,747
    Target shooting with a rifle                         5,256,359          4,118,600     6,394,118
    Target shooting at an outdoor range                  4,754,094          3,696,519     5,811,668
    Target shooting with a modern sporting rifle         3,503,720          2,900,457     4,106,984
    Target shooting at an indoor range                   3,253,135          2,553,400     3,952,870
    Sporting clays                                       2,163,277          1,562,041     2,764,513
    Skeet shooting                                       1,784,158          1,115,300     2,453,016
    Trap shooting                                        1,517,871            717,522     2,318,221
    Long-range shooting                                  1,326,057            666,708     1,985,407
    3-gun shooting                                         435,523            101,279       769,767
    Any clays (sporting clays, skeet, trap)              2,836,947          2,036,597     3,637,297
  South Region
    Any target shooting or sport shooting               19,077,709         16,998,574    21,156,845
    Target shooting with a handgun                      14,814,082         12,973,382    16,654,782
    Target shooting with a rifle                        11,650,275         10,041,104    13,259,446
    Target shooting at an outdoor range                 10,272,695          8,659,802    11,885,588
    Target shooting with a modern sporting rifle         6,989,161          5,890,929     8,087,393
    Target shooting at an indoor range                   6,930,350          5,715,509     8,145,191
    Sporting clays                                       4,583,678          3,688,676     5,478,680
    Skeet shooting                                       4,319,775          3,366,872     5,272,678
    Trap shooting                                        2,943,336          1,682,907     4,203,766
    Long-range shooting                                  3,020,053          1,921,350     4,118,755
    3-gun shooting                                      19,077,709         16,998,574    21,156,845
    Any clays (sporting clays, skeet, trap)              6,681,058          5,420,629     7,941,487




                                                   Exhibit 6
                                                     0166
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                                     428
  12                                                      Responsive Management


  Sport and Target Shooting Participation in 2018 (continued)
                                                      Estimated Total      95% Confidence Interval
                                                        Participants
  Activity
                                                     (ages 18 years and   Lower Limit   Upper Limit
                                                           older)
  Midwest Region
    Any target shooting or sport shooting               12,382,376         10,768,760    13,995,991
    Target shooting with a handgun                       8,563,952          7,212,301     9,915,603
    Target shooting with a rifle                         7,613,793          6,353,571     8,874,015
    Target shooting at an outdoor range                  7,213,946          5,956,682     8,471,210
    Target shooting with a modern sporting rifle         4,034,483          3,320,292     4,748,675
    Target shooting at an indoor range                   3,942,702          3,027,836     4,857,569
    Sporting clays                                       3,328,642          2,559,449     4,097,835
    Skeet shooting                                       2,333,613          1,760,770     2,906,457
    Trap shooting                                        3,240,925          2,309,213     4,172,636
    Long-range shooting                                  2,236,913          1,460,154     3,013,673
    3-gun shooting                                       1,104,317            563,369     1,645,265
    Any clays (sporting clays, skeet, trap)              5,079,889          4,148,178     6,011,601
  West Region
    Any target shooting or sport shooting               12,299,561         10,641,242    13,957,879
    Target shooting with a handgun                       8,431,269          7,028,431     9,834,106
    Target shooting with a rifle                         7,648,908          6,267,221     9,030,595
    Target shooting at an outdoor range                  7,397,880          6,112,230     8,683,530
    Target shooting with a modern sporting rifle         3,810,338          3,190,214     4,430,462
    Target shooting at an indoor range                   3,790,173          2,740,124     4,840,223
    Sporting clays                                       3,107,655          2,381,551     3,833,760
    Skeet shooting                                       3,104,374          2,180,827     4,027,922
    Trap shooting                                        2,549,966          1,469,537     3,630,395
    Long-range shooting                                  2,681,025          1,813,096     3,548,954
    3-gun shooting                                         855,119            395,249     1,314,989
    Any clays (sporting clays, skeet, trap)              4,213,103          3,132,674     5,293,532




                                                   Exhibit 6
                                                     0167
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                                                 428
  Sport Shooting Participation in the United States in 2018               13


  TRENDS IN PARTICIPATION IN TARGET AND SPORT SHOOTING
  Previous surveys have been conducted regarding Americans’ target and sport shooting activities
  in 2009, 2012, 2014, and 2016, which will be compared to the current survey. The 2018 adult
  participation rate in target/sport shooting overall was 22.2%, which was an increase over the
  15.1% rate among adult Americans in 2009 and the highest yet measured in these surveys (just
  slightly ahead of the 21.9% rate in 2014). The rates of participation in the various shooting
  activities are essentially stable compared to 2016: they all rose, but just slightly (except long-
  range shooting, which stayed the same). The tabulation shows the number of shooters in the
  various activities (as opposed to the rate; note that a rate can stay the same but the number of
  participants can rise, if the total population rises, which it did in the United States throughout the
  time period). There was a substantial rise in the number of people shooting a modern sporting
  rifle, as well as marked rises in all the clay sports.

                          I'd like to know about the types of shooting that you did in [2009
                          / 2012 / 2014 / 2016 / 2018]. Did you do any of the following? Did
                                      you go...? (Asked of all survey participants.)
            100
                             2009 (n=8204)                   2012 (n=8335)                  2014 (n=5103)           2016 (n=3050)        2018(n=3000)
             80
  Percent




             60

             40

             20           15 14 16                14
                  10 12              11 11 1412              11 12 11 13
                                                                                      6 8        4 6 7
                                                                                                       8
                                                                                                             4 4 6 5 6
                                                                            4 5   7                                      3 5 5 4 5    3 4 5 3 4        4 5 4 4
                                                         0                                   0                                                     0
              0
                   Target              Target       Target    Target   Target   Sporting                                  Skeet         Trap   Long-range
                  shooting            shooting shooting at shooting shooting at  clays                                   shooting     shooting shooting
                   with a            with a rifle an outdoor  with a  an indoor                                                                  such as
                  handgun                           range    modern    range                                                                   shooting at
                                                             sporting                                                                            targets
                                                               rifle                                                                            more than
                                                                                                                                                500 yards
                                                                                                                                                  away
                                                                           Multiple Responses Allowed


                                                                                                                                                   % Change
  Activity                                                                        Estimated Total Participants*                                   Compared to
                                                                                                                                                     2016
  National                                             in 2009               in 2012               in 2014           in 2016         in 2018
   Any target shooting or sport
                                                       34,382,566            40,779,651            51,226,765        49,361,637      52,073,224         + 5.5
   shooting
   Target shooting with a
                                                       22,169,700            28,209,283            34,221,107        33,276,976      38,182,610        + 14.7
   handgun
   Target shooting with a rifle                        24,045,795            26,822,425            31,764,116        27,949,753      32,169,412        + 15.1
   Skeet shooting                                       6,979,680            12,090,346            12,596,361         8,626,450      11,563,358        + 34.0
   Target shooting with a
                                                        8,868,085            11,976,702            16,267,924        13,986,528      18,327,314        + 31.0
   modern sporting rifle
   Trap shooting                                        7,582,479            10,116,684            11,227,278         7,855,875      10,227,286        + 30.2
   Sporting clays                                       8,399,989             8,789,340            13,033,633        10,545,394      13,174,752        + 24.9
   Long-range shooting                                         na             9,972,991            10,434,630         8,881,155       9,272,382         + 4.4
   3-gun shooting                                              na             4,127,049             3,837,132         3,902,990       4,020,531         + 3.0
  *Ages 18 years old and older



                                                                                       Exhibit 6
                                                                                         0168
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                                     428
  14                                                      Responsive Management


  DAYS OF PARTICIPATION IN TARGET AND SPORT SHOOTING
  For each type of target or sport shooting, a graph shows the number of days of participation
  among those who participated. Regional graphs are also included for each activity. Following the
  graphs is a tabulation showing the mean and median number of days spent participating in the
  activities.


                How many days did you target shoot with a
            traditional rifle, in other words a rifle with bolt or
            lever action, in 2018? (Asked of those who went
              target shooting with a traditional rifle in 2018.)


   More than 30
                         6
      days

      21-30 days         5

      11-20 days              10                               Mean = 11.3
                                                               Median = 5

       6-10 days                   17

           5 days             9

           4 days       5

           3 days         7                  53%


           2 days                  15

           1 days                  17

      Don't know             9

                    0              20      40        60             80          100
                                          Percent (n=546)




                                            Exhibit 6
                                              0169
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.539 Page 180 of
                                                 428
  Sport Shooting Participation in the United States in 2018               15




              How many days did you target shoot with a
          traditional rifle, in other words a rifle with bolt or
          lever action, in 2018? (Asked of those who went
            target shooting with a traditional rifle in 2018.)



                              5
   More than 30               6
      days                         8
                          3

                                       11
     21-30 days               5
                              5
                      2

                              5
     11-20 days                         13
                                   9
                                       12

                                        13
      6-10 days                              17
                                             17
                                              19

                          4
         5 days                        11
                                        12                                  Northeast Region (n=76)
                                   8
                                                                            South Region (n=205)
                      1
                              5                                             Midwest Region (n=135)
         4 days               5
                                   8                                        West Region (n=130)
                              5
         3 days                  9
                                7
                               6

                                         14
         2 days                           15
                                         15
                                          16

                                                  23
         1 days                        11
                                             17
                                               21

                                               20
     Don't know                    8
                              5
                               6

                  0                          20        40         60   80       100
                                                            Percent




                                                        Exhibit 6
                                                          0170
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                                     428
  16                                                      Responsive Management




           How many days did you target shoot with a
          modern sporting rifle in 2018? (Asked of those
            who went target shooting with a modern
                    sporting rifle in 2018.)



   More than 30
                          10
      days

     21-30 days       7


     11-20 days           11

                                                      Mean = 15.3
      6-10 days                16                     Median = 5

         5 days       8


         4 days       7


         3 days       8             48%


         2 days                15


         1 days           10


     Don't know       8

                  0            20   40           60     80          100
                                    Percent (n=308)




                                     Exhibit 6
                                       0171
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                                                 428
  Sport Shooting Participation in the United States in 2018               17




           How many days did you target shoot with a
          modern sporting rifle in 2018? (Asked of those
            who went target shooting with a modern
                    sporting rifle in 2018.)



                                10
   More than 30                9
      days                               16
                      4

                                    12
     21-30 days                9
                       4
                      3

                           6
     11-20 days                     12
                                   10
                                         15

                               9
      6-10 days                     13
                                             18
                                                  23

                      2
         5 days                8
                                    12                                      Northeast Region (n=47)
                               8
                                                                            South Region (n=119)
                      2
                               9                                            Midwest Region (n=67)
         4 days           5
                                   11                                       West Region (n=75)
                           6
         3 days                9
                                10
                               9

                                                        39
         2 days                    10
                          5
                                   11

                          5
         1 days                9
                                        14
                                   10

                               8
     Don't know                    11
                           6
                           6

                  0                      20            40         60   80       100
                                                            Percent




                                                        Exhibit 6
                                                          0172
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.542 Page 183 of
                                     428
  18                                                      Responsive Management




          How many days did you target shoot with a
          handgun in 2018? (Asked of those who went
            target shooting with a handgun in 2018.)




   More than 30
                          8
      days

     21-30 days       5


     11-20 days               12


      6-10 days                    17
                                                                  Mean = 12.4
                                                                  Median = 5
         5 days           8


         4 days           8


         3 days               10        55% *



         2 days                14

                                                   * Rounding on graph causes
                                                   apparent discrepancy in sum;
         1 days                14                      calculation made on
                                                      unrounded numbers.


     Don't know       4

                  0                20     40           60         80              100
                                         Percent (n=641)




                                           Exhibit 6
                                             0173
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                                                 428
  Sport Shooting Participation in the United States in 2018               19




          How many days did you target shoot with a
          handgun in 2018? (Asked of those who went
            target shooting with a handgun in 2018.)




                              6
   More than 30                   10
      days                        10
                      2

                                  9
     21-30 days         6
                       4
                      3

                              8
     11-20 days                          14
                                      10
                                       12

                                        14
      6-10 days                            18
                                        13
                                            19

                          4
         5 days                   9
                                      11                                  Northeast Region (n=83)
                                  8
                                                                          South Region (n=259)
                          4
                                  8                                       Midwest Region (n=149)
         4 days                    9
                                   10                                     West Region (n=150)
                                   10
         3 days                   10
                                  10
                                    13

                                           15
         2 days                       11
                                           15
                                            17

                                                21
         1 days                        12
                                         15
                                      11

                              8
     Don't know       3
                      2
                          5

                  0                        20        40         60   80       100
                                                          Percent




                                                      Exhibit 6
                                                        0174
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                                     428
  20                                                      Responsive Management




          How many days did you trap shoot in 2018?
          (Asked of those who went trap shooting in
                           2018.)




   More than 30
                          7
      days


     21-30 days       7


     11-20 days               10


      6-10 days           9
                                                            Mean = 11.0
                                                            Median = 3
         5 days       6


         4 days       6


         3 days                14         61%


         2 days                    15


         1 days                     20


     Don't know       5

                  0                20    40           60   80      100
                                         Percent (n=181)




                                          Exhibit 6
                                            0175
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.545 Page 186 of
                                                 428
  Sport Shooting Participation in the United States in 2018               21




         How many days did you trap shoot in 2018?
         (Asked of those who went trap shooting in
                          2018.)



                                  7
   More than 30                       9
      days                            8
                              6

                                                     21
     21-30 days           2
                                      10
                      0

                                  7
     11-20 days                           11
                                      8
                                               14

                                          10
      6-10 days                            12
                              4
                                           12

                                      9
         5 days               5
                                          10                                    Northeast Region (n=26)
                          2
                                                                                South Region (n=51)
                          3
                                      9                                         Midwest Region (n=53)
         4 days           2
                                      10                                        West Region (n=51)
                                  6
         3 days                                     19
                                           12
                                            13

                                          10
         2 days                           11
                                                    19
                                                    19

                                                     20
         1 days                                 16
                                                     21
                                                      22

                              7
     Don't know               6
                              6
                      2

                  0                            20          40         60   80       100
                                                                Percent




                                                            Exhibit 6
                                                              0176
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                                     428
  22                                                      Responsive Management




           How many days did you skeet shoot in 2018?
           (Asked of those who went skeet shooting in
                             2018.)




   More than 30
                          5
      days

     21-30 days           7


     11-20 days                   12


      6-10 days                   13
                                                                   Mean = 9.8
         5 days           6                                        Median = 4


         4 days               9


         3 days               11             60%


         2 days                        17


         1 days                        17


     Don't know       3

                  0                20       40           60   80        100
                                            Percent (n=194)




                                             Exhibit 6
                                               0177
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.547 Page 188 of
                                                 428
  Sport Shooting Participation in the United States in 2018               23




          How many days did you skeet shoot in 2018?
          (Asked of those who went skeet shooting in
                            2018.)




                               6
   More than 30               5
      days                     6
                              5

                                          12
     21-30 days                   7
                                          10
                      0

                                      8
     11-20 days                                 17
                                  6
                                          12

                                                 17
      6-10 days                                14
                              5
                                               14

                      2
         5 days                       8
                                       10                                               Northeast Region (n=30)
                      2
                                                                                        South Region (n=74)
                      0
                                          12                                            Midwest Region (n=35)
         4 days           2
                                               16                                       West Region (n=55)
                                                17
         3 days                   7
                                   9
                                           13

                                                    18
         2 days                                14
                                                              30
                                          12

                                               15
         1 days                                15
                                                16
                                                         23

                              6
     Don't know       0
                                  6
                              4

                  0                            20                  40         60   80       100
                                                                        Percent




                                                                    Exhibit 6
                                                                      0178
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.548 Page 189 of
                                     428
  24                                                      Responsive Management




          How many days did you shoot sporting clays in
          2018? (Asked of those who shot sporting clays
                            in 2018.)




   More than 30
                          7
      days

     21-30 days       4


     11-20 days           7


      6-10 days           8
                                                              Mean = 14.8
                                                              Median = 3
         5 days               9


         4 days           8


         3 days                   15         69% *


         2 days                   16


         1 days                        20                * Rounding on graph causes
                                                         apparent discrepancy in sum;
                                                             calculation made on
                                                            unrounded numbers.
     Don't know       5

                  0               20        40           60          80            100
                                            Percent (n=217)




                                             Exhibit 6
                                               0179
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.549 Page 190 of
                                                 428
  Sport Shooting Participation in the United States in 2018               25




          How many days did you shoot sporting clays in
          2018? (Asked of those who shot sporting clays
                            in 2018.)




                          3
   More than 30                           11
      days                        7
                          4

                      0
     21-30 days                7
                              6
                      1

                                  6
     11-20 days                   6
                                  6
                                   8

                          2
      6-10 days                        10
                                  6
                                          12

                              4
         5 days                            14
                                          12                                             Northeast Region (n=34)
                          4
                                                                                         South Region (n=74)
                          3
                                      9                                                  Midwest Region (n=54)
         4 days               4
                                           13                                            West Region (n=55)
                                                     23
         3 days                           12
                                          12
                                                18

                                                               31
         2 days                           12
                                                18
                                          12

                                                     24
         1 days                            13
                                                     22
                                                          27

                              5
     Don't know                   7
                                  7
                      1

                  0                            20                   40         60   80       100
                                                                         Percent




                                                                     Exhibit 6
                                                                       0180
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                                     428
  26                                                      Responsive Management




           How many days did you go 3-gun shooting in
          2018? (Asked of those who participated in 3-gun
                        shooting in 2018.)




   More than 30
                                  15
      days

     21-30 days       1


     11-20 days               8


      6-10 days                   13                           Mean = 23.8
                                                               Median = 5

         5 days               7


         4 days           5


         3 days               8              48% *



         2 days           7


         1 days                        20                 * Rounding on graph causes
                                                          apparent discrepancy in sum;
                                                              calculation made on
     Don't know                                              unrounded numbers.
                                  15

                  0                20       40           60           80            100
                                            Percent (n=68)




                                             Exhibit 6
                                               0181
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.551 Page 192 of
                                                 428
  Sport Shooting Participation in the United States in 2018               27




           How many days did you go 3-gun shooting in
          2018? (Asked of those who participated in 3-gun
                        shooting in 2018.)




                                      11
   More than 30                               20
      days                                     22
                      0

                      0
     21-30 days       0
                      0
                          4

                                  9
     11-20 days           2
                                      12
                                       14

                              7
      6-10 days                         15
                                         16
                                      11

                                      12
         5 days               6
                                       14                                           Northeast Region (n=8)
                      0
                                                                                    South Region (n=27)
                      0
                          3                                                         Midwest Region (n=15)
         4 days               6
                                  10                                                West Region (n=18)
                              7
         3 days               7
                      0
                                                21

                                                          32
         2 days           4
                          4
                          5

                                                21
         1 days                                      26
                                      13
                                       15

                      0
     Don't know                         16
                                       14
                                          19

                  0                        20                  40         60   80     100
                                                                    Percent




                                                                Exhibit 6
                                                                  0182
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.552 Page 193 of
                                     428
  28                                                      Responsive Management




            How many days did you go long-range target
            shooting in 2018? (Asked of those who went
               long-range target shooting in 2018.)




   More than 30
                              9
      days

     21-30 days       5


     11-20 days           9


      6-10 days                         21                     Mean = 11.4
                                                               Median = 5

         5 days           8


         4 days           7


         3 days           9                  51%


         2 days                   14


         1 days                   13


     Don't know       4

                  0                20         40          60        80       100
                                             Percent (n=149)




                                              Exhibit 6
                                                0183
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.553 Page 194 of
                                                 428
  Sport Shooting Participation in the United States in 2018               29




            How many days did you go long-range target
            shooting in 2018? (Asked of those who went
               long-range target shooting in 2018.)




                                      11
   More than 30                   9
      days                                 15
                          5

                                      12
     21-30 days               6
                          3
                      1

                          4
     11-20 days                       11
                                  8
                                      11

                                                          27
      6-10 days                              18
                                             17
                                                     23

                          4
         5 days               6
                                      10                                            Northeast Region (n=22)
                                      11
                                                                                    South Region (n=47)
                          4
                               7                                                    Midwest Region (n=33)
         4 days       0
                                           14                                       West Region (n=47)
                                  7
         3 days               6
                                      10
                                       12

                                           14
         2 days                                 19
                                      11
                                      11

                              5
         1 days                         14
                                                 22
                                      10

                                      11
     Don't know            5
                          4
                      1

                  0                         20                 40         60   80       100
                                                                    Percent




                                                                Exhibit 6
                                                                  0184
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.554 Page 195 of
                                     428
  30                                                      Responsive Management




          You mentioned that you shot at a range in 2018.
            Approximately how many times did you go
            target shooting at a range in 2018? (Among
                    those who shot at a range.)



   More than 30
                          5
      days

     21-30 days       4


     11-20 days               10
                                                           Mean = 10.0
                                                           Median = 4
      6-10 days                14


         5 days           5


         4 days               10


         3 days                13          64%


         2 days                    17


          1 day                     19


     Don't know       2

                  0                20    40           60         80      100
                                         Percent (n=607)




                                          Exhibit 6
                                            0185
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                                                 428
  Sport Shooting Participation in the United States in 2018               31




          You mentioned that you shot at a range in 2018.
            Approximately how many times did you go
               target shooting at a range in 2018?




                          4
   More than 30                   8
      days                        7
                      1

                                  9
     21-30 days           3
                              5
                      2

                                  9
     11-20 days                    10
                                   11
                                   11

                                      12
      6-10 days                             17
                                  9
                                            17

                          5
         5 days           5
                          5                                                 Northeast Region (n=85)
                            6
                                                                            South Region (n=231)
                              7
                                      11                                    Midwest Region (n=146)
         4 days                       11
                                      12                                    West Region (n=145)
                                      11
         3 days                        13
                                      10
                                             19

                                           20
         2 days                         15
                                         18
                                        16

                                                  24
          1 day                             18
                                                 21
                                       14

                      0
     Don't know       1
                          3
                          3

                  0                        20          40         60   80       100
                                                            Percent




                                                        Exhibit 6
                                                          0186
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.556 Page 197 of
                                     428
  32                                                      Responsive Management

  The mean and median days spent in the various shooting activities are tabulated below, among
  those who participated in each activity. Nationally, 3-gun shooting is the activity with the highest
  mean days of participation; the next nearest activities are target shooting with a modern sporting
  rifle and sporting clays. For the national results and each region, the top-ranked activity in mean
  days is dark green; any activity within 2.0 mean days of the top activity is light green.

  Activity                                        Mean Days Spent on Activity, 2018 Median Days Spent on Activity, 2018
  National
     Target shooting with a traditional rifle                      11.3                                5
     Target shooting with a modern sporting rifle                  15.3                                5
     Target shooting with a handgun                                12.4                                5
     Trap shooting                                                 11.0                                3
     Skeet shooting                                                 9.8                                4
     Sporting clays                                                14.8                                3
     3-gun shooting                                                23.8                                5
     Long-range shooting                                           11.4                                5
     Shooting at a range                                           10.0                                4
  Northeast Region
     Target shooting with a traditional rifle                      10.9                                3
     Target shooting with a modern sporting rifle                  13.0                                3
     Target shooting with a handgun                                11.2                                3
     Trap shooting                                                 13.8                                5
     Skeet shooting                                                10.9                                3
     Sporting clays                                                 4.4                                2
     3-gun shooting                                                10.4                                2
     Long-range shooting                                           13.0                                6
     Shooting at a range                                            8.4                                3
  South Region
     Target shooting with a traditional rifle                      11.5                                5
     Target shooting with a modern sporting rifle                  16.0                                5
     Target shooting with a handgun                                14.2                                5
     Trap shooting                                                 11.1                                4
     Skeet shooting                                                10.8                                5
     Sporting clays                                                29.5                                5
     3-gun shooting                                                22.2                                5
     Long-range shooting                                           11.6                                5
     Shooting at a range                                            9.6                                4
  Midwest Region
     Target shooting with a traditional rifle                      15.1                                5
     Target shooting with a modern sporting rifle                  20.1                                6
     Target shooting with a handgun                                14.8                                4
     Trap shooting                                                 12.9                                3
     Skeet shooting                                                11.3                                3
     Sporting clays                                                 9.6                                3
     3-gun shooting                                                45.0                                6
     Long-range shooting                                           12.4                                5
     Shooting at a range                                           16.3                                3
  West Region
     Target shooting with a traditional rifle                       7.6                                4
     Target shooting with a modern sporting rifle                  11.1                                5
     Target shooting with a handgun                                 7.5                                4
     Trap shooting                                                  7.2                                3
     Skeet shooting                                                 6.9                                3
     Sporting clays                                                 6.2                                3
     3-gun shooting                                                 7.4                                3
     Long-range shooting                                            9.9                                5
     Shooting at a range                                            5.8                                4




                                                      Exhibit 6
                                                        0187
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.557 Page 198 of
                                                 428
  Sport Shooting Participation in the United States in 2018               33

  The following graph shows the trend in mean days of participating in the various shooting
  activities. Mean days went up in 2018 compared to 2016 in 3-gun shooting and sporting clays.
  The graph is sorted (left to right) from the largest number of mean days in 2018 to the smallest
  number of mean days.


                               Mean days participating in each activity (of those who
                                           participated in the activity).
              50
                                                                                                                         Note: 2009 data
                                                                                                                         not available for
                                                                                                                          3-gun shooting
              40                                                                                                         and long-range
                                                                                                                         target shooting.


                                    2009            2012                   2014                 2016           2018
              30
  Mean days




                             23.8

                                     22.9
                          21.7




                                         17.8




              20
                      17.4




                                                                                                       17.3
                                        17.1




                                                                                16.7

                                                                               16.3




                                                                                            15.6




                                                                                                                                       15.5
                                             15.3




                                                                             14.9
                                                                  14.8




                                                                             14.8




                                                                                                                      14.8
                   14.5




                                            14.5




                                                                                                               14.5
                                                                                                               14.4




                                                                                                                             14.2




                                                                                                                                              13.9
                                                    13.7




                                                                                                             13.3
                                                           13.1




                                                                         12.4



                                                                                         12.0




                                                                                                                         11.4
                                                                                                11.4
                                                                                                11.4




                                                                                                          11.3




                                                                                                                                11.3
                                                                                                                                11.0




                                                                                                                                                    9.8
                                                                                                                                          9.7
                                                       9.5




              10




                                                                                                                                                 8.2
                                                              7.9




               0
                    3-gun               Target       Shooting        Target            Long-range     Target        Trap shooting         Skeet
                   shooting          shooting with sporting clays shooting with          target    shooting with                         shooting
                                       modern                       handgun             shooting  traditional rifle
                                     sporting rifle




                                                                          Exhibit 6
                                                                            0188
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.558 Page 199 of
                                     428
  34                                                      Responsive Management


  MOTIVATIONS FOR TARGET AND SPORT SHOOTING
  Six questions in the survey explored motivations for target/sport shooting. A social reason tops
  the list, markedly more important than any other reason: to be with family and friends (71% said
  it was very important). In a second tier are for self defense (59% said it is very important) and for
  the sport and recreation (57%). (The graph is ranked by the percentage saying very important.)
  Regional results follow the overall results below.


                 Percent of target shooters who indicated each of the
                following was at the given level of importance to them
                          as a reason to go target shooting.

            Very important           Somewhat important             Not at all important        Don't know




  To be with family or friends                            71                               20          9 0


             For self defense                        59                           22              19     1


     For sport and recreation                       57                              33                 10 1


    To practice or prepare for
             hunting                               51                       17              31           1


      To mentor a new target
            shooter                           42                       23                  34            1


           As part of your job       13   6                                 80                            0


                                 0            20               40           60             80            100
                                                           Percent (n=853)




                                                    Exhibit 6
                                                      0189
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.559 Page 200 of
                                                 428
  Sport Shooting Participation in the United States in 2018               35




                   Percent of target shooters who indicated each
                  of the following was very important to them as a
                             reason to go target shooting.


                                                            62
     To be with family or                                           72
           friends                                                   74
                                                                     73

                                                        58
        For self defense
                                                               66
                                                  50
                                                       57

                                                                                     Self defense as a
                                                      54                              reason remains
   To practice or prepare                       46                                     markedly more
        for hunting                                    55                             important in the
                                                      52                               South than in
                                                                                       other regions.

                                                  49
           For sport and                               56
            recreation                                   60
                                                          61

                                           39
  To mentor a new target                         46
        shooter                                 44
                                         35                          Northeast (n=89)
                                                                     South Region (n=330)
                                  15                                 Midwest Region (n=209)
      As part of your job
                                 13
                                                                     West Region (n=198)
                                10
                                   16

                            0     20     40            60            80        100
                                                Percent




                                        Exhibit 6
                                          0190
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                                     428
  36                                                      Responsive Management




              Percent of target shooters who indicated each
                  of the following was very important or
              somewhat important to them as a reason to go
                              target shooting.
                                                                             86
   For sport and recreation
                                                                              90
                                                                                92
                                                                              90

                                                                             86
       To be with family or                                                    90
             friends                                                             94
                                                                                92

                                                                        80
          For self defense
                                                                             86
                                                                   73
                                                                        80

                                                              66
    To practice or prepare                                     68
         for hunting                                            70
                                                               68

                                                             63
   To mentor a new target                                      69
         shooter                                              67
                                                         58

                                       25                         Northeast (n=89)
                                   18                             South Region (n=330)
        As part of your job                                       Midwest Region (n=209)
                                  16
                                     22                           West Region (n=198)


                              0   20          40        60           80           100
                                                    Percent




                                            Exhibit 6
                                              0191
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.561 Page 202 of
                                                 428
  Sport Shooting Participation in the United States in 2018               37




                 Percent of target shooters who indicated each
                of the following was not at all important to them
                        as a reason to go target shooting.


                                                                           75
           As part of your job
                                                                              82
                                                                                84
                                                                             78

                                                              37
     To mentor a new target                             30
           shooter                                       32
                                                               40

                                                          34
   To practice or prepare for                            32
            hunting                                     29
                                                         32

                                                  19
             For self defense
                                             12
                                                       26
                                                  20

                                           14
  To be with family or friends
                                         10
                                     5
                                         8                                 Northeast (n=89)
                                                                           South Region (n=330)
                                             13                            Midwest Region (n=209)
     For sport and recreation
                                      9                                    West Region (n=198)
                                     8
                                      10

                                 0            20            40        60   80        100
                                                                 Percent




                                                       Exhibit 6
                                                         0192
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                                     428
  38                                                      Responsive Management


  DEMOGRAPHIC CHARACTERISTICS OF SHOOTERS
  The demographic makeup of shooters was explored through crosstabulations. Participation in
  target and sport shooting is correlated with hunting participation, being male, being 18 to 34
  years old, and being on the rural side of the urban-rural continuum. The regions are very close to
  the overall percentage, with the Midwest slightly more associated with shooting and the
  Northeast at the lowest percentage of the regions.

  The graph below shows the rate of target/sport shooting participation in the population as a
  whole (22.2%, the bar that is patterned in the middle of the graph). Those demographic groups
  above the patterned bar have participation rates higher than the overall rate. For instance, 32.7%
  of males participated in target/sport shooting, compared to only 12.2% of females, shown in the
  last bar at the bottom of the graph.


                  Percent of each of the following groups who
                 participated in target or sport shooting in 2018:


                          Hunted in 2018                                 75.2
                                     Male                 32.7                      Examples Explaining
                                                                                    How to Interpret Graph:
                      18-34 years of age                 27.3                       75.2% of hunters went
                                                                                    target or sport shooting in
  Lives in small city or town or rural area              26.4                       2018 (meaning that 24.8%
                                                                                    of hunters did not go
                      35-54 years of age                 26.2                       target or sport shooting in
                                                                                    2018)
                         Midwest Region                24.4
                                                                                    32.7% of males went
                             West Region               22.8                         target shooting in 2018
                                                                                    (meaning that 70.3% of
                                                                                    males did not go target
                                     Total             22.2                         shooting)

                            South Region               22.0                         27.3% of respondents
                                                                                    18-34 years old went
                        Northeast Region            19.3                            target shooting (meaning
                                                                                    that 72.7% of people in
         Lives in urban or suburban area           18.0                             that age group did not go
                                                                                    target shooting)
                 55 years of age or older          16.2                             These are all above the
                                                                                    national rate (22.2%),
                     Did not hunt in 2018         15.1                              shown by the striped bar

                                  Female          12.2

                                              0   20      40     60     80    100
                                                                      Percent




                                                  Exhibit 6
                                                    0193
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                                                 428
  Sport Shooting Participation in the United States in 2018               39

  The following graphs present the breakdown of target/sport shooters by demographic factors.

  The first graph shows the extent to which target/sport shooters are male: 72% of 2018 sport
  shooters are male, whereas only 42% of non-shooters are male). Nonetheless, more than a
  quarter of shooters are female (28%). As was the case in 2016, shooters in 2018 tend to be
  younger than non-shooters.


                Respondent's gender (not asked; observed by
                               interviewer).




                                                              72
         Male
                                             42


                                                           Went target shooting in 2018
                                                           (n=853)
                                                           Did not go target shooting in
                                                           2018 (n=2147)

                                   28
      Female
                                                      58




                0           20          40          60           80          100
                                             Percent




                                             Exhibit 6
                                               0194
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                                     428
  40                                                      Responsive Management




                               May I ask your age?




                                       11
   65 years old or older
                                             21


                                        14
        55-64 years old
                                         17


                                        16
        45-54 years old
                                        17


                                             21
        35-44 years old
                                       14


                                              23
        25-34 years old
                                        15


                                       13
        18-24 years old
                                       12

                                                               Went target shooting in 2018
                               0                               (n=853)
   Don't know / refused
                               1                               Did not go target shooting in
                                                               2018 (n=2147)

                               1
               Refused
                                   4

                           0            20           40          60         80        100
                                                    Percent




                                                   Exhibit 6
                                                     0195
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.565 Page 206 of
                                                 428
  Sport Shooting Participation in the United States in 2018               41




                            Median split of age.




                                     39

    Median age (48)
       or higher

                                               53




                                                    61

   Below the median
       age (48)

                                          47             Went target shooting in 2018
                                                         (n=838)
                                                         Did not go target shooting in
                                                         2018 (n=2038)




                      0    20      40          60            80         100
                                        Percent




                                   Exhibit 6
                                     0196
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                                     428
  42                                                      Responsive Management

  In particular, women older than the median age are not well represented among active
  target/sport shooters in 2016.


                              Age and gender breakdown.




                                             31
   Male, at or above
   median age (47)
                                       22




                                                      41
     Male, below
    median age (47)
                                       20
                                                                   Went target shooting in 2018
                                                                   (n=836)
                                                                   Did not go target shooting in
                                                                   2018 (n=2035)
    Female, at or             9
  above median age
        (47)                                 31




                                    20
    Female, below
    median age (47)
                                            26



                        0         20             40          60   80        100
                                                   Percent




                                                 Exhibit 6
                                                   0197
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                                                 428
  Sport Shooting Participation in the United States in 2018               43

  While the differences are marked in the rural categories—with shooters better represented there
  than non-shooters—it should not be lost that 41% of shooters are from a large city/urban area or
  a suburban area, which is more than from rural areas. Nonetheless, shooters are slightly more
  likely to be rural than are non-shooters.


            Do you consider your place of residence to be
            a large city or urban area, a suburban area, a
             small city or town, a rural area on a farm or
            ranch, or a rural area not on a farm or ranch?



         Large city or                     22
          urban area                            27


                                          19
      Suburban area
                                               26


                                               25
   Small city or town
                                               26


     Rural area on a                 11
      farm or ranch              5


   Rural area not on                      19
    a farm or ranch                  13
                                                                 Went target shooting in 2018
                             2                                   (n=853)
          Don't know
                             1                                   Did not go target shooting in
                                                                 2018 (n=2147)

                             2
             Refused
                             1

                         0            20             40         60        80        100
                                                          Percent




                                                     Exhibit 6
                                                       0198
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                                     428
  44                                                      Responsive Management

  Finally, the Northeast Region is just slightly less associated with target/sport shooting
  participation: the Northeast makes up only 16% of shooters, but it makes up 19% of
  non-shooters. (These are the U.S. Census Bureau regions, the same regions used by the U.S. Fish
  and Wildlife Service.)




                               Region of residence.




                                 16
  Northeast Region
                                  19




                                            37
      South Region
                                            38




                                      23
    Midwest Region
                                     21

                                                        Went target shooting in 2018
                                                        (n=853)

                                       24               Did not go target shooting in
       West Region                                      2018 (n=2147)
                                      23


                       0        20          40         60       80        100
                                                 Percent




                                            Exhibit 6
                                              0199
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.569 Page 210 of
                                                 428
  Sport Shooting Participation in the United States in 2018               45

  The following four pages present demographic trends data of shooters in 2009, 2012, 2014,
  2016, and 2018.


       Gender split of sport                        Gender split of sport
       shooting participants                        shooting participants
              2009.                                        2012.
        25.8                                         24.7

                                     Male                                        Male
                                     Female                                      Female

                        74.1                                        75.3




       Gender split of sport                        Gender split of sport
       shooting participants                        shooting participants
              2014.                                        2016.

       29.7                                         31.4
                                     Male                                        Male
                                     Female                                      Female

                         70.3                                        68.6




       Gender split of sport
       shooting participants
              2018.
       28.3

                                     Male
                                     Female

                         71.6




                                              Exhibit 6
                                                0200
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                                     428
  46                                                      Responsive Management

  The proportion made up of younger residents declined in 2016 and is now still much the same in
  2018, compared to the three surveys conducted from 2009 to 2014.


            Age breakdown of                               Age breakdown of
             sport shooting                                 sport shooting
            participants 2009.                             participants 2012.
                      20.3       55 years or                        21.0       55 years or
                                 older                                         older
    37.5                                           38.4
                                 35-54 years                                   35-54 years
                                 old                                           old
                                 18-34 years                                   18-34 years
                                 old                                           old
                     42.1                                          40.6




            Age breakdown of                               Age breakdown of
             sport shooting                                 sport shooting
            participants 2014.                             participants 2016.
                      21.1       55 years or                            26.1   55 years or
                                 older              34.4                       older
     37.5
                                 35-54 years                                   35-54 years
                                 old                                           old
                                 18-34 years                                   18-34 years
                                 old                                           old
                     41.4                                        39.4



            Age breakdown of
             sport shooting
            participants 2018.
                       25.4       55 years or
    35.7                          older
                                  35-54 years
                                  old
                                  18-34 years
                                  old
                    37.5




                                                Exhibit 6
                                                  0201
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.571 Page 212 of
                                                 428
  Sport Shooting Participation in the United States in 2018               47

  In 2018, the large city/urban areas made up a greater proportion of target/sport shooters than this
  category did in 2009 or 2012.


          Residence breakdown of                                Residence breakdown of
               sport shooting                                        sport shooting
             participants 2009.                                    participants 2012.
                           15.9           Large city or                       16.3          Large city or
                                          urban area                                        urban area
                                                             31.7
   37.4                                   Suburban area                                     Suburban area

                                   16.4
                                          Small city or                              20.6   Small city or
                                          town                                              town
                                          Rural area                                        Rural area
                    27.8                                               31.3



          Residence breakdown of                                Residence breakdown of
               sport shooting                                        sport shooting
             participants 2014.                                    participants 2016.
                                          Large city or                                     Large city or
                            20.1                                               20.1
                                          urban area                                        urban area
                                                             28.5
    32.5
                                          Suburban area                                     Suburban area


                                          Small city or                                     Small city or
                                  19.2    town                                       20.1   town
                                          Rural area                                        Rural area
             26.2                                                   27.2



          Residence breakdown
            of sport shooting
            participants 2018.
                           22.1           Large city or
    30.0                                  urban area
                                          Suburban area

                             18.7         Small city or
                                          town
           25.4




                                                          Exhibit 6
                                                            0202
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                                     428
  48                                                      Responsive Management

  The regional breakdown is shown. The South continues to account for the largest portion of the
  pie.


        Regional breakdown                            Regional breakdown
         of sport shooting                             of sport shooting
         participants 2009.                            participants 2012.
                     11.9                                         13.4
       23.8                                          26.4
                                   Northeast                                    Northeast
                                   South                                        South
                                   Midwest                                      Midwest
                            38.3
                                   West                                  39.5   West
       25.9                                          20.7




        Regional breakdown                            Regional breakdown
         of sport shooting                             of sport shooting
         participants 2014.                            participants 2016.
                     14.3                                         14.3
       24.0                                          24.7
                                   Northeast                                    Northeast
                                   South                                        South
                                   Midwest                                      Midwest
                            37.2   West                                  39.9   West
      24.6                                          21.1




        Regional breakdown
         of sport shooting
         participants 2018.
                      15.6
       24.1
                                   Northeast
                                   South
                                   Midwest

      23.2                  37.1   West




                                               Exhibit 6
                                                 0203
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                                                 428
  Sport Shooting Participation in the United States in 2018               49


  CHARACTERISTICS OF NEW SHOOTERS
  For this analysis, new shooters were defined as those who started shooting within the past
  5 years. The analysis first shows that 15.6% of those who participated in target or sport shooting
  in 2018 were first initiated into the shooting sports within the previous 5 years. The analysis
  looked at the group of all target/sport shooters and then separated out new shooters and
  compared them to established shooters.

  An initial analysis of new shooters simply looked at the trend in the percentage of the shooting
  pool that is made up of new shooters, using the consistent parameters that these reports have
  used to define a new shooter (having started within the 5 years previous to the survey). It shows
  that the proportion attributed to new shooters has remained fairly consistent in the four surveys
  (from 15% to 18% in the four surveys examined); in the current survey, 16% of shooters were
  considered to be new shooters.

                  New shooter trend: percentage of the shooting pool made up of
                            new shooters and established shooters.
                                                      2012      2014          2016     2018
            100
                                                                82       85      82        84
            80

            60
  Percent




            40
                       18    15      18     16
            20

             0
                             New shooter                             Established shooter


  As in the 2016 analysis that looked at this topic, the types of shooting done by new shooters
  versus established shooters show some marked differences. New shooters, compared to
  established shooters, are less likely to go target shooting with a rifle, less likely to shoot a
  modern sporting rifle, less likely to do any clay target shooting, and less likely to go to an
  outdoor range. On the other hand, new shooters are more likely to go to an indoor range. The
  two groups are about the same on shooting with a handgun. Taken as a whole, these results
  suggest that new shooters are shooting handguns at indoor ranges.

  In looking at the types of firearms, established shooters have a markedly higher percentage using
  each type of equipment, although they are closest together in handgun use. In particular,
  established shooters have a much higher rate of use of a traditional rifle, shotgun, and modern
  sporting rifle, compared to new shooters.

  New shooters are less likely to have grown up around firearms, as well, another nontraditional
  characteristic. Indeed, a third of new shooters in 2018 did not grow up in a firearm family.




                                                 Exhibit 6
                                                   0204
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                                     428
  50                                                      Responsive Management




                                    I'd like to know about the types of shooting that
                                           you did in 2018. Did you do any of the
                                     following? Did you go...? (Asked of those who
                                          went target or sport shooting in 2018.)


                                     Target shooting with a handgun                                                   75
                                                                                                                     72


                                          Target shooting with a rifle                                          66
                                                                                                         49


                                 Target shooting at an outdoor range                                            63
                                                                                                    40

           Target shooting with a modern sporting                                                   40
                            rifle                                                         24
    Multiple Responses Allowed




                                  Target shooting at an indoor range                           32
                                                                                                      45


                                                       Sporting clays                          30
                                                                                 8


                                                      Skeet shooting                       26
                                                                                 7


                                                       Trap shooting                      23
                                                                             5                           Established shooter
                                                                                                         (n=682)

                                                Long-range shooting                       20
                                                                                 8                       New shooter (n=100)


                                                      3-gun shooting             9
                                                                             3

                                                                         0           20         40         60        80    100
                                                                                                    Percent




                                                                  Exhibit 6
                                                                    0205
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.575 Page 216 of
                                                 428
  Sport Shooting Participation in the United States in 2018               51




                             Types of shooting activities. (Part 1)
                                   (Among new shooters.)

        100
                                                                               2012    2014           2016         2018
            80
                             71 72
                        65
                   58
            60
  Percent




                                         50              49               49
                                              46                46                                   45
                                                   43                41        40          39
            40                                                                        35        34

                                                                                                                   24 23 24
                                                                                                             21
            20

             0
                  Target shooting       Target shooting       Target shooting at Target shooting at         Target shooting
                  with a handgun          with a rifle        an outdoor range    an indoor range            with a modern
                                                                                                              sporting rifle




                             Types of shooting activities. (Part 2)
                                   (Among new shooters.)
            100
                                                                           2012       2014           2016      2018
             80
  Percent




             60

             40
                             23
             20     16 17                           17
                                          13 13                  13 14 12
                                  8                       8                     7           8    9
                                                                                       5              5        4    4       3
                                                                                                                        2
             0
                     Long-range          Sporting clays         Skeet shooting        Trap shooting          3-gun shooting
                   shooting such as
                  shooting at targets
                    more than 500
                     yards away




                                                              Exhibit 6
                                                                0206
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.576 Page 217 of
                                     428
  52                                                      Responsive Management




                                    Which of the following firearms or equipment
                                     did you use when target shooting in 2018?
                                      (Asked of those who went target or sport
                                                  shooting in 2018.)

                                                                                                        73
                                               Handgun
                                                                                                   64


                                                                                                   65
                                         Traditional rifle
                                                                                    39


                                                                                                  61
                                                Shotgun
                                                                             27


                                                                                    39
    Multiple Responses Allowed




                                    Modern sporting rifle
                                                                            23


                                                                            23
                                                 Air rifle
                                                                      10


                                 Black powder firearm or               15
                                      muzzleloader                4


                                                                 1
                                          None of these                                  Established shooter (n=682)
                                                                  3

                                                                                         New shooter (n=100)
                                                                 1
                                             Don't know
                                                                 2

                                                             0         20          40        60         80      100
                                                                                 Percent




                                                                       Exhibit 6
                                                                         0207
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.577 Page 218 of
                                                 428
  Sport Shooting Participation in the United States in 2018               53




           When you were growing up, did your family own
                          any firearms?




                                                                84
            Yes
                                                    63




                           14
             No
                                   34




                                                         Established shooter
                                                         (n=682)

                       2
                                                         New shooter (n=100)
      Don't know
                       3




                   0       20       40         60          80         100

                                         Percent




                                   Exhibit 6
                                     0208
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.578 Page 219 of
                                     428
  54                                                      Responsive Management

  Several demographic characteristics also point toward nontraditional participation. New shooters
  are more likely to be from an urban area or from a small city/town than are established shooters,
  they are more likely to be female than are established shooters, and they are more likely to be
  non-white than are established shooters. Included with these graphs are trend graphs for gender
  and age breakdown of new shooters. (In 2014, females made up 51% of new shooters. In 2016,
  they made up 45%. In 2018, they made up 47%.) New shooters tend to be younger than
  established shooters (although new shooters are not as young as they were in any previous
  survey, with this year’s mean age of new shooters being the oldest it has been in the four
  surveys—also note the high percentage of new shooters in the 25-34 years old range and the 35-
  44 years old range).


            Do you consider your place of residence to be a
              large city or urban area, a suburban area, a
              small city or town, a rural area on a farm or
             ranch, or a rural area not on a farm or ranch?

     Large city or urban                     20
            area                                        35


         Suburban area                       20
                                       12


      Small city or town                      24
                                                   30

   Rural area on a farm                11
         or ranch                  6

     Rural area not on a                    20
       farm or ranch                   13                             Established shooter
                                                                      (n=682)

                               2                                      New shooter (n=100)
              Don't know
                               2


                 Refused       2
                               1

                           0            20              40       60       80         100
                                                          Percent




                                                  Exhibit 6
                                                    0209
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.579 Page 220 of
                                                 428
  Sport Shooting Participation in the United States in 2018               55



                     Do you consider your place of residence to be a large city or
                   urban area, a suburban area, a small city or town, a rural area on
                   a farm or ranch, or a rural area NOT on a farm or ranch? (Among
                                             new shooters.)
        100

            80

            60
  Percent




                                                          38
            40              31
                                 35
                       29             29                                 30
                                           26                  27
                                                                    22
                  19                                                                              18
            20                                  16
                                                     12                                   12 12        13
                                                                                      6                            6               5
                                                                              2 4 1                          1 1       2     0 2       1
             0
                 Large city or Suburban Small city or Rural area Rural area                                 Don't know      Refused
                  urban area     area     town        on a farm or NOT on a
                                                         ranch      farm or
                                                                     ranch
                                                                                                  2012       2014          2016        2018




                                                                          Exhibit 6
                                                                            0210
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.580 Page 221 of
                                     428
  56                                                      Responsive Management




                                 Q116. May I ask your age?




   65 years old or                   13
        older            2



                                      16
  55-64 years old
                             6



                                          18
  45-54 years old
                                 10



                                           22
  35-44 years old
                                           21
                                                                      Established shooter
                                                                      (n=682)

                                          20                          New shooter (n=100)
  25-34 years old
                                                 31



                                 9
  18-24 years old
                                                28


                     0                20             40          60   80        100

                                                          Percent




                                                     Exhibit 6
                                                       0211
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.581 Page 222 of
                                                 428
  Sport Shooting Participation in the United States in 2018               57




                           May I ask your age? (Among new shooters.)

      100                                            2012     2014       2016           2018

                                                                                                        Means
            80                                                                                          2012: 31.07
                                                                                                        2014: 31.83
                                                                                                        2016: 33.82
            60                                                                                          2018: 34.02
  Percent




                 45
                      41
            40             34
                                28           29 31
                                     25 27
                                                                  21
            20                                         11 13 13               14
                                                                       11 9        10
                                                                                               8 10 6
                                                                                          4                  3 2 1 2
             0
                 18-24 years         25-34 years      35-44 years      45-54 years       55-64 years 65 years old or
                     old                 old              old              old               old          older




                                                            Exhibit 6
                                                              0212
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.582 Page 223 of
                                     428
  58                                                      Responsive Management




          Q199. Respondent's gender (not asked;
                 observed by interviewer).




                                                    78

        Male

                                            53




                                                    Established shooter
                                                    (n=682)

                                                    New shooter (n=100)
                           22

      Female

                                       47




               0      20        40           60    80       100

                                     Percent




                                     Exhibit 6
                                       0213
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.583 Page 224 of
                                                 428
  Sport Shooting Participation in the United States in 2018               59




                  Respondent's Gender. (Among new shooters.)

            100

                                           2012    2014        2016   2018
             80

                    59
             60               55   53
                         49                               51
  Percent




                                                                 45    47
                                                  41
             40


             20


              0
                          Male                            Female




                                    Exhibit 6
                                      0214
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.584 Page 225 of
                                     428
  60                                                      Responsive Management




                                 Q188. What races or ethnic backgrounds do you
                                   consider yourself? Please mention all that
                                                     apply.

                                         White or Caucasian                                           83
                                                                                                 74

                                          Hispanic or Latino             9
                                                                         8

                                   Black or African-American        3
                                                                         10

        Native American or Alaskan native or                        3
                     Aleutian                                      1

                                             Middle Eastern        1
    Multiple Responses Allowed




                                                                   0

                                                South Asian        0
                                                                   0

                                                 East Asian        0
                                                                    2

                                            Native Hawaiian        0
                                                                   0

                                                      Other         3
                                                                     5             Established shooter (n=682)

                                                                                   New shooter (n=100)
                                                 Don't know        2
                                                                   2

                                                   Refused          3
                                                                    3

                                                               0             20   40     60      80        100
                                                                                   Percent




                                                           Exhibit 6
                                                             0215
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.585 Page 226 of
                                                 428
  Sport Shooting Participation in the United States in 2018               61

  The comparison included the series of questions regarding motivations for target/sport shooting.
  For each reason, established shooters have a higher percentage saying that it is a very important
  reason for shooting, particularly shooting for sport and recreation, to prepare for hunting, and to
  mentor a new shooter. The fact that every single question in the series has a higher percentage of
  established shooters naming it as a very important reason suggests that established shooters are
  stronger in their reasons that they shoot.

  The trends suggest that shooting for self defense is up among new shooters, and shooting for
  sport and recreation is down as a reason among new shooters. To be with family and friends is
  commensurate with other years (less than the peak in 2016 but more than the lowest level in
  2012) among new shooters.



             Percent of target shooters who indicated each
            of the following was very important to them as a
                       reason to go target shooting:

                                                                        75
         To be with family or friends
                                                                  61

                                                                   63
            For sport and recreation
                                                        32

                                                                   62
                     For self defense
                                                                  58

           To practice or prepare for                         56
                    hunting                             29

                                                                              Established shooter
                                                             47               (n=682)
    To mentor a new target shooter
                                                   19
                                                                              New shooter (n=100)

                                                  14
                   As part of your job
                                              9

                                         0     20       40   60         80   100

                                                        Percent




                                              Exhibit 6
                                                0216
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.586 Page 227 of
                                     428
  62                                                      Responsive Management




            Percent of target shooters who indicated each
                of the following was very important or
            somewhat important to them as a reason to go
                            target shooting:



                                                                      94
          For sport and recreation
                                                             78



                                                                      94
       To be with family or friends
                                                                 84



                                                                 83
                  For self defense
                                                             77



        To practice or prepare for                          73
                 hunting                              45



                                                            73
   To mentor a new target shooter
                                                 36
                                                                 Established shooter
                                                                 (n=682)

                                            20                   New shooter (n=100)
               As part of your job
                                          12


                                      0   20     40    60   80    100
                                                 Percent




                                          Exhibit 6
                                            0217
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.587 Page 228 of
                                                 428
  Sport Shooting Participation in the United States in 2018               63



                      How important is being with family or friends as a reason to go
                               target shooting? (Among new shooters.)
             100
              80
                                   65 61
              60        55 57
  Percent




              40                               28 26 29 23
                                                                   16 17            16
              20                                                              7
                                                                                                1     0   0      0
                  0
                        Very important      Somewhat important   Not at all important               Don't know
                                                                             2012        2014         2016           2018

                      How important is sport and recreation as a reason to go target
                                  shooting? (Among new shooters.)
            100

             80

             60        46         47
                                              42           46
  Percent




                             39                    37 40
             40                        32
                                                                        24          21
             20                                                    11         12
                                                                                                1     0   1   1
              0
                       Very important       Somewhat important   Not at all important               Don't know
                                                                              2012       2014          2016          2018


                            How important is self defense as a reason to go target
                                    shooting? (Among new shooters.)
            100
             80
                                       58
             60        49 51
                                  42
  Percent




             40                                    27 29
                                                                   33        29
                                                           19           21         23
                                              18
             20
                                                                                                0     1   0   0
              0
                       Very important       Somewhat important   Not at all important           Don't know
                                                                             2012        2014         2016           2018




                                                       Exhibit 6
                                                         0218
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                                     428
  64                                                      Responsive Management



                  How important is to practice or prepare for hunting as a reason
                         to go target shooting? (Among new shooters.)
            100
             80
                                                            61        64
                                                                 57        54
             60
  Percent




             40    27 28 25 29
                                                16
             20                        11 15 10
                                                                                   1     0   0      1
              0
                   Very important   Somewhat important   Not at all important          Don't know
                                                                      2012      2014      2016          2018

                  How important is mentoring a new target shooter as a reason to
                          go target shooting? (Among new shooters.)
            100
             80
                                                            64        60 64
             60                                                  54
  Percent




             40
                       23 21 19            21 18
                  18                  16         17
             20
                                                                                   1     1   0      0
              0
                  Very important    Somewhat important   Not at all important          Don't know
                                                                      2012      2014      2016          2018


                  How important is your job as a reason to go target shooting?
                                    (Among new shooters.)
            100                                                       93
                                                                           88
                                                            83 80
             80
             60
  Percent




             40
             20   12 14        9
                           4           3    6       3
                                                1                                  1     0   2      0
              0
                  Very important    Somewhat important   Not at all important          Don't know
                                                                      2012      2014      2016          2018




                                                Exhibit 6
                                                  0219
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.589 Page 230 of
                                                 428
  Sport Shooting Participation in the United States in 2018               65

  This section’s next graph has multiple demographic characteristics on a single graph, which
  shows those characteristics that are associated with being a new shooter; a trend of this graph is
  the final graph in this section.


              Among shooters, the percent of each
              of the following groups who are new
                            shooters:
                                                                              Examples Explaining
                           Female                 28.0                        How to Interpret
                                                                              Graph:

              18-34 years of age                 27.2                         28.0% of female shooters
                                                                              are new to shooting
               Northeast Region                  26.2                         (meaning that 72.0% of
                                                                              female shooters are not
                                                                              new to shooting)
            Did not hunt in 2018                21.7
                                                                              27.2% of shooters who
     Lives in urban or suburban
                                               17.7                           are 18-34 years old are
                 area                                                         new to shooting (meaning
                                                                              that 72.8% of shooters in
                    South Region               16.2                           that age group are not new
                                                                              to shooting)
                             Total          15.6
                                                                              21.7% of shooters who
                                                                              did not hunt are new to
                 Midwest Region            14.8                               shooting (meaning that
                                                                              78.3% of shooters who do
   Lives in small city or town or
                                           14.1                               not hunt are not new to
             rural area                                                       shooting)
              35-54 years of age           12.4                               These are all above the
                                                                              rate of new shooters
                              Male        11.2                                among shooters overall
                                                                              (15.6%), shown by the
                                                                              patterned bar
                    West Region          8.4
                                                                              Meanwhile, those below
                  Hunted in 2018         6.8                                  the bar have a lower
                                                                              proportion being new
        55 years of age or older         5.0                                  shooters, such as those 55
                                                                              years of age and older, of
                                                                              whom only 5.0% are new
                                     0    20          40   60   80   100      shooters
                                                      Percent




                                                Exhibit 6
                                                  0220
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                                     428
  66                                                      Responsive Management




               Among shooters, the percent of each of the
                following groups who are new shooters:

                                                                     30.8
                                 Female                            25.9
                                                                   26.7
                                                                    28.0
                                                                       33.4
                   18 to 34 years of age                           26.9
                                                                      32.0
                                                                   27.2
                                                             21.7
                       Northeast Region                   15.8
                                                               24.3
                                                                26.2
                                                                 27.8
             Did not hunt in survey year                        25.2
                                                                 26.9
                                                              21.7
                                                              23.6
       Lives in urban or suburban area                      20.7
                                                             21.6
                                                           17.7
                                                            17.9
                           South Region                  13.3
                                                          14.9
                                                           16.2
                                                          18.1
                                    Total                14.9
                                                          17.8
                                                         15.6
                                                         15.6
                        Midwest Region                    18.0
                                                         15.3
                                                         14.8

      Lives in small city or town or rural            14.8
                                                    10.9
                                                     13.2
                     area                            14.1
                                                   9.8
                   35 to 54 years of age          8.0
                                                    11.8
                                                     12.4
                                                                                   2012
                                                      14.0
                                    Male            10.3
                                                      14.0                         2014
                                                    11.2
                                                                                   2016
                                                        18.5
                            West Region               13.7
                                                          21.0                     2018
                                                   8.4
                                                  7.1
                  Hunted in survey year          4.8
                                                         14.3
                                                  6.8
                                                  6.3
                55 years of age or older          6.9
                                                   7.6
                                                 5.0

                                             0           20           40      60   80     100
                                                                      Percent




                                             Exhibit 6
                                               0221
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.591 Page 232 of
                                                 428
  Sport Shooting Participation in the United States in 2018               67


  CHARACTERISTICS OF THOSE LEAVING THE SHOOTING SPORTS
  As was done in the last report, this analysis uses a proxy for those leaving the shooting sports.
  This proxy group consists of those who shot in 2018 but in the survey said that they are not
  likely to go shooting in the next 2 years. The demographic characteristics of these people were
  then compared to those of new shooters (discussed previously). The data suggest that those
  leaving the sport are not the same as those coming into it (answering the question of whether
  many of those who came into the sport in the past few years had simply tried it, had not enjoyed
  it, and were now leaving it), as those leaving tend to be older than new shooters, and they tend to
  be more male than new shooters.


       Respondent's gender (not
         asked; observed by                                                    May I ask your age?
            interviewer).


                                                                   65 years old or       2
                                                                        older                 16
                                        53
        Male
                                                                                         6
                                           58                      55-64 years old
                                                                                             14


                                                                                             10
                                                                   45-54 years old
                                                                                             11
                                     47
      Female                                                                                                 New shooter
                                                                                                  21
                                   41                              35-44 years old
                                                                                                  21
                                          New shooter
                                                                                                       31    Shot in 2018
                                                                   25-34 years old
                                                                                                  22         but not at all
                   0                                                                                         likely to shoot in
                                          Shot in 2018 but not
   Could not                                                                                                 next 2 years
                                          at all likely to shoot
   determine       Less than                                                                        28
                                          in next 2 years          18-24 years old
                      0.5                                                                    13

                                                                                     0       20        40   60   80     100
               0       20       40     60        80     100
                               Percent                                                            Percent




                                                            Exhibit 6
                                                              0222
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.592 Page 233 of
                                     428
  68                                                      Responsive Management

  There are also marked differences in residency: those leaving the sport of shooting are more
  likely than new shooters to come from a small city or town or a rural area. Finally, those leaving
  the sport are more likely than new shooters to have grown up in a family with firearms. Taken
  together, these results suggest that those leaving the sport are older established male shooters.


         Q190. Do you consider your                                           When you were growing up,
          place of residence to be a                                           did your family own any
          large city or urban area, a                                                 firearms?
        suburban area, a small city or
        town, a rural area on a farm or
        ranch, or a rural area not on a
                farm or ranch?                                                                                       63
                                                                             Yes
       Large city or                          35                                                                          70
        urban area                       24

    Suburban area                  12
                                   13

                                          30                                                              34
  Small city or town
                                         24                                   No                                New shooter
                                                                                                     23
    Rural area on a            6
     farm or ranch                  16             New shooter

  Rural area not on                13                                                                           Shot in 2018 but
   a farm or ranch                   19                                                                         not at all likely to
                                                   Shot in 2018 but                     3                       shoot in next 2
                           2                       not at all likely   Don't know                               years
        Don't know
                           2                       to shoot in next                         7
                                                   2 years
           Refused         1
                           1
                                                                                    0           20        40    60        80   100
                       0           20      40   60       80    100
                                        Percent                                                       Percent




                                                                 Exhibit 6
                                                                   0223
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.593 Page 234 of
                                                 428
  Sport Shooting Participation in the United States in 2018               69


  DEMOGRAPHIC CHARACTERISTICS OF MODERN SPORTING RIFLE SHOOTERS
  One aspect of the analysis looked at the demographic makeup of modern sporting rifle shooters.
  The top association is with those who hunted (although this does not mean the modern sporting
  rifle was used for hunting; it may have been, but not necessarily). In addition, positive
  correlations were found with being male and being 18-54 years old. The groups with
  participation rates in shooting a modern sporting rifle that are higher than the rate overall are at
  the top of the graph, above the percentage of U.S. residents overall who used a modern sporting
  rifle (7.8%, shown by the striped bar).


                Percent of each of the following
                groups who shot with a modern
                     sporting rifle in 2018:

                                                                              Examples Explaining
                      Hunted in 2018                   32.1                   How to Interpret Graph:

                                 Male           13.7                          32.1% of those who hunted
                                                                              in 2018 also target shot
                  35-54 years of age            10.4                          with a modern sporting
                                                                              rifle (meaning that 67.9%
                                                                              of those who hunted in
                  18-34 years of age           9.5                            2018 did not target shoot
   Lives in small city or town or rural                                       with a modern sporting
                  area                         8.6                            rifle) (note that these
                                                                              respondents did not
                    Northeast Region           8.2                            necessarily use their
                                                                              modern sporting rifle for
                        South Region           8.1                            hunting)

                     Midwest Region            7.9                            10.4% of U.S. residents 35
                                                                              to 54 years old and 9.5% of
                                 Total         7.8                            residents 18 to 34 years old
                                                                              target shot with a modern
     Lives in urban or suburban area           7.2                            sporting rifle

                         West Region           7.1                            These are all above the rate
                                                                              among U.S. residents
                                                                              overall (7.8%) who target
             55 years of age or older         4.8                             shot with a modern
                                                                              sporting rifle, shown by the
                 Did not hunt in 2018         4.6                             striped bar

                              Female          2.3

                                          0     20     40 60 80    100
                                                        Percent




                                                     Exhibit 6
                                                       0224
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.594 Page 235 of
                                     428
  70                                                      Responsive Management


  TRADITIONAL AND NONTRADITIONAL PATHWAYS TO SPORT SHOOTING
  This section looks at the nontraditional path in several ways, including a look at initiation into
  the sport (which matches the last report) and then how growing up with a firearm affects
  shooting participation (which matches the two previous reports). The final part of this section
  looks at nontraditional shooters, using several variables to define them, and explores the
  nontraditional path into shooting.

  Initiation Into Target/Sport Shooting
  Those who target or sport shot in 2018 were asked about the firearms they used when they first
  learned how to target shoot. Traditional rifles were the most popular (more than half used them
  when learning), with shotguns and handguns next (each at about a third).


                                 Which of the following firearms did you use
                                 when you first learned how to target shoot?
                                  (Asked of those who went target or sport
                                             shooting in 2018.)


                                         Traditional rifle                           57
    Multiple Responses Allowed




                                                Shotgun                        36


                                               Handgun                         33


                                                 Air rifle                19


                                    Modern sporting rifle            9


                                 Black powder firearm or
                                                                 5
                                      muzzleloader

                                                             0       20   40    60    80   100
                                                                      Percent (n=837)




                                                                         Exhibit 6
                                                                           0225
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.595 Page 236 of
                                                 428
  Sport Shooting Participation in the United States in 2018               71




                                   Which of the following firearms did you use
                                   when you first learned how to target shoot?
                                    (Asked of those who went target or sport
                                                shooting in 2018.)

                                                                                                              53
                                                                                                               55
                                                    Traditional rifle
                                                                                                              52
                                                                                                                    68


                                                                                               30
                                                                                                 35
                                                           Shotgun
                                                                                                         45
                                                                                               31
  Multiple Responses Allowed




                                                                                                    38
                                                                                                    37
                                                          Handgun
                                                                                         22
                                                                                                34


                                                                                   14
                                                                                          22
                                                            Air rifle
                                                                                        19
                                                                                       17


                                                                                  11
                                                                             7
                                               Modern sporting rifle
                                                                                  12
                                                                             7                  Northeast Region (n=115)
                                                                                                South Region (n=325)
                                                                              7                 Midwest Region (n=204)
                                                                             5                  West Region (n=193)
                               Black powder firearm or muzzleloader
                                                                            4
                                                                            3


                                                                        0          20           40            60         80   100
                                                                                               Percent




                                                                 Exhibit 6
                                                                   0226
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.596 Page 237 of
                                     428
  72                                                      Responsive Management

  Target/sport shooters most commonly were taught to shoot by their father (54%), far exceeding
  any other person or entity. The full results are shown in the graph. Another graph shows the
  person who first took respondents shooting, again with father being the top response (this
  includes those who were self-taught and were not asked the first question).


                                        Who or which group taught you? (Asked of
                                       those who had a person or group teach them
                                                     how to shoot.)

                                                                             Father                                   54

                                                                  Friend / neighbor                12

                                                                       Grandfather                 10

                                                                             Uncle             6
   Multiple Responses Allowed




                                Camp or group other than school or church group or
                                                                                               5
                                                     Scouts

                                                     Spouse / boyfriend / girlfriend           5

                                                                            Brother        3

                                                          State agency sponsored           3

                                                                            Military       2

                                                                  Boy / Girl Scouts        2

                                   Other family member not listed / extended family        2

                                                                            Mother         2

                                                                             In-law        2

                                                                     School group          1

                                                                              NRA          1

                                                                                       0            20        40      60   80   100
                                                                                                        Percent (n=786)




                                                                            Exhibit 6
                                                                              0227
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.597 Page 238 of
                                                 428
  Sport Shooting Participation in the United States in 2018               73




                                      Who or which group taught you? (Asked of
                                   those who went target or sport shooting in 2018
                                    and who said a group or person taught them to
                                           shoot when they first learned.)

                                                                                                  44
                                                          Father                                       52
                                                                                                            62
                                                                                                         56
                                                                                        15
                                              Friend / neighbor                      11
                                                                                      12
                                                                                     11
                                                                                 7
                                                    Grandfather                      10
                                                                                        14
                                                                                     10
                                                                                 9
                                                          Uncle              5
                                                                                 8
                                                                            3
                      Camp or group other than school or                    4
                                                                                     10
                                                                        1
                          church group or Scouts                                 8
   Multiple Responses Allowed




                                                                             6
                                  Spouse / boyfriend / girlfriend       2
                                                                             6
                                                                             5
                                                                          6
                                                         Brother        2
                                                                           7
                                                                        1
                                                                                 8
                                       State agency sponsored           2
                                                                         4
                                                                        2
                                                                            4
                                                         Military       0
                                                                            4
                                                                        1
                                                                        2
                                               Boy / Girl Scouts        2
                                                                        2
                                                                        2
                                Other family member not listed /        1
                                                                         2
                                                                          3
                                        extended family                   3
                                                                        2
                                                         Mother         1
                                                                         2                        Northeast Region (n=109)
                                                                        1
                                                                        2                         South Region (n=304)
                                                          In-law        1
                                                                        2                         Midwest Region (n=187)
                                                                        1
                                                                        1                         West Region (n=186)
                                                  School group          1
                                                                         3
                                                                        1
                                                                        0
                                                           NRA          1
                                                                        1
                                                                         2

                                                                    0                  20    40         60       80     100
                                                                                              Percent




                                                                    Exhibit 6
                                                                      0228
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.598 Page 239 of
                                     428
  74                                                      Responsive Management




                                  Who first took you target shooting? (Asked of
                                   those who went target or sport shooting in
                                                      2018.)


                                                                    Father                             52

                                                        Friend / neighbor                 12

                                                              Grandfather             8

                                           Spouse / boyfriend / girlfriend            6

                                                                    Uncle             6
   Multiple Responses Allowed




                                                     No one; went myself              4

                                                                   Brother        4

                                               Military / law enforcement         3

                                           Camp / school / church group           2

                                                                    In-law        1

                                Other family not listed / family in general       1

                                                                   Mother         1

                                                         Boy / Girl Scouts        1

                                                           Son / daughter         1

                                                                              0           20      40   60    80   100
                                                                                               Percent (n=837)




                                                                 Exhibit 6
                                                                   0229
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.599 Page 240 of
                                                 428
  Sport Shooting Participation in the United States in 2018               75




                                      Who first took you target shooting? (Asked of
                                       those who went target or sport shooting in
                                                          2018.)

                                                                                                         44
                                                                   Father                                     50
                                                                                                                   56
                                                                                                                   56
                                                                                               14
                                                       Friend / neighbor                      13
                                                                                              12
                                                                                          9
                                                                                      6
                                                             Grandfather                  9
                                                                                           10
                                                                                      5
                                                                                            11
                                          Spouse / boyfriend / girlfriend         3
                                                                                    6
                                                                                   5
                                                                                        8
                                                                   Uncle              5
                                                                                       6
  Multiple Responses Allowed




                                                                                      4
                                                                                   4
                                                    No one; went myself           3
                                                                                    6
                                                                                  3
                                                                                    5
                                                                  Brother         2
                                                                                    6
                                                                                   4
                                                                                   3
                                              Military / law enforcement         2
                                                                                   4
                                                                                 1
                                                                                 0
                                          Camp / school / church group           1
                                                                                  3
                                                                                 1
                                                                                  2
                                                                   In-law        1
                                                                                 1
                                                                                 1
                                                                                 1
                               Other family not listed / family in general       0
                                                                                  2
                                                                                  2
                                                                                  2
                                                                  Mother         0
                                                                                 1
                                                                                 1                       Northeast Region (n=115)
                                                                                 0                       South Region (n=325)
                                                       Boy / Girl Scouts         0
                                                                                  1                      Midwest Region (n=204)
                                                                                  2
                                                                                                         West Region (n=193)
                                                                                 0
                                                          Son / daughter         1
                                                                                 0
                                                                                 1

                                                                             0                20    40         60       80   100
                                                                                                    Percent




                                                                     Exhibit 6
                                                                       0230
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.600 Page 241 of
                                     428
  76                                                      Responsive Management


  Growing Up With Firearms and Its Effect on Shooting Participation
  The previous shooting participation report included an analysis according to whether the
  respondent grew up with a firearm or not, and this report continues that analysis. Those growing
  up with a firearm (or at least being aware that they did), compared to their counterparts not
  growing up with a firearm, are slightly more likely to be male, older, rural, and from the South or
  Midwest Regions. They are also more likely to have participated in target/sport shooting in 2018.



                Q199. Respondent's gender (not asked;
                       observed by interviewer).



                                                     51
         Male
                                               44




                                                    48
      Female
                                                          56


                                                                Grew up with firearm in
                                                                house (n=1888)
                    Less than 0.5                               Did not grow up with firearm
   Could not
   determine                                                    in house (n=1024)
                    Less than 0.5



                0           20           40          60           80           100
                                              Percent




                                              Exhibit 6
                                                0231
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.601 Page 242 of
                                                 428
  Sport Shooting Participation in the United States in 2018               77




                              Q116. May I ask your age?




    65 years old or                  20
         older                     16


                                18
   55-64 years old
                               15


                                    18
   45-54 years old
                                   16


                                17
   35-44 years old
                               14                                 Grew up with firearm in
                                                                  house (n=1888)
                               15                                 Did not grow up with
   25-34 years old                                                firearm in house (n=1024)
                                        20


                              10
   18-24 years old
                                   16


      Don't know /        1
        refused           1


                          2
          Refused
                          3

                      0            20        40         60   80         100
                                                  Percent




                                             Exhibit 6
                                               0232
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.602 Page 243 of
                                     428
  78                                                      Responsive Management




           Q190. Do you consider your place of residence
             to be a large city or urban area, a suburban
           area, a small city or town, a rural area on a farm
           or ranch, or a rural area not on a farm or ranch?




  Large city or urban                    23
         area                                  33


                                         22
     Suburban area
                                              30


                                           28
   Small city or town
                                          25

                                                                         Grew up with firearm in
     Rural area on a            9                                        house (n=1888)
      farm or ranch         3                                            Did not grow up with
                                                                         firearm in house (n=1024)

   Rural area not on                18
    a farm or ranch             9


                            0
         Don't know
                            1


                            0
            Refused
                            0

                        0           20             40          60   80         100
                                                        Percent




                                                   Exhibit 6
                                                     0233
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.603 Page 244 of
                                                 428
  Sport Shooting Participation in the United States in 2018               79




                               Region of residence.




                          13
   Northeast Region
                                    25




                                              40
      South Region
                                         33
                                                                Grew up with firearm in
                                                                house (n=1888)
                                                                Did not grow up with
                                                                firearm in house (n=1024)
                                23
    Midwest Region
                               19




                                23
       West Region
                                24



                      0    20             40          60   80         100
                                               Percent




                                          Exhibit 6
                                            0234
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.604 Page 245 of
                                     428
  80                                                      Responsive Management




                           Participation in target shooting.




                                        30

      Target shot in
          2018

                              10                             Grew up with firearm in
                                                             house (n=1888)
                                                             Did not grow up with
                                                             firearm in house (n=1024)




                                                             70

      Did not target
      shoot in 2018

                                                                         90




                       0           20        40         60        80       100

                                              Percent




                                         Exhibit 6
                                           0235
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.605 Page 246 of
                                                 428
  Sport Shooting Participation in the United States in 2018               81

  Another aspect of shooting that was analyzed was how growing up with a firearm in the house
  affects target/sport shooting participation. Shooters in 2018 are much more likely to have grown
  up with a firearm, compared to non-shooters. The survey asked all respondents if they had grown
  up with a firearm in their household, and those who shot in 2018 were much more likely to say
  yes: 80% of 2018 target shooters compared to 54% of non-shooters. This question allows the
  identification of defined market groups, as discussed in the following pages.



              Q182. When you were growing up, did your
                     family own any firearms?




                                                                 80
            Yes
                                                 54
                                                                      Demographic analyses
                                                                      were conducted on two
                                                                      groups of interest here:
                                                                      those who grew up with
                                                                      a firearm yet did not
                                                                      target or sport shoot in
                             17                                       2018, and those who
                                                                      did not grow up with a
             No                                                       firearm yet went
                                            43                        target/sport shooting in
                                                                      2018.




                                                       Target shot in 2018 (n=853)
                      4
    Don't know
                                                       Did not target shoot in 2018
                      3                                (n=2147)




                  0         20         40         60          80           100
                                         Percent




                                            Exhibit 6
                                              0236
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.606 Page 247 of
                                     428
  82                                                      Responsive Management

  There are two groups of interest in the previous graph. One group is of people who would seem
  predisposed to show interest in target/sport shooting—those who grew up with a firearm—but
  did not go target/sport shooting in 2018. They are examined first, then the second group will be
  examined.

  The graph below shows the gender of those non-shooters who grew up with a firearm compared
  to the entire sample (i.e., all Americans). As was the case the last time this study was done in
  2016, this group of non-shooters has slightly more women than the population as a whole.


            Q199. Respondent's gender (not asked;
                   observed by interviewer).




                                              43
         Male

                                                   49




                                                         57
                                                                    Grew up with firearm, did
      Female                                                        not shoot in 2018 (n=1193)
                                                                    Total (n=3000)
                                                    51




                0           20           40              60        80           100
                                              Percent




                                              Exhibit 6
                                                0237
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.607 Page 248 of
                                                 428
  Sport Shooting Participation in the United States in 2018               83

  These studies continue to show that non-shooters who grew up with a firearm are a bit older,
  compared to the population as a whole, as demonstrated by the two age crosstabulations.



                                 Q116. May I ask your age?


       65 years old or                         24
            older                         19


                                       19
       55-64 years old
                                      16


                                       18
       45-54 years old
                                      17


                                      14
       35-44 years old
                                      15


                                     12
       25-34 years old
                                          17


                                 9
       18-24 years old
                                     12                          Grew up with firearm, did
                                                                 not shoot in 2018 (n=1193)

          Don't know /       0                                   Total (n=3000)
            refused          1


                             3
              Refused
                             3

                         0            20               40        60         80         100

                                                            Percent




                                                    Exhibit 6
                                                      0238
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.608 Page 249 of
                                     428
  84                                                      Responsive Management




                          Median split of age.




                                                  59

    Median age
    (48) or older

                                            50




                                       41
   Younger than                                        Grew up with firearm, did
                                                       not shoot in 2018 (n=1160)
    the median
      age (48)
                                                       Total (n=2876)
                                            50




                    0   20        40             60    80       100
                                   Percent




                                   Exhibit 6
                                     0239
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.609 Page 250 of
                                                 428
  Sport Shooting Participation in the United States in 2018               85

  Another graph shows the interaction of age and gender—note that older women make up a
  greater proportion of this group than they do of the general population in 2018.



                                     Age and gender.




                                       26
    Male, median
   age (47) or older
                                      24




    Male, younger                18
   than the median
       age (47)                       25




                                            34
   Female, median
   age (47) or older
                                       26                        Grew up with firearm, did
                                                                 not shoot in 2018 (n=1158)

                                                                 Total (n=2871)


  Female, younger                     23
  than the median
      age (47)                        25



                       0        20           40             60          80         100
                                                  Percent




                                            Exhibit 6
                                              0240
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.610 Page 251 of
                                     428
  86                                                      Responsive Management

  Non-shooters in 2018 who grew up with a firearm are slightly more rural, compared to the
  population as a whole.


            Q190. Do you consider your place of residence
              to be a large city or urban area, a suburban
            area, a small city or town, a rural area on a farm
            or ranch, or a rural area not on a farm or ranch?



    Large city or urban                      23
           area                               26


                                             24
        Suburban area
                                             24


                                               29
     Small city or town
                                              26


  Rural area on a farm             8
        or ranch                  6


   Rural area not on a                  16
     farm or ranch                     14                      Grew up with firearm, did
                                                               not shoot in 2018 (n=1193)


                              0                                Total (n=3000)
            Don't know
                              2


                              0
               Refused
                              2

                          0            20           40         60       80       100

                                                      Percent




                                                   Exhibit 6
                                                     0241
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.611 Page 252 of
                                                 428
  Sport Shooting Participation in the United States in 2018               87

  The regional differences, although slight, suggest that those from the South are more likely than
  the population as a whole to have grown up with a firearm yet not gone target or sport shooting
  in 2018.



                                    Region of residence.




                                      13
         Northeast Region
                                        18




                                                       42
              South Region
                                                    37




                                            22
           Midwest Region                                         Grew up with firearm, did not
                                            21                    shoot in 2018 (n=1193)

                                                                  Total (n=3000)


                                            22
              West Region
                                            23



                              0        20         40         60      80      100


                                                   Percent




                                                 Exhibit 6
                                                   0242
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.612 Page 253 of
                                     428
  88                                                      Responsive Management

  The second group of interest consisted of those who went shooting in 2016 but did not grow up
  with a firearm. These would be people who appear to have entered the sport of shooting in a
  nontraditional path (the “traditional” path is being initiated into shooting as a child by a family
  member). The following shows some of the demographic characteristics of this group.

  As was noted in the previous report, although there has been a noted influx of women into the
  shooting sports in recent years, it is still males who make up the majority of those who did not
  grow up with a firearm but nonetheless went target or sport shooting in 2018 (71% are men,
  while 29% are women), and males are more likely than females to not grow up with a firearm yet
  have gone shooting in 2018 (compare the 71% in the group as opposed to 49% being male
  among U.S. residents as a whole).


             Respondent's gender (not asked; observed by
                            interviewer).




                                                                  71
                  Male
                                                      49


                                                                  Did not grow up with firearm,
                                                                  shot in 2018 (n=134)

                                                                  Total (n=3000)

                                           29
               Female
                                                       51




                         0         20           40      60          80         100
                                                 Percent




                                                Exhibit 6
                                                  0243
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.613 Page 254 of
                                                 428
  Sport Shooting Participation in the United States in 2018               89

  Those shooters in 2018 who came into shooting in a nontraditional way tend to be younger than
  the population as a whole: two of the three youngest age categories below show this. A split by
  mean age is also shown.


                                May I ask your age?




                                     10
    65 years old or older
                                           19


                                          17
         55-64 years old
                                          16


                                     12
         45-54 years old
                                       17


                                               21
         35-44 years old
                                          15


                                                    28
         25-34 years old
                                          17
                                                                    Did not grow up with firearm, shot
                                                                    in 2018 (n=134)
                                     11
         18-24 years old
                                      12
                                                                    Total (n=3000)

                                0
    Don't know / refused
                                1


                                1
                 Refused
                                 3

                            0             20             40     60           80        100
                                                          Percent




                                                    Exhibit 6
                                                      0244
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.614 Page 255 of
                                     428
  90                                                      Responsive Management




              Median split of age (median calculated on entire
                                  sample).




                                    39
   Median age (48)
      or higher

                                          50


                                                         Did not grow up with firearm,
                                                         shot in 2018 (n=132)

                                                         Total (n=2876)




                                                    61
     Below the
   median age (48)

                                          50




                     0    20      40           60        80        100

                                       Percent




                                   Exhibit 6
                                     0245
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.615 Page 256 of
                                                 428
  Sport Shooting Participation in the United States in 2018               91

  These 2018 shooters from a non-firearm background tend to be slightly more urban and suburban
  than the population as a whole.


           Do you consider your place of residence to be a
             large city or urban area, a suburban area, a
             small city or town, a rural area on a farm or
            ranch, or a rural area not on a farm or ranch?



     Large city or urban                       29
            area                              26


                                                29
         Suburban area
                                              24


                                              24
      Small city or town
                                               26


   Rural area on a farm             7
         or ranch                   6


    Rural area not on a                 11                       Did not grow up with firearm,
      farm or ranch                      14                      shot in 2018 (n=134)


                                                                 Total (n=3000)
                               0
             Don't know
                                2


                               1
                Refused
                               2

                           0             20          40     60         80         100

                                                      Percent




                                                Exhibit 6
                                                  0246
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.616 Page 257 of
                                     428
  92                                                      Responsive Management

  The final crosstabulation in this section shows the regions; these shooters are not greatly
  different than the total population regarding their region of residence.



                                    Region of residence.




                                       20
    Northeast Region
                                      18




                                                  37
         South Region
                                                  37




                                          22                      Did not grow up with firearm,
      Midwest Region                                              shot in 2018 (n=134)
                                          21
                                                                  Total (n=3000)




                                       20
          West Region
                                           23



                          0          20          40         60         80          100

                                                   Percent




                                                Exhibit 6
                                                  0247
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.617 Page 258 of
                                                 428
  Sport Shooting Participation in the United States in 2018               93


  Nontraditional Shooters
  Seven characteristics were used to identify nontraditional shooters. Each variable was made to be
  dichotomous, meaning each had two sides: a variable had either a traditional or nontraditional
  side. Most of these characteristics were based on a single survey question, but two characteristics
  were based on the results of multiple questions. The characteristics and the question responses on
  which they are based are shown in the tabulation that follows.

  Nontraditional Characteristic                             Question Used as Basis
                                          When you were growing up, did your family own any
  Not growing up in a household with a firearms?
  firearm that was actively used at least (IF YES) When you were growing up, about how many
  two times per year                      times per year did someone in your family use the firearm
                                          for target shooting?
  Did not shoot until an adult            How old were you when you first went target shooting?
  First experienced shooting with a       Which of the following firearms did you use when you
  handgun or a modern sporting rifle      first learned how to target shoot?
                                          Did you have a person or group who taught you how to
  Not mentored by a father or other
                                          shoot?
  close male relative
                                          (IF YES): Who or which group taught you?
                                          What races or ethnic backgrounds do you consider
  Ethnically non-white
                                          yourself? Please mention all that apply.
  Female                                  Observe and record respondent’s gender.
                                          Do you consider your place of residence to be a large city
                                          or urban area, a suburban area, a small city or town, a rural
  Urban/suburban
                                          area on a farm or ranch, or a rural area not on a farm or
                                          ranch?

  For the purposes of this analysis, a respondent was nontraditional if four of the seven
  characteristics were nontraditional—in other words, if more than half of the characteristics were
  in the nontraditional side of the dichotomy. In the sample of shooters, 29.6% had at least four of
  the seven variables in the nontraditional side; 70.4% of shooters were considered traditional.
  These two groups (traditional and nontraditional shooters) were then crosstabulated by region, by
  their reasons for shooting, by what shooting activities they did, by the types of firearms they
  shot, and by the number of days that they did various shooting activities.

  Similar to the last report, the findings show that nontraditional shooters are associated with
  shooting handguns at indoor ranges for self-defense practice. While the parameters chosen have
  some influence on two of these crosstabulations (type of firearm they currently shoot is partly,
  but not wholly, associated with what they first learned to shoot, as is type of shooting activity),
  the other variables are completely separate from the questions used as parameters. The region,
  importance of reasons for shooting, and days shooting are all fairly independent of the questions
  used to define the parameters.

  Regionally, one region is markedly lower in percentage of nontraditional shooters: the Midwest
  Region has only 21% of shooters being nontraditional, compared to 31% to 34% of the other
  regions.




                                                  Exhibit 6
                                                    0248
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.618 Page 259 of
                                     428
  94                                                      Responsive Management

  For each possible reason to shoot, nontraditional shooters think it is less important than do
  traditional shooters with two exceptions, the more important of these two being shooting for self-
  defense practice, which 65% of nontraditional shooters but only 57% of traditional shooters
  consider to be a very important reason to go shooting (the other exception is shooting for a job,
  which is so low in importance among both groups it can be ignored here). On all other reasons,
  the traditional shooters have a higher percentage thinking it to be very important, in particular,
  preparing for hunting (31% of nontraditional shooters think this is very important, compared to
  59% of traditional shooters) and mentoring another shooter (24% to 49%, respectively). For
  consistency, the “don’t know” response is shown on all these graphs, even though it is at 0% for
  both groups on one of the graphs.

  Target shooting at an indoor range was the most markedly different activity when comparing
  nontraditional and traditional shooters: 54% of nontraditional shooters did this, which is more
  than double the rate among traditional shooters, whose rate is 26%. The only other activity with a
  higher rate among the nontraditional shooters (77%) than the traditional shooters (72%) is target
  shooting with a handgun. For all other activities, traditional shooters have a higher rate of
  participation, particularly target shooting with a rifle and clay sports.

  Regarding types of firearms, only handgun has a higher rate of use among nontraditional
  shooters (71% of nontraditional shooters, compared to 70% of traditional shooters, which is
  actually within the margin of error). Otherwise, all other types of firearms have a higher rate of
  use among traditional shooters, with the largest difference being use of shotguns: while 37% of
  nontraditional shooters used them, 59% of traditional shooters used them in 2018.

  For every activity, traditional shooters had a higher mean number of days, compared to
  nontraditional shooters. When looking at medians, however, traditional and nontraditional
  shooters had the same medians for days shooting trap, sporting clays, and long-range shooting.
  Otherwise, traditional shooters have higher medians than do nontraditional shooters.




                                              Exhibit 6
                                                0249
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                                                 428
  Sport Shooting Participation in the United States in 2018               95




             Traditional and nontraditional shooters by
                               region.




                                                         68


                                                         69
   Traditional shooter
                                                               79


                                                        66




                                       32


                                       31               Northeast Region (n=116)
       Nontraditional
         shooter                                        South Region (n=330)
                                  21                    Midwest Region (n=209)
                                                        West Region (n=198)
                                        34




                         0   20         40         60         80      100
                                             Percent




                                       Exhibit 6
                                         0250
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.620 Page 261 of
                                     428
  96                                                      Responsive Management




              How important is to practice or prepare for
              hunting as a reason to go target shooting?




                                                             59
   Very important
                                         31




                              16
      Somewhat
      important
                               19
                                                                       Traditional shooter
                                                                       (n=641)
                                                                       Nontraditional shooter
                                                                       (n=212)
                                    24
         Not at all
        important
                                                      50




                          1
      Don't know
                          0



                      0       20              40           60     80          100
                                                   Percent




                                              Exhibit 6
                                                0251
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.621 Page 262 of
                                                 428
  Sport Shooting Participation in the United States in 2018               97




             How important is for self defense as a reason to
                         go target shooting?




                                                        57
   Very important
                                                             65




                                    25
      Somewhat
      important
                              14                                       Traditional shooter
                                                                       (n=641)
                                                                       Nontraditional shooter
                                                                       (n=212)

                               18
         Not at all
        important
                                   21




                          1
      Don't know
                          0



                      0       20         40          60           80          100
                                              Percent




                                         Exhibit 6
                                           0252
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.622 Page 263 of
                                     428
  98                                                      Responsive Management




            How important is for sport and recreation as a
                   reason to go target shooting?




                                                             62
   Very important
                                                  45




                                       30
      Somewhat
      important
                                             39                        Traditional shooter
                                                                       (n=641)
                                                                       Nontraditional shooter
                                                                       (n=212)

                              7
         Not at all
        important
                                  15




                          0
      Don't know
                          1



                      0           20        40          60        80          100
                                                 Percent




                                            Exhibit 6
                                              0253
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.623 Page 264 of
                                                 428
  Sport Shooting Participation in the United States in 2018               99




              How important is to mentor a new target
             shooter as a reason to go target shooting?




                                                 49
   Very important
                                    24




                                    24
      Somewhat
      important
                                   21                           Traditional shooter
                                                                (n=641)
                                                                Nontraditional shooter
                                                                (n=212)

                                    25
         Not at all
        important
                                                      54




                          1
      Don't know
                          1



                      0       20         40           60   80          100
                                              Percent




                                         Exhibit 6
                                           0254
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.624 Page 265 of
                                     428
  100                                                     Responsive Management




              How important is to be with family or friends as
                    a reason to go target shooting?




                                                                   75
   Very important
                                                              61




                                   17
      Somewhat
      important
                                        25                              Traditional shooter
                                                                        (n=641)
                                                                        Nontraditional shooter
                                                                        (n=212)

                              7
         Not at all
        important
                                  14




                          1
      Don't know
                          0



                      0           20         40          60        80          100
                                                  Percent




                                             Exhibit 6
                                               0255
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.625 Page 266 of
                                                 428
  Sport Shooting Participation in the United States in 2018              101




             How important is it that it is part of your job as a
                    reason to go target shooting?




                                  13
   Very important
                                  13




                              5
      Somewhat
      important
                              7




                                                                81
         Not at all
        important
                                                             79



                                                         Traditional shooter
                                                         (n=641)
                          0
                                                         Nontraditional shooter
      Don't know
                                                         (n=212)
                          0



                      0            20   40          60     80         100
                                             Percent




                                        Exhibit 6
                                          0256
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.626 Page 267 of
                                     428
  102                                                     Responsive Management




                                    I'd like to know about the types of shooting that
                                           you did in 2018. Did you do any of the
                                     following? Did you go...? (Asked of those who
                                          went target or sport shooting in 2018.)


                                     Target shooting with a handgun                                               72
                                                                                                                    77


                                          Target shooting with a rifle                                        66
                                                                                                       51


                                 Target shooting at an outdoor range                                         60
                                                                                                      49

           Target shooting with a modern sporting                                                38
                            rifle                                                           29
    Multiple Responses Allowed




                                  Target shooting at an indoor range                    26
                                                                                                        54


                                                       Sporting clays                        31
                                                                                 11


                                                      Skeet shooting                        27
                                                                                 10


                                                       Trap shooting                    25
                                                                             7


                                                Long-range shooting                    20
                                                                                  12
                                                                                                 Traditional shooter (n=641)

                                                      3-gun shooting          8                  Nontraditional shooter (n=212)
                                                                             6

                                                                         0        20         40         60         80    100
                                                                                                 Percent




                                                                  Exhibit 6
                                                                    0257
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.627 Page 268 of
                                                 428
  Sport Shooting Participation in the United States in 2018              103




                                    Which of the following firearms or equipment
                                     did you use when target shooting in 2018?
                                      (Asked of those who went target or sport
                                                  shooting in 2018.)


                                                                                                            70
                                              Handgun
                                                                                                            71


                                                                                                       64
                                        Traditional rifle
                                                                                             48


                                                                                                   59
                                               Shotgun
                                                                                        37
   Multiple Responses Allowed




                                                                                        37
                                   Modern sporting rifle
                                                                                   27


                                                                                  24
                                                Air rifle
                                                                        10


                                Black powder firearm or                      16
                                     muzzleloader                   5


                                                                 4
                                         None of these
                                                                2
                                                                                             Traditional shooter (n=641)

                                                                1                            Nontraditional shooter (n=212)
                                            Don't know
                                                                1

                                                            0                20         40        60         80      100
                                                                                         Percent




                                                                         Exhibit 6
                                                                           0258
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.628 Page 269 of
                                     428
  104                                                     Responsive Management




              How many days did you target shoot with a
          traditional rifle, in other words a rifle with bolt or
          lever action, in 2018? (Asked of those who went
            target shooting with a traditional rifle in 2018.)



   More than 30               7
      days            1
                                                                 Means
     21-30 days           6                                      Traditional: 13.50
                      2                                          Nontraditional: 4.79
                                                                 Medians
     11-20 days                       13                         Traditional: 5
                      3                                          Nontraditional: 2

      6-10 days                        17
                                      15

         5 days               9
                               10

         4 days           5
                          6

                              8                              Traditional shooter (n=438)
         3 days
                          4
                                                             Nontraditional shooter
                                      14                     (n=108)
         2 days
                                       18

         1 days                   11
                                            34

     Don't know                   9
                          7

                  0                    20   40          60         80         100
                                                 Percent




                                                 Exhibit 6
                                                   0259
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.629 Page 270 of
                                                 428
  Sport Shooting Participation in the United States in 2018              105




           How many days did you target shoot with a
          modern sporting rifle in 2018? (Asked of those
            who went target shooting with a modern
                    sporting rifle in 2018.)



   More than 30                   12
      days            3
                                                                       Means
     21-30 days            8                                           Traditional: 18.29
                          6                                            Nontraditional: 6.35
                                                                       Medians
     11-20 days                   13                                   Traditional: 6
                      5                                                Nontraditional: 3

      6-10 days                        17
                               11

         5 days           8
                           9

         4 days           7
                              9

         3 days            9
                          7

         2 days                11
                                            27
                                                                 Traditional shooter (n=241)

         1 days           7
                                       18                        Nontraditional shooter
                                                                 (n=67)

     Don't know               9
                      5

                  0                 20           40         60           80          100
                                                      Percent




                                                  Exhibit 6
                                                    0260
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.630 Page 271 of
                                     428
  106                                                     Responsive Management




          How many days did you target shoot with a
          handgun in 2018? (Asked of those who went
            target shooting with a handgun in 2018.)




   More than 30               9
      days            4

     21-30 days           6                                              Means
                      2                                                  Traditional: 14.50
                                                                         Nontraditional: 7.76
     11-20 days                    14                                    Medians
                              7                                          Traditional: 6
                                                                         Nontraditional: 3
      6-10 days                         18
                                   13

         5 days            9
                          7

         4 days           7
                                  11

         3 days               9
                                   13
                                                                Traditional shooter (n=471)
         2 days                    13
                                     17                         Nontraditional shooter
                                                                (n=170)
         1 days                   10
                                            23

     Don't know           5
                      2

                  0                    20        40         60           80         100
                                                      Percent




                                                  Exhibit 6
                                                    0261
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.631 Page 272 of
                                                 428
  Sport Shooting Participation in the United States in 2018              107




          How many days did you trap shoot in 2018?
          (Asked of those who went trap shooting in
                           2018.)




   More than 30               8
      days            2

     21-30 days               7
                          3
                                                                                 Means
                                                                                 Traditional: 11.51
     11-20 days                   11                                             Nontraditional: 6.72
                              6
                                                                                 Medians
                                                                                 Traditional: 3
      6-10 days               8                                                  Nontraditional: 3
                                            22

         5 days            6
                          5

         4 days            6
                          4

         3 days                    14
                                  11
                                                                     Traditional shooter (n=161)

         2 days                    15
                                     19                              Nontraditional shooter
                                                                     (n=20)

         1 days                         19
                                                 28

     Don't know           6
                      0

                  0                    20             40         60            80         100
                                                           Percent




                                                       Exhibit 6
                                                         0262
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.632 Page 273 of
                                     428
  108                                                     Responsive Management




           How many days did you skeet shoot in 2018?
           (Asked of those who went skeet shooting in
                             2018.)




   More than 30           6
      days            1

     21-30 days               7
                      2                                          Means
                                                                 Traditional: 10.49
                                                                 Nontraditional: 5.86
     11-20 days                   13
                          5                                      Medians
                                                                 Traditional: 4
                                                                 Nontraditional: 2
      6-10 days                   12
                                        19

         5 days           5
                              8

         4 days               9
                              9

                                  12                          Traditional shooter (n=170)
         3 days
                      3
                                                              Nontraditional shooter
                                   15                         (n=24)
         2 days
                                             33

         1 days                        17
                                       17

     Don't know       3
                      2

                  0                20         40         60       80          100
                                                   Percent




                                                  Exhibit 6
                                                    0263
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.633 Page 274 of
                                                 428
  Sport Shooting Participation in the United States in 2018              109




          How many days did you shoot sporting clays in
          2018? (Asked of those who shot sporting clays
                            in 2018.)




   More than 30                   8
      days            1

     21-30 days           5
                      0                                               Means
                                                                      Traditional: 16.34
     11-20 days               6                                       Nontraditional: 5.05
                              7                                       Medians
                                                                      Traditional: 3
      6-10 days                   8                                   Nontraditional: 3
                                       14

         5 days                       10
                              5

         4 days                   8
                          2

         3 days                       12
                                                  36

                                           17                    Traditional shooter (n=189)
         2 days
                                      12
                                                                 Nontraditional shooter
                                            20                   (n=28)
         1 days
                                             23

     Don't know               6
                      0

                  0                        20     40         60            80         100
                                                       Percent




                                                   Exhibit 6
                                                     0264
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.634 Page 275 of
                                     428
  110                                                     Responsive Management




           How many days did you go 3-gun shooting in
          2018? (Asked of those who participated in 3-gun
                        shooting in 2018.)




   More than 30                         19
      days                4

     21-30 days       0
                          4                                              Means
                                                                         Traditional: 28.74
     11-20 days           4                                              Nontraditional: 11.00
                                            22                           Medians
                                                                         Traditional: 5
      6-10 days                         18                               Nontraditional: 3
                      0

         5 days                   10
                      0

         4 days           5
                          6
                                                                Traditional shooter (n=54)
         3 days           6
                                       16                       Nontraditional shooter
                                                                (n=14)
         2 days               7
                              7

         1 days                    13
                                                      42

     Don't know                         19
                      0

                  0                    20        40         60            80         100
                                                      Percent




                                                  Exhibit 6
                                                    0265
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.635 Page 276 of
                                                 428
  Sport Shooting Participation in the United States in 2018              111




            How many days did you go long-range target
            shooting in 2018? (Asked of those who went
               long-range target shooting in 2018.)




   More than 30                   11
      days            3

     21-30 days           6
                      2
                                                                          Means
     11-20 days               9                                           Traditional: 12.54
                              10                                          Nontraditional: 6.74
                                                                          Medians

      6-10 days                             21                            Traditional: 5
                                             22                           Nontraditional: 5


         5 days           7
                                   14

         4 days               8
                      2

         3 days               10
                      4

         2 days                   12
                                            22                   Traditional shooter (n=123)

                                  13                             Nontraditional shooter
         1 days                                                  (n=26)
                                  13

     Don't know       3
                              8

                  0                    20         40         60           80         100
                                                       Percent




                                                   Exhibit 6
                                                     0266
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.636 Page 277 of
                                     428
  112                                                     Responsive Management




          You mentioned that you shot at a range in 2018.
            Approximately how many times did you go
               target shooting at a range in 2018?




   More than 30           7
      days            3

     21-30 days           6
                      1
                                                                      Means
     11-20 days               13
                          6                                           Traditional: 12.31
                                                                      Nontraditional: 5.53
                                                                      Medians
      6-10 days                15                                     Traditional: 4
                              12
                                                                      Nontraditional: 3

         5 days           6
                          5

         4 days               10
                              10

         3 days                13
                               14

         2 days                14                             Traditional shooter (n=432)
                                        22
                                                              Nontraditional shooter (n=175)
          1 day                15
                                         25

     Don't know       2
                      2

                  0                20         40         60           80         100
                                                   Percent




                                               Exhibit 6
                                                 0267
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.637 Page 278 of
                                                 428
  Sport Shooting Participation in the United States in 2018              113


  OVERLAP OF PARTICIPATION IN TARGET SHOOTING AND HUNTING
  The proportions of the hunting/shooting pool of participants who went target shooting, hunting
  with firearms, or both in 2018 are shown in the pie graph below. The entire pie consists of those
  who either hunted with firearms or went target/sport shooting. More than half of this pool went
  target/sport shooting but did not hunt.


                 Breakdown of those who went target
                     shooting or hunting in 2018.
                          11.6

                                                                       Target shooting, but not
                                                                       hunting
                                                                       Hunting and target
                                                  53.2                 shooting
                 35.2                                                  Hunting, but not target
                                                                       shooting




  A trend graph shows that hunting exclusive of target/sport shooting has declined over the given
  time period from 2012, when it made up 23.8% of the hunter/shooter pool, to 2018, when it
  made up only 11.6% of the pool.


                         Breakdown of those who went target shooting or
                                           hunting.
        100
                                                                       2012     2014      2016      2018
            80

            60                        51.4 53.2
  Percent




                               44.2
                        38.7                                    41.1
                                                         37.5
            40                                                         34.7 35.2

                                                                                            23.8
                                                                                                   17.4
            20                                                                                            13.9 11.6


            0
                   Target shooting, but not          Hunting and target shooting           Hunting, but not target
                           hunting                                                               shooting




                                                          Exhibit 6
                                                            0268
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.638 Page 279 of
                                     428
  114                                                     Responsive Management

  A very low percentage of respondents who participated in both hunting and target/sport shooting
  indicated that their target/sport shooting was done “just while preparing for hunting.” Rather,
  most of those who do both firearm hunting and target/sport shooting generally spend some of
  their time simply shooting separate from their hunting. (As was done in the analysis of 2016
  data, all hunters, including those exclusively bowhunting, were asked this question.)

              Would you say you went target shooting
           separate from hunting, or just while preparing
             for hunting, or both? (Asked of those who
               went both target shooting and hunting
                              in 2018.)


    Shot separate from
                                         29
          hunting




                    Both                            57




   Just while preparing
                                   14
        for hunting




             Don't know        1


                           0       20      40      60      80      100

                                        Percent (n=358)




                                              Exhibit 6
                                                0269
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                                                 428
  Sport Shooting Participation in the United States in 2018              115




                Would you say you went target shooting
             separate from hunting, or just while preparing
            for hunting, or both? (Asked of those who went
                  both target shooting and hunting.)




                                                         43
   Shot separate                          23
   from hunting                                28
                                              27


                                                              50
                                                                        63
            Both
                                                                   57
                                                              51


                                6
     Just while                     13
    preparing for
       hunting                      15
                                         19
                                                                    Northeast Region (n=55)
                                                                    South Region (n=124)
                        1                                           Midwest Region (n=110)
                        1                                           West Region (n=69)
     Don't know
                        0
                            2


                    0               20              40             60        80       100
                                                         Percent




                                                     Exhibit 6
                                                       0270
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.640 Page 281 of
                                     428
  116                                                     Responsive Management


  TYPES OF FIREARMS USED IN TARGET/SPORT SHOOTING AND HUNTING
  The following graph shows the percentages of target or sport shooters using various types of
  firearms (in total, 22.2% of all U.S. residents went target or sport shooting). Handguns and
  traditional rifles top the list, closely followed by shotguns. For each of these three types, a
  majority of those who go target or sport shooting use it. Graphs of regional results and trends
  follow.

  Note that two questions in the survey asked about equipment, such as modern sporting rifles. In
  the first, respondents were asked if they had participated in various activities, such as “target
  shooting with a modern sporting rifle.” A later question simply asked all target or sport shooters
  to name all the types of firearms that they had used in 2018 for any activities. Note that,
  typically, these percentages in the latter question are slightly more than those who reported that
  they “went target shooting” with the type of firearm. This discrepancy is accounted for by those
  who may have done other activities with these firearms (e.g., plinking, hunting) but not what
  they consider “target shooting” with them.



                                  Which of the following firearms or equipment did you
                                   use when target shooting in 2018? (Asked of those
                                      who went target or sport shooting in 2018.)



                                             Handgun                                      71
  Multiple Responses Allowed




                                       Traditional rifle                             59




                                              Shotgun                           53




                                  Modern sporting rifle                  34

                                                                                                                    Shot in
                                                                                                             22.2   2018
                                               Air rifle            20
                                                                                                                    Did not
                                                                                                      77.8          shoot in
                               Black powder firearm or                                                              2018
                                                               12
                                    muzzleloader


                                                           0   20        40      60        80   100

                                                                    Percent (n=853)




                                                                              Exhibit 6
                                                                                0271
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.641 Page 282 of
                                                 428
  Sport Shooting Participation in the United States in 2018              117




                                Which of the following firearms or equipment
                                 did you use when target shooting in 2018?
                                  (Asked of those who went target or sport
                                              shooting in 2018.)

                                                                                                                       73
                                                                                                                       73
                                                 Handgun                                                         66
                                                                                                                  69



                                                                                                       53
                                                                                                            58
                                           Traditional rifle                                                60
   Multiple Responses Allowed




                                                                                                                 65



                                                                                                  44
                                                                                                       54
                                                  Shotgun                                               56
                                                                                                       53



                                                                                             39
                                                                                        34
                                      Modern sporting rifle                             35
                                                                                   29



                                                                            17
                                                                             20
                                                   Air rifle
                                                                                  26
                                                                        15

                                                                                                  Northeast Region (n=116)
                                                                        15                        South Region (n=330)
                                                                       11
                      Black powder firearm or muzzleloader                                        Midwest Region (n=209)
                                                                            18
                                                                   7
                                                                                                  West Region (n=198)


                                                               0        20             40              60              80   100
                                                                                         Percent




                                                         Exhibit 6
                                                           0272
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.642 Page 283 of
                                     428
  118                                                     Responsive Management

  For each type of firearm, there was an increase in the rate of use. In particular, traditional rifle
  and shotgun use increased.


                     Which of the following firearms or equipment
                   did you use when target shooting in [2012 / 2014
                   / 2016 / 2018]? (Asked of those who went target
                                       shooting.)
             100


              80                                                                 2012            2014         2016          2018
                                71
                   65.9 66 66
                                     62.6
                                            60        59
              60                                           54.4
   Percent




                                                 52                         53
                                                                  51

                                                                       44

              40                                                                  33.5           34
                                                                                         32 31


                                                                                                      19.8             20
              20                                                                                             17              15.7 17
                                                                                                                  11                   11 12




               0
                   Handgun           Traditional            Shotgun                Modern               Air rifle           Black powder
                                        rifle                                    sporting rifle                               firearm or
                                                                                                                            muzzleloader
                                                             Multiple
                                                            Responses
                                                             Allowed




                                                                       Exhibit 6
                                                                         0273
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                                                 428
  Sport Shooting Participation in the United States in 2018              119

  Identical to the previous survey, this survey asked those who hunted to indicate the various
  firearms or equipment they used while hunting in 2018. The first graph shows types of firearms
  used by hunters who hunted with firearms. Then graphs are presented of the types of
  firearms/equipment used by any hunters, including those who hunted exclusively with archery
  equipment.

  Among firearm hunters, shotguns and traditional rifles top the list (68% and 63%, respectively),
  and about a quarter use modern sporting rifles, black powder firearms, and handguns as part of
  their hunting (all within the range of 24% to 25%). Additionally, 44% of firearm hunters also
  used archery at some point. Regional graphs are included, as well.

                                       Please indicate which of the following you used
                                        for hunting in 2018. What about...? (Asked of
                                       those who went hunting with firearms in 2018.)


                                               Shotgun                                      68



                                        Traditional rifle                               63
   Multiple Responses Allowed




                                    Archery equipment                           44



                                Black powder firearm or
                                                                     25
                                     muzzleloader



                                   Modern sporting rifle             24



                                              Handgun                24


                                                            0   20          40       60          80   100
                                                                          Percent (n=410)




                                                                Exhibit 6
                                                                  0274
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                                     428
  120                                                     Responsive Management




                                   Please indicate which of the following you used
                                    for hunting in 2018. What about...? (Asked of
                                   those who went hunting with firearms in 2018.)



                                                                                                                    79
                                                                                                         65
                                              Shotgun
                                                                                                              70
                                                                                                    58


                                                                                                         65
                                                                                                                   75
                                       Traditional rifle
                                                                                              50
                                                                                                    60
  Multiple Responses Allowed




                                                                                                          68
                                                                                         45
                                   Archery equipment
                                                                                         44
                                                                     19


                                                                              26
                               Black powder firearm or                        27
                                    muzzleloader                                   32
                                                               10


                                                                          25
                                                                               30
                                  Modern sporting rifle
                                                                         22
                                                                    17                        Northeast Region (n=60)
                                                                                              South Region (n=148)
                                                                                              Midwest Region (n=127)
                                                                            27
                                                                         22                   West Region (n=75)
                                             Handgun
                                                                           25
                                                                         23


                                                           0        20              40             60              80    100
                                                                                    Percent




                                                                    Exhibit 6
                                                                      0275
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.645 Page 286 of
                                                 428
  Sport Shooting Participation in the United States in 2018              121

  This graph is among all hunters, including those who did not use any firearms. A regional
  breakdown of this is shown on the following page.


                                   Please indicate which of the following you used
                                     for hunting in 2018. What about...? (Among
                                       those who went hunting with any type of
                                                     equipment.)


                                                Shotgun                                     61




                                         Traditional rifle                             57
    Multiple Responses Allowed




                                     Archery equipment                            47




                                 Black powder firearm or                                          Only 10% of hunters
                                                                        22                        used only archery for
                                      muzzleloader
                                                                                                  their hunting (i.e., did not
                                                                                                  hunt with firearms);
                                                                                                  conversely, 37% of
                                                                                                  hunters used both
                                                                                                  archery and modern
                                                                                                  firearms at some point
                                    Modern sporting rifle               22                        during their hunting




                                               Handgun                  21



                                                             0     20        40        60        80       100

                                                                         Percent (n=452)




                                                                 Exhibit 6
                                                                   0276
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                                     428
  122                                                     Responsive Management




                                     Please indicate which of the following you used
                                       for hunting in 2018. What about...? (Among
                                         those who went hunting with any type of
                                                       equipment.)

                                                                                                        70
                                                                                              57
                                              Shotgun
                                                                                                   64
                                                                                             54


                                                                                              58
                                                                                                   65
                                       Traditional rifle
                                                                                       46
                                                                                             56
  Multiple Responses Allowed




                                                                                                    69
                                                                                        49
                                   Archery equipment
                                                                                       47
                                                                        23


                                                                        23
                               Black powder firearm or                  23
                                    muzzleloader                             29
                                                               9


                                                                       22
                                                                         26
                                  Modern sporting rifle
                                                                      20
                                                                    16
                                                                                             Northeast Region (n=69)
                                                                        24                   South Region (n=168)
                                                                     19                      Midwest Region (n=134)
                                             Handgun
                                                                       23                    West Region (n=81)
                                                                      21


                                                           0       20             40         60              80   100
                                                                                  Percent




                                                                   Exhibit 6
                                                                     0277
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                                                 428
  Sport Shooting Participation in the United States in 2018              123


  LIKELIHOOD TO GO TARGET OR SPORT SHOOTING IN THE FUTURE
  The first graph in this section shows the results among those who shot in 2018, those who did
  not, and the total of both groups combined. It then looks at each group separately, as was done in
  the analysis of the 2016 survey data. Overall, 21% of adult Americans say that it is very likely
  they will go shooting in the next 2 years.


               What is the likelihood that you will participate
                in any type of sport shooting in the next 2
                                   years?



                                                              59
         Very likely             10
                                           21



                                       20                          Shot in 2018
   Somewhat likely                     20                          Did not shoot in 2018
                                       20                          Total of all respondents



                                       20
     Not at all likely                                                69
                                                              58



                             1
         Don't know          1
                             1


                         0            20         40          60            80      100
                                                Percent (n=3000)




                                                 Exhibit 6
                                                   0278
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                                     428
  124                                                     Responsive Management

  Now looking at the groups separately, a little under a third of those who did not go target or sport
  shooting in 2018 show some interest in target or sport shooting, with 30% saying either that they
  are very likely or somewhat likely to participate in target or sport shooting in the following
  2 years (regional results are shown, as well). Demographic analyses compare those who say that
  they are very likely to those who are not at all likely.


               What is the likelihood that you will participate
                in any type of sport shooting in the next 2
               years? (Asked of those who did not go target
                         or sport shooting in 2018.)




         Very likely             10                                       Demographic
                                                                          analyses looked at
                                                                          these two groups,
                                                                          as well, which are
                                                                          discussed on the
                                                                          following pages.


   Somewhat likely                     20




     Not at all likely                                          69




         Don't know          1



                         0            20    40        60             80         100
                                            Percent (n=2147)




                                              Exhibit 6
                                                0279
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                                                 428
  Sport Shooting Participation in the United States in 2018              125




             What is the likelihood that you will participate in
             any type of sport shooting in the next 2 years?
             (Asked of those who did not go target or sport
                             shooting in 2018.)




                                7
                                    13
        Very likely
                                8
                                9


                                         18
                                          21
   Somewhat likely
                                    13
                                               27


                                                                           74
                                                                      65
    Not at all likely
                                                                                79
                                                                     63


                                                                   Northeast Region (n=383)
                            1
                                                                   South Region (n=834)
                            2                                      Midwest Region (n=425)
        Don't know
                            0                                      West Region (n=505)
                            0


                        0            20             40         60          80        100
                                                         Percent




                                                    Exhibit 6
                                                      0280
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                                     428
  126                                                     Responsive Management

  The crosstabulations are first analyzed among those who did not go shooting in 2018. This looks
  at those who said that they are very likely to go shooting (as the somewhat likely people should
  probably be discounted vis-à-vis their actual likelihood to go shooting), and then it looks at those
  who said that they are not at all likely as a baseline.

  Among those who did not go shooting in 2018, men show a little more interest in target/sport
  shooting. Men make up 55% of those very likely to shoot but only 37% of those not at all likely
  to shoot in the next 2 years (note that this is among non-shooters in 2018). The middle-aged
  people have a greater propensity to say that they are very likely to go target/sport shooting in the
  next 2 years, compared to either the youngest category or the two oldest categories.

  Among non-shooters, suburban residency is positively correlated with being very likely to go
  shooting in the next 2 years. Regionally, the South shows a slightly greater percentage in the
  very-likely-to-shoot category.


                Respondent's gender (not asked; observed by
                               interviewer).
                  (Among those who did not shoot in 2018.)



                                                        55
           Male
                                            37                    Very likely to shoot in next 2
                                                                  years (n=208)

                                                                  Not at all likely to shoot in next
                                                                  2 years (n=1478)


                                                  45
        Female
                                                             63



                  0            20           40        60              80           100
                                              Percent




                                               Exhibit 6
                                                 0281
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                                                 428
  Sport Shooting Participation in the United States in 2018              127




                         May I ask your age?
                (Among those who did not shoot in 2018.)




    65 years old or            7
         older                               25


                                     15
   55-64 years old
                                      18


                                             25
   45-54 years old
                                        16


                                     15
   35-44 years old
                                    13


                                             24
   25-34 years old
                                   11


                                   10
   18-24 years old
                                   11                            Very likely to shoot in next 2
                                                                 years (n=208)
                                                                 Not at all likely to shoot in
      Don't know /        1
                                                                 next 2 years (n=1478)
        refused           1


                          3
          Refused
                           4

                      0              20           40         60            80          100
                                                       Percent




                                                  Exhibit 6
                                                    0282
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                                     428
  128                                                     Responsive Management




           Do you consider your place of residence to be a
             large city or urban area, a suburban area, a
             small city or town, a rural area on a farm or
            ranch, or a rural area not on a farm or ranch?
              (Among those who did not shoot in 2018.)



  Large city or urban                      26
         area                               28


                                                31
     Suburban area
                                           25


                                           24
   Small city or town
                                            27


     Rural area on a             7
      farm or ranch             5


   Rural area not on                 11
    a farm or ranch                   12

                                                         Very likely to shoot in next 2
                            1                            years (n=208)
         Don't know
                            2                            Not at all likely to shoot in
                                                         next 2 years (n=1478)

                            1
            Refused
                            2

                        0             20         40          60          80          100
                                                      Percent




                                                 Exhibit 6
                                                   0283
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                                                 428
  Sport Shooting Participation in the United States in 2018              129




                        Region of residence.
               (Among those who did not shoot in 2018.)




                          14
   Northeast Region
                               20




                                             48
      South Region
                                     35




                                                       Very likely to shoot in next 2
                           16                          years (n=208)
    Midwest Region                                     Not at all likely to shoot in
                                24                     next 2 years (n=1478)




                                22
       West Region
                                21



                      0    20        40           60       80         100
                                          Percent




                                     Exhibit 6
                                       0284
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                                     428
  130                                                     Responsive Management

  The above looked at those who had not participated in target or sport shooting in 2018. Those
  who had participated in 2018 are now examined. Of 2018 sport shooting participants, 59% are
  very likely to go sport shooting in the following 2 years, and 20% are somewhat likely (a sum of
  79% who plan to continue in the sport). The same demographic analyses were run comparing
  those who are very likely to those who are not at all likely (again ignoring the somewhat likely).


           Q33. What is the likelihood that you will
           participate in any type of sport shooting
           in the next 2 years? (Among those who
            went target or sport shooting in 2018.)




      Very likely                                  59




      Somewhat
                               20
        likely

                                                                      Demographic
                                                                      analyses looked at
                                                                      these two groups, as
        Not at all                                                    well, which are
                               20                                     discussed on the
         likely                                                       following pages.




     Don't know          1



                     0       20       40       60     80             100
                                      Percent (n=853)




                                              Exhibit 6
                                                0285
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                                                 428
  Sport Shooting Participation in the United States in 2018              131




           What is the likelihood that you will participate in
           any type of sport shooting in the next 2 years?
              (Among those who went target or sport
                           shooting in 2018.)




                                                        51
                                                              57
        Very likely
                                                               61
                                                                    66


                                      23
                                     20
   Somewhat likely
                                     22
                                14


                                          26
                                     21                        Northeast Region (n=116)
    Not at all likely
                                 18                            South Region (n=330)
                                 18                            Midwest Region (n=209)
                                                               West Region (n=198)

                            1
                            2
        Don't know
                            0
                            1


                        0       20             40         60             80    100
                                                    Percent




                                               Exhibit 6
                                                 0286
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                                     428
  132                                                     Responsive Management

  The gender crosstabulations found that women appear to be more likely to drop out of
  target/sport shooting: females make up only 23% of those who had shot in 2018 and are very
  likely to shoot in the next 2 years, while they make up 41% of those who had shot in 2018 but
  are unlikely to shoot in the next 2 years.

  There is no consistent finding regarding age, as those 2018 shooters who are, nonetheless, not at
  all likely to go shooting in the next 2 years are higher than their counterparts in both the youngest
  age grouping and the oldest.

  The place-of-residence crosstabulation found that rural areas have a higher representation of
  2018 shooters who are not at all likely to go shooting, compared to those shooters who plan to
  continue shooting in the next 2 years.

  Finally, the regional crosstabulation found that the Northeast Region is positively associated with
  being not at all likely to shoot in the next 2 years, among 2018 shooters.




                                               Exhibit 6
                                                 0287
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                                                 428
  Sport Shooting Participation in the United States in 2018              133




               Respondent's gender (not asked; observed by
                              interviewer).
                (Among those who went shooting in 2018.)




                                                                 77
       Male
                                                    58




                                23
     Female
                                          41


                                                         Very likely to shoot in next 2
                                                         years (n=519)
                                                         Not at all likely to shoot in
                                                         next 2 years (n=157)
                   Less than 0.5
   Could not
   determine
                   Less than 0.5




               0           20        40         60               80           100
                                          Percent




                                          Exhibit 6
                                            0288
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                                     428
  134                                                     Responsive Management




                               May I ask your age?
                      (Among those who went shooting in 2018.)




    65 years old or            10
         older                      16


                                15
   55-64 years old
                                14


                                     19
   45-54 years old
                               11


                                          22
   35-44 years old
                                         21


                                         23
   25-34 years old
                                         22
                                                              Very likely to shoot in next 2
                                                              years (n=519)
                               11                             Not at all likely to shoot in
   18-24 years old                                            next 2 years (n=157)
                                13


                          1
          Refused
                           2

                      0             20         40         60            80          100
                                                    Percent




                                               Exhibit 6
                                                 0289
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.659 Page 300 of
                                                 428
  Sport Shooting Participation in the United States in 2018              135




           Do you consider your place of residence to be a
             large city or urban area, a suburban area, a
             small city or town, a rural area on a farm or
            ranch, or a rural area not on a farm or ranch?
             (Among those who went shooting in 2018.)



  Large city or urban                     22
         area                              24


                                         21
     Suburban area
                                    13


                                            27
   Small city or town
                                           24


     Rural area on a            9
      farm or ranch                 16


   Rural area not on                     19
    a farm or ranch                      19
                                                                Very likely to shoot in next 2
                                                                years (n=519)
                            1                                   Not at all likely to shoot in
         Don't know
                            2                                   next 2 years (n=157)


                            2
            Refused
                            1

                        0           20           40          60           80         100
                                                      Percent




                                                 Exhibit 6
                                                   0290
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                                     428
  136                                                     Responsive Management




                        Region of residence.
               (Among those who went shooting in 2018.)




                          13
   Northeast Region
                               20




                                          36
      South Region
                                           38




                                24
    Midwest Region
                               20
                                                         Very likely to shoot in next 2
                                                         years (n=519)
                                                         Not at all likely to shoot in
                                                         next 2 years (n=157)

                                     27
       West Region
                                22



                      0    20             40          60          80         100
                                               Percent




                                          Exhibit 6
                                            0291
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  Sport Shooting Participation in the United States in 2018              137

  A question asked about planned shooting activities among those who had target or sport shot in
  2018 and who had indicated being very or somewhat likely to target or sport shoot in the next
  2 years. They most commonly said that they plan to participate in target shooting with a
  handgun, target shooting with a rifle, and/or target shooting at an outdoor range (they could
  choose multiple activities). A regional graph is included, as well.


                                      Which of those activities do you plan to do in the
                                    coming year? (Asked of those very or somewhat likely
                                          to go sport shooting in the next 2 years.)


                                       Target shooting with a handgun                                            72

                                            Target shooting with a rifle                                     66

                                   Target shooting at an outdoor range                                      61
  Multiple Responses Allowed




                                Target shooting with a modern sporting
                                                                                                  41
                                                 rifle

                                    Target shooting at an indoor range                        35

                                                         Sporting clays                      33

                                                        Skeet shooting                       31

                                                         Trap shooting                   27

                               Long-range shooting such as shooting at
                                                                                        21
                                  targets more than 500 yards away

                                                        3-gun shooting             13

                                                         None of these         3

                                                                           0       20        40        60         80   100
                                                                                        Percent (n=691)




                                                                 Exhibit 6
                                                                   0292
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.662 Page 303 of
                                     428
  138                                                     Responsive Management




                                     Which of those activities do you plan to do in
                                       the coming year? (Asked of those very or
                                    somewhat likely to go sport shooting in the next
                                                       2 years.)
                                                                                                                                 79
                                                                                                                                76
                                      Target shooting with a handgun                                                   61
                                                                                                                             74

                                                                                                                         66
                                                                                                                           69
                                           Target shooting with a rifle                                                62
                                                                                                                         66

                                                                                                                        67
                                                                                                                    59
                                  Target shooting at an outdoor range                                              57
                                                                                                                      63

                                                                                                             48
                               Target shooting with a modern sporting                                       44
                                                rifle                                                33
                                                                                                       38
  Multiple Responses Allowed




                                                                                                     34
                                                                                                           41
                                   Target shooting at an indoor range                            29
                                                                                                   33

                                                                                                    31
                                                                                                     33
                                                        Sporting clays                               33
                                                                                                     34

                                                                                                    31
                                                                                                      35
                                                       Skeet shooting                       22
                                                                                                     33

                                                                                            22
                                                                                             25
                                                        Trap shooting                              31
                                                                                                  30

                                                                                          20
                         Long-range shooting such as shooting at                          20
                            targets more than 500 yards away                             17
                                                                                               26

                                                                                    10
                                                       3-gun shooting                  15                  Northeast Region (n=90)
                                                                                    11
                                                                                     13                    South Region (n=263)
                                                                               4
                                                                                                           Midwest Region (n=170)
                                                        None of these         2                            West Region (n=168)
                                                                               3
                                                                                5


                                                                          0          20              40           60         80       100
                                                                                                        Percent




                                                                  Exhibit 6
                                                                    0293
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.663 Page 304 of
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  Sport Shooting Participation in the United States in 2018              139


  REASONS FOR NOT PARTICIPATING IN TARGET OR SPORT SHOOTING AND
  NON-SHOOTERS’ DEMOGRAPHIC CHARACTERISTICS
  The survey asked those who did not participate in target/sport shooting for their reasons for not
  doing so (77.8% of U.S. residents did not go target or sport shooting in 2018). While simple lack
  of interest is, by far, the top reason (55% of those who did not target or sport shoot), other
  important reasons include lack of time because of family or work obligations (16%), lacking a
  firearm (also 16%), and age/health (7%).

                                     In just a few words, tell me why you did not
                                     go target shooting in 2018? (Asked of those
                                      who did not go target or sport shooting in
                                                        2018.)
                                                                                                                              Shot in
                                                                                                                       22.2   2018
                                                            No interest                           55
                                                                                                                              Did not
                                                                                                                              shoot in
                                No time / obligations for family or work               16                       77.8          2018

                                Don't have firearm / can't own firearm                 16
   Multiple Responses Allowed




                                                           Age / health            7

                                       Did other activities / have other
                                                                               3
                                                  hobbies

                                   No place to go nearby / don't know
                                                                               2
                                        where to go / no access

                                                Not in favor of firearms       2


                                               Cost / can't afford to go       1


                                  Nobody to go with / not invited to go        1

                                                                           0       20       40   60    80 100

                                                                                       Percent (n=2147)




                                                                                        Exhibit 6
                                                                                          0294
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                                     428
  140                                                     Responsive Management




                                     In just a few words, tell me why you did not go
                                      target shooting in 2018? (Asked of those who
                                       did not go target or sport shooting in 2018.)

                                                                                                               59
                                                               No interest                                   54
                                                                                                               59
                                                                                                            51

                                                                                           14
                                   No time / obligations for family or work                 18
                                                                                           14
                                                                                            17

                                                                                            15
                                   Don't have firearm / can't own firearm                  14
                                                                                            16
                                                                                                 22
   Multiple Responses Allowed




                                                                                       8
                                                              Age / health            7
                                                                                      7
                                                                                      6

                                                                                  1
                                 Did other activities / have other hobbies         4
                                                                                  3
                                                                                   4

                                                                                   2
                                No place to go nearby / don't know where          2
                                            to go / no access                     1
                                                                                    4

                                                                                  3
                                                   Not in favor of firearms       2
                                                                                  2
                                                                                  2

                                                                                   3
                                                  Cost / can't afford to go       1                    Northeast Region (n=383)
                                                                                  0
                                                                                  2                    South Region (n=834)
                                                                                                       Midwest Region (n=425)
                                                                                  1
                                                                                  1                    West Region (n=505)
                                     Nobody to go with / not invited to go        1
                                                                                  1

                                                                              0            20         40    60      80   100
                                                                                                      Percent




                                                                   Exhibit 6
                                                                     0295
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.665 Page 306 of
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  Sport Shooting Participation in the United States in 2018              141

  Two questions asked those who had not target or sport shot in 2018 about their status regarding
  having ever participated in target/sport shooting and having ever shot a firearm. The data from
  these questions and about participation in target/sport shooting in 2018 were put together. A little
  over a quarter of U.S. residents (27%) indicate that they have never shot a firearm, and just under
  half of the residents (44%) have never done any target or sport shooting.


              Status regarding participation in target/sport
                shooting and having ever shot a firearm.
                        (Among all respondents.)

    Participated in target
    or sport shooting in                      22
            2018
                                                                    56%

   Has participated in
    any target or sport                              34
  shooting at some time


  Has never participated
    in target or sport
                                         17
  shooting but has shot
         a firearm
                                                            44%

        Has never shot a
                                               27
            firearm


                             0          20            40       60         80        100
                                                   Percent (n=3000)




                                               Exhibit 6
                                                 0296
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.666 Page 307 of
                                     428
  142                                                     Responsive Management




            Status regarding target/sport shooting and ever
              having shot a gun (Among all respondents.)




                                19
    Participated in              22
    target or sport
   shooting in 2018               24
                                 23


                                       30
   Has participated
    in any target or                      32
   sport shooting at                      33
       some time
                                                41


      Has never            15
    participated in              21
    target or sport
   shooting but has         17
    shot a firearm         13

                                                             Northeast Region (n=499)
                                            36               South Region (n=1164)
   Has never shot a                  25                      Midwest Region (n=634)
       firearm                       26                      West Region (n=703)
                                  23


                       0    20             40           60   80        100
                                                Percent




                                            Exhibit 6
                                              0297
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                                                 428
  Sport Shooting Participation in the United States in 2018              143

  The graphs that start on the following page show the demographic characteristics of those 34%
  in the graph previously shown who did not target or sport shoot in 2018 but did so at some time
  in the past compared to the 44% who never participated in target or sport shooting (the last two
  bars in the previously shown graph).

  The gender crosstabulation shows a fairly even split in males to females among those who shot
  in the past but not in 2018 (52% of this group are males; 48% are females); it also points out the
  not surprising fact that men are more likely than women to have gone target or sport shooting in
  the past.

  The age crosstabulation suggests that those who shot in the past but not in 2018 tend to be a little
  older than their counterparts who have never target shot.

  Among the final graphs is the rural-urban crosstabulation; those who never shot are more likely
  than are their counterparts to live in a large city/urban area.

  In the regional crosstabulation, those who shot prior to 2018 are more likely to be from the West
  Region, compared to those who have never target shot.




                                              Exhibit 6
                                                0298
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                                     428
  144                                                     Responsive Management




               Respondent's gender (not asked; observed by
                              interviewer).




                                            52
       Male
                                   34




                                           48
     Female
                                                     65




                                                      Did not shoot in 2018, has
                                                      target shot before (n=1025)
                   0
   Could not                                          Did not shoot in 2018, has
   determine                                          not target shot before
                   Less than 0.5                      (n=1122)




               0           20      40           60        80         100
                                        Percent




                                        Exhibit 6
                                          0299
Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.669 Page 310 of
                                                 428
  Sport Shooting Participation in the United States in 2018              145




                                   May I ask your age?




     65 years old or                      21
          older                           21


                                     18
     55-64 years old
                                    16


                                     17
     45-54 years old
                                     16


                                     16
     35-44 years old
                                   12


                                    15
     25-34 years old
                                    15                          Did not shoot in 2018, has
                                                                target shot before (n=1025)

                               9                                Did not shoot in 2018, has
     18-24 years old
                                    15                          not target shot before
                                                                (n=1122)

        Don't know /       2
          refused          1


                           3
           Refused
                           4

                       0            20          40         60           80        100

                                                Percent




                                               Exhibit 6
                                                 0300
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           Do you consider your place of residence to be a
             large city or urban area, a suburban area, a
             small city or town, a rural area on a farm or
            ranch, or a rural area not on a farm or ranch?




  Large city or urban                    23
         area                                 31


                                              29
     Suburban area
                                         23


                                         25
   Small city or town
                                          27


     Rural area on a            6
      farm or ranch             5


   Rural area not on                13
    a farm or ranch                 12
                                                             Did not shoot in 2018, has
                                                             target shot before (n=1025)
                            2
         Don't know                                          Did not shoot in 2018, has
                            1                                not target shot before
                                                             (n=1122)

                            2
            Refused
                            1

                        0           20             40          60        80       100
                                                        Percent




                                                   Exhibit 6
                                                     0301
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                                                 428
  Sport Shooting Participation in the United States in 2018              147




                            Region of residence.




                           16
   Northeast Region
                                21




                                          35
      South Region
                                           40




                                20
    Midwest Region
                                21
                                                           Did not shoot in 2018, has
                                                           target shot before (n=1025)

                                                           Did not shoot in 2018, has
                                     28                    not target shot before
       West Region                                         (n=1122)
                            19



                      0    20             40          60          80        100
                                               Percent




                                          Exhibit 6
                                            0302
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                                     428
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  ABOUT RESPONSIVE MANAGEMENT
  Responsive Management is an internationally recognized survey research firm specializing in
  attitudes toward natural resource and outdoor recreation issues. Our mission is to help natural
  resource and outdoor recreation agencies, businesses, and organizations better understand and
  work with their constituents, customers, and the public.

  Since 1985, Responsive Management has conducted telephone, mail, and online surveys, as well
  as multi-modal surveys, on-site intercepts, focus groups, public meetings, personal interviews,
  needs assessments, program evaluations, marketing and communication plans, and other forms
  of research measuring public opinions and attitudes. Utilizing our in-house, full-service survey
  facilities with 75 professional interviewers, we have conducted studies in all 50 states and 15
  countries worldwide totaling more than 1,000 projects.

  Responsive Management has conducted research for every state fish and wildlife agency and
  most of the federal resource agencies, including the U.S. Fish and Wildlife Service, the National
  Park Service, the U.S. Forest Service, the Bureau of Land Management, the U.S. Coast Guard,
  and the National Marine Fisheries Service.

  We have also provided research for many nonprofit and nongovernmental organizations,
  including the National Wildlife Federation, the National Shooting Sports Foundation, the
  National Rifle Association, the Archery Trade Association, the Izaak Walton League, the Rocky
  Mountain Elk Foundation, Ducks Unlimited, SCI, and Dallas Safari Club. Other nonprofit and
  NGO clients include Trout Unlimited, the Sierra Club, the American Museum of Natural
  History, the Ocean Conservancy, the National Association of State Boating Law Administrators,
  and the BoatUS Foundation.

  Responsive Management conducts market research and product testing for numerous outdoor
  recreation manufacturers and industry leaders, such as Winchester Ammunition, Trijicon,
  Yamaha, and others.

  Responsive Management also provides data collection for the nation’s top universities, including
  Auburn University, Clemson University, Colorado State University, Duke University, George
  Mason University, Michigan State University, Mississippi State University, North Carolina State
  University, Oregon State University, Penn State University, Rutgers University, Stanford
  University, Texas Tech, University of California-Davis, University of Florida, University of
  Montana, University of New Hampshire, University of Southern California, Virginia Tech, West
  Virginia University, and many more.

  Our research has been upheld in U.S. Courts, used in peer-reviewed journals, and presented at
  major wildlife and natural resource conferences around the world. Responsive Management’s
  research has also been featured in many of the nation’s top media, including Newsweek, The
  Wall Street Journal, The New York Times, CNN, and on the front pages of The Washington Post
  and USA Today.

                                 responsivemanagement.com




                                              Exhibit 6
                                                0303
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             EXHIBIT "7"




                                   Exhibit 7
                                     0305
                                                                         National Shooting Sports Foundation® Report
                                                                                                  NSSF-Adjusted NICS - Historical Monthly Chart
                            January               Feb              March               April               May               June               July        Aug*            Sept           October              Nov               Dec               Year Total

            2000                528,691            596,399            608,861            504,576            427,319            438,725            439,390    566,419         672,686           725,598           787,786            902,832               7,199,282

            2001                519,010            555,133            590,580            477,323            430,245            431,237            423,465    586,608         750,339           879,561           839,859            928,347               7,411,707

            2002                526,581            570,504            587,763            496,406            441,169            409,681            424,950    578,482         611,535           722,645           771,136            863,006               7,003,858

            2003                525,232            584,876            596,171            488,324            445,749            413,564            420,401    562,530         610,579           726,020           736,818            888,484               6,998,748

            2004                560,984            600,114            597,029            514,497            431,462            429,078            457,010    546,882         629,003           748,942           773,585            945,633               7,234,219

            2005                557,307            622,165            622,100            544,147            448,028            444,276            455,671    561,850         668,437           741,246           812,628          1,038,971               7,516,826

            2006                641,460            684,988            700,028            570,138            495,134            491,085            501,981    599,000         692,897           735,946           821,923          1,021,024               7,955,604

            2007                635,991            672,907            709,353            587,718            545,131            551,079            523,398    647,578         667,339           744,213           816,166            982,597               8,083,470

            2008                655,143            735,314            728,992            625,494            591,123            538,963            551,314    653,380         672,421           847,531         1,210,043          1,184,246               8,993,964

            2009                847,808            911,043            942,288            817,118            662,956            602,191            602,353    687,252         726,572           841,631           861,575          1,031,344               9,534,131
                                                                                                                                                                                                                                                                                                       428




            2010                715,309            848,036            861,408            731,955            625,763            602,908            628,125    718,971         770,310           854,563           945,463          1,133,371               9,436,182




  0306
Exhibit 7
            2011                784,856            963,746            990,840            843,484            696,947            679,840            680,258    815,858         878,345           945,088         1,101,076          1,410,937             10,791,275

            2012                920,840          1,266,344          1,189,152            931,660            840,412            846,437            853,355   1,042,924      1,007,259         1,118,994         1,525,177          2,237,731             13,780,285

            2013              1,790,154          1,634,309          1,501,730          1,185,231            974,457            872,025            855,259   1,016,559      1,034,701         1,113,818         1,308,100          1,510,529             14,796,872

            2014                970,510          1,264,010          1,224,705            988,726            877,655            805,571            816,588    989,337       1,024,272         1,174,797         1,329,688          1,624,524             13,090,383

            2015              1,052,441          1,280,825          1,187,823            987,698            918,707            886,825            946,528   1,031,959      1,071,945         1,211,478         1,432,451          2,235,560             14,244,240
            2016*             1,362,847          1,487,274          1,289,670          1,111,205            928,532         1,140,088          1,210,731    1,151,679      1,156,961         1,353,299         1,662,338          1,845,847             15,700,471

            2017              1,038,365          1,298,208          1,356,929          1,111,596            988,473         1,016,213             907,348   1,021,227      1,019,037         1,132,065         1,457,103          1,621,261             13,967,825
            2018                955,466          1,271,942          1,503,967          1,065,927            904,834            892,479            821,260    966,809         919,979         1,005,062         1,314,193          1,494,087             13,116,005
                                                                                                                -6.7%
        The adjusted NICS data presented above was derived by NSSF by subtracting out NICS purpose code permit checks used by several states such as KY and UT for CCW permit application checks as well as checks on active CCW permit databases. While not a
        direct correlation to firearms sales, the NSSF adjusted NICS data provides a more accurate picture of current market conditions. Questions concerning NSSF adjusted NICS data should be directed to NSSF research at (203) 426-1320 or research@NSSF.org. In
        addition to other purposes, NICS is used to check transactions of firearms sales and transfers on new and used handguns and long guns.

        *Aug. 2016 – NSSF adjusted the total figure reported for Illinois from 93,310 to 33,000. Illinois had checks counted multiple times and the FBI                                                 RUNNING TOTAL                                  200,269,708
        NICS unit confirmed inflated data for the state.
                                                                                                                                                                                                                                                                  Case 3:19-cv-01537-BEN-JLB Document 22-13 Filed 12/06/19 PageID.675 Page 316 of
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             EXHIBIT "8"




                                   Exhibit 8
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   ANNUAL FIREARMS MANUFACTURING AND EXPORT REPORT



                                             YEAR 2017 Final*

                                        MANUFACTURED

      PISTOLS                                          REVOLVERS

     TO .22                         408,705         TO .22             319,364
     TO .25                         11,135          TO .32             1,715
     TO .32                         8,152           TO .357 MAG        134,053
     TO .380                        848,425         TO .38 SPEC        177,956
     TO 9MM                         1,756,618       TO .44 MAG         42,062
     TO .50                         657,971         TO .50             45,767

     TOTAL                          3,691,010       TOTAL              720,917


     RIFLES                         2,504,092

     SHOTGUNS                       653,139

     MISC. FIREARMS                 758,634



                                              EXPORTED

     PISTOLS                        275,424

     REVOLVERS                      21,676

     RIFLES                         158,871

     SHOTGUNS                       29,997

     MISC. FIREARMS                 2,332

     * FOR PURPOSES OF THIS REPORT ONLY, "PRODUCTION" IS DEFINED AS:
     FIREARMS, INCLUDING SEPARATE FRAMES OR RECEIVERS, ACTIONS OR
     BARRELED ACTIONS, MANUFACTURED AND DISPOSED OF IN COMMERCE
     DURING THE CALENDAR YEAR.


     PREPARED BY LED 01/30/2019
     REPORT DATA AS OF 01/30/2019




                                                Exhibit 8
                                                  0308
                                Case 3:19-cv-01537-BEN-JLB Document 22-13 IN
                                                  PISTOLS MANUFACTURED     Filed 12/06/19 PageID.678 PagePAGE
                                                                              2017                        319 1ofOF 110
                                                                     428
                                                                                  PISTOL      PISTOL   PISTOL   PISTOL   PISTOL   PISTOL    PISTOL
RDS KEY     LICENSE NAME               STREET               CITY            ST        22          25       32      380      9MM       50     TOTAL

99202968   HOBBS, THOMAS CHARLES      3851 MARIAH DRIVE     EAGLE RIVER     AK            0        4        0        0        0        0          4
99200798   WILD WEST GUNS, LLC        7100 HOMER DRIVE      ANCHORAGE       AK            0        0        0        0        1        0          1
16306387   2131 ARMS LLC              8307 HWY 31 N         MORRIS          AL            0        1        0        0        0        0          1
16303219   CHATTAHOOCHEE GUN          312 LEE RD 553        PHENIX CITY     AL            0        0        2        0        0        0          2
           WORKS, LLC
16306974   CHILDRESS, MICHAEL A       122 PLATEAU RD        MONTEVALLO      AL            0        0        0        0        0        1          1
16305125   D & D DESIGN & MACHINE     195 COMM SCOPE WAY    SCOTTSBORO      AL            0        0        0        0        1        1          2
16305276   EASON, THOMAS E            725 BROOKLANE DRIVE   HUEYTOWN        AL            0       20        0        0        0        0         20
16337359   ELLIS, JEFFERY OWEN        17943 GROUND HOG RD   ADGER           AL           18        0        3        0        0        0         21
16307017   FLINT RIVER ARMORY LLC     195 COMM SCOPE WAY    SCOTTSBORO      AL            0        0        0        0        0       12         12
           (FRA)
16305657   HDC LLC                    7154 CAHABA VALLEY    BIRMINGHAM      AL            0        0        1        0        0        0          1
                                      ROAD
16305749   HILL, TIM                  2639 PELHAM PKWY      PELHAM          AL            0        7        1        0        0        0          8
16304700   MHT DEFENSE LLC            1524 HENRY DAVIS      DELTA           AL            1        0        0        0        0        0          1
                                      ROAD
16306823   MM VENTURES LLC            5330 STADIUM TRACE    HOOVER          AL            0        1        0        0        0        0          1
                                      PKWY SUITE 240
16306445   MULKEY, JAMES ALVIN        642 PINE RD           PELL CITY       AL            6        0        1        0        0        0          7
16305652   REMINGTON ARMS COMPANY     1816 REMINGTON        HUNTSVILLE      AL            0        0        0      130      674      221       1025
           LLC                        CIRCLE SW
16306613   RIGSBEE, THOMAS E          23 FOREST MEADOW      HUNTSVILLE      AL            0        0        0        0        2        0          2
                                      BLVD
16307221   SILENT WOLF ARMAMENT LLC   611 COLONIAL AVE      ALBERTVILLE     AL            1        0        0        0        0        0          1
16305932   STEEL CITY ARSENAL LLC     1955A MCCAIN PKWY     PELHAM          AL            0        0        1        0        0        0          1
16300193   VOIGHT, JOHN BASIL         114 SCENIC DR         MADISON         AL            5        5        5        5       30        4         54
57105329   BISHAMON ARMS LLC          683 MARION ANDERSON HOT SPRINGS       AR            0        0        0        0        5        0          5
                                      RD                    NATIONAL PARK
57102051   BLANKENSHIP, SCOTTY L      1223 HWY 412 W        SILOAM          AR            3        0        0        0        0        0          3
                                                            SPRINGS
57105201   DSKTB GROUP LLC            103 SW WINSTED LN STE BENTONVILLE     AR            9        0        0       16      105       16        146
                                      29
57101324   GUNCRAFTER INDUSTRIES,     171 MADISON 1510      HUNTSVILLE      AR            0        0        0        0       43      131        174
           LLC
57105246   LEWIS, ROBERT TODD         17900 AUSTIN LN       LITTLE ROCK     AR            0        0        0        0        2        1          3
57100675   LIGHTHOUSE PRODUCTIONS     542 CR 2073           EUREKA SPGS     AR            0        0        0        0        2        0          2
           INC
57104386   NIGHTHAWK CUSTOM LLC       1306 WEST TRIMBLE AVE BERRYVILLE      AR            0        0        0        0      766     1533       2299
57104858   OUACHITA ARMS LLC          25914 HWY 10 STE B    ROLAND          AR            1        0        0        0        0        0          1
57104282   PINEY CREEK ENTERPRISE LTD 404 N ARKANSAS AVE    RUSSELLVILLE    AR            1        0        0        0        0        0          1
           CO
57105281   SPECIALTY GUN WORKS LLC    1041 HINSON RD        EL DORADO       AR            1        0        0        0        0        0          1


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BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES
MARTINSBURG, WV
                                                                             Exhibit 8
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                                                                              2017                        320 2ofOF 110
                                                                     428
                                                                                   PISTOL      PISTOL   PISTOL   PISTOL   PISTOL   PISTOL    PISTOL
RDS KEY     LICENSE NAME               STREET                 CITY           ST        22          25       32      380      9MM       50     TOTAL

57102593   TOP NOTCH ACCESSORIES,      2823 SR 124            RUSSELLVILLE   AR            0        0        0        0      262       15        277
           INC.
57105117   TROUT, AARON NEAL           1774 S HARDING PL      FAYETTEVILLE   AR            0        0        0        0        3        1          4
57101116   VLH INC                     1105 INDUSTRIAL DR     BERRYVILLE     AR            0        0        0        0      925     2112       3037
57104667   WALTHER MANUFACTURING       7700 CHAD COLLEY       FORT SMITH     AR     10856           0        0    13604    17688     1100      43248
           INC                         BLVD
57134716   WILSONS GUN SHOP INC        2452 CR 719            BERRYVILLE     AR            0        0        0        0     3346     1857       5203
98610031   2A TACTICAL LLC             3710 EAST YEAGER       GILBERT        AZ            0        1        0        0        0        0          1
                                       DRIVE
98600962   ABRAMS AIRBORNE MFG, INC    3735 N ROMERO RD       TUCSON         AZ            0        0        0        0       20        0         20
98608169   AGAINST ALL ENEMIES LLC     2152 MCCULLOCH BLVD    LAKE HAVASU    AZ           12        0        3        2        0        0         17
                                       STE B                  CITY
98606258   ARIZONA LAW DAWGS LLC       44870 W HATHAWAY AVE   MARICOPA       AZ            0        0        0        0        0        2          2
                                       SUITE #1
98610456   ARSENAULT ARMS LLC          3433 MARICOPE AVE      LAKE HAVASU    AZ            0        1        0        0        0        0          1
                                                              CITY
98605029   BROWN, TIMOTHY DAVID        14201 N GIBSON TRL     TUCSON         AZ            0        0        0        0        4        1          5
98608759   BTE USA MANUFACTURING LLC 2601 W LONE CACTUS       PHOENIX        AZ            0        0        0        0        4        0          4
                                     DR STE E
98607475   CAMERONS LLC              5302 W ELECTRA LN        GLENDALE       AZ            0        0        0        0        8        1          9
98605074   CATS ARMS LLC               5112 E PIMA ST         TUCSON         AZ            0        2        0        0        0        0          2
98604112   CATS ARMS LLC               5118 E PIMA ST         TUCSON         AZ            0        6        0        0        0        0          6
98605465   CRAIGS CUSTOM RIFLES LLC    1409 WEST CANYON       ORO VALLEY     AZ            0        0        1        0        0        0          1
                                       SHADOWS LANE
98604430   D & L SPORTS INC            118 N FIRESKY #B       CHINO VALLEY   AZ            0        0        0        0        0        3          3
98604682   DESERT FOX OUTFITTERS LLC   835 AIRCLETA DRIVE     WICKENBURG     AZ            0        0        1        0        0        0          1
98609715   DOWN RANGE ENTERPRISES      8807 E SQUAW PEAK DR TUCSON           AZ            0        0        0        0        0        1          1
           LLC
98607755   EMG CUSTOMS LLC             3549 W TWAIN DR        ANTHEM         AZ            0        0        0        0       13        2         15
98609589   EVAN RAHM LLC               36022 N 10TH ST        PHOENIX        AZ            0        0        0        0        1        0          1
98601973   EXCEL MANUFACTURING INC     2560 OUTPOST DR STE 1 BULLHEAD CITY   AZ           26        0        0       19        0        0         45
98609817   EXOTICAR15 COM LLC        10443 N CAVE CREEK RD PHOENIX           AZ            0        6        2        0        0        2         10
                                     STE 112
98604857   EXTAR LLC                 1070 METRIC DR        LAKE HAVASU       AZ            0      950        0        0        0        0        950
                                                           CITY
98609896   FREEDOM RIFLE COMPANY LLC 31806 CIENEGA SPRINGS PARKER            AZ            0        0        0        1       13        1         15
                                     ROAD STE 100
98607169   GHOST HAMMER ARMS LLC     2983 EAST BAARS CT    GILBERT           AZ            4        0        0        0        0        0          4
98605985   GORMAN, SCOTT MATTHEW       526 SHADOW MOUNTAIN PRESCOTT          AZ            0        0        0        0        0        1          1
                                       DR
98605978   GRAYSKULL ARMORY LLC        43725 N 12TH ST     NEW RIVER         AZ            0        1        0        0        0        0          1
98607114   HAWKINS, ELI A              2820 KIOWA BLVD N APT LAKE HAVASU     AZ            0        2        0        0        0        0          2
                                       102                   CITY

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BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES
MARTINSBURG, WV
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98609893   HOOKS, CAMERON              4631 WEST CITRUS WAY GLENDALE             AZ            0        0        0        0        2       11         13
98606988   HUNSON INDUSTRIES LLC       17252 E FALCON DR #4     FOUNTAIN HILLS   AZ            0        3        0        0        0        0          3
98605647   JOEJOE ENTERPRISES LLC      6788 W ROBERTA LANE      PEORIA           AZ            0        0        0        0        1        0          1
98606503   KE ARMS LLC                 4343 E MAGNOLIA ST       PHOENIX          AZ            0        0        0        0        1        0          1
98604781   KILO GUNS LLC               21411 N 11TH AVE STE 12 PHOENIX           AZ            0        0        0        0       28        0         28
98600790   KRAUS, BERNARD WILLI        11445 E GOLVLINKS RD     TUCSON           AZ            0        0        0        0        4        0          4
98606455   LAYKE TACTICAL LLC          3330 W OSBORN RD         PHOENIX          AZ            7        0        0        0        0        0          7
98609252   M A C PRECISION LLC         38 B ORGAN PIPE DR       AJO              AZ            2        0        3        0        0        0          5
98603062   MCLEARN, MATTHEW MOODY      1304 RED BARON RD        PAYSON           AZ            3        0        0        0        8       17         28
98604419   MLS ARMS LLC                15610 N 35TH AVE STE 6   PHOENIX          AZ            1        0        0        0        1        0          2
98600788   PATRIOT ORDNANCE FACTORY 1492 W VICTORY LANE         PHOENIX          AZ            0       24       38        0        0        0         62
           INC
98610545   PRECISION WORKS LLC      3533 E CONTESSA             MESA             AZ            0        0        0        0        2        0          2
                                    CIRCLE
98604742   QUARTER CIRCLE 10 LLC    1101 W GRANT RD SUITE       TUCSON           AZ            0        0        0        0       28        8         36
                                    202
98603707   QUENTIN LASER LLC        1025 N MCQUEEN RD           GILBERT          AZ            2        0        0        0        0        0          2
                                    STE 153/154
98609862   RAM ROD ENTERPRISES LLP  418 WEST SPUR AVE           GILBERT          AZ            0        0        0        0        1        0          1
98610145   RAMM. KARL JOSEPH           8475 S EMERALD DR STE TEMPE               AZ            0        0        0        0        0       10         10
                                       108
98609826   REDACT WEAPONRY LLC         5103 WEST LUPINE AVE GLENDALE             AZ            0        8        0        0        0        1          9
98609331   ROBAR COMPANIES INC         21438 N 7TH AVE STE E    PHOENIX          AZ            4        0        0        0        3        1          8
98605461   SAMCORP INC                 1857 COMMANDER DR        LAKE HAVASU      AZ            0        1        0        0        0        0          1
                                       UNIT B                   CITY
98614472   STURM, RUGER & COMPANY,     200 RUGER RD             PRESCOTT         AZ    120033           0        0   281955   163865    44839     610692
           INC
98608267   SUAREZ INTERNATIONAL USA    1616 WEST IRON           PRESCOTT         AZ            0        0        0        0       22        0         22
           INC                         SPRINGS RD #3
98606279   TRITON ARMS LLC             2947 KISH AVE STE A      YUMA             AZ            0        0        5        0        2        0          7
98608132   ULTRASONIC ARMS LLC         2915 N CHEROKEE DR       CHINO VALLEY     AZ            0        0        0        0        1        0          1
98606199   WRIGHT ARMORY LLC           250 S MULBERRY #102      MESA             AZ            0        0        0        0        1        0          1
93340727   EXCEL INDUSTRIES INC        1601 FREMONT CT          ONTARIO          CA       133           0        0       88        0        0        221
93301600   FMK FIREARMS                1025 A ORTEGA WAY /      PLACENTIA        CA            0        0        0        0     7000        0       7000
           INCORPORATED                1005 ORTEGA WAY
96814458   GENECCO, KENNETH MICHAEL    10512 LOWER              STOCKTON         CA            1        0        0        0        0        0          1
                                       SACRAMENTO RD
97703224   GOOSE MANUFACTURING, INC    1853 LITTLE ORCHARD      SAN JOSE         CA            0        0        0        0        0        1          1
                                       ST
93305615   GUNFIGHTER TACTICAL, LLC    7190 MIRAMAR RD #115     SAN DIEGO        CA           16        0        0        0        4        0         20
97702593   ISLAND VIEW ENTERPRISES    2359 KNOLL DR SUITE A     VENTURA          CA            9        1        1        7      195       90        303
           INC
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96804040   JACOBS, GREGORY SCOTT        277 PEBBLE BEACH DR     BRENTWOOD     CA            2        0        0        0        0        0          2
93303891   JV INDUSTRIES LLC            1540 COMMERCE ST        CORONA        CA            0        0        0        0        4        0          4
                                        UNIT H
93302759   LEDESMA, PAUL                13552 CENTRAL AVE,      CHINO         CA           11        0        0        0        0        0         11
                                        UNIT C
93306016   ONCORE GROUP                 1551 N TUSTIN AVE STE   SANTA ANA     CA            0        0        0        1        0        0          1
                                        970
93336988   PHOENIX ARMS                 4231 BRICKELL STREET    ONTARIO       CA     16762        3888        0        0        0        0      20650
97703180   SECESSION ARMS LLC           1713 LITTLE ORCHARD     SAN JOSE      CA            0        0        0        0        0        1          1
                                        ST STE D
93304572   TILOTTA, GIOVANNI VINCENZO   4855 RUFFNER ST STE     SAN DIEGO     CA            2        0        0        0        0        0          2
                                        D1
93304827   TRIP WIRE LLC                7960 SILVERTON AVE      SAN DIEGO     CA            1        0        0        1        1        1          4
                                        STE 105
97702945   VON COLLN, JOHN              3166 E THOUSAND OAKS    THOUSAND      CA            6        0        2        0        0        1          9
                                        BLVD                    OAKS
99501701   WORLDWIDE AEROS CORP         1734 AEROS WAY          MONTEBELLO    CA            0        0        0        0        1        0          1
58404425   ALAN & WILLIAM ARMS INC      28271 CR 9              WILD HORSE    CO            0        0        0        0        2        0          2
58400906   ANDY'S CUSTOM GUNS INC       14855 W 54TH AVE        GOLDEN        CO            1        0        0        0        1       15         17
58407856   BACKBONE TACTICAL LLC        7355 HERBERT COURT      COLORADO      CO            0        7        0        0        0        0          7
                                                                SPRINGS
58406551   BLUE DIAMOND INDUSTRIES      1202 GROVE ST           DENVER        CO            0        0        2        0        0        0          2
           INC
58406321   CHEYENNE MOUNTAIN ARMS       1324 PECAN STREET       COLORADO      CO            0        3        0        0        0        0          3
           LLC                                                  SPRINGS
58406011   CUSTOM MECHANICAL            4880 ROBB ST UNIT 12    WHEAT RIDGE   CO            0        0        1        0        0        0          1
           SOLUTIONS LLC
58405862   DAMAGE FACTORY LLC           6806 SOUTH DALLAS       GREENWOOD     CO            0        0        0        0        1        0          1
                                        WAY                     VILLAGE
58404451   HERITAGE GUN WORKS INC       1473 S TELLER ST        LAKEWOOD      CO            0        0        0        0        0        1          1
58402893   LEGACY CUSTOM PRODUCTS       65 NORTH SKYLANE DR     DURANGO       CO            0        0        0        0        1        1          2
           INC
58402371   LIPPARD, KARL                3259 ELECTRA DR SO      COLORADO      CO            0        0        0        0        0        7          7
                                                                SPRINGS
58404547   MANTHEI, ROBERT D            4641 S COLE WAY         MORRISON      CO            0        0        0        0        0        3          3
58405752   PHOENIX WEAPONRY LLC         1822 SKYWAY DR UNIT P LONGMONT        CO            0        1        1        0        0        0          2
58406045   PODEMSKI, MICHAEL CHESTER 145 VALLEY LN              WOODLAND      CO            0        0        0        0        2        8         10
           JR                                                   PARK
58407659   ROTATING BOLT INDUSTRIES  8052 S PARKER RD           CENTENNIAL    CO            0        0        1        0        0        0          1
           LLC
58407278   STOKER, BROCK             3141 52ND AVE              GREELEY       CO            1        0        5        0        0        0          6
58404401   TACTICOOL ARMS LLC           928 13TH ST SUITE 5     GREELEY       CO            0        0        0        0        4        0          4
58407214   TAYLOR FIREARMS TRAINING     6955 PALMER PARK      COLORADO        CO            0        0        0        0        0        6          6
           LLC                          BLVD                  SPRINGS
58403467   VOLKMANN PRECISION LLC       11160 S DEER CREEK RD LITTLETON       CO            0        0        0        0        0       47         47

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60603306   COLT'S MANUFACTURING        545 NEW PARK AVE       WEST           CT            1        0        0     1613     4396    25977      31987
           COMPANY LLC                                        HARTFORD
60601848   HYDRO HONING                8 EASTERN PARK RD      EAST           CT            0        0        0        0        0        2          2
           LABORATORIES                                       HARTFORD
60601238   JOJOS GUNWORKS LLC          122 SPRING ST D9       SOUTHINGTON    CT            1        0        0        1        0       10         12
60600006   P3LLC                       22 SUNRISE TERRACE     WEATOGUE       CT            0        0        0        0        0       11         11
60601842   PADA HOYT TOOLS LLC         524 WEST JOHNSON AVE CHESHIRE         CT            0        0        0        0        0        1          1
60603511   STAG ARMS LLC               515 JOHN DOWNEY DR     NEW BRITAIN    CT            0        0        0        0       24        0         24
60602196   STANDARD MANUFACTURING      100 BURRITT STREET     NEW BRITAIN    CT            0        0        0        0        0      231        231
           CO LLC
60600763   STURM, RUGER & COMPANY,     1 LACEY PL             SOUTHPORT      CT           13        0        0        6       21        8         48
           INC
60603402   USA FIREARMS CORP           119 ROWLEY STREET      WINSTED        CT            0        0        0        0        0       31         31
15949978   AAL HOLDINGS OF HIGHLANDS   5810 STATE ROAD 66     SEBRING        FL            0        0        0        1        0        0          1
           INC
15949404   ACCURATE DEFENSE GROUP      1220 PROSPECT AVENUE MELBOURNE        FL            1        0        0        0        0        0          1
           LLC                         SUITE 204
15918134   ADAMS ARMS LLC              1551 GUNN HIGHWAY    ODESSA           FL           78        0        0        0        0        0         78
15920987   AEGIS TACTICAL LLC          4402 S TAMIAMI TRAIL    SARASOTA      FL            0        2        1        0        4        0          7
                                       UNIT 3
15905746   AMERICAN VINTAGE GUN AND    4920 LENA RD UNIT 102 & BRADENTON     FL            0        1        0        0       15        0         16
           PAWN, INC                   103
15949483   ANTTACTICAL LLC             249 SW CHELSEA TERR PORT SAINT        FL       163           0       23        0       12        0        198
                                                               LUCIE
15907991   ARES DEFENSE SYSTEMS INC    295 NORTH DRIVE SUITE MELBOURNE       FL       200           0        0        0        0        0        200
                                       H
15932568   ARSENAL SUPPLY LLC          12552 STARKEY RD        LARGO         FL            1        0        0        0        0        1          2
15930118   ARTICLE II FIREARMS LLC     25430 NW 8TH LN STE    NEWBERRY       FL            0        0        0        0        4        1          5
                                       100
15920558   B HUEY SERVICES LLC         1601 HERITAGE          JACKSONVILLE   FL            0        2        1        0        0        0          3
                                       ESTATES TRACE
15949547   BLACK CREEK CUSTOM          369 BLANDING BLVD      ORANGE PARK    FL            8        0        0        0        0        0          8
           FIREARMS LLC                SUITE N12
15916829   BLACKHAWK CUSTOM LLC        5762 NW CONE ST        PORT SAINT     FL            0        0        0        0        0        2          2
                                                              LUCIE
15948882   BUIS INC                    1201 HAMLET AVE        CLEARWATER     FL            0        0        2        0        0        0          2
15931741   BUNKER, BRANDAN             1108 24TH AVE E UNIT   ELLENTON       FL            0        0        0        0        2        3          5
                                       #114
15907948   CHARLES W JENKINS LLC       977 18TH AVE SW        VERO BEACH     FL            0        0        0        0        0        6          6
15931261   CPR TRAINING CENTER TAMPA 2550 LAND O LAKES        LAND O LAKES   FL            0        0        3        0        0        0          3
           LLC                       BLVD UNIT 194
15915069   CSC ARMS LLC              4747 SW 45TH STREET      DAVIE          FL            0        0        0        0        8        1          9
15949016   CW GUNWERKS LLC             10705 SW 216TH ST UNIT MIAMI          FL            0        0        0        0        3        7         10
                                       215
15910123   DIAMONDBACK FIREARMS LLC    3400 GRISSOM PKWY      COCOA          FL      4706           0      777     4115    14672        0      24270

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15913859   EAST COAST CUSTOM            925 WALKER RD           WILDWOOD       FL           1        0        0        0        3        0          4
           TACTICAL LLC
15931783   FHC GUNS LLC                 15000 EMERALD COAST DESTIN             FL           2        0        0        0        0        2          4
                                        PARKWAY
15914831   FLORIDA FIREARMS ACADEMY     13317 W HILLSBOROUGH TAMPA             FL           5        0        0        0        1        0          6
           LLC                          AVE
15949588   FRONTIER TACTICAL LLC        316 MARIANNE ST      BROOKSVILLE       FL           0        0        0        0        0        5          5
15932299   FUSION PRECISION             200 RICH STREET         VENICE         FL           0        0        0        0        5       10         15
           ENGINEERING LLC
15930984   GFT ARMS LLC                 6690 COLUMBIA PARK      JACKSONVILLE   FL           0        0        0        0       23        0         23
                                        DR STE 2
15931364   GHOST FIREARMS LLC           828 S NOVA ROAD         DAYTONA        FL           0       35        0        0        0        0         35
                                                                BEACH
15909552   GOOD TIME OUTDOORS INC       4600 W HIGHWAY 326      OCALA          FL           0       78        0       61        0        0        139
15914892   GREY TACTICAL OUTFITTERS     503-A HARBOR BLVD       DESTIN         FL           0        0        0        0        9        0          9
           LLC
15950494   GUARDIAN ARMAMENT LLC        102 PABLO POINT DRIVE JACKSONVILLE     FL           0        0        0        0        1        0          1
15931535   HAMMER ARMS LLC              2749 EDGEWATER DRIVE NICEVILLE         FL           6        0        0        0        0        0          6
15930351   IN GUNS WE TRUST LLC     5625 YOUNGQUIST RD          FORT MYERS     FL           0       20        2        0        2        0         24
                                    UNIT 1
15918741   IRON SITE GUN SHOP INC   8380 ULMERTON RD            LARGO          FL           1        0        0        0        0        0          1
                                    SUITE 308/310
15921330   KARVASALE, MARK AUGUSTUS 2523 PALMETTO RD            MOUNT DORA     FL           0        0        0        0        5        0          5
15940806   KEL TEC CNC INDUSTRIES INC   1475 COX ROAD           COCOA          FL     46696          0      315     3680     8291        0      58982
15932673   KYLE GROHMANN                4331 126TH DR N      WEST PALM         FL           0        0        0        0        2        0          2
           ENTERPRISES INC                                   BEACH
15932379   LIGAMEC CORPORATION          11419 CHALLENGER AVE ODESSA            FL           0        0        0        0        1        0          1
15931056   MILLENNIUM CUSTOM LLC        501 INDUSTRIAL ST       LAKE WORTH     FL           0        0        0        0        0        4          4
15950121   MUTINY ARMS LLC              2701 SUCCESS DR         ODESSA         FL           0        0        0        0        6        2          8
15906911   MVB INDUSTRIES INC           510 GOOLSBY BLVD BAY    DEERFIELD      FL           0        0        0        0        0       20         20
                                        #5                      BEACH
15932814   NOUS DEFIONS LLC             48 COMMERCE LN BLDG     FREEPORT       FL           0        1        0        0        0        0          1
                                        1 STE 7
15931562   PARADISE WEAPON WORX         16 S ANDROS RD          KEY LARGO      FL           0        3        0        0        0        0          3
           MFG INC
15911048   PD PRODUCTS LLC              2510 KIRBY CIR NE STE   PALM BAY       FL           0        0        0        0        3        4          7
                                        109
15932101   PISTOL PETE THE GUNSMITH     8279 NW 64TH ST         MIAMI          FL           0        0        0        0        4        0          4
           LLC
15915979   PRAESTOLOR ARMS LLC          2040 SHORT AVE          ODESSA         FL           0        0        0        0        2        2          4
15932806   RAFAL DEFENSE INC            6427 MILNER BLVD #5     ORLANDO        FL           0       88        0        0        0        0         88
15930839   RANGER PROOF ARMS LLC        10781 75TH STREET N     SEMINOLE       FL           0        0        0        0        1        0          1
15931060   RENCICH, ANDREW S            197 VILLACREST DR       CRESTVIEW      FL           0        0        0        0        0        1          1
15903222   SCCY INDUSTRIES LLC          1800 CONCEPT COURT      DAYTONA        FL           0        0        0      412   150235        0     150647
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                                                                 BEACH
15931718   SHADOW SOLUTIONS LLC         1711 DALE MABRY HWY      LUTZ          FL            3        0        2        0        0        0          5
15931677   SIMS, RONALD PAUL            1315 61 AVE EAST UNIT    BRADENTON     FL            0        0        0        0        1        0          1
                                        81
15913173   SPECIAL OPS TACTICAL LLC     515 COOPER               APOPKA        FL            4        0        0        0        0        0          4
                                        COMMERCE DR STE 180
15940466   SPOONER, BRENT COOPER        65 CASCADE CT            HAVANA        FL            1        0        0        0        0        0          1
15915559   SWUB ENTERPRISES INC         36 S HWY 17-92           DEBARY        FL            0        3        4        0        1        0          8
15949593   TACTICAL LIFE LLC            10388 WEST STATE RD      DAVIE         FL            0       65       13        0        0        0         78
                                        84 UNIT 114
15908014   TACTICAL MACHINING, LLC      1241 BISCAYNE BLVD       DELAND        FL            0        0        0        0       22       14         36
15923596   TAURUS INTERNATIONAL         16175 NW 49TH AVE        MIAMI         FL      8948           3        0    60172        0        0      69123
           MANUFACTURING INC
15948740   THE BIKER SHOP INC           2044 NW 55TH AVE         COCONUT       FL            0        0        0        0        0        2          2
                                                                 CREEK
15931318   THOMPSON, DWAIN U            3200 CAVERNS ROAD        MARIANNA      FL            0        1        0        0        0        0          1
15916906   TRIDENT ARMS LLC             3212 N 40TH ST STE 801   TAMPA         FL            0        0        0        0        1        0          1
15930334   TRIDENT WEAPONRY LLC         1470 KASTNER PLACE       SANFORD       FL            0        0        2        0        0        0          2
                                        SUITE 104
15932209   VERITAS TACTICAL LLC         207 N GOLDENROD RD       ORLANDO       FL           15        0        0        0        0        0         15
                                        #200
15912135   WADCO INDUSTRIES LLC         700 S JOHN RODES BLVD    MELBOURNE     FL            2        3        0        4       14        0         23
                                        UNIT A-6
15807676   CAPT JERRY'S WEAPON          178 HIGH POINT RD        WOODBINE      GA            0        0        0        1        0        1          2
           WORKS, LLC
15808264   CHESTATEE FIREARMS LLC       6936 OLD WHELCHEL RD DAHLONEGA         GA            1        0        0        0        1        0          2
15808936   COMBAT PRECISION             4020 PRESERVE       CUMMING            GA            0        0        0        0        7        6         13
           TECHNOLOGIES LLC             CROSSING LN
15812246   CUSTOM GUNS OF GEORGIA       6514 CEDAR MOUNTAIN DOUGLASVILLE       GA            1        0        0        0        0        0          1
           LLC                          RD
15813136   DANIEL DEFENSE INC           1334 ORACAL PARKWAY BLACK CREEK        GA            0      328      128        0        0        0        456
15806454   DEFENSE RESEARCH &           268 CADILLAC PKWY STE DALLAS           GA           12        0        0        0       15        0         27
           DEVELOPMENT LLC              104
15813143   EVOLVED TACTICAL COATINGS    105 TALLAPOOSA ST     BREMEN           GA            0        0        0        0        1        1          2
           LLC
15890327   GLOCK INC                    6000 HIGHLANDS PKWY      SMYRNA        GA            0        0        0    73646    94665     7385     175696
15808709   GRUMPPY'S GUN WORKS INC      186 TINGLE RD            JACKSON       GA            0        0        0        0        0        1          1
15804493   HECKLER & KOCH, INC          5175 CARGO DR            COLUMBUS      GA            0        0        0        0        0      140        140
15810831   HONOR DEFENSE LLC            2295 SKELTON ROAD,       GAINESVILLE   GA            0        0        0        0     2327        0       2327
                                        SUITE D-1
15812006   HYDROSHOCK CUSTOM            636-C S OLD BELAIR RD    GROVETOWN     GA            0        0        0        0        6        0          6
           GRAFIX LLC
15807443   INTEGRITY ARMS & SURVIVAL,   1205 WASHINGTON          JEFFERSON     GA            0        0        0        0        2        0          2
           LLC                          STREET

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15811218   JE FIREARMS LLC            92 WALNUT LN            CHATSWORTH     GA           0        0        0        0        0        1          1
15805501   MA CUSTOMS LLC             1255 E CHERRY STREET JESUP             GA           0        0        0        0        1        0          1
15804952   MASTERPIECE ARMS HOLDING   4904 HIGHWAY 98         COMER          GA           0        0        0        0     2282       54       2336
           COMPANY
15840168   MEGGITT TRAINING SYSTEMS   296 BROGDON RD          SUWANEE        GA           0        0        0        0      163       22        185
           INC
15808476   NORTHEAST GEORGIA SUPPLY   210 WILL BAILEY RD      HARTWELL       GA           2        0        0        0        0        0          2
           LLC
15810024   P & C MACHINE CO INC       1601 LESTER RD STE 200 CONYERS         GA           0        0        0        0        0        4          4
15811632   REYNOLDS HOLDINGS INC      304 E MAPLE ST          CUMMING        GA           1        0        0        2       15        6         24
15811877   STRAYHORN, JACKSON TATE    4740 HWY 115 W          CLEVELAND      GA           0        2        1        0        0        0          3
15811120   TACTICAL RESOLVE LLC       5756 GA HWY 169         GLENNVILLE     GA           3        0        1        0        0        0          4
15808331   THE OUTPOST ARMORY LLC     2002 EMA DELL PL        LOGANVILLE     GA           0        0        0        0        4        0          4
15811810   TYR DEFENSE INDUSTRIES LLC 645 HENDERSON DRIVE,    CARTERSVILLE   GA           0        0        0        0        0       12         12
                                      SUITE 1
15807655   U K PRECISION INC          2029 MARSHALL HUFF      DALLAS         GA           1        0        0        0        2        0          3
                                      RD SUITE A
15812793   VALOR RIDGE GUNS LLC       1229 JOHNSON FERRY      MARIETTA       GA           0        0        0        0        2        0          2
                                      ROAD SUITE 201
15809756   WILLIAMS INDUSTRIES INC    600 RICHARD PARSONS     MONROE         GA           0        0        0        0        0       12         12
                                      DR
54203229   CREATIVE ARMS LLC          1430 EAST FLEMING AVE   DES MOINES     IA           4        0        0        1        0        0          5
54202967   FARRO'S LEAD FARM LLC      30376 210TH AVENUE      LONG GROVE     IA           6        1        0       12       68        1         88
54202784   G J D LLC                  307 12TH S              NORTHWOOD      IA           0        0        0        0        0        1          1
54204086   GENERATIONAL GUNS LLC      905 1/2 WASHINGTON      BONDURANT      IA           0        0        0        0        1        0          1
                                      AVE SE SUITE B
54201706   LES BAER CUSTOM INC        1804 IOWA DR            LE CLAIRE      IA           0        0        0        0      171     1211       1382
54203954   MCF CUSTOM FIREARMS LLC    526 CLOVER CIR          FREDERICKSBU   IA           0        0        0        0        3        0          3
                                                              RG
54202783   MOORMAN, FRED A            301 JEFFERSON ST        MYSTIC         IA           2        0        0        0        0        0          2
54202749   SMOKIN GUN FIREARMS, LLC   38 ANN ST               MILFORD        IA           4        0        0        8       12       12         36
54201889   V CUSTOM INC               24276 240TH ST          CARROLL        IA      1474          0        0        0        0        0       1474
98203107   AR CUSTOMS LLC             1081 E STONEYBROOK      POST FALLS     ID           0        0        0        0        2        2          4
                                      LOOP
98202151   BOWEN, JAMES W             1852 N 3750 E.          IDAHO FALLS    ID           0        0        0        0        3        1          4
98202586   LONE WOLF R&D LLC          106 SHANNON LN STE B PRIEST RIVER      ID           0        0        0        0       47        0         47
98202111   MILTAC INDUSTRIES LLC      719 N PRINCIPLE PLACE, MERIDIAN        ID           0        3        0        0        0        0          3
                                      SUITE 130
98201252   PRIMARY WEAPONS SYSTEMS    255 N. STEELHEAD WAY BOISE             ID       277          0       52        0        0        0        329
           INC
98201498   QUALITY ARMS IDAHO LLC     350 N 3RD W             RIGBY          ID           0        2        0        0        0        0          2
98201873   R K GUNSMITHING, LLC       201 N. KINGS RD, #101   NAMPA          ID           0        0        0        0        1        2          3
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98201763   RIVERMAN, LLC              6040 N GOVERNMENT      DALTON         ID            0        0        0        0        1        0          1
                                      #101                   GARDENS
98202543   SEEKINS PRECISION LLC      159 AMERICAN WAY       LEWISTON       ID            0        0        1        0        0        0          1
98200569   TACTICAL INNOVATIONS INC   345 SUNRISE RD         BONNERS        ID            1        0        0        0        0        0          1
                                                             FERRY
98202164   TACTICAL SOLUTIONS INC     2772 S VICTORY VIEW    BOISE          ID           53        0        0        0        0        0         53
                                      WAY
98203082   WEST TECH ARMS LLC         466 S 5TH W            REXBURG        ID            0        0        0        1        6        0          7
98203050   WILKINSON ARMS LLC         14754 MURPHY FLAT      MURPHY         ID            0        0        0        0        1        0          1
                                      ROAD
33605516   BRAND, MARK A & ALICIA A   504 10TH AVE           COLONA         IL            0        0        0        0        0        1          1
33605280   CONDITION YELLOW ACADEMY 2908 W IL ROUTE 120      MCHENRY        IL            0        0        0        0        2        0          2
           INC
33605667   DEVIL DOG ARMS LLC       427 STEVENS ST           GENEVA         IL            0        0        0        0        0        6          6
33605937   DOCHTERMAN, RICHARD        456 195TH ST           ALEDO          IL            1        0        0        0        0        0          1
           MICHAEL
33605115   DR GUNS LLC                551 TELSER RD          LAKE ZURICH    IL            0        0        0        0        0        7          7
33635626   KREBS CUSTOM INC           1000 N RAND RD #106    WAUCONDA       IL            0        0       13        0        0        0         13
                                      AND #105
33703028   LEONARD, ROBERT EDWARD     3689 W LAKE PARADISE   MATTOON        IL            0        0        0        0        1        0          1
                                      RD
33704920   METCALF, BRAD              3336 COUNTY HWY 38     GAYS           IL            0        0        0        0        2        0          2
33733384   OGLESBY & OGLESBY          744 W ANDREW RD        SPRINGFIELD    IL            0        0        0        0        1        2          3
           GUNMAKERS INC
33735964   OTTE, MICHAEL M            439 S BUCHANAN ST STE EDWARDSVILLE    IL            0        0        0        0        4        3          7
                                      A
33604340   PAWLOWSKI, MATTHEW ALAN    9520 PAULING RD       MONEE           IL            2        0        0        0        0        0          2
33602315   RIZZO, ANTHONY CARL        15796 STONEWALL        MILLBROOK      IL            0        0        0        0        3        3          6
                                      DRIVE
33637004   ROCK RIVER ARMS INC        1042 CLEVELAND RD      COLONA         IL            0      198        0        0       10       93        301
33605056   RSS DEFENSE CORP           441 W BONNER RD UNIT   WAUCONDA       IL            0        0        5        0        0        0          5
                                      1-G
33601205   SPORTSWEREUS INC           855 COMMERCE           CARPENTERSVI   IL            0        0        0        0        0        1          1
                                      PARKWAY                LLE
33635798   SPRINGFIELD INC            420 W MAIN ST          GENESEO        IL            0        0        0        0    23918    57459      81377
33605213   STRATEGIC ARMORY CORPS     745 HANFORD ST         GENESEO        IL            0       80        1        0        0        0         81
           LLC
33705169   TALLYNS TACTICAL           1609 W DETWEILLER DR   PEORIA         IL            0        0        0        0        4        0          4
           SOLUTIONS LLC
33606055   VULTURE EQUIPMENT WORKS   650 WILLOWBROOK         WILLOWBROOK    IL            0        0        0        0        5        0          5
           INC                       CENTER PARKWAY
                                     UNIT 205
43505570   ANDERSON, WAYDE CHARLES 500 SOUTH                 AUBURN         IN            0        0        0        0        0        2          2
                                     GRANDSTAFF, SUITE F
43500047   ANTIQUE & MODERN ARMS LLC 6309 NORTH HENRY        HAGERSTOWN     IN            0        0        0        0        1        0          1
                                     COUNTY LINE ROAD

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43504565   BELL, JOSEPH D              211 WEST MAIN ST       MILROY         IN           0        0        0        0        0        1          1
43504312   BOSTICK, TED B JR           2230 WEST SNAKEHILL    LIBERTY        IN           0        0        0        0        1        0          1
                                       ROAD
43506392   CABOT GUN COMPANY LLC       3610 FOCUS DR          FORT WAYNE     IN           0        0        0        0       65      339        404
43504127   CGF ENTERPRISES LLC         5438 N COUNTY ROAD 75 LOGANSPORT      IN           0        0        0        0        2        4          6
                                       W
43507212   FREEDOM ORDNANCE            612 GRACE WAY         CHANDLER        IN           0        0        0        0     2552        0       2552
           MANUFACTURING INC
43506698   HG DIVERSIFIED INC          8401 E HWY 36 STE C    AVON           IN           0        3        1        0        0        0          4
43506762   MOORE GUNWORKS LLC          292 SOUTH COUNTY RD    AVON           IN           0        0        0        0        1        2          3
                                       800 EAST
43503492   NAMACLE LLC                 1235 WEST HIVELY AVE   ELKHART        IN           0        0        0        0        2        0          2
43507728   PADGETT, MICHAEL DALE       470 7TH ST SE          LINTON         IN           0        0        0        0        1        0          1
43505120   RECOIL GUNWORKS LLC         202 W MARKET ST        SALEM          IN           0        0        0        0        1        1          2
43504974   RED BULL ARMORY LLC         440 PEACEFUL VALLEY    MITCHELL       IN           0        0        1        0        0        0          1
                                       RD
43505305   REX BELLATOR FIREARMS LLC   498 TOWN CENTER        MOORESVILLE    IN           0        0        0        0        0        1          1
43507182   SALTZMAN GUN WORKS INC      3896 S 400 WEST        TIPTON         IN           1        0        0        0        0        0          1
43507109   STAR RIFLES LLC             8785 N 900 E           SHERIDAN       IN           0        1        0        0        0        0          1
43504744   ZR TACTICAL SOLUTIONS LLC   15223 HERRIMAN BLVD    NOBLESVILLE    IN           0        0        0        0        1        0          1
                                       SUITE 4
54803412   BLACK DOG ARMORY LLC        3050 S 44TH ST         KANSAS CITY    KS           0        0        0        0        0        2          2
54803929   CLARK, TODD ALAN            2708 DRY CREEK         GREAT BEND     KS           0        0        0        0        4        3          7
54803973   GREAT PLAINS GUNS INC       4816 HWY 59            BALDWIN CITY   KS           3        0        0        0        0        0          3
54802542   KT KUSTOMS LLC              503 S H ST             WELLINGTON     KS           0        0        0        0        0        1          1
54803256   PODUNK INC                  1145 W DENNIS AVE      OLATHE         KS           0      245        0        0       56      135        436
54802710   SIGNATURE MARKETING INC     15845 MAHAFFIE         OLATHE         KS           0        5        2        0        0        3         10
54804330   TACTICAL ADVANTAGE LLC      7968 W 151 ST STREET   OVERLAND       KS           0        3        0        0        0        0          3
                                                              PARK
54802348   WHITE OAK SPECIALTY LLC     2015 E STRATFORD RD    OLATHE         KS           1        0        0        0        0        0          1
54802831   WHITE, TERRY                12273 S SUNRAY DR      OLATHE         KS           0        1        0        0        0        0          1
54804295   WOLF TACTICAL AND DESIGN    815 E HAWTHORNE DR     DERBY          KS           0        0        0        0        2        0          2
           LLC
46105991   ADVANCED WEAPONS            426 FERRY ST           RUSSELL        KY           0        0        0        0       14       11         25
           TECHNOLOGY LLC
46107552   BLACK DAGGER ORDNANCE       3083 T WENZ RD         DOVER          KY           0        0        2        0        0        0          2
           LLC
46100511   DOUBLE STAR CORP            1805 FORTUNE DR        WINCHESTER     KY           0        5        0        0        0       48         53
46107034   GARDNER, DAVID LEE          6554 JACKSON SCHOOL    BENTON         KY           0        0        1        0        0        0          1
                                       RD
46104635   MERIDIAN ORDNANCE LLC       36 SOUTH BANK ST       MOUNT          KY           0        0        0        1        5        0          6
                                                              STERLING
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46106541   NORSWORTHY, BRADLEY          1121 FREEDOM CHURCH HARNED             KY            0        0        0        0        2        0          2
           DAVID                        RD
46105298   PERSONAL DEFENSE SYSTEMS     14177 HERRING MILL RD HOPKINSVILLE     KY            0        1        0        0        0        0          1
           LLC
46103138   VINTAGE ORDNANCE             222 QUARRY RIDGE        ELIZABETHTOW   KY            0        0        0        0        0        4          4
           COMPANY LLC                  COURT EAST              N
46103520   WM C ANDERSON INC            1743 ANDERSON BLVD      HEBRON         KY      1445           0        3        0        0        0       1448
57204834   AKLYS DEFENSE LLC            9683 MAMMOTH AVE        BATON ROUGE    LA            0        0        0        0        0        2          2
57233690   CLARK CUSTOM GUNS INC        336 SHOOTOUT LN         PRINCETON      LA            0        0        0        0        4       11         15
57204545   FDL GROUP LLC                7211 HIGHLAND ROAD,     BATON ROUGE    LA            9        0        0        4        8        1         22
                                        SUITE B
57204848   G&S TRANSFERS LLC            105 KEMPTON DR          LAFAYETTE      LA            0        0        0        0        1        0          1
57205462   PATRICKS GUN SHOP LLC        1191 HAWN AVE           SHREVEPORT     LA            2        0        2        0        0        0          4
57205507   PRO BOHA ENTERPRISES LLC     44 ROY BLAIR RD         DEVILLE        LA            0        0        0        0        1        7          8
57205326   WATTS GUN WORKS LLC          281 HAGAN RD            OAK GROVE      LA            0        0        0        0        1        3          4
60412456   BUSINESS END CUSTOMS LLC     147 SUMMIT ST BLDG 3B   PEABODY        MA            0        0        0        0        6        5         11
                                        #2
60412377   KULAS CUSTOMS LLC            103 BARLOWS LANDING     POCASSET       MA            0        0        0        0        0        2          2
                                        RD UNIT 5
60435456   SAEILO, INC                  130 GODDARD             WORCESTER      MA            0        0        3     5360    10075     8108      23546
                                        MEMORIAL DR
60401684   SMITH & WESSON CORP          2100 ROOSEVELT AVE      SPRINGFIELD    MA     61997           3       78   113246   606732   250394    1032450
60412247   WHALLEY PRECISION INC        28 HUDSON DRIVE         SOUTHWICK      MA            0       86     1035      585        0        0       1706
60436644   YANKEE HILL MACHINE CO INC   20 LADD AVE STE 1       FLORENCE       MA            0        3        1        0        7        0         11
85213126   COOKE, RICHARD STARK         3228 ATLEE RIDGE RD     NEW WINDSOR    MD            0        0        0        2        1        0          3
85203547   ENGAGE ARMAMENT LLC          701 EAST GUDE DR       ROCKVILLE       MD            0        2        1        0        0        0          3
                                        SUITE 101
85212877   HANOVER ARMORY LLC           1327 ASHTON RD STE 5 & HANOVER         MD            0        5        3        0        0        0          8
                                        6
85212839   HELLTHY OBSESSION            248 HAYDEN RD          CENTREVILLE     MD            0        0        0        0        0        1          1
           TACTICAL LLC
85202358   LWRC INTERNATIONAL           815 CHESAPEAKE DRIVE CAMBRIDGE         MD            0      471       21        0        0        0        492
85206041   PARTRIDGE, ROGER FREDRICK 11211 RACE TRACK RD        BERLIN         MD            1        0        0        0        0        0          1
85212226   TOMKAT AMMUNITION LLC        18 CESSNA COURT         GAITHERSBURG   MD            0        0        1        0        0        0          1
85204307   TOMMY BUILT TACTICAL LLC     18910 GOSHEN RD         GAITHERSBURG   MD            0        0        0        0        1       26         27
60101613   COLLINS, JAMES M             03 MEMORY LANE          HERMON         ME            0        0        1        0        0        1          2
60102452   HENSLEE ENTERPRISES LLC      27 MARSHVIEW RD         GRAY           ME            0        1        0        0        0        0          1
60101936   PATHIAKIS, NICKOLAS JOHN JR 94 STRATTON RD           RANGELEY       ME           11        0        0        0        3        0         14
60101551   PIERCE, EVERETT C            905 RIVER ROAD          BUCKSPORT      ME            0        0        0        1        0        2          3
60101661   WINDHAM WEAPONRY INC         999 ROOSEVELT TRAIL     WINDHAM        ME            0      106      162        0        0       43        311
                                        BUILDING #3

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43807385   BK GUNS N STUFF LLC         6255 POTTERS RD          SARANAC         MI            0        0        0        0        0        2          2
43809917   CADOTTE, JOSHUA PAUL        143 STATE HWY M35        NEGAUNEE        MI            0        2        0        0        0        0          2
43807837   J&D ARMAMENT LLC            5921 HOLLOW CORNERS DRYDEN               MI            0        0        2        0        0        0          2
                                       RD
43808788   KICKIN STEEL CUSTOM ARMS,   10292 GORDON RD     FENTON               MI            1        0        0        0        2        0          3
           LLC
43807721   PERFORMANCE MACHINING       919 MICHIGAN STREET      NILES           MI            0        2        0        0        0        0          2
           INC
43809417   SPENCER RACE GUNS LLC       5001 WILLOW RD           MILAN           MI            0        0        0        0        1        0          1
43809866   TRENTON FORGING COMPANY     5523 HOOVER ST           TRENTON         MI            0        0        0        1        4        0          5
43809424   TYPE A RIFLE CO LLC         823 OTTAWA AVE NW        GRAND RAPIDS    MI            0       71        0        0        0        0         71
43809872   WARLOK TACTICAL LLC         12676 10 MILE RD STE B   SOUTH LYON      MI            2        0        0        0        0        0          2
43809932   WILLIS GUN LLC              10280 BEMIS              WILLIS          MI            1        0        0        0        1        0          2
34104920   ALEX PRO FIREARMS LLC       8290 STATE HWY 29 N      ALEXANDRIA      MN           10        1      100        0        0       49        160
34104884   BARRELS AND ARROWS LLC      3041 US HWY 59           MARSHALL        MN            6        0        2        1        0        0          9
34102861   COONAN INC                  4501 103RD CT NE # 120   BLAINE          MN            0        0        0        0        0     1345       1345
34103165   DEER COUNTRY ARCHERY INC 32981 COUNTY RD 24          STARBUCK        MN            0        2        2        0        0        0          4
34137259   E ARTHUR BROWN CO INC       4088 COUNTY ROAD 40    GARFIELD          MN            1        0        0        2        0        1          4
                                       NW
34136974   JP ENTERPRISES INC          15125 FRANCESCA        HUGO              MN            0       25        0        0        0        0         25
                                       AVENUE
34105195   L AND L ENDEAVORS LLC       241 MAIN STREET UNIT 1 MILTONA           MN            0        3        6        0        0        0          9
34103314   MAGNUM RESEARCH INC         12602 33RD AVE SW        PILLAGER        MN            1        0        5      501      643     7217       8367
34102996   MCKAY ENTERPRISES LLC       2535 PILOT KNOB ROAD     MENDOTA         MN            0        0        0        0        2        1          3
                                       SUITE 117                HEIGHTS
34101717   NORDIC COMPONENTS INC       79 EAST 8TH STREET       WACONIA         MN            0        0        0        0       82        0         82
34103228   SUB ZERO CRYOGENICS INC     11265 375TH ST           NORTH BRANCH    MN            0        0        0        0        1        0          1
34102463   VELOCITY LLC                6315 RICE LAKE ROAD      DULUTH          MN            0        0        0        0      148      145        293
54313481   ALIEN ARMORY TACTICAL LLC   3126 WEST CLAY           SAINT CHARLES   MO            0        0        0        0       14       89        103
54311739   BLACK DAWN                  1511 N OHIO AVE          SEDALIA         MO            1        0        1        0        0        0          2
           MANUFACTURING & COATING
           LLC
54306127   BLACK RAIN ORDNANCE INC     11633 IRIS ROAD          NEOSHO          MO           11      101       46        0        2        0        160
54305482   CEDAR FALLS TACTICAL, LLC   3519 CEDAR FALLS         BONNE TERRE     MO            2        0        0        0        0        0          2
                                       ROAD SUITE A
54307126   CHEROKEE FIREARMS LLC       1500 W COLLEGE           SPRINGFIELD     MO            1        0        0        0        1        0          2
54301610   CMMG INC                    2301 BOONSLICK DR        BOONVILLE       MO            0       27      105        0      283      429        844
54310160   COMPOUND DESIGNS LLC        29832 250TH ST           LA GRANGE       MO            0        1        0        0        0        0          1
54312403   EARTH OUTDOOR TACTICAL      9871 EAST 20TH ST        MOUNTAIN        MO            0        0        0        0        2        2          4
           LLC                                                  GROVE

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54339122   ED BROWN PRODUCTS, INC      43825 MULDROW TRAIL    PERRY          MO            0        0        0        0      103      724        827
54311561   FIRE FOR EFFECT INC         2301 BOONSLICK DR      BOONVILLE      MO            0        6       13        0        0        0         19
54312041   FIRST GUNSMITHING LLC       932 MERAMEC STATON     VALLEY PARK    MO            6        0        0        2        5        0         13
                                       ROAD UNIT 1
54309035   HEIZER DEFENSE LLC          8750 PEVELY            PEVELY         MO            0        0        0        0        0      400        400
                                       INDUSTRIAL DR
54310714   MILES PER HOUR LLC          86 EMERSON RD          REEDS SPRING   MO            0        0        0        0        3        0          3
54313958   MORROW CUSTOM GUNS LLC      6335 HWY E             PALMYRA        MO            0        0        0        0        1        0          1
54311296   OZARK GUN & PAWN LLC        14752 HWY 52           VERSAILLES     MO            0        4        3        0        3        0         10
54313940   RAW ENGAGEMENTS LLC         1880 CURRENT ST        LIBERTY        MO            0        0        0        0        1        0          1
54312638   SALUS ARMS LLC              2400 E BENNETT ST STE SPRINGFIELD     MO            0        0        0        0        2        0          2
                                       2
54313812   TERRY TACTICAL INC          505 SW BONANZA DR     LEES SUMMIT     MO            1        0        2        0        0        2          5
16403862   BCA INC                     311 SECOND AVE         SHELBY         MS            0        0        0        0        3       23         26
16402806   BRIDGETOWN GUN SHOP, LLC    24042 HWY 51 SUITE C   CRYSTAL        MS            0        0        0        0        0        5          5
                                                              SPRINGS
16403789   BRYANT'S MACHINE SHOP, INC 5734 HWY 80 W           JACKSON        MS            0        0        0        0        1        0          1
16404181   EVOLUTION LLC               1015 HARRISON DR       MCCOMB         MS            0        0        0        0        2        0          2
16404333   HELANBAK LLC                1481 HWY 13 N          COLUMBIA       MS            0        0        1        0        0        0          1
16404159   MODERN OUTFITTERS LLC       3700 HWY 39 N STE B    MERIDIAN       MS           48        0      351        0        0        0        399
16403240   MOODY, ROBERT KEITH         3720 RALEY CIRCLE      MERIDIAN       MS            0        0        0        0        0        1          1
16404167   OWENS, TERRY A              423 FORREST CT         COLUMBUS       MS            0        0        0        0        3        0          3
16404549   REMINGTON ARMS COMPANY      366 STATELINE RD       SOUTHAVEN      MS            0       35        0    15045    25104    18266      58450
           LLC
16404251   SUNNY HILL FIREARMS INC     1099 HAWTHORNE DR      MC COMB        MS            0        0        0        0        1        0          1
16404079   TARGETMASTERS GUN REPAIR 5564 CHAPEL HILL COVE HORN LAKE          MS            0        0        0       11       33        1         45
           LLC
16403899   TGC OUTDOORS LLC         662 HWY 7 NORTH       ABBEVILLE          MS            2        0        4        0        0        0          6
98102198   DEAD DOWN RANGE LLC         2600 MAILBOX RD        SHEPHERD       MT            0        0        0        0        1        0          1
98102105   FALKOR, SID INC             2902 HWY 93 NORTH      KALISPELL      MT            0       26       12        0        8        9         55
98101025   GENTRY CUSTOM LLC           314 N HOFFMAN ST       BELGRADE       MT            0        0        0        0        0        1          1
98102557   WHEELER, ALEX              1213 EAST GLENDALE      DILLON         MT            0        0        0        0        1        0          1
                                      STREET
98102031   WILLOUGHBY, DANIEL WILLIAM 1246 RAIL ROAD          HARDIN         MT            0        0        0        0        3        0          3
98101871   YATES, WAYNE EDWARD         538 FESCUE SLOPE       FLORENCE       MT            1        0        0        0        0        0          1
                                       ROAD
15611452   ALEXANDER, DONOVAN L        3003 COLEMAN RD        FAYETTEVILLE   NC            1        0        0        0        0        0          1
15605915   ALPHATECH INC               388 CANE CREEK RD      FLETCHER       NC      3450           0        0        0        0        0       3450
15609451   ANGSTADT ARMS LLC           701 E ATANDO AVE       CHARLOTTE      NC            0        0        0        0      214        0        214

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15609766   APPALACHIAN ARMS            48 WALDORF PLACE       BRASSTOWN       NC            0        0        0        0        0        1          1
           INCORPORATED
15604638   BARNES PRECISION MACHINE    1434 FARRINGTON RD     APEX            NC           57        0       27        0        0        0         84
           INC
15610544   BEARING ARMS GUN &          55 AIRPORT RD          TAYLORSVILLE    NC            1        0        0        5        4        4         14
           TACTICAL LLC
15611250   CAROLINA GUN AND            993 LOWES LANE         IRON STATION    NC            0        0        0        1        3        0          4
           RELOADING INC
15601287   CJK FARMS INC               194 BUNCOMBE HILL LN   MOUNT OLIVE     NC            0        3        0        0        0        0          3
15609300   DEEP RIVER CUSTOMS INC     2504 PARKS XROADS    RAMSEUR            NC            0        0        0        0        0       17         17
                                      CHURCH RD
15603403   DEL-TON, INC               330 AVIATION PARKWAY ELIZABETHTOW       NC            0      433        0        0        0        0        433
                                                           N
15612040   GRAHAM, JACK DONALDSON III 132 S SCALES ST      REIDSVILLE         NC            0        0        0        0        0        3          3
15609943   GRANVILLE GUN WORKS INC     208 F NORTH MAIN       CREEDMOOR       NC            1        0        0        0        0        0          1
                                       STREET
15607233   HEFFNER, KENNETH EUGENE     219 DAVIS RD           SHELBY          NC            0        0        0        0        0        1          1
15612039   HELL FIRE ARMORY LLC        4716 CAROLINA BEACH    WILMINGTON      NC            0        0        0        0        1       15         16
                                       RD
15612554   LEGION RIFLEWORKS LLC       6209 PANDEROSA RD      SANFORD         NC            0        0        0        0        1        0          1
15612267   MCCOON, DANIEL W II         3509 C WEST VERNON     KINSTON         NC           13        0        0        7       43       16         79
                                       AVE
15603314   OUTDOOR COLORS LLC          286 INDUSTRIAL PARK    RUTHERFORDT     NC      1712           0        0        0        0        0       1712
                                                              ON
15610397   PILOT MOUNTAIN ARMS LLC     412 AMBER DAWN LN      RALEIGH         NC            0        0        0        0        0        5          5
15604464   RANDOLPH MACHINE INC        1206 UWHARRIE ST       ASHEBORO        NC            0        0        0        0        3       10         13
15609712   RD'S GUNS AND AMMO LLC      1901 LIBERTY DR        THOMASVILLE     NC            0        2        1        0        0        0          3
15604372   RIFLEMAN CONSULTING LLC     201 REMINGTON LANE     CARTHAGE        NC            4        0        3        0        4        1         12
15610522   STICKLE, WILLIAM ROBERT     1402 TIMBER LANE       ASHEBORO        NC            3        0        2        0        3        1          9
15610245   STUMPIES CUSTOM GUNS INC    628 W CORBETT AVE      SWANSBORO       NC            0        0        0        0        4        1          5
15609063   STURM RUGER & COMPANY       271 CARDWELL RD        MAYODAN         NC     69172           0        0    94343        1        3     163519
           INC
15640626   TAYLOR, GEORGE JOSEPH       424 PETERSBURG RD      RICHLANDS       NC            1        0        0        0        0        0          1
15612089   TOMMY GUN USA LLC           1466 CHARLES RAPER     MOUNT HOLLY     NC            0        0        0        0        2        0          2
                                       JONAS HWY
15610412   TRAILBLAZER FIREARMS LLC    388 CANE CREEK RD      FLETCHER        NC      2723           0        0        0        0        0       2723
15604887   USA TACTICAL FIREARMS LLC   933 MEACHAM RD         STATESVILLE     NC            0        0        0        2        0        4          6
15611207   WAR SPORT MANUFACTURING     13117 NC HWY 24/27     EAGLE SPRINGS   NC            0        0        0        0        2        0          2
           LLC
54701905   CHAMBERS CUSTOM LLC         1226 COUNTY ROAD 2250 WILBER           NE            0        0        0        0        6        6         12
54734146   CYLINDER & SLIDE INC        245 E 4TH ST           FREMONT         NE            0        0        1        0        1       34         36
54701183   FCW LLC                     5370 HWY 77            CORTLAND        NE            0        2        0        0        0        0          2


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54701787   LEADFOOT LLC               716 4TH AVE              HOLDREGE       NE            1        0        0        3        8        3         15
54701615   OMAHA TACTICAL RANGE AND   6481 1/2 S 86TH CIRCLE   RALSTON        NE            0        6        0        0        2        0          8
           SUPPLY INC
54701179   PERFECT TURNING INC        218 E THIRD STREET       KIMBALL        NE            0        2        0        0        0        0          2
54702161   TAGONIST CUSTOM GUN        18111 Q STREET SUITE     OMAHA          NE            0        4        0        0        1        0          5
           WORKS LLC                  103
60202055   BLACK OP ARMS LLC          224 WASHINGTON           CLAREMONT      NH            9        0        0        0        1        0         10
                                      STREET
60202899   CARACAL USA LLC            33 PISCATAQUA DR         NEWINGTON      NH            0        0        0        0       25        0         25
60202258   EVOLUTION ARMORY LLC       350 ROUTE 108 UNIT 3B    SOMERSWORTH    NH            0        0        0        0        0        3          3
60201938   HOOK, ANTHONY PAUL         18 LAMY DR UNIT #5       GOFFSTOWN      NH            6        0        0        0        4        0         10
60202715   MACPHERSON FIREARMS LLC    87 ROUTE 27              BRENTWOOD      NH           18        0        0        0        0        0         18
60201012   MATRIX AEROSPACE         421 RIVER ROAD             CLAREMONT      NH            0        0        0        0       14        0         14
           CORPORATION
60202671   ROBERTS, RAYMOND WALLACE 17 HALE RD                 WINCHESTER     NH            0        0        0        0        1        0          1
           III
60201816   SIG SAUER INC            72 PEASE BLVD              NEWINGTON      NH      2227         396      495    66586   368264    98668     536636
60201128   SIG SAUER INC              12 & 18 INDUSTRIAL DR    EXETER         NH            2        0        0        2      122       12        138
60201484   STURM, RUGER & COMPANY,    411 SUNAPEE ST           NEWPORT        NH           28        0        0        0        0        0         28
           INC
60200735   STURM, RUGER & COMPANY,    529 SUNAPEE ST           NEWPORT        NH      7336           0        0        0        0        0       7336
           INC
60201658   WICKED WEAPONRY LLC        21 LONDONDERRY           HOOKSETT       NH            9        0        0        0        5        0         14
                                      TURNPIKE UNIT 1
58501969   BLACKBRIAR INC             2700 GIRARD BLVD NE      ALBUQUERQUE    NM            1        0        0        0        0        0          1
                                      STE #A
58502374   CGS RIFLES LLC             206 FLETCHER RD          ARTESIA        NM            0        0        0        0        0        1          1
58502502   MAUCK, WAYNE RUSSELL JR    1008 AVENIDA DE LAS      SANTA FE       NM            1        0        0        0        0        0          1
                                      CAMPANAS
58501837   OMNI ARMS LLC              11215 CENTRAL AVE NE     ALBUQUERQUE    NM            3        0        4        0        0        0          7
58501546   SILENCER TECH LLC          500A COUGAR DR           LOGAN          NM            0        0        1        0        0        0          1
98803399   CBE INC                    2241 D PARK PLACE        MINDEN         NV            6        0        0        0        0        0          6
98804815   FULL CONCEAL INC           4325 DEAN MARTIN DR      LAS VEGAS      NV            0        0        0        0      542        0        542
                                      STE #350
98804779   GOT YOUR 6 LLC             8912 SPANISH RIDGE       LAS VEGAS      NV            0        0        0        0        9        9         18
                                      AVE STE 210-9
98804211   GUNS N ARROWS INC          1321 HWY 395 #A          GARDNERVILLE   NV            2        0        0        0        0        0          2
98800873   JIMENEZ ARMS INC           7390 EASTGATE ROAD       HENDERSON      NV      5063         435      299    11586     9116        0      26499
                                      SUITE 150
98804296   LIMCAT CUSTOM              58 GLEN CARRAN CIR       SPARKS         NV            9        0        0        0       13       20         42
           INTERNATIONAL LLC
98804785   PLURAL DESIGNS INC         340 WESTERN RD #14       RENO           NV            0        0        0        0        1        0          1
98804799   PRECISION SMALL ARMS INC   2222 PARK PLACE BLD #3 MINDEN           NV            0       52        0        0        0        0         52
                                      SUITE D
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98804528   SALIENT ARMS                6713 S EASTERN AVE      LAS VEGAS      NV            0        0        0        0        2        0          2
           INTERNATIONAL INC
98804130   WESTSIDE ARMORY LTD         7345 S DURANGO DR       LAS VEGAS      NV           15        2        0       16      315       25        373
                                       STE 106
98804566   YOUNGMAN LLC                1317 BOULDER CITY       BOULDER CITY   NV            3        0        0        0        8        1         12
                                       PARKWAY STE D
61601909   ALLSTAR TACTICAL, LLC       2285 RIDGEWAY AVE       ROCHESTER      NY            2        0        0        0        0        0          2
61603850   BEDELL, DANIEL E II         3976 WALDEN AVE         LANCASTER      NY            0        0        0        0       18        3         21
61601079   CZ-USA INC                  65 BORDEN AVE           NORWICH        NY            0        0        0        0     2727     5534       8261
61101081   DARK STORM INDUSTRIES LLC   4116 AND 4122 SUNRISE   OAKDALE        NY           15        0        0        0        4        0         19
                                       HIGHWAY
61401976   EG INDUSTRIES INC           815 RT 32               TILLSON        NY            8        0        0        0        0        0          8
61603957   HYPERION ARMS AND AMMO      3 OSSIAN ST STE 102     DANSVILLE      NY           36        0        0        0        3        0         39
           LLC
61300458   KIMBER MFG INC              1120 SAW MILL RIVER RD YONKERS         NY           37        0        0    27608    98385    57828     183858
61300613   PRECISION GUNSMITHS LLC     52 RT 303               VALLEY         NY            0        0        0        0        2        0          2
                                                               COTTAGE
61602475   REMINGTON ARMS COMPANY      14 HOEFLER AVE          ILION          NY            0        0        0        3        1       58         62
           LLC
61603750   SPECOP TACTICAL CENTER      3056 STATE RT 11        LISLE          NY           51        0       17        0        2        0         70
           LLC
61602160   THERMOLD CORPORATION        7059 HARP RD            CANASTOTA      NY            0        0        0        0        1        0          1
61401675   TJ GUNS LTD                 112 WADE RD             LATHAM         NY            1        0        0        1        1        1          4
61601135   TURNBULL MANUFACTURING      6680 RT 5-20            BLOOMFIELD     NY            0        0        0        0        0       28         28
           COMPANY
43404636   AMERICAN MUSKET'S LLC       7250 COMMERCE DRIVE     MENTOR         OH            0        1        0        0        0        0          1
                                       UNIT K
43404791   ARTEMIS ARMS LLC            50 JACKSON ST           PORT CLINTON   OH            0        0        0        0        0        1          1
43404177   BENCHMARK PRECISION LLC     3077 BUSHNELL           FOWLER         OH            0        0        0        0        2        3          5
                                       CAMPBELL RD
43403656   BULLSEYE CUSTOM SHOP LLC    1380 BONNIE DR          MANSFIELD      OH            0       16        0        0        5        0         21
43405345   CHAMPION PRECISION          4565 NORTH LEAVITT RD WARREN           OH            0        0        0        0        0        2          2
           FIREARMS LLC                NW
43106092   CW ACCESSORIES LLC          12200 JACK RUN RD     LANCASTER        OH            4        0        0        0        0        0          4
43402362   DEFENSIVE CREATIONS LLC     253 MAPLEWOOD DR        ALLIANCE       OH            1        0        0        0        3        2          6
43403855   DELTA GROUP TECHNOLOGY      19240 TOWNSHIP RD 47    BELLE CENTER   OH            0        0        0        0        1        0          1
           LLC
43104234   FAXON FIREARMS LLC          11101 ADWOOD DR         CINCINNATI     OH            0        0        0        0        7        0          7
43419291   HASKELL MANUFACTURING INC 585 EAST BLUE LICK RD     LIMA           OH            0        0        0        0        0    10900      10900
43434316   IBERIA FIREARMS INC         3929 STATE RT 309       GALION         OH            0        0        0        0        0     7800       7800
43104803   INLAND MANUFACTURING LLC    6785 W THIRD ST         DAYTON         OH            0        0       19        0        0        0         19
43402108   ITHACA GUN COMPANY          420 N WARPOLE ST        UPPER          OH            0        0        0        0        0       36         36
                                                               SANDUSKY

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43403347   J AND J PERFORMANCE INC      410 E WOOD ST           SHREVE          OH           2        0        0        0        0        0          2
43102471   JONA CUSTOM STOCKS AND       1546 LAWSON STREET      WHEELERSBUR     OH           0        0        0        0        5        0          5
           RIFLES LLC                                           G
43105046   LETHAL PRECISION DESIGN &    6979 LOTT RD            SUNBURY         OH           0        0        0        0        1        0          1
           MFG LLC
43102967   LUXUS ARMS LLC               222 HOMAN WAY           MOUNT ORAB      OH           0        0      193        0        0        0        193
43104822   NMWC LLC                     4284 GLENMAWR AVE       COLUMBUS        OH           0        1        0        0        0        0          1
43403241   PARTISAN ENTERPRISES LLC     12351 PROSPECT RD,      STRONGSVILLE    OH           0        0      105        0       11        0        116
                                        EAST BUILDING UNIT A
43105466   QUEEN CITY ARMS LLC          322 SYCAMORE ST         NEW RICHMOND    OH           0        0        0        0        5        0          5
43400282   ROONEY, TERRANCE L           4140 ROOT RD            NORTH           OH           0        0        0        1        0        0          1
                                                                OLMSTED
43103419   SFL ENTERPRISES INC          1616 ST RT 28           LOVELAND        OH           2        0        0        0        0        0          2
43405502   SPARK ENTERPRISES LLC        2039 E WESTERN          POLAND          OH           0        0        0        0        4        1          5
                                        RESERVE ROAD SUITE
                                        C
43102059   STOUTS GUN SHOP & REPAIR,    5452 CR 26              BELLEFONTAINE   OH           0        0        1        0        0        0          1
           LLC
43405123   STRASSELLS MACHINE INC       1015 SPRINGMILL ST      MANSFIELD       OH           0        0        0    14805    31210        0      46015
43105224   TACK-DRIVER ARMS LLC         6970 GRATE PARK DR      NEW ALBANY      OH           0        0        0        0        1        2          3
43404479   TOTTS, ALFRED LEWIS JR       2487 RANFIELD RD        MOGADORE        OH           0        0        0        0        0        3          3
43404591   TWISTED RIVER TACTICAL LLC   4564 ROHRDALE AVE NW CANAL FULTON       OH           1        0        1        0        0        0          2
43405270   TWISTED RIVER TACTICAL, LLC 143 1ST ST SE            MASSILLON       OH           0        0        1        0        0        0          1
43402521   VALOR ARMS LLC               2812 RIVERVIEW RD       AKRON           OH           0        0        0        1        0        3          4
57304046   ABI GROUP LLC                640 WEST 79TH ST        TULSA           OK           0        0        0        0        0        1          1
57306398   BARRETT AND SONS             310 W MAIN ST           DURANT          OK           0        0        1        0        0        0          1
           SPORTING GOODS LLC
57304684   CAIN AND ABEL ENTERPRISES    9950- C E 55TH PLACE    TULSA           OK           0        1        0        0        0        0          1
           LLC
57306249   CHOCTAW DEFENSE              1 SKYWAY DRIVE          MCALESTER       OK           0        0        0        0        1        0          1
           MUNITIONS LLC
57302798   COLD HAND ARMS LLC           615 W WILSHIRE STE      OKLAHOMA CITY   OK           2        0        1        0        1        0          4
                                        1400
57302390   CUTTING EDGE ARMS LLC        6840 NW 11TH STREET     OKLAHOMA CITY   OK           0        0        1        0        0        0          1
57305534   FIRINGLINE ARMS GROUP LLC    69400 E HWY 60          WYANDOTTE       OK           0        0        1        0        0        0          1
57302947   HAWKINS, RUSSELL BRENT       402 ASH RD              CHOCTAW         OK           0        0        0        0        2        6          8
57305758   HEWITT, KODEY CHARLES        25500 EAST 111TH ST S  BROKEN           OK           2        0        0        0        8        1         11
                                                               ARROW
57306211   INFINITY CUSTOM SERVICES     6644 SE QUAIL RIDGE RD BARTLESVILLE     OK           0        1        0        0        0        0          1
           LLC
57305565   MKP ARMS LLC                 177 COUNTY ST 2760      MINCO           OK           0        0        1        0        0        0          1
57306029   NOWLIN ARMS INC              12785 N 280 RD          OKMULGEE        OK           0        0        0        0       14        0         14

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57304666   OKLAHOMA MACHINE GUNS       615 W WILSHIRE STE     OKLAHOMA CITY   OK            1        0        0        0        0        0          1
           LLC                         1400
57305420   PARABELLUM COMBAT           301 WORLEY ST          STILWELL        OK            0        1        0        0       35        1         37
           SYSTEMS LLC
57306585   WARHORSE ARMS LLC           9276 S 258TH E AVE     BROKEN          OK            0        0        0        1        3        1          5
                                                              ARROW
99304223   A-TEAM ARMS LLC             201 SE 10TH ST         GRANTS PASS     OR            1        0        0        2        1        0          4
99302497   AXTS INC                    1851 CORDON RD SE      SALEM           OR           27        0       24        0        0        0         51
99303808   B N B ARMORY LLC            16187 MEADOWS RD       WHITE CITY      OR            0        0        0        0        0        2          2
99303685   COLFAX TACTICAL, LLC        1611 SW FIRST ST UNIT A REDMOND        OR            5        0        0        1        7        0         13
99305437   CROSSHAIR CUSTOMS LLC       2300 MAIN ST           BAKER CITY      OR           14        0        1       12       35        0         62
99303182   EMERALD VALLEY ARMORY       147 W OREGON AVE       CRESWELL        OR            1        0        0        0        0        0          1
           LLC
99304642   ERATHR3 LLC                 484 PLEASANT VALLEY    MERLIN          OR            3        0        0        2        3        0          8
                                       ROAD
99304356   GREYHOUND TACTICAL          9555 SW BEAVERTON-     BEAVERTON       OR            1        0        3        0        0        0          4
           SOLUTIONS, LLC              HILLSDALE HWY
99304674   MARTIN, TY                  1251 JANETA AVE        NYSSA           OR            0        0        0        0        0        1          1
99301001   NOVESKE RIFLEWORKS LLC      594 NE E ST            GRANTS PASS     OR            0       79        0        0        0        0         79
99305168   OREGON RIFLEWORKS LLC       12260 SW MAIN STREET   TIGARD          OR            0        6        3        0        0        0          9
99303209   PACIFIC TRADING GROUP LLC   3395 48TH AVE NE       SALEM           OR           20        1        0       75      180        1        277
99304160   PIONEER GUN WORKS INC       2460 HARVEST LANE      SPRINGFIELD     OR           15        0        0        0        0        0         15
99303260   RHEINSCHMIDT MFG, LLC       5590 SW 195TH AVE      BEAVERTON       OR            0        1        0        0        0        0          1
99305698   SASQUATCH FIREARMS CO LLC 1144 WILDERVILLE LN      GRANTS PASS     OR            0        0        0        0        5        0          5
99304128   SMOS ARMS INC            484 PLEASANT VALLEY       MERLIN          OR            6        0        0        0        0        0          6
                                    RD
99305569   THOMPSON, CHAD D         18350 S CLEAR ACRES       OREGON CITY     OR            0        1        0        0        0        0          1
                                    DR
99304557   THUNDER TECHNOLOGIES LLC 144 SE109TH AVE           PORTLAND        OR            0        0        3        0        0        1          4
99337182   TNW FIREARMS INC            55325 TIMBER RD        VERNONIA        OR            0        0        0        4      134        0        138
99304359   V7 WEAPON SYSTEMS, LLC      450 FIR POINT LANE AGG GLENDALE        OR            0        0        8        0        0        0          8
                                       BLDG 1
99303509   VIPER TACTICAL ARMS LLC     37367 REDWOOD HWY      O' BRIEN        OR            0        0        0        0        0        1          1
99302088   YEAMANS, MATTHEW B          480 ROGUE RIVER PKWY TALENT            OR            2        0        1        0        3        0          6
82309134   ARMORY LLC                  818 INTERCHANGE RD     KRESGEVILLE     PA            8        0        4        0        0        0         12
82303723   BLAK FORGE ARMOURY LLC      1803 RT 287            MORRIS          PA            1        0        0        0        0        0          1
82505590   BORDEN, ROBERT FRANCIS      111 HALL ST            SHEFFIELD       PA            0        0        0        0        1        0          1
82305124   BUCHANAN GUNSMITHING &      103 LOCUST DRIVE       MILFORD         PA            0        0        0        0        0        5          5
           CUSTOM FIREARMS LLC
82507713   COMPULSIVE PAINTBALL INC    619 MARKET ST          MC KEESPORT     PA            0        0        1        0        0        0          1


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82310214   DAVIS, WILLIAM STANLEY AND   105 LANTERN LN         STEWARTSTOW    PA            0        0        0        0        0        3          3
           MERSON, JOHN MARSHALL                               N
82505397   DOWNS, MATTHEW H             2457 ST CHARLES RD     NEW            PA            0        0        0        2        0        0          2
                                                               BETHLEHEM
82502681   EVANS MACHINING SERVICE      314 STATE STREET       CLAIRTON       PA            0        0        0        0        4        0          4
           INC
82304778   FELEGIE, MICHAEL JR          1233 TOMHICKEN RD      FERN GLEN      PA            0        0        1        0        0        0          1
82307379   FOXHOLE FIREARMS LLC         160 CRUM RD            FAIRFIELD      PA            1        0        0        0        0        0          1
82309252   GERVASIO, JOSEPH ANTHONY     788 1/2 700 RD         NEW OXFORD     PA            0        2        3        0        0        0          5
           JR
82506772   IRON CITY ARMS LLC           162 A YANKOSKY RD      CHARLEROI      PA            0        1        0        0        0        0          1
82306295   JMB DISTRIBUTION LLC         856 GRANDELL AVE       READING        PA            3        0        0        0        0        0          3
82507564   JMC TACTICAL LLC             296 MURDOCKSVILLE RD CLINTON          PA           15        0        0        0        0        0         15
82302834   KEYSTONE SPORTING ARMS       155 SODOM RD           MILTON         PA       395           0        0        0        0        0        395
           LLC
82304234   LANCER SYSTEMS LP            2800 MILFORD SQUARE    QUAKERTOWN     PA            1        0        0        0        0        0          1
                                        PKE
82305708   LUGER MAN INC                1408 ELKINS AVE        LEVITTOWN      PA            0        0        0        0        0       47         47
82309424   MERC ARMS LLC                2380 COLEBROOK RD      LEBANON        PA            0        3        1        0        0        0          4
82303867   MOUNTAIN COMPETITION         3286 MOUNTAIN VIEW DR TANNERSVILLE    PA            0        0        0        0        4        0          4
           PISTOLS LLC
82507394   NINE SEVEN FIREARMS LLC      7927 LINDISFARNE DR    PITTSBURGH     PA            0        2        0        0        3        0          5
82307692   PRITTS, WESTON LEE &         100 W SECOND ST UNIT   HUMMELSTOWN    PA            0        0        0        0        6        0          6
           BURIAN, ANTHONY WILLIAM      7
82305497   REBEL ARMS CORP              67 MILLCREEK RD        EAST           PA           19        0       16        0       25        0         60
                                                               STROUDSBURG
82308578   SAEILO INC                   105 KAHR AVE           GREELEY        PA            0      100        0        0        0        0        100
82309715   TL TECHNOLOGIES INC          2950 OLD TREE DR STE 1 LANCASTER      PA            0        0        1        2        0        0          3
82303270   U S ARMAMENT CORP            121 VALLEY VIEW DR     EPHRATA        PA            0        0      441        0        0        0        441
60500865   ATA MANUFACTURING INC        125 HARRISON AVE       WOONSOCKET     RI            0        0        0        0        0        1          1
15704477   ACE FIREARMS INC             116 KAY DRIVE STE B    EASLEY         SC            0        0        0        0        4        0          4
15705681   ALPHA SIERRA INDUSTRIES      905 N MAIN ST          AYNOR          SC            0        0        2        0        0        0          2
           LLC
15704502   AMERICAN TACTICAL INC        231 DEMING WAY         SUMMERVILLE    SC            0        0        0        0      833     4172       5005
15703422   CORMAC ENTERPRISES LLC       22 HOLBROOK DR         BEAUFORT       SC            7        0        0        0        0        0          7
15703590   DANIEL DEFENSE INC           58 FIREFLY DR          RIDGELAND      SC            0       34       23        0        0        0         57
15705009   DEFREEST, DORIS P AND        13255 SC HWY 64        BARNWELL       SC            0        0        0        2        0        0          2
           PERKINSON, PATRICK K
15705275   DOC'S TACTICAL WEAPONS       103 NORTH MAIN ST      BELTON         SC            3        0        0        0        0        0          3
           SYSTEMS LLC
15705851   ELITE FIREARMS LLC           3120 WACCAMAW BLVD     MYRTLE BEACH   SC            0        4        0        0        0        0          4
                                        UNIT A

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15702581   FN AMERICA, LLC             797 OLD CLEMSON ROAD COLUMBIA          SC           0        0        0        0    45384    16126      61510
15705440   GUNN, JAMES VANE            3120 WACCAMAW BLVD      MYRTLE BEACH   SC           0        0        0        0        0       18         18
15703731   HARDEE, CHRISTOPHER E       1188 TAW CAW 2 DR       SUMMERTON      SC           0        0        0        1        1        0          2
15703889   JACOB GREY FIREARMS LLC     125A QUEEN PKWY      WEST              SC           0        0        0        0        0        9          9
                                                            COLUMBIA
15704654   LEAD STAR ARMS LLC          100 ENTERPRISES PKWY WEST              SC           0        0        0        0        1        0          1
                                                            COLUMBIA
15705563   PALMETTO STATE ARMORY       366 E 5TH NORTH ST   SUMMERVILLE       SC           0       38       12        0        0       94        144
           LLC
15704905   PALMETTO STATE ARMORY       3365 SOUTH MORGANS      MOUNT          SC           0       15        4        0        2       38         59
           LLC                         POINT RD                PLEASANT
15702546   PALMETTO STATE ARMORY,      2121 OLD DUNBAR RD      WEST           SC           0     1357      608        0      379      779       3123
           LLC                                                 COLUMBIA
15704597   PTR INDUSTRIES INC          101 COOL SPRINGS DR     AYNOR          SC           0        0      164        0        0        0        164
15705536   REAPER FIREARMS INC         144 KAY DR              EASLEY         SC           0        0        0        0        3        0          3
15705175   SECOND AMENDMENT            549 LEESVILLE CHURCH    CLINTON        SC           0        0        1        0        0        0          1
           WEAPONRY LLC                RD
34601255   BAR-STO PRECISION MACHINE   3571 HANSEN AVE         STURGIS        SD           0        0        0        0        0        1          1
           LLC
34633475   H S PRECISION INC           1301 TURBINE DR         RAPID CITY     SD           0        0       12        0        0        0         12
34600878   REMINGTON ARMS COMPANY      1310 INDUSTRY RD        STURGIS        SD           0        0        0        0        2       42         44
           LLC
16236907   BARRETT FIREARMS MFG INC    5926 MILLER LANE        MURFREESBOR    TN       123          0       53        0       68        0        244
                                                               O
16208339   BERETTA USA CORP            1399 GATEWAY DR         GALLATIN       TN      5432          0      184    20810    30741      244      57411
16208373   BOOMSTICK BALLISTICS LLC    102 SEMINOLE DR         MARYVILLE      TN           0        2        0        0        0        0          2
16206954   CHANDLER HARDWOODS INC      107 E 2ND ST            SOUTH          TN           2        0        0        0        0        0          2
                                                               PITTSBURG
16207759   COBRAY FIREARMS OF          1801 HWY 68             DUCKTOWN       TN           0        0        0        0      499      488        987
           TENNESSEE LLC
16205316   CUSTOM DEFENSE LLC          308 SOUTH WATER AVE     GALLATIN       TN           0        0        0        0        0        5          5
                                       SUITE A
16208304   ENCORE FURNITURE THRIFTS    4870 OLD HIGHWAY 13     CUMBERLAND     TN           0        0        7        0        0        0          7
           & MORE LLC                                          CITY
16204731   IRONWORKS MFG LLC           1812 NORTH BROAD ST     TAZEWELL       TN           0        0        0        0        0        5          5
                                       STE 2
16203559   PERSIMMON RIDGE             273 FAIRFIELD DRIVE     GREENEVILLE    TN           0        1        0        0        0        0          1
           ENTERPRISES INC
16205304   RIEHL, MARK EDWARD          2012 W STATE ST         BRISTOL        TN           5        0        0        0        0        0          5
16209236   TACTICAL INVESTMENTS LLC    436 HIGHWAY 72 STE #2   COLLIERVILLE   TN           0        0        1        0        0        0          1
16207129   TENNESSEE ARMS COMPANY      517 LAKE ROAD           DYERSBURG      TN           1        0        0        5       22        9         37
           LLC
16209828   THE TACTICAL EDGE LLC      219 INDUSTRIAL DRIVE  CLARKSVILLE       TN           4        0        3        0       19        3         29
                                      UNIT B
16208127   THE TACTICAL EDGE LLC      1925 FT CAMPBELL BLVD CLARKSVILLE       TN           6        0        4        0       17        2         29
                                      UNIT C
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16208955   THOMAS, ETHAN AUGUST          2210 FAIRFAX DRIVE       CLARKSVILLE   TN            0        1        0        0        0        0          1
16208855   ULTIMATE ARMS LLC             308B SOUTH WATER AVE GALLATIN          TN            0        0        0        0        0       13         13
16209265   VETERAN OUTDOORS CORP         14 NATCHEZ TRACE    LEXINGTON          TN            2        0        0        0        0        0          2
                                         DRIVE
16209127   VISIONARY FABRICATION LLC     3081 HORSESHOE BEND KNOXVILLE          TN           21       12       11       34       70       69        217
                                         LN
16206220   WILLYERD, JACK E AND ERIC J   4820 OLD HWY 48     CUNNINGHAM         TN            0        0        0        0        0        3          3
57510073   4W INC                        3403 SW 6TH AVE          AMARILLO      TX            1        0        0        0        0        0          1
57605413   A9 MANUFACTURING INC          14401 INTERDRIVE W       HOUSTON       TX            0        0        0        1        0        0          1
57407617   AIRTRONIC USA LLC             21155 W HWY 46           SPRING        TX            0        0        0        0       25        0         25
                                                                  BRANCH
57603965   ALPHA EPSILON SYSTEMS LLC     8729 FAIRBEND ST         HOUSTON       TX            0        0        0        1        5        1          7
57408060   ALPHA EPSILON SYSTEMS LLC     2007 LAMAR DR            ROUND ROCK    TX            0        0        0        0        4        1          5
57421953   AMERICAN DERRINGER CORP       127 N LACY DR            WACO          TX            1        0        0       28        6       69        104
57605197   ANC ION COATING INC           12823 TRINITY ST         STAFFORD      TX            0        0        0        0        8        0          8
57407398   ARCHER MFG INC                520 CR 108 UNIT 5        HUTTO         TX            0        0        1        0        0        0          1
57509216   AVILA, EDWARD & JUAN C        901 VZ CR 3215           WILLS POINT   TX            0        3        5        0        0        0          8
57510630   B & P SHOOTERS SUPPLY LLC     1308 STANFORD AVE        BIG SPRING    TX            1        0        0        0        1        0          2
57602738   BENCIVENGA CORPORATION        4800 W 34TH ST STE D-    HOUSTON       TX           40        0        0        0       12        0         52
                                         11
57512223   BLACK FLAG UNITED LLC         1724 S HWY 287           CORSICANA     TX            1        0        0        0        0        0          1
57511900   BLACK RIFLE CUSTOMS LLC       574 CR 1362              GARRISON      TX            0       67        1        0      224        3        295
57503595   BOND ARMS, INC                1820 S MORGAN            GRANBURY      TX       143           0        8     1916     1637     9629      13333
57604153   BOOMER PRECISION LLC          25003 PITKIN RD STE      SPRING        TX            0        2        0        0        2        1          5
                                         A500
57512810   BOUYER ARMS LLC               125 CHAMPION CT          WEATHERFORD   TX            0        0        0        0        0        1          1
57605428   BULLETS, BLADES &             111 I-45 SOUTH STE G-2   HUNTSVILLE    TX           14        0       18        0        0        0         32
           CONCEALMENT LLC
57407314   CACTUS WEAPONS SYSTEMS        109 PIERCE ST            DEL RIO       TX            2        0        0        0        0        0          2
           INC
57512512   CARROLL, DANIEL PATRICK       738 FECHTLER RD          NOCONA        TX            0        0        0        0        2        0          2
57511249   CHARLIE SQUAD FIREARMS        10055 MANOR WAY          FORNEY        TX           20        0        0        0        0        0         20
           LLC
57504303   CLARK, KENNETH TRACY &        1003 WEST MAIN ST        CARROLLTON    TX            0        0        0        0       27        0         27
           SIDLEY, MATTHEW S
57512630   CLOCKWORK ARMORY LLC          16240 CR 4257D           HENDERSON     TX            0        1        0        0        0        0          1
57409217   CSR INDUSTRIES LLC            401 BALL AIRPORT ROAD VICTORIA         TX            0        0        0        0        1        0          1
57407994   CUSTOM DEFENSE FIREARMS       1911 E RANCIER AVE       KILLEEN       TX            9        0        1        0        2        0         12
           LLC
57603079   CUSTOM DESIGNED               6415 FM 2920 STE 6415    SPRING        TX           98        0        8        0        0        3        109
           COMPUTERS LLC

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57508352   DANIELSON, MITCHELL JAY    168 CR3672              SPRINGTOWN    TX           8        0        0        0        0        0          8
           BYRON
57512497   DOBBINS, RICHARD, PAULA;   14465 S FM 1541         AMARILLO      TX           0        0        0        0        2        0          2
           KALEM
57509750   DUKE COMPONENTS LLC        190 WEAVER DRIVE        SULPHUR       TX           1        0        0        0        0        0          1
                                                              SPRINGS
57604669   EMPTY SHELL LLC            17711 WEST STRACK       SPRING        TX           1        0        0        0        1        0          2
                                      DRIVE
57605418   EO'S VENTURES LLC          830 W 14TH ST           HOUSTON       TX           0        0        0        0        2        7          9
57605642   EVERYMAN TACTICAL LLC      200 FM 1960 BYPASS RD HUMBLE          TX           8        0        0        0        0        0          8
                                      E STE 238A
57604022   F-1 FIREARMS LLC           5045 FM 2920 RD       SPRING          TX           0       47        0        0        0        0         47
57604647   FORTRESS ARMS LLC          2418 N FRAZIER ST STE   CONROE        TX           0        0        0        0        1        2          3
                                      107B
57509684   GARDNER, KEVIN P           2683 BALL RD            WHITEWRIGHT   TX           2        0        0        0        5        4         11
57513223   GONZALES, JOEL SCOTT       3005 CR 615             ALVARADO      TX           0        0        1        0        0        0          1
57511113   HARDESTY, JEFFERY L        656 CR 8201             NACOGDOCHES   TX           0        0        0        0        5        0          5
57513158   HEGAZY LLC                 6162 MAPLE AVE APT      DALLAS        TX           0        0        0        0        1        0          1
                                      1227
57505250   HEINKEL, JASON             429 CR 427              TENAHA        TX           1        0        3        0        0        1          5
57603521   HIGH STANDARD FIREARMS     5151 MITCHELLDALE ST HOUSTON          TX           2        0        0        0        0        0          2
           LTD                        STE B-14
57401043   HILL COUNTRY RIFLE         5726 & 5726B SAFARI DR NEW            TX           0        0        0        0        6        0          6
           COMPANY INC                                       BRAUNFELS
57407503   HUDSON MFG LLC             10986 NW HK DODGEN     TEMPLE         TX           0        0        0        0      770        0        770
                                      LOOP
57604573   HUNTER RIFLEWORKS LLC      16522 HOUSE&HAHL RD CYPRESS           TX           1        0        0        0       57        9         67
                                      SUITE F6
57604892   INTERFOR USA GROUP INC     12515 MAXIM DR         HOUSTON        TX           0        0        0        0        0        1          1
57507590   J A & M LLC               2006 NORTH GARLAND       GARLAND       TX           2        0        0        0        2        0          4
                                     AVE
57603164   JESS BRILEY MANUFACTURING 1230 LUMPKIN RD          HOUSTON       TX           0        0        0        0        0        2          2
           COMPANY
57408475   KRIST, ALEX LEOPART       105 SHOOTING CLUB        BOERNE        TX           2        0        0        0        0        0          2
                                     ROAD BUILDING A UNIT
                                     142
57406688   L C OUTDOORS LLC          1716 SILVER SADDLE       KERRVILLE     TX           0        1        0        0        0        0          1
57509917   LADD, BOBBY F & SIMPSON,    650 COX RD             LUFKIN        TX           0        0        1        0        0        0          1
           SANDRA E
57405587   LAMBERT, BRIAN J & RACHEL L 5130 SHAW RD           TEMPLE        TX           0        0        0        0        0        1          1
57505714   LANE, TERRY RAY SR &       12467 CR 580            BLUE RIDGE    TX           6        0        0        2        5        0         13
           WHITESIDE, KEITH ROY
57507799   LIGHTNING DEFENSE LLC      4424 SMILING HILLS CT   CLEBURNE      TX           0        0        0        0        0       49         49
57603680   LOCKED AND LOADED ARMS     2113 BAYPORT BLVD       SEABROOK      TX           0        0       14        0        2        0         16
           INC

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57512783   LONE STAR ARMORY LLC        2006 MARTIN LUTHER     FORT WORTH    TX            3        0        0        1        0        0          4
                                       KING FRWY
57603353   LONESTAR INNOVATIONS LLC    4405 SPRING CYPRESS    SPRING        TX            0        0        0        0       11       14         25
                                       RD BLDG D STE D
57605439   MASON MUNITIONS CO          1502 ALABAMA ST        SOUTH         TX            0        1        0        0        2        0          3
                                                              HOUSTON
57605474   MASONS PAWN SHOP INC        8614 CULLEN BLVD       HOUSTON       TX            0        0        0       39        0        2         41
57605160   MATTHEWS, CHRISTOPHER       11721 SPRING CYPRESS TOMBALL         TX            0        6        0        0        0        0          6
           EARL                        RD STE E8
57510232   MCENROE SOLUTIONS LLC       1505 PRECISION DR    PLANO           TX            5        0        0        0        0        0          5
57503236   MCLEMORE, PAUL G            101 N WEATHERFORD ST CHICO           TX            0        0        0        0        0        4          4
57602958   PATRIOT DEFENSE LLC         800 ANDERS LANE        KEMAH         TX            0        0        0        0        1        0          1
57407268   PEINE CUSTOM FIREARMS INC   2379 COUNTY ROAD 4390 KEMPNER        TX            0        0        0        0        4        5          9
57605541   PFTG LLC                    2309 LOUISIANA AVE     DEER PARK     TX            0        0        0        0       11        0         11
57508198   PIKE'S PRECISION ARMS LLC   5466 ACTON HWY         GRANBURY      TX            0        0        0        0        0        3          3
57511495   PITTINGER, MATTHEW T        1109 CREEKWOOD LN      LONGVIEW      TX            1        0        0        0        9        0         10
57603438   RADICAL FIREARMS LLC        4413 BLUEBONNET STE 8 STAFFORD       TX      1398           0     1326        0        0       51       2775
57408651   REIDENBACH, JACOB WILLIAM   529 HAPPY HOLLOW RD    BRENHAM       TX            0        0        0        0        1        0          1
57508775   REPUBLIC FORGE, LLC         820 S INDUSTRIAL       PERRYTON      TX            0        0        0        0       24       59         83
57503567   RIDDLE, GROVER GLEN         7749 COUNTY ROAD 409   GRANDVIEW     TX            2        0        0        1        0        0          3
57510830   ROWLAND FIREARMS LLC        1376 COUNTY RD 4165    QUITMAN       TX            0        1        0        0        0        0          1
57512440   SHADOW SYSTEMS LLC          730 F AVENUE STE 220   PLANO         TX            0        0        0        0       84        0         84
57512558   SHADOWOOD ENTERPRISES       92 GRAPEVINE HWY 90    HURST         TX            0        5        3        0        0        0          8
           LLC
57407799   SPORTSMAN'S ELITE LLC       4520 DONIPHAN DR       EL PASO       TX            0        1        0        0        0        0          1
57605384   STATE OF READINESS ARMS     1210 1ST ST EAST STE C HUMBLE        TX           12        0        0        0        0        0         12
           LLC
57506393   STAY SAFE LLC               211 A S CROCKETT ST    AMARILLO      TX            0        0        0        0        0        3          3
57511910   STEPHENS, BOBBY JOE JR      13677 FM 314           BROWNSBORO    TX            0        0        0        0        9        1         10
57408497   STI FIREARMS LLC            114 HALMAR COVE        GEORGETOWN    TX            0        0        0     4890     1526        0       6416
57512874   STRATUS SUPPORT             11000 SAINT JOHN RD    PILOT POINT   TX            1        0        4        0        0        0          5
           INDUSTRIES LLC
57540601   STRAYER VOIGT INC           71229 INTERSTATE 20    GORDON        TX            0        0        0        0      111       82        193
57405395   SUPPRESSED TACTICAL         901 BIGHORN DRIVE      EDINBURG      TX            3        0        0        0        0        0          3
           SOLUTIONS LLC
57409332   SW TEXAS SECURITY LLC       2011 E MAIN            UVALDE        TX            0        0        0        1        0        0          1
57604585   TAC 47 INDUSTRIES LLC      1730 ELMVIEW DR STE     HOUSTON       TX            4        0        0        5       10        0         19
                                      D2
57507235   TACTICAL PROFESSIONALS INC 35100 N STATE HWY 108   MINGUS        TX            0        0        1        0        1        0          2
57408284   TEXAS COMBAT ARMS LLC       50 BRIAR CROWN         UVALDE        TX            1        0        0        0        0        0          1
PREPARED BY FIREARMS AND EXPLOSIVES SERVICES DIVISION                                                                                      01/30/2019
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57407395   TOMLINSON GUN WORKS LLC      204 COUNTY ROAD 375    JARRELL          TX            0        0        0        0        3        1          4
57512976   TRIARC SYSTEMS LLC           2500 US HWY 287 N      MANSFIELD        TX           14        0        7        0       61       11         93
57405069   TRIPP RESEARCH INC           529 KELLEY RD          BASTROP          TX            0        0        0        0        1        5          6
57507248   WE THE PEOPLE FIREARMS       4110 S EDEN RD         KENNEDALE        TX            0        0        0        1        4        0          5
           LLC
57505688   WEBSTER, EDWARD              625 BRIARWOOD TRAIL    JOSHUA           TX            1        0        0        0        3        1          5
           MARSHALL
57511613   WOLFPACK WEAPONRY LLC        9584 W 42ND ST         ODESSA           TX            1        0        1        0        0        3          5
57408451   WRIGHT METAL FINISHING LLC   106 WILDWOOD RANCH     ADKINS           TX            0        0        0        0        1        0          1
                                        ROAD
57603665   WTFIREARMS LLC               3 CHANDLERS WAY        MAGNOLIA         TX            0        0        0        1        0        0          1
98702208   BRETHREN ARMAMENT LLC        2156 W PRINTERS ROW    WEST VALLEY      UT            2        0        0        0       42        9         53
                                                               CITY
98701005   BROWNING ARMS COMPANY        ONE BROWNING PLACE     MORGAN           UT     30859           0        0    19472        0        0      50331
98702803   CENTER IMPORTS LLC           2346 E 2050 N          LAYTON           UT            0        0        0        4        0        0          4
98701806   CITIZENS ACADEMY LLC         9470 SOUTH 560 WEST    SANDY            UT            0        0        1        0        0        0          1
98700995   COBRA ENTERPRISES OF         1960 S MILESTONE DR,   SALT LAKE CITY   UT      3485          11        2    11475    12852       80      27905
           UTAH, INC                    SUITE F
98703526   DAVIDSON DEFENSE INC         333 N STATE STREET     OREM             UT            0        1        0        0        0        0          1
98703069   NESS, HAROLD                 1201 E 1525 N          LAYTON           UT            0        0        0        0        0        1          1
98734026   NORTH AMERICAN ARMS INC      2150 S 950 E           PROVO            UT            0       50      440      319        0        0        809
98701000   PAWELEC, RICHARD S           512 NORTH MAIN ST      KANARRAVILLE     UT            0        0        0        0        1        0          1
98703191   RIOT LLC                     353 WEST 200 SOUTH     SALT LAKE CITY   UT            0        0        0        0        0        1          1
                                        SUITE 101
98701056   SILENCERCO, LLC              5511 SOUTH 6055 WEST   WEST VALLEY      UT            0        0        0        0     4850        0       4850
                                                               CITY
98734710   TDJ INC                      550 NORTH CEMETERY     GUNNISON         UT            0        0        0        0      207        0        207
                                        ROAD, BUILDING #1
98701861   WASATCH ARMS LLC             286 EAST EAGLERIDGE    NORTH SALT       UT            1        0        0        0        1        0          2
                                        DR                     LAKE
98702489   WILSON PRECISION ARMS INC    204 PLAYA DELLA        WASHINGTON       UT           56        0        0        0        0        0         56
                                        ROSITA STE #6
15415883   3CR ASSOCIATES LLC           25 PATRIOT WAY         STAFFORD         VA            0        0        0        0        0        4          4
15410684   ACCURACY X, INC              733 MIDDLE VALLEY RD   HARDY            VA            0        0        0        0        8       32         40
15412412   APPALACHIAN GUN WORKS        4568 BLUE RIDGE BLVD   BLUE RIDGE       VA            0        0        0        0        0        1          1
           LLC
15418157   BBC OUTDOORS INC             320 OLD FRANKLIN       ROCKY MOUNT      VA            3        0        0        0        0        0          3
                                        TURNPIKE
15416108   E GIUFFRE INC                400 GREYSTONE DR       WIRTZ            VA            0        0        0        1        0        0          1
15424072   ECHO 3 WHISKEY ARMS LLC      1108 COOLBROOK RD      BEDFORD          VA            8        0        3        0        0        0         11
15416746   EDC TACTICAL LLC             1100 ATHENS AVE STE D RICHMOND          VA            0        7        4        0        3        0         14
15415639   HIGHFLYER ARMS LLC           17 S 5TH ST SUITE O    WARRENTON        VA            0        1        0        0        0        0          1
PREPARED BY FIREARMS AND EXPLOSIVES SERVICES DIVISION                                                                                          01/30/2019
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15408934   KAYLOR, ROGER M            28199 LEE HWY           MEADOWVIEW     VA            2        0        0        0        1        0          3
15424184   KOMAR ENTERPRISES LLC      1705 MAGNOLIA CIRCLE    CULPEPER       VA            0        0        0        4        0        0          4
15402925   KRISS USA, INC             912 CORPORATE LANE      CHESAPEAKE     VA            0        0        0        0     1413     1841       3254
15412077   LIBERTY MANUFACTURING      7515 RANCO RD           HENRICO        VA            0        0        1        0        0        0          1
           GROUP, LLC
15424121   MCQUILLEN, GARY ELWOOD     7535 GUINEA ROAD        HAYES          VA            0        0        0        0        3        3          6
15415734   MODERN PALADIN INC         37 ORCHARD AVE          HAMPTON        VA            1        0        0        0        0        0          1
15410246   REYCO ENTERPRISES LLC      8552 BAUER CIRCLE       SPRINGFIELD    VA            1        0        0        0        0        0          1
15423839   S4 ARMAMENT LLC            8018 UNIT B-5 HANKINS   TOANO          VA            2        0        0        0        0        0          2
                                      INDUSTRIAL PARK
15411903   SAFESIDE TACTICAL LLC      1201 SHENANDOAH AVE     ROANOKE        VA            0       14        0        0        0        0         14
15405293   SAMS CUSTOM GUNWORKS       254 COLUMBIA RD         CARTERSVILLE   VA            0        0        0        0        0        4          8
           LLC
15410619   SODAN ARMAMENT, LLC        3300A NEW KENT HWY      QUINTON        VA            1        0        0        0        0        0          1
15414812   SSG NFA 2 INC              610 WESTWOOD OFFICE FREDERICKSBU       VA           10        0        0        0        0        0         10
                                      PARK                    RG
15406989   STERLING ARSENAL WORKS &   201 DAVIS DRIVE UNIT FF STERLING       VA            0        0        0        0        2       15         17
           TACTICAL SUPPLY LLC
15412544   SWVA ARMS LLC              1123 FLORIDA ST         SALEM          VA            6        0        0        0        0        0          6
15409065   TERMINAL PERFORMANCE       110 HARTLAKE DR         FREDERICKSBU   VA            1        0        0        0        0        0          1
           ASSOCIATES, LLC                                    RG
15415731   TRIUNE ARMS LLC            571 FROST AVE           WARRENTON      VA            0        0        0        0        1        0          1
15413018   WRIGHT AUTOMOTIVE          573 MAIN ST             BLAND          VA            7        0        0        0        0        0          7
           CENTER, LLC
60300914   ATLAS GUNWORKS INC         7058 US ROUTE 7         NORTH          VT            0        0        0        0       99       72        171
                                                              FERRISBURGH
60333217   CENTURY ARMS INC           236 BRYCE BLVD          GEORGIA        VT            0        0        0        0        0     9321       9321
60300966   CROWL, SHANE CHUNG         6 DEWEY RD              FAIRFAX        VT            1        0        0        0        0        0          1
60300946   FOGARTY, JOHN M            270 WESTGATE LN         NEWBURY        VT            0        0        1        0        0        0          1
60300038   FOSTER INDUSTRIES INC      75 CAL FOSTER DR        WOLCOTT        VT            0        0        0        0        0      405        405
60300884   GREEN MOUNTAIN CARBINE     21 TATRO RD             PLYMOUTH       VT            0        0        0        0        0        1          1
           LLC
60300651   NEWLAN, STEVEN JAMES       737 ROUTE 5 S           WINDSOR        VT            1        0        0        0        0        0          1
60300777   STEPHENS PRECISION, INC    293 INDUSTRIAL DRIVE    BRADFORD       VT            0        0        0        1        0        0          1
99105684   AERO PRECISION LLC         2340 S HOLGATE ST       TACOMA         WA            0        0        0        0        0        2          2
99106034   ALL AMERICAN ARMORY, LLC   14969 W BOW HILL RD     BOW            WA            0        2        0        0        0        0          2
                                      STE #2
99104649   AREA 53 RESEARCH &         1407 E CHATTAROY RD     COLBERT        WA            0        1        0        0        0        0          1
           DEVELOPMENT, LLC
99107016   BRIMSTONE GUNSMITHING INC 4857 NW LAKE RD #115     CAMAS          WA            0        1        0        0        0        0          1
99107167   E M INDUSTRIES LLC         22427 92ND ST E         BUCKLEY        WA            0        0        0        4        6        2         12

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99107506   GT MACHINING INC           13607 E TRENT B        SPOKANE         WA            0        0        0        0        0        1          1
                                                             VALLEY
99104947   HARDENED ARMS LLC          515 TUCKER AVE         FRIDAY HARBOR   WA            0      141       69        0        0        0        210
99107054   HAYNES AND SONS GUNS LLC   410 S FISKE ST         SPOKANE         WA            0        5        0        0        6        0         11
99106894   JONES ARMS LLC             63 HOOKER RD           SEQUIM          WA            0        0        0        0        1        0          1
99103208   K & S INVESTMENTS LLC      13216 SE 32ND ST       BELLEVUE        WA            0        0        2        0        0        0          2
99105994   LIEMOHN MANUFACTURING,     1425 E WALNUT ST       KENT            WA            0        0        0        0        1        0          1
           LLC
99107157   MCKINNEY, GARY STEPHEN     13325 CHUCKANUT        BOW             WA            0        0        8        0        5        0         13
                                      MOUNTAIN DR
99106349   OKANOGAN ARMS CO LLC       105 W OAK ST           OKANOGAN        WA            0        0        0        0        2        0          2
99114520   OLYMPIC ARMS INC           624 OLD PACIFIC HWY    OLYMPIA         WA            0        0        0        0        0       27         27
                                      SE
99104084   PATRIOT ARMS LLC           12607 54TH AVE SE      SNOHOMISH       WA            0        0        0        1        4        0          5
99107106   PEOPLES, GEORGE B JR       7737 NE HARBORVIEW     POULSBO         WA            0        0        1        0        0        0          1
                                      DRIVE
99102421   RAINIER ARMS LLC           2504 AUBURN WAY N      AUBURN          WA            3        0        9        0        0        0         12
99106439   REHV ARMS LLC              27623 COVINGTON WAY    COVINGTON       WA            1        0        0        0        0        0          1
                                      SE UNIT 2
99106621   SLF LLC                    17816 DUBUQUE RD       SNOHOMISH       WA            1        0        0        0        0        0          1
99107357   TACTICAL BLACKOUT GROUP    1017 MELLEN STREET     CENTRALIA       WA            2        0        0        0        1        0          3
           LLC
33907064   AMERICAN DEFENSE           2525 S 162ND ST        NEW BERLIN      WI            0       36        9        0       23        0         68
           MANUFACTURING LLC
33908009   BADGER STATE ORDNANCE      17 1/2 WILSON AVE      WESTON          WI            0        0        2        0        0        0          2
           LLC
33903743   BRAVO COMPANY MFG INC      340 MAPLE AVE          HARTLAND        WI            0      593        0        0        0        0        593
33908944   BULLWINKLE SPORTS LLC      28501 WILMOT RD BLVD   TREVOR          WI            0        2        0        0        0        0          2
                                      7 UNIT 3 STE 23
33907912   DT FIREARMS LLC            209 LYNN AVE           BARABOO         WI            0        1        0        0        0        0          1
33907555   GADSDEN SERVICES LLC       2391 GEMINI RD         GREEN BAY       WI            1        0        0        0        9        3         13
33908953   HIGH VOLTAGE CUSTOM LLC    417 E ROSENLUND ST     WOODVILLE       WI            1        0        1        0        0        0          2
33907431   MGS HOLDINGS GROUP LLC     N80W14966 APPLETON     MENOMONEE       WI            9        0        0        0        0        0          9
                                      AVENUE                 FALLS
33904930   MIDWEST INDUSTRIES INC     W292 S4498 HILLSIDE RD WAUKESHA        WI           24        0        5        0        0        0         29
33905869   PEEPS & JAWA LLC           100 E HAVEN DR         WATERTOWN       WI            0        1        3        0        0        0          4
33908670   ROBERTS DEFENSE INC        700 WEST MURDOCK       OSHKOSH         WI            0        0        0        0       16       64         80
                                      AVE.
33904639   SCOTSMAN ARMS LLC          320 PUTNAM STREET      EAU CLAIRE      WI            2        0        3        0        2        0          7
                                      SUITE 7
33906714   THE GUN SHOP LLC           1452 SHERIDAN RD       KENOSHA         WI            0        3        1        0        0        0          4
33907594   WORKS ARMAMENT LLC         1 TAUNTON CIRCLE       MADISON         WI            0        0        0        1        7        5         13


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45503835   BLACK STAR TRADING           120 HEWES AVENUE    CLARKSBURG    WV           1        0        0        2        11        3         17
           COMPANY LLC
45501738   BULLGATOR TACTICAL LLC       4641 RIPLEY RD      REEDY         WV           0        0        0        0         2        0          2
45503183   HARPERS FERRY ARMORY INC 301 N MILDRED ST        RANSON        WV           0        0        2        0         0        4          6
45502547   J W MANUFACTURING LLC        703 MIDDLETOWN RD   FAIRMONT      WV           1        0        0        0         6        4         11
45502594   J&S ENTERPRISES LLC          1263 CLIFTON SALEM RD BRUCETON    WV           0        0        0        0         1        0          1
                                                              MILLS
45535630   PARRISKI, MICHAEL DAVID      HC 37 BOX 58          MAXWELTON   WV           0        1        0        0         1        1          3
45502860   VIGILANT SECURITY SERVICES 21150 BARBOUR         PHILIPPI      WV           0        0        0        0         0        1          1
           LLC                        COUNTY HWY
45503353   VIQEN LLC                  1781 PHILIPPI PIKE    CLARKSBURG    WV           0        0        1        0         2        2          5
58301214   BOLT CARRIER GROUP LLC       1754 S WILSON ST    CASPER        WY           0        0        0        0         1        0          1
58303091   FREEDOM ARMS INC             314 HWY 239         FREEDOM       WY           7        2        6        4         0        1         20
58301879   INSIGHT PRECISION ARMS LLC   4105 RD 82          TORRINGTON    WY           2        0        0        0         0        0          2
58300988   RUBY, JASON TYLER            6501 ROBIN DR       GILLETTE      WY           0        0        0        0         1        0          1

                                                                                 408705     11135     8152   848425   1756618   657971   3691010




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RDS KEY    LICENSE NAME                 STREET                 CITY           ST   RVLR 22    RVLR 32   RVLR 357   RVLR 38   RVLR 44   RVLR 50   RVLR TOTL

99200798   WILD WEST GUNS, LLC         7100 HOMER DRIVE        ANCHORAGE      AK          0         0          0         0         0         8             8
16300193   VOIGHT, JOHN BASIL          114 SCENIC DR           MADISON        AL          0         4          6         4         4         0            18
57105201   DSKTB GROUP LLC             103 SW WINSTED LN STE BENTONVILLE      AR          2         0          2         0         0         5             9
                                       29
98603200   BAR-S MACHINE INC           2575 N HWY 89         CHINO VALLEY     AZ          0         0          0         0         0         6             6
98609896   FREEDOM RIFLE COMPANY LLC   31806 CIENEGA SPRINGS PARKER           AZ          2         0          0         0         0         0             2
                                       ROAD STE 100
98609893   HOOKS, CAMERON              4631 WEST CITRUS WAY GLENDALE          AZ          0         0          0         1         0         1             2
98638426   REEDER, GARY NELSON         2599 7TH AVE            FLAGSTAFF      AZ          0         0          0         0         2         6             8
98614472   STURM, RUGER & COMPANY,     200 RUGER RD            PRESCOTT       AZ          1         0          2         0         1         4             8
           INC
97702593   ISLAND VIEW ENTERPRISES INC 2359 KNOLL DR SUITE A   VENTURA        CA          5         0          9        19         1         0            34
60635936   CHARCO 2000 INC             18 BREWSTER LANE        SHELTON        CT      4935        589       3388     12149      2197      1052       24310
60603306   COLT'S MANUFACTURING        545 NEW PARK AVE        WEST           CT          1        14         50      6785        55       437        7342
           COMPANY LLC                                         HARTFORD
60603772   FRANK ROTH CO INC           1795 STRATFORD AVE      STRATFORD      CT      1388          0          0      4354         0         0        5742
60600763   STURM, RUGER & COMPANY,     1 LACEY PL              SOUTHPORT      CT          3         3         10        11         8         1            36
           INC
15930118   ARTICLE II FIREARMS LLC     25430 NW 8TH LN STE     NEWBERRY       FL          0         0          0         0         0         2             2
                                       100
15931783   FHC GUNS LLC                15000 EMERALD COAST     DESTIN         FL          1         0          0         0         0         1             2
                                       PARKWAY
15917604   HERITAGE MANUFACTURING      16175 NW 49TH AVE       MIAMI          FL    225151          0        470         0         0       444      226065
           INC
15926496   I O INC                     2144 FRANKLIN DRIVE     PALM BAY       FL          3         0          0         0         0         0             3
                                       NE
15908014   TACTICAL MACHINING, LLC     1241 BISCAYNE BLVD      DELAND         FL          0         0          1         0         0         0             1
15912135   WADCO INDUSTRIES LLC        700 S JOHN RODES BLVD MELBOURNE        FL          0         0          0         0         5         0             5
                                       UNIT A-6
15808709   GRUMPPY'S GUN WORKS INC     186 TINGLE RD         JACKSON          GA          1         0          0         0         0         0             1
15840168   MEGGITT TRAINING SYSTEMS    296 BROGDON RD          SUWANEE        GA          0         0          0         2         0         0             2
           INC
15811632   REYNOLDS HOLDINGS INC       304 E MAPLE ST          CUMMING        GA          0         0          1         1         0         0             2
15812793   VALOR RIDGE GUNS LLC        1229 JOHNSON FERRY      MARIETTA       GA          0         0          0         1         0         0             1
                                       ROAD SUITE 201
54204213   ARROWHEAD SPORTING          2459 WESTWIND LANE      CEDAR RAPIDS   IA          0         0          0         0         0        19            19
           GOODS LLC
54202967   FARRO'S LEAD FARM LLC       30376 210TH AVENUE      LONG GROVE     IA          0         0          1         1         1         0             3
98203107   AR CUSTOMS LLC              1081 E STONEYBROOK      POST FALLS     ID          0         0          1         0         0         0             1
                                       LOOP
98235118   EVOLUTION INC               357 YELLOW WOLF RD      WHITE BIRD     ID          0         0          0         2         0         0             2
98203082   WEST TECH ARMS LLC          466 S 5TH W             REXBURG        ID          1         0          0         0         0         0             1
33733384   OGLESBY & OGLESBY           744 W ANDREW RD         SPRINGFIELD    IL          0         0          0         0         0         1             1
           GUNMAKERS INC
PREPARED BY FIREARMS AND EXPLOSIVES SERVICES DIVISION                                                                                        01/30/2019
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33604340   PAWLOWSKI, MATTHEW ALAN    9520 PAULING RD       MONEE           IL            0         0          0         1         0         0              1
54803929   CLARK, TODD ALAN           2708 DRY CREEK        GREAT BEND      KS            0         0          0         0         0         1              1
46101023   GEMINI CUSTOMS LLC         717 BOTKINS ROAD      FRANKFORT       KY            0         0          8         0         7         0             15
60401684   SMITH & WESSON CORP        2100 ROOSEVELT AVE    SPRINGFIELD     MA      7123            0      43263    116823     15973     24202      207384
60405160   VALLEY STEEL STAMP INC     15 GREENFIELD STREET GREENFIELD       MA            0         0          0      7890         0         0        7890
43834258   GRONOW, ADOLPH F           17748 MARTIN RD       ROSEVILLE       MI            0         0          0         1         0         0              1
34103314   MAGNUM RESEARCH INC        12602 33RD AVE SW     PILLAGER        MN            0       112          0         0        59       788            959
54312041   FIRST GUNSMITHING LLC      932 MERAMEC STATON    VALLEY PARK     MO            1         0          0         1         0         0              2
                                      ROAD UNIT 1
54304601   GRANDMASTERS LLC           29739 HWY J           GRAVOIS MILLS   MO            0         0          0         0         1         0              1
16404665   SANFORD'S SOUTHERN ARMS    4344 LANGS MILL RD    FOREST          MS            0         0          0         0         0         1              1
           LLC
16404079   TARGETMASTERS GUN REPAIR   5564 CHAPEL HILL COVE HORN LAKE       MS            1         0          2         0         0         0              3
           LLC
98102105   FALKOR, SID INC            2902 HWY 93 NORTH     KALISPELL       MT            1         0          0         0         0         0              1
98102557   WHEELER, ALEX              1213 EAST GLENDALE    DILLON          MT            0         0          0         0         1         0              1
                                      STREET
15611808   LEAHY, BRUCE EDWARD        8422 FOXTRAIL DR      FAYETTEVILLE    NC            0         0          0         1         0         0              1
15609063   STURM RUGER & COMPANY INC 271 CARDWELL RD        MAYODAN         NC            0         0          0         0         1         1              2
34501101   JOYCE, JAMES               2947 133RD F AVE NW   ARNEGARD        ND            0         0          1         0         0         0              1
54701787   LEADFOOT LLC               716 4TH AVE           HOLDREGE        NE            1         0          1         0         0         0              2
60201484   STURM, RUGER & COMPANY,    411 SUNAPEE ST        NEWPORT         NH          620        20        622       144       226       170        1802
           INC
60200735   STURM, RUGER & COMPANY,    529 SUNAPEE ST        NEWPORT         NH     33859          944      64077     29662     23349     18365      170256
           INC
98804130   WESTSIDE ARMORY LTD        7345 S DURANGO DR     LAS VEGAS       NV            0         0          4         8         0         3             15
                                      STE 106
98802391   WILD WEST GUNS LLC         5225 WYNN ROAD        LAS VEGAS       NV            0         0          0         0         0        13             13
61601079   CZ-USA INC                 65 BORDEN AVE         NORWICH         NY            0         0        600         0         0         0            600
61300458   KIMBER MFG INC             1120 SAW MILL RIVER RD YONKERS        NY            0         0      21349         0         0         0       21349
43102471   JONA CUSTOM STOCKS AND     1546 LAWSON STREET    WHEELERSBUR     OH            0         0          0         0         0         1              1
           RIFLES LLC                                       G
43405502   SPARK ENTERPRISES LLC      2039 E WESTERN        POLAND          OH            0         0          1         0         0         0              1
                                      RESERVE ROAD SUITE
                                      C
57306585   WARHORSE ARMS LLC          9276 S 258TH E AVE    BROKEN          OK            0         0          0         0         1         0              1
                                                            ARROW
99304223   A-TEAM ARMS LLC            201 SE 10TH ST        GRANTS PASS     OR            0         0          0         0         1         1              2
99305437   CROSSHAIR CUSTOMS LLC      2300 MAIN ST          BAKER CITY      OR            4         0          0         3         0         2              9
99304642   ERATHR3 LLC                484 PLEASANT VALLEY   MERLIN          OR            2         0          0         3         0         0              5
                                      ROAD

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RDS KEY    LICENSE NAME                  STREET                 CITY           ST   RVLR 22     RVLR 32   RVLR 357   RVLR 38   RVLR 44   RVLR 50   RVLR TOTL

99303209   PACIFIC TRADING GROUP LLC     3395 48TH AVE NE       SALEM          OR          23         1         28        35        35         0            122
99304160   PIONEER GUN WORKS INC         2460 HARVEST LANE      SPRINGFIELD    OR           0         0          1         0         0         1              2
82505374   CYCAK, ROBERT F               503 MERCHANT ST        AMBRIDGE       PA           0         0          1         0         0         0              1
15703731   HARDEE, CHRISTOPHER E         1188 TAW CAW 2 DR      SUMMERTON      SC           0         0          0         0         1         0              1
16204234   BC ENGINEERING LLC            5895 E AJ HIGHWAY      RUSSELLVILLE   TN          20         0          0         0         0         0             20
16204921   EXCELL ENTERPRISES INC        169 WINDING TRAIL      DAYTON         TN           0         0          0         0         0         2              2
16207225   SPARTA ARMS LLC               758 CROSSVINE RD       SPARTA         TN           0         0          0         1         0         0              1
16207129   TENNESSEE ARMS COMPANY        517 LAKE ROAD          DYERSBURG      TN           1         0          0         0         0         1              2
           LLC
16209127   VISIONARY FABRICATION LLC     3081 HORSESHOE BEND KNOXVILLE         TN           9         1          9        20         6         1             46
                                         LN
16206220   WILLYERD, JACK E AND ERIC J   4820 OLD HWY 48     CUNNINGHAM        TN           0         0          0         0         0         1              1
57512497   DOBBINS, RICHARD, PAULA;      14465 S FM 1541        AMARILLO       TX           1         0          0         0         0         0              1
           KALEM
57509684   GARDNER, KEVIN P              2683 BALL RD           WHITEWRIGHT    TX           0         0          1         0         0         0              1
57602488   MG ARMS, INC                  6030 TREASCHWIG        SPRING         TX           0         0          0         1         0         0              1
57602739   NIDAY, FREDERICK BRANCH JR    2552 COSTA MESA CIR    LEAGUE CITY    TX           0         0          1         0         0         0              1
57602655   POWERS METAL WORKS LLC        10827 CLUBHOUSE CIR    MAGNOLIA       TX           0         1          0         0         0         0              1
57503567   RIDDLE, GROVER GLEN           7749 COUNTY ROAD 409   GRANDVIEW      TX           0         0          0         1         0         0              1
57504587   RINGE, LOUIS J                2528 WEATHERFORD       WEATHERFORD    TX           5         0          0         0         0         0              5
                                         HEIGHTS DR
57511910   STEPHENS, BOBBY JOE JR        13677 FM 314           BROWNSBORO     TX           0         0          0         2         0         0              2
57604585   TAC 47 INDUSTRIES LLC         1730 ELMVIEW DR STE    HOUSTON        TX           3         0          8         4         2         0             17
                                         D2
57602197   TAZEWELL ENTERPRISES INC      730 SARTARTIA RD       SUGAR LAND     TX           0         0          0         1         1         0              2
98734026   NORTH AMERICAN ARMS INC       2150 S 950 E           PROVO          UT     46138           0          0         0         0         0       46138
99106373   FIDDLER'S GREEN LLC           744 CLAY ST            PORT           WA           0         0          0         0         0        10             10
                                                                TOWNSEND
99104084   PATRIOT ARMS LLC              12607 54TH AVE SE      SNOHOMISH      WA           0         0          2         0         0         0              2
33907555   GADSDEN SERVICES LLC          2391 GEMINI RD         GREEN BAY      WI           0         0          0         1         0         0              1
45503835   BLACK STAR TRADING            120 HEWES AVENUE       CLARKSBURG     WV           1         0          0         0         0         0              1
           COMPANY LLC
45503183   HARPERS FERRY ARMORY INC      301 N MILDRED ST       RANSON         WV           0         0         58        23         0         0             81
58303091   FREEDOM ARMS INC              314 HWY 239            FREEDOM        WY          57        26         75         0       124       216            498


                                                                                     319364        1715     134053    177956     42062     45767      720917




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                                                       RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                                 CITY          ST   RIFLE MFG
99202224      ALASKA MAGNUM ARS LLC                     6612 CHENA HOT SPRINGS RD              FAIRBANKS     AK           3
99202459      C & C ARMS ROOM LLC                       3888 BRANCH AVE                        NORTH POLE    AK           7
99202695      CALIBER 49                                1085 SUNRISE MOUNTAIN CIR              WASILLA       AK           4
99202640      D A R K SYSTEMS LLC                       3501 N SAMS DR                         WASILLA       AK           1
99202784      DEVIANT ARMS LLC                          915 30TH AVE #201                      FAIRBANKS     AK           3
99202389      GOEDEN, CHAD J                            2012 CASCADE CREEK RD                  SITKA         AK           4
99202968      HOBBS, THOMAS CHARLES                     3851 MARIAH DRIVE                      EAGLE RIVER   AK           3
99201826      LAST FRONTIER CUSTOM GUNS, LLC            3805 SOUTH ROSE ST                     PALMER        AK           1
99202113      MAT-SU TACTICAL LLC                       2521 E. MOUNTAIN VILLAGE DR., UNIT A   WASILLA       AK           3
99200798      WILD WEST GUNS, LLC                       7100 HOMER DRIVE                       ANCHORAGE     AK          40
16306387      2131 ARMS LLC                             8307 HWY 31 N                          MORRIS        AL           6
16306282      A2 PRECISION LLC                          407 COUNTY RD 203                      CRANE HILL    AL           5
16304957      ABSOLUTE PRECISION GUNWORKS LLC           2044 HWY 18                            SULLIGENT     AL          12
16306930      ALABAMA TACTICAL SUPPLY LLC               131 S MAIN ST                          ARAB          AL           9
16307089      BARBOUR CREEK LLC                         200 SELF RD                            EUFAULA       AL          16
16304982      BLACK ANKLE MUNITIONS LLC                 670 COUNTY ROAD 105                    SCOTTSBORO    AL           1
16304127      BROTHERS IN ARMS LLC                      22571 CANTRELL LANE                    ATHENS        AL           1
16305902      BRUNSON, DAVID MICHAEL                    12441 JEFF HAMILTON RD                 MOBILE        AL           2
16303219      CHATTAHOOCHEE GUN WORKS, LLC              312 LEE RD 553                         PHENIX CITY   AL          16
16305125      D & D DESIGN & MACHINE                    195 COMM SCOPE WAY                     SCOTTSBORO    AL           4
16305276      EASON, THOMAS E                           725 BROOKLANE DRIVE                    HUEYTOWN      AL          26
16337359      ELLIS, JEFFERY OWEN                       17943 GROUND HOG RD                    ADGER         AL          26
16307017      FLINT RIVER ARMORY LLC (FRA)              195 COMM SCOPE WAY                     SCOTTSBORO    AL          98
16303684      GUNTER, WILLIAM S                         156 SUMMER FIELD DR                    DEATSVILLE    AL           1
16305657      HDC LLC                                   7154 CAHABA VALLEY ROAD                BIRMINGHAM    AL           2
16305749      HILL, TIM                                 2639 PELHAM PKWY                       PELHAM        AL          17
16305243      LE & MILITARY CUSTOM WEAPON SYSTEM LLC    298 NEW BINGHAM DR                     WETUMPKA      AL           1
16305430      M2M ENGINEERED COMPONENTS LLC             766 INDUSTRIAL PARK DR                 BREWTON       AL          10
16307168      MCCOY, PAUL                               22353A DOC MCDUFFIE RD                 FOLEY         AL          17
16304700      MHT DEFENSE LLC                           1524 HENRY DAVIS ROAD                  DELTA         AL           8
16306823      MM VENTURES LLC                           5330 STADIUM TRACE PKWY SUITE 240      HOOVER        AL          38
16306445      MULKEY, JAMES ALVIN                       642 PINE RD                            PELL CITY     AL           5
16302100      PENCOEVILLE LLC                           405 COUNTY ROAD 52                     JEMISON       AL           1


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RDS KEY       LICENSE NAME                              STREET                             CITY             ST   RIFLE MFG
16305652      REMINGTON ARMS COMPANY LLC                1816 REMINGTON CIRCLE SW           HUNTSVILLE       AL        2045
16306613      RIGSBEE, THOMAS E                         23 FOREST MEADOW BLVD              HUNTSVILLE       AL           8
16305932      STEEL CITY ARSENAL LLC                    1955A MCCAIN PKWY                  PELHAM           AL          21
16303984      STEYR ARMS, INC.                          2530 MORGAN ROAD                   BESSEMER         AL        1360
16306842      TOMBIGBEE PRECISION LLC                   200 4TH AVE                        GROVE HILL       AL           1
16300193      VOIGHT, JOHN BASIL                        114 SCENIC DR                      MADISON          AL          70
57103770      AAMLO ENTERPRISES LLC                     4501 LEXINGTON PARK CIRCLE         BRYANT           AR           4
57105070      ADVANCED MACHINING & PROTOTYPE SOLUTIONS 2372 HWY 267 S                      SEARCY           AR           5
              LLC
57103338      ANNAH AIR LLC                            5001 ROCKPORT DR                    JONESBORO        AR           1
57102051      BLANKENSHIP, SCOTTY L                     1223 HWY 412 W                     SILOAM SPRINGS   AR          25
57104736      BRADSHAW, HAROLD EUGENE II                3110 MOONLIGHTING PL               BRYANT           AR           2
57104362      CLEAN SHOT LLC                            241 MOUNTAIN MEADOW RD             HOT SPRINGS      AR           2
57104490      CLUCK, BILLY                              8041 HAPPY VALLEY DR               CHESTER          AR           4
57105201      DSKTB GROUP LLC                           103 SW WINSTED LN STE 29           BENTONVILLE      AR          70
57104109      JC CUSTOMS LLC                            9 N 37TH ST                        VAN BUREN        AR           3
57105258      JED'S SPORTING GOODS LLC                  56 FINE WAY                        ALMA             AR           5
57104590      LASER TOOLS CO INC                        12101 ARCH ST                      LITTLE ROCK      AR           3
57105246      LEWIS, ROBERT TODD                        17900 AUSTIN LN                    LITTLE ROCK      AR          10
57101556      MACK'S SPORT SHOP LLLP                    2335 HWY 63 N                      STUTTGART        AR          13
57104909      NEFARIOUS ARMS LLC                        2431 MADISON 8350                  HUNTSVILLE       AR           1
57104858      OUACHITA ARMS LLC                         25914 HWY 10 STE B                 ROLAND           AR           7
57104430      OZARK MARKETING INC                       680 N CLIFFSIDE DR                 FAYETTEVILLE     AR           2
57100526      OZARK PRECISION RIFLES, LLC               6471 MC 4018                       YELLVILLE        AR           7
57104282      PINEY CREEK ENTERPRISE LTD CO             404 N ARKANSAS AVE                 RUSSELLVILLE     AR           5
57105281      SPECIALTY GUN WORKS LLC                   1041 HINSON RD                     EL DORADO        AR           2
57103840      THOR GLOBAL DEFENSE GROUP INC             1206 KNESEK LANE                   VAN BUREN        AR          13
57102593      TOP NOTCH ACCESSORIES, INC.               2823 SR 124                        RUSSELLVILLE     AR          39
57105117      TROUT, AARON NEAL                         1774 S HARDING PL                  FAYETTEVILLE     AR           3
57104667      WALTHER MANUFACTURING INC                 7700 CHAD COLLEY BLVD              FORT SMITH       AR           1
57103401      WILKES, BARRY ELTON                       275 N RAINEY LN                    CAVE CITY        AR           3
57134716      WILSONS GUN SHOP INC                      2452 CR 719                        BERRYVILLE       AR        2095
57105214      YINGLING, ROBERT STEVEN JR                1614 MISSILE BASE RD               JUDSONIA         AR           4
98602020      223 LLC                                   663 W 2ND AVE STE 16               MESA             AZ           5

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RDS KEY       LICENSE NAME                              STREET                               CITY               ST   RIFLE MFG
98607100      2ND AMENDMENT ENTERPRISES LLC             2500 S WOODLANDS VILLAGE BLVD #25    FLAGSTAFF          AZ           2
98600962      ABRAMS AIRBORNE MFG, INC                  3735 N ROMERO RD                     TUCSON             AZ          27
98608169      AGAINST ALL ENEMIES LLC                   2152 MCCULLOCH BLVD STE B            LAKE HAVASU CITY   AZ          47
98602530      ARIZONA ARMORY, LLC                       2114 W FILLMORE                      PHOENIX            AZ           3
98609711      ARIZONA SILENCER LLC                      2355 E WIDE VIEW CT                  ORO VALLEY         AZ           2
98607415      ARMAGEDDON TACTICAL SOLUTIONS LLC         8321 E GELDING DR STE 100            SCOTTSDALE         AZ           1
98605018      AWT FIREARMS & MFG LLC                    40 N SUNWAY DR #2                    GILBERT            AZ           7
98609250      AXISWORKS LLC                             819 W 22ND ST STE 108                TEMPE              AZ           9
98603200      BAR-S MACHINE INC                         2575 N HWY 89                        CHINO VALLEY       AZ          43
98607732      BEMIS, RONALD JAMES                       4584 W DOWNS RD                      MCNEAL             AZ           5
98606478      BLACK LABEL FIREARMS LLC                  25760 WEST GLOBE AVE                 BUCKEYE            AZ          13
98605029      BROWN, TIMOTHY DAVID                      14201 N GIBSON TRL                   TUCSON             AZ           3
98608759      BTE USA MANUFACTURING LLC                 2601 W LONE CACTUS DR STE E          PHOENIX            AZ          37
98605074      CATS ARMS LLC                             5112 E PIMA ST                       TUCSON             AZ          93
98604112      CATS ARMS LLC                             5118 E PIMA ST                       TUCSON             AZ          67
98607852      CHAMBERED GROUP USA LLC                   15605 W ROOSEVELT ST STE 113         GOODYEAR           AZ           9
98609027      CHARLES ST GEORGE                         291 E OCOTILLO RD UNIT 27            CHANDLER           AZ           2
98609204      COMPETITION MACHINE INC                   781 AIR PARK WAY UNIT A5/A6          COTTONWOOD         AZ          10
98605465      CRAIGS CUSTOM RIFLES LLC                  1409 WEST CANYON SHADOWS LANE        ORO VALLEY         AZ          42
98609908      CROW POISON LLC                           4301 E HUNTINGTON DRIVE              FLAGSTAFF          AZ           2
98607195      D & E CUSTOMS AND ENGRAVING LLC           2152 N BELLA VISTA LN                BENSON             AZ           1
98604430      D & L SPORTS INC                          118 N FIRESKY #B                     CHINO VALLEY       AZ           2
98606220      DALMOLIN, JOSEPH DEWITT                   9332 SLAYTON RANCH RD                FLAGSTAFF          AZ           1
98604682      DESERT FOX OUTFITTERS LLC                 835 AIRCLETA DRIVE                   WICKENBURG         AZ           7
98609715      DOWN RANGE ENTERPRISES LLC                8807 E SQUAW PEAK DR                 TUCSON             AZ           1
98605521      E3 ARMS LLC                               2100 COLLEGE DR UNIT#108             LAKE HAVASU CITY   AZ          39
98609810      ECHO CORPS LLC                            3178 E 33RD PL STE B                 YUMA               AZ           1
98601973      EXCEL MANUFACTURING INC                   2560 OUTPOST DR STE 1                BULLHEAD CITY      AZ          38
98609817      EXOTICAR15 COM LLC                        10443 N CAVE CREEK RD STE 112        PHOENIX            AZ           7
98609984      FAST FLIGHT MACHINE LLC                   8742 N 78TH AVE                      PEORIA             AZ           3
98609896      FREEDOM RIFLE COMPANY LLC                 31806 CIENEGA SPRINGS ROAD STE 100   PARKER             AZ           9
98609132      G1G2 LLC                                  1931 W NORTH LN                      PHOENIX            AZ           2
98609918      GERVASE, ANDREW MICHAEL                   30151 N 149TH STREET                 SCOTTSDALE         AZ           6


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RDS KEY       LICENSE NAME                              STREET                             CITY               ST   RIFLE MFG
98607169      GHOST HAMMER ARMS LLC                     2983 EAST BAARS CT                 GILBERT            AZ           6
98607519      GRANITE MOUNTAIN TACTICAL LLC             3021 CHICHICOI LN                  PRESCOTT           AZ           8
98608116      GRANT, WYATT W                            2210 E FILAREE CIR                 PAYSON             AZ          13
98605978      GRAYSKULL ARMORY LLC                      43725 N 12TH ST                    NEW RIVER          AZ           1
98607498      GURTLER, MARK STEPHEN & TINA LOUANN       804 W KIMBALL LN                   SAFFORD            AZ           6
98607114      HAWKINS, ELI A                            2820 KIOWA BLVD N APT 102          LAKE HAVASU CITY   AZ           1
98608383      HOGAN MANUFACTURING ACQUISITION LLC       5625 N 53RD AVE                    GLENDALE           AZ          10
98608495      HOLDER, ROGER DEVERE                      2414 N 163RD DR                    GOODYEAR           AZ           3
98606988      HUNSON INDUSTRIES LLC                     17252 E FALCON DR #4               FOUNTAIN HILLS     AZ           2
98605647      JOEJOE ENTERPRISES LLC                    6788 W ROBERTA LANE                PEORIA             AZ           4
98606503      KE ARMS LLC                               4343 E MAGNOLIA ST                 PHOENIX            AZ          35
98604781      KILO GUNS LLC                             21411 N 11TH AVE STE 12            PHOENIX            AZ          15
98600790      KRAUS, BERNARD WILLI                      11445 E GOLVLINKS RD               TUCSON             AZ           2
98606455      LAYKE TACTICAL LLC                        3330 W OSBORN RD                   PHOENIX            AZ          45
98637328      LAZZERONI, INC                            1415 S CHERRY                      TUCSON             AZ           4
98610156      LOWELL NORTH AMERICA LLC                  14819 N CAVE CREEK ROAD SUITE 4    PHOENIX            AZ           3
98606153      LRK MECHANICAL LLC                        727 BRANNEN AVE                    PRESCOTT           AZ           2
98609252      M A C PRECISION LLC                       38 B ORGAN PIPE DR                 AJO                AZ           7
98606599      M&M SALES LLC                             2065 HWY 95 STE 41                 BULLHEAD CITY      AZ          11
98603859      MAXIM FIREARMS CORPORATION                2021 HOLLY AVE                     LAKE HAVASU CITY   AZ           4
98606209      MCALISTER, KENNETH                        291 E OCOTILLO RD UNIT 27          CHANDLER           AZ          49
98604419      MLS ARMS LLC                              15610 N 35TH AVE STE 6             PHOENIX            AZ           8
98608339      OWENS ARMORY LLC                          6515 NORTH HIGHWAY 89              CHINO VALLEY       AZ          38
98608310      PAINT WERKZ LLC                           19659 N 8TH PLACE                  PHOENIX            AZ           4
98603536      PALESE PROTO TECH INC                     7775 N CASA GRANDE HWY #155        TUCSON             AZ           1
98600788      PATRIOT ORDNANCE FACTORY INC              1492 W VICTORY LANE                PHOENIX            AZ        5079
98609304      POOLE, WILLIAM JAMES                      910 WEST WICKENBURG WAY            WICKENBURG         AZ           8
98607693      PRECISION AMERICAN RIFLE LLC              281 COUNTY ROAD 9213               SNOWFLAKE          AZ           5
98604805      PRECISION FIREARM SERVICE AND SALES LLC   3220 E REDWOOD LN                  PHOENIX            AZ           5
98610545      PRECISION WORKS LLC                       3533 E CONTESSA CIRCLE             MESA               AZ           2
98604742      QUARTER CIRCLE 10 LLC                     1101 W GRANT RD SUITE 202          TUCSON             AZ           1
98603707      QUENTIN LASER LLC                         1025 N MCQUEEN RD STE 153/154      GILBERT            AZ          14
98609862      RAM ROD ENTERPRISES LLP                   418 WEST SPUR AVE                  GILBERT            AZ           2


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98610145      RAMM. KARL JOSEPH                         8475 S EMERALD DR STE 108           TEMPE              AZ          12
98609826      REDACT WEAPONRY LLC                       5103 WEST LUPINE AVE                GLENDALE           AZ          21
98607959      RICE, WESLEY ALAN                         310 W MAHONEY ST                    WINSLOW            AZ           8
98609331      ROBAR COMPANIES INC                       21438 N 7TH AVE STE E               PHOENIX            AZ          25
98608964      S & S ARMS LLC                            1930 E THIRD ST STE 2               TEMPE              AZ           3
98605461      SAMCORP INC                               1857 COMMANDER DR UNIT B            LAKE HAVASU CITY   AZ           5
98605924      SAN TAN TACTICAL LLC                      3496 EAST DUBLIN ST                 GILBERT            AZ           9
98606319      SAN TAN TACTICAL LLC                      2223 WEST PECOS RD STE 6            CHANDLER           AZ           9
98610019      SCOTTSDALE TACTICAL LLC                   22646 NORTH 42ND PLACE              PHOENIX            AZ           1
98609299      SD TACTICAL ARMS LLC                      6301 E NUGGET PATCH TRL             PRESCOTT           AZ          18
98605107      SENSENEY, MICHAEL E                       10962 NORTH LOCUST ST               FLORENCE           AZ           7
98608309      SERENDIPITY INVESTMENTS MFG LLC           2 SOUTH MILTON RD                   FLAGSTAFF          AZ          12
98601053      SGC, LLC                                  14860 N NORTHSIGHT BLVD             SCOTTSDALE         AZ           5
98602441      SISKU GUN WORKS LLC                       3836 E 40TH ST                      TUCSON             AZ           5
98602330      SMITH ENTERPRISE INC                      1701 W 10TH ST 14                   TEMPE              AZ           4
98604679      SONORAN ARMS LLC                          663 W 2ND AVE # 16                  MESA               AZ           4
98607861      SPORT SHOOTERS SUPPLY LLC                 1929 VENTNOR CIR                    PRESCOTT           AZ           8
98607115      STOPKE, JESSE ALEXANDER                   2143 N MCCULLOCH BLVD UNIT B        LAKE HAVASU CITY   AZ           2
98607665      STRATEGIC ARMORY CORPS LLC                525 E PINNACLE PEAK RD STE 100      PHOENIX            AZ         254
98614472      STURM, RUGER & COMPANY, INC               200 RUGER RD                        PRESCOTT           AZ          12
98605696      TACDRIVERS LLC                            2900 W GUNSITE RD                   PAULDEN            AZ           2
98605242      TOSSAN, GEORGE                            9851 E VOLTAIRE DR                  SCOTTSDALE         AZ          33
98606279      TRITON ARMS LLC                           2947 KISH AVE STE A                 YUMA               AZ          21
98608132      ULTRASONIC ARMS LLC                       2915 N CHEROKEE DR                  CHINO VALLEY       AZ           1
98608004      VALLEY ORDNANCE WORKS LLC                 10009 W JOMAX RD                    PEORIA             AZ          13
98637461      VAN HORN, DAVID A                         1302 E RAWHIDE AVE                  GILBERT            AZ           2
98602792      VENOM TACTICAL LLC                        7252 E CONCHO DR STE C-13           KINGMAN            AZ           4
98605356      VIGILANCE RIFLES, INC                     4845 N SPRUCE                       CHINO VALLEY       AZ          14
98606199      WRIGHT ARMORY LLC                         250 S MULBERRY #102                 MESA               AZ           4
98637956      YOUNG MANUFACTURING INC                   5528 N 51ST AVE                     GLENDALE           AZ           8
96804076      29 OUTDOOR GEAR LLC                       3431 BROADWAY STE A-5               AMERICAN CANYON    CA           6
99401135      ACCARDO, ROBERT N JR                      416 HUMMINGBIRD LANE                LIVERMORE          CA           2
93306448      ALPHA PRECISION WORKS CORP                704 NORTH VALLEY ST STE V           ANAHEIM            CA           3


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                                                    RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                                CITY              ST   RIFLE MFG
96803632      ANARCHY ARMORY LLC                        2001 OPPORTUNITY DRIVE                ROSEVILLE         CA           1
93304670      BARNHART ENTERPRISES LLC                  3760 OCEANIC WAY STE 501              OCEANSIDE         CA           1
96804544      BISHOP AMMUNITION MANUFACTURING LLC       3221 ELKHORN AVE #27                  NORTH HIGHLANDS   CA           5
93303548      BRIDGES, BRADFORD WILLIAM                 27601 FORBES #17                      LAGUNA NIGUEL     CA           1
97702070      C B E INC                                 18430 TECHNOLOGY DR UNIT A            MORGAN HILL       CA           3
97702900      CHESEBRO RIFLES INC                       19564 HIGHLINE RD                     TEHACHAPI         CA           1
93303316      CREC INVESTMENTS INC                      6734 DOOLITTLE AVENUE UNIT H          RIVERSIDE         CA           5
97703508      DEBUSSCHERE, ROBERT CHARLES               4043 LAGUNA RD                        OXNARD            CA           1
99501807      DEE CONSULTING CO LLC                     15335 DITTMAR DR                      WHITTIER          CA           4
96802942      EWG GUNS INC                              5959 HORESHOE BAR RD                  LOOMIS            CA           3
93340727      EXCEL INDUSTRIES INC                      1601 FREMONT CT                       ONTARIO           CA          14
93304565      FIREARM SALES UNLIMITED LLC               15224 AQUEDUCT LANE                   CHINO HILLS       CA
93305621      FLYNN, ROGER GERALD                       10844 E AVE SUITE B1                  HESPERIA          CA          10
93301600      FMK FIREARMS INCORPORATED                 1025 A ORTEGA WAY / 1005 ORTEGA WAY   PLACENTIA         CA        2316
97704268      FRALEY, CHARLES RAY III                   1976 FREMONT BLVD STE D-E             SEASIDE           CA           2
97704108      GENERAL DISTRIBUTING & SALES CO INC       1140 QUINTANA RD                      MORRO BAY         CA           1
96804298      GOLD COUNTRY SPORTS INC                   1160 LOZANOS RD                       NEWCASTLE         CA          49
93305615      GUNFIGHTER TACTICAL, LLC                  7190 MIRAMAR RD #115                  SAN DIEGO         CA          54
93304728      GUNS, AMMO AND ACCESSORIES, INC           11324 GREENWOOD WAY                   ONTARIO           CA           8
97702593      ISLAND VIEW ENTERPRISES INC               2359 KNOLL DR SUITE A                 VENTURA           CA          59
97703045      JH VERNA INC                              1175 BROADWAY                         ATWATER           CA           9
93306288      JL BILLET LLC                             4740 RUFFNER ST                       SAN DIEGO         CA           2
97703245      KAUFMANN TACTICAL FIREARMS, INC           5816 E SHIELDS #102                   FRESNO            CA          26
97703428      KNIGHT'S TACTICAL, INC                    330 N LANTANA ST #I025                CAMARILLO         CA          27
97702642      KUEHL, FRANCIS TERRY                      8744 WOODLAND HEIGHTS LN              SALINAS           CA           3
93302759      LEDESMA, PAUL                             13552 CENTRAL AVE, UNIT C             CHINO             CA          16
97702525      LOMBARDI, PHILIP JOHN                     5553 W BARSTOW AVE                    FRESNO            CA           2
97704058      LORTZ, LACEY                              3016 MILDRED LANE                     BAKERSFIELD       CA          12
97702630      MACHINIST GROUP CORP                      7200 ALEXANDER ST                     GILROY            CA           1
96804535      MARTIN, PABLO DANIEL                      3501 REDWOOD DR                       REDWAY            CA          16
99501525      MONJACK, ERIC SCOTT                       1747 E AVE Q UNIT B6                  PALMDALE          CA           1
93305279      MONSTER WERKS LLC                         1528 GLENWOOD WAY                     UPLAND            CA           1
93304780      MRM TRANS LLC                             7256 GARDEN GROVE BLVD                WESTMINSTER       CA          32


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RDS KEY       LICENSE NAME                               STREET                             CITY               ST   RIFLE MFG
96803738      NICHOLS, AUSTIN RICHARD                    1511 EEL RIVER DR                  FORTUNA            CA           1
93306666      OLYMPUS ARMS LLC                           2500 HUNSAKER WAY #C               RUNNING SPRINGS    CA           1
93306016      ONCORE GROUP                               1551 N TUSTIN AVE STE 970          SANTA ANA          CA          14
93304211      ORRELL SALVESON INC                        490 ALABAMA ST STE 103             REDLANDS           CA           1
97703490      PRECISION TACTICAL INC                     7383 EL CAMINO REAL                ATASCADERO         CA           3
93306575      RICKS DIVING LOCKER INC                    945 L W VALLEY PKWY                ESCONDIDO          CA           1
93306307      RTH FIREARMS CA LLC                        17560 MESA DR SOUTH                PAUMA VALLEY       CA           3
96804747      RUUD, ZACHARY                              4444 FRIZELL AVE                   SACRAMENTO         CA           3
97701820      SEARCY, BERNARD L                          26293 TWENTY MULE TEAM RD          BORON              CA           2
97703907      SIERRA ARMS CORP                           1408 N CARPENTER RD STE 1          MODESTO            CA           9
97703355      SOULIE, MARC B                             2128 N FIRST ST UNIT C             SAN JOSE           CA          93
97702383      THORPE, JON & KANDICE AND KOETSIER RON &   1976 E PACIFIC AVE                 TULARE             CA           4
              BETH
93304572      TILOTTA, GIOVANNI VINCENZO                 4855 RUFFNER ST STE D1             SAN DIEGO          CA           5
96803689      TITUS, DAN L                               888 MARKET ST                      COLUSA             CA           1
93304987      TPM ARMS LLC                               246 DENNY WAY                      EL CAJON           CA          20
93305884      VK INTEGRATED SYSTEMS                      1250 E ORANGETHORPE                FULLERTON          CA           8
97702945      VON COLLN, JOHN                            3166 E THOUSAND OAKS BLVD          THOUSAND OAKS      CA          11
97737552      WEATHERBY INC                              1605 COMMERCE WAY                  PASO ROBLES        CA        3937
96802044      WILLIAM J. CURTIN                          20 GALLI DR SUITE 14               NOVATO             CA           1
99501701      WORLDWIDE AEROS CORP                       1734 AEROS WAY                     MONTEBELLO         CA           4
97702995      YATES, LYNDON                              3332 SANTA FE STREET               RIVERBANK          CA          22
97702763      ZAK GLOBAL ENTERPRISES LLC                 130 EASY STREET UNIT 3             PASO ROBLES        CA           2
58404425      ALAN & WILLIAM ARMS INC                    28271 CR 9                         WILD HORSE         CO           1
58400906      ANDY'S CUSTOM GUNS INC                     14855 W 54TH AVE                   GOLDEN             CO           4
58407856      BACKBONE TACTICAL LLC                      7355 HERBERT COURT                 COLORADO SPRINGS   CO          39
58405237      BALLISTIC RESOURCES LLC                    124 N US HIGHWAY 287               FORT COLLINS       CO           1
58406551      BLUE DIAMOND INDUSTRIES INC                1202 GROVE ST                      DENVER             CO           4
58403831      BLUE NORTHER GUNSMITH LLC                  6424 EAST COUNTY RD 66             WELLINGTON         CO           2
58407061      CASSARA, ROBERT                            19499 EAST BROWN DR                AURORA             CO           4
58407818      CENTROID ARMS AND ENGINEERING LLC          10578 TRACEWOOD CIRCLE             HIGHLANDS RANCH    CO           1
58406570      COLORADO BLACKOUT LLC                      5225 GALENA DR                     COLORADO SPRINGS   CO           1
58401710      COOK, GERALD M                             1600 RAPID CT                      BERTHOUD           CO           4
58405127      CROSSTAC CORPORATION                       1010 SOUTH LINCOLN AVE             LOVELAND           CO          15

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58406011      CUSTOM MECHANICAL SOLUTIONS LLC           4880 ROBB ST UNIT 12                   WHEAT RIDGE         CO          15
58405862      DAMAGE FACTORY LLC                        6806 SOUTH DALLAS WAY                  GREENWOOD VILLAGE   CO          11
58407018      DISTINCTIVE RAILINGS LLC                  818 SUNDANCE DR                        LIVERMORE           CO           1
58403916      DK FAMILY HOLDINGS LLC                    36207 WCR 65                           GALETON             CO           1
58407289      DOLORES RIVER RIFLES LLC                  446 RIVERSIDE AVE                      MANCOS              CO          18
58405564      DTCC INC                                  549 BOGART LANE                        GRAND JUNCTION      CO           1
58404833      GRAY, HAROLD F                            6590 RD 21                             CORTEZ              CO           2
58403287      GRE-TAN RIFLES LLC                        24005 HWY 13                           MEEKER              CO           3
58407407      GUNSMITH AT LARGE LLC                     4750 S SANTA FE CIR UNIT 2             ENGLEWOOD           CO           1
58401680      HERITAGE ARMS INC                         1631 P ROAD                            LOMA                CO          10
58404451      HERITAGE GUN WORKS INC                    1473 S TELLER ST                       LAKEWOOD            CO           4
58404875      HICKMAN RIFLES LLC                        411 B TIA JUANA                        COLORADO SPRINGS    CO           2
58404227      HIGH TECH CUSTOMS INC                     3109 N CASCADE AVE STE 103             COLORADO SPRINGS    CO           6
58407571      HIGHER LEVEL DEFENSE LLC                  2209 20TH ST RD                        GREELEY             CO           4
58402313      HOGAN, THEODORE KENNETH                   1432 S NUCLA ST                        AURORA              CO           1
58407161      JB TACTICAL LLC                           11919 W I-70 FRONTAGE RD N SUITE 127   WHEAT RIDGE         CO           8
58406824      KEPPDEZIN LLC                             1932 BROOKWOOD DR                      COLORADO SPRINGS    CO           1
58406632      KOVAN MATCH RIFLES LLC                    8165 W 48TH AVE                        WHEAT RIDGE         CO           4
58402371      LIPPARD, KARL                             3259 ELECTRA DR SO                     COLORADO SPRINGS    CO           6
58402309      M+M INC                                   10909 IRMA DRIVE                       NORTHGLENN          CO         288
58404547      MANTHEI, ROBERT D                         4641 S COLE WAY                        MORRISON            CO           1
58404693      MCCAFFREY, ANTHONY JAY                    24415 CR 40                            AKRON               CO           3
58400531      MCKINNEY, RICHARD PHILLIP                 1523 W HIGHWAY 34                      LOVELAND            CO           1
58407796      MESA PRECISION ARMS INC                   2297 TALL GRASS DR UNIT G              GRAND JUNCTION      CO          37
58405850      MILE HIGH SHOOTING ACCESSORIES LLC        3731 MONARCH ST                        ERIE                CO          36
58405752      PHOENIX WEAPONRY LLC                      1822 SKYWAY DR UNIT P                  LONGMONT            CO          23
58406045      PODEMSKI, MICHAEL CHESTER JR              145 VALLEY LN                          WOODLAND PARK       CO          19
58407114      PRECISION ARMAMENT ENGINEERING INC        377 CORONADO DRIVE                     SEDALIA             CO          12
58404219      PTC ENTERPRISES LLC                       2803 JUNCTION ST                       DURANGO             CO           3
58405726      ROCKY MOUNTAIN GUN CLUB LLC               545 31 RD                              GRAND JUNCTION      CO           1
58407038      ROCKY MOUNTAIN PECISION RIFFLES INC       385 MIRA SOL DR                        DURANGO             CO          29
58406880      ROCKYRIDGE LLC                            615 VIRGINIA CT                        CANON CITY          CO           8
58407659      ROTATING BOLT INDUSTRIES LLC              8052 S PARKER RD                       CENTENNIAL          CO           1


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RDS KEY       LICENSE NAME                              STREET                            CITY                ST   RIFLE MFG
58406673      SEVEN SIX INDUSTRIES LLC                  4148 MONUMENT DR                  LOVELAND            CO           5
58406180      SISLER CAPITAL LLC                        5403 S FULTON CT # 101            GREENWOOD VILLAGE   CO           2
58406756      STEVENSONS SPARKS N SPLINTERS LLC         3400 ERVING CT                    BERTHOUD            CO          14
58407278      STOKER, BROCK                             3141 52ND AVE                     GREELEY             CO          17
58407572      SUPERIOR RIFLE SYSTEMS LLC                7245 MOUNT HIGGINS HTS            COLORADO SPRINGS    CO           2
58404495      TACTICAL ACOUSTICS LLC                    400 YOUNG CT UNIT 5               ERIE                CO           1
58404401      TACTICOOL ARMS LLC                        928 13TH ST SUITE 5               GREELEY             CO          20
58407214      TAYLOR FIREARMS TRAINING LLC              6955 PALMER PARK BLVD             COLORADO SPRINGS    CO          17
58404115      TRIGGER TIME GUN CLUB LLC                 3575 STAGECOACH RD                LONGMONT            CO           7
58408169      VIKING ARMAMENT LLC                       596 23 1/2 RD                     GRAND JUNCTION      CO          59
58404859      WELLINGTON ARMS LLC                       8900 W 1ST ST                     WELLINGTON          CO           2
60603711      BLACK TIDES GROUP LLC                     8 DIANE DR                        MONROE              CT           9
60600279      CARLESCO, STEPHEN P                       2458 BOSTON POST ROAD             GUILFORD            CT           2
60603306      COLT'S MANUFACTURING COMPANY LLC          545 NEW PARK AVE                  WEST HARTFORD       CT       13942
60602995      DELTA LEVEL DEFENSE LLC                   40 EMBREE STREET                  STRATFORD           CT         123
60601848      HYDRO HONING LABORATORIES                 8 EASTERN PARK RD                 EAST HARTFORD       CT           1
60603459      KINETIC DEVELOPMENT GROUP LLC             71 COGWHEEL LANE                  SEYMOUR             CT           5
60600449      MERRITT, LEWIS IRVING                     281 CANAL STREET                  SHELTON             CT           1
60600773      O F MOSSBERG & SONS INC                   7 GRASSO AVE                      NORTH HAVEN         CT        8296
60603412      SLAGGA MANUFACTURING LLC                  373 NEW LONDON TURNPIKE           STONINGTON          CT           3
60603511      STAG ARMS LLC                             515 JOHN DOWNEY DR                NEW BRITAIN         CT       10932
60602196      STANDARD MANUFACTURING CO LLC             100 BURRITT STREET                NEW BRITAIN         CT         160
60600763      STURM, RUGER & COMPANY, INC               1 LACEY PL                        SOUTHPORT           CT          53
60602365      VALOR ARMORMENT SALES LLC                 141 OLD MONSON ROAD               STAFFORD SPRINGS    CT           1
85100968      GUNSHOOTER ENTERPRISES LLC                22957 DEEP BRANCH RD              GEORGETOWN          DE          48
15949978      AAL HOLDINGS OF HIGHLANDS INC             5810 STATE ROAD 66                SEBRING             FL           3
15949404      ACCURATE DEFENSE GROUP LLC                1220 PROSPECT AVENUE SUITE 204    MELBOURNE           FL           1
15918134      ADAMS ARMS LLC                            1551 GUNN HIGHWAY                 ODESSA              FL        2342
15912791      ADEQ FIREARMS COMPANY                     4921 WEST CYPRESS STREET          TAMPA               FL           2
15917575      ADVANCED WEAPONS & FIREARMS LLC           1508 INDUSTRIAL DR                NEW SMYRNA BEACH    FL           2
15920987      AEGIS TACTICAL LLC                        4402 S TAMIAMI TRAIL UNIT 3       SARASOTA            FL          12
15933522      AESIR ARMS LLC                            731 NW FEDERAL HIGHWAY            STUART              FL           3
15901343      AK-USA MANUFACTURING INC                  3112-1 PALM AVENUE                FORT MYERS          FL           4


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RDS KEY       LICENSE NAME                              STREET                                 CITY               ST   RIFLE MFG
15905746      AMERICAN VINTAGE GUN AND PAWN, INC        4920 LENA RD UNIT 102 & 103            BRADENTON          FL           6
15909126      AMMO DUMP INTERNATIONAL LLC               1556 S STATE ROAD 53                   MADISON            FL         108
15949483      ANTTACTICAL LLC                           249 SW CHELSEA TERR                    PORT SAINT LUCIE   FL          19
15943009      ANZIO IRONWORKS CORP                      14605 49TH STREET NORTH UNIT #8        CLEARWATER         FL          46
15915415      AQUILA ARMS LLC                           203 NW 3RD AVE                         HALLANDALE         FL          63
15907991      ARES DEFENSE SYSTEMS INC                  295 NORTH DRIVE SUITE H                MELBOURNE          FL         514
15914114      ARMORIT LLC                               2150 WHITFIELD AVE                     SARASOTA           FL           2
15932568      ARSENAL SUPPLY LLC                        12552 STARKEY RD                       LARGO              FL          11
15920558      B HUEY SERVICES LLC                       1601 HERITAGE ESTATES TRACE            JACKSONVILLE       FL          14
15910996      B&S FIREARMS INC                          201 21ST AVE WEST                      BRADENTON          FL           1
15932857      BALLISTIC ADVANTAGE LLC                   2516 JMT INDUSTRIAL DR UNITS 106-110   APOPKA             FL           6
15931996      BBAT INVESTMENTS LLC                      700 SOUTH JOHN RODES BLVD UNIT D-4     MELBOURNE          FL           8
15949547      BLACK CREEK CUSTOM FIREARMS LLC           369 BLANDING BLVD SUITE N12            ORANGE PARK        FL          12
15931644      BLACK CREEK PRECISION LLC                 5151 SUNBEAM ROAD SUITE 9,10,11        JACKSONVILLE       FL           4
15916829      BLACKHAWK CUSTOM LLC                      5762 NW CONE ST                        PORT SAINT LUCIE   FL          13
15931371      BLACKSIDE TACTICAL INC                    2725 CENTER PLACE                      MELBOURNE          FL           4
15949231      BRIGADE MANUFACTURING INC                 7312 NW 46 ST                          MIAMI              FL           5
15949216      BSKY INC                                  6835 NARCOOSSEE RD UNIT 19             ORLANDO            FL          13
15948882      BUIS INC                                  1201 HAMLET AVE                        CLEARWATER         FL           7
15932065      CARBONTECH ARMS LLC                       123 N ORCHARD ST BLDG 6 UNIT C         ORMOND BEACH       FL          18
15907948      CHARLES W JENKINS LLC                     977 18TH AVE SW                        VERO BEACH         FL           4
15949515      CLASS 3 OUTBREAK LLC                      2200 FORSYTH RD UNIT I10               ORLANDO            FL           1
15932347      CODE JOCKEYS LLC                          1502 RAIL HEAD BLVD                    NAPLES             FL           6
15915069      CSC ARMS LLC                              4747 SW 45TH STREET                    DAVIE              FL          25
15949016      CW GUNWERKS LLC                           10705 SW 216TH ST UNIT 215             MIAMI              FL           5
15932573      DAVE'S OUTDOOR SUPPLY LLC                 10711 SW 216 ST STE 213                MIAMI              FL           1
15910123      DIAMONDBACK FIREARMS LLC                  3400 GRISSOM PKWY                      COCOA              FL       26960
15913859      EAST COAST CUSTOM TACTICAL LLC            925 WALKER RD                          WILDWOOD           FL          21
15911384      ECR FLORIDA LLC                           863 PIERCE RD                          WAUCHULA           FL           3
15949110      ELEVATED SILENCE LLC                      794 N COUNTY HWY 393 STE G             SANTA ROSA BEACH   FL           1
15949614      EXODUS RIFLES INC                         6684 COLUMBIA PARK DR S                JACKSONVILLE       FL          17
15932490      FCGM LLC                                  18210 PAULSON DRIVE UNIT B6            PORT CHARLOTTE     FL          11
15931783      FHC GUNS LLC                              15000 EMERALD COAST PARKWAY            DESTIN             FL           1


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15922573      FIREBASE TACTICAL LLC                     132 W BROAD ST                       GROVELAND         FL           2
15931314      FLANARYS GUNS & POLICE SUPPLY INC         4695 W MEADOW STREET STE 1           HOMOSASSA         FL           1
15914831      FLORIDA FIREARMS ACADEMY LLC              13317 W HILLSBOROUGH AVE             TAMPA             FL          25
15950604      FLORIDA TACTICAL SUPPLIES INC             5934 W 20TH AVE                      HIALEAH           FL          20
15949588      FRONTIER TACTICAL LLC                     316 MARIANNE ST                      BROOKSVILLE       FL          11
15930984      GFT ARMS LLC                              6690 COLUMBIA PARK DR STE 2          JACKSONVILLE      FL          23
15931364      GHOST FIREARMS LLC                        828 S NOVA ROAD                      DAYTONA BEACH     FL         148
15909552      GOOD TIME OUTDOORS INC                    4600 W HIGHWAY 326                   OCALA             FL        1575
15914892      GREY TACTICAL OUTFITTERS LLC              503-A HARBOR BLVD                    DESTIN            FL           6
15949260      GTGJFE LLC                                5570 FLORIDA MINING BLVD S STE 106   JACKSONVILLE      FL          10
15949187      GULF COAST PRECISION RIFLE COMPANY INC    121 TRIPLE DIAMOND BLVD #14          NORTH VENICE      FL          10
15914742      GUN FIRE INC                              5548 S RIDGEWOOD AVE                 PORT ORANGE       FL           1
15931535      HAMMER ARMS LLC                           2749 EDGEWATER DRIVE                 NICEVILLE         FL          32
15949531      HYPERION MUNITIONS INC                    2150 34TH WAY N                      LARGO             FL           3
15926496      I O INC                                   2144 FRANKLIN DRIVE NE               PALM BAY          FL        7460
15930351      IN GUNS WE TRUST LLC                      5625 YOUNGQUIST RD UNIT 1            FORT MYERS        FL         198
15918741      IRON SITE GUN SHOP INC                    8380 ULMERTON RD SUITE 308/310       LARGO             FL           4
15950575      JASON TERRY CLARK LLC                     24896 77TH ROAD                      O BRIEN           FL           2
15932423      JTAC INDUSTRIES LLC                       2509 TURKEY CREEK RD STE #1          PLANT CITY        FL           5
15921330      KARVASALE, MARK AUGUSTUS                  2523 PALMETTO RD                     MOUNT DORA        FL           9
15940806      KEL TEC CNC INDUSTRIES INC                1475 COX ROAD                        COCOA             FL       66235
15917454      KNIGHT, CHARLES REED JR                   701 COLUMBIA BLVD                    TITUSVILLE        FL           1
15940998      KNIGHTS MANUFACTURING CO                  701 COLUMBIA BLVD                    TITUSVILLE        FL         802
15932673      KYLE GROHMANN ENTERPRISES INC             4331 126TH DR N                      WEST PALM BEACH   FL           6
15949284      MAKING ALL MEN EQUAL LLC                  14225 GRANDEUR WAY                   DADE CITY         FL           8
15915563      MOORE, DAVID ELLIOTT II                   2005-B MURCOTT DR                    SAINT CLOUD       FL           4
15932010      MORIARTI ARMAMENTS LLC                    6020 NW 99TH AVE SUITE 305           MIAMI             FL          11
15950121      MUTINY ARMS LLC                           2701 SUCCESS DR                      ODESSA            FL           6
15906911      MVB INDUSTRIES INC                        510 GOOLSBY BLVD BAY #5              DEERFIELD BEACH   FL         214
15930143      NIGHT OPS LLC                             119 BLUEBERRY ROAD                   FREEPORT          FL           5
15932814      NOUS DEFIONS LLC                          48 COMMERCE LN BLDG 1 STE 7          FREEPORT          FL          51
15921071      OMEGA DEFENSE SYSTEMS LLC                 259 GUS HIPP BLVD                    ROCKLEDGE         FL          17
15932456      ON TARGET SPORTS LLC                      2000 WELLS POND CT                   ORANGE PARK       FL           9


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RDS KEY       LICENSE NAME                              STREET                            CITY              ST   RIFLE MFG
15931562      PARADISE WEAPON WORX MFG INC              16 S ANDROS RD                    KEY LARGO         FL           9
15932810      PATRIOT TACTICAL USA LLC                  3905 ABBY LN                      JACKSONVILLE      FL          11
15911388      PCP TACTICAL LLC                          3895 39TH SQUARE                  VERO BEACH        FL          10
15908662      PHOENIX ORDNANCE LLC                      8601 49TH ST                      PINELLAS PARK     FL           6
15932101      PISTOL PETE THE GUNSMITH LLC              8279 NW 64TH ST                   MIAMI             FL          12
15915979      PRAESTOLOR ARMS LLC                       2040 SHORT AVE                    ODESSA            FL          35
15908443      PROJECT GUNS LLC                          1727 NW ARCADIA WAY               BOCA RATON        FL          45
15913530      QUACKENBUSH, DANIEL BRIAN                 18 SOLOMON DR                     CRAWFORDVILLE     FL           1
15932806      RAFAL DEFENSE INC                         6427 MILNER BLVD #5               ORLANDO           FL           6
15930839      RANGER PROOF ARMS LLC                     10781 75TH STREET N               SEMINOLE          FL          20
15931060      RENCICH, ANDREW S                         197 VILLACREST DR                 CRESTVIEW         FL           7
15912761      RENSHAW INC                               12673 157TH ST NORTH              JUPITER           FL           3
15914244      RMW XTREME INC                            1011 406TH COURT EAST             MYAKKA CITY       FL           5
15931958      SABAL ARMS INC                            2643 SW 64TH AVE                  MIAMI             FL           3
15903855      SAFETY HARBOR FIREARMS INC                985 HARBOR LAKE DR UNIT 14        SAFETY HARBOR     FL           2
15946787      SERBU FIREARMS INC                        6019 W CHELSEA STREET             TAMPA             FL         397
15931718      SHADOW SOLUTIONS LLC                      1711 DALE MABRY HWY               LUTZ              FL          17
15950230      SHARPS RIFLE COMPANY INC                  2903 SE MONROE ST                 STUART            FL          12
15931677      SIMS, RONALD PAUL                         1315 61 AVE EAST UNIT 81          BRADENTON         FL          10
15949559      SNYDER, WESLEY H                          6732 HWY 19                       NEW PORT RICHEY   FL           2
15930933      SOUTHERNMOST GUNS INC                     5613 3RD AVE                      KEY WEST          FL          10
15913173      SPECIAL OPS TACTICAL LLC                  515 COOPER COMMERCE DR STE 180    APOPKA            FL          53
15917213      SUPERIOR PRECISION RIFLES LLC             83 CARA TRAIL                     CRAWFORDVILLE     FL           1
15915559      SWUB ENTERPRISES INC                      36 S HWY 17-92                    DEBARY            FL          34
15949593      TACTICAL LIFE LLC                         10388 WEST STATE RD 84 UNIT 114   DAVIE             FL          12
15908014      TACTICAL MACHINING, LLC                   1241 BISCAYNE BLVD                DELAND            FL          37
15949234      TACTICAL RESEARCH WEAPONS LLC             1301 RAILHEAD BLVD UNIT 1         NAPLES            FL           9
15911971      TACTICAL SUPERIORITY INC                  305 NORTH DRIVE SUITE D-H         MELBOURNE         FL           3
15923596      TAURUS INTERNATIONAL MANUFACTURING INC    16175 NW 49TH AVE                 MIAMI             FL         103
15930349      THORSEN MACHINING INC                     6533 SOUTHERN BLVD BAY 1          WEST PALM BEACH   FL           2
15916906      TRIDENT ARMS LLC                          3212 N 40TH ST STE 801            TAMPA             FL           3
15930334      TRIDENT WEAPONRY LLC                      1470 KASTNER PLACE SUITE 104      SANFORD           FL           3
15930975      UM TACTICAL INC                           1955 10 AVE N                     LAKE WORTH        FL           8


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RDS KEY       LICENSE NAME                              STREET                              CITY             ST   RIFLE MFG
15915928      VENICE AUTO MARINE INC                    331 CAMION ST                       VENICE           FL           1
15932209      VERITAS TACTICAL LLC                      207 N GOLDENROD RD #200             ORLANDO          FL          12
15912135      WADCO INDUSTRIES LLC                      700 S JOHN RODES BLVD UNIT A-6      MELBOURNE        FL          15
15905974      WARREN, ROBERT WAYNE                      2236 WARREN WOODS LN                COTTONDALE       FL           2
15913668      WMD GUNS LLC                              3068 - 3070 SE DOMENICA TERRACE     STUART           FL         335
15913795      X RING ACCURACY & DESIGN INC              3200 ROWLAND DRIVE                  PORT CHARLOTTE   FL           1
15807146      ACCURATE ORDNANCE LLC                     724 PATRICK INDUSTRIAL LN STE 100   WINDER           GA          33
15808553      ALANS ARMORY LLC                          35 MACON DR                         CATAULA          GA           2
15805214      AMERICAN PRECISION ARMS, LLC              55 LYLE FIELD ROAD                  JEFFERSON        GA          39
15806220      AR BUNKER INC, THE                        1690 HWY 34 E STE D                 NEWNAN           GA          10
15811815      BOSWELL, TIMOTHY KEITH                    5406 HWY 72 W                       COLBERT          GA          38
15802643      BP FIREARMS COMPANY LLC                   1270 PROGRESS CENTER AVENUE, SUITE LAWRENCEVILLE     GA        1445
                                                        100
15808613      CAMP CREEK GUNWORKS LLC                   3467 COLLEGE ST                    COLLEGE PARK      GA           7
15807676      CAPT JERRY'S WEAPON WORKS, LLC            178 HIGH POINT RD                   WOODBINE         GA           3
15808264      CHESTATEE FIREARMS LLC                    6936 OLD WHELCHEL RD                DAHLONEGA        GA          67
15806154      COLLIER RIFLES LLC                        4236 NEWTON RD SOUTH                MILLEN           GA          47
15806912      COMPETITIVE SHOOTER SERVICES LLC          890 SHURLEY RD                      WARRENTON        GA           3
15811496      COTTON ARMS LLC                           8435 GEORGIA HWY 188                OCHLOCKNEE       GA          30
15808273      COUNTRY BOY ENTERPRISES INC               783 CAUDELL RD                      HOMER            GA          21
15812246      CUSTOM GUNS OF GEORGIA LLC                6514 CEDAR MOUNTAIN RD              DOUGLASVILLE     GA           5
15813136      DANIEL DEFENSE INC                        1334 ORACAL PARKWAY                 BLACK CREEK      GA        5320
15806454      DEFENSE RESEARCH & DEVELOPMENT LLC        268 CADILLAC PKWY STE 104           DALLAS           GA         143
15812721      EAGLE OUTFITTERS LLC                      4181 EMERALD SPRINGS CT SE          ACWORTH          GA          14
15813143      EVOLVED TACTICAL COATINGS LLC             105 TALLAPOOSA ST                   BREMEN           GA           7
15808657      GEORGIA GUN CLUB LLC                      1951 BRASELTON HIGHWAY              BUFORD           GA           2
15808709      GRUMPPY'S GUN WORKS INC                   186 TINGLE RD                       JACKSON          GA           5
15804493      HECKLER & KOCH, INC                       5175 CARGO DR                       COLUMBUS         GA          50
15810333      HILL AND MAC GUNWORKS LLC                 3120 ENGINEERING PKWY               ALPHARETTA       GA           2
15811376      HOLT, RANDY & PAMELA                      2548 SCENIC HWY                     RISING FAWN      GA          12
15807443      INTEGRITY ARMS & SURVIVAL, LLC            1205 WASHINGTON STREET              JEFFERSON        GA          17
15803294      J WHIDDEN RIFLEWORKS LLC                  2282 MARK WATSON ROAD               NASHVILLE        GA          12
15812707      JD SOLUTIONS INC                          2307 US 80                          GARDEN CITY      GA           1
15811218      JE FIREARMS LLC                           92 WALNUT LN                        CHATSWORTH       GA           3

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                                                     RIFLES MANUFACTURED
                                                                    428      IN 2017
RDS KEY       LICENSE NAME                              STREET                              CITY           ST   RIFLE MFG
15812982      JRK CUSTOM PRECISION RIFLES LLC           7364 CHARLIE B JOHNSTON ROAD        HOGANSVILLE    GA           6
15805501      MA CUSTOMS LLC                            1255 E CHERRY STREET                JESUP          GA          23
15804952      MASTERPIECE ARMS HOLDING COMPANY          4904 HIGHWAY 98                     COMER          GA         991
15810571      MCWHORTER CUSTOM RIFLES INC               1549 HOWELL RD                      DOERUN         GA          39
15808591      MEAN LLC                                  7535 HWY 92                         WOODSTOCK      GA         100
15840168      MEGGITT TRAINING SYSTEMS INC              296 BROGDON RD                      SUWANEE        GA          31
15810862      MILITANT EDGE LLC                         39 NICHOLS LANE                     CHATSWORTH     GA           3
15808476      NORTHEAST GEORGIA SUPPLY LLC              210 WILL BAILEY RD                  HARTWELL       GA           3
15812359      ON TARGET DEFENSE LLC                     390 NEW HOPE VESTA RD               CARLTON        GA           1
15810024      P & C MACHINE CO INC                      1601 LESTER RD STE 200              CONYERS        GA          60
15812051      PIEDMONT CARTRIDGE INC                    115 OAK STREET SUITE B              ROSWELL        GA           2
15808244      PROVANCE, SCOTT MARTIN                    222 DEERFIELD DR                    CLAYTON        GA           1
15809465      QUIET RIOT FIREARMS LLC                   40 HARKINS ST                       MCDONOUGH      GA           1
15811608      R&R ARMORY LLC                            56 KELLY FARM RD                    NEWNAN         GA           8
15811632      REYNOLDS HOLDINGS INC                     304 E MAPLE ST                      CUMMING        GA           9
15810408      SLITHER MISSION LLC                       1875 CUNNINGHAM RD SW               MARIETTA       GA           1
15810669      SMITH TACTICAL & DEFENSE LLC              10535 HWY 53 W                      TALKING ROCK   GA          17
15804956      SOUTHERN BALLISTIC RESEARCH, LLC          140 INDIGO DR                       BRUNSWICK      GA           2
15811877      STRAYHORN, JACKSON TATE                   4740 HWY 115 W                      CLEVELAND      GA           9
15811120      TACTICAL RESOLVE LLC                      5756 GA HWY 169                     GLENNVILLE     GA          60
15808331      THE OUTPOST ARMORY LLC                    2002 EMA DELL PL                    LOGANVILLE     GA           2
15804870      TITLE 2 INVESTMENTS LLC                   961 ROSS PLACE SUITE A              LAVONIA        GA           1
15811140      TRINITY PRECISION & ARMS INC              4643 HWY 280                        CLAXTON        GA          11
15811810      TYR DEFENSE INDUSTRIES LLC                645 HENDERSON DRIVE, SUITE 1        CARTERSVILLE   GA          25
15807655      U K PRECISION INC                         2029 MARSHALL HUFF RD SUITE A       DALLAS         GA           1
15812793      VALOR RIDGE GUNS LLC                      1229 JOHNSON FERRY ROAD SUITE 201   MARIETTA       GA           1
15810294      WAGNER, MEGAN MICHELLE                    1051 HAYES INDUSTRIAL DR ROOM 5     MARIETTA       GA          25
15804927      WALKER TOOL & MFG, INC                    1300 ROSS RD                        SHADY DALE     GA           1
15811478      WILSON, CLYDE AUGUSTUS JR III             855 MISTY HARBOR BLVD               WOODBINE       GA          29
99900289      KILIMANJARO HAWAII LLC                    7 WATERFRONT PLAZA 500 ALA MOANA    HONOLULU       HI           3
                                                        BLVD STE 400
54202999      2ND AMENDMENT CO., LLC                    1950 DODGE RD STE 108               CEDAR RAPIDS   IA          18
54203899      ARMSTRONG ENTERPRISES LLC                 2880 HWY 44                         PANORA         IA           2
54204213      ARROWHEAD SPORTING GOODS LLC              2459 WESTWIND LANE                  CEDAR RAPIDS   IA          19

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                                                     RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                            CITY             ST   RIFLE MFG
54204098      BETTIN CUSTOM GUNS LLC                    3090 NEEDHAM AVE                  LAKE VIEW        IA           6
54203229      CREATIVE ARMS LLC                         1430 EAST FLEMING AVE             DES MOINES       IA          45
54202967      FARRO'S LEAD FARM LLC                     30376 210TH AVENUE                LONG GROVE       IA          86
54203920      IN RUT LLC                                1300 ARIZONA PLACE SW             ORANGE CITY      IA          45
54200689      JARD INC                                  3149 NEST AVE                     SHELDON          IA          77
54202886      JOHNSON GUNS N MORE LLC                   27659 290TH STREET                PARKERSBURG      IA          40
54201706      LES BAER CUSTOM INC                       1804 IOWA DR                      LE CLAIRE        IA          78
54202961      M POWELL ENTERPRISE LLC                   417 EAST MAIN ST                  CENTRAL CITY     IA           2
54203954      MCF CUSTOM FIREARMS LLC                   526 CLOVER CIR                    FREDERICKSBURG   IA          33
54201425      MIDWEST METAL CREATIONS, LLC              743 ADAMS AVE                     LISBON           IA          25
54202424      PIERCISION RIFLES LLC                     3396 COUNTY RD B33                WAUCOMA          IA          16
54203911      SCHROEDER, TIMOTHY J                      305 NORTH GRANT AVE               ELKHART          IA           1
54202749      SMOKIN GUN FIREARMS, LLC                  38 ANN ST                         MILFORD          IA           6
54201644      SNYDER, ROBERT W                          332 2ND ST                        MANNING          IA          29
54200449      SUPERIOR ARMS, INC                        836 WEAVER BLVD                   WAPELLO          IA           6
54201889      V CUSTOM INC                              24276 240TH ST                    CARROLL          IA        1667
98201444      2A ARMAMENT LLC                           7545 S. EISENMAN RD               BOISE            ID        1238
98201772      ALOHA IDAHO CORP                          1343 G STREET                     LEWISTON         ID           5
98203107      AR CUSTOMS LLC                            1081 E STONEYBROOK LOOP           POST FALLS       ID           9
98202920      AXIAL PRECISION LLC                       4910 W DENTON                     BOISE            ID           8
98203265      AXIAL PRECISON LLC                        94 E 49TH ST STE D                GARDEN CITY      ID           1
98235032      BAT MACHINE CO INC                        6148 W SELTICE WAY                POST FALLS       ID          11
98203191      CANYON PRECISION LLC                      860 NUCHOLS GULCH ROAD            OSBURN           ID           3
98203121      CBH RIFLES LLC                            9 AIRPORT RD                      SALMON           ID           3
98203161      CHANDLER, MARTIN                          616 SOUTH MAIN                    HAILEY           ID           4
98203175      COLLINS, KENNETH LEE                      504 PORPHYRY STREET               SALMON           ID           1
98201762      DEFENSIVE EDGE, INC.                      15670 N RANCH VALLEY RD           RATHDRUM         ID          31
98203131      EMINENCE ARMS LLC                         422 EAST MULLAN                   OSBURN           ID           9
98235118      EVOLUTION INC                             357 YELLOW WOLF RD                WHITE BIRD       ID           4
98202516      FLOYDS CUSTOM SHOP INC                    103 SARAGOSA RD                   BLANCHARD        ID           1
98202826      G-TECH DEFENSE LLC                        136 S STATE ST                    SHELLEY          ID           4
98202568      GOUGH TACTICAL ADVANCED CONCEPTS LLC      2165 S 1800 E                     GOODING          ID           8
98201711      HARROLD, VICKIE MARIE                     1024 BRYDEN AVE SUITE 11-12       LEWISTON         ID          15


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                                                       RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                              CITY             ST    RIFLE MFG
98233429      IDAHO MOTOR POOL INC                      6243 HWY 95                         FRUITLAND        ID            3
98202451      INNOVATIVE AMMUNITION TECHNOLOGIES LLC    15450 W FROST RD                    WORLEY           ID            5
98202781      JAVELIN ARMS LLC                          611 N BROADWAY                      BLACKFOOT        ID            1
98202763      LANE PRECISION RIFLES LLC                 1031 EVERETT AVE                    POCATELLO        ID           50
98202698      OCONNELL, JAMES K                         21218 BIG CANYON RD                 PECK             ID            1
98201252      PRIMARY WEAPONS SYSTEMS INC               255 N. STEELHEAD WAY                BOISE            ID         1017
98201498      QUALITY ARMS IDAHO LLC                    350 N 3RD W                         RIGBY            ID           82
98201873      R K GUNSMITHING, LLC                      201 N. KINGS RD, #101               NAMPA            ID            5
98201763      RIVERMAN, LLC                             6040 N GOVERNMENT #101              DALTON GARDENS   ID           34
98200449      ROGERS, DAVID J                           3025 LEADVILLE                      BOISE            ID            4
98202543      SEEKINS PRECISION LLC                     159 AMERICAN WAY                    LEWISTON         ID         2227
98202201      SELKIRK MOUNTAIN PRECISION GUNSMITHING,   2765 TURNER HILL RD                 BONNERS FERRY    ID            3
              LLC
98201222      STARK AUTO ORDINANCE LLC                  4100 DEARBORN STREET                CALDWELL         ID            5
98200569      TACTICAL INNOVATIONS INC                  345 SUNRISE RD                      BONNERS FERRY    ID            1
98202164      TACTICAL SOLUTIONS INC                    2772 S VICTORY VIEW WAY             BOISE            ID         3247
98202987      TOWER III INC                             410 N HULEN WAY                     KETCHUM          ID            4
98202231      UNIQUE ARS, INC.                          401 S MISSION ST UNIT A             MC CALL          ID            8
98203219      VALLEY FABRICATING INC                    102 N 740 W                         BLACKFOOT        ID            1
98203119      WALKER ARMS LLC                           50 SOUTH SAINT CHARLES RD           SALMON           ID            3
98202619      WEATHERMON, COREY ALVIN                   12338 RANCHVIEW DR                  NAMPA            ID           49
98203082      WEST TECH ARMS LLC                        466 S 5TH W                         REXBURG          ID            5
98203050      WILKINSON ARMS LLC                        14754 MURPHY FLAT ROAD              MURPHY           ID           21
33605568      3D INDUSTRIES INC                         500 FRONTIER WAY                    BENSENVILLE       IL          53
33703832      BALDWIN GUN WORKS, LLC                    17951 CAPLINGER POND RD             MARION            IL           8
33704436      CLARK, DAVID                              508A WEST MAIN ST                   TOLEDO            IL           9
33605280      CONDITION YELLOW ACADEMY INC              2908 W IL ROUTE 120                 MCHENRY           IL          15
33605667      DEVIL DOG ARMS LLC                        427 STEVENS ST                      GENEVA            IL         125
33605937      DOCHTERMAN, RICHARD MICHAEL               456 195TH ST                        ALEDO             IL           7
33605115      DR GUNS LLC                               551 TELSER RD                       LAKE ZURICH       IL          64
33605399      KNOXVILLE ARMS LLC                        4712 55TH AVE                       MOLINE            IL           1
33603166      L & L ARMS LLC                            17144 US HWY 150                    ORION             IL           1
33637243      LEWIS MACHINE & TOOL CO                   1305 W 11TH ST                      MILAN             IL        1358
33604006      MENNIE MACHINE COMPANY INC                508 N ST PAUL ST                    MARK              IL          10

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RDS KEY       LICENSE NAME                              STREET                            CITY              ST    RIFLE MFG
33735964      OTTE, MICHAEL M                           439 S BUCHANAN ST STE A           EDWARDSVILLE       IL          27
33604340      PAWLOWSKI, MATTHEW ALAN                   9520 PAULING RD                   MONEE              IL           5
33602395      POLHAMUS, KENNETH ALLEN                   7307 EDWARD DR                    LOVES PARK         IL           4
33604249      PRECISION GRINDING & MACHINE INC          16664 CHERRY CREEK CT             JOLIET             IL           3
33603276      QUALITY PLASTIC PRODUCTS, INC             830 MAPLE LN                      BENSENVILLE        IL          10
33637004      ROCK RIVER ARMS INC                       1042 CLEVELAND RD                 COLONA             IL        6667
33605056      RSS DEFENSE CORP                          441 W BONNER RD UNIT 1-G          WAUCONDA           IL          24
33601205      SPORTSWEREUS INC                          855 COMMERCE PARKWAY              CARPENTERSVILLE    IL           9
33635798      SPRINGFIELD INC                           420 W MAIN ST                     GENESEO            IL       69352
33605213      STRATEGIC ARMORY CORPS LLC                745 HANFORD ST                    GENESEO            IL        8581
33604431      STRYKER ENTERPRISES LLC                   7307 EDWARD DR UNIT B             LOVES PARK         IL           3
33605453      TORRES INC                                217 MAIN ST                       NEW WINDSOR        IL           5
33704376      WHITE OAK ARMS INC                        101 S PERRY ST                    CARLOCK            IL           1
43506337      170 TACTICAL INC                          406 LIBERTY ST                    COVINGTON         IN            3
43507302      AMERICAN BARREL COMPANY LLC               5324 SOUTH RD 850 W               GREENSBURG        IN            2
43505570      ANDERSON, WAYDE CHARLES                   500 SOUTH GRANDSTAFF, SUITE F     AUBURN            IN            8
43505109      BCI DEFENSE LLC                           545 N BOWEN AVE                   BREMEN            IN          332
43504565      BELL, JOSEPH D                            211 WEST MAIN ST                  MILROY            IN            5
43506819      BLACK BART'S LLC                          4135 N 450 W                      COLUMBIA CITY     IN            3
43506000      CENTURION ARMS LLC                        8985 CARMEL RIDGE RD              MORGANTOWN        IN            2
43506112      CHAOS INC                                 424 N WILLOW ROAD                 EVANSVILLE        IN            6
43507584      DEFINITIVE ARMS LLC                       2600 BEECH STREET                 VALPARAISO        IN           27
43505002      DEPUTY BIG SHOT LLC                       10214 W DEPUTY PIKE RD            DEPUTY            IN            2
43506705      ED BOHMAN INDEPENDENT LLC                 23212 VOTE RD                     BATESVILLE        IN           39
43504966      FOSTECH MFG LLC                           8620 N US HWY 31                  SEYMOUR           IN           13
43507212      FREEDOM ORDNANCE MANUFACTURING INC        612 GRACE WAY                     CHANDLER          IN         2498
43506698      HG DIVERSIFIED INC                        8401 E HWY 36 STE C               AVON              IN            1
43506581      HIGH VELOCITY MANUFACTURING INC           4710 ARDEN DR                     FORT WAYNE        IN           42
43503958      HIS & HERS TARGET SPORTS LLC              408 SOUTH MAIN ST                 SHERIDAN          IN            1
43501630      MARCOLMAR LLC                             1210 HEINBAUGH RD                 RICHMOND          IN           25
43503924      MATT'S CUSTOM GUNS LLC                    3762 N COUNTY RD 450 EAST         CONNERSVILLE      IN            2
43506762      MOORE GUNWORKS LLC                        292 SOUTH COUNTY RD 800 EAST      AVON              IN            1
43503492      NAMACLE LLC                               1235 WEST HIVELY AVE              ELKHART           IN            1


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RDS KEY       LICENSE NAME                              STREET                            CITY             ST   RIFLE MFG
43506095      NORRIS ARMS CO LLC                        405 N OLD STATE RD 15             MILFORD          IN            1
43507261      PITTS, ERIC JAMES                         9099 ROSEDALE RD                  TERRE HAUTE      IN
43502315      POLLEY TECH LLC                           333 S STATE RD 11                 SEYMOUR          IN            3
43503547      POWDER KEG LLC                            8267 E COUNTY RD 1200 NORTH       SUNMAN           IN            6
43505120      RECOIL GUNWORKS LLC                       202 W MARKET ST                   SALEM            IN            5
43504974      RED BULL ARMORY LLC                       440 PEACEFUL VALLEY RD            MITCHELL         IN          15
43507306      REVOLUTION FIREARMS LLC                   296 W MAIN ST                     MONROVIA         IN            1
43505305      REX BELLATOR FIREARMS LLC                 498 TOWN CENTER                   MOORESVILLE      IN            5
43507182      SALTZMAN GUN WORKS INC                    3896 S 400 WEST                   TIPTON           IN          13
43504828      SHEPARD, MITCHELL PAUL                    7007 TIGER LILY PL                FORT WAYNE       IN            1
43505419      SHEPHERD FIREARMS LLC                     1600 WEST CENTER ST               WARSAW           IN          10
43507109      STAR RIFLES LLC                           8785 N 900 E                      SHERIDAN         IN            8
43506293      STRIKE FORCE AMMUNITION LLC               980 E TAFT TOWN RD                PRINCETON        IN            3
43504812      TACTICAL WEAPONS & SUPPLY LLC             2303 INDIANAPOLIS RD              CRAWFORDSVILLE   IN          11
43507032      TIPPMANN ARMS COMPANY LLC                 2955 ADAMS CENTER RD              FORT WAYNE       IN         204
43504744      ZR TACTICAL SOLUTIONS LLC                 15223 HERRIMAN BLVD SUITE 4       NOBLESVILLE      IN          13
54803956      ALLEE, MICHAEL D                          12510 W 62ND TERRACE    STE 110   SHAWNEE          KS            1
54803412      BLACK DOG ARMORY LLC                      3050 S 44TH ST                    KANSAS CITY      KS            7
54804010      CHARGER ARMS LLC                          5244 W 285TH ST                   OSAGE CITY       KS            5
54803929      CLARK, TODD ALAN                          2708 DRY CREEK                    GREAT BEND       KS            9
54803746      CORBET, WILLIAM A JR                      1304 LAWRENCE AVE                 LEAVENWORTH      KS            1
54804005      FREE STATE ARMAMENT LLC                   108 MAIN STREET                   OZAWKIE          KS            5
54803973      GREAT PLAINS GUNS INC                     4816 HWY 59                       BALDWIN CITY     KS            4
54803790      GUN CONCIERGE LLC                         8826 SANTA FE DR SUITE 309        OVERLAND         KS            1
54803093      HAYDEN, SHAWN                             1316 SOUTH DAKOTA AVENUE          SATANTA          KS          19
54804277      INVICTA ARMS LLC                          10501 LEE BLVD                    LEAWOOD          KS            5
54802542      KT KUSTOMS LLC                            503 S H ST                        WELLINGTON       KS            5
54803429      MAC'S GUNSMITHING LLC                     965 E 620 AVE                     MULBERRY         KS            4
54804344      MITCHELL MUNITIONS LLC                    15005 BROADMOOR STREET            OVERLAND PARK    KS            4
54802644      MITCHELL, ZACHARY                         2503 LOCUST RD                    FORT SCOTT       KS            2
54803256      PODUNK INC                                1145 W DENNIS AVE                 OLATHE           KS         168
54801993      REEVES, MICHAEL JAMES                     8260 W 116TH ST                   OVERLAND PARK    KS            6
54802314      SAND CREEK OUTFITTING LLC                 111 E MAIN                        HARPER           KS            9


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                                                      RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                           CITY             ST   RIFLE MFG
54803367      SCOTT'S CUSTOM GUNS LLC                   11925 W 92ND TERRACE             LENEXA           KS            3
54804079      SHADOW FIREARMS LLC                       10777 BARKLEY ST STE 110         LEAWOOD          KS            6
54802710      SIGNATURE MARKETING INC                   15845 MAHAFFIE                   OLATHE           KS          23
54803212      STADTER CUSTOM WEAPONRY LLC               35003 W 311TH ST                 PAOLA            KS            2
54804202      STRATE, RYAN                              1117 MOCHA LANE                  KINSLEY          KS            1
54803071      VELOCITY MANUFACTURING COMPANY LLC        523 E WALL ST                    FORT SCOTT       KS            2
54802831      WHITE, TERRY                              12273 S SUNRAY DR                OLATHE           KS            7
46103421      ACCURATE TOOL & MFG CO INC                737-2C WERNE DR                  LEXINGTON        KY          11
46105991      ADVANCED WEAPONS TECHNOLOGY LLC           426 FERRY ST                     RUSSELL          KY          11
46105859      AKYLEX ARMS LLC                           327 LEXIE LANE                   ALMO             KY            4
46107552      BLACK DAGGER ORDNANCE LLC                 3083 T WENZ RD                   DOVER            KY            5
46100511      DOUBLE STAR CORP                          1805 FORTUNE DR                  WINCHESTER       KY         615
46104121      ESTEP, DANIEL                             288 STEELE HOUSE HOLLOW          VAN LEAR         KY            2
46107233      FIELDS, ADAM JOSEPH                       4301 AKIN LN                     BURLINGTON       KY            3
46107034      GARDNER, DAVID LEE                        6554 JACKSON SCHOOL RD           BENTON           KY            1
46101318      GREEN, ROGER G                            124 E MAIN                       SHELBYVILLE      KY
46103820      KEYSTONE MANUFACTURING LLC                737-C2 WERNE DR                  LEXINGTON        KY          11
46104635      MERIDIAN ORDNANCE LLC                     36 SOUTH BANK ST                 MOUNT STERLING   KY          87
46103814      METALS N MORE INC                         1040 OLD BARREN RIVER RD         BOWLING GREEN    KY            1
46105790      MVM ENTERPRISES LLC                       730 SALLIE DR                    ASHLAND          KY            6
46106541      NORSWORTHY, BRADLEY DAVID                 1121 FREEDOM CHURCH RD           HARNED           KY            7
46105298      PERSONAL DEFENSE SYSTEMS LLC              14177 HERRING MILL RD            HOPKINSVILLE     KY            8
46103520      WM C ANDERSON INC                         1743 ANDERSON BLVD               HEBRON           KY        2295
57204899      ADVANCED TACTICAL SYSTEMS LLC             416 INDUSTRIAL PARKWAY           LAFAYETTE        LA          14
57204834      AKLYS DEFENSE LLC                         9683 MAMMOTH AVE                 BATON ROUGE      LA            8
57203561      ALL WEATHER ARMS, LLC                     128 ROBERTSON RD                 BALL             LA            3
57205673      BAYOU TECHE GUNS LLC                      136 MARKET ST                    ARNAUDVILLE      LA            4
57202469      CARLOS MACHINE SHOP SERVICE LLC           35117 OAK PLACE DR               DENHAM SPRINGS   LA            5
57205140      CHRISTMAN, DAVID H JR                     216 RUNDELL LOOP                 DELHI            LA          17
57233690      CLARK CUSTOM GUNS INC                     336 SHOOTOUT LN                  PRINCETON        LA          34
57204714      DAVCO SERVICES LLC                        1655 SWAN LAKE ROAD              BOSSIER CITY     LA          20
57203147      EVANS, DAVID W AND COLIN M                7600 FERN AVE BLDG 1200          SHREVEPORT       LA            7
57204545      FDL GROUP LLC                             7211 HIGHLAND ROAD, SUITE B      BATON ROUGE      LA          13


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                                                      RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                               CITY                ST   RIFLE MFG
57204848      G&S TRANSFERS LLC                         105 KEMPTON DR                       LAFAYETTE           LA           5
57203729      GLOBAL DEFENSE ARMS LLC                   116 S MAIN ST                        SAINT MARTINVILLE   LA          11
57203609      HEMARD, ERIC JOHN                         2106 SAINT CHARLES ST                JEANERETTE          LA           1
57205057      IIA DEFENSE LLP                           410 COVINGTON ST                     MADISONVILLE        LA          20
57204816      JCR HOLDINGS LLC                          9683 MAMMOTH AVE                     BATON ROUGE         LA           2
57204957      KASE ARMS LLC                             59385 EMMA AVE                       PLAQUEMINE          LA           5
57203445      KEA WEAPONS SYSTEMS LLC                   2811 FALMOTH DR                      SHREVEPORT          LA           1
57204729      KMW LONG RANGE SOLUTIONS LLC              1405 FRANK ANDREWS BLVD STE B        ALEXANDRIA          LA          19
57204962      MAMP LLC                                  7699 W 70TH ST                       SHREVEPORT          LA           4
57205133      MCGEE, JOE K                              267 NEW HAVEN ST                     RACELAND            LA           1
57205714      MCREES PRECISION ARMS INC                 440 INDUSTRIAL PKWAY SUITE 11        LAFAYETTE           LA          13
57203726      MESA KINETIC RESEARCH LLC                 13238 AIRLINE HIGHWAY                GONZALES            LA          11
57205187      MOORE, DAVID E SR                         1214 BIG FOUR CORNERS RD             JEANERETTE          LA           2
57203852      MW PRODUCTIONS LLC                        8173 S LAKESHORE DRIVE               SHREVEPORT          LA           2
57205462      PATRICKS GUN SHOP LLC                     1191 HAWN AVE                        SHREVEPORT          LA          17
57205507      PRO BOHA ENTERPRISES LLC                  44 ROY BLAIR RD                      DEVILLE             LA          16
57204623      TITAN PRECISION RIFLES LLC                360 EVERGREEN RD                     IOTA                LA           1
57205326      WATTS GUN WORKS LLC                       281 HAGAN RD                         OAK GROVE           LA           9
60412498      CS INDUSTRIES LLC                         13 SECOND ST                         PALMER              MA           6
60413403      DEAN, RANDALL WILSON                      410 GREAT RD STE 622Q                LITTLETON           MA          10
60406097      ELITE FIREARMS CORP (NV)                  22 JOHN H FINLEY III WAY SUITE 103   FRAMINGHAM          MA           3
60413108      FINNERTY, JAMES B                         410 GREAT ROAD SUITE 622-L           LITTLETON           MA           6
60407439      IMAGING DATA CORPORATION                  627 HIGH STREET RTE 110              CLINTON             MA           2
60412377      KULAS CUSTOMS LLC                         103 BARLOWS LANDING RD UNIT 5        POCASSET            MA          12
60435456      SAEILO, INC                               130 GODDARD MEMORIAL DR              WORCESTER           MA        8115
60401684      SMITH & WESSON CORP                       2100 ROOSEVELT AVE                   SPRINGFIELD         MA      265356
60404099      TROY INDUSTRIES INC                       151D CAPITAL DR                      WEST SPRINGFIELD    MA        2688
60413467      YANKEE HILL MACHINE CO INC                412 MAIN ST                          EASTHAMPTON         MA           6
60436644      YANKEE HILL MACHINE CO INC                20 LADD AVE STE 1                    FLORENCE            MA          84
85202902      ADCOR INDUSTRIES INC                      234 S HAVEN ST                       BALTIMORE           MD          50
85207769      ALL AMERICAN MD LLC                       25506 PETAL CT                       MECHANICSVILLE      MD          31
85212207      BOSWELL, STEVEN P                         12035 OREBANK RD                     CLEAR SPRING        MD           7
85213126      COOKE, RICHARD STARK                      3228 ATLEE RIDGE RD                  NEW WINDSOR         MD           3


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RDS KEY       LICENSE NAME                              STREET                            CITY              ST   RIFLE MFG
85203547      ENGAGE ARMAMENT LLC                       701 EAST GUDE DR SUITE 101        ROCKVILLE         MD          42
85212877      HANOVER ARMORY LLC                        1327 ASHTON RD STE 5 & 6          HANOVER           MD         277
85212928      JMAC FIREARMS LLC                         19920 ALVA COURT                  KEEDYSVILLE       MD           2
85212849      JOB SMART INC                             28943 THREE NOTCH RD STE 3        MECHANICSVILLE    MD          50
85202358      LWRC INTERNATIONAL                        815 CHESAPEAKE DRIVE              CAMBRIDGE         MD       12413
85211500      MC KEE, INC                               8725 BOLLMAN PLACE #1             SAVAGE            MD         217
85212925      MT UNIVERSAL LLC                          5611/5609 KRAFT DR                ROCKVILLE         MD           2
85206041      PARTRIDGE, ROGER FREDRICK                 11211 RACE TRACK RD               BERLIN            MD           2
85203498      PASADENA PAWN & GUN LLC                   3306 MOUNTAIN RD                  PASADENA          MD          17
85212226      TOMKAT AMMUNITION LLC                     18 CESSNA COURT                   GAITHERSBURG      MD          14
85204307      TOMMY BUILT TACTICAL LLC                  18910 GOSHEN RD                   GAITHERSBURG      MD          29
85212389      TUCKAHOE GUNWORKS & HYDROGRAPHICS LLC     22065 BEAVEN DR                   DENTON            MD          21
85212798      WEBSTER, VANCE JAMES JR                   7815 PARSONSBURG RD               PARSONSBURG       MD           9
85213125      WILSON, HARDIE G IV                       8901 BLACKBRIAR CT                FORT WASHINGTON   MD           5
60101448      BOUCHARD, THOMAS PHILIP                   2743 RIVERSIDE DR                 VASSALBORO        ME           1
60102602      BULL MOOSE TACTICAL LLC                   29 SHINGLEHOUSE RD                BOWDOIN           ME           1
60101871      CIMINO, JOSEPH F                          481 MAINE ST                      POLAND SPRING     ME          21
60101613      COLLINS, JAMES M                          03 MEMORY LANE                    HERMON            ME          42
60102477      FIRST DUE LLC                             62 GREENE ST                      SABATTUS          ME           2
60102452      HENSLEE ENTERPRISES LLC                   27 MARSHVIEW RD                   GRAY              ME           9
60101936      PATHIAKIS, NICKOLAS JOHN JR               94 STRATTON RD                    RANGELEY          ME          15
60101551      PIERCE, EVERETT C                         905 RIVER ROAD                    BUCKSPORT         ME           1
60102316      SELLRAIN AVTOMAT KALASHNIKOVA LLC         57 DAIRY LN                       ARUNDEL           ME           2
60101351      WEAPONCRAFT LLC                           792-A MEADOW ROAD                 CASCO             ME           2
60101661      WINDHAM WEAPONRY INC                      999 ROOSEVELT TRAIL BUILDING #3   WINDHAM           ME        9484
43805723      ARFAB LLC                                 406 E CLAY ST                     SCHOOLCRAFT       MI           1
43807630      BARK RIVER PRECISON LLC                   5660 F LANE                       BARK RIVER        MI          21
43808482      BEAR CREEK BALLISTICS CO                  4199 D DR S                       EAST LEROY        MI          14
43807385      BK GUNS N STUFF LLC                       6255 POTTERS RD                   SARANAC           MI           8
43807226      BLACK SWAMP FIREARMS LLC                  5255 CONSEAR RD                   OTTAWA LAKE       MI          18
43810052      BRENTON USA INC                           4500 EMPIRE WAY SUITE 5           LANSING           MI         146
43809917      CADOTTE, JOSHUA PAUL                      143 STATE HWY M35                 NEGAUNEE          MI           1
43813395      FALLING BLOCK WORKS INC                   6121 ZINK RD                      MAYBEE            MI          18


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                                                    RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                               STREET                            CITY            ST   RIFLE MFG
43809136      FOWLER'S HOME ON THE RANGE LLC             2805 135TH AVE                    HERSEY          MI          11
43809126      GUNZ-N-GRIPZ LLC                           13275 WATSON RD                   BATH            MI          23
43806512      HAB, LLC                                   34166 CORTLAND                    FARMINGTON      MI           1
43809619      HARBINGER ARMS LLC                         1207 WHEATON AVE                  TROY            MI           3
43807369      HIGH CALIBER FIREARMS LLC                  7730 N 6TH ST                     KALAMAZOO       MI          11
43807837      J&D ARMAMENT LLC                           5921 HOLLOW CORNERS RD            DRYDEN          MI           4
43807185      KEEGO TEC INC                              2910 PRYNNE STREET                KEEGO HARBOR    MI           9
43808788      KICKIN STEEL CUSTOM ARMS, LLC              10292 GORDON RD                   FENTON          MI          44
43806273      LA SPORTS ONLINE ENTERPRISES LLC           80854 WOODRIDGE LANE              ROMEO           MI           2
43808431      LOW SIGNATURE SOLUTIONS LLC                1217 CHICAGO RD                   TROY            MI           1
43809176      MID MICHIGAN ARMORY LLC                    1665 FISH LAKE RD                 LAPEER          MI           5
43804910      MILLER BROACH, INC                         14510 BRYCE RD                    CAPAC           MI          10
43808216      NEXT LEVEL ARMAMENT LLC                    6778 - 18TH AVE                   JENISON         MI          69
43808208      NICK'S SMOKIN GUNS LLC                     37864 52ND AVE                    PAW PAW         MI           2
43809663      NW ARMS LLC                                4328 WALKER RD                    MARLETTE        MI           7
43807721      PERFORMANCE MACHINING INC                  919 MICHIGAN STREET               NILES           MI           2
43808565      PETRI FIREARMS LLC                         210 REEDY COURT                   DIMONDALE       MI           4
43800250      PIERCE ENGINEERING LTD                     5122 N GRAND RIVER                LANSING         MI          31
43803551      RED OAK GUNSMITHING, LTD                   20508 STATE STREET                ONAWAY          MI           5
43810091      SPEC ARMS LLC                              389 EAST DIVISION                 SPARTA          MI          35
43809079      TUEBOR PRECISION LLC                       3876 EAST PARIS AVE SE STE 17     GRAND RAPIDS    MI           7
43806956      TURNER'S TACTICAL ARMS & GUNSMITHING LLC   1230 SOUTH RANGE RD               ST CLAIR        MI          16
43810115      TWIN BAY DISTRIBUTION LLC                  15543 BIRCH DR                    TRAVERSE CITY   MI           8
43809424      TYPE A RIFLE CO LLC                        823 OTTAWA AVE NW                 GRAND RAPIDS    MI         269
43809423      ULTIMATE FIREARMS INC                      3470 DOBIE RD                     OKEMOS          MI          20
43806632      WALTER, PHILIP GEORGE                      6809 126TH AVE                    FENNVILLE       MI          17
43809872      WARLOK TACTICAL LLC                        12676 10 MILE RD STE B            SOUTH LYON      MI           5
34104920      ALEX PRO FIREARMS LLC                      8290 STATE HWY 29 N               ALEXANDRIA      MN        2232
34104884      BARRELS AND ARROWS LLC                     3041 US HWY 59                    MARSHALL        MN          17
34105138      BATTLE CREEK ARMORY LLC                    6969 S WASHINGTON AVE             EDINA           MN           2
34103165      DEER COUNTRY ARCHERY INC                   32981 COUNTY RD 24                STARBUCK        MN           9
34137259      E ARTHUR BROWN CO INC                      4088 COUNTY ROAD 40 NW            GARFIELD        MN           8
34105247      ENGINEERED SILENCE LLC                     9993 DAVENPORT ST NE              BLAINE          MN           2


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                                                       RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                            CITY              ST   RIFLE MFG
34105179      FIRING LINE LLC                           3409 MAYHEW LAKE RD NE            SAUK RAPIDS       MN           2
34104071      FREEDOM FIREARMS TRANING LLC              25 RIVERSIDE AVE NW               MELROSE           MN           1
34105106      GROGAN, JODY DEAN                         21 VALHALLA RD                    SLAYTON           MN           4
34136974      JP ENTERPRISES INC                        15125 FRANCESCA AVENUE            HUGO              MN        1614
34105195      L AND L ENDEAVORS LLC                     241 MAIN STREET UNIT 1            MILTONA           MN          13
34104617      LIGHT'EM UP GUNSMITHING LLC               816 8TH AVE                       MADISON           MN           8
34103314      MAGNUM RESEARCH INC                       12602 33RD AVE SW                 PILLAGER          MN        1483
34102996      MCKAY ENTERPRISES LLC                     2535 PILOT KNOB ROAD SUITE 117    MENDOTA HEIGHTS   MN           4
34136939      NARTRON, INC                              324 KNOPP VALLEY DR               WINONA            MN           1
34101717      NORDIC COMPONENTS INC                     79 EAST 8TH STREET                WACONIA           MN         391
34105055      NORTH PLAINS DESIGN, INC                  18125 INGRAM WAY                  EDEN PRAIRIE      MN           1
34104145      PA ENTERPRISES                            3152 COUNTRY DR                   LITTLE CANADA     MN          15
34105081      RAM RIFLE COMPANY LLC                     2239 HWY 12                       TWO HARBORS       MN           1
34102652      SLR15 RIFLES INC                          7689 MAIN ST                      FRIDLEY           MN           2
34102463      VELOCITY LLC                              6315 RICE LAKE ROAD               DULUTH            MN         957
54313497      4 STATES SHOOTERS SUPPLY LLC              5637 DOUGLAS FIR                  JOPLIN            MO           3
54309353      ACCURACY INDUSTRIES LLC                   6606 NE ANTIOCH RD                GLADSTONE         MO           5
54313257      ADAMS GUNWORKS LLC                        805 NASHUA RD                     LIBERTY           MO          44
54313481      ALIEN ARMORY TACTICAL LLC                 3126 WEST CLAY                    SAINT CHARLES     MO         143
54313715      BADCO FIREARMS LLC                        1160 CLOCK TOWER PLAZA            WASHINGTON        MO           6
54310039      BIXLER, CHRISTOPHER A                     213 MORGAN ST                     AUXVASSE          MO           1
54311739      BLACK DAWN MANUFACTURING & COATING LLC    1511 N OHIO AVE                   SEDALIA           MO          37
54306127      BLACK RAIN ORDNANCE INC                   11633 IRIS ROAD                   NEOSHO            MO        2291
54314277      BOOGER COUNTY OUTFITTERS LLC              9435 HWY N STE A                  MOUNTAIN GROVE    MO           1
54305925      BOOTHEEL BULLETS, LLC                     18850 RIDGEVIEW DR                DEXTER            MO           1
54310645      BRICE BREEDEN ENTERPRISES LLC             330 EVERGREEN DR                  SULLIVAN          MO           4
54311537      BROCKFELD, PAUL E                         727 E BOONESLICK RD               TRUESDALE         MO           1
54305482      CEDAR FALLS TACTICAL, LLC                 3519 CEDAR FALLS ROAD SUITE A     BONNE TERRE       MO          41
54303997      CGR LLC                                   10816 EWING                       KANSAS CITY       MO           1
54312142      CHARLES BATEMAN LLC                       2103 PRAIRIE CREEK DR             KEARNEY           MO           1
54307126      CHEROKEE FIREARMS LLC                     1500 W COLLEGE                    SPRINGFIELD       MO          79
54301610      CMMG INC                                  2301 BOONSLICK DR                 BOONVILLE         MO        2369
54303892      COMPETITIVE EDGE GUN WORKS LLC            17154 CR 180                      BOGARD            MO           1


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RDS KEY       LICENSE NAME                              STREET                               CITY                ST   RIFLE MFG
54303117      COUNTRY GUN SHOP LLC                      6947 EAST 20TH STREET                JOPLIN              MO           2
54309531      CRESCENT CUSTOMS LLC                      405 EAST 13TH AVE                    NORTH KANSAS CITY   MO          30
54310554      E TAC RIFLES LLC                          12005 NE 172ND ST                    KEARNEY             MO           1
54311561      FIRE FOR EFFECT INC                       2301 BOONSLICK DR                    BOONVILLE           MO         977
54312041      FIRST GUNSMITHING LLC                     932 MERAMEC STATON ROAD UNIT 1       VALLEY PARK         MO          11
54303217      G A PRECISION LLC                         1141 SWIFT ST                        NORTH KANSAS CITY   MO         678
54307532      GARY'S SERVICE / REPAIR LLC               105 CHESTNUT                         DIAMOND             MO           1
54309846      GHISELENE, VICTOR JOSEPH                  10487 HWY AA                         GROVESPRING         MO           1
54313326      GUNWARE LLC                               9364 STATE ROUTE F                   FARMINGTON          MO          25
54312694      HARSHMAN MACHINE & TOOL CO                1030 SOUTH 8TH ST                    SAINT JOSEPH        MO           8
54312736      HENRY LEE'S GUNS AND AMMO LLC             820 N WEST BYPASS                    SPRINGFIELD         MO          26
54314164      HUNTS LONG RANGE SUPPLY LLC               4449 BETHEL DRIVE                    SUMMERSVILLE        MO           5
54314093      JSE SURPLUS LLC                           5004 STATE HWY 74                    CAPE GIRARDEAU      MO          15
54314481      KAVIC GUNSMITHING AND CUSTOM ENGRAVING    7101 ST HWY D                        REA                 MO           2
              LLC
54312428      LIBERTY ARSENAL LLC                       19521 TAMARACK TRAIL                 KIRKSVILLE          MO           1
54311637      LYON GUNSMITHING LLC                      10015 SW STATE RT JJ                 SAINT JOSEPH        MO           5
54313086      M & J ENTERPRISES LLC                     1214 N OSAGE BLVD                    NEVADA              MO           6
54310714      MILES PER HOUR LLC                        86 EMERSON RD                        REEDS SPRING        MO           6
54312890      MOA LLC                                   11017 GRAVOIS INDUSTRIAL CT UNIT C   SAINT LOUIS         MO          16
54310779      NOWACZYK, EUGENE C                        519 NW AA HWY                        KINGSVILLE          MO           1
54311296      OZARK GUN & PAWN LLC                      14752 HWY 52                         VERSAILLES          MO          41
54313379      PLAN B INDUSTRIES LLC                     300 S COMMERCIAL AVE                 SAINT CLAIR         MO           1
54306091      PRECISION MACHINED PARTS INC              1214 N OSAGE BLVD                    NEVADA              MO          27
54310952      RICKETY BRIDGE GUNS LLC                   50257 NORTH RIVER STREET             NOVELTY             MO           3
54313578      ROBERT PORTER LLC                         21911 S STATE LINE RD                BELTON              MO           1
54312638      SALUS ARMS LLC                            2400 E BENNETT ST STE 2              SPRINGFIELD         MO           6
54306984      SEMO GUN SALES LLC                        125 RIVER RIDGE LN                   CAPE GIRARDEAU      MO           1
54305838      SULLIVAN GUN WORKS LLC                    727 VIRGINIA                         JOPLIN              MO           1
54313812      TERRY TACTICAL INC                        505 SW BONANZA DR                    LEES SUMMIT         MO           1
54309478      TIER ONE WEAPON SYSTEMS LLC               17470 HWY HH                         LEBANON             MO           7
54312222      TRIPLE RIVER GUNSMITHING LLC              619 COMMERCIAL ST                    WARSAW              MO           7
54306071      WATSON, ROY ALLEN                         705 SOUTH J J HWY                    JASPER              MO           2
54307880      WESTEN MACHINE LLC                        1841 N OAK GROVE AVE                 SPRINGFIELD         MO           1

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16404253      144 TACTICAL LLC                          1903 US HWY 49 S                  FLORENCE         MS         406
16402440      ADVANCED TACTICAL ORDNANCE LLC            226 COUNTY RD 235                 ABBEVILLE        MS            5
16404572      AMMAR, AMMAR M                            410 OLD HICKORY DR                LAKE CORMORANT   MS            3
16404714      ANARCHY ARMORY LLC                        2568 W ROANE AVE STE A            EUPORA           MS            3
16403862      BCA INC                                   311 SECOND AVE                    SHELBY           MS          13
16404225      BLACK RIVER PRECISION LLC                 208 MEADOWS LN                    BENTONIA         MS            2
16404677      BOWEN ARMORY RIFLES LLC                   62 DONNIE GREEN RD                BASSFIELD        MS          10
16404139      BRUSHCREEK HOLDINGS LLC                   160 LAKEVIEW RD                   BRANDON          MS            1
16403789      BRYANT'S MACHINE SHOP, INC                5734 HWY 80 W                     JACKSON          MS            9
16404072      COTTON BRANCH CUSTOM FIREARMS LLC         915 ALLEN RD                      SMITHDALE        MS            7
16402854      DEEP SOUTH TACTICAL LLC                   588 GULDE SHILOH RD               BRANDON          MS          19
16404181      EVOLUTION LLC                             1015 HARRISON DR                  MCCOMB           MS            1
16404333      HELANBAK LLC                              1481 HWY 13 N                     COLUMBIA         MS         384
16403286      J & K SALES LLC                           2525 HIGHWAY 1 SOUTH SUITE B      GREENVILLE       MS            4
16404159      MODERN OUTFITTERS LLC                     3700 HWY 39 N STE B               MERIDIAN         MS        1288
16404019      NORSE PRECISION RIFLES LLC                1214 SPRING ST                    WAYNESBORO       MS            1
16404609      OAKES FIREARMS LLC                        511 METCALFE RD                   GREENVILLE       MS            1
16404167      OWENS, TERRY A                            423 FORREST CT                    COLUMBUS         MS            9
16404598      PRECISION RIFLE ORDNANCE LLC              895 GREENWOOD CHAPEL RD           CARTHAGE         MS            7
16404549      REMINGTON ARMS COMPANY LLC                366 STATELINE RD                  SOUTHAVEN        MS      443436
16404665      SANFORD'S SOUTHERN ARMS LLC               4344 LANGS MILL RD                FOREST           MS            2
16403548      SHERWOOD TACTICAL LLC                     3925 HWY 61 N                     CLEVELAND        MS          13
16401380      SMITH, DAVID E                            7265 DEAN RD                      LAKE CORMORANT   MS            4
16404251      SUNNY HILL FIREARMS INC                   1099 HAWTHORNE DR                 MC COMB          MS            2
16404079      TARGETMASTERS GUN REPAIR LLC              5564 CHAPEL HILL COVE             HORN LAKE        MS          32
16403899      TGC OUTDOORS LLC                          662 HWY 7 NORTH                   ABBEVILLE        MS          49
16404381      THE GUN SHOP LLC                          2440 MT PLEASURE RD               HERNANDO         MS            1
16404365      THE HUNTERS EDGE LLC                      407 HWY 11 SOUTH                  ELLISVILLE       MS            3
16404624      WINDLASS ARMORY LLC                       8 WINDLASS DR                     HATTIESBURG      MS            1
98101051      ALLEN, KIRBY LEROY                        99 STEVENSON RD                   FORT SHAW        MT          26
98101324      AMERICAN HUNTING RIFLES INC               1711 MOUNTAIN VIEW ORCHARD RD     CORVALLIS        MT            2
98155388      C SHARPS ARMS CO INC                      100 CENTENNIAL DR                 BIG TIMBER       MT         143
98101101      CHRISTOFERSON, BRYAN EUGENE               2011 BARRETT RD                   BILLINGS         MT            1


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                                                      RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                           CITY             ST   RIFLE MFG
98101132      COOPER FIREARMS OF MONTANA INC            3662 US HWY 93 NORTH             STEVENSVILLE     MT        1915
98102539      COTTINGHAM, KATRIN ERIL & COLEMAN,        88 BLACK HAWK LANE UNIT D        BELGRADE         MT            3
              ARMISTEAD L II
98102405      COTTRELL, CHARLES                         20 PONDEROSA DR                  ULM              MT          10
98102198      DEAD DOWN RANGE LLC                       2600 MAILBOX RD                  SHEPHERD         MT          45
98101729      DOOLEYS IRA OF MONTANA LLC                150 B NORTH EVERS CREEK          WHITEFISH        MT            1
98102105      FALKOR, SID INC                           2902 HWY 93 NORTH                KALISPELL        MT         942
98101025      GENTRY CUSTOM LLC                         314 N HOFFMAN ST                 BELGRADE         MT            6
98101104      GORDNER, GENE FRANKLIN                    646 S FOYS LAKE DR               KALISPELL        MT            3
98102061      HAYWIRE GULCH ATHLETIC CLUB LLC           172 FRONTIER TRAIL               KALISPELL        MT            5
98102370      IQ METALS INC                             4406 RATHBUN LN UNIT B           STEVENSVILLE     MT            1
98101746      JACK INC                                  620 3RD AVE W                    THREE FORKS      MT            6
98100867      KOHNKE, WILLIAM MICHAEL                   905 CIMARRON TRAIL               ELLISTON         MT            1
98101310      LEAHY, JAMES ROBERT                       4343 US HIGHWAY 87, BUILDING B   HAVRE            MT          11
98101677      MCCONNELL, NOAH LEE                       464 ASH ROAD SUITE D             KALISPELL        MT            1
98102344      MISTY VALLEY RIFLES & LEATHER LLC         1917 LAZY 3 LANE                 LINCOLN          MT            5
98101151      MONTANA RIFLE COMPANY                     3178 MT HWY 35                   KALISPELL        MT        1396
98102347      MORGAN, JASON                             117 EAST NORTH ST                BROADUS          MT            1
98102331      MT ARARAT DESIGN INC                      162 5TH AVE EAST NORTH           KALISPELL        MT            2
98102253      NEMESIS MACHINE LLC                       330 CANADA CREEK DR              BUTTE            MT          10
98101949      NIKAO OUTDOOR MEDIA LLC                   940 5TH ST                       MISSOULA         MT            6
98101706      NOREEN FIREARMS LLC                       131 JETWAY DRIVE                 BELGRADE         MT         365
98101902      PLOYHAR PRECISION INC                     33659 RAGHORN RD STE B           POTOMAC          MT          12
98133799      POWDER RIVER RIFLE CO INC                 201 CENTENNIAL DR                BIG TIMBER       MT         353
98101499      PROOF RESEARCH INC                        10 WESTERN VILLAGE LANE          COLUMBIA FALLS   MT         366
98135405      PURSLEY, AARON & OTTO, RONALD ROBERT      159 2ND AVE                      BIG SANDY        MT            6
98102522      ROCKY MOUNTAIN DEFENSE INC                311 MONTANA AVE                  DEER LODGE       MT            1
98102463      RW OUTDOORS LLC                           108 S MAIN ST                    SHERIDAN         MT            1
98101579      SNIPER CENTRAL LLC                        11585 CATTAIL WAY                MISSOULA         MT            6
98101226      SNOWY MOUNTAIN RIFLE COMPANY LLC          2935 STOCKYARD RD UNIT K2        MISSOULA         MT          29
98102022      WEBER CUSTOMS INC                         620 HOFFMAN DRAW                 KILA             MT            1
98102557      WHEELER, ALEX                             1213 EAST GLENDALE STREET        DILLON           MT          16
98102031      WILLOUGHBY, DANIEL WILLIAM                1246 RAIL ROAD                   HARDIN           MT            1
98101871      YATES, WAYNE EDWARD                       538 FESCUE SLOPE ROAD            FLORENCE         MT            2

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                                                    RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                            CITY               ST   RIFLE MFG
15611452      ALEXANDER, DONOVAN L                      3003 COLEMAN RD                   FAYETTEVILLE       NC           3
15609451      ANGSTADT ARMS LLC                         701 E ATANDO AVE                  CHARLOTTE          NC          74
15608525      ANSON TACTICAL ARMS LLC                   2975 WHITE STORE RD               WADESBORO          NC           2
15609766      APPALACHIAN ARMS INCORPORATED             48 WALDORF PLACE                  BRASSTOWN          NC           2
15604527      B&B FIREARMS LLC                          32618 BETHLEHEM CHURCH RD         NORWOOD            NC           5
15604383      BAITY'S CUSTOM GUNWORKS INC               2623 BOONE TRAIL                  NORTH WILKESBORO   NC           5
15604638      BARNES PRECISION MACHINE INC              1434 FARRINGTON RD                APEX               NC         426
15606622      BEAR CREEK ARSENAL LLC                    310 MCNEILL RD                    SANFORD            NC        3023
15610544      BEARING ARMS GUN & TACTICAL LLC           55 AIRPORT RD                     TAYLORSVILLE       NC           8
15611493      BNP INC                                   5910 ELWIN BUCHANAN DR            SANFORD            NC           1
15611439      BOGER, WESLEY SCOTT                       2034 MARTHA ELLEN RD              YADKINVILLE        NC          22
15611791      BROCKSTARMEN ARMS LLC                     115 E HARDEN ST STE 102           GRAHAM             NC           2
15611250      CAROLINA GUN AND RELOADING INC            993 LOWES LANE                    IRON STATION       NC           3
15604330      CHATHAM ARMS LLC                          130 MINT SPRINGS RD               PITTSBORO          NC           3
15611886      CREEK SPORTS SHOP LLC                     300 HARRIS CREEK RD               JACKSONVILLE       NC           1
15611777      DAVIS PRECISION GUNWORKS LLC              1180 OCEAN HWY N                  HERTFORD           NC           5
15603403      DEL-TON, INC                              330 AVIATION PARKWAY              ELIZABETHTOWN      NC       24829
15604397      FTA FIREARMS INC                          819 COLONIAL DRIVE                RALEIGH            NC
15612040      GRAHAM, JACK DONALDSON III                132 S SCALES ST                   REIDSVILLE         NC           2
15609943      GRANVILLE GUN WORKS INC                   208 F NORTH MAIN STREET           CREEDMOOR          NC           7
15607233      HEFFNER, KENNETH EUGENE                   219 DAVIS RD                      SHELBY             NC           3
15612039      HELL FIRE ARMORY LLC                      4716 CAROLINA BEACH RD            WILMINGTON         NC          16
15640357      HILTS, RICHARD JAY                        413 WHITEHAT RD                   HERTFORD           NC           1
15610536      HUTCHINSON, RONNIE LEWIS                  200 MAPLE CT                      LEXINGTON          NC          11
15611475      ICGW INC LLC                              4129 BURNWOOD TRAIL               DENVER             NC           2
15610860      INSURGENT TACTICAL LLC                    58 CUTTER CIRCLE                  SANFORD            NC          22
15611682      INTEGRITY ORDNANCE LLC                    178 OAK HAVEN DR                  STATESVILLE        NC           2
15610779      JAMES RIVER ARMORY                        745 HWY 117 S                     BURGAW             NC        2149
15611887      JOHNS, JACQUELINE PAIGE                   2142 GEORGIA RD                   FRANKLIN           NC           2
15607270      KOVACEVIC, KEVIN MATTHEW                  206 6TH STREET                    AYDEN              NC           2
15610427      LAZY K CARTRIDGE COMPANY LLC              456 US 70                         HAVELOCK           NC          15
15611808      LEAHY, BRUCE EDWARD                       8422 FOXTRAIL DR                  FAYETTEVILLE       NC           6
15610695      M14 PARTS & ARMORY LLC                    351 WALKER RD                     COLUMBUS           NC           5


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                                                      RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                            CITY             ST   RIFLE MFG
15612267      MCCOON, DANIEL W II                       3509 C WEST VERNON AVE            KINSTON          NC          64
15607858      MELVIN, LARRY DAVID                       4809 LANCASTER HWY                MONROE           NC           3
15606602      MURRAY, RANDY DEAN                        176 KELLI DR                      MARSHALL         NC           8
15611321      NELSEN II, CHRISTOPHER P M                5453 WYANDOTE DR UNIT B           HOPE MILLS       NC           1
15609732      NEWTOWN FIREARMS MANUFACTURING LLC        751 S. CHURCH ST                  GOLDSTON         NC           6
15603314      OUTDOOR COLORS LLC                        286 INDUSTRIAL PARK               RUTHERFORDTON    NC       11946
15610397      PILOT MOUNTAIN ARMS LLC                   412 AMBER DAWN LN                 RALEIGH          NC           7
15612398      PRICE ARMORY LLC                          125 W PALMER STREET               RAEFORD          NC           2
15609712      RD'S GUNS AND AMMO LLC                    1901 LIBERTY DR                   THOMASVILLE      NC          17
15609870      RICKS OUTPOST INC                         410 OAK ST EXT                    FOREST CITY      NC          10
15604372      RIFLEMAN CONSULTING LLC                   201 REMINGTON LANE                CARTHAGE         NC          37
15610984      RILEY DEFENSE INC                         2975 INTERSTATE ST                CHARLOTTE        NC        1079
15608729      RTD PRECISION LLC                         1333 LOOP RD                      BUNNLEVEL        NC           4
15609181      SERIG,SCOTT ROBERT                        2704 TOWNES DRIVE                 GREENVILLE       NC           2
15611567      STAND YOUR GROUND NC INC                  2017 DEEP WOODS DR                HENDERSONVILLE   NC           3
15612128      STEVES GUNS INC                           133 WESTWIND LANE                 LOUISBURG        NC           1
15610522      STICKLE, WILLIAM ROBERT                   1402 TIMBER LANE                  ASHEBORO         NC          34
15611731      STORMWIND LLC                             195 LONE STAR ST                  SALISBURY        NC           1
15610245      STUMPIES CUSTOM GUNS INC                  628 W CORBETT AVE                 SWANSBORO        NC          14
15609063      STURM RUGER & COMPANY INC                 271 CARDWELL RD                   MAYODAN          NC      253318
15606057      SURF CITY GUNS & AMMO LLC                 127 SOUND ROAD                    HOLLY RIDGE      NC         300
15604129      TEMPLAR CONSULTING LLC                    104 BUTTERMILK WAY                APEX             NC           3
15611829      TEN EIGHT CUSTOM TACTICAL LLC             26334 NC HWY 48                   WHITAKERS        NC           4
15611510      THE AK GUY INC                            581 EXECUTIVE PL STE 100 A        FAYETTEVILLE     NC           3
15610757      THE GUN GARAGE LLC                        6745 SUGAR HILL RD                MARION           NC           1
15607560      TMW ENTERPRISES LLC                       3520 GILLEY DR                    JONESVILLE       NC           9
15604740      TOOLEY CUSTOM RIFLES LLC                  479B TAR CREEK RD                 ORIENTAL         NC          10
15610908      TURNER ARMAMENT LLC                       1287 RIPKEN DR                    HICKORY          NC           2
15604887      USA TACTICAL FIREARMS LLC                 933 MEACHAM RD                    STATESVILLE      NC           6
15611207      WAR SPORT MANUFACTURING LLC               13117 NC HWY 24/27                EAGLE SPRINGS    NC         281
15611191      WARREN, JOHN ASHLEY                       1114 ROBINWOOD RD                 NEWTON           NC           2
15607228      WEST BACKUP LLC                           5304 GRAYCLIFF DR                 GREENSBORO       NC           2
15611513      WOLF HUNTER ORDNANCE LLC                  1512 OCTONE DR                    WILLOW SPRING    NC           1


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                                                      RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                           CITY               ST   RIFLE MFG
34501078      BULLET CENTRAL LLC                        1102 PAGE DRIVE SOUTH            FARGO              ND           3
54701735      3RD DEGREE ARMAMENTS LLC                  908 PORT ROYAL DR                PAPILLION          NE           9
54701505      BALLISTIC SUPERIORITY LLC                 1148 3RD AVE                     DANNEBROG          NE           2
54702081      BEEKMAN, BRIAN & NANCY                    567 GOLF RD                      SOUTH SIOUX CITY   NE           1
54701183      FCW LLC                                   5370 HWY 77                      CORTLAND           NE          15
54701811      HATCHER GUN COMPANY LLC                   76650 RD 342                     ELSIE              NE           9
54701787      LEADFOOT LLC                              716 4TH AVE                      HOLDREGE           NE          24
54701615      OMAHA TACTICAL RANGE AND SUPPLY INC       6481 1/2 S 86TH CIRCLE           RALSTON            NE          38
54702023      PEAK BATTLE SYSTEMS MANUFACTURING LLC     2118 WOODFORD ST                 ARCHER             NE           4
54701179      PERFECT TURNING INC                       218 E THIRD STREET               KIMBALL            NE          12
54702076      PRAIRIE TACTICAL LLC                      1920 9TH AVE                     KEARNEY            NE           3
54701739      RUN N IRON LLC                            10116 RD 744                     BERTRAND           NE           3
54701421      SNYDER, SCOTT ARTHUR                      78548 HWY 2                      MASON CITY         NE           2
54702161      TAGONIST CUSTOM GUN WORKS LLC             18111 Q STREET SUITE 103         OMAHA              NE          25
54700741      TM RIFLE ACCURACY & GUNSMITHING LLC       112 SUMMERHAVEN LAKE             KEARNEY            NE           2
54701663      ZERMATT ARMS INC                          100 MONROE ST                    BENNET             NE           3
60202055      BLACK OP ARMS LLC                         224 WASHINGTON STREET            CLAREMONT          NH          62
60202899      CARACAL USA LLC                           33 PISCATAQUA DR                 NEWINGTON          NH          35
60202708      GREAT NORTHERN SPORTS CENTER INC          237 ROCKINGHAM RD                DERRY              NH           3
60202135      HISTORICAL SHOOTING INC                   623 MEANY RD                     CHARLESTOWN        NH           1
60201938      HOOK, ANTHONY PAUL                        18 LAMY DR UNIT #5               GOFFSTOWN          NH          38
60202715      MACPHERSON FIREARMS LLC                   87 ROUTE 27                      BRENTWOOD          NH          25
60201012      MATRIX AEROSPACE CORPORATION              421 RIVER ROAD                   CLAREMONT          NH          15
60202814      Q LLC                                     4 CUTTS ST UNIT 3                PORTSMOUTH         NH         201
60202671      ROBERTS, RAYMOND WALLACE III              17 HALE RD                       WINCHESTER         NH           1
60202354      RP ABRASIVES & MACHINE INC                20 SPAULDING AVE UNIT 2          ROCHESTER          NH       28982
60201816      SIG SAUER INC                             72 PEASE BLVD                    NEWINGTON          NH       35896
60201128      SIG SAUER INC                             12 & 18 INDUSTRIAL DR            EXETER             NH          24
60201484      STURM, RUGER & COMPANY, INC               411 SUNAPEE ST                   NEWPORT            NH        1393
60200735      STURM, RUGER & COMPANY, INC               529 SUNAPEE ST                   NEWPORT            NH      406379
60201355      WHITE MOUNTAINS FIREARMS LLC              1305 WHITE MOUNTAIN HIGHWAY      NORTH CONWAY       NH           4
60201658      WICKED WEAPONRY LLC                       21 LONDONDERRY TURNPIKE UNIT 1   HOOKSETT           NH          42
82201671      GRIFFIN & HOWE INC                        270 STANHOPE SPARTA RD           ANDOVER            NJ          35


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                                                      RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                                 CITY            ST   RIFLE MFG
82201527      GSD COATINGS LLC                          2 INDUSTRIAL DR STE G                  KEYPORT         NJ          48
82200698      HENRY RAC HOLDING CORP                    59 E 1ST ST                            BAYONNE         NJ      235037
82201650      JERSEY ELITE MANUFACTURING LLC            198 GREEN POND RD                      ROCKAWAY        NJ           4
82201309      PANELCRAFT INC                            105 W DEWEY AVE BUILD C UNIT 16        WHARTON         NJ           3
58502603      ALTER EGO FIREARMS LLC                    550 ESPERANZA DR                       BOSQUE FARMS    NM           4
58502642      BAD TO THE BONE MUZZLELOADERS AND         4620 WHISPERING PINES LN               LAS CRUCES      NM           1
              ACCESSORIES LLC
58534601      BEDEAUX, ROY                              8203 GUADALUPE TRL NW UNIT A           LOS RANCHOS     NM           5
58501813      BLACK BEAR ENTERPRISES LLC                11520 SAN BERNARDINO DR NE             ALBUQUERQUE     NM           6
58501969      BLACKBRIAR INC                            2700 GIRARD BLVD NE STE #A             ALBUQUERQUE     NM           8
58501479      C & R GUN SHOP LTD CO                     444 NIAGARA N E                        ALBUQUERQUE     NM           1
58502374      CGS RIFLES LLC                            206 FLETCHER RD                        ARTESIA         NM          68
58502372      CGS SUPPRESSORS LLC                       206 FLETCHER RD                        ARTESIA         NM          15
58502148      CROOKED HORN FIREARMS LLC                 2703 JOHNSON ROAD                      ARTESIA         NM           3
58502011      DOUBLE T SQUARED FIREARMS LLC             14317 MEL SMITH CT NE                  ALBUQUERQUE     NM           1
58502074      FIREBIRD PRECISION FIREARMS, LLC          16 HIDDEN VALLEY ROAD                  JEMEZ SPRINGS   NM           4
58502156      FOUCH ARMS MANUFACTURING COMPANY, LLC     3589 HIGHWAY 47                        PERALTA         NM           4
58502680      GALLEGOS GROUP LLC                        6301 RIVERSIDE PLAZA LANE NW SUITE 3   ALBUQUERQUE     NM           1
58502502      MAUCK, WAYNE RUSSELL JR                   1008 AVENIDA DE LAS CAMPANAS           SANTA FE        NM           1
58502173      MCCALL, DAVID A                           5603 RAVELLA DR                        FARMINGTON      NM           1
58501837      OMNI ARMS LLC                             11215 CENTRAL AVE NE                   ALBUQUERQUE     NM           9
58501474      POWELL, DENNIS GLEN                       27854 HWY 70 E                         SAN PATRICIO    NM          14
58501585      ROY, ROBERT                               5940-A MIDWAY PARK BLVD                ALBUQUERQUE     NM           1
58501546      SILENCER TECH LLC                         500A COUGAR DR                         LOGAN           NM           7
58501645      STRYKERS SHOOTING WORLD LLC               415B S VALLEY DR                       LAS CRUCES      NM           6
98800094      ARSENAL INC                               4395 W POST RD UNIT 100                LAS VEGAS       NV        1521
98804219      AXELSON TACTICAL LLC                      867 MAHOGANY DRIVE                     MINDEN          NV         148
98804820      BATTLE ARMS DEVELOPMENT INC               180 CASSIA WAY SUITE 510               HENDERSON       NV          30
98803415      BATTLE ARMS DEVELOPMENT INC               451 E SUNSET RD                        HENDERSON       NV          11
98803943      BATTLE BORN ARMAMENT LLC                  1948 JANIE LANE                        ELKO            NV           1
98803103      BILLET RIFLE SYSTEMS LLC                  5070 SIGSTROM DR                       CARSON CITY     NV           8
98800975      BLACK BEARD RESEARCH & DEVELOPMENT LLC    904 VISTA PARK DR                      CARSON CITY     NV           1
98803208      BONANNO, GABRIEL                          17200 HWY 395 N                        RENO            NV           1
98803399      CBE INC                                   2241 D PARK PLACE                      MINDEN          NV         356

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RDS KEY       LICENSE NAME                              STREET                             CITY                     ST   RIFLE MFG
98804424      CITIZENS AMMUNITION LLC                   4216 N PECOS RD WAREHOUSE #108     LAS VEGAS                NV           1
98804663      D MILLER RIFLES LLC                       3605 W TWAIN AVE                   LAS VEGAS                NV          24
98801121      DESERT ORDNANCE LLC                       300 SYDNEY DRIVE #102              MCCARRAN                 NV          32
98802773      FIME GROUP LLC                            4395 WEST POST RD UNIT 200         LAS VEGAS                NV        2190
98801258      FULLER, JIMMIE L                          3855 E PATRICK LANE #125           LAS VEGAS                NV          46
98804779      GOT YOUR 6 LLC                            8912 SPANISH RIDGE AVE STE 210-9   LAS VEGAS                NV           7
98804211      GUNS N ARROWS INC                         1321 HWY 395 #A                    GARDNERVILLE             NV          38
98804341      IMPACT SPECIALTIES LLC                    3855 E PATRICK LANE #120-130       LAS VEGAS                NV         437
98803241      L & B CONSULTING SALES LLC                1918 WISEMAN LN                    GARDNERVILLE             NV           2
98803596      LAWRENCE, ALAN REECE                      750 FREEPORT BLVD #107             SPARKS                   NV           3
98804296      LIMCAT CUSTOM INTERNATIONAL LLC           58 GLEN CARRAN CIR                 SPARKS                   NV           1
98803253      M-13 INDUSTRIES LLC                       3455 S POLARIS STE 5               LAS VEGAS                NV           6
98803574      REEDS GUN WORKS LLC                       108 LAZY T LANE                    SPRING CREEK             NV           2
98804226      RENO GUNS INC                             2325 MARKET ST                     RENO                     NV           5
98804528      SALIENT ARMS INTERNATIONAL INC            6713 S EASTERN AVE                 LAS VEGAS                NV           5
98802883      SIERRA ORDNANCE COMPANY LLC               11845 OCEAN VIEW DR                SPARKS                   NV           2
98803073      VEGAS ARMORY LLC                          55 W MAYFLOWER AVE                 NORTH LAS VEGAS          NV           2
98804130      WESTSIDE ARMORY LTD                       7345 S DURANGO DR STE 106          LAS VEGAS                NV          99
98802391      WILD WEST GUNS LLC                        5225 WYNN ROAD                     LAS VEGAS                NV          69
98804566      YOUNGMAN LLC                              1317 BOULDER CITY PARKWAY STE D    BOULDER CITY             NV          16
61300619      A&J ARMS INC                              304 RT 304                         BARDONIA                 NY           8
61603815      ARMORERS BENCH LLC                        34 PINE ST                         LACKAWANNA               NY           1
61602828      AX TACTICAL LLC                           4947 COMMERCIAL DR STE 2           YORKVILLE                NY         175
61603892      BAUERS, PHILLIP S                         215 WEST HILL ESTATES              ROCHESTER                NY          79
61603144      BLUE TUNA GUNSMITHING LLC                 870 ONTARIO ST EXT                 KENMORE                  NY           6
61603552      BORDWELL, DILLON JAMES                    7205 US RT 11                      TULLY                    NY           2
61401551      CIRELLO, ARMAND R                         537 HUBB SHUTTS RD                 COBLESKILL               NY           6
61602707      CLUTE, BENJAMIN BRADFORD                  8200 STATE ROUTE 17C               ENDICOTT                 NY           1
61402024      DABY, GARY FRANCIS II                     27 SUNSET ROCK WAY                 BLOOMINGDALE             NY           2
61101081      DARK STORM INDUSTRIES LLC                 4116 AND 4122 SUNRISE HIGHWAY      OAKDALE                  NY         980
61101333      DEFEND USARMS LLC                         162 BROADWAY                       AMITYVILLE               NY           2
61636095      DENTICO, DAVID JON                        3712 MAIN ST                       WALWORTH                 NY           6
61100967      DRAKE ASSOCIATES INC                      33 NEW YORK AVE                    SHELTER ISLAND HEIGHTS   NY          29


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                                                      RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                            CITY           ST    RIFLE MFG
61401976      EG INDUSTRIES INC                         815 RT 32                         TILLSON        NY             3
61602913      HAYNES, CHARLES C                         7803 CAMRODEN RD                  ROME           NY             3
61604034      HENDERSON HARBOR ENTERPRISES LLC          8147 BENTON RD                    HENDERSON      NY             1
61603957      HYPERION ARMS AND AMMO LLC                3 OSSIAN ST STE 102               DANSVILLE      NY          522
61101271      JERRY'S FIREARMS AND SUPPLIES INC         436 CENTRAL AVE SUITE B           BOHEMIA        NY           15
61602093      JOHN HENRICH COMPANY INC                  2686 GREEN ST                     EDEN           NY             3
61602170      JUST RIGHT CARBINES LLC                   231 SALTONSTALL ST                CANANDAIGUA    NY         2444
61300458      KIMBER MFG INC                            1120 SAW MILL RIVER RD            YONKERS        NY        11378
61602574      LAGENDYK, JEFFREY M                       213 ELDER DRIVE                   FARMINGTON     NY             6
61100308      LRB OF LONG ISLAND INC                    96 CHERRY LANE                    FLORAL PARK    NY           68
61602475      REMINGTON ARMS COMPANY LLC                14 HOEFLER AVE                    ILION          NY         2223
61603750      SPECOP TACTICAL CENTER LLC                3056 STATE RT 11                  LISLE          NY          457
61401675      TJ GUNS LTD                               112 WADE RD                       LATHAM         NY             2
61601135      TURNBULL MANUFACTURING COMPANY            6680 RT 5-20                      BLOOMFIELD     NY           17
61604159      WOLF HOLLOW FIREARMS LLC                  5425 WOLF HOLLOW RD               ANDES          NY             5
61602057      XLI CORPORATION                           55 VANGUARD PKWY                  ROCHESTER      NY         1000
43104892      3G TACTICAL LLC                           1455 W MAIN ST STE A              TIPP CITY      OH             6
43102394      ACRODYNE MFG CO                           41 KINGSTON AVE                   COLUMBUS       OH           60
43404636      AMERICAN MUSKET'S LLC                     7250 COMMERCE DRIVE UNIT K        MENTOR         OH             7
43404294      AMERICAN TACTICAL CONCEPTS INC            2731 S MEDINA LINE RD             WADSWORTH      OH             5
43403691      AQUA GRAPHIX LLC                          3829 HAMILTON AVE STE 200         CLEVELAND      OH             1
43402759      ARES ARMS LLC                             4621 SLEEPY HOLLOW                MEDINA         OH             1
43404791      ARTEMIS ARMS LLC                          50 JACKSON ST                     PORT CLINTON   OH           35
43103870      ASSAULT WEAPONS OF OHIO LLC               582 N FAIRFIELD RD                BEAVERCREEK    OH           44
43403688      B & N ARMORY LLC                          169 LEXINGTON AVE                 ELYRIA         OH             1
43404865      BEACHLER, WILLIAM THOMAS                  634 HYDE SHAFFER RD               BRISTOLVILLE   OH             4
43105898      BRAUN, STEVEN A                           3366 PATTERSON HALPIN RD          HOUSTON        OH             5
43405538      BRIAN POWLEY ENGRAVERS LLC                206 OAKWOOD AVE                   BLOOMINGDALE   OH             3
43403656      BULLSEYE CUSTOM SHOP LLC                  1380 BONNIE DR                    MANSFIELD      OH           22
43405099      C&L GUNS LLC                              1771 CR 264                       CLYDE          OH             3
43405345      CHAMPION PRECISION FIREARMS LLC           4565 NORTH LEAVITT RD NW          WARREN         OH             1
43403105      CHESHIER, SHAWN                           10007 FRANCHESTER RD              BURBANK        OH             3
43104897      CQMD LLC                                  2766 LYNDLEY CT                   HILLIARD       OH           16


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RDS KEY       LICENSE NAME                              STREET                             CITY             ST   RIFLE MFG
43104071      CUMMINGS ENTERPRISES LLC                  3711 STERLING DR                   FRANKLIN         OH           3
43403855      DELTA GROUP TECHNOLOGY LLC                19240 TOWNSHIP RD 47               BELLE CENTER     OH           4
43103920      ELEMNT ARMS LLC                           6560 HOWICK RD                     CELINA           OH           4
43403068      ERDEK, MICHAEL CHRIS                      638-640 STATE ROUTE 7 NE           BROOKFIELD       OH           2
43104234      FAXON FIREARMS LLC                        11101 ADWOOD DR                    CINCINNATI       OH          27
43405460      HAYDEN CUSTOM FIREARMS LLC                23935 LEMOYNE RD                   PERRYSBURG       OH           5
43106108      IRON ELEMENT LLC                          6560 HOWICK ROAD                   CELINA           OH           1
43402108      ITHACA GUN COMPANY                        420 N WARPOLE ST                   UPPER SANDUSKY   OH           4
43403347      J AND J PERFORMANCE INC                   410 E WOOD ST                      SHREVE           OH          29
43403288      JOHN C SCALISE INC                        645 MANNING RD                     MOGADORE         OH           6
43100615      JOHNSON, JAMES DOUGLAS                    8141 ST RT 245                     DE GRAFF         OH           2
43105511      JONA CUSTOM STOCKS AND RIFLES LLC         1490 EDISON AVE                    HAMILTON         OH           1
43102471      JONA CUSTOM STOCKS AND RIFLES LLC         1546 LAWSON STREET                 WHEELERSBURG     OH           4
43436235      JONES, JOHNDAVID                          590 WOODVUE LANE                   WINTERSVILLE     OH           2
43103635      JONES, JOSEPH CURTIS                      6011 US RT 40 E                    LEWISBURG        OH           1
43102914      KALMAR GUNSMITHING LLC                    7029 LICKING TRAILS RD             HEATH            OH           2
43437065      KELBLY'S RIFLE RANGE INC                  7222 DALTON FOX LAKE RD            NORTH LAWRENCE   OH         203
43104033      LAUGHLIN, BARRY DAVID                     5304 MORRIS RD                     SPRINGFIELD      OH           4
43104816      LEACH, THOMAS D                           107 BOURBON STREET                 BLANCHESTER      OH           1
43105046      LETHAL PRECISION DESIGN & MFG LLC         6979 LOTT RD                       SUNBURY          OH          10
43405382      LEWTFM LLC                                140 WEST NORTH STREET              WOOSTER          OH           1
43401741      LINKE, RICHARD WILLIAM                    310 JUDSON RD                      KENT             OH           6
43404916      LINKIN ARMORY LTD                         316 NATHAN DR                      CLYDE            OH           7
43103822      LL EMERSON GROUP LLC                      9230 CR 2                          WEST MANSFIELD   OH          16
43102967      LUXUS ARMS LLC                            222 HOMAN WAY                      MOUNT ORAB       OH        1026
43403501      MARLOWE, RICHARD B                        726 ERIE ST                        WOODVILLE        OH           4
43403346      MESZAROS, ROBERT DANIEL                   9501 E CENTER ST                   WINDHAM          OH           4
43401651      OHIO ORDNANCE WORKS INC                   305, 310 AND 401 PARK DR           CHARDON          OH          56
43102008      ONE SHOT INC                              3761 ROUND BOTTOM RD               NEWTOWN          OH          37
43403241      PARTISAN ENTERPRISES LLC                  12351 PROSPECT RD, EAST BUILDING   STRONGSVILLE     OH         117
                                                        UNIT A
43403975      POZDERAC, JEREMY M                        1276 COLUMBIA RD                   VALLEY CITY      OH           2
43103816      PRECISION REFLEX INC                      710 STREINE DR                     NEW BREMEN       OH          59
43105466      QUEEN CITY ARMS LLC                       322 SYCAMORE ST                    NEW RICHMOND     OH          28

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                                                      RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                              CITY              ST   RIFLE MFG
43400282      ROONEY, TERRANCE L                        4140 ROOT RD                        NORTH OLMSTED     OH           3
43404913      S T A R T LLC                             797 COOL SPRINGS RD                 MINGO JUNCTION    OH           3
43403725      SD BOBASH ENTERPRISES LLC                 4404 OLD SAYBROOK DR                TOLEDO            OH           4
43103419      SFL ENTERPRISES INC                       1616 ST RT 28                       LOVELAND          OH          12
43405502      SPARK ENTERPRISES LLC                     2039 E WESTERN RESERVE ROAD SUITE   POLAND            OH           4
                                                        C
43102059      STOUTS GUN SHOP & REPAIR, LLC             5452 CR 26                          BELLEFONTAINE     OH          17
43405123      STRASSELLS MACHINE INC                    1015 SPRINGMILL ST                  MANSFIELD         OH       40511
43105224      TACK-DRIVER ARMS LLC                      6970 GRATE PARK DR                  NEW ALBANY        OH           4
43102558      THE GUN DR LLC                            5965 SPRINGFIELD XENIA RD           SPRINGFIELD       OH           1
43403009      THUNDER VALLEY PRECISION LLC              15786 TR 118                        KIMBOLTON         OH          13
43403883      TOMSIC, LEWIS                             11315 KINSMAN RD                    NEWBURY           OH           1
43404663      TOP LEVEL TACTICAL LLC                    970 WINDHAM COURT SUITE 4           YOUNGSTOWN        OH           4
43405208      TOWERS ARMORY LLC                         1469 TOWERS ST                      OREGON            OH          18
43404588      TRISKELE LLC                              2360 SHAWNEE RD                     LIMA              OH           2
43404591      TWISTED RIVER TACTICAL LLC                4564 ROHRDALE AVE NW                CANAL FULTON      OH          22
43405270      TWISTED RIVER TACTICAL, LLC               143 1ST ST SE                       MASSILLON         OH           6
43404727      VALLEY GUNSMITHING LLC                    6440 NORWALK RD STE I               MEDINA            OH           1
43402521      VALOR ARMS LLC                            2812 RIVERVIEW RD                   AKRON             OH           1
43403795      VIKTOR'S LEGACY CUSTOM GUNSMITHING LLC    1180 HIGH ST #4                     FAIRPORT HARBOR   OH           1
57306271      1776 ENTERPRISES LLC                      333840 E 1070 RD                    MCLOUD            OK           6
57304046      ABI GROUP LLC                             640 WEST 79TH ST                    TULSA             OK          10
57306547      BALLAGH INDUSTRIES LLC                    316 E 14TH STREET                   ADA               OK           3
57306398      BARRETT AND SONS SPORTING GOODS LLC       310 W MAIN ST                       DURANT            OK           7
57303351      BINGMAN, JOHN WILLIAM                     2010 SANDPIPER DR                   BLANCHARD         OK           1
57304247      BP OUTFITTERS LLC                         6709 E 41ST ST                      TULSA             OK           3
57304684      CAIN AND ABEL ENTERPRISES LLC             9950- C E 55TH PLACE                TULSA             OK           2
57305866      CAMO CORNER SURPLUS & TRUCK SALES LLC     15711 W 6TH ST                      ORLANDO           OK           4
57302798      COLD HAND ARMS LLC                        615 W WILSHIRE STE 1400             OKLAHOMA CITY     OK           2
57305155      COOL BILLET LLC                           199078 E COUNTY RD 41               WOODWARD          OK           4
57302390      CUTTING EDGE ARMS LLC                     6840 NW 11TH STREET                 OKLAHOMA CITY     OK           6
57305534      FIRINGLINE ARMS GROUP LLC                 69400 E HWY 60                      WYANDOTTE         OK           1
57336993      FRIEND, MICHAEL L                         69400 E HWY 60                      WYANDOTTE         OK           7
57305617      GENERAL PRODUCTS & SERVICES LLC           107 E MAIN ST                       WESTVILLE         OK          36

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                                                      RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                            CITY            ST   RIFLE MFG
57305307      GULLATT, PHILLIP SMITH                    13107 OLD STATE HWY 99            SEMINOLE        OK            1
57304721      HAILEY ORDNANCE COMPANY                   1661 EXCHANGE AVE                 OKLAHOMA CITY   OK          14
57302947      HAWKINS, RUSSELL BRENT                    402 ASH RD                        CHOCTAW         OK            8
57305758      HEWITT, KODEY CHARLES                     25500 EAST 111TH ST S             BROKEN ARROW    OK            4
57306211      INFINITY CUSTOM SERVICES LLC              6644 SE QUAIL RIDGE RD            BARTLESVILLE    OK          51
57306159      KILL ZONE LONG RANGE SOLUTIONS LLC        815 WINDSOR PL                    EL RENO         OK            4
57306315      MCCUNE, STEPHEN RONALD                    1116 COUNTY ST 2990               BLANCHARD       OK            4
57305420      PARABELLUM COMBAT SYSTEMS LLC             301 WORLEY ST                     STILWELL        OK            2
57305225      TAPE MATICS INC                           1539 INDUSTRIAL LN                TISHOMINGO      OK            1
57302059      THE SHOP LLC                              1704 DEAVILLE DR                  NEWCASTLE       OK            3
57303329      TWO RIVERS ARMS LLC                       3921 S BRYANT                     OKLAHOMA CITY   OK          22
57306585      WARHORSE ARMS LLC                         9276 S 258TH E AVE                BROKEN ARROW    OK            2
57304484      WHITE, RICHARD EDWARD                     41139 BEAR RD                     TERLTON         OK            1
57303923      ZELLER, DAVID W                           35167 EW 1310                     MAUD            OK            1
57336699      ZIMMERMAN, DAN B                          3840 SW 113TH                     OKLAHOMA CITY   OK            4
99304223      A-TEAM ARMS LLC                           201 SE 10TH ST                    GRANTS PASS     OR            6
99303056      ATTERO ARMS AND ACCESSORIES LLC           8235 N KERBY AVE                  PORTLAND        OR            1
99302497      AXTS INC                                  1851 CORDON RD SE                 SALEM           OR         205
99303808      B N B ARMORY LLC                          16187 MEADOWS RD                  WHITE CITY      OR            1
99304543      BLAGG RIFLES LLC                          801 SE NYE AVE                    PENDLETON       OR          20
99305619      BROWNS MACHINE AND HYDRAULIC CORP         90500 HWY 99 N                    EUGENE          OR            5
99305410      COAST TO COAST PRECISION LLC              370 SW NEWTON DR                  WALDPORT        OR            2
99303685      COLFAX TACTICAL, LLC                      1611 SW FIRST ST UNIT A           REDMOND         OR          20
99305437      CROSSHAIR CUSTOMS LLC                     2300 MAIN ST                      BAKER CITY      OR          75
99303182      EMERALD VALLEY ARMORY LLC                 147 W OREGON AVE                  CRESWELL        OR          29
99304642      ERATHR3 LLC                               484 PLEASANT VALLEY ROAD          MERLIN          OR          54
99305401      EXAKT EDGE MANUFACTURING INC              2880 FERRY ST SW                  ALBANY          OR            4
99304356      GREYHOUND TACTICAL SOLUTIONS, LLC         9555 SW BEAVERTON-HILLSDALE HWY   BEAVERTON       OR          45
99305211      JOHNSON CUSTOMS LLC                       90849 LALONE RD                   SPRINGFIELD     OR            4
99305151      KINETIC FIREARMS LLC                      11037 SE FLAVEL ST                PORTLAND        OR            4
99304063      MOA RIFLES, LLC                           2606 SW 4TH STREET SUITE B        REDMOND         OR         246
99301142      NOSLER, INC                               115 SW COLUMBIA STREET            BEND            OR        1078
99301001      NOVESKE RIFLEWORKS LLC                    594 NE E ST                       GRANTS PASS     OR        1696


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                                                      RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                            CITY            ST   RIFLE MFG
99305280      ORCO GUNWORKS LLC                         138 N WASSON ST                   COOS BAY        OR            2
99305168      OREGON RIFLEWORKS LLC                     12260 SW MAIN STREET              TIGARD          OR          20
99303209      PACIFIC TRADING GROUP LLC                 3395 48TH AVE NE                  SALEM           OR          94
99305416      PENHALL, PATRICK T                        18840 TUMALO RESERVOIR ROAD       BEND            OR            2
99304160      PIONEER GUN WORKS INC                     2460 HARVEST LANE                 SPRINGFIELD     OR          15
99305308      Q SHOT SUPPRESSORS LLC                    2140 NICK WAY                     GRANTS PASS     OR            2
99304043      R&J FIREARMS LIMITED PARTNERSHIP          11225 YOUNGBERG HILL RD           MCMINNVILLE     OR          25
99303260      RHEINSCHMIDT MFG, LLC                     5590 SW 195TH AVE                 BEAVERTON       OR            3
99305698      SASQUATCH FIREARMS CO LLC                 1144 WILDERVILLE LN               GRANTS PASS     OR          12
99304128      SMOS ARMS INC                             484 PLEASANT VALLEY RD            MERLIN          OR          75
99305569      THOMPSON, CHAD D                          18350 S CLEAR ACRES DR            OREGON CITY     OR            1
99304557      THUNDER TECHNOLOGIES LLC                  144 SE109TH AVE                   PORTLAND        OR          14
99337182      TNW FIREARMS INC                          55325 TIMBER RD                   VERNONIA        OR        1197
99305030      TROSUSA, LLC                              22685 NE ILAFERN LANE             DUNDEE          OR            6
99304359      V7 WEAPON SYSTEMS, LLC                    450 FIR POINT LANE AGG BLDG 1     GLENDALE        OR          35
99304129      VIPER NORTHWEST INC                       1216 JACKSON ST SE                ALBANY          OR            1
99303509      VIPER TACTICAL ARMS LLC                   37367 REDWOOD HWY                 O' BRIEN        OR          14
99303052      WEYAND, JOHN L                            15221 PONDEROSA LOOP              LA PINE         OR            1
99302863      WYATTS OUTDOOR INC                        4856 PIONEER RD                   MEDFORD         OR            4
99302088      YEAMANS, MATTHEW B                        480 ROGUE RIVER PKWY              TALENT          OR          63
82502166      ACCURATE RIFLEWORKS, LLC                  11938 1/2 ROUTE 19 NORTH          WATERFORD       PA            1
82309134      ARMORY LLC                                818 INTERCHANGE RD                KRESGEVILLE     PA            9
82507025      BAER RIFLES LLC                           19714 SWAILES RD                  WILLOW HILL     PA          13
82303723      BLAK FORGE ARMOURY LLC                    1803 RT 287                       MORRIS          PA            2
82305770      BLOSS INDUSTRIES LLC                      206 MAIN ST STE 7                 BLOSSBURG       PA          18
82338992      BORDEN, JAMES F                           1325 SHELDON HILL ROAD            SPRINGVILLE     PA          13
82505590      BORDEN, ROBERT FRANCIS                    111 HALL ST                       SHEFFIELD       PA          13
82307984      BROWN FAMILY FIREARMS LLC                 6108 CARLISLE PIKE SUITE #100     MECHANICSBURG   PA            3
82506450      C & J ROOFING LLC                         452 S THIRD ST                    CHAMBERSBURG    PA            6
82507713      COMPULSIVE PAINTBALL INC                  619 MARKET ST                     MC KEESPORT     PA          14
82505884      CONTI INDUSTRIES LLC                      2340 COPPER VALLEY RD             SHELOCTA        PA            1
82505334      CROOKED CREEK ARMS LLC                    213 STANDING STONE AVENUE         HUNTINGDON      PA            7
82506649      CYA HOLSTERS LLC                          158 BERAM AVE                     BRIDGEVILLE     PA            7


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RDS KEY       LICENSE NAME                              STREET                            CITY                   ST   RIFLE MFG
82505374      CYCAK, ROBERT F                           503 MERCHANT ST                   AMBRIDGE               PA           2
82503004      DAVE BRUNO PRECISION RIFLES LLC           919 KITTANNING AVE                DAYTON                 PA           5
82310214      DAVIS, WILLIAM STANLEY AND MERSON, JOHN   105 LANTERN LN                    STEWARTSTOWN           PA          36
              MARSHALL
82310349      DEATH VALLEY TACTICAL LLC                 265 SICKLER POND ROAD             JERMYN                 PA           2
82505044      ER SHAW INC                               5312 THOMS RUN ROAD               BRIDGEVILLE            PA         331
82304778      FELEGIE, MICHAEL JR                       1233 TOMHICKEN RD                 FERN GLEN              PA           7
82504895      FORTIUS ARMS INC                          141 GLENCOE RD                    ERIE                   PA           2
82504565      FRANKLIN ARMS CO                          5416 3RD STREET                   MARION                 PA           6
82305100      GEISSELE AUTOMATICS LLC                   800 NORTH WALES ROAD              NORTH WALES            PA         124
82309252      GERVASIO, JOSEPH ANTHONY JR               788 1/2 700 RD                    NEW OXFORD             PA          35
82307940      GOAD, WILLIAM PAUL                        2626 FAIRVIEW AVE                 MOUNT PENN             PA           6
82300848      GOODLING, SIDNEY J                        1950 STOVERSTOWN RD               SPRING GROVE           PA           2
82507244      HGW LLC                                   1269 SCHOOL RD                    AVONMORE               PA           3
82506772      IRON CITY ARMS LLC                        162 A YANKOSKY RD                 CHARLEROI              PA           1
82305581      IWI US INC                                1441 STONERIDGE DRIVE             MIDDLETOWN             PA       14133
82508007      JENKINS, CHRISTOPHER MICHAEL              3129 RESERVOIR RD                 BEDFORD                PA           2
82306295      JMB DISTRIBUTION LLC                      856 GRANDELL AVE                  READING                PA           2
82507564      JMC TACTICAL LLC                          296 MURDOCKSVILLE RD              CLINTON                PA          95
82309076      KEYSTONE ACCURACY LLC                     1921 JOHNSON RD STE 100           PLYMOUTH MEETING       PA           3
82304013      KING, MARK S                              238 NOTCH RD                      DUNCANNON              PA          15
82304234      LANCER SYSTEMS LP                         2800 MILFORD SQUARE PKE           QUAKERTOWN             PA          36
82307328      LEISTER, PRESTON                          419 CHENEY RD                     COLUMBIA CROSS ROADS   PA           4
82302810      M & B CUSTOM FIREARMS INC                 58 VILLAGE RD                     ETTERS                 PA           7
82507740      MARS ARMORY LLC                           1515 THREE DEGREE RD              MARS                   PA           6
82303867      MOUNTAIN COMPETITION PISTOLS LLC          3286 MOUNTAIN VIEW DR             TANNERSVILLE           PA           2
82304762      MUIR HOLLAND ENTERPRISES INC              180 CENTER HALL RD                COCHRANVILLE           PA           1
82507394      NINE SEVEN FIREARMS LLC                   7927 LINDISFARNE DR               PITTSBURGH             PA          26
82502687      PENNSYLVANIA DEFENSE CONSULTANTS LLC      5731 SMITHFIELD ST                MC KEESPORT            PA           1
82300479      PNEU DART INC                             15223 STATE ROUTE 87              WILLIAMSPORT           PA        1248
82307692      PRITTS, WESTON LEE & BURIAN, ANTHONY      100 W SECOND ST UNIT 7            HUMMELSTOWN            PA          16
              WILLIAM
82507019      PROCISION ARMS LLC                        2236 AVELLA RD                    AVELLA                 PA           4
82305497      REBEL ARMS CORP                           67 MILLCREEK RD                   EAST STROUDSBURG       PA         297
82507263      RIDGELINE GUNSMITHING LLC                 163 MILL HILL RD                  WILLIAMSBURG           PA           3

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82308578      SAEILO INC                                105 KAHR AVE                       GREELEY            PA         500
82304810      SARCO INC                                 50 HILTON ST                       EASTON             PA          50
82506873      SCHWEINBERG, CYRIL J                      RD 1 SHERRETT RD                   COWANSVILLE        PA
82505096      SHAW PRECISION GUNS INC                   382 WASHINGTON AVE                 BRIDGEVILLE        PA         225
82300267      SINGLE SHOT RIFLES INC                    419 EMERY RD                       DINGMANS FERRY     PA          31
82306552      TACTICAL SHOOTING SPORTS LLC              508 LINCOLN ST                     SAYRE              PA           6
82333855      TAR HUNT CUSTOM RIFLES INC                101 DOGTOWN RD                     BLOOMSBURG         PA           2
82309715      TL TECHNOLOGIES INC                       2950 OLD TREE DR STE 1             LANCASTER          PA         308
82303270      U S ARMAMENT CORP                         121 VALLEY VIEW DR                 EPHRATA            PA         163
82501855      VERONESI, ANTHONY P & GEORGE R            3258 STATE ROUTE 28/66             NEW BETHLEHEM      PA           2
82504914      WASHINGER, LARRY EUGENE                   3528 ORRSTOWN RD                   ORRSTOWN           PA           2
16600314      ARMAGEDDON SPORTS CORP                    85 AVE 21 DE DICIEMBRE             SABANA GRANDE      PR           1
60500865      ATA MANUFACTURING INC                     125 HARRISON AVE                   WOONSOCKET         RI           2
15704477      ACE FIREARMS INC                          116 KAY DRIVE STE B                EASLEY             SC           1
15705681      ALPHA SIERRA INDUSTRIES LLC               905 N MAIN ST                      AYNOR              SC           8
15704502      AMERICAN TACTICAL INC                     231 DEMING WAY                     SUMMERVILLE        SC       20898
15701554      BILLY WILLS CHANG                         1066 RUSSELL ST                    ORANGEBURG         SC           9
15703141      BUCK RUN HUNTING LODGE LLC                620 BENS ROAD                      ESTILL             SC          14
15703200      CAROLINA CUSTOM RIFLES LLC                1162 CHINQUAPIN CHURCH RD          BATESBURG          SC           8
15705886      CBC INDUSTRIES INC                        2460 REMOUNT RD STE 106            NORTH CHARLESTON   SC         256
15705683      CHEYTAC USA LLC                           9801 HWY 78 BLDG 4                 LADSON             SC          12
15703422      CORMAC ENTERPRISES LLC                    22 HOLBROOK DR                     BEAUFORT           SC          40
15705439      D & R GUNSMITHING & SALES LLC             2837 UNIT E SOUTH LIVE OAK DRIVE   MONCKS CORNER      SC           1
15703590      DANIEL DEFENSE INC                        58 FIREFLY DR                      RIDGELAND          SC       28778
15702758      DC MACHINE LLC                            202 THORPE RD                      SUMMERVILLE        SC           1
15705275      DOC'S TACTICAL WEAPONS SYSTEMS LLC        103 NORTH MAIN ST                  BELTON             SC         140
15705851      ELITE FIREARMS LLC                        3120 WACCAMAW BLVD UNIT A          MYRTLE BEACH       SC           2
15702581      FN AMERICA, LLC                           797 OLD CLEMSON ROAD               COLUMBIA           SC       15614
15702231      GORDON SPECIALTY ARMS LLC                 2703-A OLD BUNCOME RD              GREENVILLE         SC           1
15705440      GUNN, JAMES VANE                          3120 WACCAMAW BLVD                 MYRTLE BEACH       SC          16
15701803      JARRETT RIFLES INC                        383 BROWN RD                       JACKSON            SC          42
15705130      JL CUSTOM ARMS LLC                        5214 MCCORMICK HWY                 BRADLEY            SC           2
15704654      LEAD STAR ARMS LLC                        100 ENTERPRISES PKWY               WEST COLUMBIA      SC          19


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                                                     RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                            CITY              ST   RIFLE MFG
15702453      LEXINGTON FIREARMS & GUN WORKS, LLC       106 HONEYBEE CT                   LEXINGTON         SC           1
15705674      OGBURN RIFLES LLC                         2001 ISEMAN RD                    DARLINGTON        SC           5
15705563      PALMETTO STATE ARMORY LLC                 366 E 5TH NORTH ST                SUMMERVILLE       SC        2343
15704905      PALMETTO STATE ARMORY LLC                 3365 SOUTH MORGANS POINT RD       MOUNT PLEASANT    SC         998
15702546      PALMETTO STATE ARMORY, LLC                2121 OLD DUNBAR RD                WEST COLUMBIA     SC       25221
15704597      PTR INDUSTRIES INC                        101 COOL SPRINGS DR               AYNOR             SC        1277
15705175      SECOND AMENDMENT WEAPONRY LLC             549 LEESVILLE CHURCH RD           CLINTON           SC           3
15705717      SMYRNIOS, JAMES ROBERT                    1713 HENRY RD                     CHESTER           SC           3
15703868      SPORTSMAN INC                             247 HANDS MILL HWY                ROCK HILL         SC           8
15704483      TRI COUNTY SALES INC                      9881 OCEAN HWY                    PAWLEYS ISLAND    SC           3
34601260      ALLIANCE CUSTOM ARMORY INC                18 SOUTH BROADWAY STREET          COLUMBIA          SD          51
34633475      H S PRECISION INC                         1301 TURBINE DR                   RAPID CITY        SD         131
34633933      MAYER, LOUIS                              422 N MAIN                        ISABEL            SD           3
34600878      REMINGTON ARMS COMPANY LLC                1310 INDUSTRY RD                  STURGIS           SD         809
34601083      SANDO ENTERPRISES LLC                     46879 110TH ST                    ROSHOLT           SD           1
34600644      SATTERLEE ARMS LLC                        21593 PAHKAMAA RD                 DEADWOOD          SD          10
34600738      TETON RIVER TRADERS GUN SHOP LLC          801 W HIGHWAY 14 & 34             FORT PIERRE       SD           5
16236907      BARRETT FIREARMS MFG INC                  5926 MILLER LANE                  MURFREESBORO      TN        4749
16208339      BERETTA USA CORP                          1399 GATEWAY DR                   GALLATIN          TN        2778
16208373      BOOMSTICK BALLISTICS LLC                  102 SEMINOLE DR                   MARYVILLE         TN           3
16209093      BULLDOG FIREARMS LLC                      390 S WINGATE WAY                 LENOIR CITY       TN           3
16206954      CHANDLER HARDWOODS INC                    107 E 2ND ST                      SOUTH PITTSBURG   TN          11
16206145      CROSS MACHINE TOOL CO INC                 312 LAW COMMUNITY RD              LEXINGTON         TN          36
16205316      CUSTOM DEFENSE LLC                        308 SOUTH WATER AVE SUITE A       GALLATIN          TN           7
16207156      CZECHPOINT INC                            5005 CHAPMAN HWY SUITE B          KNOXVILLE         TN         275
16208514      DAUNTLESS ARMS LLC                        134 UPPER JONES RD                LENOIR CITY       TN           1
16208304      ENCORE FURNITURE THRIFTS & MORE LLC       4870 OLD HIGHWAY 13               CUMBERLAND CITY   TN          23
16208337      GLENN, DAVID M                            530 CLOVERHILL LANE               LEBANON           TN           4
16209630      HANKES, BRET ARNOLD                       2400 SLAYDEN MARION RD            SLAYDEN           TN          38
16205819      IN RANGE INC                              1048 EAGLE VIEW DR                KODAK             TN           8
16204731      IRONWORKS MFG LLC                         1812 NORTH BROAD ST STE 2         TAZEWELL          TN           2
16208792      J&S COATINGS LLC                          1404 HWY 231 S                    BETHPAGE          TN           1
16206593      JERGER, MARK ALAN                         2004 ROBINSON RD                  KNOXVILLE         TN           1


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RDS KEY       LICENSE NAME                              STREET                            CITY              ST   RIFLE MFG
16203266      MCGUIRE, JOHN B                           2973 SHELLFORD ROAD               MC MINNVILLE      TN          41
16209518      MW HOLDINGS GROUP, LLC                    3070 DINKY LN                     MURFREESBORO      TN           5
16208682      NELSON, MICHAEL TRAVIS                    750 HAFNER RD                     CHARLOTTE         TN           1
16209357      NEVER ENOUGH GUNS LLC NEG LLC             2400 SLAYDEN MARION RD            SLAYDEN           TN          13
16203559      PERSIMMON RIDGE ENTERPRISES INC           273 FAIRFIELD DRIVE               GREENEVILLE       TN           3
16209193      PRECISION ARMS OF TENNESSEE LLC           115 ISLAND RD                     JACKSBORO         TN           2
16205304      RIEHL, MARK EDWARD                        2012 W STATE ST                   BRISTOL           TN           4
16208671      SLC FIREARMS LLC                          917 N MAIN ST                     SHELBYVILLE       TN           2
16209236      TACTICAL INVESTMENTS LLC                  436 HIGHWAY 72 STE #2             COLLIERVILLE      TN           1
16207129      TENNESSEE ARMS COMPANY LLC                517 LAKE ROAD                     DYERSBURG         TN         450
16209828      THE TACTICAL EDGE LLC                     219 INDUSTRIAL DRIVE UNIT B       CLARKSVILLE       TN          23
16208127      THE TACTICAL EDGE LLC                     1925 FT CAMPBELL BLVD UNIT C      CLARKSVILLE       TN         103
16208955      THOMAS, ETHAN AUGUST                      2210 FAIRFAX DRIVE                CLARKSVILLE       TN           6
16209265      VETERAN OUTDOORS CORP                     14 NATCHEZ TRACE DRIVE            LEXINGTON         TN          92
16209127      VISIONARY FABRICATION LLC                 3081 HORSESHOE BEND LN            KNOXVILLE         TN         338
16207478      WHITNEY, SHAWN H                          792 ISAAC DR                      CLARKSVILLE       TN           3
16206220      WILLYERD, JACK E AND ERIC J               4820 OLD HWY 48                   CUNNINGHAM        TN           3
57510073      4W INC                                    3403 SW 6TH AVE                   AMARILLO          TX          13
57509545      5 TOES CUSTOM LLC                         1266 FM 407 STE A                 NORTHLAKE         TX          45
57602759      A M ROBERTS LLC                           19515 WIED RD SUITE D             SPRING            TX          21
57605413      A9 MANUFACTURING INC                      14401 INTERDRIVE W                HOUSTON           TX           5
57503538      AAA CLASICS OF AMERICA LLC                12390 RENDON RD                   BURLESON          TX          50
57603965      ALPHA EPSILON SYSTEMS LLC                 8729 FAIRBEND ST                  HOUSTON           TX           9
57408060      ALPHA EPSILON SYSTEMS LLC                 2007 LAMAR DR                     ROUND ROCK        TX           8
57510105      AMMO BIZ LLC                              803 CR 4446                       WHITEWRIGHT       TX          16
57407398      ARCHER MFG INC                            520 CR 108 UNIT 5                 HUTTO             TX          14
57407660      ATX ARMORY LLC                            12119 ROXIE DR                    AUSTIN            TX          39
57401497      AUSTIN PRECISION PRODUCTS INC             850 CR 177                        LEANDER           TX        1498
57509216      AVILA, EDWARD & JUAN C                    901 VZ CR 3215                    WILLS POINT       TX           1
57510630      B & P SHOOTERS SUPPLY LLC                 1308 STANFORD AVE                 BIG SPRING        TX           1
57604309      BAYOU ARMS INC                            4401 SPRING CYPRESS RD            SPRING            TX           2
57509557      BECK DEFENSE LLC                          168 CR 3672                       SPRINGTOWN        TX          10
57454185      BILL WISEMAN & CO, INC                    18456 ST HWY 6 S                  COLLEGE STATION   TX           7


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RDS KEY       LICENSE NAME                                 STREET                              CITY                ST   RIFLE MFG
57512223      BLACK FLAG UNITED LLC                        1724 S HWY 287                      CORSICANA           TX           3
57509972      BLACK HOG RIFLE COMPANY                      1309 BEN RICHEY DR                  ABILENE             TX           8
57511900      BLACK RIFLE CUSTOMS LLC                      574 CR 1362                         GARRISON            TX          30
57513156      BLINK DESIGN AND MANUFACTURING LLC           299 FM1903                          GREENVILLE          TX          14
57407313      BOEDEKER BROTHERS LLC                        1711 N AVE E                        SHINER              TX           4
57604153      BOOMER PRECISION LLC                         25003 PITKIN RD STE A500            SPRING              TX           6
57510548      BOOMTECH DEFENSE LLC                         621 E FM 1151                       AMARILLO            TX           7
57512810      BOUYER ARMS LLC                              125 CHAMPION CT                     WEATHERFORD         TX           8
57504967      BRADY, ANDREW SCOTT                          6207 RENWOOD DR                     FORT WORTH          TX           3
57512011      BRINKMANN, EDWARD WILLIAM & FRISBIE, MICAH   1337 BROADMOOR ST                   AMARILLO            TX          17
              LEE
57401220      BROWN, DAVID MICHAEL                         1904 N FM 1069                      ARANSAS PASS        TX           3
57605428      BULLETS, BLADES & CONCEALMENT LLC            111 I-45 SOUTH STE G-2              HUNTSVILLE          TX         290
57407314      CACTUS WEAPONS SYSTEMS INC                   109 PIERCE ST                       DEL RIO             TX           8
57512512      CARROLL, DANIEL PATRICK                      738 FECHTLER RD                     NOCONA              TX           2
57511249      CHARLIE SQUAD FIREARMS LLC                   10055 MANOR WAY                     FORNEY              TX           4
57504303      CLARK, KENNETH TRACY & SIDLEY, MATTHEW S     1003 WEST MAIN ST                   CARROLLTON          TX           9
57512630      CLOCKWORK ARMORY LLC                         16240 CR 4257D                      HENDERSON           TX           9
57512857      COVINGTON, STEPHEN / SIPP, TIMOTHY           48 AVIATION DRIVE SUITE 2           GILMER              TX           2
57512320      CPR MANUFACTURING LLC                        2300 B MCGARITY LN                  LUCAS               TX           3
57408922      CROSSROADS PRECISION RIFLES LLC              1602 LA VALLIERE ST                 VICTORIA            TX           6
57409217      CSR INDUSTRIES LLC                           401 BALL AIRPORT ROAD               VICTORIA            TX           9
57407994      CUSTOM DEFENSE FIREARMS LLC                  1911 E RANCIER AVE                  KILLEEN             TX          16
57603079      CUSTOM DESIGNED COMPUTERS LLC                6415 FM 2920 STE 6415               SPRING              TX         148
57508352      DANIELSON, MITCHELL JAY BYRON                168 CR3672                          SPRINGTOWN          TX           7
57511011      DARTER, DAVID KENT                           9008 WILLIS RD                      CASHION COMMUNITY   TX           3
57403973      DAVID WHITING                                2843 HAYDEN RANCH RD                FREDERICKSBURG      TX           6
57502360      DAVIS, JEFFREY S                             8026 CTY RD 146                     KAUFMAN             TX           1
57512497      DOBBINS, RICHARD, PAULA; KALEM               14465 S FM 1541                     AMARILLO            TX           2
57509750      DUKE COMPONENTS LLC                          190 WEAVER DRIVE                    SULPHUR SPRINGS     TX           8
57406445      DURY'S GUN SHOP INC                          819 HOT WELLS BLVD                  SAN ANTONIO         TX           9
57602760      EISEMAN, BARNEY A                            7502 BRYAN LANE                     MONTGOMERY          TX           2
57407889      ELTISTE STAMP ACQUISITIONS LLC               2000 WINDY TER #1A                  CEDAR PARK          TX           1
57604669      EMPTY SHELL LLC                              17711 WEST STRACK DRIVE             SPRING              TX           3

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                                                       RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                              STREET                             CITY            ST   RIFLE MFG
57510959      ENR ENTERPRISES LLC                       1907 AMESBURY CT                   SOUTHLAKE       TX            2
57605418      EO'S VENTURES LLC                         830 W 14TH ST                      HOUSTON         TX            8
57509739      ERWIN PAWN INC                            1506 SE 10TH STREET                AMARILLO        TX            8
57602230      ESG GUNWORKS LLC                          3000 N MAIN #3B                    BAYTOWN         TX          32
57605642      EVERYMAN TACTICAL LLC                     200 FM 1960 BYPASS RD E STE 238A   HUMBLE          TX            5
57505240      EXECUTIVE ARMAMENT LLC                    2028 FARRINGTON ST                 DALLAS          TX            1
57604022      F-1 FIREARMS LLC                          5045 FM 2920 RD                    SPRING          TX         761
57511416      FAILURE DRILL LLC                         115 E GREENFIELD DR                WAKE VILLAGE    TX            6
57511448      FAITH ARMORY TX INC                       507 US HWY 77 #404                 WAXAHACHIE      TX            5
57510923      FOLMAR, KENNETH JAMES                     8642 SOUTH HWY 287                 CORSICANA       TX            8
57603467      FORD, SHANNON L                           612 S. FRAZIER ST                  CONROE          TX            1
57604647      FORTRESS ARMS LLC                         2418 N FRAZIER ST STE 107B         CONROE          TX            2
57512962      FURR, TONY MARTIN                         1701 OSPREY CT                     CORINTH         TX            1
57509684      GARDNER, KEVIN P                          2683 BALL RD                       WHITEWRIGHT     TX            5
57507260      GLASS, JUSTIN CODY                        801 BOYD AVE                       MIDLAND         TX            1
57513223      GONZALES, JOEL SCOTT                      3005 CR 615                        ALVARADO        TX            5
57603925      GWINN, DOUGLAS WILLIAM                    3710 FARMERS CREEK CT              RICHMOND        TX            1
57601816      HACKETT, RICHARD                          11778 CLINT PARKER RD              CONROE          TX            4
57512608      HAR-CONN AEROSPACE INC                    5000 AUGUSTA DR                    FORT WORTH      TX          16
57511113      HARDESTY, JEFFERY L                       656 CR 8201                        NACOGDOCHES     TX            6
57513158      HEGAZY LLC                                6162 MAPLE AVE APT 1227            DALLAS          TX            2
57505250      HEINKEL, JASON                            429 CR 427                         TENAHA          TX          20
57405968      HELOTES TACTICAL FIREARMS LLC             14546 OLD BANDERA RD               HELOTES         TX          11
57512484      HENDRICK OUTDOORS LLC                     1191 FM 3208                       LIPAN           TX          11
57603521      HIGH STANDARD FIREARMS LTD                5151 MITCHELLDALE ST STE B-14      HOUSTON         TX         422
57401043      HILL COUNTRY RIFLE COMPANY INC            5726 & 5726B SAFARI DR             NEW BRAUNFELS   TX         182
57406249      HODGE DEFENSE SYSTEMS INC                 330 MELROSE PLACE #1               SAN ANTONIO     TX          48
57605383      HOLBROOK, THOMAS A                        232 BOWDEN ROAD                    HUNTSVILLE      TX            6
57403889      HRNCIR, ROSS                              1346 US HWY 77 S                   HALLETTSVILLE   TX            5
57512044      HUCKLEBERRY ARMS LLC                      181 COUNTY ROAD 8201               NACOGDOCHES     TX            2
57604573      HUNTER RIFLEWORKS LLC                     16522 HOUSE&HAHL RD SUITE F6       CYPRESS         TX          30
57507590      J A & M LLC                               2006 NORTH GARLAND AVE             GARLAND         TX            1
57512611      JACC PROCUREMENT LLC                      411 FERRIS AVE                     WAXAHACHIE      TX          30


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RDS KEY       LICENSE NAME                                 STREET                               CITY             ST   RIFLE MFG
57604761      JHP ARMORY LLC                               206 SHAW AVE                         PASADENA         TX           1
57601289      KENCO ARMS LLC                               610 DE LA GARZA                      WILLIS           TX           2
57403453      KIDD INNOVATIVE DESIGN LLC                   2633 TERMINAL LOOP RD                MCQUEENEY        TX        1182
57500776      KNIPSTEIN, ROBERT CHARLES                    1721 VENETIAN CIRCLE                 ARLINGTON        TX           3
57408475      KRIST, ALEX LEOPART                          105 SHOOTING CLUB ROAD BUILDING A    BOERNE           TX          16
                                                           UNIT 142
57406688      L C OUTDOORS LLC                             1716 SILVER SADDLE                   KERRVILLE        TX           7
57509917      LADD, BOBBY F & SIMPSON, SANDRA E            650 COX RD                           LUFKIN           TX           4
57405587      LAMBERT, BRIAN J & RACHEL L                  5130 SHAW RD                         TEMPLE           TX           1
57511911      LAMOTTE, JOSEPH THOMAS                       507 WEST PASCHAL                     TROUP            TX           1
57505714      LANE, TERRY RAY SR & WHITESIDE, KEITH ROY    12467 CR 580                         BLUE RIDGE       TX          11
57511388      LANTAC USA LLC                               1300 FORUM WAY STE B                 FORT WORTH       TX         136
57542125      LAU, MICHAEL RICHARD                         34280 N STATE HWY 108                MINGUS           TX           3
57605287      LINDLEY INDUSTRIES LLC                       635 9TH ST                           DICKINSON        TX          36
57603680      LOCKED AND LOADED ARMS INC                   2113 BAYPORT BLVD                    SEABROOK         TX          35
57408841      LOEFFLER, MAX                                4504 COLLEGE MAIN ST APT 211         BRYAN            TX           5
57512783      LONE STAR ARMORY LLC                         2006 MARTIN LUTHER KING FRWY         FORT WORTH       TX          50
57507020      M COOPER ENTERPRISES LLC                     4121 HEARTHLIGHT CT                  PLANO            TX           1
57407775      MANSFIELD, BRUCE EDWARD                      1203 HWY 71 W                        BASTROP          TX           1
57605439      MASON MUNITIONS CO                           1502 ALABAMA ST                      SOUTH HOUSTON    TX           2
57605160      MATTHEWS, CHRISTOPHER EARL                   11721 SPRING CYPRESS RD STE E8       TOMBALL          TX           9
57434208      MAVERICK ARMS, INC                           1001 INDUSTRIAL BLVD                 EAGLE PASS       TX       80275
57512683      MCCLELLAND, JAMES                            5440 PLAINVIEW RD                    MIDLOTHIAN       TX           1
57602488      MG ARMS, INC                                 6030 TREASCHWIG                      SPRING           TX          74
57503514      MICHAEL, STEVEN C                            1333 MIMOSA LN                       LEWISVILLE       TX
57505438      MILLER, MARK EVAN AND MISTY DAWN             8520 SHADY SHORE DR                  FRISCO           TX          11
57507856      MIRAGE ULR LLC                               1520 SOUTHEAST PKWY                  AZLE             TX          14
57604633      MOLON LABE FIREARMS LLC                      20535 W LAKE HOUSTON PKWY STE C108   HUMBLE           TX           1
57506844      MORELAND, WILLIAM GREGORY                    6025 APRIL ST                        SAN ANGELO       TX           1
57512787      MORRIS MANUFACTURING GROUP INC               207 INDUSTRIAL DR                    FORNEY           TX          90
57408063      NICHOLS GUNS INC                             10517 LEOPARD                        CORPUS CHRISTI   TX          28
57512944      OPERATOR ARMS LLC                            200 TEXAS WAY SUITE 250              FORT WORTH       TX          11
57511552      P L BENNETT ENTERPRISE & INVESTMENT FUND A   15732 S STATE HIGHWAY 121            TRENTON          TX          22
              INC
57507033      PANHANDLE TACTICAL LLC                       8507 HAMILTON DR                     AMARILLO         TX           6

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57602958      PATRIOT DEFENSE LLC                       800 ANDERS LANE                    KEMAH             TX          22
57406438      PAYETTE MFR LLC                           9814 MISTY PLAIN DR                SAN ANTONIO       TX           2
57407268      PEINE CUSTOM FIREARMS INC                 2379 COUNTY ROAD 4390              KEMPNER           TX           2
57605138      PITCHFORD CUSTOM GUNWORKS, LLC            28703 MARGERSTADT                  WALLER            TX           8
57511495      PITTINGER, MATTHEW T                      1109 CREEKWOOD LN                  LONGVIEW          TX           8
57405204      POLLOK, TRAVIS                            17363 N FM 81                      HOBSON            TX          33
57602655      POWERS METAL WORKS LLC                    10827 CLUBHOUSE CIR                MAGNOLIA          TX           6
57512138      PROMETHEUS ARMS LLC                       22 SPRING OAKS RD                  BURLESON          TX           9
57407384      R & J TEXAS ENTERPRISES INC               140 TIMBERLINE                     WHITNEY           TX           5
57603438      RADICAL FIREARMS LLC                      4413 BLUEBONNET STE 8              STAFFORD          TX       88430
57406569      RATLIFF TRADITIONS LLC                    108 MORGANS LANE                   COLLEGE STATION   TX          97
57406726      RED SE7EN RIFLE COMPANY LLC               5460 RANCH RD 32                   BLANCO            TX           5
57408651      REIDENBACH, JACOB WILLIAM                 529 HAPPY HOLLOW RD                BRENHAM           TX           2
57407611      RH CUSTOM GUNS LLC                        730 MUSTANG ST SUITE 7             FREDERICKSBURG    TX           3
57503567      RIDDLE, GROVER GLEN                       7749 COUNTY ROAD 409               GRANDVIEW         TX           1
57408947      ROCKY CREEK CUSTOMS LLC                   4566 FM 413                        MARLIN            TX           3
57407260      RODERO, MANUEL II                         2100 VILLAGE CENTER DR             BROWNSVILLE       TX           4
57501654      RODGERS, JIMMY E & RODGERS, TERESE B      21852 FM 449 SUITE A               LONGVIEW          TX           5
57512359      ROSS, CHARLES E JR                        2846 MACQUARIE ST                  TROPHY CLUB       TX          10
57510830      ROWLAND FIREARMS LLC                      1376 COUNTY RD 4165                QUITMAN           TX          16
57510179      RUGGLES, TELL WYATT & GENE J              1179 CR 257                        STEPHENVILLE      TX           3
57513349      RUSSELL, THOMAS WAYNE II                  2324 THOMAS DRIVE                  BROWNWOOD         TX           5
57409101      SAGE CREEK ENTERPRISES INC                237 PR 349                         HONDO             TX          21
57408793      SALTER, THOMAS RUSSELL                    1009 BLACK DIAMOND CT              PORTLAND          TX           7
57512558      SHADOWOOD ENTERPRISES LLC                 92 GRAPEVINE HWY 90                HURST             TX          15
57503222      SMITH, RICKY G                            1033 CR 4380                       DECATUR           TX         130
57406063      SMR MANUFACTURING LLC                     105 ALEXIS WAY                     KYLE              TX           3
57407799      SPORTSMAN'S ELITE LLC                     4520 DONIPHAN DR                   EL PASO           TX           6
57605384      STATE OF READINESS ARMS LLC               1210 1ST ST EAST STE C             HUMBLE            TX          82
57506393      STAY SAFE LLC                             211 A S CROCKETT ST                AMARILLO          TX          16
57605087      STEALTH PRECISION FIREARMS LLC            16666 HOUSE HAHL RD UNIT H2        CYPRESS           TX          32
57511910      STEPHENS, BOBBY JOE JR                    13677 FM 314                       BROWNSBORO        TX          16
57512874      STRATUS SUPPORT INDUSTRIES LLC            11000 SAINT JOHN RD                PILOT POINT       TX          13


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                                                     RIFLES MANUFACTURED
                                                                    428      IN 2017
RDS KEY       LICENSE NAME                              STREET                            CITY             ST   RIFLE MFG
57507875      SUNDANCE SKY LLC                          10305 N FREEWAY                   FORT WORTH       TX           2
57405395      SUPPRESSED TACTICAL SOLUTIONS LLC         901 BIGHORN DRIVE                 EDINBURG         TX           1
57604585      TAC 47 INDUSTRIES LLC                     1730 ELMVIEW DR STE D2            HOUSTON          TX          20
57603250      TACTICAL ARMS OF TEXAS LLC                12999 MURPHY RD STE M-16          STAFFORD         TX          58
57507235      TACTICAL PROFESSIONALS INC                35100 N STATE HWY 108             MINGUS           TX          12
57512567      TACTICOOL LLC                             6232 SW PKWY STE 104              WICHITA FALLS    TX           1
57513255      TEAM JC GUNS LLC                          5051 GORDON SMITH DR              ROWLETT          TX           1
57404409      TEMPLE CONTRACT STATION LC                119 NORTH 19TH ST                 TEMPLE           TX           3
57512153      TERRELL, JOSEPH DON                       1348 CR 3370                      SAN AUGUSTINE    TX           3
57507611      TEXAR SPORTS LLC                          244 WOODBINE DRIVE                BURLESON         TX           4
57408159      TEXAS ACCURACY COMPANY LLC                210 E ALAMO ST                    BRENHAM          TX           1
57408284      TEXAS COMBAT ARMS LLC                     50 BRIAR CROWN                    UVALDE           TX           6
57504236      THOROUGHBRED RIFLES LLC                   543 N 5TH ST                      GARLAND          TX           2
57603771      TOOLEY, RODNEY GREGE                      1511 INDIAN SHORES RD             CROSBY           TX           3
57407004      TREVINO, THOMAS                           105 BEAR TRACE                    FLORESVILLE      TX           9
57512976      TRIARC SYSTEMS LLC                        2500 US HWY 287 N                 MANSFIELD        TX         107
57404767      UNDERGROUND TACTICAL ARMS COMPANY         14141 W HWY 290 SUITE 510         AUSTIN           TX           6
57404908      UNRUH, MATHEW WAYNE                       1004 SOUTH GABRIEL DR             LEANDER          TX
57512390      WBDJR FREEDOM INVESTMENTS LLC             2399 COUNTY ROAD 1885             GRAPELAND        TX          11
57603895      WHITTAKER, BELINDA JO & MICHAEL LEE       550 CR 6474                       DAYTON           TX           7
57511168      WHOLESALE ARMORY LLC                      2298 COUNTY ROAD 14200            BLOSSOM          TX           2
57511561      WILEY ARMS LLC                            7921 RENDON BLOODWORTH RD         MANSFIELD        TX          11
57409148      WILSON COMPONENTS LLC                     205 BAUXITE DR                    JARRELL          TX           7
57502590      WISE LITE ARMS INC                        903 S ALLEN                       BOYD             TX           9
57511613      WOLFPACK WEAPONRY LLC                     9584 W 42ND ST                    ODESSA           TX           2
57402595      WORRELL, CHARLES H                        10479 FM 2093 TIVYDALE RD         FREDERICKSBURG   TX           1
57408451      WRIGHT METAL FINISHING LLC                106 WILDWOOD RANCH ROAD           ADKINS           TX          11
57407698      WSSTX INC                                 401 ISOM RD SUITE 350             SAN ANTONIO      TX           3
57603665      WTFIREARMS LLC                            3 CHANDLERS WAY                   MAGNOLIA         TX           3
57506014      WYER, DAVID STILES                        213 S 1ST ST                      MULESHOE         TX           2
98702651      3 PERCENT OUTFITTERS LLC                  30 NORTH MAIN ST UNIT B           KAMAS            UT          10
98703103      408 WORKS LLC                             2642 WEST 175 NORTH               HURRICANE        UT           3
98701528      AMERICAN FIREARMS MANUFACTURING           150 N NEW SADDLE DR               STOCKTON         UT           4
              COMPANY LLC
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RDS KEY       LICENSE NAME                              STREET                            CITY               ST   RIFLE MFG
98701433      ANDERSON, MITCHELL ROBBIE                 74 WEST 100 NORTH                 CENTERFIELD        UT           1
98701672      BAR-NEL INC                               2698 SOUTH REDWOOD RD STE K       WEST VALLEY CITY   UT           1
98703246      BLUE MOUNTAIN PRECISION LLC               3021 E 5000 S                     VERNAL             UT          23
98702208      BRETHREN ARMAMENT LLC                     2156 W PRINTERS ROW               WEST VALLEY CITY   UT          10
98701005      BROWNING ARMS COMPANY                     ONE BROWNING PLACE                MORGAN             UT         668
98702977      BULLETS AND BURNOUTS LLC                  5621 WEST WELLS PARK RD           WEST JORDAN        UT           1
98700716      CHILD, LELAND VERL                        4175 SOUTH 4300 WEST              WEST HAVEN         UT           2
98701806      CITIZENS ACADEMY LLC                      9470 SOUTH 560 WEST               SANDY              UT           5
98701532      CROSS CANYON ARMS LLC                     1010 W KERSHAW                    OGDEN              UT          23
98700554      D'ARCY ECHOLS & COMPANY                   98 WEST 300 SOUTH - UNIT #25      MILLVILLE          UT           2
98703519      DARKSIDE TACTICAL GROUP LLC               9468 SOUTH 560 WEST               SANDY              UT           3
98703526      DAVIDSON DEFENSE INC                      333 N STATE STREET                OREM               UT           2
98701385      DESERT TECH LLC                           1995 WEST ALEXANDER STREET        WEST VALLEY CITY   UT         630
98702569      DGXCM LLC                                 1135 W SUNSET BLVD                ST GEORGE          UT           8
98702294      DYNAMIC BALANCE MACHINE LLC               2500 S DECKER LAKE BLVD STE 6     WEST VALLEY        UT           6
98703289      FALLOUT ARMAMENT LLC                      125 SOUTH MAIN ST                 BRIGHAM CITY       UT           1
98702318      FIERCE FIREARMS LLC                       321 S MAIN                        GUNNISON           UT        1486
98703431      FREEMAN PRECISION FIREARMS LLC            627 COPPER COURT                  SANTAQUIN          UT           9
98703199      GOOD GUYS FINANCE LLC                     971 S STATE ST                    OREM               UT           2
98702410      HAIR TRIGGER LLC                          491 E 2650 N                      NORTH LOGAN        UT          13
98702422      HAMMER, BRUCE D                           304 WEST 400 SOUTH                MANTI              UT           1
98703375      HIGH DESERT ARMS LLC                      4256 S 950 E BUILDING B           SAINT GEORGE       UT          10
98702894      HOLMGREN BROTHERS ARMS LLC                6206 NORTH 4600 WEST SUITE A      BEAR RIVER CITY    UT           4
98702881      JANKE CUSTOM ARMS LLC                     150 S 100 W                       WILLARD            UT          13
98701641      JEPPSON, BRIAN COLE                       5408 W 10180 N                    HIGHLAND           UT           2
98701391      LENNYS GUNS & AMMO INC                    316 STATE ST                      PLEASANT GROVE     UT          15
98703614      LEVIE, DENNIS A                           976 NORTH INDUSTRIAL PARK DR      OREM               UT           8
98701922      MACHINE GUN ARMORY LLC                    545 W 9460 S                      SANDY              UT           2
98704452      MACKAY, BRYANT C                          3805 SOUTH 4220 WEST              GRANGER            UT
98703092      MILITIA INC                               2466 W STONEHAVEN LOOP            LEHI               UT          30
98703105      MOA CUSTOMS LLC                           2323 E ROLLING OAKS LN            LAYTON             UT           4
98702623      MOUNTAIN VIEW ARMS LLC                    2485 SOUTH 1350 WEST              LOGAN              UT          36
98702674      PATRIOT PRECISION LLC                     8265 EAST 7500 NORTH              LAPOINT            UT           7


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RDS KEY       LICENSE NAME                              STREET                              CITY              ST   RIFLE MFG
98702756      PEARSON SPECIALTIES LLC                   1964 SOUTH 275 EAST                 CLEARFIELD        UT          18
98701853      PRATT, STEPHEN D & JONI                   12441 S 4380 W                      PAYSON            UT          45
98703456      RACK AND RUNNIN' CUSTOMS LLC              13808 SO RALPH H WAY                HERRIMAN          UT           1
98701606      RED ROCK PRECISION LLC                    181 N COMMERCIAL ST                 MORGAN            UT         126
98703191      RIOT LLC                                  353 WEST 200 SOUTH SUITE 101        SALT LAKE CITY    UT           3
98702471      RK ENTERPRISES LLC                        49 W MAIN ST                        MT PLEASANT       UT           5
98702336      ROWDY'S LLC                               610 NO INDUSTRIAL RD                ST GEORGE         UT           2
98703139      SAGE COUNTRY RIFLES LLC                   3516 WEST 5000 SOUTH                ROY               UT           3
98703379      SR13 LLC                                  1338 WEST GLENBARR DRIVE            SPRINGVILLE       UT           1
98702386      STAHELI'S SHOOTING SUPPLIES LLC           363 E 200 S                         PLEASANT GROVE    UT          12
98700383      STAIR, BRAD S                             3621 A SOUTH 4700 WEST              WEST HAVEN        UT           5
98703258      STS MANUFACTURING LLC                     673 WEST 1ST ST BLDG 4A BAY 5       OGDEN             UT           2
98701886      SUB MOA FIREARMS LLC                      1669 NW HENEFER ROAD                HENEFER           UT          16
98734710      TDJ INC                                   550 NORTH CEMETERY ROAD, BUILDING   GUNNISON          UT        8992
                                                        #1
98702121      TEGRA ARMS INC                            523 S COMMERCE RD                   OREM              UT           1
98703241      VUDOO LABS INC                            4012 SOUTH RIVER ROAD UNIT 4F       SAINT GEORGE      UT          49
98701861      WASATCH ARMS LLC                          286 EAST EAGLERIDGE DR              NORTH SALT LAKE   UT           2
98702489      WILSON PRECISION ARMS INC                 204 PLAYA DELLA ROSITA STE #6       WASHINGTON        UT         813
15413806      20-X INDUSTRIES LLC                       186 DOE CREEK RD                    PEMBROKE          VA           1
15410684      ACCURACY X, INC                           733 MIDDLE VALLEY RD                HARDY             VA           2
15423622      ALEXANDER INDUSTRIES INC                  104 CENTRE CT                       RADFORD           VA         789
15412412      APPALACHIAN GUN WORKS LLC                 4568 BLUE RIDGE BLVD                BLUE RIDGE        VA           9
15405440      ASHBURY INTERNATIONAL GROUP INC           84 BUSINESS PARK CIR                RUCKERSVILLE      VA         788
15411555      ASHLAND GUN INNOVATIONS, INC              12233 WASHINGTON HWY                ASHLAND           VA          29
15413728      BACKGROUNDS UNLIMITED INC                 2309 LEE HWY                        MOUNT SIDNEY      VA           2
15414514      BACKWOODS SECURITY LLC                    9201 BEAVER BRIDGE RD               MOSELEY           VA           1
15418157      BBC OUTDOORS INC                          320 OLD FRANKLIN TURNPIKE           ROCKY MOUNT       VA           6
15414766      BE READY ENTERPRISES LLC                  5244 LAD LAND DR                    FREDERICKSBURG    VA          12
15412358      BLACK WIDOW DESIGN LLC                    2309 LEE HIGHWAY                    MOUNT SIDNEY      VA           2
15410353      DIORIO MANUFACTURING COMPANY LLC          32 SILVER LAKE RD                   HARRISONBURG      VA          17
15416108      E GIUFFRE INC                             400 GREYSTONE DR                    WIRTZ             VA           2
15424072      ECHO 3 WHISKEY ARMS LLC                   1108 COOLBROOK RD                   BEDFORD           VA          50
15416746      EDC TACTICAL LLC                          1100 ATHENS AVE STE D               RICHMOND          VA          40

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                                                      RIFLES MANUFACTURED
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RDS KEY       LICENSE NAME                               STREET                             CITY             ST   RIFLE MFG
15424182      EVANS, TIMOTHY RAY                         1849 CLEGHORN VALLEY RD            MARION           VA           2
15409033      FERGUSON, GLEN W                           RT 1 BOX 1134                      VIRGINIA BEACH   VA
15410897      HAWK HILL CUSTOM LLC                       506 LAUREL HILL RD                 VERONA           VA           6
15415639      HIGHFLYER ARMS LLC                         17 S 5TH ST SUITE O                WARRENTON        VA          10
15410871      HISTORIC ARMS CORP                         2464 PLANTATION CREEK LANE         CAPE CHARLES     VA          12
15407848      J & L GUNSMITHING, LLC                     645 MARGARET DR                    CHESAPEAKE       VA           8
15416013      JOHNSON, DONALD R                          RT 1 BOX 318 C                     GLEN ALLEN       VA
15408934      KAYLOR, ROGER M                            28199 LEE HWY                      MEADOWVIEW       VA           4
15402925      KRISS USA, INC                             912 CORPORATE LANE                 CHESAPEAKE       VA        3660
15412077      LIBERTY MANUFACTURING GROUP, LLC           7515 RANCO RD                      HENRICO          VA          23
15424121      MCQUILLEN, GARY ELWOOD                     7535 GUINEA ROAD                   HAYES            VA           3
15415734      MODERN PALADIN INC                         37 ORCHARD AVE                     HAMPTON          VA           1
15405553      OWENS, RANDELL SAM                         339 ELLEN DR                       GATE CITY        VA           1
15413630      PERFORMANCE FIREARMS LLC                   13345 HERSHEY DR                   NOKESVILLE       VA          17
15423970      RAPPAHANNOCK FIREARMS LLC                  246 FLETCHERS MILL RD              WOODVILLE        VA           1
15423839      S4 ARMAMENT LLC                            8018 UNIT B-5 HANKINS INDUSTRIAL   TOANO            VA           2
                                                         PARK
15411903      SAFESIDE TACTICAL LLC                      1201 SHENANDOAH AVE                ROANOKE          VA         246
15402923      SHAVER, HUBERT L                           RT 29 S                            N GARDEN         VA
15416619      SHEPHERD, JOHN J                           7910 N SADDLE RIDGE CT             CATLETT          VA           1
15418984      SOUTHERN ARMS LLC                          116 KINROSS DR                     WINCHESTER       VA           2
15423781      STAUNTON RIVER OUTDOORS LLC                508 B PITTSYLVANIA AVE             ALTAVISTA        VA           1
15406989      STERLING ARSENAL WORKS & TACTICAL SUPPLY   201 DAVIS DRIVE UNIT FF            STERLING         VA          68
              LLC
15413308      STERLING CUSTOM LLC                        1420 SHEPARD LANE UNIT B-9         STERLING         VA           5
15416454      STONEWALL ARMORY LLC                       101 TUCKER ST                      LEXINGTON        VA           3
15412544      SWVA ARMS LLC                              1123 FLORIDA ST                    SALEM            VA           5
15414745      TACTICOOL FIREARMS, LLC                    9913 WARWICK BLVD                  NEWPORT NEWS     VA          16
15409065      TERMINAL PERFORMANCE ASSOCIATES, LLC       110 HARTLAKE DR                    FREDERICKSBURG   VA          21
15409432      THE OSEN - HUNTER GROUP, LLC               5916 SEMINOLE TRAIL                BARBOURSVILLE    VA           1
15415731      TRIUNE ARMS LLC                            571 FROST AVE                      WARRENTON        VA           5
15423729      WALKER, JEFFREY LEWIS                      19234 INGLEWOOD RD                 CULPEPER         VA           1
15424194      YOULEN ENTERPRISES INC                     10239 FOXBOROUGH CT                MANASSAS         VA           1
60300433      AREOTEK INDUSTRIES LLC                     153 STAFFORD AVE                   MORRISVILLE      VT        3587
60300781      CATAMOUNT ARMS LLC                         70 MCDONALD LANE                   HINESBURG        VT           5

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RDS KEY       LICENSE NAME                              STREET                           CITY            ST    RIFLE MFG
60333217      CENTURY ARMS INC                          236 BRYCE BLVD                   GEORGIA         VT        19888
60300512      DECKER, THOMAS ALLEN                      1132 VT ROUTE 100                READSBORO       VT             1
60300946      FOGARTY, JOHN M                           270 WESTGATE LN                  NEWBURY         VT           21
60300884      GREEN MOUNTAIN CARBINE LLC                21 TATRO RD                      PLYMOUTH        VT             9
60300926      KINGDOM FIREARMS LLC                      60 UPPER QUARRY RD               NEWPORT         VT             3
60300864      MCNARY FIREARMS MANUFACTURING, LLC        18 PINE RIDGE RD                 VERNON          VT             8
60300705      MNR CUSTOM LLC                            1415 LITTLE CANADA RD            WEATHERSFIELD   VT             1
60300651      NEWLAN, STEVEN JAMES                      737 ROUTE 5 S                    WINDSOR         VT             1
60300696      PIKE, RANDALL S                           181 SPRAGUE RD                   WEST HALIFAX    VT             3
60300944      SHADOWBOLT OPERATIONS USA LLC             161 CENTRAL ST APT B             NORTHFIELD      VT             3
60300777      STEPHENS PRECISION, INC                   293 INDUSTRIAL DRIVE             BRADFORD        VT             1
60300838      TORRE RIFLE COMPANY LLC                   356 HARDSCRABBLE RD              MILTON          VT             6
99105664      ADVANCED COMBAT TECHNOLOGIES, INC.        37 TOWER BLVD                    ELMA            WA             5
99107250      AERO PRECISION LLC                        2320 COMMERCE STREET             TACOMA          WA         1223
99105684      AERO PRECISION LLC                        2340 S HOLGATE ST                TACOMA          WA          267
99106034      ALL AMERICAN ARMORY, LLC                  14969 W BOW HILL RD STE #2       BOW             WA             4
99104649      AREA 53 RESEARCH & DEVELOPMENT, LLC       1407 E CHATTAROY RD              COLBERT         WA           18
99105073      BENCHMARK BARRELS, LLC                    1105 PIONEER HWY EAST            ARLINGTON       WA             5
99107472      BETHEL ARMAMENT LLC                       14835 133RD AVE SE               YELM            WA             1
99106948      BIG IRISH GUN WORKS LLC                   5414 SWAN CT                     WEST RICHLAND   WA             1
99107016      BRIMSTONE GUNSMITHING INC                 4857 NW LAKE RD #115             CAMAS           WA             4
99107257      BUFFALO CREEK PRECISION LLC               1393 OLYMPIC WAY                 BELLINGHAM      WA             1
99104102      CANTRELL OUTDOORS LLC                     1017 300TH STREET NW             STANWOOD        WA             2
99106659      CASCADIA ARMORY, LLC                      1417 MAIDEN LN                   WENATCHEE       WA             1
99106194      CLEAR CREEK STOCKWORKS, LLC               5501 STATE ROUTE 272             COLFAX          WA             2
99105387      COBB CONSULTING GROUP LLC                 210 N WASHINGTON AVE             ARLINGTON       WA             6
99105914      DEFENSE ARMAMENT DESIGN LLC               1616 SPRING WATER                WENATCHEE       WA             2
99107167      E M INDUSTRIES LLC                        22427 92ND ST E                  BUCKLEY         WA             1
99106373      FIDDLER'S GREEN LLC                       744 CLAY ST                      PORT TOWNSEND   WA             1
99105285      FORT DISCOVERY INC                        250 CENTER PARK WAY              SEQUIM          WA             6
99105925      GREY GHOST PRECISION, LLC                 2916 107TH ST S                  LAKEWOOD        WA           68
99107365      H&H PRECISION LLC                         410 WARWICK ST                   ENUMCLAW        WA           38
99103919      HAGEN, KENNETH ROBERT                     410 WARWICK ST                   ENUMCLAW        WA           36


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RDS KEY       LICENSE NAME                              STREET                                 CITY            ST   RIFLE MFG
99104947      HARDENED ARMS LLC                         515 TUCKER AVE                         FRIDAY HARBOR   WA         337
99107054      HAYNES AND SONS GUNS LLC                  410 S FISKE ST                         SPOKANE         WA          19
99106381      JAAK TACTICAL LLC                         83 STRAITLAND RD                       PORT ANGELES    WA           6
99106894      JONES ARMS LLC                            63 HOOKER RD                           SEQUIM          WA          21
99105994      LIEMOHN MANUFACTURING, LLC                1425 E WALNUT ST                       KENT            WA           1
99104060      MATSON, ALBERT JAMES                      20211 NE YACOLT MTN RD                 YACOLT          WA           4
99107157      MCKINNEY, GARY STEPHEN                    13325 CHUCKANUT MOUNTAIN DR            BOW             WA          22
99106237      MD FIREARMS LLC                           414 PUYALLUP AVE SUITE A               TACOMA          WA           3
99106349      OKANOGAN ARMS CO LLC                      105 W OAK ST                           OKANOGAN        WA          13
99114520      OLYMPIC ARMS INC                          624 OLD PACIFIC HWY SE                 OLYMPIA         WA         371
99107401      OTTER CREEK PREMIUM FIREARMS LLC          41203 N HARDESTY RD                    ELK             WA           1
99104084      PATRIOT ARMS LLC                          12607 54TH AVE SE                      SNOHOMISH       WA           6
99107106      PEOPLES, GEORGE B JR                      7737 NE HARBORVIEW DRIVE               POULSBO         WA          12
99103294      R BROS RIFLES LLC                         2120 MOTTMAN RD SW STE A               TUMWATER        WA          48
99102421      RAINIER ARMS LLC                          2504 AUBURN WAY N                      AUBURN          WA         112
99106439      REHV ARMS LLC                             27623 COVINGTON WAY SE UNIT 2          COVINGTON       WA           2
99106050      ROLEN RIFLE WORKS LLC                     2720 MILL POND DR UNIT C1              MALAGA          WA           2
99105227      SCHILT, BRIAN                             1450 WRIGHT RD SE                      TENINO          WA          25
99106621      SLF LLC                                   17816 DUBUQUE RD                       SNOHOMISH       WA           5
99107352      SMITH, CYLE D                             5601 DESERT DOVE DRIVE                 WEST RICHLAND   WA           3
99107357      TACTICAL BLACKOUT GROUP LLC               1017 MELLEN STREET                     CENTRALIA       WA           5
99107463      TENEX INCORPORATED                        4261 SWEET ROAD                        BLAINE          WA           2
99105426      THE RANGE LLC                             1701 GARRETSON LN                      YAKIMA          WA          12
99103937      TRIPLETT FIREARMS COMPANY                 656 NW NORWOOD STREET                  CAMAS           WA           3
99101554      WILCOXEN, DAVID E SR                      3375 BLACKJACK TRAIL                   SEDRO WOOLLEY   WA           9
99107069      ZEV TECHNOLOGIES INC                      3712 NORTHPARK DRIVE                   CENTRALIA       WA         109
33908128      AIM HIGHER GUNSMITHING LLC                951 BLUFF ST                           BELOIT          WI           3
33907064      AMERICAN DEFENSE MANUFACTURING LLC        2525 S 162ND ST                        NEW BERLIN      WI         532
33908009      BADGER STATE ORDNANCE LLC                 17 1/2 WILSON AVE                      WESTON          WI           2
33906181      BMF TACTICAL SOLUTIONS, LLC               14100 W CLEVELAND AVE                  NEW BERLIN      WI           5
33903743      BRAVO COMPANY MFG INC                     340 MAPLE AVE                          HARTLAND        WI        6467
33906949      BUISSE, BRETT                             921 COMMERCE DR UNIT 2                 UNION GROVE     WI           5
33908944      BULLWINKLE SPORTS LLC                     28501 WILMOT RD BLVD 7 UNIT 3 STE 23   TREVOR          WI          17


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RDS KEY       LICENSE NAME                              STREET                           CITY              ST   RIFLE MFG
33904626      CUSTOM SERVICES LLC                       E10590 PINE ROAD                 FALL CREEK        WI           1
33905871      DEZ TACTICAL ARMS INC                     795 PLUM STREET                  WISCONSIN DELLS   WI          36
33907912      DT FIREARMS LLC                           209 LYNN AVE                     BARABOO           WI           2
33900732      EAST RIDGE / STATE ARMS GUN CO INC        6319 5TH AVE                     BANCROFT          WI           8
33907555      GADSDEN SERVICES LLC                      2391 GEMINI RD                   GREEN BAY         WI          15
33901266      HAYWOOD, LEROY EDWARD                     8540 HWY 153                     ELAND             WI           4
33903050      HEARING PROTECTION LLC                    801 SOUTH 12TH STREET            WATERTOWN         WI          14
33908718      HEMPE, MARK                               W1549 STATE ROAD 23              MOUNT CALVARY     WI           3
33903022      HENRY WISCONSIN LLC                       107 W COLEMAN                    RICE LAKE         WI       32177
33908953      HIGH VOLTAGE CUSTOM LLC                   417 E ROSENLUND ST               WOODVILLE         WI           2
33936623      HOWELL, KENNETH P                         5728 E CTY RD X                  BELOIT            WI           3
33907913      ION GROUP LLC                             W213S7530 ANNES WAY              MUSKEGO           WI           7
33907085      JEMAK LLC                                 W 226 N 4165 SUNDER CREEK CT     PEWAUKEE          WI          19
33905315      JOHNSTON PRECISION LLC                    W8907 MAPLE LN                   NIAGARA           WI           1
33904776      KUSTOM ARMS LLC                           1408 SOUTHRIDGE DR               NEW LONDON        WI           4
33900697      LAUER, STEVEN MICHAEL                     3601 129TH ST                    CHIPPEWA FALLS    WI          10
33903873      LONG RANGE RIFLES LLC                     601 SOUTH MAIN STREET            OSHKOSH           WI          24
33907431      MGS HOLDINGS GROUP LLC                    N80W14966 APPLETON AVENUE        MENOMONEE FALLS   WI           9
33904930      MIDWEST INDUSTRIES INC                    W292 S4498 HILLSIDE RD           WAUKESHA          WI         214
33906684      OEM TECHNOLOGIES LLC                      2927 ROEMER RD                   APPLETON          WI           2
33907592      ONETIME UNLIMITED LLC                     W4953 GRITTNER ST                WESTBORO          WI          24
33905869      PEEPS & JAWA LLC                          100 E HAVEN DR                   WATERTOWN         WI          10
33903497      PROVIDENCE TOOL CO, LLC                   N5338 COUNTY S                   PLYMOUTH          WI           3
33904639      SCOTSMAN ARMS LLC                         320 PUTNAM STREET SUITE 7        EAU CLAIRE        WI          16
33908833      STAPLES, DILLON TATE                      452 N 8TH STREET                 RIVER FALLS       WI           7
33906714      THE GUN SHOP LLC                          1452 SHERIDAN RD                 KENOSHA           WI           7
33908887      THUREON HOLDINGS LLC                      W185 N11521 WHITNEY DR           GERMANTOWN        WI         107
33906689      TOM E GUN LLC                             1720 N CLAIRMONT AVENUE          EAU CLAIRE        WI           2
33908067      WISCONSIN GUNS LLC                        226 S WALES RD                   WALES             WI           7
33907594      WORKS ARMAMENT LLC                        1 TAUNTON CIRCLE                 MADISON           WI           4
45503835      BLACK STAR TRADING COMPANY LLC            120 HEWES AVENUE                 CLARKSBURG        WV          17
45501738      BULLGATOR TACTICAL LLC                    4641 RIPLEY RD                   REEDY             WV          12
45503692      CHILDERS GUNS LLC                         521 GASTON AVE                   FAIRMONT          WV           4


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                                                      RIFLES MANUFACTURED
                                                                     428      IN 2017
RDS KEY       LICENSE NAME                              STREET                           CITY               ST   RIFLE MFG
45503183      HARPERS FERRY ARMORY INC                  301 N MILDRED ST                 RANSON             WV          46
45502891      HOSTETTER, MARK A                         74 DUPONT RD SUITE A             MARTINSBURG        WV          49
45502547      J W MANUFACTURING LLC                     703 MIDDLETOWN RD                FAIRMONT           WV          27
45502304      KNT ENTERPRISES LLC                       504 EVERETT GILLS LN             GALLIPOLIS FERRY   WV           2
45503699      LOD DEFENSE LLC                           3977 MOUNT CLARE RD              MOUNT CLARE        WV           1
45500132      MELVIN FORBES ENTERPRISES LLC             438 MIRANOV ST                   GRANVILLE          WV          44
45535630      PARRISKI, MICHAEL DAVID                   HC 37 BOX 58                     MAXWELTON          WV           1
45502685      THE CUSTOM GUN SHOP LLC                   5649 GEORGETOWN RD               HORNER             WV           1
45502860      VIGILANT SECURITY SERVICES LLC            21150 BARBOUR COUNTY HWY         PHILIPPI           WV           3
45501641      VINTEC MANUFACTURING LLC                  44 BERKELY DR                    SUMMERSVILLE       WV           7
45503353      VIQEN LLC                                 1781 PHILIPPI PIKE               CLARKSBURG         WV         249
58300948      BLISS ADVERTISING AND DESIGN INC          1107 PARKS RD                    WESTON             WY           1
58301214      BOLT CARRIER GROUP LLC                    1754 S WILSON ST                 CASPER             WY           2
58300887      D SCHIMMEL LLC                            5 GREASEWOOD CT                  ROZET              WY           2
58301709      DYK RIFLE AND MACHINE LLC                 7 CHONDELL DR                    CODY               WY           3
58301160      GRIFFIN ARMS LLC                          213 SOUTH AVE C1                 CHEYENNE           WY           4
58300591      GUNWERKS LLC                              2301 LIEUTENANT CHILDERS ST      CODY               WY         782
58301879      INSIGHT PRECISION ARMS LLC                4105 RD 82                       TORRINGTON         WY           4
58301722      MAC'S GUNWORKS AND SHOOTERS SUPPLY LLC    125 HOE CREEK RD                 GILLETTE           WY           1
58301616      MIDDLE TENNESSEE GUNSMITHING INC          600 ROLLING MEADOWS LN           LANDER             WY           2
58301302      PERFORMANCE OIL TOOLS INC                 3420 BIG HORN AVE                CODY               WY          40
58301010      RGS LLC                                   404 N JACKSON                    CASPER             WY           6
58300619      ROSENCRANSE, TREVOR S                     610 SOUTH 8TH ST                 BASIN              WY          14
58300988      RUBY, JASON TYLER                         6501 ROBIN DR                    GILLETTE           WY           3
58301860      SERIOUS FIREARMS AND TRAINING LLC         63 MOFFIT PLACE                  GLENDO             WY           1
58301174      TACTICAL SOLUTIONS INTERNATIONAL INC      177 BURRIS LENORE RD             CROWHEART          WY           3
58301324      TEAPOT CREEK PRECISION GUNSMITHING LLC    26795 N HWY 259                  CASPER             WY          11
58301883      VAPOR TRAIL PRECISION ARMS, LLC           4048 STRAWBERRY CREEK RD         BEDFORD            WY           1
58301472      WYO ARMS LLC                              6503 CROSSBOW TRAIL              CHEYENNE           WY          10
58301629      WYOMING ARMORY PRECISION FIREARMS LLC     553 14TH ST                      CODY               WY           2

                                                                                                                   2504092




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                                                   SHOTGUNS MANUFACTURED
                                                                   428         IN 2017
RDS KEY        LICENSE NAME                             STREET                              CITY               ST   SHOTGUN MFG
16305652      REMINGTON ARMS COMPANY LLC                1816 REMINGTON CIRCLE SW            HUNTSVILLE         AL           288
16300193      VOIGHT, JOHN BASIL                        114 SCENIC DR                       MADISON            AL            12
57103770      AAMLO ENTERPRISES LLC                     4501 LEXINGTON PARK CIRCLE          BRYANT             AR             1
57103338      ANNAH AIR LLC                             5001 ROCKPORT DR                    JONESBORO          AR             2
57105201      DSKTB GROUP LLC                           103 SW WINSTED LN STE 29            BENTONVILLE        AR            24
57105246      LEWIS, ROBERT TODD                        17900 AUSTIN LN                     LITTLE ROCK        AR             3
57104386      NIGHTHAWK CUSTOM LLC                      1306 WEST TRIMBLE AVE               BERRYVILLE         AR           152
57134716      WILSONS GUN SHOP INC                      2452 CR 719                         BERRYVILLE         AR           253
98607683      ASGARD DEFENSE SYSTEMS LLC                7810 N US HIGHWAY 89 SUITE 320      FLAGSTAFF          AZ             1
98609715      DOWN RANGE ENTERPRISES LLC                8807 E SQUAW PEAK DR                TUCSON             AZ             1
98609893      HOOKS, CAMERON                            4631 WEST CITRUS WAY                GLENDALE           AZ             1
98600790      KRAUS, BERNARD WILLI                      11445 E GOLVLINKS RD                TUCSON             AZ             2
93304565      FIREARM SALES UNLIMITED LLC               15224 AQUEDUCT LANE                 CHINO HILLS        CA
97702593      ISLAND VIEW ENTERPRISES INC               2359 KNOLL DR SUITE A               VENTURA            CA            27
96802044      WILLIAM J. CURTIN                         20 GALLI DR SUITE 14                NOVATO             CA            13
58402371      LIPPARD, KARL                             3259 ELECTRA DR SO                  COLORADO SPRINGS   CO             1
60634862      CONNECTICUT SHOTGUN MANUFACTURING CO      100 BURRITT STREET                  NEW BRITAIN        CT           160
60601848      HYDRO HONING LABORATORIES                 8 EASTERN PARK RD                   EAST HARTFORD      CT             1
60602196      STANDARD MANUFACTURING CO LLC             100 BURRITT STREET                  NEW BRITAIN        CT          3131
15914892      GREY TACTICAL OUTFITTERS LLC              503-A HARBOR BLVD                   DESTIN             FL             5
15918741      IRON SITE GUN SHOP INC                    8380 ULMERTON RD SUITE 308/310      LARGO              FL             4
15940806      KEL TEC CNC INDUSTRIES INC                1475 COX ROAD                       COCOA              FL         25413
15915979      PRAESTOLOR ARMS LLC                       2040 SHORT AVE                      ODESSA             FL             3
15932438      RWC GROUP LLC                             3901 NE 12TH AVE SUITE #400         POMPANO BEACH      FL           839
15908014      TACTICAL MACHINING, LLC                   1241 BISCAYNE BLVD                  DELAND             FL             1
15812006      HYDROSHOCK CUSTOM GRAFIX LLC              636-C S OLD BELAIR RD               GROVETOWN          GA             1
15840168      MEGGITT TRAINING SYSTEMS INC              296 BROGDON RD                      SUWANEE            GA             1
15811632      REYNOLDS HOLDINGS INC                     304 E MAPLE ST                      CUMMING            GA             2
15812793      VALOR RIDGE GUNS LLC                      1229 JOHNSON FERRY ROAD SUITE 201   MARIETTA           GA             1
54202967      FARRO'S LEAD FARM LLC                     30376 210TH AVENUE                  LONG GROVE         IA            30
98202664      CLASSIC CASE COLORS LLC                   7039 FUNKHOUSER RD                  BONNERS FERRY      ID            16
98202494      GENESIS ARMS LLC                          4259 W SELTICE WAY STE B            COEUR D ALENE      ID             6
98200131      SRM ARMS, INC                             4375-A WEST MCMILLAN                MERIDIAN           ID           502
33605568      3D INDUSTRIES INC                         500 FRONTIER WAY                    BENSENVILLE        IL             1
33605058      UTAS-USA LTD                              1247 RAND RD STE 1245, 1247, 1249   DES PLAINES        IL          2358


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                                                     SHOTGUNS MANUFACTURED
                                                                     428         IN 2017
RDS KEY        LICENSE NAME                              STREET                               CITY            ST   SHOTGUN MFG
43506112      CHAOS INC                                  424 N WILLOW ROAD                    EVANSVILLE      IN              2
43507290      FOSTECH INC                                8620 N US HWY 31                     SEYMOUR         IN             12
43504966      FOSTECH MFG LLC                            8620 N US HWY 31                     SEYMOUR         IN            128
43507261      PITTS, ERIC JAMES                          9099 ROSEDALE RD                     TERRE HAUTE     IN
54803929      CLARK, TODD ALAN                           2708 DRY CREEK                       GREAT BEND      KS             12
46101318      GREEN, ROGER G                             124 E MAIN                           SHELBYVILLE     KY
60401684      SMITH & WESSON CORP                        2100 ROOSEVELT AVE                   SPRINGFIELD     MA             21
85213126      COOKE, RICHARD STARK                       3228 ATLEE RIDGE RD                  NEW WINDSOR     MD              1
85202358      LWRC INTERNATIONAL                         815 CHESAPEAKE DRIVE                 CAMBRIDGE       MD              3
60102477      FIRST DUE LLC                              62 GREENE ST                         SABATTUS        ME              3
60101551      PIERCE, EVERETT C                          905 RIVER ROAD                       BUCKSPORT       ME              1
43806137      AI & P TACTICAL LLC                        72 E CHAUVEZ RD                      SCOTTVILLE      MI              3
54338023      ALFERMANN USA INC                          1482 POTTERY RD                      WASHINGTON      MO              1
54305666      BROWNING                                   #1 BROWNING PLACE                    ARNOLD          MO            453
54312041      FIRST GUNSMITHING LLC                      932 MERAMEC STATON ROAD UNIT 1       VALLEY PARK     MO              3
54306614      LOGIC INDUSTRIES LLC                       2292 HWY Y                           BELLE           MO              2
16404225      BLACK RIVER PRECISION LLC                  208 MEADOWS LN                       BENTONIA        MS              7
16404549      REMINGTON ARMS COMPANY LLC                 366 STATELINE RD                     SOUTHAVEN       MS         268080
98102105      FALKOR, SID INC                            2902 HWY 93 NORTH                    KALISPELL       MT              1
98102513      LEE, JASON CAMERON                         110 PARADISE HILLS DRIVE             KALISPELL       MT              2
98102031      WILLOUGHBY, DANIEL WILLIAM                 1246 RAIL ROAD                       HARDIN          MT              1
15610544      BEARING ARMS GUN & TACTICAL LLC            55 AIRPORT RD                        TAYLORSVILLE    NC              2
15604397      FTA FIREARMS INC                           819 COLONIAL DRIVE                   RALEIGH         NC
15610427      LAZY K CARTRIDGE COMPANY LLC               456 US 70                            HAVELOCK        NC              1
15612267      MCCOON, DANIEL W II                        3509 C WEST VERNON AVE               KINSTON         NC             14
15603314      OUTDOOR COLORS LLC                         286 INDUSTRIAL PARK                  RUTHERFORDTON   NC          19776
54701787      LEADFOOT LLC                               716 4TH AVE                          HOLDREGE        NE              3
60201484      STURM, RUGER & COMPANY, INC                411 SUNAPEE ST                       NEWPORT         NH              2
60200735      STURM, RUGER & COMPANY, INC                529 SUNAPEE ST                       NEWPORT         NH             14
58502074      FIREBIRD PRECISION FIREARMS, LLC           16 HIDDEN VALLEY ROAD                JEMEZ SPRINGS   NM             19
58502502      MAUCK, WAYNE RUSSELL JR                    1008 AVENIDA DE LAS CAMPANAS         SANTA FE        NM              1
98802374      D F B LLC                                  2654 W HORIZON RIDGE PKWY STE B8/9   HENDERSON       NV             12
98802773      FIME GROUP LLC                             4395 WEST POST RD UNIT 200           LAS VEGAS       NV            579
98804779      GOT YOUR 6 LLC                             8912 SPANISH RIDGE AVE STE 210-9     LAS VEGAS       NV              1
98804130      WESTSIDE ARMORY LTD                        7345 S DURANGO DR STE 106            LAS VEGAS       NV              8


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                                                      SHOTGUNS MANUFACTURED
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RDS KEY        LICENSE NAME                               STREET                             CITY              ST   SHOTGUN MFG
61602475      REMINGTON ARMS COMPANY LLC                  14 HOEFLER AVE                     ILION             NY          1023
61401675      TJ GUNS LTD                                 112 WADE RD                        LATHAM            NY             1
43402133      CADIZ ENTERPRISES LLC                       518 NORTH MAIN STREET              CADIZ             OH             1
43104533      GOOD, WILLIAM J                             12580 ST RT 93 N                   LOGAN             OH           565
43402108      ITHACA GUN COMPANY                          420 N WARPOLE ST                   UPPER SANDUSKY    OH           812
43402507      MILLIGAN, DENNIS                            2640 HOLTZ RD                      SHELBY            OH             2
43403241      PARTISAN ENTERPRISES LLC                    12351 PROSPECT RD, EAST BUILDING   STRONGSVILLE      OH             1
                                                          UNIT A
43400282      ROONEY, TERRANCE L                          4140 ROOT RD                       NORTH OLMSTED     OH             3
43405673      TRIPLE F FIREARMS CORPORATION               1200 CLEVELAND ST SW               MASSILLON         OH             7
57305758      HEWITT, KODEY CHARLES                       25500 EAST 111TH ST S              BROKEN ARROW      OK             6
99304223      A-TEAM ARMS LLC                             201 SE 10TH ST                     GRANTS PASS       OR             1
99303685      COLFAX TACTICAL, LLC                        1611 SW FIRST ST UNIT A            REDMOND           OR             3
99305437      CROSSHAIR CUSTOMS LLC                       2300 MAIN ST                       BAKER CITY        OR            19
99305615      DARK SHADOW WEAPONRY LLC                    425 SW MADISON AVE SUITE 210       CORVALLIS         OR             1
99304642      ERATHR3 LLC                                 484 PLEASANT VALLEY ROAD           MERLIN            OR             1
99305401      EXAKT EDGE MANUFACTURING INC                2880 FERRY ST SW                   ALBANY            OR            56
99303209      PACIFIC TRADING GROUP LLC                   3395 48TH AVE NE                   SALEM             OR            14
82309252      GERVASIO, JOSEPH ANTHONY JR                 788 1/2 700 RD                     NEW OXFORD        PA             3
82506873      SCHWEINBERG, CYRIL J                        RD 1 SHERRETT RD                   COWANSVILLE       PA
82333855      TAR HUNT CUSTOM RIFLES INC                  101 DOGTOWN RD                     BLOOMSBURG        PA            17
15704502      AMERICAN TACTICAL INC                       231 DEMING WAY                     SUMMERVILLE       SC          1432
15703200      CAROLINA CUSTOM RIFLES LLC                  1162 CHINQUAPIN CHURCH RD          BATESBURG         SC             1
15703731      HARDEE, CHRISTOPHER E                       1188 TAW CAW 2 DR                  SUMMERTON         SC             1
16236907      BARRETT FIREARMS MFG INC                    5926 MILLER LANE                   MURFREESBORO      TN           293
16204234      BC ENGINEERING LLC                          5895 E AJ HIGHWAY                  RUSSELLVILLE      TN            11
16208339      BERETTA USA CORP                            1399 GATEWAY DR                    GALLATIN          TN         17025
16209127      VISIONARY FABRICATION LLC                   3081 HORSESHOE BEND LN             KNOXVILLE         TN            19
16206220      WILLYERD, JACK E AND ERIC J                 4820 OLD HWY 48                    CUNNINGHAM        TN             3
57603965      ALPHA EPSILON SYSTEMS LLC                   8729 FAIRBEND ST                   HOUSTON           TX             4
57509750      DUKE COMPONENTS LLC                         190 WEAVER DRIVE                   SULPHUR SPRINGS   TX             1
57604669      EMPTY SHELL LLC                             17711 WEST STRACK DRIVE            SPRING            TX             1
57605418      EO'S VENTURES LLC                           830 W 14TH ST                      HOUSTON           TX             2
57509684      GARDNER, KEVIN P                            2683 BALL RD                       WHITEWRIGHT       TX             1
57604573      HUNTER RIFLEWORKS LLC                       16522 HOUSE&HAHL RD SUITE F6       CYPRESS           TX             4
57505714      LANE, TERRY RAY SR & WHITESIDE, KEITH ROY   12467 CR 580                       BLUE RIDGE        TX             4

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                                                   SHOTGUNS MANUFACTURED
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RDS KEY        LICENSE NAME                                  STREET                       CITY                 ST   SHOTGUN MFG
57434208      MAVERICK ARMS, INC                             1001 INDUSTRIAL BLVD         EAGLE PASS           TX         302830
57503514      MICHAEL, STEVEN C                              1333 MIMOSA LN               LEWISVILLE           TX
57509350      QUALITY CUSTOM FIREARMS LLC                    906 9TH ST                   PADUCAH              TX              1
57503567      RIDDLE, GROVER GLEN                            7749 COUNTY ROAD 409         GRANDVIEW            TX              1
57511910      STEPHENS, BOBBY JOE JR                         13677 FM 314                 BROWNSBORO           TX              6
57604585      TAC 47 INDUSTRIES LLC                          1730 ELMVIEW DR STE D2       HOUSTON              TX             15
57404908      UNRUH, MATHEW WAYNE                            1004 SOUTH GABRIEL DR        LEANDER              TX
57510604      VOSSIMO LLC                                    2917 HAGEN DR                PLANO                TX              1
98704452      MACKAY, BRYANT C                               3805 SOUTH 4220 WEST         GRANGER              UT
98701861      WASATCH ARMS LLC                               286 EAST EAGLERIDGE DR       NORTH SALT LAKE      UT              1
15400073      BERGERET, GREGORY FRED                         3420 BEECHWOOD AVE           SOUTH CHESTERFIELD   VA              1
15409033      FERGUSON, GLEN W                               RT 1 BOX 1134                VIRGINIA BEACH       VA
15416013      JOHNSON, DONALD R                              RT 1 BOX 318 C               GLEN ALLEN           VA
15424121      MCQUILLEN, GARY ELWOOD                         7535 GUINEA ROAD             HAYES                VA              1
15402923      SHAVER, HUBERT L                               RT 29 S                      N GARDEN             VA
15406989      STERLING ARSENAL WORKS & TACTICAL SUPPLY LLC   201 DAVIS DRIVE UNIT FF      STERLING             VA              2
15407323      VERTU CORP                                     680C INDUSTRIAL RD           WARRENTON            VA              1
60300851      THOMAS, BRIAN KEITH                            3 RIDGE ROAD                 ESSEX JUNCTION       VT              1
99103632      HURRICANE BUTTERFLY MANUFACTURING LLC          1148 INDUSTRY DRIVE          TUKWILA              WA              3
99104284      LJUTIC LLC                                     2401 W J STREET STE A        YAKIMA               WA             21
99104084      PATRIOT ARMS LLC                               12607 54TH AVE SE            SNOHOMISH            WA              2
33903022      HENRY WISCONSIN LLC                            107 W COLEMAN                RICE LAKE            WI           6146
33905169      ROTH CONCEPT INNOVATIONS LLC                   N9652 HIGHLINE RD UNIT NM    KAUKAUNA             WI             25
33906931      U S COMPETITION ARMS INC                       1925 ROOSEVELT AVE           RACINE               WI            319

                                                                                                                         653139




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                                                  MISC. FIREARMS MANUFACTURED
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RDS KEY        LICENSE NAME                              STREET                         CITY                        ST   MISC FA MFG
99202142       ANKLE DEEP LLC                            8841 RICHARDSON HWY            SALCHA                      AK             2
99202784       DEVIANT ARMS LLC                          915 30TH AVE #201              FAIRBANKS                   AK             1
99202570       SOLO SOLUTIONS LLC                        47160 LAWRENCE CT              SOLDOTNA                    AK            25
99202750       TRI JET PRECISION CUTTING SERVICES LLC    1960 S EKLUTNA STREET          PALMER                      AK            12
16304982       BLACK ANKLE MUNITIONS LLC                 670 COUNTY ROAD 105            SCOTTSBORO                  AL            10
16304561       BOOTH, RANDALL EDWARD                     3642 HIGHWAY 26                COLUMBIANA                  AL             4
16303111       CLARK, GREGORY E                          1157 PHILLIPS RD               LANETT                      AL             4
16337359       ELLIS, JEFFERY OWEN                       17943 GROUND HOG RD            ADGER                       AL            26
16303684       GUNTER, WILLIAM S                         156 SUMMER FIELD DR            DEATSVILLE                  AL             4
16305749       HILL, TIM                                 2639 PELHAM PKWY               PELHAM                      AL            21
16335030       HOPE, DAVID NICHOLAS                      901 GLAZE DR                   BESSEMER                    AL           163
16306976       MCMILLAN, ROBERT MALCOLM JR               53911 CR 21                    STOCKTON                    AL            27
16307016       QUALLS, CLAUDE ALLEN III                  12881 HWY 231 S                TROY                        AL            16
57105329       BISHAMON ARMS LLC                         683 MARION ANDERSON RD         HOT SPRINGS NATIONAL PARK   AR            12
57105225       CONNER FAMILY ENTERPRISES LLC             614 CANTERBURY DR              ALMA                        AR            14
57105281       SPECIALTY GUN WORKS LLC                   1041 HINSON RD                 EL DORADO                   AR             1
57105105       TOP NOTCH ACCESSORIES INC                 115 LOVERS LN                  BALD KNOB                   AR           308
57102593       TOP NOTCH ACCESSORIES, INC.               2823 SR 124                    RUSSELLVILLE                AR           277
57105117       TROUT, AARON NEAL                         1774 S HARDING PL              FAYETTEVILLE                AR             3
57103498       TWH ENTERPRISES LLC                       700 PEPSI COLA RD              BATESVILLE                  AR            23
57104667       WALTHER MANUFACTURING INC                 7700 CHAD COLLEY BLVD          FORT SMITH                  AR             8
98602020       223 LLC                                   663 W 2ND AVE STE 16           MESA                        AZ           289
98600962       ABRAMS AIRBORNE MFG, INC                  3735 N ROMERO RD               TUCSON                      AZ            95
98609324       ANDRE, LOUIS                              3500 W ERIE ST                 CHANDLER                    AZ            50
98602530       ARIZONA ARMORY, LLC                       2114 W FILLMORE                PHOENIX                     AZ             3
98607999       ARIZONA RIFLEWORKS LLC                    3629 W ESCUDA DR               GLENDALE                    AZ            27
98605601       BAJA AZ GUNS LLC                          1154 CIRCULO MERCADO           RIO RICO                    AZ             9
98605029       BROWN, TIMOTHY DAVID                      14201 N GIBSON TRL             TUCSON                      AZ             6
98609040       BURTON, ROBERT GORDON                     20215 W MORETON WAY            WICKENBURG                  AZ             2
98607852       CHAMBERED GROUP USA LLC                   15605 W ROOSEVELT ST STE 113   GOODYEAR                    AZ            21
98607195       D & E CUSTOMS AND ENGRAVING LLC           2152 N BELLA VISTA LN          BENSON                      AZ            18
98605521       E3 ARMS LLC                               2100 COLLEGE DR UNIT#108       LAKE HAVASU CITY            AZ          2941
98609810       ECHO CORPS LLC                            3178 E 33RD PL STE B           YUMA                        AZ             6
98609589       EVAN RAHM LLC                             36022 N 10TH ST                PHOENIX                     AZ             1
98609984       FAST FLIGHT MACHINE LLC                   8742 N 78TH AVE                PEORIA                      AZ            12

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RDS KEY        LICENSE NAME                                STREET                           CITY               ST   MISC FA MFG
98607169       GHOST HAMMER ARMS LLC                       2983 EAST BAARS CT               GILBERT            AZ            10
98602417       HOLLAND INVESTMENTS LLC                     5834 E SANDRA TE                 SCOTTSDALE         AZ            17
98607680       IRUNGUNS LLC                                2600 N KIOWA BLVD #102           LAKE HAVASU CITY   AZ            10
98606503       KE ARMS LLC                                 4343 E MAGNOLIA ST               PHOENIX            AZ          2282
98606455       LAYKE TACTICAL LLC                          3330 W OSBORN RD                 PHOENIX            AZ           138
98603859       MAXIM FIREARMS CORPORATION                  2021 HOLLY AVE                   LAKE HAVASU CITY   AZ             4
98606209       MCALISTER, KENNETH                          291 E OCOTILLO RD UNIT 27        CHANDLER           AZ            73
98604419       MLS ARMS LLC                                15610 N 35TH AVE STE 6           PHOENIX            AZ            64
98608861       OLIVER WEAPON WORKS LLC                     2452 E IRONSIDE DR               GILBERT            AZ             6
98600788       PATRIOT ORDNANCE FACTORY INC                1492 W VICTORY LANE              PHOENIX            AZ           522
98609307       PATRIOT PRECISION LLC                       1887 BULL HOLLOW RD              SHOW LOW           AZ             5
98610545       PRECISION WORKS LLC                         3533 E CONTESSA CIRCLE           MESA               AZ            10
98604742       QUARTER CIRCLE 10 LLC                       1101 W GRANT RD SUITE 202        TUCSON             AZ          1474
98603707       QUENTIN LASER LLC                           1025 N MCQUEEN RD STE 153/154    GILBERT            AZ           457
98606773       RIM COUNTRY MANUFACTURING INC               1408 W BRAVO TAXIWAY             PAYSON             AZ             9
98608964       S & S ARMS LLC                              1930 E THIRD ST STE 2            TEMPE              AZ             1
98606319       SAN TAN TACTICAL LLC                        2223 WEST PECOS RD STE 6         CHANDLER           AZ           560
98602441       SISKU GUN WORKS LLC                         3836 E 40TH ST                   TUCSON             AZ            23
98601115       SOURCE MANUFACTURING LLC                    2920 EAST MOHAWK LN STE 112      PHOENIX            AZ            21
98607665       STRATEGIC ARMORY CORPS LLC                  525 E PINNACLE PEAK RD STE 100   PHOENIX            AZ           182
98608267       SUAREZ INTERNATIONAL USA INC                1616 WEST IRON SPRINGS RD #3     PRESCOTT           AZ            53
98603274       TANGODOWN INC                               4720 N LACHOLLA BLVD SUITE 180   TUCSON             AZ             3
98606279       TRITON ARMS LLC                             2947 KISH AVE STE A              YUMA               AZ            23
98607005       ULTRA PRECISION FIREARMS & AMMUNITION LLC   4004 N ROMERO RD                 TUCSON             AZ            29
98637956       YOUNG MANUFACTURING INC                     5528 N 51ST AVE                  GLENDALE           AZ            51
97737304       BLACK BULLET INC                            14410 W KEARNEY BLVD             KERMAN             CA             2
97703386       BLUM, ISAAC JOHN                            210 BUCKLEIN WAY                 FELTON             CA             4
96801682       CHRISTENSEN, CRAIG ALLEN                    710 3RD STREET                   MARYSVILLE         CA            37
99500406       CINEMA WEAPONRY L L C                       431 MAGNOLIA AVENUE              GLENDALE           CA             2
99501030       COBRA TACTICAL INC                          28910 AVENUE PENN UNIT 210       VALENCIA           CA           120
93303316       CREC INVESTMENTS INC                        6734 DOOLITTLE AVENUE UNIT H     RIVERSIDE          CA             5
93304565       FIREARM SALES UNLIMITED LLC                 15224 AQUEDUCT LANE              CHINO HILLS        CA
93305621       FLYNN, ROGER GERALD                         10844 E AVE SUITE B1             HESPERIA           CA            12
96804298       GOLD COUNTRY SPORTS INC                     1160 LOZANOS RD                  NEWCASTLE          CA            95
93306288       JL BILLET LLC                               4740 RUFFNER ST                  SAN DIEGO          CA            81

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RDS KEY        LICENSE NAME                             STREET                                 CITY               ST   MISC FA MFG
93304924       JUGGERNAUT TACTICAL INC                  931 N PARKER ST                        ORANGE             CA           622
97703245       KAUFMANN TACTICAL FIREARMS, INC          5816 E SHIELDS #102                    FRESNO             CA            22
96802409       LILLARD MANUFACTURING INC                1230 HARTER AVE SUITE E                WOODLAND           CA           731
97703356       MATTHEWS, KEITH S                        4673 E WEATHERMAKER AVE                FRESNO             CA             1
97702943       MATTHEWS, KEITH SCOTT                    13607 E SHEPHERD AVE                   CLOVIS             CA             1
93306659       OCELLO, RONALD MILLARD                   1931 NORTH KELLY AVE                   UPLAND             CA            12
97703060       TARAN TACTICAL INNOVATIONS LLC           1250 TIERRA REJADA RD                  SIMI VALLEY        CA            36
93305018       TEMECULA QUALITY PLATING INC             43095 BLACKDEER LOOP                   TEMECULA           CA           202
93304987       TPM ARMS LLC                             246 DENNY WAY                          EL CAJON           CA            23
93304827       TRIP WIRE LLC                            7960 SILVERTON AVE STE 105             SAN DIEGO          CA            45
93305884       VK INTEGRATED SYSTEMS                    1250 E ORANGETHORPE                    FULLERTON          CA            12
97702945       VON COLLN, JOHN                          3166 E THOUSAND OAKS BLVD              THOUSAND OAKS      CA            29
58404425       ALAN & WILLIAM ARMS INC                  28271 CR 9                             WILD HORSE         CO             1
58407061       CASSARA, ROBERT                          19499 EAST BROWN DR                    AURORA             CO            13
58407295       DICKS HOBBY SHOP LLC                     1406 W 8TH ST                          LOVELAND           CO             1
58405564       DTCC INC                                 549 BOGART LANE                        GRAND JUNCTION     CO             3
58404005       JPM PROTOTYPE & MFG INC                  4745 FORGE RD                          COLORADO SPRINGS   CO             1
58406824       KEPPDEZIN LLC                            1932 BROOKWOOD DR                      COLORADO SPRINGS   CO             1
58404215       PURSUIT-AIR-CRAFTERS LLC                 113 N MILL ST UNIT A                   SILVER CLIFF       CO             2
58407287       SMK INDUSTRIES LLC                       452 E STAGECOACH TRAIL                 ELIZABETH          CO             2
58404859       WELLINGTON ARMS LLC                      8900 W 1ST ST                          WELLINGTON         CO            40
60603306       COLT'S MANUFACTURING COMPANY LLC         545 NEW PARK AVE                       WEST HARTFORD      CT          6320
60602995       DELTA LEVEL DEFENSE LLC                  40 EMBREE STREET                       STRATFORD          CT            16
60603496       DOSS, JUSTIN BLAIR                       26 CHICKOPEE RD                        MIDDLEFIELD        CT            32
60603459       KINETIC DEVELOPMENT GROUP LLC            71 COGWHEEL LANE                       SEYMOUR            CT           300
60603213       METALLURGICAL PROCESSING INC             68 ARTHUR ST                           NEW BRITAIN        CT            87
15949978       AAL HOLDINGS OF HIGHLANDS INC            5810 STATE ROAD 66                     SEBRING            FL             2
15912791       ADEQ FIREARMS COMPANY                    4921 WEST CYPRESS STREET               TAMPA              FL             2
15905746       AMERICAN VINTAGE GUN AND PAWN, INC       4920 LENA RD UNIT 102 & 103            BRADENTON          FL            11
15905536       ANZIO IRONWORKS CORP                     14605 49TH STREET N STE 8              CLEARWATER         FL             1
15907991       ARES DEFENSE SYSTEMS INC                 295 NORTH DRIVE SUITE H                MELBOURNE          FL           698
15930118       ARTICLE II FIREARMS LLC                  25430 NW 8TH LN STE 100                NEWBERRY           FL            22
15932857       BALLISTIC ADVANTAGE LLC                  2516 JMT INDUSTRIAL DR UNITS 106-110   APOPKA             FL            12
15932631       BAYMAR SOLUTIONS LLC                     5418 W CRENSHAW ST                     TAMPA              FL            16
15931644       BLACK CREEK PRECISION LLC                5151 SUNBEAM ROAD SUITE 9,10,11        JACKSONVILLE       FL           320

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RDS KEY        LICENSE NAME                               STREET                           CITY               ST   MISC FA MFG
15948882       BUIS INC                                   1201 HAMLET AVE                  CLEARWATER         FL             3
15930984       GFT ARMS LLC                               6690 COLUMBIA PARK DR STE 2      JACKSONVILLE       FL             6
15931364       GHOST FIREARMS LLC                         828 S NOVA ROAD                  DAYTONA BEACH      FL          2132
15914892       GREY TACTICAL OUTFITTERS LLC               503-A HARBOR BLVD                DESTIN             FL            18
15914742       GUN FIRE INC                               5548 S RIDGEWOOD AVE             PORT ORANGE        FL             5
15904057       HOFFMAN, RICHARD C                         145 SHERIDAN AVE                 LONGWOOD           FL             2
15923284       JERICHO SERVICES LLC                       6354 49TH STREET NORTH           PINELLAS PARK      FL           150
15940998       KNIGHTS MANUFACTURING CO                   701 COLUMBIA BLVD                TITUSVILLE         FL          1030
15950544       KOVACS, DEREK                              29 BASS LAKE DR                  DEBARY             FL             3
15918600       LEMOINE, ERIC                              1355 BENNETT DR SUITE 129        LONGWOOD           FL           248
15911510       LEMON, LARRY                               373 SW KESTOR DR                 PORT SAINT LUCIE   FL             3
15932379       LIGAMEC CORPORATION                        11419 CHALLENGER AVE             ODESSA             FL             1
15949790       MCCUTCHEN FIREARMS LLC                     5418 W CRENSHAW ST               TAMPA              FL            16
15932010       MORIARTI ARMAMENTS LLC                     6020 NW 99TH AVE SUITE 305       MIAMI              FL            64
15950121       MUTINY ARMS LLC                            2701 SUCCESS DR                  ODESSA             FL           115
15949330       ON THE MARK GROUP INC                      6694 COLUMBIA PARK DRIVE SOUTH   JACKSONVILLE       FL            52
15932810       PATRIOT TACTICAL USA LLC                   3905 ABBY LN                     JACKSONVILLE       FL            33
15911388       PCP TACTICAL LLC                           3895 39TH SQUARE                 VERO BEACH         FL             2
15932806       RAFAL DEFENSE INC                          6427 MILNER BLVD #5              ORLANDO            FL           143
15903855       SAFETY HARBOR FIREARMS INC                 985 HARBOR LAKE DR UNIT 14       SAFETY HARBOR      FL           119
15946787       SERBU FIREARMS INC                         6019 W CHELSEA STREET            TAMPA              FL            10
15931718       SHADOW SOLUTIONS LLC                       1711 DALE MABRY HWY              LUTZ               FL            34
15913173       SPECIAL OPS TACTICAL LLC                   515 COOPER COMMERCE DR STE 180   APOPKA             FL           201
15940466       SPOONER, BRENT COOPER                      65 CASCADE CT                    HAVANA             FL             1
15948923       SUNCOAST WEAPONS AND TACTICAL LLC          787 COMMERCE DR UNIT 11          VENICE             FL            19
15911971       TACTICAL SUPERIORITY INC                   305 NORTH DRIVE SUITE D-H        MELBOURNE          FL           758
15931318       THOMPSON, DWAIN U                          3200 CAVERNS ROAD                MARIANNA           FL            72
15930349       THORSEN MACHINING INC                      6533 SOUTHERN BLVD BAY 1         WEST PALM BEACH    FL             1
15936207       TRADECRAFT BLACK LLC                       663 96TH AVE N                   NAPLES             FL             3
15912135       WADCO INDUSTRIES LLC                       700 S JOHN RODES BLVD UNIT A-6   MELBOURNE          FL            16
15808613       CAMP CREEK GUNWORKS LLC                    3467 COLLEGE ST                  COLLEGE PARK       GA             2
15808273       COUNTRY BOY ENTERPRISES INC                783 CAUDELL RD                   HOMER              GA           348
15806454       DEFENSE RESEARCH & DEVELOPMENT LLC         268 CADILLAC PKWY STE 104        DALLAS             GA           201
15805425       GT VIRTUAL CONCEPTS LLC                    535 PINE RD STE 205              NEWNAN             GA            11
15811218       JE FIREARMS LLC                            92 WALNUT LN                     CHATSWORTH         GA             3

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RDS KEY        LICENSE NAME                               STREET                         CITY               ST    MISC FA MFG
15808331       THE OUTPOST ARMORY LLC                     2002 EMA DELL PL               LOGANVILLE         GA              3
15804870       TITLE 2 INVESTMENTS LLC                    961 ROSS PLACE SUITE A         LAVONIA            GA              2
15804927       WALKER TOOL & MFG, INC                     1300 ROSS RD                   SHADY DALE         GA              2
54201728       BROWNELLS INC                              200 S FRONT ST                 MONTEZUMA           IA           931
54203111       CHELGREN, JANET LEE                        398 W 230TH STREET             BLOOMFIELD          IA            24
54203229       CREATIVE ARMS LLC                          1430 EAST FLEMING AVE          DES MOINES          IA             9
54202967       FARRO'S LEAD FARM LLC                      30376 210TH AVENUE             LONG GROVE          IA            80
54200689       JARD INC                                   3149 NEST AVE                  SHELDON             IA            13
54201889       V CUSTOM INC                               24276 240TH ST                 CARROLL             IA           212
98203107       AR CUSTOMS LLC                             1081 E STONEYBROOK LOOP        POST FALLS          ID             4
98202920       AXIAL PRECISION LLC                        4910 W DENTON                  BOISE               ID             3
98235032       BAT MACHINE CO INC                         6148 W SELTICE WAY             POST FALLS          ID           687
98203161       CHANDLER, MARTIN                           616 SOUTH MAIN                 HAILEY              ID             1
98202586       LONE WOLF R&D LLC                          106 SHANNON LN STE B           PRIEST RIVER        ID          1747
98202583       METAL CRAFT MANUFACTURING LLC              1251 N MIDLAND BLVD            NAMPA               ID             2
98201736       NEXT GENERATION ARMS LLC                   11836 N TRACEY RD              HAYDEN              ID           199
98200449       ROGERS, DAVID J                            3025 LEADVILLE                 BOISE               ID             2
98202543       SEEKINS PRECISION LLC                      159 AMERICAN WAY               LEWISTON            ID          3136
98200569       TACTICAL INNOVATIONS INC                   345 SUNRISE RD                 BONNERS FERRY       ID           343
98202164       TACTICAL SOLUTIONS INC                     2772 S VICTORY VIEW WAY        BOISE               ID          1127
98202372       VENGEANCE ARMS LLC                         246 CALDWELL BLVD              NAMPA               ID            43
98203050       WILKINSON ARMS LLC                         14754 MURPHY FLAT ROAD         MURPHY              ID             5
33603644       IMPERIAL ARMS CO                           8176 OLD RIDGE RD              PLAINFIELD          IL            34
33635626       KREBS CUSTOM INC                           1000 N RAND RD #106 AND #105   WAUCONDA            IL             3
33637243       LEWIS MACHINE & TOOL CO                    1305 W 11TH ST                 MILAN               IL          2017
33704493       MCCLURE, KEVIN                             825 BANTA RD                   LOWPOINT            IL            25
33604340       PAWLOWSKI, MATTHEW ALAN                    9520 PAULING RD                MONEE               IL            10
33605213       STRATEGIC ARMORY CORPS LLC                 745 HANFORD ST                 GENESEO             IL           864
43505591       AFSOL INC                                  6869 COUNTY ROAD 11A           AUBURN              IN             6
43505109       BCI DEFENSE LLC                            545 N BOWEN AVE                BREMEN              IN          1445
43505002       DEPUTY BIG SHOT LLC                        10214 W DEPUTY PIKE RD         DEPUTY              IN            27
43507290       FOSTECH INC                                8620 N US HWY 31               SEYMOUR             IN            29
43504966       FOSTECH MFG LLC                            8620 N US HWY 31               SEYMOUR             IN          6028
43501191       HAVERKAMP, THOMAS J                        4850 N 13TH ST                 TERRE HAUTE         IN             6
43507465       M4INC LLC                                  1016 DIVISION ST               MISHAWAKA           IN             7

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RDS KEY        LICENSE NAME                              STREET                       CITY               ST    MISC FA MFG
43503492       NAMACLE LLC                               1235 WEST HIVELY AVE         ELKHART             IN              1
43507261       PITTS, ERIC JAMES                         9099 ROSEDALE RD             TERRE HAUTE         IN
43506205       SCALES ELECTRIC SUPPLY INC                2178 OLD HWY 41 S            PRINCETON           IN              9
43506284       SCIENCE APPLICATIONS INTERNATIONAL CORP   4422 BRAGDON STREET          INDIANAPOLIS        IN              4
43507041       US DEFENSE SOLUTIONS LLP                  5329 MT PLEASANT N ST        GREENWOOD           IN             50
54804010       CHARGER ARMS LLC                          5244 W 285TH ST              OSAGE CITY         KS              35
54803746       CORBET, WILLIAM A JR                      1304 LAWRENCE AVE            LEAVENWORTH        KS               5
54804379       ENDLESS IDEAS INC                         15849 MAHAFFIE               OLATHE             KS               1
54804005       FREE STATE ARMAMENT LLC                   108 MAIN STREET              OZAWKIE            KS              68
54803923       JOE BOB OUTFITTERS LLC                    4850 GENERAL HAYS            HAYS               KS            6375
54803256       PODUNK INC                                1145 W DENNIS AVE            OLATHE             KS            1160
54803022       SEED95 ENTERPRISES                        7327 MEADOWSWEET LN          SHAWNEE            KS               5
46107505       ANCHOR ARMS, LLC                          1076 A MANSFIELD ROAD        GLASGOW            KY               4
46104099       BAD BULL MUZZLE LOADERS INC               200 E LEGION DR              PRINCETON          KY              18
46104490       CLEAR SPRING ARMS LLC                     6069 STATE ROUTE 58 E        MAYFIELD           KY               4
46102135       CUSTOM SHOOTING TECHNOLOGIES INC          8794 ELMBURG ROAD            BAGDAD             KY              40
46100511       DOUBLE STAR CORP                          1805 FORTUNE DR              WINCHESTER         KY             128
46107233       FIELDS, ADAM JOSEPH                       4301 AKIN LN                 BURLINGTON         KY               7
46101318       GREEN, ROGER G                            124 E MAIN                   SHELBYVILLE        KY
46102771       IDEAL PRODUCTS INC                        126 CAPITAL CT               NICHOLASVILLE      KY              88
46106541       NORSWORTHY, BRADLEY DAVID                 1121 FREEDOM CHURCH RD       HARNED             KY              35
46103520       WM C ANDERSON INC                         1743 ANDERSON BLVD           HEBRON             KY          211382
57204834       AKLYS DEFENSE LLC                         9683 MAMMOTH AVE             BATON ROUGE         LA             61
57204816       JCR HOLDINGS LLC                          9683 MAMMOTH AVE             BATON ROUGE         LA              1
60405614       B&R MACHINE INC                           305 A MOODY ST               LUDLOW             MA               1
60401684       SMITH & WESSON CORP                       2100 ROOSEVELT AVE           SPRINGFIELD        MA            1045
60404099       TROY INDUSTRIES INC                       151D CAPITAL DR              WEST SPRINGFIELD   MA             337
85213126       COOKE, RICHARD STARK                      3228 ATLEE RIDGE RD          NEW WINDSOR        MD               3
85212877       HANOVER ARMORY LLC                        1327 ASHTON RD STE 5 & 6     HANOVER            MD              77
85202358       LWRC INTERNATIONAL                        815 CHESAPEAKE DRIVE         CAMBRIDGE          MD             517
85211500       MC KEE, INC                               8725 BOLLMAN PLACE #1        SAVAGE             MD             614
85212226       TOMKAT AMMUNITION LLC                     18 CESSNA COURT              GAITHERSBURG       MD               4
85204307       TOMMY BUILT TACTICAL LLC                  18910 GOSHEN RD              GAITHERSBURG       MD               7
60101448       BOUCHARD, THOMAS PHILIP                   2743 RIVERSIDE DR            VASSALBORO         ME              19
60102602       BULL MOOSE TACTICAL LLC                   29 SHINGLEHOUSE RD           BOWDOIN            ME               9

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60101613       COLLINS, JAMES M                          03 MEMORY LANE                       HERMON            ME             7
60101661       WINDHAM WEAPONRY INC                      999 ROOSEVELT TRAIL BUILDING #3      WINDHAM           ME          1096
43807226       BLACK SWAMP FIREARMS LLC                  5255 CONSEAR RD                      OTTAWA LAKE       MI           139
43804997       CENTRAL SCREW PRODUCTS CO INC             1070 MAPLELAWN                       TROY              MI           160
43807485       CLASSIC METAL FINISHING INC               2500 WEST ARGYLE ST                  JACKSON           MI             1
43807837       J&D ARMAMENT LLC                          5921 HOLLOW CORNERS RD               DRYDEN            MI            10
43808216       NEXT LEVEL ARMAMENT LLC                   6778 - 18TH AVE                      JENISON           MI           230
43807721       PERFORMANCE MACHINING INC                 919 MICHIGAN STREET                  NILES             MI            50
43810091       SPEC ARMS LLC                             389 EAST DIVISION                    SPARTA            MI            20
43809932       WILLIS GUN LLC                            10280 BEMIS                          WILLIS            MI             2
43808593       XENON LLC                                 708 BASSETT DR                       SALINE            MI             1
34104185       ALEXANDRIA PRO FAB CO INC                 8210 STATE HWY 29 NORTH              ALEXANDRIA        MN          2158
34103554       ATOMIC TACTICAL INC                       8555 WEST 123RD ST STE 1             SAVAGE            MN            25
34105138       BATTLE CREEK ARMORY LLC                   6969 S WASHINGTON AVE                EDINA             MN            22
34102861       COONAN INC                                4501 103RD CT NE # 120               BLAINE            MN           251
34103165       DEER COUNTRY ARCHERY INC                  32981 COUNTY RD 24                   STARBUCK          MN            27
34105247       ENGINEERED SILENCE LLC                    9993 DAVENPORT ST NE                 BLAINE            MN            12
34102996       MCKAY ENTERPRISES LLC                     2535 PILOT KNOB ROAD SUITE 117       MENDOTA HEIGHTS   MN           388
34101861       NODAK SPUD LLC                            7683 WASHINGTON AVE S                EDINA             MN           610
34104145       PA ENTERPRISES                            3152 COUNTRY DR                      LITTLE CANADA     MN            65
34102652       SLR15 RIFLES INC                          7689 MAIN ST                         FRIDLEY           MN             3
34104159       SOTA ARMS INC                             39719 GRAND AVE                      NORTH BRANCH      MN          3804
34105151       SWAN MACHINE INC                          825 1ST ST NE                        PERHAM            MN            15
34103595       THE RANGE TOOL COMPANY LLC                202 NORTH BROADWAY                   GILBERT           MN           471
54310039       BIXLER, CHRISTOPHER A                     213 MORGAN ST                        AUXVASSE          MO             4
54311739       BLACK DAWN MANUFACTURING & COATING LLC    1511 N OHIO AVE                      SEDALIA           MO            37
54306127       BLACK RAIN ORDNANCE INC                   11633 IRIS ROAD                      NEOSHO            MO          4699
54310645       BRICE BREEDEN ENTERPRISES LLC             330 EVERGREEN DR                     SULLIVAN          MO            35
54307126       CHEROKEE FIREARMS LLC                     1500 W COLLEGE                       SPRINGFIELD       MO            34
54301610       CMMG INC                                  2301 BOONSLICK DR                    BOONVILLE         MO          3938
54312890       MOA LLC                                   11017 GRAVOIS INDUSTRIAL CT UNIT C   SAINT LOUIS       MO            10
54311347       MOA LLC                                   701 KELEMEN CT                       DITTMER           MO            18
54306091       PRECISION MACHINED PARTS INC              1214 N OSAGE BLVD                    NEVADA            MO          1023
54313940       RAW ENGAGEMENTS LLC                       1880 CURRENT ST                      LIBERTY           MO             3
54312638       SALUS ARMS LLC                            2400 E BENNETT ST STE 2              SPRINGFIELD       MO            62

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RDS KEY        LICENSE NAME                                    STREET                       CITY             ST   MISC FA MFG
54340380       THE CUTTING EDGE PRECISION MACHINING SERVICES   1150 PROGRESS ST             MOUNT VERNON     MO          1721
               INC
16403789       BRYANT'S MACHINE SHOP, INC                      5734 HWY 80 W                JACKSON          MS             8
16404072       COTTON BRANCH CUSTOM FIREARMS LLC               915 ALLEN RD                 SMITHDALE        MS             1
16403788       MID STATE FIREARMS LLC                          309B MORRISON DRIVE          CLINTON          MS            34
16404549       REMINGTON ARMS COMPANY LLC                      366 STATELINE RD             SOUTHAVEN        MS         33377
16404665       SANFORD'S SOUTHERN ARMS LLC                     4344 LANGS MILL RD           FOREST           MS             4
16403899       TGC OUTDOORS LLC                                662 HWY 7 NORTH              ABBEVILLE        MS            46
16404405       TRIGGER TIME INDOOR SHOOTING RANGE INC          120 AIRPARK ROAD             TUPELO           MS             1
98101194       BLACK GOLD CUSTOM ARMS INC                      312A ANDREA DRIVE            BELGRADE         MT            31
98155388       C SHARPS ARMS CO INC                            100 CENTENNIAL DR            BIG TIMBER       MT            11
98101101       CHRISTOFERSON, BRYAN EUGENE                     2011 BARRETT RD              BILLINGS         MT             1
98101132       COOPER FIREARMS OF MONTANA INC                  3662 US HWY 93 NORTH         STEVENSVILLE     MT            63
98101187       DEFIANCE MACHINE INC                            3881 MT HWY 40 W             COLUMBIA FALLS   MT          2911
98102105       FALKOR, SID INC                                 2902 HWY 93 NORTH            KALISPELL        MT           441
98101949       NIKAO OUTDOOR MEDIA LLC                         940 5TH ST                   MISSOULA         MT            36
98101706       NOREEN FIREARMS LLC                             131 JETWAY DRIVE             BELGRADE         MT         15005
98102404       THOMPSON PRECISION INC                          1885 WHITEFISH STAGE RD      KALISPELL        MT             4
98102542       UNDER THE ROCK ENTERPRISES LLC                  2840 EDWARDS                 BUTTE            MT             1
98102557       WHEELER, ALEX                                   1213 EAST GLENDALE STREET    DILLON           MT             2
15608525       ANSON TACTICAL ARMS LLC                         2975 WHITE STORE RD          WADESBORO        NC            38
15606622       BEAR CREEK ARSENAL LLC                          310 MCNEILL RD               SANFORD          NC          1145
15612102       BLACK WIDOW TACTICAL LLC                        213 VALLEY FIELD ROAD        STONEVILLE       NC            18
15604330       CHATHAM ARMS LLC                                130 MINT SPRINGS RD          PITTSBORO        NC             1
15604397       FTA FIREARMS INC                                819 COLONIAL DRIVE           RALEIGH          NC
15611475       ICGW INC LLC                                    4129 BURNWOOD TRAIL          DENVER           NC             2
15610860       INSURGENT TACTICAL LLC                          58 CUTTER CIRCLE             SANFORD          NC             7
15610779       JAMES RIVER ARMORY                              745 HWY 117 S                BURGAW           NC           786
15612554       LEGION RIFLEWORKS LLC                           6209 PANDEROSA RD            SANFORD          NC             1
15612267       MCCOON, DANIEL W II                             3509 C WEST VERNON AVE       KINSTON          NC            16
15610787       MOORE, BETTY H                                  3701 NC 89 HWY E             WALNUT COVE      NC             1
15609732       NEWTOWN FIREARMS MANUFACTURING LLC              751 S. CHURCH ST             GOLDSTON         NC             1
15610245       STUMPIES CUSTOM GUNS INC                        628 W CORBETT AVE            SWANSBORO        NC             5
15609063       STURM RUGER & COMPANY INC                       271 CARDWELL RD              MAYODAN          NC         16654
15604897       TOP ENDS ETC INC                                6935 WILDWOOD TRL            THOMASVILLE      NC             1
15610908       TURNER ARMAMENT LLC                             1287 RIPKEN DR               HICKORY          NC            24

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RDS KEY        LICENSE NAME                               STREET                               CITY                     ST   MISC FA MFG
54702076       PRAIRIE TACTICAL LLC                       1920 9TH AVE                         KEARNEY                  NE             1
54701663       ZERMATT ARMS INC                           100 MONROE ST                        BENNET                   NE           791
60202008       HM MACHINE LLC                             44 VENTURE DRIVE                     DOVER                    NH            38
60201938       HOOK, ANTHONY PAUL                         18 LAMY DR UNIT #5                   GOFFSTOWN                NH            14
60202715       MACPHERSON FIREARMS LLC                    87 ROUTE 27                          BRENTWOOD                NH            40
60201012       MATRIX AEROSPACE CORPORATION               421 RIVER ROAD                       CLAREMONT                NH           337
60201484       STURM, RUGER & COMPANY, INC                411 SUNAPEE ST                       NEWPORT                  NH             2
82201446       FABER PRECISION INC                        198 GREEN POND RD UNIT D             ROCKAWAY                 NJ             1
82201650       JERSEY ELITE MANUFACTURING LLC             198 GREEN POND RD                    ROCKAWAY                 NJ             3
82201393       SABRE GLOBAL SERVICES LLC                  94 EAST DEWEY AVE UNIT 3             WHARTON                  NJ             9
58502074       FIREBIRD PRECISION FIREARMS, LLC           16 HIDDEN VALLEY ROAD                JEMEZ SPRINGS            NM            46
98803399       CBE INC                                    2241 D PARK PLACE                    MINDEN                   NV            65
98801240       KRAMER CARTRIDGE AND CARBINE LLC           7495 WEST AZURE DR SUITE #240        LAS VEGAS                NV             2
98802240       NEW FRONTIER ARMORY LLC                    2844 SYNERGY STREET                  NORTH LAS VEGAS          NV          7070
98804314       RED ROCK RIFLEWORKS LLC                    101 W BROOKS AVE UNIT K & H          NORTH LAS VEGAS          NV            19
98804130       WESTSIDE ARMORY LTD                        7345 S DURANGO DR STE 106            LAS VEGAS                NV            28
61602828       AX TACTICAL LLC                            4947 COMMERCIAL DR STE 2             YORKVILLE                NY            50
61603144       BLUE TUNA GUNSMITHING LLC                  870 ONTARIO ST EXT                   KENMORE                  NY           208
61603663       CROWLEY, DAVID E                           2411 COUNTY RT 12                    CENTRAL SQUARE           NY             1
61101081       DARK STORM INDUSTRIES LLC                  4116 AND 4122 SUNRISE HIGHWAY        OAKDALE                  NY          1455
61603781       FIREPOWER INDUSTRY LLC                     999 UPPER MOUNTAIN RD                LEWISTON                 NY            12
61402045       HEMMALAH INCORPORATED                      834 MOUNTAIN RD                      PORT JERVIS              NY            20
61603957       HYPERION ARMS AND AMMO LLC                 3 OSSIAN ST STE 102                  DANSVILLE                NY            21
61100308       LRB OF LONG ISLAND INC                     96 CHERRY LANE                       FLORAL PARK              NY            72
61401950       MACLEOD, RICHARD EBURNE JR                 602 RT 45                            EARLTON                  NY             5
61602475       REMINGTON ARMS COMPANY LLC                 14 HOEFLER AVE                       ILION                    NY           400
61101292       TIGER SHARK TACTICAL LLC                   1575 RT 112                          PORT JEFFERSON STATION   NY           150
43404741       ADVANCED INNOVATION & MFG INC              326 PEARL ST NE                      NEW PHILADELPHIA         OH             2
43404636       AMERICAN MUSKET'S LLC                      7250 COMMERCE DRIVE UNIT K           MENTOR                   OH             3
43105124       ANDERSON, BARRY                            146 CHAPEL RD                        AMELIA                   OH             1
43403691       AQUA GRAPHIX LLC                           3829 HAMILTON AVE STE 200            CLEVELAND                OH           461
43404791       ARTEMIS ARMS LLC                           50 JACKSON ST                        PORT CLINTON             OH            26
43104897       CQMD LLC                                   2766 LYNDLEY CT                      HILLIARD                 OH            19
43104234       FAXON FIREARMS LLC                         11101 ADWOOD DR                      CINCINNATI               OH            15
43105984       INNOVATIVE MACHINING SOLUTIONS LLC         127 W SYCAMORE ST BLDG 63 SUITE 49   COLDWATER                OH             3

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RDS KEY        LICENSE NAME                               STREET                             CITY             ST   MISC FA MFG
43405385       JLV PRODUCTIONS LLC                        106 W 58TH ST                      ASHTABULA        OH            10
43102471       JONA CUSTOM STOCKS AND RIFLES LLC          1546 LAWSON STREET                 WHEELERSBURG     OH             2
43437065       KELBLY'S RIFLE RANGE INC                   7222 DALTON FOX LAKE RD            NORTH LAWRENCE   OH          1008
43401968       KMP CLASSIC ARMS, INC                      556 CALDWELL AVE                   MANSFIELD        OH            47
43404916       LINKIN ARMORY LTD                          316 NATHAN DR                      CLYDE            OH            24
43403241       PARTISAN ENTERPRISES LLC                   12351 PROSPECT RD, EAST BUILDING   STRONGSVILLE     OH            15
                                                          UNIT A
43104596       PRECISION DEFENSE LLC                      1858 CEDAR HILL RD                 LANCASTER        OH           174
43103816       PRECISION REFLEX INC                       710 STREINE DR                     NEW BREMEN       OH            36
43105466       QUEEN CITY ARMS LLC                        322 SYCAMORE ST                    NEW RICHMOND     OH             8
43403527       RIVER ASSOCIATES LLC                       1331 CONANT ST STE 202             MAUMEE           OH            11
43405208       TOWERS ARMORY LLC                          1469 TOWERS ST                     OREGON           OH             7
43404591       TWISTED RIVER TACTICAL LLC                 4564 ROHRDALE AVE NW               CANAL FULTON     OH            51
43405270       TWISTED RIVER TACTICAL, LLC                143 1ST ST SE                      MASSILLON        OH             1
43105331       X-TREME SHOOTING PRODUCTS LLC              2008 GLENN PKWY                    BATAVIA          OH            15
57304684       CAIN AND ABEL ENTERPRISES LLC              9950- C E 55TH PLACE               TULSA            OK            28
57304721       HAILEY ORDNANCE COMPANY                    1661 EXCHANGE AVE                  OKLAHOMA CITY    OK            82
57305438       MW MACHINING AND WELDING INC               18455 EAST 640 RD                  INOLA            OK            41
57304438       OKLAHOMA SHOOTING SPORTS COMPLEX LLC       14375 WEST HWY 66                  YUKON            OK            10
57305132       PHILLIPS, DONALD LYLE                      5115 HUGHES DR                     TUTTLE           OK             3
57305924       STRATEGIC ARMORY CORPS LLC                 48955 MOCCASIN TRAIL RD            PRAGUE           OK           967
57305225       TAPE MATICS INC                            1539 INDUSTRIAL LN                 TISHOMINGO       OK           255
99302497       AXTS INC                                   1851 CORDON RD SE                  SALEM            OR           278
99303685       COLFAX TACTICAL, LLC                       1611 SW FIRST ST UNIT A            REDMOND          OR           176
99305437       CROSSHAIR CUSTOMS LLC                      2300 MAIN ST                       BAKER CITY       OR            53
99305615       DARK SHADOW WEAPONRY LLC                   425 SW MADISON AVE SUITE 210       CORVALLIS        OR             1
99301728       HALO MANUFACTURING LLC                     3970 HAMPSHIRE LANE                EUGENE           OR            31
99303496       HH ARMAMENT LLC                            17804 SHANK RD NE UNIT 23          HUBBARD          OR           138
99304087       HX2 ARMS, LLC                              3835 TRAILBLAZER PL                SALEM            OR             5
99303636       JONES, NATHAN WILLIAM & ASHLEY SAZANNE     75398 FERN HILL RD                 RAINIER          OR            15
99304674       MARTIN, TY                                 1251 JANETA AVE                    NYSSA            OR             1
99302896       RAPID FIRE ARMS LLC                        39110 PROCTOR BLVD SUITE B         SANDY            OR           120
99303260       RHEINSCHMIDT MFG, LLC                      5590 SW 195TH AVE                  BEAVERTON        OR             6
99304653       RICHARDSON, ROBERT LEROY JR                2163 NE SPALDING AVE STE 14        GRANTS PASS      OR           105
99304128       SMOS ARMS INC                              484 PLEASANT VALLEY RD             MERLIN           OR          3352
99337182       TNW FIREARMS INC                           55325 TIMBER RD                    VERNONIA         OR             3

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                                                 MISC. FIREARMS MANUFACTURED
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RDS KEY        LICENSE NAME                             STREET                             CITY               ST   MISC FA MFG
99304129       VIPER NORTHWEST INC                      1216 JACKSON ST SE                 ALBANY             OR            73
99302088       YEAMANS, MATTHEW B                       480 ROGUE RIVER PKWY               TALENT             OR            46
82303723       BLAK FORGE ARMOURY LLC                   1803 RT 287                        MORRIS             PA            12
82338992       BORDEN, JAMES F                          1325 SHELDON HILL ROAD             SPRINGVILLE        PA           279
82505590       BORDEN, ROBERT FRANCIS                   111 HALL ST                        SHEFFIELD          PA            10
82310349       DEATH VALLEY TACTICAL LLC                265 SICKLER POND ROAD              JERMYN             PA             1
82506356       GENERAL MANUFACTURING COMPANY            3249 INDUSTRIAL BLVD               BETHEL PARK        PA            56
82507062       GIGLIOTTI RIFLEWORKS LLC                 5373 BIG RUN PRESCOTTVILLE RD      REYNOLDSVILLE      PA            74
82304234       LANCER SYSTEMS LP                        2800 MILFORD SQUARE PKE            QUAKERTOWN         PA            65
82303888       LANCO TACTICAL LLC                       498 WEST HIGH STREET               ELIZABETHTOWN      PA            19
82309424       MERC ARMS LLC                            2380 COLEBROOK RD                  LEBANON            PA            25
82305497       REBEL ARMS CORP                          67 MILLCREEK RD                    EAST STROUDSBURG   PA           161
82308578       SAEILO INC                               105 KAHR AVE                       GREELEY            PA            52
82506873       SCHWEINBERG, CYRIL J                     RD 1 SHERRETT RD                   COWANSVILLE        PA
82502168       SWATSWORTH, WILLIAM JOHN                 156 BAKER RD                       DU BOIS            PA            38
60500865       ATA MANUFACTURING INC                    125 HARRISON AVE                   WOONSOCKET         RI             3
15704502       AMERICAN TACTICAL INC                    231 DEMING WAY                     SUMMERVILLE        SC          4445
15705127       BLACKWELL, TRAVIS EUGENE                 171 OGLESBY LANE                   COWPENS            SC             2
15705439       D & R GUNSMITHING & SALES LLC            2837 UNIT E SOUTH LIVE OAK DRIVE   MONCKS CORNER      SC            16
15705090       LIGHTNING TACTICAL & TRAINING LLC        172 HERITAGE PKWY                  BLUFFTON           SC             4
15705761       MIL SPEC LABS LLC                        622 NE MAIN STREET                 SIMPSONVILLE       SC            17
15705084       NALLEY VENTURES LLC                      619 GENTRY MEMORIAL HWY SUITE V    EASLEY             SC            17
15705563       PALMETTO STATE ARMORY LLC                366 E 5TH NORTH ST                 SUMMERVILLE        SC           941
15704905       PALMETTO STATE ARMORY LLC                3365 SOUTH MORGANS POINT RD        MOUNT PLEASANT     SC           689
15702546       PALMETTO STATE ARMORY, LLC               2121 OLD DUNBAR RD                 WEST COLUMBIA      SC        126899
15702946       PALMETTO STATE DEFENSE LLC               555 E SUBER RD                     GREER              SC             6
15703876       PATRIOT ARMS LLC                         3653 TWO NOTCH RD                  GILBERT            SC             2
15705032       PATRIOT WEAPONS SYSTEMS LLC              2700 CROOKED STICK LANE            MOUNT PLEASANT     SC            25
34600878       REMINGTON ARMS COMPANY LLC               1310 INDUSTRY RD                   STURGIS            SD           159
34600551       WEST RIVER RIFLE COMPANY LLC             3560 MAYER AVE                     STURGIS            SD             7
16205861       ABSTON MACHINE SHOP INC                  1266 ARDMORE HWY                   TAFT               TN             1
16206145       CROSS MACHINE TOOL CO INC                312 LAW COMMUNITY RD               LEXINGTON          TN           774
16209799       ECHO 3 ARMORY LLC                        214 N HORTON PKWY                  CHAPEL HILL        TN             1
16206302       F J FEDDERSEN INC                        7501 CORPORATE PARK DR             LOUDON             TN            97
16208792       J&S COATINGS LLC                         1404 HWY 231 S                     BETHPAGE           TN            10

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                                                  MISC. FIREARMS MANUFACTURED
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RDS KEY        LICENSE NAME                               STREET                              CITY                ST   MISC FA MFG
16209199       ROYAL ARMS INTERNATIONAL INC               1420 HWY 99                         LEWISBURG           TN            39
16207129       TENNESSEE ARMS COMPANY LLC                 517 LAKE ROAD                       DYERSBURG           TN          4892
16208127       THE TACTICAL EDGE LLC                      1925 FT CAMPBELL BLVD UNIT C        CLARKSVILLE         TN           323
16204298       VEGA BALLISTICS CORPORATION                1776 S BELL AVE                     PARIS               TN            14
16209265       VETERAN OUTDOORS CORP                      14 NATCHEZ TRACE DRIVE              LEXINGTON           TN           168
16209127       VISIONARY FABRICATION LLC                  3081 HORSESHOE BEND LN              KNOXVILLE           TN           103
16206220       WILLYERD, JACK E AND ERIC J                4820 OLD HWY 48                     CUNNINGHAM          TN             7
57602577       74U LLC                                    17 HICKORY CT                       RICHWOOD            TX           126
57605413       A9 MANUFACTURING INC                       14401 INTERDRIVE W                  HOUSTON             TX            21
57408060       ALPHA EPSILON SYSTEMS LLC                  2007 LAMAR DR                       ROUND ROCK          TX            20
57509216       AVILA, EDWARD & JUAN C                     901 VZ CR 3215                      WILLS POINT         TX            35
57504967       BRADY, ANDREW SCOTT                        6207 RENWOOD DR                     FORT WORTH          TX             4
57512630       CLOCKWORK ARMORY LLC                       16240 CR 4257D                      HENDERSON           TX             4
57604196       CMD SOLUTIONS LLC                          40707 COUNTRY FOREST DR             MAGNOLIA            TX             4
57407994       CUSTOM DEFENSE FIREARMS LLC                1911 E RANCIER AVE                  KILLEEN             TX             1
57511011       DARTER, DAVID KENT                         9008 WILLIS RD                      CASHION COMMUNITY   TX            10
57512497       DOBBINS, RICHARD, PAULA; KALEM             14465 S FM 1541                     AMARILLO            TX             3
57602230       ESG GUNWORKS LLC                           3000 N MAIN #3B                     BAYTOWN             TX            21
57604022       F-1 FIREARMS LLC                           5045 FM 2920 RD                     SPRING              TX          3308
57406634       FALLING SKIES CORP                         2390 FM2001 UNIT A                  BUDA                TX            22
57604647       FORTRESS ARMS LLC                          2418 N FRAZIER ST STE 107B          CONROE              TX             1
57511189       GENERAL ELECTRODYNAMICS CORPORATION        8000 CALENDER RD                    ARLINGTON           TX             4
57407149       HEADQUARTERS OUTFITTERS LLC                13824 JAMES GARFIELD ST             MANOR               TX             1
57513158       HEGAZY LLC                                 6162 MAPLE AVE APT 1227             DALLAS              TX            79
57405968       HELOTES TACTICAL FIREARMS LLC              14546 OLD BANDERA RD                HELOTES             TX             5
57509487       HOLESHOT ARMS LLC                          118 REGENCY DR STE 200              WYLIE               TX            70
57408766       JEM GUNS LLC                               40130 INDUSTRIAL PARK CIR           GEORGETOWN          TX             8
57603164       JESS BRILEY MANUFACTURING COMPANY          1230 LUMPKIN RD                     HOUSTON             TX             5
57604761       JHP ARMORY LLC                             206 SHAW AVE                        PASADENA            TX             1
57408475       KRIST, ALEX LEOPART                        105 SHOOTING CLUB ROAD BUILDING A   BOERNE              TX             9
                                                          UNIT 142
57511388       LANTAC USA LLC                             1300 FORUM WAY STE B                FORT WORTH          TX           361
57501532       LEE, JEFFREY DAVID                         3401 W PIONEER DRIVE #2             IRVING              TX             5
57605287       LINDLEY INDUSTRIES LLC                     635 9TH ST                          DICKINSON           TX             4
57512783       LONE STAR ARMORY LLC                       2006 MARTIN LUTHER KING FRWY        FORT WORTH          TX            30
57513273       LONE STAR FIREARMS AND MANUFACTURING LLC   4612 CR 919                         CROWLEY             TX             5

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RDS KEY        LICENSE NAME                              STREET                       CITY                 ST    MISC FA MFG
57408882       MATUSEVICH, ROBERT WADE                   11769 J-2 RANCH RD           INEZ                 TX               2
57434208       MAVERICK ARMS, INC                        1001 INDUSTRIAL BLVD         EAGLE PASS           TX          115995
57503514       MICHAEL, STEVEN C                         1333 MIMOSA LN               LEWISVILLE           TX
57511075       MOAB TACTICAL ADVENTURES LLC              113 LA FAWN CIR              GARLAND              TX               1
57506844       MORELAND, WILLIAM GREGORY                 6025 APRIL ST                SAN ANGELO           TX               1
57602739       NIDAY, FREDERICK BRANCH JR                2552 COSTA MESA CIR          LEAGUE CITY          TX               2
57512944       OPERATOR ARMS LLC                         200 TEXAS WAY SUITE 250      FORT WORTH           TX               9
57406438       PAYETTE MFR LLC                           9814 MISTY PLAIN DR          SAN ANTONIO          TX              41
57404971       PINCKNEY SMITH CUSTOM WORKS INC           1839 HWY 144 SOUTH           GLEN ROSE            TX               2
57511778       PRACTACTS LLC                             8500 CR 409                  GRANDVIEW            TX              19
57407260       RODERO, MANUEL II                         2100 VILLAGE CENTER DR       BROWNSVILLE          TX              46
57501654       RODGERS, JIMMY E & RODGERS, TERESE B      21852 FM 449 SUITE A         LONGVIEW             TX               6
57605355       SADDLE RIVER RANGE LLC                    4280 FM 1488                 CONROE               TX               6
57506246       SFX DESIGN INC                            2500 I-20 EAST               WEATHERFORD          TX              15
57512558       SHADOWOOD ENTERPRISES LLC                 92 GRAPEVINE HWY 90          HURST                TX               9
57406063       SMR MANUFACTURING LLC                     105 ALEXIS WAY               KYLE                 TX               6
57603418       SPRATLEN ARMS LLC                         4294 LONGHORN DR             CLEVELAND            TX               6
57408497       STI FIREARMS LLC                          114 HALMAR COVE              GEORGETOWN           TX             186
57541806       STILLERS PRECISION FIREARMS LLC           543 N 5TH ST                 GARLAND              TX            2378
57512567       TACTICOOL LLC                             6232 SW PKWY STE 104         WICHITA FALLS        TX              10
57507611       TEXAR SPORTS LLC                          244 WOODBINE DRIVE           BURLESON             TX               3
57512228       TRINITY FORGE INC                         947 TRINITY DR               MANSFIELD            TX             530
57404908       UNRUH, MATHEW WAYNE                       1004 SOUTH GABRIEL DR        LEANDER              TX
57507248       WE THE PEOPLE FIREARMS LLC                4110 S EDEN RD               KENNEDALE            TX               4
57505688       WEBSTER, EDWARD MARSHALL                  625 BRIARWOOD TRAIL          JOSHUA               TX               2
57502590       WISE LITE ARMS INC                        903 S ALLEN                  BOYD                 TX              18
57511613       WOLFPACK WEAPONRY LLC                     9584 W 42ND ST               ODESSA               TX               7
57603665       WTFIREARMS LLC                            3 CHANDLERS WAY              MAGNOLIA             TX               8
98702400       3RD GEN MACHINE INC                       1435 NORTH 200 W             LOGAN                UT           10360
98702208       BRETHREN ARMAMENT LLC                     2156 W PRINTERS ROW          WEST VALLEY CITY     UT              25
98703534       BRETHREN ARMS LLC                         2156 W PRINTERS ROW          WEST VALLEY CITY     UT              10
98702977       BULLETS AND BURNOUTS LLC                  5621 WEST WELLS PARK RD      WEST JORDAN          UT               2
98703289       FALLOUT ARMAMENT LLC                      125 SOUTH MAIN ST            BRIGHAM CITY         UT               2
98703591       FISHER FIREARMS LLC                       47 NORTH 100 WEST            SMITHFIELD           UT               1
98704452       MACKAY, BRYANT C                          3805 SOUTH 4220 WEST         GRANGER              UT

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RDS KEY        LICENSE NAME                                   STREET                          CITY               ST   MISC FA MFG
98703191       RIOT LLC                                       353 WEST 200 SOUTH SUITE 101    SALT LAKE CITY     UT             1
98702471       RK ENTERPRISES LLC                             49 W MAIN ST                    MT PLEASANT        UT            20
98701056       SILENCERCO, LLC                                5511 SOUTH 6055 WEST            WEST VALLEY CITY   UT            73
98703258       STS MANUFACTURING LLC                          673 WEST 1ST ST BLDG 4A BAY 5   OGDEN              UT           183
98702121       TEGRA ARMS INC                                 523 S COMMERCE RD               OREM               UT          1078
98703241       VUDOO LABS INC                                 4012 SOUTH RIVER ROAD UNIT 4F   SAINT GEORGE       UT            89
15423671       AGF DEFCOM INC                                 604 GREEN TREE RD STE C&D       CHESAPEAKE         VA             6
15412412       APPALACHIAN GUN WORKS LLC                      4568 BLUE RIDGE BLVD            BLUE RIDGE         VA           254
15413728       BACKGROUNDS UNLIMITED INC                      2309 LEE HWY                    MOUNT SIDNEY       VA             2
15440133       CCF/SWISS INC                                  313 BERWICKSHIRE DR             RICHMOND           VA            39
15416091       DEFCON ONE LLC                                 1001 B SPARROW RD               CHESAPEAKE         VA             1
15410353       DIORIO MANUFACTURING COMPANY LLC               32 SILVER LAKE RD               HARRISONBURG       VA            35
15423758       DREGHAN DEFENSE LLC                            141 SYKES AVE UNIT #141         VIRGINIA BEACH     VA             4
15424072       ECHO 3 WHISKEY ARMS LLC                        1108 COOLBROOK RD               BEDFORD            VA            30
15416746       EDC TACTICAL LLC                               1100 ATHENS AVE STE D           RICHMOND           VA          1490
15409033       FERGUSON, GLEN W                               RT 1 BOX 1134                   VIRGINIA BEACH     VA
15416013       JOHNSON, DONALD R                              RT 1 BOX 318 C                  GLEN ALLEN         VA
15405293       SAMS CUSTOM GUNWORKS LLC                       254 COLUMBIA RD                 CARTERSVILLE       VA             2
15402923       SHAVER, HUBERT L                               RT 29 S                         N GARDEN           VA
15410619       SODAN ARMAMENT, LLC                            3300A NEW KENT HWY              QUINTON            VA             6
15402667       SPECIAL TACTICAL SERVICES, LLC                 5725 ARROWHEAD DR               VIRGINIA BEACH     VA             1
15406989       STERLING ARSENAL WORKS & TACTICAL SUPPLY LLC   201 DAVIS DRIVE UNIT FF         STERLING           VA             2
15416454       STONEWALL ARMORY LLC                           101 TUCKER ST                   LEXINGTON          VA             3
15415731       TRIUNE ARMS LLC                                571 FROST AVE                   WARRENTON          VA             5
60300549       AMRICK, DANIEL                                 1114 RT 30                      BOMOSEEN           VT            19
60333217       CENTURY ARMS INC                               236 BRYCE BLVD                  GEORGIA            VT         16163
60300696       PIKE, RANDALL S                                181 SPRAGUE RD                  WEST HALIFAX       VT            31
60300917       ST MICHAEL'S DEFENSE LLC                       132 FACTORY ST STE 2            SAINT JOHNSBURY    VT            20
99107250       AERO PRECISION LLC                             2320 COMMERCE STREET            TACOMA             WA         62575
99105684       AERO PRECISION LLC                             2340 S HOLGATE ST               TACOMA             WA         15458
99104649       AREA 53 RESEARCH & DEVELOPMENT, LLC            1407 E CHATTAROY RD             COLBERT            WA            35
99103916       BROTHERS N ARMS LLC                            2060 VANTAGE HIGHWAY STE 38     ELLENSBURG         WA            49
99105925       GREY GHOST PRECISION, LLC                      2916 107TH ST S                 LAKEWOOD           WA           304
99106894       JONES ARMS LLC                                 63 HOOKER RD                    SEQUIM             WA            24
99106076       LIQUID TRANSFORMATIONS LLC                     1707 E HOLYOKE AVE              SPOKANE            WA             5

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                                                 MISC. FIREARMS MANUFACTURED
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RDS KEY        LICENSE NAME                             STREET                              CITY              ST   MISC FA MFG
99103482       MEGA ARMS LLC                            3507 NORTHPARK DRIVE                CENTRALIA         WA          3439
99106842       PIT BULL ARMS LLC                        18833 SE RENTON MAPLE VALLEY ROAD   MAPLE VALLEY      WA             1
99105518       STARLOS FIREARMS LLC                     3824 HOLLYWOOD DR NE                OLYMPIA           WA            14
99107453       ZEV TECHNOLOGIES INC                     3507 NORTHPARK DRIVE                CENTRALIA         WA           115
99107069       ZEV TECHNOLOGIES INC                     3712 NORTHPARK DRIVE                CENTRALIA         WA          1841
33908009       BADGER STATE ORDNANCE LLC                17 1/2 WILSON AVE                   WESTON            WI             1
33907555       GADSDEN SERVICES LLC                     2391 GEMINI RD                      GREEN BAY         WI            14
33901982       GARY'S GUNS INC                          W 226 N 1455 NORTH AVENUE           WAUKESHA          WI             2
33908953       HIGH VOLTAGE CUSTOM LLC                  417 E ROSENLUND ST                  WOODVILLE         WI             1
33907431       MGS HOLDINGS GROUP LLC                   N80W14966 APPLETON AVENUE           MENOMONEE FALLS   WI            33
33906684       OEM TECHNOLOGIES LLC                     2927 ROEMER RD                      APPLETON          WI             7
33907955       TYCOR DEFENSE MANUFACTURING LLC          6643 W SPOKANE ST                   MILWAUKEE         WI            22
33907069       W/S MACHINE & TOOL INC                   2525 S 162ND STREET                 NEW BERLIN        WI           199
33907594       WORKS ARMAMENT LLC                       1 TAUNTON CIRCLE                    MADISON           WI             9
45503692       CHILDERS GUNS LLC                        521 GASTON AVE                      FAIRMONT          WV          2316
45503183       HARPERS FERRY ARMORY INC                 301 N MILDRED ST                    RANSON            WV            29
45503406       HEXOM, JONATHAN                          337 FLATROCK RUN                    DRYFORK           WV             6
45502891       HOSTETTER, MARK A                        74 DUPONT RD SUITE A                MARTINSBURG       WV            83
45502547       J W MANUFACTURING LLC                    703 MIDDLETOWN RD                   FAIRMONT          WV           230
58301108       DRAGOON ARMORY LLC                       607 E LINCOLNWAY                    CHEYENNE          WY             6
58301679       INDUSTRIAL SCREEN AND MAINTENANCE INC    750 EAST F ST                       CASPER            WY             1
58301302       PERFORMANCE OIL TOOLS INC                3420 BIG HORN AVE                   CODY              WY             6
58301883       VAPOR TRAIL PRECISION ARMS, LLC          4048 STRAWBERRY CREEK RD            BEDFORD           WY             3
58301472       WYO ARMS LLC                             6503 CROSSBOW TRAIL                 CHEYENNE          WY            21

                                                                                                                        758634




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RDS KEY    LICENSE NAME                             STREET                     CITY                 ST     PISTOLS
                                                                    428
57104386   NIGHTHAWK CUSTOM LLC                         1306 WEST TRIMBLE AVE                 BERRYVILLE       AR     162
57134716   WILSONS GUN SHOP INC                         2452 CR 719                           BERRYVILLE       AR     111
98610031   2A TACTICAL LLC                              3710 EAST YEAGER DRIVE                GILBERT          AZ       1
98600788   PATRIOT ORDNANCE FACTORY INC                 1492 W VICTORY LANE                   PHOENIX          AZ       6
98610145   RAMM. KARL JOSEPH                            8475 S EMERALD DR STE 108             TEMPE            AZ      10
98614472   STURM, RUGER & COMPANY, INC                  200 RUGER RD                          PRESCOTT         AZ    9135
96804040   JACOBS, GREGORY SCOTT                        277 PEBBLE BEACH DR                   BRENTWOOD        CA       2
93303891   JV INDUSTRIES LLC                            1540 COMMERCE ST UNIT H               CORONA           CA      63
93304565   FIREARM SALES UNLIMITED LLC                  15224 AQUEDUCT LANE                   CHINO HILLS      CA
99501701   WORLDWIDE AEROS CORP                         1734 AEROS WAY                        MONTEBELLO       CA      10
93301600   FMK FIREARMS INCORPORATED                    1025 A ORTEGA WAY / 1005 ORTEGA WAY   PLACENTIA        CA     214
58405564   DTCC INC                                     549 BOGART LANE                       GRAND JUNCTION   CO       1
60603306   COLT'S MANUFACTURING COMPANY LLC             545 NEW PARK AVE                      WEST HARTFORD    CT    1870
15923596   TAURUS INTERNATIONAL MANUFACTURING INC       16175 NW 49TH AVE                     MIAMI            FL     275
15940806   KEL TEC CNC INDUSTRIES INC                   1475 COX ROAD                         COCOA            FL     351
15903222   SCCY INDUSTRIES LLC                          1800 CONCEPT COURT                    DAYTONA BEACH    FL     270
15890327   GLOCK INC                                    6000 HIGHLANDS PKWY                   SMYRNA           GA   47861
15840168   MEGGITT TRAINING SYSTEMS INC                 296 BROGDON RD                        SUWANEE          GA      15
54201889   V CUSTOM INC                                 24276 240TH ST                        CARROLL          IA      12
54201706   LES BAER CUSTOM INC                          1804 IOWA DR                          LE CLAIRE        IA     492
98202586   LONE WOLF R&D LLC                            106 SHANNON LN STE B                  PRIEST RIVER     ID       1
33605213   STRATEGIC ARMORY CORPS LLC                   745 HANFORD ST                        GENESEO          IL      10
33635798   SPRINGFIELD INC                              420 W MAIN ST                         GENESEO          IL     152
43507261   PITTS, ERIC JAMES                            9099 ROSEDALE RD                      TERRE HAUTE      IN
46101318   GREEN, ROGER G                               124 E MAIN                            SHELBYVILLE      KY
60435456   SAEILO, INC                                  130 GODDARD MEMORIAL DR               WORCESTER        MA     271
60401684   SMITH & WESSON CORP                          2100 ROOSEVELT AVE                    SPRINGFIELD      MA   22440
85203547   ENGAGE ARMAMENT LLC                          701 EAST GUDE DR SUITE 101            ROCKVILLE        MD      50
34103314   MAGNUM RESEARCH INC                          12602 33RD AVE SW                     PILLAGER         MN    1002
54310039   BIXLER, CHRISTOPHER A                        213 MORGAN ST                         AUXVASSE         MO      95
54339122   ED BROWN PRODUCTS, INC                       43825 MULDROW TRAIL                   PERRY            MO       9
16404549   REMINGTON ARMS COMPANY LLC                   366 STATELINE RD                      SOUTHAVEN        MS    3022
15609063   STURM RUGER & COMPANY INC                    271 CARDWELL RD                       MAYODAN          NC    1270
15609451   ANGSTADT ARMS LLC                            701 E ATANDO AVE                      CHARLOTTE        NC     111
15604397   FTA FIREARMS INC                             819 COLONIAL DRIVE                    RALEIGH          NC
60200735   STURM, RUGER & COMPANY, INC                  529 SUNAPEE ST                        NEWPORT          NH     129
60201128   SIG SAUER INC                                12 & 18 INDUSTRIAL DR                 EXETER           NH      48


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RDS KEY    LICENSE NAME                             STREET                     CITY                 ST     PISTOLS
                                                                    428
60201816   SIG SAUER INC                                72 PEASE BLVD                       NEWINGTON        NH   177366
61601132   AMCHAR WHOLESALE, INC                        100 AIRPARK DR                      ROCHESTER        NY       36
61300458   KIMBER MFG INC                               1120 SAW MILL RIVER RD              YONKERS          NY     2605
99304160   PIONEER GUN WORKS INC                        2460 HARVEST LANE                   SPRINGFIELD      OR       10
82506113   CABOT GUN COMPANY LLC                        501 WINFIELD ROAD                   CABOT            PA       37
82506873   SCHWEINBERG, CYRIL J                         RD 1 SHERRETT RD                    COWANSVILLE      PA
15702581   FN AMERICA, LLC                              797 OLD CLEMSON ROAD                COLUMBIA         SC      636
16208339   BERETTA USA CORP                             1399 GATEWAY DR                     GALLATIN         TN     4750
57503514   MICHAEL, STEVEN C                            1333 MIMOSA LN                      LEWISVILLE       TX
57540601   STRAYER VOIGT INC                            71229 INTERSTATE 20                 GORDON           TX      159
57404908   UNRUH, MATHEW WAYNE                          1004 SOUTH GABRIEL DR               LEANDER          TX
57604892   INTERFOR USA GROUP INC                       12515 MAXIM DR                      HOUSTON          TX        8
98704452   MACKAY, BRYANT C                             3805 SOUTH 4220 WEST                GRANGER          UT
98734026   NORTH AMERICAN ARMS INC                      2150 S 950 E                        PROVO            UT       58
98734710   TDJ INC                                      550 NORTH CEMETERY ROAD, BUILDING   GUNNISON         UT        2
                                                        #1
98702489   WILSON PRECISION ARMS INC                    204 PLAYA DELLA ROSITA STE #6       WASHINGTON       UT        1
15402925   KRISS USA, INC                               912 CORPORATE LANE                  CHESAPEAKE       VA      119
15416013   JOHNSON, DONALD R                            RT 1 BOX 318 C                      GLEN ALLEN       VA
15409033   FERGUSON, GLEN W                             RT 1 BOX 1134                       VIRGINIA BEACH   VA
15402923   SHAVER, HUBERT L                             RT 29 S                             N GARDEN         VA
99102421   RAINIER ARMS LLC                             2504 AUBURN WAY N                   AUBURN           WA      166

                                                                                                                  275424




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RDS KEY    LICENSE NAME                             STREET           428         CITY                  ST  REVOLVERS
93303891   JV INDUSTRIES LLC                            1540 COMMERCE ST UNIT H          CORONA           CA         2
93304565   FIREARM SALES UNLIMITED LLC                  15224 AQUEDUCT LANE              CHINO HILLS      CA
60635936   CHARCO 2000 INC                              18 BREWSTER LANE                 SHELTON          CT       122
60603306   COLT'S MANUFACTURING COMPANY LLC             545 NEW PARK AVE                 WEST HARTFORD    CT       158
15917604   HERITAGE MANUFACTURING INC                   16175 NW 49TH AVE                MIAMI            FL         2
43507261   PITTS, ERIC JAMES                            9099 ROSEDALE RD                 TERRE HAUTE      IN
46101318   GREEN, ROGER G                               124 E MAIN                       SHELBYVILLE      KY
60401684   SMITH & WESSON CORP                          2100 ROOSEVELT AVE               SPRINGFIELD      MA     16230
34103314   MAGNUM RESEARCH INC                          12602 33RD AVE SW                PILLAGER         MN       112
54310039   BIXLER, CHRISTOPHER A                        213 MORGAN ST                    AUXVASSE         MO         9
15604397   FTA FIREARMS INC                             819 COLONIAL DRIVE               RALEIGH          NC
60200735   STURM, RUGER & COMPANY, INC                  529 SUNAPEE ST                   NEWPORT          NH      3992
61601132   AMCHAR WHOLESALE, INC                        100 AIRPARK DR                   ROCHESTER        NY        10
61300458   KIMBER MFG INC                               1120 SAW MILL RIVER RD           YONKERS          NY       334
82506873   SCHWEINBERG, CYRIL J                         RD 1 SHERRETT RD                 COWANSVILLE      PA
57503514   MICHAEL, STEVEN C                            1333 MIMOSA LN                   LEWISVILLE       TX
57404908   UNRUH, MATHEW WAYNE                          1004 SOUTH GABRIEL DR            LEANDER          TX
98704452   MACKAY, BRYANT C                             3805 SOUTH 4220 WEST             GRANGER          UT
98734026   NORTH AMERICAN ARMS INC                      2150 S 950 E                     PROVO            UT       705
15416013   JOHNSON, DONALD R                            RT 1 BOX 318 C                   GLEN ALLEN       VA
15409033   FERGUSON, GLEN W                             RT 1 BOX 1134                    VIRGINIA BEACH   VA
15402923   SHAVER, HUBERT L                             RT 29 S                          N GARDEN         VA


                                                                                                                 21676




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RDS KEY    LICENSE NAME                               STREET           428          City                  ST       RIFLE EXP
57134716   WILSONS GUN SHOP INC                         2452 CR 719                       BERRYVILLE         AR           20
57103840   THOR GLOBAL DEFENSE GROUP INC                1206 KNESEK LANE                  VAN BUREN          AR           13
98600788   PATRIOT ORDNANCE FACTORY INC                 1492 W VICTORY LANE               PHOENIX            AZ          331
98607665   STRATEGIC ARMORY CORPS LLC                   525 E PINNACLE PEAK RD STE 100    PHOENIX            AZ           13
98606220   DALMOLIN, JOSEPH DEWITT                      9332 SLAYTON RANCH RD             FLAGSTAFF          AZ            1
98606209   MCALISTER, KENNETH                           291 E OCOTILLO RD UNIT 27         CHANDLER           AZ           15
98600962   ABRAMS AIRBORNE MFG, INC                     3735 N ROMERO RD                  TUCSON             AZ            3
98610145   RAMM. KARL JOSEPH                            8475 S EMERALD DR STE 108         TEMPE              AZ           12
97737552   WEATHERBY INC                                1605 COMMERCE WAY                 PASO ROBLES        CA          568
93303891   JV INDUSTRIES LLC                            1540 COMMERCE ST UNIT H           CORONA             CA            2
97702525   LOMBARDI, PHILIP JOHN                        5553 W BARSTOW AVE                FRESNO             CA            2
93304565   FIREARM SALES UNLIMITED LLC                  15224 AQUEDUCT LANE               CHINO HILLS        CA
99501701   WORLDWIDE AEROS CORP                         1734 AEROS WAY                    MONTEBELLO         CA           10
60600763   STURM, RUGER & COMPANY, INC                  1 LACEY PL                        SOUTHPORT          CT            1
60603306   COLT'S MANUFACTURING COMPANY LLC             545 NEW PARK AVE                  WEST HARTFORD      CT         2097
60603511   STAG ARMS LLC                                515 JOHN DOWNEY DR                NEW BRITAIN        CT          324
60602460   CREED MONARCH INC                            1 PUCCI PARK                      NEW BRITAIN        CT           11
15903855   SAFETY HARBOR FIREARMS INC                   985 HARBOR LAKE DR UNIT 14        SAFETY HARBOR      FL            2
15907991   ARES DEFENSE SYSTEMS INC                     295 NORTH DRIVE SUITE H           MELBOURNE          FL           10
15917454   KNIGHT, CHARLES REED JR                      701 COLUMBIA BLVD                 TITUSVILLE         FL            4
15940998   KNIGHTS MANUFACTURING CO                     701 COLUMBIA BLVD                 TITUSVILLE         FL           14
15946787   SERBU FIREARMS INC                           6019 W CHELSEA STREET             TAMPA              FL           21
15911971   TACTICAL SUPERIORITY INC                     305 NORTH DRIVE SUITE D-H         MELBOURNE          FL            2
15940806   KEL TEC CNC INDUSTRIES INC                   1475 COX ROAD                     COCOA              FL         2659
15931958   SABAL ARMS INC                               2643 SW 64TH AVE                  MIAMI              FL            3
15806454   DEFENSE RESEARCH & DEVELOPMENT LLC           268 CADILLAC PKWY STE 104         DALLAS             GA           47
15840168   MEGGITT TRAINING SYSTEMS INC                 296 BROGDON RD                    SUWANEE            GA           56
15813136   DANIEL DEFENSE INC                           1334 ORACAL PARKWAY               BLACK CREEK        GA          241
54201889   V CUSTOM INC                                 24276 240TH ST                    CARROLL            IA          118
54201706   LES BAER CUSTOM INC                          1804 IOWA DR                      LE CLAIRE          IA            1
98201763   RIVERMAN, LLC                                6040 N GOVERNMENT #101            DALTON GARDENS     ID          101
98201252   PRIMARY WEAPONS SYSTEMS INC                  255 N. STEELHEAD WAY              BOISE              ID           37
33605213   STRATEGIC ARMORY CORPS LLC                   745 HANFORD ST                    GENESEO            IL          344
33635798   SPRINGFIELD INC                              420 W MAIN ST                     GENESEO            IL          243
33637243   LEWIS MACHINE & TOOL CO                      1305 W 11TH ST                    MILAN              IL          102
33704376   WHITE OAK ARMS INC                           101 S PERRY ST                    CARLOCK            IL            1


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RDS KEY    LICENSE NAME                               STREET           428          City                  ST      RIFLE EXP
43507261   PITTS, ERIC JAMES                            9099 ROSEDALE RD                  TERRE HAUTE        IN
43507032   TIPPMANN ARMS COMPANY LLC                    2955 ADAMS CENTER RD              FORT WAYNE         IN           90
46101318   GREEN, ROGER G                               124 E MAIN                        SHELBYVILLE        KY
46103520   WM C ANDERSON INC                            1743 ANDERSON BLVD                HEBRON             KY          167
57204714   DAVCO SERVICES LLC                           1655 SWAN LAKE ROAD               BOSSIER CITY       LA           20
60435456   SAEILO, INC                                  130 GODDARD MEMORIAL DR           WORCESTER          MA           19
60401684   SMITH & WESSON CORP                          2100 ROOSEVELT AVE                SPRINGFIELD        MA        11835
60404099   TROY INDUSTRIES INC                          151D CAPITAL DR                   WEST SPRINGFIELD   MA         1411
85202358   LWRC INTERNATIONAL                           815 CHESAPEAKE DRIVE              CAMBRIDGE          MD            2
60101661   WINDHAM WEAPONRY INC                         999 ROOSEVELT TRAIL BUILDING #3   WINDHAM            ME          174
43800250   PIERCE ENGINEERING LTD                       5122 N GRAND RIVER                LANSING            MI            5
34101717   NORDIC COMPONENTS INC                        79 EAST 8TH STREET                WACONIA            MN           34
34103314   MAGNUM RESEARCH INC                          12602 33RD AVE SW                 PILLAGER           MN           84
54310039   BIXLER, CHRISTOPHER A                        213 MORGAN ST                     AUXVASSE           MO           17
16404549   REMINGTON ARMS COMPANY LLC                   366 STATELINE RD                  SOUTHAVEN          MS        62319
98133799   POWDER RIVER RIFLE CO INC                    201 CENTENNIAL DR                 BIG TIMBER         MT           25
98155388   C SHARPS ARMS CO INC                         100 CENTENNIAL DR                 BIG TIMBER         MT            1
98101051   ALLEN, KIRBY LEROY                           99 STEVENSON RD                   FORT SHAW          MT            2
98101706   NOREEN FIREARMS LLC                          131 JETWAY DRIVE                  BELGRADE           MT           14
98101151   MONTANA RIFLE COMPANY                        3178 MT HWY 35                    KALISPELL          MT           24
98101499   PROOF RESEARCH INC                           10 WESTERN VILLAGE LANE           COLUMBIA FALLS     MT           18
15611207   WAR SPORT MANUFACTURING LLC                  13117 NC HWY 24/27                EAGLE SPRINGS      NC            8
15609063   STURM RUGER & COMPANY INC                    271 CARDWELL RD                   MAYODAN            NC        13098
15604397   FTA FIREARMS INC                             819 COLONIAL DRIVE                RALEIGH            NC
15604129   TEMPLAR CONSULTING LLC                       104 BUTTERMILK WAY                APEX               NC            3
15606622   BEAR CREEK ARSENAL LLC                       310 MCNEILL RD                    SANFORD            NC         2999
60200735   STURM, RUGER & COMPANY, INC                  529 SUNAPEE ST                    NEWPORT            NH        26452
60201816   SIG SAUER INC                                72 PEASE BLVD                     NEWINGTON          NH         1758
82200698   HENRY RAC HOLDING CORP                       59 E 1ST ST                       BAYONNE            NJ        10533
58502011   DOUBLE T SQUARED FIREARMS LLC                14317 MEL SMITH CT NE             ALBUQUERQUE        NM            1
98803399   CBE INC                                      2241 D PARK PLACE                 MINDEN             NV           17
61602170   JUST RIGHT CARBINES LLC                      231 SALTONSTALL ST                CANANDAIGUA        NY          990
61601132   AMCHAR WHOLESALE, INC                        100 AIRPARK DR                    ROCHESTER          NY           10
61300458   KIMBER MFG INC                               1120 SAW MILL RIVER RD            YONKERS            NY          859
61603552   BORDWELL, DILLON JAMES                       7205 US RT 11                     TULLY              NY            2
61100308   LRB OF LONG ISLAND INC                       96 CHERRY LANE                    FLORAL PARK        NY            4


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RDS KEY    LICENSE NAME                               STREET           428          City                  ST       RIFLE EXP
61603815   ARMORERS BENCH LLC                           34 PINE ST                          LACKAWANNA         NY           1
61602475   REMINGTON ARMS COMPANY LLC                   14 HOEFLER AVE                      ILION              NY          26
43401651   OHIO ORDNANCE WORKS INC                      305, 310 AND 401 PARK DR            CHARDON            OH          10
43437065   KELBLY'S RIFLE RANGE INC                     7222 DALTON FOX LAKE RD             NORTH LAWRENCE     OH         155
43404727   VALLEY GUNSMITHING LLC                       6440 NORWALK RD STE I               MEDINA             OH           1
57303657   GWACS ARMORY LLC                             1000 RIVERWALK TERRACE 1ST FLOOR    JENKS              OK           3
99301142   NOSLER, INC                                  115 SW COLUMBIA STREET              BEND               OR          13
99337182   TNW FIREARMS INC                             55325 TIMBER RD                     VERNONIA           OR         613
82338992   BORDEN, JAMES F                              1325 SHELDON HILL ROAD              SPRINGVILLE        PA           1
82300479   PNEU DART INC                                15223 STATE ROUTE 87                WILLIAMSPORT       PA         167
82304234   LANCER SYSTEMS LP                            2800 MILFORD SQUARE PKE             QUAKERTOWN         PA          53
82304810   SARCO INC                                    50 HILTON ST                        EASTON             PA          50
82506873   SCHWEINBERG, CYRIL J                         RD 1 SHERRETT RD                    COWANSVILLE        PA
15702581   FN AMERICA, LLC                              797 OLD CLEMSON ROAD                COLUMBIA           SC         261
15705439   D & R GUNSMITHING & SALES LLC                2837 UNIT E SOUTH LIVE OAK DRIVE    MONCKS CORNER      SC           1
15703590   DANIEL DEFENSE INC                           58 FIREFLY DR                       RIDGELAND          SC         677
34633475   H S PRECISION INC                            1301 TURBINE DR                     RAPID CITY         SD           6
16236907   BARRETT FIREARMS MFG INC                     5926 MILLER LANE                    MURFREESBORO       TN         696
16208339   BERETTA USA CORP                             1399 GATEWAY DR                     GALLATIN           TN          24
57511690   SUMMIT NIGHT VISION GROUP INC                1845 SUMMIT AVE STE 403             PLANO              TX           8
57401497   AUSTIN PRECISION PRODUCTS INC                850 CR 177                          LEANDER            TX          14
57503514   MICHAEL, STEVEN C                            1333 MIMOSA LN                      LEWISVILLE         TX
57408497   STI FIREARMS LLC                             114 HALMAR COVE                     GEORGETOWN         TX        1959
57604022   F-1 FIREARMS LLC                             5045 FM 2920 RD                     SPRING             TX          31
57605287   LINDLEY INDUSTRIES LLC                       635 9TH ST                          DICKINSON          TX           1
57512611   JACC PROCUREMENT LLC                         411 FERRIS AVE                      WAXAHACHIE         TX          30
57409101   SAGE CREEK ENTERPRISES INC                   237 PR 349                          HONDO              TX          21
57403973   DAVID WHITING                                2843 HAYDEN RANCH RD                FREDERICKSBURG     TX           6
57404908   UNRUH, MATHEW WAYNE                          1004 SOUTH GABRIEL DR               LEANDER            TX
57434208   MAVERICK ARMS, INC                           1001 INDUSTRIAL BLVD                EAGLE PASS         TX       11180
57604892   INTERFOR USA GROUP INC                       12515 MAXIM DR                      HOUSTON            TX          21
98704452   MACKAY, BRYANT C                             3805 SOUTH 4220 WEST                GRANGER            UT
98702241   SKYARMS LLC                                  5408 WEST 10180 NORTH               HIGHLAND           UT          20
98702318   FIERCE FIREARMS LLC                          321 S MAIN                          GUNNISON           UT         105
98701385   DESERT TECH LLC                              1995 WEST ALEXANDER STREET          WEST VALLEY CITY   UT         420
98734710   TDJ INC                                      550 NORTH CEMETERY ROAD, BUILDING   GUNNISON           UT         331
                                                        #1

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BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES
MARTINSBURG, WV                                                             Exhibit 8
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                                                RIFLES MANUFACTURERS
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                                                                                                             PAGE  of OF 110
RDS KEY    LICENSE NAME                               STREET           428          City                  ST       RIFLE EXP
98702489   WILSON PRECISION ARMS INC                    204 PLAYA DELLA ROSITA STE #6     WASHINGTON         UT            96
98702674   PATRIOT PRECISION LLC                        8265 EAST 7500 NORTH              LAPOINT            UT             7
15402925   KRISS USA, INC                               912 CORPORATE LANE                CHESAPEAKE         VA          1077
15416013   JOHNSON, DONALD R                            RT 1 BOX 318 C                    GLEN ALLEN         VA
15410353   DIORIO MANUFACTURING COMPANY LLC             32 SILVER LAKE RD                 HARRISONBURG       VA             3
15418984   SOUTHERN ARMS LLC                            116 KINROSS DR                    WINCHESTER         VA             2
15409033   FERGUSON, GLEN W                             RT 1 BOX 1134                     VIRGINIA BEACH     VA
15403245   ALEXANDER INDUSTRIES INC                     US ARMY RADFORD ARSENAL RTE 114   RADFORD            VA            47
                                                        BLDG 3701
15423622   ALEXANDER INDUSTRIES INC                     104 CENTRE CT                     RADFORD            VA            47
15402923   SHAVER, HUBERT L                             RT 29 S                           N GARDEN           VA
99103632   HURRICANE BUTTERFLY MANUFACTURING LLC        1148 INDUSTRY DRIVE               TUKWILA            WA             2
99105684   AERO PRECISION LLC                           2340 S HOLGATE ST                 TACOMA             WA             6
99102421   RAINIER ARMS LLC                             2504 AUBURN WAY N                 AUBURN             WA           207
33908887   THUREON HOLDINGS LLC                         W185 N11521 WHITNEY DR            GERMANTOWN         WI            29
58300591   GUNWERKS LLC                                 2301 LIEUTENANT CHILDERS ST       CODY               WY            19

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BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES
MARTINSBURG, WV                                                               Exhibit 8
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                                                SHOTGUNS MANUFACTURERS
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RDS KEY        LICENSE NAME                               STREET       428             CITY                 ST     SHOTGUN EXP
57104386      NIGHTHAWK CUSTOM LLC                         1306 WEST TRIMBLE AVE         BERRYVILLE            AR             1
57134716      WILSONS GUN SHOP INC                         2452 CR 719                   BERRYVILLE            AR             2
93303891      JV INDUSTRIES LLC                            1540 COMMERCE ST UNIT H       CORONA                CA             2
93304565      FIREARM SALES UNLIMITED LLC                  15224 AQUEDUCT LANE           CHINO HILLS           CA
15940806      KEL TEC CNC INDUSTRIES INC                   1475 COX ROAD                 COCOA                 FL           514
43507261      PITTS, ERIC JAMES                            9099 ROSEDALE RD              TERRE HAUTE           IN
46101318      GREEN, ROGER G                               124 E MAIN                    SHELBYVILLE           KY
54310039      BIXLER, CHRISTOPHER A                        213 MORGAN ST                 AUXVASSE              MO             3
16404549      REMINGTON ARMS COMPANY LLC                   366 STATELINE RD              SOUTHAVEN             MS         18238
15604397      FTA FIREARMS INC                             819 COLONIAL DRIVE            RALEIGH               NC
15604475      PEETZ, ROBERT EUGENE                         816 UNION ST SOUTH            CONCORD               NC             5
43105549      SIZEMORE, ESTEL DAVID                        7619 HAMILTON AVE             CINCINNATI            OH             1
99302709      R & R RACING INC                             42670 RODGERS MOUNTAIN LOOP   SCIO                  OR             2
82506873      SCHWEINBERG, CYRIL J                         RD 1 SHERRETT RD              COWANSVILLE           PA
16208339      BERETTA USA CORP                             1399 GATEWAY DR               GALLATIN              TN           667
57503514      MICHAEL, STEVEN C                            1333 MIMOSA LN                LEWISVILLE            TX
57404908      UNRUH, MATHEW WAYNE                          1004 SOUTH GABRIEL DR         LEANDER               TX
57434208      MAVERICK ARMS, INC                           1001 INDUSTRIAL BLVD          EAGLE PASS            TX         10559
57604892      INTERFOR USA GROUP INC                       12515 MAXIM DR                HOUSTON               TX             3
98704452      MACKAY, BRYANT C                             3805 SOUTH 4220 WEST          GRANGER               UT
15416013      JOHNSON, DONALD R                            RT 1 BOX 318 C                GLEN ALLEN            VA
15409033      FERGUSON, GLEN W                             RT 1 BOX 1134                 VIRGINIA BEACH        VA
15402923      SHAVER, HUBERT L                             RT 29 S                       N GARDEN              VA


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RDS KEY        LICENSE NAME                             STREET                             CITY               ST   MISC FA MFG
98600788      PATRIOT ORDNANCE FACTORY INC              1492 W VICTORY LANE                PHOENIX            AZ             6
98607680      IRUNGUNS LLC                              2600 N KIOWA BLVD #102             LAKE HAVASU CITY   AZ            10
93304565      FIREARM SALES UNLIMITED LLC               15224 AQUEDUCT LANE                CHINO HILLS        CA
60603306      COLT'S MANUFACTURING COMPANY LLC          545 NEW PARK AVE                   WEST HARTFORD      CT          1071
54201728      BROWNELLS INC                             200 S FRONT ST                     MONTEZUMA          IA             9
43507261      PITTS, ERIC JAMES                         9099 ROSEDALE RD                   TERRE HAUTE        IN
46101318      GREEN, ROGER G                            124 E MAIN                         SHELBYVILLE        KY
46102771      IDEAL PRODUCTS INC                        126 CAPITAL CT                     NICHOLASVILLE      KY            41
60401684      SMITH & WESSON CORP                       2100 ROOSEVELT AVE                 SPRINGFIELD        MA            91
60101661      WINDHAM WEAPONRY INC                      999 ROOSEVELT TRAIL BUILDING #3    WINDHAM            ME            48
98101499      PROOF RESEARCH INC                        10 WESTERN VILLAGE LANE            COLUMBIA FALLS     MT            12
15609063      STURM RUGER & COMPANY INC                 271 CARDWELL RD                    MAYODAN            NC            14
15604397      FTA FIREARMS INC                          819 COLONIAL DRIVE                 RALEIGH            NC
60200735      STURM, RUGER & COMPANY, INC               529 SUNAPEE ST                     NEWPORT            NH            37
61601132      AMCHAR WHOLESALE, INC                     100 AIRPARK DR                     ROCHESTER          NY             8
43437065      KELBLY'S RIFLE RANGE INC                  7222 DALTON FOX LAKE RD            NORTH LAWRENCE     OH           178
57303657      GWACS ARMORY LLC                          1000 RIVERWALK TERRACE 1ST FLOOR   JENKS              OK           397
99301937      TORNADO TECHNOLOGIES LLC                  2020 NE ALOCLEK DR SUITE 102       HILLSBORO          OR             1
82506873      SCHWEINBERG, CYRIL J                      RD 1 SHERRETT RD                   COWANSVILLE        PA
57503514      MICHAEL, STEVEN C                         1333 MIMOSA LN                     LEWISVILLE         TX
57404908      UNRUH, MATHEW WAYNE                       1004 SOUTH GABRIEL DR              LEANDER            TX
98704452      MACKAY, BRYANT C                          3805 SOUTH 4220 WEST               GRANGER            UT
15416013      JOHNSON, DONALD R                         RT 1 BOX 318 C                     GLEN ALLEN         VA
15410353      DIORIO MANUFACTURING COMPANY LLC          32 SILVER LAKE RD                  HARRISONBURG       VA             3
15409033      FERGUSON, GLEN W                          RT 1 BOX 1134                      VIRGINIA BEACH     VA
15402923      SHAVER, HUBERT L                          RT 29 S                            N GARDEN           VA
99105684      AERO PRECISION LLC                        2340 S HOLGATE ST                  TACOMA             WA           406

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